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B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                          District of New Jersey                                                                               Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Shapes/Arch Holdings L.L.C.


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  9000 River Road
  Delair, NJ
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     08110
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Camden
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
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B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Shapes/Arch Holdings L.L.C.
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
         Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                    Case Number:                          Date Filed:
 See Attachment
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Shapes/Arch Holdings L.L.C.
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X /s/ Jerrold N. Poslusny, Jr.                                                                chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Jerrold N. Poslusny, Jr.                                                                 debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Cozen O'Connor
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      LibertyView, Suite 300
      457 Haddonfield Road                                                                     Social-Security number (If the bankrutpcy petition preparer is not
      Cherry Hill, NJ 08002                                                                    an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (856) 910-5000
     Telephone Number
     March 16, 2008
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X /s/ Steven Grabell
     Signature of Authorized Individual
      Steven Grabell                                                                           If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
      Chief Executive Officer                                                                  A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
      March 16, 2008
     Date
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In re      Shapes/Arch Holdings L.L.C.                                               Case No.
                                                                           ,
                                                          Debtor

                                     FORM 1. VOLUNTARY PETITION
                                  Pending Bankruptcy Cases Filed Attachment

Name of Debtor / District                                  Case No. / Relationship              Date Filed / Judge
Accu-Weld L.L.C.                                                                                03/16/08
New Jersey                                                 subsidiary

Delair L.L.C.                                                                                   03/16/08
New Jersey                                                 subsidiary

Shapes L.L.C.                                                                                   03/16/08
New Jersey                                                 subsidiary

Ultra L.L.C.                                                                                    03/16/08
New Jersey                                                 subsidiary
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                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
 In re       Shapes/Arch Holdings L.L.C.                                                                             Case No.
                                                                                        Debtor(s)                    Chapter        11


                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                       Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
             accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
             persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
             the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
             If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
             address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
             name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                      (1)                                                    (2)                             (3)                      (4)                      (5)

 Name of creditor and complete                   Name, telephone number and complete                Nature of claim (trade   Indicate if claim is    Amount of claim [if
 mailing address including zip                   mailing address, including zip code, of            debt, bank loan,         contingent,             secured, also state
 code                                            employee, agent, or department of creditor         government contract,     unliquidated,           value of security]
                                                 familiar with claim who may be contacted           etc.)                    disputed, or subject
                                                                                                                             to setoff




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B4 (Official Form 4) (12/07) - Cont.
 In re      Shapes/Arch Holdings L.L.C.                                                                                 Case No.
                                                                Debtor(s)

                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                                       (Continuation Sheet)

                      (1)                                                    (2)                               (3)                      (4)                      (5)

 Name of creditor and complete                   Name, telephone number and complete                  Nature of claim (trade   Indicate if claim is    Amount of claim [if
 mailing address including zip                   mailing address, including zip code, of              debt, bank loan,         contingent,             secured, also state
 code                                            employee, agent, or department of creditor           government contract,     unliquidated,           value of security]
                                                 familiar with claim who may be contacted             etc.)                    disputed, or subject
                                                                                                                               to setoff




                                                 DECLARATION UNDER PENALTY OF PERJURY
                                               ON BEHALF OF A CORPORATION OR PARTNERSHIP
                       I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury
             that I have read the foregoing list and that it is true and correct to the best of my information and belief.


 Date March 16, 2008                                                           Signature     /s/ Steven Grabell
                                                                                             Steven Grabell
                                                                                             Chief Executive Officer

          Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                           18 U.S.C. §§ 152 and 3571.




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                                                                  United States Bankruptcy Court
                                                                                District of New Jersey
 In re       Shapes/Arch Holdings L.L.C.                                                                           Case No.
                                                                                             Debtor(s)             Chapter    11




                                                 VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:        March 16, 2008                                                    /s/ Steven Grabell
                                                                                Steven Grabell/Chief Executive Officer
                                                                                Signer/Title




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                    IRS
                    PO Box 21126
                    Philadelphia, PA        19114

                    United States Attorney
                    970 Broad Street
                    5th Floor
                    Newark, NJ 07102

                    Office of Chief Counsel, IRS
                    SB/SE Division Counsel
                    One Newark Center
                    Newark, NJ 17102-5224

                    Assistant Attorney General, Tax Div.
                    PO Box 227
                    Ben Franklin Station
                    Washington, DC 20044

                    NJ Attorney General’s Office-Div of Law
                    Richard J. Hughes Justice Complex
                    25 Market Street
                    PO Box 112
                    Trenton, NJ 08625

                    Gary P. Scharmett, Esq.
                    Stradley Ronon
                    2600 One Commerce Square
                    Philadelphia, PA 19103

                    Joel Shapiro, Esq.
                    Blank Rome
                    One Logan Square
                    130 North 18th Street
                    Philadelphia, PA 19103-6998

                    CIT Group/Business Credit, Inc.
                    11 W. 42nd Street
                    13th Floor
                    New York, NY 10036

                    JP Morgan Chase Bank, N.A.
                    100 E. Broad Street
                    Columbus, OH 43215
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                    Textron Financial Business Credit
                    11575 Great Oaks Way, Suite 210
                    Alpharetta, GA 30022

                    U.S. Environmental Protection Agency,
                    Region 2 290 Broadway, 17th Floor
                    New York, NY 10007-1866

                    US EPA
                    Region 2
                    26 Federal Plaza
                    New York, NY 10278

                    Arkansas Sales and Use Tax
                    P.O. Box 1272
                    Little Rock, AR 72203-1272

                    Arkansas Sales and Use Tax
                    P.O. Box 1272
                    Little Rock, AR 72203-1272

                    Connecticut Sales and Use Tax
                    Department of Revenue Services
                    Taxpayer Services Division
                    25 Sigourney Street
                    Hartford, CT 06106-5032

                    Florida Sales and Use Tax
                    Florida Department of Revenue
                    5050 West Tennessee Street
                    Tallahassee, FL 32399-0100

                    Georgia Sales and Use Tax
                    Revenue Section
                    1800 Century Blvd, Room 8100
                    Atlanta, GA 30345

                    Illinois Sales and Use Tax
                    Illinois Department of Revenue
                    PO Box 19041
                    Springfield, IL 6279-9041

                    Kansas Sales and Use Tax
                    Kansas Department of Revenue
                    915 SW Harrison Street
                    Topeka, KS 66625-5000




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                    Kentucky Sales and Use Tax
                    Kentucky Department of Revenue
                    Frankfort KY 40602

                    Louisiana Sales and Use Tax
                    P.O. Box 201
                    Baton Rouge, LA 70821

                    Massachusetts Sales and Use Tax
                    Department of Revenue
                    PO Box 7010
                    Boston, MA 02204

                    Maryland Sales and Use Tax
                    Revenue Administration Division
                    Taxpayer Service Section
                    301 West Preston Street, Room 206
                    Baltimore, MD 21201-2383

                    Michigan Sales and Use Tax
                    Michigan Department of Treasury
                    Lansing, Michigan 48922

                    Missouri Sales and Use Tax
                    P.O. Box 840
                    Jefferson City, MO 65105-0840

                    Nebraska Sales and Use Tax
                    Nebraska State Office Building
                    301 Centennial Mall South
                    PO Box 94818
                    Lincoln, NE 68509-4818

                    New York Sales and Use Tax
                    Department of Taxation and Finance
                    ATT: Office of Counsel
                    Building 9, W.A. Harriman Campus
                    Albany NY 12227

                    North Carolina Sales and Use Tax
                    North Carolina Dept of Revenue
                    PO Box 25000
                    Raleigh, NC 27640




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                    Pennsylvania Sales and Use Tax
                    Bureau Of Business Trust Fund Taxes
                    PO Box 280905
                    Harrisburg PA 17128-0905

                    Ohio Sales and Use Tax
                    Bankruptcy Division
                    30 E. Broad Street, 23rd floor
                    Columbus, OH 43215

                    Rhode Island Sales and Use Tax
                    Rhode Island Division of Taxation
                    One Capitol Hill
                    Providence, RI 02908

                    South Carolina Sales and Use Tax
                    Columbus Mill Building
                    301 Garvais Street
                    PO Box 125
                    Columbia, SC 29214

                    Tennessee Sales and Use Tax
                    Andrew Jackson Bldg.
                    500 Deaderick
                    Nashville, TN 37242

                    Texas Sales and Use Tax
                    Texas Comptroller of Public Accounts
                    Post Office Box 13528, Capitol Station
                    Austin, Texas 78711-3528

                    Vermont Sales and Use Tax
                    VT Department of Taxes
                    PO Box 547
                    Montpelier, VT 05601-0547

                    Virginia Sales and Use Tax
                    Virginia Department of Taxation
                    Office of Customer Services
                    Post Office Box 1115
                    Richmond, VA 23218-1115

                    Wisconsin Sales and Use Tax
                    Wisconsin Department of Revenue
                    Division of Income, Sales and Excise Tax
                    P.O. Box 8933 Mail Stop 6-40
                    Madison, WI 53708-8933


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                    West Virginia Sales and Use Tax
                    State Tax Dept.
                    PO Box 1826
                    Charleston, WV 25327-1826

                    Abdul-Rahim, Uthman A
                    2464 N Opal St.
                    Philadelphia, PA 19132

                    Acetti, Cesar
                    28 Willow Walk
                    Camden, NJ 08104

                    Acevedo, Enrique
                    4116 Garden Ave.
                    Pennsauken, NJ 081091446

                    Acevedo, Hector L
                    6424 Woodland Ave.
                    Pennsauken, NJ 08110

                    Acevedo, Rene N
                    3012 Stevens St.
                    Camden NJ 08105-2320

                    Adams, Jason
                    102 Royal Court Ln.
                    Camden, NJ 08103

                    Alam, Mohammed
                    3300 Street Rd.
                    Apt B-2
                    Bensalem, PA 19020-2019

                    Albert, John H
                    601b White Horse Pk
                    Haddon Heights, NJ 08035

                    Albino, Angel
                    5552 Woodland Ave.
                    Apt. B
                    Pennsauken, NJ 08110

                    Aldana, Sinforoso
                    431 Alcott St.
                    Philadelphia, PA 19120




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                    Alexander, Warren
                    5263 Burton
                    Philadelphia, PA 19124

                    Altshuler, Randy S
                    6930 Walnut Ave.
                    Pennsauken, NJ 08109-2735

                    Alvarez, Angel L
                    7166 Bailey St.
                    Camden, NJ 08102

                    Amary, Ziad
                    1023 E Walnut St.
                    Allentown, PA 18109

                    Amme, Charles J
                    74 Princeton Rd.
                    Bellmawr, NJ 080311714

                    Anderson, Avery R
                    15 Gimble
                    Willingboro, NJ 08046

                    Anderson, Dennis F
                    15 Firethorn Ln.
                    Delran, NJ 08057

                    Anderson, Deryck A
                    14470 Sw 61st Ct.
                    Ocala, FL 34473

                    Andrews, Douglas B
                    3213 Holly Rd.
                    Philadelphia, PA 19154

                    Andujar, Hector R
                    5533 Wisteria Ave.
                    Pennsauken NJ, NJ 08110

                    Anning, John M
                    27 Beechnut Lane
                    Willingboro, NJ 08046

                    Antrobus, Kenneth
                    227 Russell Ave.
                    Barrington, NJ 08007



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                    Armstrong, Ronald
                    4814 N 11th St.
                    Apt 2
                    Philadelphia, PA 19141

                    Arroliga, Marvin J
                    5530 Wayne Ave.
                    Pennsauken, NJ 081101952

                    Arroyo, Ruben
                    2726 Wayne Ave.
                    Camden NJ 08105-3918

                    Arvelo, Thomas V
                    1810 W River Dr.
                    Pennsauken, NJ 08100

                    Ascencio, Angel
                    2421 N 4th St.
                    Philadelphia, PA     191333010

                    Astor, Michael
                    405 10th Ave.
                    Lindenwold, NJ     08021

                    Au, Kinh
                    5819 N Lawrence St.
                    Philadelphia, PA 19120-1859

                    Avery, Scott Charles
                    830 Sanikan Trl
                    Southampton, NJ 08088

                    Bache, Adriana E
                    363 Yardly Pl
                    Williamstown, NJ     08094

                    Bacon, Richard
                    1562 Hermesprota Dr.
                    Sharon Hill, PA 19079-2423

                    Badechha, Harpal S
                    1147 Kaye Ct
                    Burlington, NJ 08016-2229

                    Badie, Eldon S
                    919 S 8th St.
                    Camden, NJ 08103


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                    Baez, Miguel A
                    1752 49th St.
                    Pennsauken, NJ     08110

                    Balada, Monica
                    152 Shreve Ave.
                    Barrington, NJ 08007

                    Bangura, Unisa
                    1110 S Merrimac Rd.
                    Camden, NJ 08104-3013

                    Banks, John Thomas
                    2011 Ferry Station
                    Apt U-10
                    Camden, NJ 08104

                    Barnes, Clifford D
                    824 Union Ave.
                    Pennsauken, NJ 08110-2440

                    Barnes, John
                    8127 Temple Rd.
                    Philadelphia, PA     19150-1217

                    Barreto, Luis
                    4027 Burwood Ave.
                    Pennsauken, NJ 08109-1544

                    Barrientos, Alberto
                    866 N 27th St.
                    Camden, NJ 08105-3954

                    Barringer, Tyrone Dwight
                    526 Randolph St.
                    Camden, NJ 08105-2723

                    Barrow, Brian A
                    2801 Wayne Ave.
                    Camden, NJ 08105-4430

                    Barry, Patricia A
                    Po Box 92
                    Brandamore, PA 19316

                    Bartholomai, Charles J
                    514 10th St.
                    Newtonville, NJ 08346-2033


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                    Bartholomai, Susan K
                    514 10th St.
                    Newtonville, NJ 08346-2033

                    Barxha, Hamza
                    1816 Oakmont St.
                    Philadelphia, PA     19111

                    Baxter, Dennis
                    4439 Gratz St.
                    Philadelphia, PA     19140-1027

                    Beekler, Paul J
                    71 Birch Ave.
                    Maple Shade NJ 08052-2801

                    Belfatto, Christina A
                    2902 New Albany Rd.
                    Cinnaminson, NJ 08077

                    Bell, Michael
                    29 W Franklin Ave.
                    Edgewater Park, NJ     08010

                    Bemiss, Pauline Faith
                    2800 Sherman Ave.
                    Camden, NJ 08105-4429

                    Benner, Douglas J
                    25c Sunflower Rd.
                    Apt B8
                    Maple Shade NJ 08052-1429

                    Bennett, Courtney D
                    134 Natalie Rd.
                    PO Box 1622 Delran
                    Riverside, NJ 08075-1360

                    Bennett, James P
                    317 Victoria Ln.
                    Perkasie, PA 18944-2491

                    Berger, Andrea M
                    418 Marne Hwy
                    Hainesport, NJ 08036




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                    Bermudez, Carmen
                    3108 N Hartville St.
                    Philadelphia, PA 19134

                    Bermudez, Edwardo
                    109 Linden St.
                    Camden NJ 08102-1630

                    Berrios, Hector
                    8 N 30th St.
                    Camden NJ 08105-2424

                    Berrios, Nelson
                    1262 S Merrimac Rd.
                    Camden, NJ 08104-3015

                    Bertman, Robert S.
                    7 Susie Lane
                    Jackson, NJ 08527

                    Betshner, David E
                    3453 Eden St.
                    Philadelphia, PA 19114-3605

                    Beverly, Eric L
                    1052 Collings Rd.
                    Camden, NJ 08104

                    Bhuta, Sukhwant S
                    5 Mahogany Dr.
                    Burlington, NJ 08016-3176

                    Biazzo, Linda D
                    67 Barlow Ave.
                    Sewell, NJ 080801008

                    Blacknall, Dante J
                    2200 Station Dr.
                    Apt 11
                    Camden, NJ 08104-1949

                    Blount, Melvin
                    1514 Pear Tree Ln.
                    Bensalem PA 19020

                    Bluemke, Robert W
                    1407 Sagemore Dr.
                    Marlton, NJ 08053


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                    Bobrowski, Lawrence J
                    4 Jamie Ln.
                    Sewell, NJ 08080-3532

                    Bockarie, Titus
                    7703 Alloway Ln.
                    Beltsville, MD 20705-6318

                    Boddice, George R
                    615 Swain St.
                    Bristol, PA 19007

                    Boles, Tyran G
                    105 Evergreen Ave.
                    Woodlynne, NJ 08107

                    Bolton, Ernestine
                    4849 N 7th St.
                    Apt 2
                    Philadelphia, PA 19120

                    Bonilla, Alvaro J
                    1869 47th St.
                    Pennsauken, NJ 08110-3033

                    Boozer, Derrick A
                    160 Somerset Dr.
                    Willingboro, NJ 08046

                    Borrero, Francisco R
                    2013 N Lawrence St.
                    Philadelphia, PA 19122-1516

                    Boston, Stacy D
                    568 N Evergreen Ave.
                    Apt A-3
                    Woodbury, NJ 08096

                    Bottalico, Denise C
                    1012 E Tampa Ave.
                    Cherry Hill NJ 08034-3930

                    Botwe, Alexander K
                    218 W Union St.
                    Burlington, NJ 08016




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                    Bowens, Bernard
                    630 W Fisher Ave.
                    Apt 221
                    Philadelphia, PA 19120

                    Boyer, James J
                    106 Newton Ave.
                    Apt G2
                    Oaklyn, NJ 08107-1464

                    Bradley, Robert P
                    4 Peyton Ct
                    Marlton, NJ 08053-4700

                    Bratton, Albert
                    32 Hancock St.
                    Riverside, NJ 08075

                    Breggar, Herbert
                    Riverpark House#1916
                    3600 Conshohocken Av
                    Philadelphia, PA 19131-5336

                    Brice, Steven
                    8805 G Cottage St.
                    Philadelphia, PA 19136

                    Brimhall, Kirk R
                    15962 Wicklow Ln.
                    Huntington Beach, CA      92647

                    Briscoe, Myron G
                    826 N 32nd St.
                    Camden NJ 08105-4218

                    Brite, John L
                    593 Blackwood-Clementon
                    Lindenwold, NJ 08021

                    Britton, Daniel
                    Po Box 27315
                    Philadelphia, PA     19118

                    Broadus, Maurice
                    2051 Margaret St.
                    Philadelphia, PA 19124




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                    Brodsky, Ronald R
                    404 W Broad St.
                    2nd Flr.
                    Palmrya, NJ 08065-1431

                    Broglin, Juliette J
                    311 Edgewater Ave.
                    Westville, NJ 08093

                    Brooker, Andrew P
                    2835 Coventry Green
                    Hamburg, NY 14075

                    Brooks, Philip Joseph
                    35 S White Horse Pk.
                    Apt 411
                    Audubon, NJ 08106-1344

                    Brooks, Theodore F
                    42 Hathaway Dr.
                    Sicklerville NJ 08081-2524

                    Broomhead, Ronald
                    303 Temple Blvd
                    Palmyra NJ 08065-2315

                    Brown Iii, Walter R.
                    103 Victoria Lane
                    Mullica Hill, NJ 08062

                    Brown, Donnie Ray
                    3346 Brown Cir
                    Cookeville, TN 38506

                    Brown, Elwood M
                    9 Ablett Vlg
                    Camden, NJ 08105-3502

                    Brown, Jennifer J
                    3506 Sheffield St.
                    Philadelphia, PA 19136

                    Brown, Michael
                    161 W Godfrey Ave.
                    3rd Floor
                    Philadelphia, PA 19120




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                    Brubaker, Carl
                    323 Hidden Forest Ct
                    Fairless Hills, PA 19030

                    Bruey, William C
                    37 11th Ave.
                    Haddon Heights NJ     08035-1206

                    Bruney, Kelly K
                    6104 Carpenter St.
                    Philadelphia, PA 19143

                    Bubbosh, Usmat Neil
                    120 Gloucester Ave.
                    Mount Ephraim, NJ 08059

                    Bullen, Martin R
                    125 South Valley Rd.
                    Paoli, PA 19301

                    Bumbrey, Louis G
                    4 Sun Haven Pl
                    Riverside, NJ 08075-2884

                    Burgos, Angel L
                    830 Galindez Ct
                    Camden, NJ 08102

                    Burgos, Edwin
                    140 W Godfrey Ave.
                    Philadelphia, PA 19120

                    Burgos, Jose A
                    230 Millbrook Dr.
                    Willingboro NJ 08046-2819

                    Burgos-Vazquez, Pedro
                    1113 Beideman Ave.
                    Camden, NJ 08105

                    Burkhardt, Mark A
                    7208 Dungan Rd.
                    Philadelphia, PA 19111-4103

                    Burr, Glenn T
                    4 Bodine Ave.
                    Burlington, NJ    08016



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                    Burt, Carl D
                    769 Ferry Ave.
                    Camden, NJ 08104-3419

                    Burton, Andre
                    346 E Shedaker St.
                    Apt 2
                    Philadelphia, PA 19144

                    Burton, Harry C
                    2400 Mcclellam Ave.
                    1207 E.
                    Pennsauken NJ 08109-2430

                    Burton, Welton L
                    236 Cedar Ave.
                    Woodlynne, NJ 08107

                    Burton, William
                    3420 Jasper St.
                    Philadelphia, PA     19134

                    Buscher, Thomas M
                    55 Haines Mill Rd.
                    Delran, NJ 08075-1747

                    Bush, Tina M
                    1117 N 24th St.
                    Camden NJ 08105-3815

                    Bush, Tyrone A
                    5108 Marlon St.
                    Philadelphia, PA     19124

                    Butler, William L
                    1104-T High St.
                    Apt A
                    Burlington, NJ 08016

                    Byrd, Todd L
                    7230 Brent Rd.
                    Upper Darby, PA     19082

                    Caban, Jose R
                    923 Mechanic Ave.
                    Apt B
                    Camden, NJ 08104



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                    Cabrera, Henry J
                    2764 Federal St.
                    Camden, NJ 08105

                    Cabrera, William N
                    443 Cherry St.
                    Camden, NJ 08103

                    Cackowski, James R
                    153 Frazer Ave.
                    Collingswood NJ 08108-1530

                    Caldwell, Bradley T
                    422 Centennial Dr.
                    Morrisville, PA 19067

                    Calvello, John A
                    3076 Tulip St.
                    Philadelphia, PA     19134

                    Camacho, Carlos
                    535 Randolph St.
                    Camden, NJ 08105

                    Campbell, Anthony
                    1701 Newport Rd.
                    Apt 1631
                    Croydon, PA 19021

                    Campbell, Ronald D
                    519 N 54th St.
                    Apt Rb13
                    Philadelphia, PA 19131

                    Canda, Luis R
                    214 N 37th St.
                    Pennsauken, NJ     081102208

                    Candelaria, George
                    445 Cherry St.
                    Camden NJ 081032021

                    Capoferri, John
                    4 Country Club Rd.
                    Pine Hill, NJ 080216571




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                    Caraballo, Jose L
                    417 Tasker St.
                    Philadelphia, PA 19148

                    Caraballo, Juan J
                    417 Tasker St.
                    Philadelphia, PA 19147

                    Carbonara, John T
                    3228 Magee St.
                    Philadelphia, PA 19149

                    Cardona, Nora H
                    2930 N Fairhill St.
                    Philadelphia, PA 19133

                    Carmichael, Donald R
                    636 N 9th St.
                    Camden NJ 081021756

                    Carpey, Daniel
                    532 Foxglove Ln.
                    Wynnewood, PA 19096

                    Carr, James A
                    202 Welsh Ave.
                    Bellmawr, NJ 080311126

                    Carr, Reginald
                    1737 Springfield Ave.
                    Pennsauken, NJ 081102856

                    Carrion, Demetrio
                    3322 Argyle St.
                    Philadelphia, PA 19134

                    Carroll, Janice M
                    348a Woodlawn Terrace
                    Collingswood, NJ 08108

                    Carstarphen, Lowenia
                    1114 Liberty St.
                    Camden, NJ 08104

                    Cartagena, Jose M
                    4520 15th St.
                    Philadelphia PA 19140



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                    Cashin, Steven
                    30 Rose Arbor Ln.
                    Levittown PA 19055

                    Casperson, Hedwig C
                    2627 Horner Ave.
                    Pennsauken NJ 08109-5316

                    Casperson, Joseph Michael
                    4028 Harbour Dr.
                    Palmyra, NJ 08065

                    Casperson, Marie T
                    2426 Union Ave.
                    Pennsauken, NJ 08109-3250

                    Castaneda, Erick M
                    2729 Arthur Ave.
                    Camden, NJ 08105

                    Castillo, Manuel Eligio
                    556 N 34th St.
                    Camden, NJ 08105-1608

                    Cauthorne, Wayne V
                    218 Market St.
                    Palmyra, NJ 08065

                    Cavalie, Manuel E
                    17 Euclid Ave.
                    Merchantville, NJ     08109-1812

                    Cerda, Ignacio A
                    120 N 35th St.
                    Camden, NJ 08105-2506

                    Cerpa, Romulo C
                    1913 E Pacific St.
                    Philadelphia, PA 19134

                    Cerrito, Bonnie I
                    20 Firewood Dr.
                    Holland PA 18966

                    Chant, Terence E
                    5209 Wisteria Ave.
                    Pennsauken, NJ 08109



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                    Chase, Meredith M
                    5631 Cedar Ave.
                    Philadelphia, PA 19143

                    Chase, Meredith M
                    5631 Cedar Ave.
                    Philadelphia, PA 19143

                    Chhorm, Yourm
                    5435 E Rising Sun Ave.
                    Philadelphia, PA 19120-3008

                    Chowdhury, Shamima
                    7515 B Calvert St.
                    Philadelphia, PA 19152

                    Christian, Samuel E
                    118 Stacy Ct
                    Burlington, NJ 08016

                    Christopher, Rosbert E
                    6684 Ardleigh St.
                    Philadelphia, PA 19119

                    Chung, Tai Tung
                    1204 Federal St.
                    Philadelphia, PA     19147-4518

                    Cintron, Israel F
                    1157 N 33rd St.
                    Camden, NJ 08105-4307

                    Clark, Anthony O'neill
                    1486 Kaighns Ave.
                    Camden, NJ 08103-2936

                    Clarke, John P
                    4309 Devereaux St.
                    Philadelphia, PA 19135

                    Clarkson, Steven G
                    743 Oxford Ave.
                    Apt A
                    Tullytown, PA 19007




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                    Class, Sixto
                    433 N 7th St Apt 16b
                    N Gate 1
                    Camden NJ 08102-2216

                    Coates, John S
                    1000 Lawndale Rd.
                    Wilmington, DE 19810

                    Coates, Shawn N
                    138 N Salford St.
                    Philadelphia, PA 19139

                    Coleman, Chauncey P
                    1123 N 35th St.
                    Apt 4
                    Camden NJ 08105-4361

                    Coleman, James A
                    58 Thorntown Ln.
                    Bordentown, NJ 08505-2223

                    Coleman, James T
                    20 Pershing Ln.
                    Sicklerville, NJ     08081-1819

                    Coleman, Jerry D
                    54981 Sunray Dr East
                    Osceola, IN 46561-9361

                    Colgate, Patrick A
                    4151 Harbour Dr.
                    Palymra, NJ 08065

                    Collins, Constance
                    20 Utah Trl.
                    Medford, NJ 08055-8911

                    Collins, John W
                    341 State St.
                    Camden NJ 08102-2012

                    Colon Saez, Juan
                    3213 Hurley St.
                    Philadelphia, PA     19134




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                    Colon, Carlos L
                    412 Clinton St.
                    Camden, NJ 08103-1815

                    Colon, Carmelo
                    209 Garfield Ave.
                    Palmyra, NJ 08065

                    Colon, Manolo
                    1018 Bergen Ave.
                    Camden NJ 08105-4206

                    Concepcion, Israel
                    3522 N 8th St.
                    Philadelphia, PA 19140

                    Concepcion, Luz
                    4431 N 4th St.
                    Philadelphia, PA     19140

                    Concepcion, Papino J
                    7915 Day Ave.
                    Pennsauken, NJ 08110

                    Constantino, Steven P
                    560 Creek Rd.
                    Delanco, NJ 08075-5208

                    Conway, Rena D
                    31 Hemlock Dr.
                    Blackwood, NJ 08012

                    Conway, Stephanie
                    4215 Myrtle Ave.
                    Pennsauken NJ 08109-1871

                    Cook, Phillip E
                    4554 Winding Brook Drive
                    Bensalem, PA 19020

                    Cooper, Charles E
                    604 Line St.
                    Camden, NJ 08103-1425

                    Cooper, James
                    5521 Linchfield St.
                    Philadelphia, PA 19143-4714



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                    Cooper, Kerry
                    536 Mckinley St.
                    Philadelphia, PA     19111

                    Cooper, Lonnie L
                    840 Linden St.
                    Camden NJ 08102-1024

                    Coplin, Antonia B
                    1137 Dupont St.
                    Camden, NJ 08105-3938

                    Cortes, David C
                    1611 Crosslynne Ave.
                    Woodlynne, NJ 08107

                    Cortes, Miguel A
                    3082 Federal St.
                    Camden, NJ 08105-2337

                    Cortes, Wilfredo
                    7174 Highland Ave.
                    Pennsauken, NJ 08110-6214

                    Cortez, Benjamin
                    1247carl Miller Blvd
                    Camden, NJ 08104

                    Costello, Nancy L
                    1130 N Delsea Dr.
                    Clayton, NJ 08312-1010

                    Cotto, Edwin
                    1516 Derousse Ave.
                    Pennsauken, NJ 08110-4077

                    Countryman, Edward R
                    501 Jessamine Ave.
                    Oaklyn, NJ 08107-1905

                    Covington, Timothy
                    5745 Leonard St.
                    Philadelphia, PA 19149

                    Craft, Raymond D
                    401 N Main St.
                    Apt 171C
                    Williamstown, NJ     08094


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                    Creely, Kenneth W
                    518 Bem St.
                    Riverside NJ 08075-3306

                    Crispin, Michele K
                    10 Columbine Dr.
                    Pittsgrove, NJ 08318

                    Crosby, Kenneth
                    1638 W Edgley St.
                    Philadelphia, PA 19121

                    Cross, Derrick
                    4843 Walnut St.
                    B-3
                    Philadelphia, PA     19139

                    Cruz, Edward
                    925 N 19th St.
                    Camden, NJ 08105-3607

                    Cruz, Eladio
                    921 Lois Ave.
                    Camden NJ 08105

                    Cruz, Felix R
                    128 York St.
                    Camden, NJ 08102-2732

                    Cruz, Francisco
                    224 Grant St.
                    Mount Holly, NJ     08060-1313

                    Cruz, Samuel
                    1115 N 34th St.
                    Camden, NJ 08105-4317

                    Cunningham, Victor
                    205 S 35th St.
                    Camden NJ 08105-3019

                    Cureton, Rodney
                    5427 Sylvester St.
                    Philadelphia, PA 19124

                    Curry, William T
                    23 S 38th St.
                    Camden, NJ 08105


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                    Dailyda, Denise J
                    583 Starlight Ln.
                    Williamstown, NJ 08094-9701

                    Daniel, Phillip
                    707 Chestnut Ln.
                    Apt 707
                    Westville, NJ 08105-3739

                    Danley, Kenneth C
                    521 Maple Ave.
                    Palmyra, NJ 08065

                    Dano, Mark A
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                    Ln.dg Sw
                    Marietta, GA 30064-2866

                    Daugherty, John M
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                    Woodbury, NJ 08096

                    Davidson, Lasanya
                    3157 Reach St.
                    Philadelphia, PA 19134

                    Davila, Audelino
                    108 W Fornance St.
                    Norristown, PA 19401-3316

                    Davila, Augustin
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                    Camden, NJ 08105

                    Davila, Joel
                    5425 N Front St.
                    Philadelphia, PA     19120-2913

                    Davis, Christopher
                    102 W Henry St.
                    Palmyra, NJ 08065-1711

                    Davis, Fareed H
                    1062 Haddon Ave.
                    Camden, NJ 08104




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                    Davis, John A
                    509 Kennedy St.
                    Palmyra, NJ 08065

                    Davis, Kevin A
                    3242 Clymer Walk
                    Camden, NJ 08104

                    Dawkins, Darrell
                    1063 Beidiman Ave.
                    Apt 20
                    Camden, NJ 08105

                    Dawyd, Andrew
                    1154 Jericho Rd.
                    Abington, PA 19001

                    De Jesus, Eliezer
                    3053 Cleveland Ave.
                    Camden, NJ 08105-3710

                    De Jesus, Gilbert
                    2305 Mickle St.
                    Camden, NJ 08105

                    De Leon, Senes
                    641 Line St.
                    Camden NJ 08105-2701

                    Dean, Bernard S
                    90 Autumn Ct
                    Blackwood, NJ 08012

                    Defigueiredo, Arturo T
                    40 Foxglove Dr.
                    Delran, NJ 08075

                    Deflorio, Stephen M
                    428 Buttonwood St.
                    Delanco, NJ 08075-4416

                    Defrank, Anibal E
                    3097 Stevens St.
                    Camden, NJ 08105-2340

                    Defrank, Francisco S
                    2723 Garfield Ave.
                    Camden NJ 08105-3907


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                    Dejesus, Diadel
                    133 W Delphine St.
                    Philadelphia, PA 19120

                    Dejohn, Lisa
                    272 Ridgeway St.
                    Philadelphia, PA     19116

                    Delaney, Francis J
                    135 Greyhorse Rd.
                    Willow Grove, PA 19090

                    Delfavero, Brett D
                    744 Eayrestown Rd.
                    Apt 64
                    Lumberton, NJ 080483117

                    Dennis, George J
                    21 Snowflower Ln.
                    Willingboro, NJ 08046

                    Derry, Paula L
                    3a Evergreen Cir
                    Maple Shade, NJ 08052-1902

                    Destefano, Margaret H
                    801 West Park Ave.
                    Apt 1A
                    Lindenwold, NJ 08021

                    Devincentis, Janet J
                    144 Pearlcroft Rd.
                    Cherry Hill, NJ 08034-3334

                    Devincentis, Richard J
                    144 Pearlcroft Rd.
                    Cherry Hill, NJ 08034-3334

                    Devlin, Gregory
                    2549 N Napa St.
                    Philadelphia, PA     19132-2925

                    Diaz, Manuel G
                    2732 Polk Ave.
                    Camden, NJ 08105-4018




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                    Diemma, John J
                    1522 S Delaware St.
                    Apt B
                    Paulsboro, NJ 08066

                    Dilks, Ralph A
                    203 E Maiden Ln.
                    Somerdale, NJ 08083-1005

                    Do, Thuan Thanh
                    2387 48th St.
                    Pennsauken, NJ 08110-2045

                    Doctor, Leon
                    2011 Ferry Ave.
                    Apt G16
                    Camden NJ 08104-1944

                    Dominguez, Jose D
                    3171 Merriel Ave.
                    Camden, NJ 08105-2407

                    Dominguez, Jose F
                    1628 46th St.
                    Pennsauken, NJ 08110-3667

                    Donaldson, Jill G
                    37 Albany Rd.
                    Marlton, NJ 08053-3519

                    Dong, Phan K
                    2816 High St.
                    Camden, NJ 08105-1223

                    Dougherty, Valerie
                    703 Hartel Ave.
                    Philadelphia PA 19111

                    Draper, Alexander W
                    1808 S 8th St.
                    Camden, NJ 08104

                    Drayton, Mark
                    630 State St.
                    2nd Fl Apt
                    Camden, NJ 08102




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                    Duffy, Patrick M
                    145 Oak St.
                    Woodbury, NJ 08096-3422

                    Dunn, Steven T
                    1936 E Birch St.
                    Philadelphia, PA     19134-3518

                    Dunson, Michael Robert
                    1446 Kenwood Ave.
                    Camden, NJ 08103

                    Duque, Manuel
                    30 Ballad Ln.
                    Willingboro, NJ     08046

                    Eachus, Daniel M
                    137 Peterson Blvd
                    Deptford, NJ 08096-1820

                    Echevarria, Jose M
                    111 N 34th St.
                    Camden, NJ 08105

                    Echevarria, Julio R
                    52 N 24th St.
                    Camden, NJ 08105

                    Echevarria, Orlando
                    236 N 37th St.
                    Pennsauken, NJ 08110-2208

                    Echevarria, Rey O
                    5825 Camden Ave.
                    Pennsauken, NJ 08110-1823

                    Eckart, Cynthia
                    4737 Hawthorne St.
                    Philadelphia, PA 19124

                    Edwards, Bernard Russell
                    7033 N 15th St.
                    Apt 4b3
                    Philadelphia, PA 19126

                    Effinger, Nancy A
                    504 Jefferson St.
                    Riverside, NJ 08075


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                    Eichenlaub, Brian T
                    13 Bryces Ct
                    Sicklerville, NJ 08081

                    Eli, Kevin S
                    365 Marion Ave.
                    Westville, NJ 08093

                    Elison, Richard D
                    1059 Thompson Ave.
                    Bellmawr, NJ 08031

                    English, Ronald
                    618 E Cornwall St.
                    Philadelphia, PA 19134

                    Ensley, Sonya
                    1225 S 54th St.
                    Philadelphia, PA     19143

                    Escudero-Gomez, Zoraida
                    542 E Wyoming Ave.
                    Philadelphia, PA 19120

                    Espinosa, Luz M
                    3141 'F' St.
                    Philadelphia, PA     19134

                    Espinoza, Julio V
                    33 Indian Park Rd.
                    Levittown, PA 19057

                    Esquerdo, Jose A
                    809 N 32nd St.
                    Camden, NJ 08105-4217

                    Evans, Catherine S
                    8445 Walker St.
                    Philadelphia, PA 19136

                    Evans, Mark Michael
                    34 Fieldcrest Dr.
                    Columbus, NJ 08022

                    Evens, Steven E
                    23 Goldenridge Dr.
                    Levittown, PA 19057



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                    Fair, Clifford J
                    455 N Edgewood St.
                    Philadelphia, PA 19151

                    Farkas, Jeff M
                    30 Petunia Rd.
                    Levittown, PA 19056

                    Farzana, Islam
                    3300 Street Rd.
                    Apt I-2
                    Bensalem, PA 19020

                    Feeney, Marie A
                    1835 Oakmont St.
                    Philadelphia PA 19111-3404

                    Fennell, Leonard A
                    345 Chestnut St.
                    Camden, NJ 08103

                    Ferguson, Guy E
                    1001 Kenwood Ave.
                    Camden, NJ 08103

                    Fernandez, Fundador
                    4749 Ashville St.
                    Philadelphia, PA 19136

                    Ferraro, William J
                    Po Box 457
                    Albrightsville, PA     18210-0457

                    Figgs, Allen D
                    96 Meadows Dr.
                    Glassboro, NJ 08028-2423

                    Figueroa, Amalio
                    518 Race St.
                    Palmyra, NJ 08065

                    Figueroa, Luis R
                    4629 'A' St.
                    Philadelphia, PA     19120-4413

                    Fisher, James E
                    7162 Lee Ave.
                    Pennsauken, NJ 08105


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                    Fitzgibbons, Michael J
                    2344 River Woods Dr.
                    Naperville, II 60565

                    Fleetwood, Joseph R
                    113 N 24th St.
                    Camden, NJ 08105

                    Fleisher, Steven M
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                    Wynnewood PA 19096

                    Fleming, Michael K
                    373 Marlton Pike
                    2nd Floor
                    Camden, NJ 08105

                    Fleming, Phillip R
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                    Riverside, NJ 08075

                    Flores, Kelvin
                    2552 N Hutchinson St.
                    Philadelphia, PA 19133

                    Floyd, Sheldon
                    4505 Elvena Ave.
                    Pennsauken, NJ 08109

                    Forbes, Shelton S
                    987 Bancroft Place
                    Warminster, PA 18974

                    Ford, Richard H
                    1608 S 10th St.
                    Camden NJ 08104-1618

                    Foreman, James
                    2758 Eddington St.
                    Philadelphia, PA 19137

                    Fortis, Eliesbel
                    8433 River Rd.
                    Pennsauken, NJ 08110-5816

                    Fortune, Mc Queen
                    912 Jackson St.
                    Camden NJ 08104-3501


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                    Foster, Irene A
                    11 Nightingale Rd.
                    Audubon Park, NJ 08106-1717

                    Foster, Leslie A
                    35 Highland Ave.
                    Sicklerville, NJ     08081

                    Foxworth, Mitchell
                    1123 S 61st St.
                    Philadelphia, PA 19143

                    Foy-Whitehurst, Courtenay F
                    10 Tanglewood Rd.
                    Newnan, GA 30263-4109

                    Franceschini, William E
                    303 Ashmead Rd.
                    Cheltenham, PA 19102

                    Francis, Anwar A
                    2927 N Constitution Rd.
                    Camden, NJ 08104

                    Francis, Samuel A
                    1701 Salem Rd.
                    Apt D7
                    Burlington, NJ 08016-3147

                    Franklin, Donald V
                    7536 Park Ave.
                    Pennsauken, NJ 08109

                    Freeman, David J
                    431 Billings Ave.
                    Paulsboro NJ 08066-1159

                    Frey, Dennis A
                    231 Lakeside Dr.
                    Levittown, PA 19054

                    Frey, Jacqueline Lynn
                    744 Eayrestown Rd.
                    Apt 64
                    Lumberton, NJ 08048-3117




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                    Fricker, Edward F
                    141 Rudderow Ave.
                    Mount Ephraim, NJ     08069

                    Frith, Bill
                    124 Shiloh Dr.
                    Lugoff, SC 29078

                    Frost, Robert D
                    602 Holly Ln.
                    Mount Holly, NJ     08060-1029

                    Fulgeon, Marcel
                    4279 Frankford
                    Apt 3
                    Philadelphia, PA     19124

                    Fulton, Jody L
                    209 Starling Ln.
                    Mount Holly, NJ 08060

                    Fulton, Luther N
                    813 Morgan Blvd
                    Camden NJ 08104-2658

                    Funk, Charles M
                    4 Sumac Pl
                    Lafayette Hill, PA     19444

                    Gallagher, Keith J
                    847 John Tipton Blvd
                    Delair, NJ 08110

                    Gallo, Anthony L
                    1014 Main Ave.
                    Croydon, PA 19021

                    Gallo, Floyd J
                    904 Evergreen Ave.
                    Folsom, PA 19033-1117

                    Garrett, Gordon L
                    1515 W Allegheny Ave.
                    Apt 209
                    Philadelphia, PA 19132




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                    Gawason, Gregory A
                    112 W Maiden Ln.
                    Somerdale, NJ 08083

                    Gay, Robert Earl
                    2049 W Ontario St.
                    2nd Flr Front
                    Philadelphia, PA 19140

                    Geiger, Jennifer P
                    140 Pencoyd Ave.
                    Bala Cynwyd, PA 19004

                    Geiger, John J
                    181 Chapman Ave.
                    Lansdowne, PA 19050

                    Geiger, John J
                    140 Pencoyd Ave.
                    Bala Cynwyd PA 19004-1925

                    Genman, Gustavo L
                    70 S 28th St.
                    Camden, NJ 08105-2243

                    Geonnetti, Theodore R
                    15 Fulmar Dr.
                    Voorhees, NJ 08043

                    George, Tomy
                    22 - Candle Wood Rd.
                    Williamstown, NJ 08046

                    Gershman, Robert
                    632 Meeting House Rd.
                    Elkins Park, PA 19027

                    Gertner, Vladimir
                    253 Sequoia Dr.
                    Newtown PA 18940-9262

                    Gettings, Geoffrey D
                    1514 Piccard Ct
                    Woodbury, NJ 08096

                    Ghebremariam, Tewelde
                    5005 Walton Ave.
                    Philadelphia, PA 19143


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                    Gibbs, Aaron
                    1453 Higbee Street
                    Philadelphia, PA 19149

                    Gibson, Donald R
                    98 Arch St.
                    Palmyra, NJ 08065

                    Gibson, Donna L
                    98 Arch St.
                    Palmyra, NJ 08065-2302

                    Gilbert, Calvin
                    28 Terrace Ave.
                    Camden, NJ 08105

                    Gillespie, Sherron T
                    5169 Elvena Ave.
                    Pennsauken NJ 08109-1764

                    Gines, Mildred
                    30 Petunia Rd.
                    Levittown, PA 19056

                    Giordano, Mary I
                    53 W Gradwell Ave.
                    Maple Shade, NJ 08052-3242

                    Glunt, Michelle L
                    7309 N Radcliffe St.
                    Bristol, PA 19007

                    Godfrey, Marvin
                    827 E Tioga St.
                    Philadelphia, PA     19134

                    Gollin, David
                    5 Charles Lane
                    Cherry Hill, NJ     08003-1415

                    Gomez, Angel B
                    5520 Woodlane Ave.
                    Apt B
                    Pennsauken, NJ 08110

                    Gonzales, Francisco M
                    10 La Salle Dr.
                    Vineland NJ 08360


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                    Gonzalez Pineiro, Jose M
                    605 Sylvan Rd.
                    Somerdale, NJ 08083

                    Gonzalez, Carmelo
                    949 Bridge St.
                    Philadelphia PA 19124

                    Gonzalez, Jose
                    610 E Hilton St.
                    Philadelphia, PA     19140

                    Gonzalez, Nereyda M
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                    Pennsauken, NJ 08110

                    Goodale, Marston Scott
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                    Newark, DE 19713-3520

                    Goodman, Alfred L
                    8461 Haines Rd.
                    Pennsauken, NJ 08110

                    Gorczynski, Matthew F
                    1400 Crescent Blvd
                    B - Beechwood Ave.
                    Gloucester, NJ 08030-2210

                    Grabell, Steven S
                    465a Conshohocken St.
                    Road
                    Bala Cynwyd PA 19004

                    Gramby, Terry
                    970 S 8th St.
                    Camden, NJ 08103

                    Grassi, Donald J
                    324 Sunset Ave.
                    Penndel, PA 19047-7570

                    Graves, Joseph H
                    1150 Kenwood Ave.
                    Camden NJ 08103-2814




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                    Green, Alfred W
                    501 Weart Blvd
                    Palmyra NJ 08065-1449

                    Green, Carl E
                    646 Royden St.
                    Camden, NJ 08103-1427

                    Green, Lekisha
                    4821 N Warnock St.
                    Philadelphia, PA 19141

                    Greene, Elroy
                    2535 N Opal St.
                    Philadelphia, PA     19132-3732

                    Greiner, John L
                    812 Maple Lane
                    Riverside, NJ 08075

                    Griffin, Tyrone
                    1047 W Monmount St.
                    Philadelphia, PA 19133

                    Groh, John W
                    4432 E Howell St.
                    Philadelphia, PA 19135

                    Groh, Michael E
                    122 Valley Run Dr.
                    Cherry Hill NJ 08002-3024

                    Grossman, A. Jerome
                    750 Canterbury Lane
                    Villanova, PA 19085-2052

                    Grossman, Richard M
                    338 Rosemary Ln.
                    Narbeth, PA 19072

                    Gutierrez, Jose A
                    316 N 36th St.
                    Pennsauken, NJ 08110-3102

                    Guynup, Harry J
                    267 Creek Rd.
                    Bellmawr, NJ 0803-12011



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                    Guzman, Carlos
                    195 W Tioga St.
                    Philadelphia, PA     19140

                    Haberbosch, Mark C
                    21 Cheney Rd.
                    Pomfret Center, CT     06259

                    Haenn, David J
                    204 E Linden Ave.
                    Lindenwold NJ 08021-7513

                    Haines, Richard
                    132 Anthony Dr.
                    Burlington, NJ 08016

                    Hall, Kenyatte
                    4453 Morris St.
                    Philadelphia, PA     19144

                    Hall, Susan M
                    8625 Frankford Ave.
                    Philadelphia, PA 19136

                    Hammond, Charles H
                    130 Mickle Blvd 1313
                    Riverview Towers
                    Camden, NJ 08103

                    Hammond, Wade
                    806 Shadeland Ave.
                    Burlington, NJ 08016

                    Hampton, Robert Lee
                    3922 N Delhi St.
                    Philadelphia PA 19140

                    Hands, Glenn
                    227 Washington Ave.
                    Apt D-12
                    Blackwood, NJ 08012

                    Hare, Demetreas G
                    1147 N 33rd St.
                    Apt 7
                    Camden, NJ 08105




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                    Harris, Beauford
                    4928 N Smedley St.
                    Philadelphia, PA 19141

                    Harris, Paul
                    1842 48th St.
                    Pennsauken, NJ     08110

                    Harris, Wilbur T
                    5153 Church Rd.
                    Mount Laurel, NJ     08054

                    Harrison, Edward E
                    1214 Magnolia Ave.
                    Camden, NJ 08103-2824

                    Harry, Gordon
                    429 W Montgomery Ave.
                    Haverford, PA 19041

                    Harvey, Gene M
                    75 Gaffney Ln.
                    Willingboro, NJ     08046-3001

                    Haubois, Barbara J
                    928 Creek Rd.
                    Apt C23
                    Bellmawr, NJ 08031

                    Hawn, Timothy C
                    409 8th Ave.
                    Lindenwold, NJ 08021

                    Hayes, Claude S
                    6012 Cottage St.
                    Philadelphia, PA     19135-3617

                    Hayes, James C
                    1765 Pershing St.
                    Camden, NJ 08104-2027

                    Hayes, Leanne
                    506 Ivystone Ln.
                    Cinnaminson, NJ 08077

                    Heaslip, Carey J
                    498 Bloomsfield Dr.
                    Westampton, NJ 08060-2469


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                    Heintzelman, Michael J
                    24 E 5th Ave.
                    Runnemede, NJ 08078-1115

                    Henry, Kenneth B
                    1224 Lakeshore Dr.
                    Camden, NJ 08104

                    Hernandez, Marcus
                    1817 45th St.
                    Pennsauken, NJ 08110-3019

                    Hernandez, Maria M
                    866 N 27th St.
                    Camden NJ 08105-3954

                    Hernandez, Santa Adelina
                    5530 Wayne Ave.
                    Pennsauken NJ 08110-1952

                    Herrera, Dora
                    442 W Pardy St.
                    Philadelphia, PA     19140

                    Herrera, Eduardina
                    1125 E Overington St.
                    Philadelphia, PA 19124

                    Herron, Christopher A
                    155 Evan Ct
                    Thorofare, NJ 08086

                    Herson, Gerald
                    211 Cobble Creek Cir
                    Cherry Hill, NJ 08003

                    Hickman, Terrell
                    3327 N 19th St.
                    Philadelphia, PA     19140

                    Hickman, Vanessa
                    1346 Foulkrod St.
                    Apt 3
                    Philadelphia, PA 19124

                    Hicks, Ronald L
                    3080 S Congress Rd.
                    Camden, NJ 08104


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                    High, Selena
                    5 Friendship Ct
                    Sicklerville, NJ     08081

                    Hightower, Nathaniel
                    1631 N 30th St.
                    Philadelphia, PA 19121

                    Hill, Daria L
                    1503 Mt. Ephraim Ave.
                    Camden, NJ 08104

                    Hill, Robert J
                    7243 Pine St.
                    Upper Darby, PA     19082

                    Hillig, James J
                    7717 Revere St.
                    Philadelphia, PA     19152-3924

                    Himes, William R
                    834 Engard Ave.
                    Pennsauken, NJ 08110-3439

                    Hines, Kawan D
                    12 Pinewood Ln.
                    Sicklerville, NJ     08081

                    Hinkle, Michael James
                    384 Woodbine St.
                    Browns Mills, NJ 08015

                    Hinton, Paula
                    2143 Gross Ave.
                    Pennsauken NJ 08110-1825

                    Hoang, Soi Van
                    1559 Browning Rd.
                    Pennsauken NJ 08110-2935

                    Hoctor, James
                    3521 Ryan Ave.
                    Philadelphia, PA     19139

                    Hodur, Stephen G
                    6430 Irving Ave.
                    Pennsauken, NJ 08109-5330



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                    Hoechst, Jesse M
                    31 N White Horse Pk
                    Audubon, NJ 08106-1302

                    Hoffman, Thomas Michael
                    602 S Chester Ave.
                    Delran, NJ 08075-4107

                    Holloway, Larry R
                    Stangel Motel Rm#17
                    Po Box 22
                    Florence, NJ 08518-0022

                    Horiates, Zacharias A
                    2615 Manall Ave.
                    Pennsauken, NJ 08109-3130

                    Houck, Roy J
                    103 Jonquil Ln.
                    Levittown, PA 19055

                    Howard, Fredrick J
                    1501   Apt. M18
                    Little Glouster Road
                    Blackwood, NJ 08012

                    Howarth, Joseph J
                    234 Mcclelland Ave.
                    Bellmawr, NJ 08031

                    Howe, Hennighan
                    11565 Vinea Ln.
                    Hampton, GA 30228

                    Hubley, Michael
                    128 John Sevier Cir
                    Rogersville, TN 37857

                    Hudson, Irving A
                    104 Kresson Rd.
                    Cherry Hill, NJ 08034

                    Hufnagle, Raymond E
                    773 Woodland Ave.
                    Westville Grove, NJ     08093-2244




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                    Hunter, Vanessa
                    5629 Wyalusing Ave.
                    Philadelphia, PA 19139

                    Hurd, Darryl L
                    1801 Wyckwood Ct
                    Wilmington, DE 19803

                    Hurlburt, Brian J
                    209 Lindsay Ave.
                    Runnemede, NJ 08078

                    Hussain, Muhammad Nazir
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                    Bear, DE 19701

                    Huymaier, John A
                    1524 Lardner St.
                    Philadelphia, PA     19149

                    Huyn, Joseph
                    8947 Harvey Ave.
                    Pennsauken, NJ 08110-1114

                    Huynh, Son Thanh
                    154 Great Rd.
                    Maple Shade, NJ 08052-3024

                    Hyland, John J
                    3 Dixie Dr.
                    Penns Grove, NJ     08069

                    Hysko, Kastriot
                    8311 Loretto Ave.
                    Philadelphia, PA 19152

                    Hysko, Kryenalt
                    7218 Bustleton Ave.
                    Philadelphia, PA 19149

                    Iannetta, Donna M
                    78 Saratoga Rd.
                    Stratford, NJ 08084

                    Ibarrondo, Daniel
                    555 Pine St.
                    Camden NJ 08103-2146



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                    Infante, Pedro
                    1639 Creston St.
                    Philadelphia, PA     19149

                    Ingram, Jennifer
                    5532 Whitman Terrace
                    Pennsauken, NJ 08109

                    Inniss, Trevor O
                    109 Sherbrook Blvd
                    Upper Darby, PA 19082

                    Intronin, Wiwatt
                    115 E Kings Highway
                    Unit # 134
                    Maple Shade, NJ 08052-1960

                    Islam, Jahirul
                    3300 Street Rd.
                    Apt I-I0
                    Bensalem, PA 19020

                    Jackson, Billy D
                    21 Middlebury Ln.
                    Willingboro, NJ 08046

                    Jackson, Lance
                    610 Ware St.
                    Camden, NJ 08104-2264

                    Jackson, Peter J
                    32 Ronald Dr.
                    Burlington, NJ 08016

                    Jacobs, James E
                    5914 Cottage St.
                    Philadelphia, PA     19135

                    James, Scott N
                    1609 Mason Dr.
                    Pine Hill, NJ 08021-7035

                    Jarozynski, James D
                    625 Bettlewood Ave.
                    Collingswood NJ 08108-3004




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                    Jay, Derrick L
                    1738 Stattergood St.
                    Philadelphia, PA 19124

                    Jefferson, Akhi
                    8810 Torresdale Ave.
                    Philadelphia, PA 19136-3229

                    Jenkins, Loretto M
                    103 Thornwood Dr.
                    Marlton, NJ 08053-1410

                    Jenkins, Vincent M
                    1727 Browning Rd.
                    Pennsauken, NJ 08110

                    Jennings, David
                    3310 Hancock Walk
                    Camden, NJ 08104

                    Jenofsky, David
                    8716 Hargrave St.
                    Philadelphia, PA 19152

                    Jerome, Marco E
                    104 Chelsea Cir
                    Clementon NJ 08021-4236

                    Jimenez, Albert
                    4818 Griscom St.
                    Philadelphia, PA     19124

                    Jimenez, Eduardo
                    2747 Cleveland Ave.
                    Camden NJ 08105-3903

                    Jimenez, Iris Milagros
                    6021 Vandike St.
                    Philadelphia, PA 19135

                    Jimenez, Jose
                    1302 Hancock Dr.
                    Apt 201
                    Barrington, NJ 08007

                    Jimenez, Jose A
                    967 N 36th St.
                    Camden, NJ 08105


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                    Jimenez, Julian A
                    940 Bergen Ave.
                    Camden NJ 08105-4204

                    Jimenez, Myriam
                    4239 N 8th St.
                    Philadelphia, PA     19140

                    Joe, Lacy
                    5543 Beaumont St.
                    Philadelphia, PA 19143

                    Joefield, Michael A
                    23 Teak Ct
                    Cherry Hill, NJ 08003

                    Johann, David W
                    63 S 29th St.
                    Camden, NJ 08105

                    John, Michael A
                    19 Coldspring Rd.
                    Mercerville, NJ 08619-2213

                    Johns, Shirley A
                    257 S 30th St.
                    Apt D
                    Camden, NJ 08105-2343

                    Johnson, Carl M
                    1 Goodwin Ln.
                    Willingboro, NJ     08046-3221

                    Johnson, Daniel J
                    401 Gibbsboro Rd.
                    Apt U10
                    Lindenwold NJ 08021-1997

                    Johnson, Edward L
                    3 Hewitt Street
                    Trenton, NJ 08611

                    Johnson, Marcus A
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                    Somerdale, NJ 08083-1412




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                    Johnson, Robert B
                    1250 Langham Ave.
                    Camden NJ 08103-2820

                    Johnson, Stephen T
                    48 Bayberry Ln.
                    Willingboro, NJ 08046

                    Johnson, Steven T
                    7185 Waldorf Ave.
                    Pennsauken NJ 08105-3130

                    Johnson, Timothy
                    10 S 33rd St.
                    Camden NJ 08105-2604

                    Johnson, Vernon L
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                    Johnstin, Marla A
                    15 Meyner Dr.
                    Bellmawr, NJ 08031-2058

                    Jones, Derrick
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                    Jones, Douglas C
                    126 Lapierre Ave.
                    Magnolia, NJ 08049-1411

                    Jones, Glenn N
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                    Burlington, NJ     08016

                    Jones, Sherri D
                    7 Fomalhaut Ct
                    Turnersville, NJ     08012

                    Jones, Wallace
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                    Philadelphia, PA     19122

                    Jordan, Elton R
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                    Sicklerville, NJ     08081



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                    Jorge, Angel L
                    31 Peters Ln.
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                    439 Moore Blvd
                    Clayton, NJ 08312-1963

                    Kaluhiokalani, Barbara A
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                    Delran, NJ 08075-1228

                    Kamal, Mohammed S
                    3300 Street Rd.
                    Apt D-5
                    Bensalem, PA 19020

                    Kamara, Mohamed A
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                    Camden NJ 08105-2502

                    Kamitian, Keith A
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                    Philadelphia, PA 19146

                    Kanapi, Antonio A
                    35 Rockingham Dr.
                    Marlton, NJ 08053

                    Kanney, Nicholas F
                    8181 Wyndam Rd.
                    Pennsauken, NJ 08109

                    Kearns, Kathleen M
                    319 Susan Dr.
                    Cinnaminson, NJ 08077-4257

                    Keczely, Wesley J
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                    Cherry Hill, NJ 08003

                    Keith, Edward T
                    305 North Main St.
                    Glassboro, NJ 08028




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                    Kelley, John W
                    35 Avon Cir
                    Maple Shade NJ     08052-2200

                    Kemble, Lester W
                    521 Kossuth St.
                    Riverside NJ 08075-3322

                    Kendall, Scott A
                    1310 Wrenfield Way
                    Villanova, PA 19085

                    Kendall, Todd
                    1113 Tower Lane East
                    Penn Valley PA 19072

                    Kenney, Howard
                    4028 N Franklin St.
                    Philadelphia, PA 19140

                    Kenney, Rhoda
                    402 E High St.
                    Philadelphia, PA     19144

                    Kerins, Joseph F
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                    New Egypt NJ 08533-1818

                    Kessler, Frank
                    333 Rosemary Ln.
                    Narbeth, PA 19072

                    Kester, Thomas
                    631 A St.
                    King Of Prussia, PA     19406-2734

                    Kha, Hung Thanh
                    2117 Hillcrest Ave.
                    Pennsauken, NJ 08110-1708

                    Khatun, Ozifa
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                    Bensalem, PA 19020

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                    Pennsauken, NJ 08109-1622



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                    Knazek, Andrew
                    4592 Campenille Ct
                    Suwanee, GA 30024-3094

                    Knight, William
                    268 S Cecil St.
                    Philadelphia, PA     19139

                    Knipp, Nancy L
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                    Cinnaminson, NJ     08077-2747

                    Koester, John N
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                    Koger, Percy
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                    Philadelphia, PA 19151

                    Kola, Kristaq
                    7217 Leonard St.
                    Philadelphia, PA     19149

                    Koloski, Wanda J
                    2408 Branch Pk.
                    Cinnaminson, NJ 08077

                    Koohkan, John M
                    54 Versailles Blvd
                    Cherry Hill, NJ 08003

                    Koutsouradis, Linda R
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                    Apt 140B
                    Cherry Hill, NJ 08002

                    Kramer, Jules
                    2403 Chestnut Hill Dr.
                    Cinnaminson NJ 08077-3622

                    Krawczyk, Raymond W
                    1940 Narberth Ave.
                    Haddon Heights, NJ 08035

                    Kreiner, Andrew D
                    5 Lacy Ct
                    Clayton, NJ 08312-1540


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                    Kuehl, Daniel E
                    7 Woodcrest Dr.
                    Eastampton, NJ 08060

                    Kuo, Pi-Chu
                    1661 Blue Jay Ln.
                    Cherry Hill NJ 08003-3101

                    Kuppler, Joseph W
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                    Somerdale, NJ 08083

                    Kuzmanich, Kathy E
                    344 Maple Ave.
                    Audubon, NJ 08106

                    Kwoka, Edwina A
                    748 Carter Ave.
                    Bellmawr, NJ 08031

                    Laboz, Eric S
                    1283 Club House Rd.
                    Gladwyne PA 19035

                    Lacayo, Jose E
                    930 N 3rd St.
                    Camden NJ 08102-2629

                    Lake, David M
                    2221 S 24th St.
                    Philadelphia, PA     19145-3205

                    Lam, Beeper
                    5424 Westford Rd.
                    Philadelphia, PA 19120

                    Lamb, Sherron M
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                    Winslow St Apt I
                    Camden, NJ 08104

                    Lambert, Anslem A
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                    Apt A
                    Camden, NJ 08105




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                    Langdale, Julie
                    111 Kinsley Rd.
                    Pemberton, NJ 08068

                    Laskavy, Dalian
                    309 Tanner Ave.
                    Hatboro, PA 19040

                    Lassiter, Louis
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                    Delanco NJ 08075-4413

                    Latorres, Bernard D
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                    Riverside, NJ 08075

                    Lavinsky, Irv S
                    12 Partridge Ct
                    Marlton, NJ 08053-2851

                    Layton, Lisa M
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                    Glendora, NJ 08029

                    Le, An Van
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                    Cherry Hill, NJ 08003

                    Le, Ngan Van
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                    Pennsauken, NJ     08110-2120

                    Le, Tan Van
                    1857 W River Dr.
                    Pennsauken NJ 08110-2925

                    Lee, Robert Wayne
                    2552 N 18th St.
                    Philadelphia, PA 19132

                    Leggett, Darnell
                    3221 N 15th St.
                    Philadelphia, PA     19140



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                    Leggett, Reginald L
                    109 Wentz Ave.
                    Woodbury Heights, NJ      08097-1636

                    Leib, Theresa M
                    912 Chestnut Ave.
                    Laurel Springs, NJ     08021-2021

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                    Camden NJ 08105-4317

                    Leonard, Mark E
                    131 Greenlynne Dr.
                    Levittown, PA 19057

                    Lepow, Norman
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                    Cherry Hill NJ 08034

                    Letts, David C
                    2319 Memorial Ct
                    Atco, NJ 08004

                    Lewis, David B
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                    Pennsauken, NJ 08109

                    Lewis, Herman G
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                    Camden, NJ 08105

                    Lewis, Joseph
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                    Morrisville, PA 19067

                    Lewis-Salley, Dena Iris
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                    Philadelphia, PA 19123

                    Liberatore, Michael
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                    Sicklerville, NJ 08081

                    Lightfoot, Timothy P
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                    Riverside, NJ 08075-4011



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                    Ligoussou, Augustin P
                    3001 Rte 130 S
                    Apt 86Q
                    Delran, NJ 08075

                    Lind-Caro, Sean
                    200 Mill Dr.
                    Levittown, PA 19056

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                    Philadelphia, PA 19120

                    Linero, Ricardo
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                    Upper Darby, PA 19082

                    Lipford, Virginia A
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                    Cherry Hill, NJ 08034

                    Lisboa, Jorge L
                    3821 Royal Ave.
                    Pennsauken, NJ 08110-6322

                    Little, Jon I
                    3752 Garfield St.
                    Apt B
                    Pennsauken, NJ 08110

                    Lloyd, Lamont D
                    3102 Cove Rd.
                    Pennsauken, NJ 08109-2536

                    Lobel, Mark A
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                    Millville, NJ 08332-1005

                    Loges, Steven E
                    187 Billows Dr.
                    Mount Royal, NJ     08061-1073

                    Loi, Man Chi
                    532 W Chew Ave.
                    Philadelphia, PA     19120




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                    Loperfido, Samuel M
                    4739 Poplar Ave.
                    Pennsauken, NJ 08109

                    Lopez, Carmelo
                    3514 N 6th St.
                    Philadelphia, PA     19120

                    Lopez, Daniel A
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                    Pennsauken, NJ 08109-1541

                    Lopez, Heriberto
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                    Philadelphia, PA     19111

                    Lopez, Jorge L
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                    Camden, NJ 08103-2103

                    Lopez, Nelson
                    918 N 25th St.
                    Camden, NJ 08105-3824

                    Lopez, Nemesio A
                    944 N 31st St.
                    Apt 2
                    Camden NJ 08105-4114

                    Lopez, Osvaldo
                    211 S 2nd St.
                    Colwyn, PA 19023

                    Lopez, Peter J
                    5325 Harding Rd.
                    Pennsauken, NJ 08109-1834

                    Lopez, Roberto J
                    6816 Highland Ave.
                    Pennsauken, NJ 08110

                    Lopez, Yadira S
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                    Pennsauken, NJ 08109-1541

                    Lopshansky, Rachel
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                    Bensalem, PA 19020


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                    Love, Amanda
                    2302 Corbett Rd.
                    Pennsauken, NJ 08110

                    Lowe, Andrew M
                    529 S 6th St.
                    Camden, NJ 08103-1339

                    Lowe, Barbara Lynn
                    529 S 6th St.
                    Camden, NJ 08103-1339

                    Luckey, Anthony
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                    Philadelphia PA     19132

                    Lundstedt, James E.
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                    Lumberton, NJ 08048

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                    Po Box 522
                    Washington Crossing PA       18977

                    Lyon, William David
                    126 N Haddon Ave.
                    Fl 2
                    Haddonfield, NJ 08033-2306

                    Machado, Angel L
                    3732 'M' St.
                    Philadelphia, PA     19124

                    Mackenzie, William Scott
                    609 Blueberry Dr.
                    Atco, NJ 080041121

                    Magee, Alfred
                    1709 S Taylor St.
                    Philadelphia, PA 19147

                    Maiellano, Rocco J
                    608 Signers Cir
                    Marlton NJ 08053-5339




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                    Makins, Robber L
                    6514 Highland Ave.
                    Pennsauken NJ 08110-5808

                    Maldonado, Evans J
                    3126 N 7th St.
                    Philadelphia, PA 19133

                    Maldonado, Luis A
                    5502 River Rd.
                    Pennsauken NJ 08110-2845

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                    Camden, NJ 08102-1924

                    Manchin, Kyle A
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                    Wallingford, PA     19086

                    Mangini, Rocco S
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                    Maple Shade, NJ 08052

                    Mann, Eileen K
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                    Pennsauken, NJ 08109-2457

                    Manning, Patrick
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                    Philadelphia, PA     19132

                    Maoxomphu, Bountry
                    1931 S Bouvier St.
                    Philadelphia, PA 19145-2907

                    Marable, Michael
                    1935 N Warnock St.
                    Philadelphia, PA 19122

                    Marin, Michele
                    4508 N Palethorp St.
                    Philadelphia, PA 19140

                    Marrero, Tomas R
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                    Apt B
                    Camden, NJ 08102-1825


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                    Marrero, Victor
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                    Camden, NJ 08102-1701

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                    Martinez, Jose J
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                    Camden, NJ 08102

                    Martinez, Luis A
                    1409 Centennial
                    Village
                    Camden, NJ 08105

                    Martinez, Pablo E
                    1411 Unruh Ave.
                    Philadelphia, PA 19111-4909

                    Martinez, Ruben
                    3339 N Philip St.
                    Philadelphia, PA 19140

                    Martinez, Ruben
                    828 N 30th St.
                    Camden, NJ 08105-4106

                    Martucci, Kimberly A
                    651 W 3rd Ave.
                    Runnemede, NJ 08078

                    Mason, Roger C
                    147 Hall Rd.
                    Lincoln Univ, PA     19352-1708


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                    Mathew, Thomas K
                    1538 Hellerman St.
                    Philadelphia, PA 19149

                    Matias, Jaime
                    7325 Romeo Ave.
                    Pennsauken, NJ 08110

                    Matthews, James T
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                    Camden, NJ 08102

                    Matthews, Lamar S
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                    Camden, NJ 08104

                    Maute, Christopher M
                    611 8th St.
                    Riverside, NJ 08075

                    Maya, Pablo
                    2821 N 6th St.
                    Philadelphia, PA     19133

                    Mayer, Paul Robert
                    329 N Read Ave.
                    Runnemede, NJ 08078

                    Mazeall, Karl E
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                    Browns Mills NJ 08015-3792

                    Mazzenga, Theresa H
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                    Blackwood, NJ 08012

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                    Philadelphia, PA 19111

                    Mccargo, William
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                    Pennsauken NJ 08110-3407

                    Mccarroll, Michael J
                    7 Lloyd Ct
                    Marlton, NJ 08053-1932



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                    Mccarthy, Nydia
                    65 Peacock Ln.
                    Willingboro, NJ     08046-2725

                    Mccormick, Robert C
                    2609 Memphis St.
                    Philadelphia, PA 19125

                    Mcgee, Peter H
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                    Apt 32
                    Palmyra NJ 08065-1922

                    Mcginty, William B
                    635 Allison Rd.
                    Huntingdon Valley, PA      19006

                    Mcgrane, Joseph J
                    11w Spring Garden St.
                    Palmyra NJ 08065-2548

                    Mcintyre, Norman E
                    47 Ave.nue Rd.
                    Tabernacle NJ 08088-9756

                    Mcmillan, Rayshan
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                    Philadelphia, PA 19120

                    Mcnair, Daniel R
                    1208 Brookview Cir
                    Marlton, NJ 08053-1655

                    Medina, Awilda
                    1042 N 22nd St.
                    Camden NJ 08105-3628

                    Medina, Edwin
                    2774 Mickle St.
                    Apt 1
                    Camden, NJ 08105-2201

                    Medina, Raul
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                    Levittown, PA 19055




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                    Medley, Brian C
                    806 A Point St.
                    Camden, NJ 08102

                    Meinel, Charles A
                    200 Nathan Place
                    West Grove, PA 19390

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                    Philadelphia, PA 19140

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                    Clementon, NJ 08021-5841

                    Mensah, Joseph S
                    615 Woodhollow Dr.
                    Marlton, NJ 08053

                    Mercado, Jose A
                    210 Elm St.
                    Camden NJ 08102-2038

                    Merkh, David H
                    35 S White Horse Pk
                    Apt 416
                    Audubon NJ 08106-1344

                    Merrill, Lewis J
                    19 First St.
                    Apt B
                    Pemberton, NJ 08068

                    Merryman, Michelle A
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                    Yardley, PA 19067

                    Mevoli, Gino F
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                    Sicklerville, NJ     08081-1339




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                    Mierzejewski, Walter J
                    607 Bridgeboro St.
                    Riverside, NJ 08075

                    Milligan, Barbara A
                    149 Whippoorwill Way
                    Mantua, NJ 08051-1382

                    Mitcham, Matthew J
                    125a N 3rd St.
                    Camden, NJ 08102

                    Mitchell, Malenda
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                    Philadelphia, PA 19139

                    Mitchell, Willie A
                    2426 N Garnet St.
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                    Moctezuma, Carlos C
                    30 Wykagyl Rd.
                    Somerdale, NJ 08083-2815

                    Mojica, Ricardo
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                    Pennsauken, NJ 08110-3309

                    Molina, Luis A
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                    Camden, NJ 08105-3606

                    Mollica, Forrest D
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                    Montanez, Carmelo
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                    Pennsauken, NJ 08109-1009

                    Montara, Roderick A
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                    Apt A-4
                    Bensalem, PA 19020

                    Moore, Anthony
                    969 Monitor Rd.
                    Camden, NJ 08104


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                    Moore, Ivan O
                    14 N Warwick Rd.
                    Somerdale, NJ 08083

                    Moore, Michael J
                    636 Broad St.
                    Apt A
                    Woodbury, NJ 08096

                    Moore, Shirley M
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                    Camden, NJ 08105

                    Moreira, Frank G
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                    Mullica Hill, NJ     08062

                    Morgan, Lorne
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                    Philadelphia, PA 19143

                    Morris, Robert A
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                    Clayton NJ 08312-1214

                    Morris, William B
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                    Camden, NJ 08102-1219

                    Morrison, Eugene
                    21 N Spruce St.
                    Millville, NJ 08332-4131

                    Morton, Craig S
                    125 S White Horse Pk
                    Apt 76
                    Lindenwold, NJ 08021

                    Mosaky, Somnuk
                    28 Church St.
                    Camden NJ 08105-2414

                    Mourey, Paul F
                    508 Wheatley Ave.
                    Beverly NJ 08010-1046




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                    Mroz, Joseph M
                    3 Langley Dr.
                    Sewell, NJ 08080

                    Mueller, Joseph T
                    2207 Sweetbriar Rd.
                    Morrisville, PA 19067

                    Mundell, Eric G
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                    Camden, NJ 08104

                    Munford, John A
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                    Chesilhurst NJ 08089-1136

                    Munin, Robert S
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                    Media, PA 19063

                    Munoz, Pablo E
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                    Pennsauken NJ 08110-3440

                    Muns, Michael V
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                    Camden, NJ 08102

                    Murphy, Irene
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                    Philadelphia, PA     19154

                    Murphy, James F
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                    Apt 222
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                    Murray, Kevin
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                    Camden, NJ 08105

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                    Philadelphia, PA 19148

                    Narvaez, Eduardo G
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                    Philadelphia, PA 19149


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                    Narvaez, Liliana
                    514 N 31st St.
                    Camden, NJ 08105-1422

                    Navarro, Brenda
                    2345 N 6th St.
                    Philadelphia, PA     19133

                    Nazario, Jose R
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                    Apt A
                    Camden, NJ 08105

                    Neeley, David
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                    Philadelphia, PA 19151

                    Negron, Juan
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                    Camden NJ 08105-2012

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                    Philadelphia, PA 19126

                    Neiling, John R
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                    Mount Laurel, NJ 08054-2135

                    Neilson, Robert David
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                    Mount Laurel, NJ 08054-3216

                    Nelson, Dennis K
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                    Camden, NJ 08103

                    Nerestant, Jean T
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                    Apt A
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                    Blackwood NJ 08012-2852




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                    Neville, Marykay
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                    Manchester, CT 06040

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                    Pennsauken NJ 08110-2830

                    Newman, Arnold F
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                    Nguyen, Minh Van
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                    Pennsauken, NJ 08109-1203

                    Nguyen, On Van
                    242 E Allegheny Ave.
                    Philadelphia, PA 19134-2237

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                    Woodlynne, NJ 08107

                    Nguyen, Thuan Duc
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                    Camden, NJ 08104-1315

                    Nichols, Michael
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                    Camden, NJ 08105

                    Nicolosi, Alexis L
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                    Sicklerville, NJ 08081

                    Nieves, Fernando L
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                    Paulsboro, NJ 08066-2128

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                    Camden, NJ 08105-1104

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                    Pennsauken NJ 08110-3829

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                    Philadelphia, PA 19132



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                    Novy, Karlye D
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                    Elgin, IL 60124

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                    2347 49th St.
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                    Obregon, Eduardo A
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                    Burlington, NJ    08016

                    Ogando, Jose A
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                    Pennsauken NJ 08110-6410

                    Oldfield, Brenda H
                    2441 Shelley Ln.
                    Pennsauken, NJ 08109-3210

                    O'leary, Nancy M
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                    Mount Laurel, NJ 08054-1411

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                    Bristol PA 19007

                    Orlando, Leonardo
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                    Ortiz, Andres
                    1236 N 20th St.
                    Camden NJ 08105-3758

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                    211 Beideman Ave.
                    Camden, NJ 08105

                    Ortiz, Eva
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                    Philadelphia, PA 19120

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                    Ortiz, Miguel Angel
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                    Philadelphia, PA 19124

                    Ortiz, Ramon A
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                    Maple Shade NJ 08052-2324

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                    Sicklerville, NJ 08081-1412

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                    Overcash, Randy Allen
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                    New Britain, PA 18914-2047

                    Overton, Walter
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                    Padilla, Benjamin
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                    Paist, Dean
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                    Ottsville PA    18942

                    Panas, Ryan C
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                    Panas, William Russell
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                    Philadelphia, PA 19134-4319

                    Panei, Wesley H
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                    Philadelphia, PA     19111

                    Park, John E
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                    Gloucester City NJ      08030-2024


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                    Park, John R
                    42 Baird Ave.
                    Mount Ephraim, NJ     08059

                    Parker, Anthony
                    639 Brill St.
                    Philadelphia, PA     19120

                    Parker, Joseph A
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                    Philadelphia PA 19144

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                    Camden, NJ 08105

                    Paskett, Carl
                    426 Herman Dr.
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                    Paskman, David S
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                    Gloucester City, NJ     08030-2312

                    Pastoriza, Mark A
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                    Deptford, NJ 08096

                    Patel, Bhanubhai S
                    1405 New Rodgers Rd.
                    Apt Bb-12
                    Bristol, PA 19007

                    Patel, Bharati
                    2056 Beech Ln.
                    Bensalem, PA 19020-4438

                    Patel, Dilip V
                    5115 Windward Ln.
                    Bensalem PA 19020

                    Patel, Hasmukhbhai
                    1100 Newportville Rd.
                    Apt 509
                    Croydon, PA 19021




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                    Patel, Ishavarbhai
                    3241 Hulmeville Rd.
                    Apt C 97
                    Bensalem, PA 19020

                    Patel, Jekisanbhai
                    1912 Saxon Dr.
                    Feasterville, PA 19053

                    Patel, Jyotsna Kiritbhai
                    2819 Kate Ave.
                    Apt E-8
                    Bensalem, PA 19020

                    Patel, Jyotsnaben
                    2819 Kate Ave.
                    Apt G-7
                    Bensalem, PA 19020

                    Patel, Manjulaben
                    2819 Kate Ave.
                    Apt E-8
                    Bensalem, PA 19020

                    Patel, Manubhai
                    2819 Kate Ave.
                    Carriage Pl Apt E-8
                    Bensalem, PA 19020

                    Patel, Nirmala
                    3241 Hulmeville Rd.
                    Apt E154
                    Bensalem, PA 19020

                    Patel, Parvatiben
                    1912 Saxon Ave.
                    Feasterville, PA 19053

                    Patel, Prafulbhai
                    2819 Kate Ave.
                    Apt E-1
                    Bensalem, PA 19020

                    Patel, Pravin
                    2686 Colmar Ave.
                    Bensalem, PA 19020




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                    Patel, Rajnikant
                    1142 Maple Ave.
                    Bensalem, PA 19020

                    Patel, Ramesh
                    1405 Veterans Hwy
                    Apt 05
                    Bristol, PA 19007

                    Patel, Ravindra
                    2819 Kate Ave.
                    Apt F-3
                    Bensalem, PA 19020

                    Patel, Saguna
                    2500 Knights Rd.
                    Apt 124-02
                    Bensalem, PA 19020

                    Patel, Sudhaben A
                    1405 New Rodgers Rd.
                    Apt R2
                    Bristol, PA 19007

                    Patel, Tarlika
                    2500 Knights Rd.
                    Apt 148-04
                    Bensalem, PA 19020-8468

                    Patel, Tarlikaben
                    1689 Radburn Rd.
                    Bensalem, PA 19020

                    Patel, Vinubhai
                    1316 Bradford Ln.
                    Bensalem, PA 19020

                    Patel, Vishnukumars
                    1405 Veterans Hwy
                    Apt G8
                    Bristol, PA 19007

                    Payton, Jason Kyle
                    2404 Wainwright St.
                    Camden, NJ 08104-2650




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                    Peatross, Marcia I
                    506 W Charles St.
                    Palmyra, NJ 08065

                    Pedraza, Ramon C
                    17 Euclid Ave.
                    Merchantville, NJ     08109-1812

                    Peel, Lena
                    4343 N 8th St.
                    Philadelphia, PA     19140

                    Pennicott, Raymond E
                    6049 Webster St.
                    Philadelphia, PA 19143-2315

                    Penny, Steven N
                    2625 S Shields St.
                    Philadelphia, PA 19142

                    Peoples, Artie D
                    1214 N 33rd St.
                    Camden, NJ 08105-4310

                    Pepe, Mona
                    273 E Browning Rd.
                    Bellmawr, NJ 08031

                    Percy, Darryl D
                    4849 N Sydenham St.
                    Philadelphia, PA 19141

                    Perez, Serafin
                    1008 Bulson St.
                    Camden NJ 08104-2369

                    Perez, Victor M
                    100 Marshall Ave.
                    Mount Ephraim, NJ     08059-1852

                    Perilli, Michael J
                    813 N Victoria Ave.
                    Ventnor City, NJ 08406-1209

                    Perkins, Mark T
                    502 Monroe Ave.
                    Edgewater Park, NJ     08010



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                    Peterson, Russell A
                    130 Thomas Ave.
                    Maple Shade, NJ 08052

                    Peterson, Samill R
                    3271 Aramingo Ave.
                    Philadelphia, PA 19134

                    Peterson, Sterling
                    920 S 19th St.
                    Philadelphia, PA 19146

                    Peterson, Steve
                    3271 Aramingo Ave.
                    Philadelphia, PA 19134

                    Peterson, Steve A
                    6336 N Norwood St.
                    Philadelphia, PA 19138

                    Pham, Joseph Khoa
                    4532 Harding Rd.
                    Pennsauken NJ 08109-1831

                    Pham, Kelvin Duy
                    1440 Vankirk St.
                    #3180
                    Philadelphia, PA     19149-3326

                    Phillips, Roseann M
                    18 Kenton Pl
                    Mount Laurel, NJ 08054-2645

                    Phoeung, Phov
                    439 Jackson St.
                    Philadelphia, PA     19148

                    Pickel, Muriel Jean
                    625 Jackson Rd.
                    Williamstown, NJ 08094-4708

                    Pierce, Mark A
                    121 Kings Bridge
                    Apt 121
                    Lumberton, NJ 08048




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                    Piersante, Wanda W
                    101 Peach Rd.
                    Marlton, NJ 08053-7028

                    Pike, Mark R
                    400 N Blackhorse Pk.
                    Apt A11
                    Blackwood, NJ 08012-3056

                    Pipes, Jerome
                    503 Randolph St.
                    Camden, NJ 08105-2722

                    Pless, William T
                    201 Larchmont Dr.
                    Delanco, NJ 08075-4949

                    Plimsoll, Maryann S
                    407 Cinnaminson Ave.
                    Apt 4
                    Palmyra NJ 08065-1637

                    Politowski, Robert A
                    7251 Bradford St.
                    Philadelphia, PA 19149-1304

                    Portella, Anthony C
                    601 Washington Ave.
                    Palmyra NJ 08065-2009

                    Porter, Vincent
                    2327 W Hagert St.
                    Philadelphia, PA 19122

                    Powell, Sajid H
                    947 Newton Ave.
                    Camden, NJ 08103

                    Powner, Dennis
                    1268 Sayres Ave.
                    Camden NJ 08104-2002

                    Pratt, Halim A
                    28 Oxford Circle
                    South Hampton, NJ     08088




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                    Presley, Eugene
                    7 Latimer Way
                    Burlington, NJ 08016

                    Pressley, Betty S
                    123 Old Doc Ct
                    Lexington, NC 27295-6767

                    Pugh, Perry W
                    1256 N 21st St.
                    Camden, NJ 08105-3708

                    Purden, Harry B
                    1109 Byberry Rd.
                    Philadelphia, PA     19116-2101

                    Quindlen, William
                    4507 Aldine St.
                    Philadelphia, PA 19136

                    Quinn, Michael J
                    991 Harrison St.
                    Philadelphia, PA     19124

                    Quintana, Jose
                    1868 45th St.
                    Pennsauken, NJ     08110

                    Quinter, Lee J
                    6140 Westfield Ave.
                    Pennsauken, NJ 08110

                    Rakos, Rodney E
                    800 Trenton Rd. Apt 1
                    Langhorne, PA 19047

                    Ramirez, Alonso C
                    919 N 27th St.
                    Camden, NJ 08105

                    Ramirez, Armando R
                    950 N 33rd St.
                    Camden NJ 08105-4304

                    Ramirez, Jesus
                    33 N 24th St.
                    Apt 39
                    Camden NJ 08105-1105


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                    Ramos, Alberto
                    642 N 8th St.
                    Camden, NJ 08102-1838

                    Ramos, Angel L
                    321 N 40th St.
                    Pennsauken, NJ    08110-3131

                    Ramos, Antonio
                    1496 Kenwood Ave.
                    Camden, NJ 08103-2814

                    Ramos, Fernando
                    916 N 31st St.
                    Camden NJ 08105-4114

                    Ramos, Mariano
                    3200 Federal St.
                    Apt B
                    Camden NJ 08105-2650

                    Ramos-Montijo, Waldemar
                    914 Lois Ave.
                    Camden, NJ 08105

                    Ramsey, Daniel M
                    5246 Lebanon Ave.
                    Philadelphia, PA 19131-2307

                    Rao, Bharatkumar
                    2301 Woodward St.
                    Apt K-3
                    Philadelphia, PA 19115

                    Ray, Kenneth
                    2731 N Bonsall St.
                    Philadelphia, PA 19132

                    Reed, Katrina
                    1447 N Franklin St.
                    1st Flr
                    Philadelphia, PA 19122

                    Rentas, Annette
                    3055 Stevens St.
                    Camden, NJ 08105-2340




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                    Renteria, Rocendo M
                    905 A North 21st St.
                    Camden, NJ 08105-4305

                    Repas, William S
                    310 Myrtle Ave.
                    Woodbury, NJ 08096

                    Ressler, Isadore
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                    Huntingdon Valley PA      19006

                    Reyes, Isabel
                    2840 N Reese St.
                    Philadelphia, PA     19133

                    Reyes, Reinaldo
                    509 Windsor Ave.
                    Maple Shade, NJ 08052-2239

                    Rice, Jerry T
                    173 E Essex Ave.
                    Lansdowne, PA 19050

                    Richam-Odoi, Brian
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                    Woodlynne, NJ 08107

                    Richardson, Jason R
                    523 Charleston Rd.
                    Willingboro, NJ 08046

                    Richardson, Robert L
                    Po Box 3139
                    Camden NJ 08101-3139

                    Richardson, Thomas J
                    17 Florence Tollgate
                    Apts Apt 1
                    Florence NJ 08518-3102

                    Richardson, Walter N
                    648 Marlyn Rd.
                    Philadelphia, PA 19151

                    Richmond, Fred
                    4843 Walnut St.
                    Philadelphia, PA     19143


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                    Riley, John O
                    1612 Hope St.
                    Philadelphia, PA     19122

                    Rios, David A
                    739 Jefferson St.
                    Camden, NJ 08104

                    Risich, Raymond T
                    2900 Glenview St.
                    Philadelphia, PA 19149

                    Rivera, Aladino J
                    4592 'G' St.
                    Philadelphia, PA 19120

                    Rivera, Alberto
                    511 Rising Sun Ave.
                    Philadelphia, PA 19140

                    Rivera, Angel
                    618 N 35th St.
                    Camden NJ 081051202

                    Rivera, Anibal
                    7112 Waldorf Ave.
                    Pennsauken, NJ 08110-6131

                    Rivera, Benjamin
                    526 N 34th St.
                    Camden NJ 081053903

                    Rivera, Carlos Juan
                    2801 Harrison Ave.
                    Camden, NJ 08105-4011

                    Rivera, Carmen
                    910 Gilham St.
                    Philadelphia PA     19111

                    Rivera, Douglas G
                    2847 Lincoln Ave.
                    Camden NJ 08105-4424

                    Rivera, Mariano
                    501 Browning Ln.
                    Apt 11-D
                    Brooklawn, NJ 08030


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                    Rivera, Miguel A
                    635 W Venanago St.
                    Philadelphia, PA 19134-4440

                    Rivera, Rafael
                    1750 Lexington Ave.
                    Pennsauken, NJ 08110

                    Rivera, Ramon
                    6714 Maple Ave.
                    Pennsauken, NJ 08109-2829

                    Rivera, Ramon A
                    927 N 19th St.
                    Camden, NJ 08105-3607

                    Rivera, Regina G
                    72 Sandpiper Dr.
                    Voorhees, NJ 08043-1617

                    Rivera, Robert
                    6115 Magnolia Ave.
                    Pennsauken, NJ 08109-1314

                    Rivers, Willie Mae
                    4501 Frankford Ave.
                    Apt 6
                    Philadelphia, PA 19124

                    Robb, William J
                    301 Delaware Ave.
                    Croydon PA 19021

                    Robinson, Adrian D
                    646 Royden St.
                    Camden, NJ 08104

                    Robinson, Andrew
                    1502 N 7th St.
                    Philadelphia, PA     19122

                    Robinson, Evan R
                    1439 W Indiana Ave.
                    Philadelphia, PA 19132

                    Robinson, Randy L
                    1015 Raritan Ave.
                    Atco, NJ 08004


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                    Robinson, Robert
                    1944 47th St.
                    Apt B
                    Pennsauken, NJ 08110-3042

                    Robinson, Walter T
                    625 Cedar Ave.
                    Collingswood NJ 08108-3829

                    Robles, Edelmiro
                    1290 Swedesboro Rd.
                    Monroeville, NJ 08343-4638

                    Rodriguez, Angel L
                    2131 Scovel Ave.
                    Pennsauken, NJ 08110-1723

                    Rodriguez, Carlos M
                    5627 Lexington Ave.
                    Pennsauken, NJ 08109

                    Rodriguez, Carlos
                    4327 North Orianna Street
                    Philadelphia, PA 19140

                    Rodriguez, Cornelio R
                    415 Veterans Dr.
                    Palmyra NJ 08065-2320

                    Rodriguez, Eduvigis
                    1102 N 20th St.
                    Camden NJ 08105-3756

                    Rodriguez, Francisco
                    1236 N 32nd St.
                    Camden NJ 08105

                    Rodriguez, Freddy E
                    902 N 24th St.
                    Camden, NJ 08105

                    Rodriguez, German
                    118 Lincoln Ave.
                    Magnolia, NJ 08049-1306

                    Rodriguez, Moses
                    4236 Palmetto St.
                    Philadelphia, PA 19124


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                    Rodriguez, Natasha
                    1909 E Birch St.
                    Philadelphia, PA 19134

                    Rodriguez, Olga
                    25 S 34th St.
                    Camden, NJ 08105

                    Rodriguez, Ramon A
                    1038 Mechanic St.
                    Camden NJ 08104-1148

                    Rodriguez, Raul A
                    3821 N 7th St.
                    Philadelphia PA 19140

                    Rodriguez, Santos
                    3141 Knorr St.
                    Philadelphia, PA 19141

                    Rodriguez, Sergio A
                    2406 N 39th St.
                    Pennsauken NJ 08110-2251

                    Rodriguez, Victor
                    1909 Birch St.
                    Philadelphia, PA 19134

                    Rojas, Carlos A
                    2616 Almond St.
                    Philadelphia, PA     19125

                    Rojas, Elisa M
                    737 Market St.
                    Gloucester City, NJ     08080

                    Rolon, Carlos
                    320 Garden Ave.
                    Camden, NJ 08105

                    Roman, Daniel
                    211 Hope Ct
                    Mount Laurel, NJ     08054

                    Roman, Digno
                    263 Burwood Ave.
                    Camden, NJ 08105-3003



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                    Roman, Hector E
                    3225 Rorer St.
                    Philadelphia, PA     19134-1720

                    Roman, Jose A
                    3075 Mickle St.
                    Camden NJ 08105-2317

                    Roman, Kathleen
                    334 Fox Hollow Dr.
                    Langhorne, PA 19053-2480

                    Roman-Diaz, Santos
                    1220 N 34th St.
                    Camden, NJ 08105

                    Romanok, Allen C
                    751-303 Estates Blvd
                    Mercerville, NJ 08619

                    Rosario, Marcos A
                    2510 47th St.
                    Pennsauken, NJ 08110-2030

                    Rosario, Tania V
                    1040 E Tioga St.
                    Philadelphia, PA     19134

                    Rose, Marlon L
                    5 Stoneshire Dr.
                    Glassboro, NJ 08028

                    Rose, Michael J
                    5538 Jackson Ave.
                    Pennsauken, NJ 08110

                    Rosewall, Thomas
                    302 Eugenia Dr.
                    Medford, NJ 08055

                    Ross, Jesse J
                    203 Colorado Trl
                    Browns Mills NJ 08015-5603

                    Ross, William C
                    6648 Eastwood St.
                    Philadelphia, PA 19149



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                    Rothrock, Arch W
                    210 Sunny Acres Dr.
                    Lewisville, NC 27023-8652

                    Rubert, Ismael
                    941 N 33rd St.
                    Camden NJ 08105-4303

                    Rucci, Melissa
                    2332 North 6th Street
                    Philadelphia, PA 19125

                    Rugama, Edgar R
                    114 Elm Ave.
                    Oaklyn, NJ 08107

                    Ruiz, Wilfredo A
                    3120 Fremont St.
                    Camden, NJ 08105-3007

                    Rush, Katherine A
                    6 Kelly Dr.
                    Deptford, NJ 08096

                    Rutherford, James
                    110 Heath Road
                    Medford NJ 08055

                    Salame, Ruth C
                    930 N 3rd St.
                    Camden, NJ 08102-2629

                    Salley, Robert
                    712 N Franklin St.
                    Philadelphia, PA 19123

                    Salvador, Steven R
                    233 Stanger Ave.
                    Glassboro, NJ 08028

                    Sammon, Michael P
                    5046 Pleasant Ave.
                    Pennsauken, NJ 08100

                    Sanabria, Carlos E
                    6108 Wayne Ave.
                    Pennsauken, NJ 08110



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                    Sanchez, Angela
                    13043 Blakeslee Ct
                    Philadelphia, PA 19116

                    Sanchez, Christobal
                    1115 N 19th St.
                    Camden NJ 081053611

                    Sanchez, Jose
                    6021 Vandike St.
                    Philadelphia PA 19135

                    Sanchez, Jose V
                    2203 43rd St.
                    Camden, NJ 08110

                    Sanchez, Manuel J
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                    Box 1209
                    Camden, NJ 08105

                    Sanchez, Reynaldo Ivan
                    1903 Pierce Ave.
                    Camden, NJ 08105-3649

                    Sanders, Darla
                    5031 Ditman St.
                    Philadelphia, PA     19124

                    Sanders, Natasha
                    5031 Ditman St.
                    Philadelphia, PA     19124

                    Sanguinetti, Carlos A
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                    Philadelphia, PA 19125-3806

                    Santana, Jeremias
                    513 Nassau Ave.
                    Paulsboro, NJ 08066

                    Santiago, Carlos
                    2912 Buren Ave.
                    Camden, NJ 08105

                    Santiago, Edwin L
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                    Pennsauken, NJ 08110-2537


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                    Santiago, Edwin R
                    4158 N Reese St.
                    Philadelphia, PA 19140

                    Santiago, Henry
                    5823 N 4th St.
                    Philadelphia, PA     19120

                    Santiago, Jose L
                    6730 Oakley St.
                    Philadelphia, PA     19111

                    Santiago, Rafael
                    449 Delair Ave.
                    Pennsauken, NJ 08110-3816

                    Santiago, Vincent
                    1240 Bergen Ave.
                    Camden, NJ 08105

                    Santiago, Zoraida
                    2345 N 6th St.
                    Philadelphia, PA 19133

                    Santos, Brendalee
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                    Camden, NJ 08104

                    Santos, Eric E
                    290 Baldwins Ln.
                    Camden, NJ 08105

                    Sao, Bunchhoeurth
                    7237 Brent Rd.
                    Upper Darby, PA 19082

                    Saunders, Eric D
                    2735 Snyder Ave.
                    Philadelphia PA 19145

                    Saunders, Kenneth
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                    Cherry Hill, NJ 08034

                    Savane, Diassa
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                    #1002
                    Maple Shade, NJ 08052


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                    Scarberry, William
                    282 Buchanan Ave.
                    Bellmawr NJ 08031-1511

                    Scarfo, Lori L
                    3 Lexington Ave.
                    Merchantville, NJ     08109-2013

                    Scarlett-Moore, Kadian A
                    1320 Neshaminy
                    Valley Dr.
                    Bensalem, PA 19020

                    Schaefer, Bernadette
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                    Apt 1631
                    Croydon, PA 19021

                    Schafer, Joseph W
                    152 Crown Prince Dr.
                    Marlton, NJ 08053

                    Schall, Frederick
                    103 Fellowship Rd.
                    Moorestown, NJ 08057-3203

                    Schaller, Thomas F
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                    Somerdale, NJ 08083

                    Scheiblein, Joseph
                    624 S Randolph Ave.
                    Cinnaminson, NJ 08077

                    Schipani, Jeffery W
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                    Oakdale, PA 15071

                    Schmelia, Robert E
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                    Moorestown, NJ 08057

                    Schnarrs, Kenneth J.
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                    Lumberton, NJ 08048




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                    Schoeffling, Marianne
                    3 Campbell Ct
                    Tabernacle, NJ 08088

                    Schwartzberg, Sheldon S
                    140 Old Lyme Rd.
                    Apt 4
                    Williamsville, NY 14221

                    Schweizer, Thomas C
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                    Philadelphia PA 19137

                    Schwertly, Donald J
                    320 W 3rd Ave.
                    Runnemede, NJ 08078

                    Scotkin, Alan
                    680 N Tyson Ave.
                    Glenside, PA 19038-3829

                    Scott, Delphine M
                    1209 Windrim Ave.
                    Philadelphia, PA 19141

                    Scott, Gregg
                    1811 Kinsey St.
                    Philadelphia, PA     19124

                    Scott, Omar S
                    1704 N Sydenham St.
                    Philadelphia, PA 19121

                    Scott, Reginald W
                    11 Marblestone Ln.
                    Willingboro, NJ 08046

                    Sears, Renate
                    1 John Sloan Way
                    Marlton, NJ 08053

                    Seller, Craig
                    36 Ponderosa Dr.
                    Holland, PA 18966

                    Septak, Gary M
                    84 Walnut St.
                    Mount Holly, NJ     08060


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                    Sequeira, Oscar
                    1935 Tinsman Ave.
                    Pennsauken, NJ 08110-2858

                    Serrano, Juan A
                    6050 Hasbrook Ave.
                    Philadelphia PA 19111

                    Serrano, Maria S
                    942 N 32nd St.
                    Camden NJ 08105-4220

                    Sgobbo, Kurt
                    1106 York Rd.
                    Cherry Hill, NJ     08034

                    Sharkey, Michael W
                    304 Leach St.
                    Riverside, NJ 08075

                    Sherrer, Daniel J
                    850 Hudson St.
                    Gloucester City, NJ     08030-1521

                    Sherrod, Harold B
                    29 Eden Rock Ln.
                    Willingboro, NJ 08046

                    Shervin, Stephen
                    324 Wayne Ct
                    Holland PA 18966-2761

                    Shine, Richard D
                    5825 Howard St.
                    Philadelphia, PA     19141

                    Siano, Geraldine M
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                    Apt E76
                    Philadelphia, PA 19115

                    Siedlecki, Mark F
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                    Clayton, NJ 08312

                    Silver, Roanne E
                    10 Greenbrook Dr.
                    Marlton NJ 08053-1950


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                    Silverio, Victor R
                    3203 N Hancocks St.
                    Philadelphia, PA 19140

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                    3325 Jasper St.
                    Philadelphia, PA     19134

                    Singh Bhandal, Gurpreet
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                    Burlington, NJ 08016

                    Singh, Asgar S
                    727 Rancocas Rd.
                    Westampton NJ 08060-5625

                    Singh, Bhagwant
                    25 Theo Ct
                    Burlington, NJ 08016-2328

                    Singh, Jaswant
                    6848 Marshall Rd.
                    Upper Darby, PA 19082

                    Singh, Kulwinder
                    29 Theo Ct
                    Burlington NJ 08016-2341

                    Singh, Pal
                    5 Fall Dr.
                    Burlington, NJ     08016-2875

                    Smigelski, Hubert J
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                    Gloucester City, NJ     08030-1657

                    Smith, Alexanderraphel
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                    Philadelphia, PA 19154

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                    Turnersville, NJ 08012

                    Smith, Henry
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                    Camden, NJ 08105



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                    Smith, Jamell A
                    1952 N Dennie St.
                    Philadelphia, PA 19140-1721

                    Smith, Jeffrey F
                    36 Haines Mill Rd.
                    Delran NJ 080751737

                    Smith, Kelly K
                    125 Colonial Sq Dr.
                    Lindenwold, NJ 08021

                    Smith, Kenneth A
                    1314 Dayton St.
                    Camden, NJ 08104-2016

                    Smith, Liston
                    822 S 8th St.
                    Camden, NJ 08103-2533

                    Smith, Lonnie E
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                    Pennsauken, NJ 08110-2124

                    Smith, Ronnie
                    7835 Woolston Ave.
                    Philadelphia, PA 19150

                    Smith, Steven
                    908 Union Ave.
                    Pennsauken NJ 08110-2469

                    Smith-Sturgis, Lorne P
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                    Camden, NJ 08103-2339

                    Snyder, Lawrence
                    373 Shady Brook Dr.
                    Langhorne, PA 19047-8032

                    Sobanhdith, Peter
                    413 Cantrell St.
                    Philadelphia, PA 19148

                    Sopaj, Ali M
                    3151 Hellerman St.
                    Philadelphia, PA 19149



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                    Sorensen, Paul
                    508 Leonard Lane
                    Mullica Hill, NJ     08062

                    Sosa, Ebin L
                    1122 N 32nd St.
                    Camden, NJ 08105-4224

                    Soto, Gerardo
                    2212 Norwood Ave.
                    Pennsauken, NJ 08110-1607

                    Soto, Roberto
                    3260 Lemuel Ave.
                    Camden, NJ 08105-1557

                    Soto, Salvador
                    815 N 30th St.
                    Camden NJ 08105-4105

                    Soukhaphonh, Somnuk
                    1919 Mifflin St.
                    Philadelphia, PA 19145

                    Speller, Benjamin H
                    412 Rhode Island Ave.
                    Cherry Hill NJ 08002-2527

                    Speller, Benjamin Hasa
                    280 E Queen Ln.
                    Philadelphia, PA 19144

                    Srinivas, Ranga
                    37 Forest Hill Dr.
                    Cherry Hill, NJ 08003

                    Stachura, Mark J
                    4 Lynn Drive
                    Burlington, NJ 08016

                    Stancil, Joseph L
                    813 Winder Dr.
                    Bristol, PA 19007

                    Stanley, James E
                    3001 Rt 130
                    Apt 23g
                    Delran, NJ 08075


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                    Stanley, James L
                    124 Spruce Ln.
                    Hainesport, NJ 08036

                    Stargell, Mark S
                    2012 Rowland St.
                    Cinnaminson, NJ 08077

                    Steets, Paul Peter
                    97 Erial Rd.
                    Clementon, NJ 08021-4445

                    Stefanick, Patricia F
                    8 Oak Ln.
                    Mount Laurel, NJ 08054-2075

                    Stein, E E
                    10 Anvil Ct
                    Cherry Hill, NJ     08003

                    Steinroeder, Joseph
                    9500 Highland Woods
                    Unit 7308
                    Bonita Springs, FL 34135

                    Stephens, Marvin
                    800 Felton Ave.
                    Sharon Hill, PA 19079-2311

                    Stern, Martin
                    1448 Dewey Ave.
                    North Bellmore, NY     11710-2131

                    Stevens, Edward J
                    122 S Church St.
                    Moorestown, NJ 08057-3607

                    Stevens, Jeffery E
                    212 S 35th St.
                    Camden NJ 08105-2105

                    Steward, Kenneth C
                    6117 Spruce St.
                    Philadelphia, PA 19143

                    Stewart, Joseph
                    4051 Howland St.
                    Philadelphia PA 19124


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                    Still, Tyrone
                    1223 E Cheltenham Av
                    Philadelphia, PA 19124

                    Stojak, Karen L
                    4747 Garden St.
                    Philadelphia, PA     19137

                    Stratton, Jules
                    2833 Yorkship Rd.
                    Camden NJ 08104-2803

                    Stratton, Milton
                    17 S 35th St.
                    Camden NJ 08105-2611

                    Stratton, Raymond A
                    1221 Liberty St.
                    Camden NJ 08104-1247

                    Straub, Frederick
                    1156 Picasso Ct
                    Williamstown, NJ 08094

                    Suber, James M
                    38 Pastoral Ave.
                    Willingboro, NJ 08046

                    Suchodolski, Michael T
                    225 Kent Rd.
                    Warminster PA 18974

                    Sullivan, Kevin A
                    107 Gentry Dr.
                    Perkasie, PA 18944

                    Summers, Timothy
                    35 Verdant Rd.
                    Levittown, PA 19057

                    Suppa, Constance M
                    67 Harding Ave.
                    Runnemede, NJ 08078

                    Swartz, Kenneth Bruce
                    53 Spring Garden St.
                    Riverside, NJ 08075-3641



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                    Sweet, Laura L
                    836 Upton Way
                    Somerdale, NJ 08083

                    Swoope, Blane E
                    52 Exton Lane
                    Willingboro, NJ     08046

                    Sysengrath, Saly
                    419 Cantrell St.
                    Philadelphia, PA     19148

                    Tate, Charllnova
                    2129 Simpson St.
                    Philadelphia, PA     19142

                    Taylor, Eugene
                    1250 N 18th St.
                    Philadelphia PA     19121-5027

                    Taylor, Gary K
                    1928 E Tioga St.
                    Philadelphia, PA     19134

                    Taylor, George J
                    42 W Broad St.
                    Apt 58
                    Palmyra, NJ 08065

                    Taylor, Gloria E
                    3425 Sw Fashoda St.
                    Port St. Lucie, FL 34953

                    Taylor, Janet M
                    28 Argyle Ave.
                    Blackwood NJ 08012-4561

                    Taylor, Leonard R
                    407 Cinnaminson Ave.
                    Apt 1
                    Palmyra, NJ 08065-1637

                    Taylor, Michelle Lynn
                    32 William Penn Cir
                    Medford, NJ 08055-3716




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                    Teachey, Bobby L
                    5217 N 15th St.
                    Philadelphia, PA     19141

                    Teiss, James
                    2517 Dunksferry Rd.
                    Apt L-302
                    Bensalem, PA 19020

                    Temple, Wilfred S
                    443 Lexington Ave.
                    Pennsauken NJ 08110-2828

                    Thomas, Alice
                    1538 Hellerman St.
                    Philadelphia, PA 19149

                    Thomas, Gene R
                    135 Peterson Blvd
                    Deptford, NJ 08096

                    Thomas, Kelly J
                    827 Tulip St.
                    Camden, NJ 08104

                    Thomas, Patrick A
                    1338 Chase St.
                    Camden, NJ 08104

                    Thompson, Harvey
                    2945 N 8th St.
                    Philadelphia, PA     19132

                    Thompson, Michael A
                    210 East Hanover St.
                    Apt 1
                    Trenton, NJ 08618

                    Thompson, Roger K
                    506 Pine Hill Garden
                    Pine Hill, NJ 08021

                    Tillery, William
                    419 Main St.
                    Apt D
                    Darby, PA 19023




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                    Tingle, Wayne A
                    2819 Kates Ave.
                    Apt H-6
                    Bensalem PA 19020

                    Todd, Lawrence W
                    6861 Greenleaf Dr.
                    N Richland Hills, TX      76180

                    Toliver, Brian K
                    118 Liberty Ct
                    Swedesboro, NJ 08085-4256

                    Toney, Gerald
                    850 Tulip St.
                    Camden, NJ 08104

                    Torres, Angelica
                    5427 Sylvester St.
                    Philadelphia, PA 19124

                    Torres, Edwin
                    230 W Sheldon St.
                    Philadelphia, PA 19120-3319

                    Torres, Jose
                    7360 Forrest Ave.
                    Pennsauken, NJ 08110-4013

                    Torres, Juan A
                    463 Knight Island Rd.
                    Earleville, MD 21919-3203

                    Torres, Junior R
                    136 W Spencer Ave.
                    Philadelphia, PA 19120

                    Torres, Tammy
                    2964 N Tulip St.
                    Philadelphia, PA     19134

                    Toure, Hamed N
                    511 E Gibbsboro Rd.
                    Apt 4302
                    Lindenwold, NJ 08021-1880




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                    Tran, Danh T
                    1838 48th St.
                    Pennsauken NJ    08110-2912

                    Tran, Henry
                    6325 Lexington Ave.
                    Pennsauken, NJ 08109-1178

                    Tran, Hung C
                    127 Round Hill Rd.
                    Voorhees, NJ 08043-1248

                    Tran, Quynh
                    1422 Starling Ln.
                    Cherry Hill, NJ 08003-2719

                    Tran, Thanh V
                    309 N 40th St.
                    Pennsauken, NJ    08110

                    Tran, Timothy
                    312 High St.
                    Westville, NJ    08093

                    Trang, Tin T
                    117 Linden Ave.
                    Woodlynne, NJ 08107

                    Traynham, James Davis
                    442 S 50th St.
                    Philadelphia, PA 19143

                    Trowery, Christopher M
                    511 Gibbsboro Rd.
                    Apt 3615
                    Lindenwold, NJ 08021

                    Truong, Huan C
                    1726 S Bancroft St.
                    Philadelphia, PA 19145

                    Truong, Jimmy
                    2714 Cove Rd.
                    Pennsauken, NJ    08109

                    Tucker, John M
                    113 Centennial Dr.
                    Sicklerville, NJ 08081


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                    Turner, Aaron
                    5209 'D' St.
                    Philadelphia, PA     19120

                    Ulrich, Nicholas
                    407 Atlanta Ct
                    Sewell, NJ 08080

                    Underwood, Jason
                    305 Union Ave.
                    Bellmawr, NJ 08031

                    Vachhani, Damodar
                    1405 Veterans Hwy
                    Apt V-7
                    Bristol, PA 19007

                    Valente, Nick A
                    403 Delview Ln.
                    Delanco, NJ 08075

                    Van Fossen, Meghan E
                    806 Division St.
                    Gloucester City, NJ 08030

                    Vandergrift, Kathleen B
                    7 Stites Ave.
                    Gloucester City NJ 08030-2120

                    Vanderhost, Jannice
                    1019 S Frazier St.
                    Philadelphia, PA 19143

                    Vanore, William
                    525 Summit Ave.
                    Westville, NJ 08093

                    Vanzant, Thomas M
                    347 Mercer Street
                    Gloucester, NJ 08030

                    Vargas, Moises
                    1258 E Pike
                    Philadelphia, PA     19124-4004

                    Vargas, Pedro
                    249 E Tioga St.
                    Philadelphia PA     19134


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                    Vargas, Wilson
                    7246 Saul St.
                    Philadelphia, PA     19149

                    Vasa, Mila
                    59 Stecher Ave.
                    Delran, NJ 080751464

                    Vasquez, Ferdinand
                    1138 N 33rd St.
                    Camden NJ 08105-4308

                    Vasquez, Jose A
                    6108 Wayne Ave.
                    Pennsauken, NJ 08110-1738

                    Vasquez, Lesbia A
                    3611 Caverow Ave.
                    Pennsauken, NJ 08110-3713

                    Vasquez, Mayra
                    632 Raritan St.
                    Camden, NJ 08105-2731

                    Vazquez, Abraham
                    1029 N 31st St.
                    Camden, NJ 08105

                    Vazquez, Adalberto
                    109 Linden St.
                    Camden NJ 08102-1630

                    Vazquez, Antonio
                    109 S Wilmer St.
                    Glassboro NJ 08028-2535

                    Vazquez, Manuel
                    141 N 34th St.
                    Camden NJ 08105-2503

                    Vazquez, Ovidio
                    942 N 32nd St.
                    Camden NJ 08105-4220

                    Vazquez, Pablo A
                    2706 Rhawn St.
                    Philadelphia, PA     19152



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                    Velazquez Perez, Luis Noel
                    629 S 4th St.
                    Camden, NJ 08103-1844

                    Velazquez, Andres
                    3805 Garden Ave.
                    Pennsauken, NJ 08110

                    Velazquez, Joshua
                    5823 N 4th St.
                    Philadelphia, PA 19120

                    Velazquez, Sergio
                    7527 Baxter St.
                    Pennsauken NJ 08109-3229

                    Velez Vazquez, Nelson
                    65 S 27th St.
                    Camden, NJ 08105

                    Velez, Candice R
                    2129 45th St.
                    Pennsauken, NJ 08100

                    Venier, Andrew John
                    301 Society Hill Blvd.
                    Cherry Hill NJ 08003-2414

                    Verlander, Henry S
                    Hawthorne Woods
                    Apt 7-D
                    Deptford, NJ 08096

                    Vestel, Rafael
                    229 Nandina St.
                    Philadelphia, PA     19116

                    Vicente, Rafael A
                    3049 Mickle St.
                    Camden NJ 08105-2344

                    Vincent, Matthew T
                    1759 N 43rd St.
                    Pennsauken, NJ 08110

                    Vitarelle, Patrick
                    227 Stuart St.
                    Howell, NJ 07731


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                    Vitarelle, Richard
                    260 Crescent Ave.
                    Spotswood, NJ 08884

                    Vives, Luis B
                    5 Hemlock Dr.
                    Blackwood, NJ    08012-3126

                    Vo, Mong T
                    8345 Osler Ave.
                    Pennsauken, NJ 08109-3724

                    Vongsakda, Sounthone
                    435 W Shunk St.
                    Philadelphia, PA 19148

                    Vu, Sang Van
                    6016 Jefferson Ave.
                    Pennsauken, NJ 08110

                    Wagner, Robert G
                    2254 Lexington Ave.
                    Fl 2
                    Pennsauken, NJ 08110-1938

                    Wajda, Christopher S
                    18 Karemark Dr.
                    Burlington, NJ 08016-4139

                    Walker, Orin T
                    633 Pasadena Dr.
                    Magnolia, NJ 08049

                    Wall, Deanna M
                    83 Versailles Ct
                    Hamilton, NJ 08619

                    Wallace, Rufus
                    5358 Woodland Ave.
                    Apt 2
                    Philadelphia, PA 19143

                    Walter, Timothy W
                    2220 Tidalview Garth
                    Abingdon, MD 21009




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                    Wapner, Lee
                    169 Sherwood Dr.
                    Churchville PA 18966

                    Ward, Braheem
                    7931 Woolston Ave.
                    Philadelphia, PA 19150

                    Ward, Robert
                    2824 Earle St.
                    Pennsauken, NJ     08110-5717

                    Warner, Harry E
                    2932 Union Ave.
                    Pennsauken NJ 08109-3504

                    Warner, Harry Elwood
                    2389 Route 70 W
                    Rm 138
                    Cherry Hill, NJ 08002

                    Washington, Felder
                    1443 Kaighns Ave.
                    Camden NJ 08103-2935

                    Watkins, John
                    1309 Browning St.
                    Camden NJ 08104-2011

                    Weal, Anthony
                    232 Schubert Ave.
                    Runnemede, NJ 08078

                    Weinstein, Lynne N
                    130 Merion Way
                    Hainesport, NJ 08036

                    Wekerle, Joseph
                    116 Smith Ln.
                    Runnemede, NJ 08078-1342

                    West, Elaina M
                    129 Sycamore Ct
                    Collegeville, PA     19426

                    West, Ronald T
                    3700 New York Ave.
                    Pennsauken, NJ 08109


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                    Wetmore, William
                    795 Chelsea Glenn Rd.
                    Clarksboro, NJ 08020

                    Whaley, Robert L
                    6529 Kindred St.
                    Philadelphia, PA     19149

                    Wharton, Eugene E
                    114 Hillcrest Dr.
                    Sewell, NJ 08080

                    Wheeler, James
                    6758 Walnut Ave.
                    Pennsauken NJ 08109-2440

                    White, Janet A
                    207 Allendale Dr.
                    Morrisville, PA 19067-4807

                    White, Michael
                    312 Ashbourne Rd.
                    Claymont, DE 19703

                    White, Michael R
                    19 Windingbrook Dr.
                    Atco, NJ 08004-2903

                    Whitehead, Andrew
                    5402 Rutland St.
                    Philadelphia, PA 19124

                    Whittaker, James C
                    131 Poplar Ave.
                    Westville, NJ 08093

                    Wilkins, Michael
                    2135 W Venango St.
                    Apt 3f
                    Philadelphia, PA 19140

                    Williams, Bruce A
                    701 Red Bank Ave. P-7
                    Woodbury, NJ 08096-4920

                    Williams, Daniel
                    6115 Chancellor St.
                    Philadelphia, PA 19139


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                    Williams, Desmond M
                    1176 Mechanic St.
                    Camden, NJ 08104

                    Williams, Donald
                    423 Chrislena Ln.
                    West Chester, PA 19380

                    Williams, Donta D
                    29 Dover Lane
                    Sicklerville, NJ 08081

                    Williams, Ephrain
                    2441 N Myrtlewood
                    Philadelphia, PA 19132

                    Williams, Jessica N
                    1754 47th St.
                    Pennsauken, NJ 08110

                    Williams, John H
                    140 Rosebay Ct
                    Delran NJ 08075-2848

                    Williams, John P
                    700 Berkley St.
                    Camden, NJ 08103

                    Williams, Murmond T
                    146 Edge Ln.
                    Willingboro, NJ 08046

                    Williams, Rosemary
                    5235 Penngrove
                    Philadelphia, PA 19131

                    Willis, Gerald Keith
                    1330 Sayres Ave.
                    Camden, NJ 08104-2004

                    Wilson, Harry
                    8552 Williams Ave.
                    Philadelphia, PA 19150

                    Wilson, Ichol G
                    144 Cedar Ave.
                    Woodlynne, NJ 08107



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                    Wilson, James H
                    2822 Arthur Ave.
                    Camden, NJ 08105

                    Wilson, Jonathan B
                    2887 Constitution Rd. North
                    Camden NJ 08101

                    Wilson, Vincent
                    5246 W Jefferson St.
                    Philadelphia, PA 19131

                    Wilson, William
                    964 N 33rd St.
                    Camden NJ 081054304

                    Winkelspecht, Daniel B
                    503 Bloomfield Dr.
                    Westampton, NJ 08060-2470

                    Witherspoon-Johnson, Wanda M
                    918 Clementsbridgerd
                    Apt L6
                    Runnemede, NJ 08078

                    Witman, Brenda A
                    224 Burke Ave.
                    Woodbury, NJ 08096-1924

                    Womack, Robert
                    2417 N Marshall St.
                    Philadelphia, PA 19133

                    Wood, Richard V
                    918 Clements Bridge
                    Apt G-11
                    Runnemede, NJ 08078

                    Wright, Thomas J
                    204 Northampton Ct
                    Canton, GA 30115

                    Wyatt, John J
                    3456 New Moon St.
                    Browns Mill, NJ 08015




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                    Xhezo, Hysen
                    3222 Guilford St.
                    Philadelphia, PA 19136

                    Yatrovsky, Vladimir J
                    1200 Route 70 E
                    Apt 811
                    Cherry Hill NJ 08034-2125

                    York, Dennis C
                    126 Winstead Dr.
                    Westampton, NJ 08060

                    York, James J
                    636 Oxford Dr.
                    Maple Shade, NJ     08052-2234

                    Young, Daniel E
                    1927 N 52nd St.
                    Philadelphia, PA     19131-3301

                    Young, Lloyd Leon
                    5100 Lebonan Ave.
                    Apt 504
                    Philadelphia, PA 19131-3333

                    Zaldivar, Jannette
                    2856 N Congress Rd.
                    Camden, NJ 08104

                    Zambrana, Ruben
                    330 Elm Ave.
                    Woodlynne, NJ 08107

                    Zambrana, Samuel
                    2148 43rd St.
                    Pennsauken, NJ 08110

                    Zamora, Nelson J
                    5259 Royal Ave.
                    Pennsauken, NJ 08109-1033

                    Zayas, Jose L
                    7134 Highland Ave.
                    Pennsauken, NJ 08110-6214




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                    Zayas, Rafael A
                    4252 N American St.
                    Philadelphia, PA 19140

                    Zepeda, Wilfredo
                    1733 46th St.
                    Pennsauken NJ 08110-3668

                    Zeszut, John J
                    4622 Solly Ave.
                    Philadelphia, PA     19136

                    "33" World Of Welding
                    P.O Box 1075
                    Delran, NJ 08075

                    "D" Electric Motors Inc.
                    94 West Sherman Avenue
                    P.O. Box 2367
                    Vineland, NJ 08360

                    "Dol-Osha"
                    U.S. Department Of Labor
                    Marlton Executive Park
                    Bldg. 2 Suite 120
                    Marlton, NJ 08053

                    *Zavcor Trucking Limited
                    Rr#1 Wainfleet
                    Ontario L0s 1v0
                    Canada

                    1sync, Inc
                    PO Box 71-3883
                    Columbus, OH 43271-3883

                    21st. Century Sign Co.
                    912 Longwood Avenue
                    Cherry Hill, NJ 08002

                    3 C's Hardware
                    8146 Lefferts Blvd
                    Jamaica, NY 11415 1730




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                    3311180 Canada Inc.
                    25 Holly Road
                    Hampstead
                    Quebec Canada
                    H3x3k6

                    3-D Bolt Company
                    9204 Collins Ave.
                    Pennsauken, NJ 08110

                    3d-Cam
                    9139 Lurline Avenue
                    Chatsworth, CA 91311

                    3m Touch Systems
                    800 Carleton Court
                    Annacis Island
                    New Westminster BC
                    V3m 6ls

                    3t True Temperature Tech.
                    Theradion Industrial Park
                    Misgav 20179, Israel

                    44 Financial Corp.
                    The Lewis Tower
                    225 S. 15th Street 26th Floor
                    Philadelphia, PA 19102

                    4S Showcase Manufacturing
                    675 Berriman St
                    Brooklyn, NY 11208 5303

                    5 D's Trucking Inc.
                    18 Kent Avenue
                    Maple Shade, NJ 08052

                    7 Oil Co. Inc.
                    P.O. Box 2526
                    Cinnaminson, NJ     08077

                    84 Lumber
                    Attn: Michael Damato
                    4330 S Decatur Blvd
                    Las Vegas, NV 89103




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                    9 Jay Gould Ct.
                    P.O. Box 753
                    Waldorf, ME 20604

                    A & A Glass Co.
                    1200 S. Collings Rd
                    Camden, NJ 08104

                    A & A Glass
                    1200 S. Collings Road
                    Camden, NJ 08104

                    A & A Industrial Glove
                    Company
                    623 Bettlewood Avenue
                    Collingswood, NJ 08108

                    A & A Machinery Moving Inc.
                    90 Main Street
                    Tullytown, PA 19007

                    A & A Messenger & Delivery
                    Service
                    P.O. Box 464
                    Annandale, NJ 08801

                    A & A Mfg. Co., Inc.
                    Department 3810
                    P.O. Box 2088
                    Milwaukee, WI 53201-3810

                    A & A Packaging Products
                    9419 Belair Road
                    Baltimore, MD 21236

                    A & A Powder Coating
                    Division Of Parkway Machine
                    1930 Greenspring Drive
                    Timonium, MD 21093-0277

                    A & A Soft Pretzels
                    211 Massachusetts Ave.
                    Cherry Hill, NJ 08002

                    A & B Action Electric
                    P.O. Box 121
                    Huntingdon Vall, PA 19006



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                    A & B Kanzinger
                    PO Box 92
                    Gladwyne, PA 19035

                    A & B Smith Co.
                    4250 Old William Penn Hwy.
                    Monroeville, PA 15146

                    A & B Wiper Supply
                    5601 Paschall Ave.
                    Philadelphia, PA 19143

                    A & B Wiper Supply, Inc
                    5601 Paschall Avenue
                    Philadelphia, PA 19143

                    A & D Lift Truck Service,
                    Inc.
                    1496 Cambridge Place
                    Bensalem, PA 19020

                    A & G Heat Sealing
                    205 Marcus Boulevard
                    Hauppaugue, NY 11788

                    A & H Metals Inc.
                    249 E. Chestnut Hill Rd.
                    Newark, DE 19713

                    A & M Industrial Supply
                    1414 Campbell St.
                    P.O. Box 1044
                    Rahway, NJ 07065

                    A & M Machine, Inc.
                    417 Bunting Ave
                    Trenton, NJ 08611

                    A & M Machine, Inc.
                    533 Whitehead Road Bldg 3
                    Hamilton, NJ 08619

                    A & N Electric Motor & Pump
                    505 West Kings Highway
                    Mt. Ephraim, NJ 08059




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                    A & S Manufacturing
                    PO Box 1282
                    Southeastern, PA 19399

                    A & S Steel Co.
                    45 W. Taunton Road
                    Berlin, NJ 08009

                    A A M A
                    1827 Walden Office Sq, Ste
                    550
                    Schaumburg, IL 60173

                    A A Supreme Lock & Key
                    6919 13th Ave
                    Brooklyn, NY 11228 1601

                    A All American Fasteners
                    2303 Garry Rd Ste 1
                    Cinnaminson, NJ 080772560

                    A B F Freight System Inc
                    PO Box 697
                    Cherryville, NC 280210697

                    A C & S Supply Co., Inc.
                    113 Fox Hill Drive
                    Marlton, NJ 08053

                    A Cut Above
                    27 Carolina Avenue
                    Cherry Hill, NJ 08003

                    A D A Locksmith
                    52 Scenic View Dr
                    PO Box 361
                    Sicklerville, NJ 08081

                    A D P Inc
                    PO Box 9001006
                    Louisville, KY 402901006

                    A Duie Pyle Inc
                    PO Box 564
                    West Chester, PA 19381 0564




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                    A Few Guys & A Hammer
                    Construction Co.
                    9430 Prindle Road
                    North East, PA 16428

                    A K M Inc
                    #126
                    668 Stony Hill Rd
                    Yardley, PA 19067

                    A O V
                    4th Floor Suite # 9
                    340 N. 12th Street
                    Philadelphia, PA 19107-1123

                    A P B Machinery Corporation
                    101a Devon Road
                    Ontario Canada
                    A L6T 5A4

                    A P B Transportation Inc
                    1300 Adams Ave
                    Philadelphia, PA 19124

                    A P M Commercial Pest Control
                    2902 Haddonfield Rd
                    Pennsauken, NJ 08110

                    A P Sales & Associates Inc
                    5112 Grady Ct
                    Flower Mound, TX 75028

                    A Service Company Inc
                    PO Box 368
                    Collingswood, NJ 08108

                    A T & T Mobility
                    PO Box 6463,
                    Carol Stream, IL 60197 6463

                    A T & T Wireless
                    PO Box 8220
                    Aurora, IL 60572 8220

                    A T & T
                    PO Box 371430
                    Pittsburgh, PA    15250-7430



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                    A To Z Rental Center
                    8000 Route 130
                    Delran, NJ 08075

                    A Trice Photo
                    351 Eagle Road
                    Newtown, PA 18940

                    A Trice Photographics Inc.
                    351 Eagle Road
                    Newtown, PA 18940

                    A&A Messenger & Delivery Svce
                    P.O. Box 464
                    Annandale, NJ 08801

                    A&G Extrusion Technology Gmbh
                    Industriestrasse 5
                    A-4061 Pasching
                    Austria

                    A&M Industrial Supply
                    1414 Campbell St.
                    P.O. Box 1044
                    Rahway, NJ 07065

                    A. Defalcis Co. Inc.
                    832 Camden Ave
                    Blenheim, NJ 08012

                    A. Duie Pyle Inc.
                    P.O. Box 564
                    West Chester, PA 19381-0564

                    A. Finkl & Sons
                    2011 South Port Ave.
                    Chicago, IL 60614-8154

                    A. Grim's Coatings & Sealants
                    21 S Hill Street
                    Shrewsbury, PA 17361

                    A. Kirchheimer Co.
                    5750 Old Orchard Road
                    Skokie, IL 60077




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                    A. Marianni's Sons
                    P.O. Box 26821
                    2942 East Tioga St.
                    Philadelphia, PA 19134

                    A.A. Shabazz Locksmith
                    9224 S. Loomis Street
                    Chicago, IL 60620

                    A.B.M. Electrical Corp
                    7340 Milnor Street
                    Philadelphia, PA 19136

                    A.C. Schultes
                    664 South Evergreen Avenue
                    Woodbury Heights, NJ 08097

                    A.C.C.
                    PO Box 2331
                    Cinnaminson, NJ     08077

                    A.C.P.Q.
                    1104, Levis
                    Lachenaie
                    Ontario Canada
                    J6W 4l1

                    A.D. Ice Hockey Foundation
                    PO Box 7401
                    Atlantic City, NJ 08404

                    A.F.A
                    C/O Master Halco
                    6755 East 34th Street
                    Indianapolis, IN 46226

                    A.G. Adjustments, Ltd
                    1600 Old Country Road
                    PO Box 9109, Suite 100
                    Plainview, NY 11803-9109

                    A.I. Credit Corp.
                    P.O. Box 780
                    Morrisville, NC 27560




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                    A.I.G.
                    Retro Operations
                    80 Pine Street
                    New York, NY 10005

                    A.I.M.S
                    PO Box 308
                    Willow Grove, PA     19090

                    A.J. Weigand Inc.
                    P.O. Box 130
                    Dover, OH 44622

                    A.L. Liebman
                    46-20 76th St
                    Elmhurst, NY 11373

                    A.L. Singmaster Personnel
                    P.O. Box 708
                    Devon, PA 19333

                    A.L.S.Sportswear
                    5407 108th Sve Ne
                    Kirkland, WA 98033

                    A.M. Haire Body Company
                    516 Pineywood Road
                    Thomasville, NC 27360

                    A.M. Machine Inc.
                    417 Bunting Ave.
                    Trenton, NJ 08611

                    A.S.M.E. Accounting Dept
                    P.O. Box 2900
                    22 Law Drive
                    Fairfield, NJ 07007-2900

                    A.S.Q.C.
                    P.O. Box 555
                    Milwaukee, WI    53201-0555

                    A.V. Weber Company Inc.
                    101 Elm Avenue
                    North Wales, PA 19454




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                    A.V.S. Vacuum
                    182 West 28th St
                    Northampton, PA 18067

                    A.W. Chesterton Company
                    1 Bethany Road
                    Suite 45
                    Hazlet, NJ 07730

                    A-1 Industrial Equipment
                    PO Box 827
                    Newfield, NJ 08344-9998

                    A-1 Industrial Equipment,
                    Inc.
                    405 Helms Avenue
                    Swedesboro, NJ 08085

                    A-1 Lock & Safe Shop
                    1001 South E St
                    PO Box 1502
                    Richmond, IN 47374

                    AA Abrasives Inc.
                    121 N. 3rd Street
                    Philadelphia, PA 19106

                    AA Electric
                    1 Madison Street
                    East Rutherford, NJ     07073

                    AA Thread Seal Tape Inc
                    1275 Kyle Ct
                    Wauconda, IL 60084

                    AAA Cooper Transportation
                    P.O. Box 6827
                    Dothan, AL 36302

                    AAA Emergency Ice Inc.
                    6100 Belair Road
                    Baltimore, MD 21206

                    AAA Locksmith & Hardware Corp
                    43-24 Queen's Blvd
                    Long Island City, NY 11104
                    1110



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                    Aaa Pool Supply Inc.
                    321 S. Houston Lake Rd.
                    Warner Robins, GA 31088

                    Aacoa
                    2551 C.R. 10 West
                    Elkhart, IN 46514

                    Aall American Fasteners
                    2200 Wallace Blvd.
                    Suite B
                    Cinnaminson, NJ 08077

                    Aama Installation Masters
                    Instructor Training &
                    Accreditation
                    130 Derry Court
                    York, PA 17402-9405

                    Aaron Baumann Construction
                    229 South G Street
                    Hamilton, OH 45013

                    Aaron Brown
                    401 E 80th St, Apt 22-J
                    New York, NY 10021

                    Aaron Group
                    1325 Wilkes Street
                    Alexandria, VA 22314

                    Aaron Group
                    C/O Grabell, Greiner, & Wolf
                    PO Box 28777
                    Cleveland, OH 44128

                    Aaron Pools & Spa
                    597 State Road
                    North Dartmouth, MA     02747

                    A-Art Locksmiths
                    187 2nd Ave
                    New York, NY 10003 5752




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                    Aarubco Rubber Company Inc.
                    269 2nd Strret
                    PO Box 8028
                    Saddle Brook, NJ 07663-8028

                    Aaxon Services
                    10 Kimball Place
                    Mt. Vernon, NY 10550

                    A-Best Vending
                    7340 State Road
                    Philadelphia, PA     19136-4220

                    Abb Bomem Inc.
                    585 Charest Blvd. East
                    Suite 300
                    Quebec
                    Qc G1k 9h4

                    Abbeon Cal, Inc.
                    123 Gray Ave.
                    Santa Barbara CA     93101-1809

                    Abbott Mechanical Services
                    1605 Society Place
                    Newtown, PA 18940

                    Abc Supply Co., Inc.
                    2412 Yonkers Rd.
                    Attn: Jim Haley
                    Raleigh, NC 27604

                    Abe Berkleigh/Air & Pump
                    100s. 1st Avenue
                    West Reading, PA 19611

                    Abe N. Solomon Inc
                    Po Box 1305
                    Wilkes Barre, PA 18703

                    Abek Plastic Fabrics, Inc.
                    357 38th Street
                    Brooklyn, NY 11232




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                    Abell-Howe Company
                    Department 5232
                    P.O. Box 30000
                    Hartford, CT 06150-5232

                    A-Best Brew Coffee Service
                    7336 State Road
                    Philadelphia, PA 19136-4220

                    Abf Freight System, Inc.
                    1608 The Queens Way
                    Toronto, Ontario Canada
                    M8z 1v6

                    Abf Freight System, Inc.
                    P.O. Box 10048
                    Fort Smith, AR 72917-0048

                    Abf Freight Systems Inc.
                    6290 Allen Rd.
                    West Chester, OH 45069-3854

                    Abf Freight Systems, Inc.
                    2001 Woodhaven Rd
                    Philadelphia, PA 19116

                    Abf Freight
                    PO Box 10048
                    Fort Smith, AR    72917-0048

                    Abi Window & Door, Inc
                    1911 Westover Lane
                    Kennesaw, GA 30152

                    Abilities Center Of So NJ Inc
                    1208 Delsea Dr
                    Westville, NJ 08093

                    Abj Sprinkler Co, Inc
                    #422a Us Hwy 322
                    PO Box 128
                    Richwood, NJ 08074

                    Abl Classic Group Inc.
                    3830 Terrace Street
                    Philadelphia, PA 19128-5212




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                    Able Alloy, Inc.
                    3500 West 140th Street
                    Cleveland, OH 44111

                    About Cad L.L.C.
                    40 Galesi Drive
                    Wayne, NJ 07470

                    Abrading Methods , Inc.
                    Burr-Abrador Div
                    1011 Davis Rd
                    Elgin, IL 60123

                    Abrams & Adams, Inc.
                    PO Box 1704
                    555e. Dupont Hwy., MI
                    llsboro, DE 19966

                    Abrams Metal Company
                    P O Box 5428
                    Philadelphia, PA 19143-0428

                    Abramson & Denenberg, P.C.
                    1200 Walnut Street
                    Sixth Floor
                    Philadelphia, PA 19107-5499

                    Abs Canon
                    300 Commerce Square Blvd.
                    Burlington, NJ 08016

                    Abs Industries, Inc.
                    P.O. Box 3766
                    Cherry Hill, NJ 08034-0581

                    Absolute Fire & Flood
                    Restoration
                    3820 Dresher Road
                    Bensalem, PA 19020

                    Abstract Overhead Door Co.
                    Inc
                    1911 Pennsylvania Avenue
                    Croydon, PA 19021




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                    Abstract Services & Products
                    515 Swede Street PO Box 1230
                    Norristown, PA 19404

                    Abtec
                    21 West North Street
                    Akron, OH 44304

                    Abx Multimedia Group
                    3308 Dekalb Pike, Suite 1-A
                    E. Norriton, PA 19401

                    Ac General Contractors
                    662 Rennard St
                    Philadelphia, PA 19116

                    Academic Emergency Health
                    Service
                    P.O. Box 7010
                    Bellmawr, NJ 08099-7010

                    Academy Fence Inc.
                    2701 E. Tioga St.
                    Philadelphia, PA 19134

                    Academy Lighting & Supply
                    5 Crescent Ave.,
                    PO Box 788
                    Rockey Hill, NJ 08553

                    Acc Roofing
                    932 Franklin Avenue
                    Bensalem, PA 19020

                    Acc Wireless LLC
                    PO Box 2331
                    Cinnaminson, NJ 08077

                    Accardi Companies
                    65-55 Woodhaven Blvd.
                    Rego Park, NY 11374

                    Accent Control Systems
                    P.O. Box 12943
                    Philadelphia, PA 19101-0943




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                    Access Lock & Safe
                    1115 Sunset Drive
                    Somervale, NJ 08083

                    Acces's Resin Products
                    605 Notre Dame Street
                    2nd Floor
                    St. Lambert Canada
                    J4p 2k8

                    Accountabilities Inc.
                    C/O Action Capital Corp.
                    P.O. Box 56346
                    Atlanta, GA 30343

                    Accountants Executive Search
                    1600 Market Street
                    Suite 1418
                    Philadelphia, PA 19103

                    Accountemps
                    12400 Collections Center
                    Drive
                    Chicago, IL 60693

                    Accountemps
                    D-3759
                    Boston, MA 02241-3759

                    Accounting Principals
                    1 Independent Drive
                    Jacksonville, FL 32202

                    Accredited Laboratories Inc.
                    20 Pershing Avenue
                    Carteret, NJ 07008

                    Accredited Lock Supply Co.
                    PO Box 1442
                    Secaucus, NJ 07096-1442

                    Accu Staffing Services
                    PO Box 8346
                    Cherry Hill, NJ 08002 0346




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                    Accu Trak Tool Corp.
                    490 Stafford Street
                    Cherry Valley, MA 01611

                    Accubond Corporation
                    460 Acorn Lane
                    Downingtown, PA 19335

                    Accubright Systems LLC
                    91 Newport Pike Suite303
                    Newport Center
                    Gap, PA 17527-9579

                    Accu-Labs Inc.
                    4831 South Whipple
                    Chicago, IL 60632

                    Accura Tool & Die Co. Inc.
                    195 Old York Road
                    New Cumberland, PA 17070

                    Accurate Die Works Of Phila-
                    Delphia, Inc.
                    1005-1007 Wood Street
                    Philadelphia, PA 19107

                    Accurate Door & Hardware
                    164 Pennington
                    Newark, NJ 07105

                    Accurate Language Services
                    P.O. Box 2243
                    Haddonfield, NJ 08033

                    Accurate Lift Truck, Inc.
                    200 Cooper Road
                    West Berlin, NJ 08091-9117

                    Accurate Manufacturing Co.
                    12550 Lombard Lane
                    Alsip, IL 60803

                    Accurate Staffing Consultants
                    PO Box 1799
                    Mooresville, NC 28115




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                    Accurate Technologies
                    1575 Jersey Ave
                    North Brunswick, NJ 08902

                    Accu-Tek Tool & Die, Inc.
                    45 1/2 Karago Road
                    Youngstown, OH 44512

                    Accutest
                    2235 Route 130
                    Fresh Ponds Corporate Village
                    Bldg. B
                    Dayton, NJ 08810

                    Accu-Therm Inc.
                    25 Industrial Drive
                    Po Box 249
                    Monroe City, MO 63456

                    Ace Baling Wire
                    P.O. Box 487
                    Levittown, PA 19058

                    Ace Doran Hauling And Rigging
                    1601 Blue Rock Street
                    Cincinnati, OH 45223-2579

                    Ace Fastener Co Inc
                    2 S 17th St
                    PO Box 1327, Camden, NJ 08105

                    Ace Glass Company, Inc.
                    PO Box 4432
                    Columbia, SC 29240

                    Ace Hardware Corporation
                    Attn: A/P Debit Balances
                    2200 Kensington Court
                    Oak Brook, IL 60523 2100

                    Ace Industrial Maintenance
                    Serv
                    P.O. Box 515
                    Phillipsburg, NJ 08865




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                    Ace Lock & Security Supply
                    565 Rahway Ave
                    Union, NJ 07083

                    Ace Motor Sales
                    P.O. Box 176
                    487 Mantua Avenue
                    Woodbury, NJ 08096

                    Ace Overhead Door Company
                    465 Pike Road
                    Unit 107
                    Huntingdon Valley, PA 19006

                    Ace Overhead Door Company
                    Buck Road Business Center
                    465 Pike Road, Units 107/108
                    Huntingdon Valley, PA 19006-
                    1620

                    Ace Pallet Corp
                    PO Box 228
                    Paulsboro, NJ 08066

                    Ace Wire & Spring
                    1105 Thompson Ave
                    Mckees Rocks, PA 15136

                    Acenco Inc.
                    Auburn Division
                    2850 W. Harrison
                    Chicago, IL 60612

                    Ace-Tex Enterprises
                    PO Box 670242
                    Detroit, MI 48267

                    Acheson Colloids Co.
                    P.O. Box 611747
                    Port Huron, MI 48061-1747

                    Aci
                    Automation & Control Inc.
                    423 Commerce Lane
                    Suite 6
                    W Berlin, NJ 08091




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                    Ack Displays Inc.
                    1617-27 North Street
                    Philadelphia, PA 19130

                    Acme Corrugated Box Co Inc
                    PO Box 826139
                    Philadelphia, PA 191826139

                    Acme Corrugated Box Co., Inc
                    2700 Turnpike Drive
                    Hatboro, PA 19040

                    Acme Die Casting
                    Division Of Lovejoy
                    Industries
                    3610 Commercial Avenue
                    Northbrook, IL 60062-1867

                    Acme Markets
                    1105 Rt 130 S
                    Cinnaminson, NJ 08077

                    Acme Packaging Corp.
                    13500 S. Perry Ave.
                    Riverdale, IL 60627-1182

                    Acme Packaging Systems
                    19w751 101fst Street
                    Lemont, IL 06439

                    Acme Plumbing & Heating Inc.
                    612 Creek Road
                    Bellmawr, NJ 08031

                    Acme Uniforms
                    1911 East Clearfield St.
                    P.O. Box 12737
                    Philadelphia, PA 19134

                    Acn Energy Inc
                    7826 Jones Branch Dr
                    Suite 630 Attn: Prog Mgr
                    Mclean, VA 22102




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                    Acordia Inc
                    701 Lee Road
                    Suite 205
                    Chesterbrook, PA     19087

                    Acordia Northeast, Inc.
                    PO Box 823237
                    Philadelphia, PA 19182-3237

                    Acore Door Co
                    421 Race St
                    Coldwater, MI    49036

                    Acorn Industrial Products Co
                    520 Hertzog Boulevard
                    King Of Prussia, PA 19406

                    Acorn Industrial Products
                    520 Hertzog Blvd
                    King Of Prussia, PA 19406

                    Acr Machine, Inc.
                    21 North 10th Avenue
                    Coatesville, PA 19320

                    Acrilex Inc.
                    223 Witmer Road
                    Horsham, PA 19044

                    Acro Display Inc
                    3251 Fox St
                    PO Box 43188
                    Philadelphia, PA 19129

                    Acrotech Inc.
                    980 West Lakewood
                    P.O. Box 466
                    Lake City, MN 55041

                    Acrotech
                    Box 466
                    Lake City, MN    55041

                    Acs Industries, Inc.
                    71 Villanova Street
                    P.O. Box 1010
                    Woonsocket, RI 02895



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                    Action Duplication
                    8 Union Hill Road
                    West Conshohocken, PA      19428

                    Action Foto
                    PO Box 7055
                    Freehold, NJ    07728

                    Action Fuse
                    408 Bloomfield Ave
                    Montclair, NJ 07042

                    Action Packaging Systems Inc
                    PO Box 40000 - Dept 0006
                    Hartford, CT 06151-0006

                    Action Safe & Lock Shop
                    Rt. 13 At 6th Avenue
                    Bristol, PA 19007

                    Action Supply Products Inc.
                    1065 Montour West
                    Ind'l Park
                    Corapolis, PA 15108

                    Action Technology
                    18 Green Pond Road
                    Rockaway, NJ 07866

                    Action Threaded Products
                    P.O. Box 765
                    Bedford Park, IL 60499-0765

                    Action Usa LLC
                    PO Box 24092
                    Knoxville, TN 37933

                    Actium Corporation
                    555 North Lane
                    Suite 5040
                    Conshohocken, PA 19428

                    Actium Corporation
                    555 North Lane
                    Suite 540
                    Conshohocken, PA 19428




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                    Activant Solutions Inc
                    1701 Golf Rd, Ste 3-701
                    Rolling Meadows, IL 60008
                    4067

                    Active Brass Foundry
                    330 Progress Drive
                    Telford, PA 18969

                    Active Electronics
                    1871 E. Route 70
                    Cherry Hill, NJ 08003

                    Active Product Systems
                    Corporation
                    53-35 97th Place
                    Corona, NY 11368

                    Active Transport Inc.
                    245 Bronte Street North
                    Milton,Ontario Canada
                    L9T 3N7

                    Acu-Pr0
                    1405 Chews Landing Road
                    Laurel Sprngs, NJ 08021

                    Acutape Corporation
                    10 Gold Street
                    Norwalk, CT 06850

                    Acute Care Specialists
                    2620 Ridgewwod Rd
                    Suite 100
                    Akron, OH 44313

                    Ad Specialty Printers, Inc.
                    1448a Ford Road
                    Bensalem, PA 19020

                    Adairville Hardware
                    103 S Church St
                    Adairville, KY 42202

                    Adam B Funk
                    4 Sumac Place
                    Lafayette Hills, PA 19444



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                    Adams Brown Personnel
                    1012 Haddonfield Road
                    Suite 105
                    Cherry Hill, NJ 08002

                    Adams Brown Personnel
                    P.O.Box 931974
                    Cleveland, OH 44193

                    Added Attractions, Inc.
                    1614 South 52nd Street
                    Kansas City, KS 66106

                    Addison-Wesley Publishing
                    Co., Inc.
                    One Jacob Way
                    Reading, MA 01867

                    Addo Mailing Services Inc.
                    1 Keystone Avenue
                    Building 36
                    Cherry Hill, NJ 08003-1600

                    Adept Corporation
                    4601 Susquehanna Trail-N
                    York, PA 17406-9496

                    Adex B.V.
                    P.O. Box 3124
                    Nl-5902
                    RC Venlo
                    The Netherlands


                    Adhesive Technologies Inc
                    3 Merrill Industrial Drive
                    Hampton, NH 03842

                    Adhesive Ways Incorporated
                    PO Box 2385
                    Vincentown, NJ 08088

                    Adk Reporting Service
                    5 Randolph Drive
                    Sicklerville, NJ 08081




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                    Adl Insulflex, Inc.
                    8783 Dale Road
                    Cobourg, Ontario
                    Kna 4j9

                    Admiral Freight Systems
                    P.O. Box 66725
                    Chicago, IL 60666

                    Admiral Integration, Inc
                    1950 Old Cuthbert Road
                    Cherry Hill, NJ 08034

                    Admiral Metals
                    11 Forbes Road
                    Woburn, MA 01801

                    Admiral Transportation Inc.
                    Interstate Business Park
                    350 Benigno Boulevard
                    Bellmawr, NJ 08031

                    Adorin Auto
                    209 South Route 73
                    Palmyra, NJ 08065

                    ADP Benefit Services
                    P.O. Box 7247-0367
                    Philadelphia, PA 19170-0367

                    Adpro
                    610 Industrial Drive
                    Yeadon, PA 19050

                    Adri Hardware Co Ltd
                    No. 2, Alley 10, Lane 136
                    Chung Shan Road, Sec. 3
                    Chung Ho City
                    Taipei Hsien

                    Adrian Fabricators, Inc.
                    PO Box 518
                    412 W. Beecher Street
                    Adrian, MI 49221




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                    Adriana Bache
                    363 Yardly Place
                    Williamstown, NJ 08094

                    Adriatic Associates Inc
                    1650 Suckle Hwy.
                    Pennsauken, NJ 08110

                    Adt Security Services
                    PO Box 371967
                    Pittsburgh, PA 15250-7967

                    Advance Adhesive Tech(Aat)
                    424 South Spence
                    Dalton, GA 30721

                    Advance Handling Services
                    125 South Second Street
                    Allentown, PA 18102

                    Advance Management
                    Corporation
                    1530 Glen Ave.
                    Unit One
                    Moorestown, NJ 08057

                    Advance Management
                    Corporation
                    Fire Protections Services
                    PO Box 640
                    Moorestown, NJ 08057-0640

                    Advance Material Handling LLC
                    2042 Stout Field
                    West Drive
                    Indianapolis, IN 46241

                    Advance Sales Systems, Inc
                    1836-3 Stout Drive
                    Warwick Commons Ind. Pk.
                    Warminster, PA 18974

                    Advance Scale Co, Inc
                    2400 Egg Harbor Road
                    Lindenwold, NJ 08021




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                    Advance Scale Co., Inc.
                    P.O. Box 129
                    Clementon, NJ 08021

                    Advance Stamp
                    P.O. Box 144
                    Eagleville, PA    19408

                    Advanced Aardvark Airduct &
                    Carpet
                    Cleaning Co.
                    PO Box 1207
                    Hightstown, NJ 08520

                    Advanced Adhesive Technology
                    424 South Spence
                    Dalton, GA 30721

                    Advanced Air Tool Co. Inc.
                    131 Allen Boulevard
                    Farmingddale, NY 11735

                    Advanced Data Exchange
                    39655 Eureka Drive
                    Newark, CA 94560

                    Advanced Environmental LLC
                    13 Amherst Way
                    Princeton Junction, NJ 08550

                    Advanced Fluid Connectors
                    P.O. Box 287
                    Silver Spring, PA 17575

                    Advanced Fluid Systems, Inc.
                    P.O. Box 360
                    3rd & Green Street
                    Royersford, PA 19468-0360

                    Advanced Fluid Systems, Inc.
                    PO Box 360
                    3rd & Green Streets
                    Royersford, PA 19468

                    Advanced Geological Services
                    3 Mystic Lane
                    Malvern, PA 19355



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                    Advanced I.P. Distributors
                    Corporation
                    984 Rt. 9 S. Suite 7
                    Parlin, NJ 08859

                    Advanced Manufacturing
                    Institute
                    150 Clove Road
                    P.O. Box 401
                    Little Falls, NJ 07424-0401

                    Advanced Micro
                    411-E Caredean Drive
                    Horsham, PA 19044

                    Advanced Office Environments
                    Office Furniture & Systems
                    160 Quaker Lane
                    Malvern Business Park
                    Malvern, PA 19355

                    Advanced Office Environments,
                    2133 Arch Street
                    Mulberry Atrium
                    2nd Floor
                    Philadelphia, PA 19103

                    Advanced Peripherals Inc.
                    24400 Highland Rd. #106
                    Richmond Heights, OH 44143

                    Advanced Recovery Services
                    5434 King Ave. Rte. 38 E.
                    Suite 200
                    Pennsauken, NJ 08109

                    Advanced Recovery Services
                    One Executive Drive
                    Suite 11
                    Moorestown, NJ 08057

                    Advanced Speciality Products
                    West Grove Industrial Pk.
                    Building 5 R
                    Deptford, NJ 08096




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                    Advanced Technologies, Inc.
                    PO Box 21566
                    Mesa, AZ 85277-566

                    Advanced Tv & Vcr Repair
                    303 S. Black Horse Pike
                    Blackwood, NJ 08012

                    Advanstar Expositions
                    800 Roosevelt Road
                    Bldg. E, Suite 408
                    Glen Ellyn, IL 60137-5835

                    Advantage Couriers Inc.
                    PO Box 1610
                    Wilmington, DE 19899

                    Advantech
                    P.O. Box 66396
                    Indianapolis, IN     46266

                    Advent Electric Inc.
                    301 E. 4th St.
                    Bridgeport, PA 19405

                    Adventures In Advertising,
                    PAyment Processing Dept.
                    PO Box 9123
                    Boston, MA 02209-9123

                    Advertising Promotions Corp
                    125 Joey Dr
                    Elk Grove Village, IL 60007

                    Aegean Pools, Inc
                    760 Oak Grove Road
                    Chesapeake, VA 23320

                    Aei Associates Inc.
                    412 Sumner Way
                    West Chester, PA 19382

                    Aerial Specialists Inc-Usa
                    P.O. Box 085114
                    1760 State Street
                    Racine, WI 53408




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                    Aerial Viewpoint Photo Lab
                    Inc
                    8319 Thora
                    Hanger #E3
                    Spring, TX 77379

                    Aerko International
                    3410 North East 5th Avenue
                    Fort Lauderdale, FL 33334

                    Aerovent
                    Sds12-1261
                    P.O. Box 86
                    Minneapolis, MN     55486-1261

                    Aetna Dental Care
                    PO Box 70966
                    Attn: Aetna-Middletown
                    Chicago, IL 60673-0967

                    Aetna Group Usa Inc.
                    2475b Satellite Bllvd.
                    Duluth, GA 30096-5808

                    Aetna Manufacturing Co.
                    4622 68th Avenue
                    Kenosha, WI 53144

                    Aetna U.S. Healthcare
                    Attn: Aetna-Middletown
                    PO Box 13054
                    Newark, NJ 07188-0054

                    Aetna U.S. Healthcare
                    Attn: Middletown
                    PO Box 13046
                    Newark, NJ 07188-0046

                    Aetna U.S. Healthcare
                    P.O. Box 88874
                    Chicago, IL 60695-1874

                    Afco Millwork Products
                    PO Box 54067
                    New Orleans, LA 70154




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                    Afco
                    4501 College Blvd.
                    Ste 320
                    Leawood, KS 66211-2328

                    Afco
                    PO Box 360572
                    Pittsburg, PA 15250-6572

                    Affinity Press Inc
                    19 Riesling Ct
                    Narlton, NJ 08053

                    Affinity Press
                    1900 Hwy 17 N., Unit 11
                    Mt. Pleasant, SC 29464

                    Aflac
                    Attn Remittance Process
                    1932 Wynnton Rd
                    Columbus, GA 31999-0001

                    Afni Insurance Services
                    PO Box 3068
                    Bloomington, IL 61702-3068

                    Aft Associates
                    PO Box 380
                    Detroit Lakes, MN 56502

                    Agfa Ndt Inc.
                    P.O. Box 73176
                    Chicago, IL 60673

                    Aggreko Inc.
                    Bridgeport Depot
                    2 Hawk Court
                    Bridgeport, NJ 08014-0490

                    Agie Ltd.
                    P.O. Box 752038
                    Charlotte, NC 28275-2038

                    Agis LLC
                    16 Poplar Street
                    Ambler, PA 19002




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                    Agk Machine & Tool Co.
                    P.O. Box 194
                    Wenonah, NJ 08090

                    Agri-Cover Inv.
                    Hwy 281 N.
                    Box 508
                    Jamestown, ND 58402

                    Aicco, Inc
                    Box 9045
                    New York, NY    10087-9045

                    Aigel Rubber & Plastic Co Ltd
                    Rm2401, No 1, Yudaiyuan
                    Nanjing
                    China
                    Jiangsu

                    Aim Corporation
                    129 West Eagle Road
                    P.O. Box 1520
                    Havertown, PA 19083

                    Aim Primary Metals Inc.
                    475 Park Ave
                    24th Floor
                    New York, NY 10016

                    Ain Plastics Of NJ
                    P.O. Box 1840
                    North Brunswick, NJ     08902

                    Air & Electric Equipment Co
                    2314 N. 2nd Street
                    Philadelphia, PA 19133

                    Air & Electric Equipment Co.
                    2314 N. 2nd Street
                    Philadelphia, PA 19133

                    Air & Gas Technologies
                    2 Industrial Drive
                    Suite F
                    Cliffwood Beach, NJ 07735




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                    Air Components & Controls
                    PO Box 6
                    1460 Grandview Avenue
                    Suite # 5
                    Thorofare, NJ 08086

                    Air Draulics
                    555 West Annsbury St
                    Philadelphia, PA 19140-1487

                    Air Engineering Inc.
                    2075 South 170th Street
                    New Berlin, WI 53151

                    Air Engineering Sales Corp
                    P.O.Box 166
                    Moutaintop, PA 18707-0166

                    Air Flow Company
                    Se Cor 4th & Spencer Streets
                    Philadelphia, PA 19120

                    Air Hydraulic Sales Co.
                    307 Lincoln Avenue
                    Hatboro, PA 19040

                    Air Hydraulic Sales Co., Inc.
                    24 S. Bank St. Unit 213
                    Philadelphia, PA 19106

                    Air Liquide America L.P.
                    PO Box 95198
                    Chicago, IL 60694-5198

                    Air Liquide Ind. Us Lp
                    180w. Germantown Pike
                    Suite B-1
                    East Norriton, PA 19401

                    Air Matic Compressor
                    275 Huyler Street
                    So. Hackensack, NJ 07606

                    Air Nova Inc,
                    5845-A Clayton Ave.
                    Pennsauken, NJ 08109




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                    Air Powered Tools, Inc.
                    P.O. Box 470
                    Islip, NY 11751

                    Air Pro
                    10421 Burham Drive #1
                    Gig Harbor, WA 98335

                    Air Supply Of The Future Inc
                    5620 Funston Street
                    Hollywood, FL 33023

                    Air Tec Pneumatics Corp.
                    730 Racquet Club Drive
                    Addison, IL 60101

                    Air Technical Industries
                    7501 Clover Avenue
                    Mentor, OH 44060

                    Air Turbine Propeller Co.
                    P.O. Box 218
                    22329 Perry Highway
                    Zelienople, PA 16063-0218

                    Airborne Express
                    P.O. Box 91001
                    Seattle, WA 98111

                    Airco (Boc Gases) Supply
                    Leaf & Harding Aves.
                    Bellmawr, NJ 08031

                    Airco Retail Operations
                    P.O. Box 360920
                    Pittsburgh, PA 15250-6920

                    Aire Tec Services, Inc.
                    P.O. Box 1188
                    Norristown, PA 19404

                    Airgas East
                    PO Box 827049
                    Philadelphia, PA     19182-7049

                    Airgas Safety Inc
                    PO Box 7777-W3645
                    Philadelphia, PA 19175 0001


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                    Airgas Safety Inc.
                    PO 951884
                    Dallas, TX 75395-1884

                    Airgas Safety
                    128 Wharton Road
                    Bristol, PA 19007

                    Airline Container Mfg. Co.
                    Inc
                    3800 Hampton Rd.
                    Oceanside, NY 11572

                    Airline Hydraulics Corp.
                    Expressway 95 Business
                    Center
                    I95 And Street Road
                    Bensalem, PA 19020

                    Airline Hydraulics Corp.
                    PO Box 8500 S-2275
                    Philadelphia, PA 191787618

                    Airmaster Window Systems
                    550 Mamaroneck Ave Ste 303
                    Attn:A Vasquez
                    Harrison, NY 10528-1634

                    Airmatic Inc.
                    7317 State Road
                    Philadelphia, PA     19136-4292

                    Airogap Company, Inc.
                    9740 S. Meade Avenue
                    Oak Lawn, IL 60453

                    Air-Oil Systems, Inc.
                    P.O. Box 195
                    753 Wambold Rd.
                    Mainland, PA 19451-0195

                    Airolite Company
                    Attn: Mr. John Frazier
                    114 Westview Avenue
                    P.O. Box 666
                    Marietta, OH 45750




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                    Airoyal Company
                    P.O. Box 129
                    Maplewood, NJ 07040-0129

                    Airstream Products Division
                    3701 Sepviva Street
                    Philadelphia, PA 19137

                    Airways Freight Corp
                    PO Box 1888
                    Fayetteville, AR 72702

                    Ait Freight Systems
                    P.O. Box 66730
                    Chicago, IL 60666-0730

                    Ait Worldwide Logistics
                    PO Box 66730
                    Chicago, IL 60666-0730

                    Aj & Aj Distributors
                    521 Irish Hill Rd
                    Bld D
                    Runnemede, NJ 08078

                    Ajax Extrusion Products
                    12600 Beech Daly
                    Detroit, MI 48239

                    Ajax Ice Inc.
                    1 E. Beacon Light Lane
                    Suite J
                    Chester, PA 19013

                    Ajax Ice Incorporated
                    626 Gsb Building
                    1 Blemont Avenue
                    Bala Cynwyd, PA 19004

                    Ajs Foundation For Msd.
                    Avery Jordan Stamps
                    Foundation
                    1532 Flat Rock Road
                    Penn Valley, PA 19072




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                    Akerman, Senterfitt
                    & Edison, P.A.
                    P.O. Box 231
                    Orlando, FL 32802

                    Akers Moving & Storage Co
                    1407 Boruff Street
                    Knoxville, TN 37917-0325

                    Akiba Hebrew Academy
                    223 N. Highland Avenue
                    Merion Station, PA 19066-
                    1798

                    Akin Gump Strauss Hauer &
                    Feld, LLP
                    1 Commerce Square,Suite 2200
                    2005 Market Street
                    Philadelphia, PA 19103

                    Akin, Gump, Strauss, Hauer
                    & Feld LLP
                    Dept 7247-6845
                    Philadelphia, PA 19170-6845

                    Akin, Gump, Strauss,
                    Hauer & Feld LLP
                    Dept 7247-6845
                    Philadelphia, PA 191706845

                    Akin,Gump,Strauss,Hauer &
                    Feld
                    2005 Market St Suite 2200
                    One Commerce Square
                    Philadelphia, PA 19103

                    Akron Beacon Journal
                    PO Box 1590
                    Akron, OH 44309

                    Akron Bearing Co.
                    1965 S. Arlington Rd.
                    Akron, OH 44306




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                    Akzo Nobel Coatings Inc.
                    Columbus
                    P.O. Box 905180
                    Charlotte, NC 28290

                    Al Pinkham
                    Pinkham Installations
                    74 Stage Road
                    Hampstead, NH 3841

                    Al Remmey Jr.
                    54 Candace Lane
                    Chatham Twnshp, NJ     07928

                    Al Rossi
                    4606 Longshore Ave
                    Philadelphia, PA 19135

                    Al Spitz Associates
                    437 N. Sterling Rd.
                    Elkins Park, PA 19027-2013

                    Al Zdziera
                    1411 Dennis Rd
                    Southampton, PA     18966

                    Aladan Locksmith
                    846 Utica Ave
                    Brooklyn, NY 11203 3409

                    Alamance Glass
                    202 Alamance Road
                    Burlington, NC 27215

                    Alan H. Schorr & Associates
                    Pc
                    10,000 Lincoln Drive West
                    Suite 1
                    Marlton, NJ 08053

                    Alan Medley
                    1862 Gentry Farm Rd.
                    King, NC 27021

                    Alan Scotkin
                    680 N Tyson Ave
                    Glenside, PA 19038



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                    Alan's Collision Center
                    601 Red Lion Rd.
                    Philadelphia, PA 19115

                    Alan's Collision Centre
                    601 Red Lion Road
                    Philadelphia, PA 19115

                    Alarius Media Solutions
                    3017 161st. Avenue Nw
                    Minneapolis, MN 55304

                    Alarm Center Of New Jersey
                    P.O. Box 369
                    Collingswood, NJ 08108

                    Albany Tool & Die Co.
                    315 Van Dyke Dr
                    Wilmington, NC 28405

                    Albarrie Canada Limited
                    85 Morrow Road
                    Barrie
                    Ontario Canada
                    L4n 3v7

                    Albecour, Inc
                    1 Place Ville-Marie
                    Bureau 1918
                    Montreal
                    Quebec Canada
                    H3b 2c3

                    Albert & Associates
                    3070 Bristol Pike
                    Suite 216
                    Bensalem, PA 19020

                    Albert Brothers, Inc.
                    225 East Aurora Street
                    Box 1310
                    Waterbury, CT 06721

                    Albert Hamilton
                    2800 Sherman Avenue
                    Camden, NJ 08105




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                    Albert W. Spitz
                    437 North Sterling Road
                    Elkins Park, PA 19027-2013

                    Alberto Barrientos
                    1755 Pershins St,
                    Camden, NJ 08108

                    Albuquerque Chemical Co. Inc
                    1924 Seventh Street, Nw
                    Albuquerque, NM 87102

                    Alcan Aluminum Corp
                    17-17 Route 208
                    Fairlawn, NJ 07410

                    Alcan Aluminum Corporation
                    P.O. Box 7777-W8390
                    Philadelphia, PA 19175

                    Alcan Aluminum
                    (6160 Parlland Blvd)
                    Mailing Address
                    PO Box 6977
                    Cleveland, OH 44101-1977

                    Alcan Aluminum
                    6060 Parkland Blvd
                    Cleveland, OH 44124

                    Alcan International Network
                    Usa Inc.
                    333 Ludlow Street
                    Stamford, CT 06902

                    Alco Stamping, Inc.
                    500 Springdale Ave.
                    Building C
                    Somerdale, NJ 08083

                    Alcoa Aluminum Co. Of America
                    1250 Riverview Tower
                    900 S. Gay St. 11th Floor
                    Knoxville, TN 37902




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                    Alcoa Fujikura Ltd.
                    P.O. Box 60927
                    Charlotte, NC 28260

                    Alcoa Inc.
                    P.O. Box 360035m
                    Pittsburgh, PA 15251

                    Alcoa Mill Products
                    1480 Manheim Pike
                    Lancaster, PA 17601

                    Alden Of New Jersey Inc.
                    4654 Crescent Blvd.
                    Pennsauken, NJ 08109

                    Alenco Fence & Lumber
                    167-B Route 70
                    Medford, NJ 08055

                    Aleris Rolled Products
                    Commonweath Aluminum
                    1700 Eastpoint Parkway
                    Suite 200
                    Louisville, KY 40223

                    Alert Motor Freight Inc.
                    P.O. Box 1045
                    Delran, NJ 08075

                    Alert Motor Freight
                    PO Box 1045
                    Delran, NJ 08075

                    Alex Radin
                    8 Brookview Dr
                    Voorhees, NJ 08043-2949

                    Alexander Hamilton Institute
                    70 Hilltop Road
                    Ramsey, NJ 07446-9835

                    Alexander Nat Co., Inc.
                    121 White Horse Pike
                    Laurel Springs, NJ 08021




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                    Alexander's Automotive, Ltd.
                    1425 Adams Ave
                    Bensalem, PA 19020

                    Alfa Laval Thermal Inc.
                    P.O. Box 13469
                    Newark, NJ 07188-0469

                    Alfa Transformer Company
                    Box 6214
                    Fort Smith, AR 72906

                    Alfa-Laval Thermal Corp
                    C/O Albert & Associates
                    3070 Bristle Pike
                    Suite 216
                    Bennsalem, PA 19020

                    Algor Inc.
                    150 Beta Drive
                    Pittsburgh, PA    15238-2932

                    Alk Associates, Inc.
                    1000 Herrontown Road
                    Princeton, NJ 08540

                    All Air Inc.
                    175 Clear Brook Rd.
                    Elmsford, NY 10523

                    All American Courier Inc.
                    P.O. Box 166
                    Fort Washington, PA 19034

                    All American Courier, Inc.
                    1916 Old York Road
                    Second Floor Suite S-3
                    Abington, PA 19001

                    All American Fasteners
                    2303 Garry Road, Unit 1
                    Cinnaminson, NJ 08077

                    All American Tires & Service
                    301 South Route 73
                    Palmyra, NJ 08065




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                    All Around Pennsauken
                    5 East Stow Road
                    Unit H
                    Marlton, NJ 08053

                    All Brand Carriage Shop Inc
                    569 Washington Avenue
                    Burlington, NJ 08016

                    All Controls & Service Inc
                    Div Of Speck Ind.Control
                    Morrestown, NJ 08057

                    All Doorcheck & Lock Service
                    5337 W Cermak Rd
                    Cicero, IL 60804 2817

                    All Florida Scrap Metal Inc.
                    2710 Nw 32nd Avenue
                    Miami, FL 33142

                    All In Houseware Corp
                    4601 Fort Hamilton Pkwy
                    Brooklyn, NY 11219 2414

                    All Industrial Safety
                    Products
                    950 Mt. Holly Road
                    P.O. Box 189
                    Edgewater Park, NJ 08010

                    All Pro Freight Systems, Inc.
                    1350 Moore Road
                    Avon, OH 44011

                    All South Supply
                    PO Box 38087
                    Charlotte, NC 28273

                    All Star Sports Center
                    600 Stokes Road
                    Medford, NJ 08055

                    All Tech Constr. & Remod
                    Attn:Frank Florintino
                    615 Anderson Ave.
                    Hammonton, NJ 08037



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                    All Trans Services Inc.
                    PO Box 1252
                    Delran, NJ 08075

                    All Valley Lock & Key
                    1917 S Burlington Blvd
                    Burlington, WA 98233 3227

                    Allan Industries
                    Po Box 999
                    I-81 At Blackman St
                    Wilkes Barre, PA 18703

                    Allan's Towing Service
                    9625 River Road
                    Pennsauken, NJ 08110

                    Allbrand Supply
                    170 N Black Horse Pike
                    Mt Ephraim, NJ 08059

                    Alleghany Plywood Co., Inc.
                    3433 Smallman St
                    Pittsburgh, PA 15201

                    Allegheny - Bedford Express
                    P.O. Box 257
                    New Stanton, PA 15672

                    Allegheny Hospital-Rancocas
                    P.O. Box 8538-004
                    Philadelphia, PA 19171-0004

                    Allegheny Plastics, Inc
                    Process Equipment Div.
                    Rt. 51 & Thorn Run Road
                    Coraopolis, PA 15108

                    Allegheny Process Equipment
                    17 Avenue A
                    Leetsdale, PA 15056

                    Allegheny York
                    PO Box 3327
                    York, PA 17402




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                    Allegiance Industrial Tire
                    Po Box 481
                    19 Hilltop Avenue
                    Bldg #B
                    Sewell, NJ 08080

                    Allegiance Tire Corp.
                    P.O. Box 481
                    Sewell, NJ 08080

                    Allegiance Tires
                    19 Hill Top Avenue
                    Building B
                    Hurffville, NJ 08080

                    Allen Bradley Service
                    480 American Ave
                    King Of Prussia, PA 19406

                    Allen C. Richmond
                    3998 Red Lion Rd.
                    Suite 302
                    Philadelphia, PA 19114

                    Allen Lundco.
                    8318 Pineville Matthews
                    Suite 273
                    Charolette, NC 28226

                    Allen Reproduction Co.
                    800 Market Street
                    Camden, NJ 08102

                    Allen Romanok
                    1982 Pine St
                    Sicklerville, NJ 08081

                    Allen-Bradley
                    P.O. Box 371125m
                    Pittsburgh, PA 15251

                    Allen's Camera & Video
                    4401 New Falls Road
                    Levittown, PA 19056




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                    Allen-Stevens Corp.
                    PO Box 601325
                    Charlotte, NC 28260-1325

                    Alley, Maass, Rogers &
                    Lindsay P.A.
                    321 Royal Poinciana Plaza, S
                    Post Office Box 431
                    Palm Beach, FL 33480-0431

                    Alliance Benefit Group
                    3501 Masons Mill Road
                    Suite 505
                    Huntingdon Valley, PA 19006

                    Alliance Express
                    2221 E26th Street
                    Erie, PA 16510

                    Alliance Gear, Inc.
                    P.O. Box 5997
                    Philadelphia, PA 19137

                    Allied Building Stores
                    PO Box 8030
                    Monroe LA 71211-8030

                    Allied Electronics
                    7410 Pebble Dr.
                    Ft.Worth, TX 76118

                    Allied Language Newspapers
                    1015 Chestnut St
                    Philadelphia, PA 19107

                    Allied Meter Service, Inc.
                    340 E. Broad Street
                    Burlington, NJ 08016

                    Allied Mineral Products, Inc.
                    2700 Scioto Parkway
                    Columbus, OH 43221-4660

                    Allied Office Products
                    1008 Astoria Blvd.
                    Cherry Hill, NJ 08003




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                    Allied Plating Supplies
                    5000 East 10th Court
                    Hialeah, FL 33013

                    Alling & Cory
                    P.O. Box 8257
                    Philadelphia, PA     19101-8257

                    Allmetal
                    Dept 77-97142
                    Chicago, IL 60678-7142

                    All-Ohio Threaded Rod Compan
                    5349 St. Claire Ave.
                    Cleveland, OH 44103

                    Alloy Castings
                    3900 Peachtree Road
                    Mesquite, TX 75180

                    Alloy Tool Steel
                    13525 E. Freeway Drive
                    Santa Fe Spring, CA 90670

                    All-Rite Messenger And
                    Delivery Service
                    PO Box 6072
                    Parsippany, NJ 07054

                    Allstate Air Cargo Inc.
                    P.O. Box 959
                    Forked River, NJ 08731

                    Allstate Legal Supplies
                    1 Commerce Drive
                    Cranford, NJ 07016

                    Allstate Manufacturing Co.
                    224 Market St.
                    Perth Amboy, NJ 08861

                    Allstate New Jersey Ins. Co
                    3219 Route 38
                    Mt. Laurel, NJ 08054

                    Allstates Air Cargo, Inc
                    PO Box 959
                    Forked River, NJ 08731


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                    Allstates Design &
                    Development
                    Company, Inc.
                    One Neshaminy Interplex
                    Suite 301
                    Trevose, PA 19053

                    Allstates Trucking, Inc.
                    P.O. Box 66
                    Oak Creek, WI 53154

                    Alltel Communications Prod
                    Inc
                    PO Box 102063
                    Atlanta, GA 30368

                    Allweather Tempering
                    220 Riverview Drive
                    Monessen, PA 15062

                    Alpack Associates
                    24 Commerce Rd Unit M
                    Fairfield, NJ 7004

                    Alpert & Alpert
                    34 Maple Street
                    Summit, NJ 07901

                    Alpha & Omega Fire Sprinkler
                    1823 Byberry Road
                    Bensalem, PA 19020

                    Alpha Freight Systems, Inc.
                    3275 Kent Road
                    Stow, OH 44224

                    Alpha Omega Centrifuge Inc.
                    7372 Walnut Ave.
                    Unit #N
                    Buena Park, CA 90620

                    Alpha Resources, Inc.
                    P.O. Box 199
                    Stevensville, MI 49127-0199




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                    Alpha Tool Works
                    Alloy Tool Steel
                    15100 Radius Place
                    Sante Fe Spring, CA     90670

                    Alphasource Inc.
                    4837-49 N. Stenton Ave.
                    Philadelphia, PA 19144-3024

                    Alpi Usa Inc.
                    156-15 146th Avenue
                    Suite 110
                    Jamaica, NY 11434

                    Al's Towing Service
                    PO Box 14364
                    Philadelphia, PA 19115

                    Alsop Engineering Company
                    P.O. Box 3449
                    Kingston, NY 12401

                    Altek International Inc.
                    314 Exton Commons
                    Exton, PA 19341

                    Altex Electronics
                    10705 Metric Boulevard
                    Austin, TX 78758

                    Alto's Express, Inc
                    PO Box 45
                    Riverton, NJ 08077

                    Altra Industrial Motion
                    449 Gardener Street
                    South Beloit, IL 61080

                    Alu'die Extrusion Dies
                    1215 Kerrisdale Blvd
                    Newmarket, Ontario, Canada
                     L3y 7v1

                    Alum & Cu Recycling
                    162 O'connell St
                    Providence, RI 2905




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                    Alumalex
                    2499 S.W. 60th Avenue
                    Ocala, FL 34474

                    Alumax, Inc
                    6625 The Corners Parkway
                    Suite 500
                    Norcross, GA 30092

                    Alumet Supply Inc.
                    557 Main Street
                    Orange, NJ 07050

                    Alumetal Manufacturing, Inc
                    PO Box 82
                    Coldwater, OH 45828

                    Aluminum Anodizers Council
                    1000 N. Rand Road
                    Suite 214
                    Wauconda, IL 60084

                    Aluminum Association Of Fla.
                    Trade Show 1997
                    11595 Kelly Rd Suite 219
                    Fort Myers, FL 33908

                    Aluminum Company Of America
                    P.O. Box 360035m
                    Pittsburgh, PA 15251

                    Aluminum Extruders Council
                    1000 N. Rand Road
                    Suite 214
                    Wauconda, IL 60084

                    Aluminum Finishers Corp.
                    700 East Godfrey Avenue
                    Philadelphia, PA 19124

                    Aluminum Shredding Inc.
                    Po Box 27111
                    Cleveland, OH 44127




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                    Alva Allen Ind.
                    1001-15 N. Third Street
                    P.O. Box 427
                    Clinton, MO 64735

                    Alvey Inc.
                    P.O. Box 66943
                    St Louis, MO 63166

                    Alyan Pump Company
                    303 S. 69th Street
                    Upper Darby, PA 19082

                    Ama Glass Corporation
                    PO Box 1998
                    Kingsport, TN 37862

                    Amanda Galeone
                    942 Edgewood Lane
                    Langhorne, PA 19053

                    Amber Electric, Inc.
                    P.O. Box 905
                    Us 40 E. At Mile Post 22
                    Elmer, NJ 08318-0905

                    Amber Service
                    PO Box 2692
                    Woodbridge, VA    22193

                    Amboy Locksmith
                    3842 Richmond Ave
                    Staten Island, NY 10312 3838

                    Amcol Corporation
                    21435 Dequindre
                    Hazel Park, MI 48030

                    Amcor
                    835 West Smith Road
                    Medina, OH 44256

                    Am-Dyn-Ic Fluid Power Inc.
                    25340 Terra Industrial Dr.
                    Chesterfield, MI 48051-5403




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                    Amega Industries
                    29 Frj Drive
                    Longview, TX 75602

                    Amendola Fence
                    1084 Sunrise Highway
                    Amityville, NY 11701

                    Amer Tranz
                    PO Box 601117
                    Charlotte, NC 28260-1117

                    Amer. Soc. Of Landscape Arch
                    Landscape Architects
                    4401 Connecticut Avenue Nw
                    5th Floor
                    Washington, DC 20008-2302

                    Amer.Institute Of Architects
                    PO Box 96077
                    Washington, DC 20090-6077

                    America
                    The Ukrainian Daily Paper
                    Philadelphia, PA 19107

                    America-Israel Chamber
                    Of Commerce
                    200 South Broad Street
                    Suite 700
                    Philadelphia, PA 19102

                    American Agip Co.
                    P.O. Box 284
                    Hainesport, NJ 08036

                    American Air Filter
                    106 Henderson Drive
                    Sharon Hill, PA 19079

                    American Air Filter
                    P.O. Box 35690
                    Louisville, KY 40232

                    American Appliance
                    Route 73 & Hylton Rd
                    Pennsauken, NJ 08110



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                    American Arbitration Assoc.
                    230 S Broad St
                    Philadelphia, PA 19102

                    American Arbitration Assoc.
                    230 South Broad Street
                    12th Floor
                    Philadelphia, PA 19102-4106

                    American Asphalt Company,
                    Inc.
                    116 Main Street
                    W. Collingswood, NJ 08059

                    American Bar Association
                    P.O. Box 4745
                    Carol Stream, IL 60197-4745

                    American Bearing
                    P.O. Box 905794
                    Charlotte, NC 905794

                    American Bearing, Division Of
                    Invetech
                    124e Ninth Avenue
                    P.O. 28
                    Runnemede, NJ 08078

                    American Building Systems,
                    Inc
                    P.O. Box 29
                    Riverton, NJ 08077

                    American Business Lists
                    5711 South 86th Circle
                    PO Box 27347
                    Omaha, NE 68127

                    American Business Registry
                    37 North Orange Ave.
                    Suite # 500
                    Orlando, FL 32801

                    American Cancer Society
                    1851 Old Cuthbert Rd
                    Cherry Hill, NJ 08034




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                    American Cancer Society
                    280 N Providence Rd
                    Media, PA 19063

                    American Cancer Society
                    O.O. Box 22718
                    Oklahoma City, OK 73123

                    American Carbide Saw Co.
                    238 Tanner Avenue
                    Hatboro, PA 19040

                    American Carbide
                    238 Tanner Ave.
                    Hatboro, PA 19040

                    American Check Management
                    Ocean Bank Building, 2nd
                    Floor
                    10950 S.W. 88th St.
                    Miami, FL 33176

                    American Committee For Shaare
                    Zedek Hospital In Jerusalem
                    Inc.
                    1601 Walnut St. Suite 502
                    Philadelphia, PA 19102

                    American Compensation Assoc.
                    P.O. Box 29312
                    Phoenix, AZ    85038-9312

                    American Corporate
                    P.O. Box 791044
                    Baltimore, MD 21279-1004

                    American Crane & Equipment
                    531 Old Swede Road
                    Douglassville, PA 19518

                    American Cutting Edge, Inc.
                    Div. Of Cb Mfg. & Strider
                    Corp.
                    985 Senate Drive
                    Centerville, OH 45459




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                    American Diabetes Assoc.
                    West Cheater Office
                    8899 Brookside Ave, Suite 102
                    West Chester, OH 45069

                    American Discount Tire
                    205 Route 73 South
                    Palmyra, NJ 08065

                    American Discount Tires
                    2000 S. Black Horse Pike
                    Turnersville, NJ 08012

                    American Dock & Door
                    PO Box 525
                    Pennsauken, NJ 08070

                    American Duplicating
                    Products Inc.
                    7882 Browning Rd
                    Pennsauken, NJ 08109

                    American Eagle Flag
                    1405 Lake Shore Drive
                    Manasha, WI 54272

                    American Ethnic Papers
                    1015 Chestnut St
                    Philadelphia, PA 19107

                    American Exibition Services
                    2700 2nd Avenue South
                    Birmingham, AL 35233

                    American Express Inc
                    PO Box 1270
                    Newark, NJ 071011270

                    American Fab
                    P.O. Box 1027
                    Travelers West, SC     29690

                    American Fence Association
                    2336 Wisteria Drive
                    Suite 230
                    Snellville, GA 30078




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                    American Fence Association
                    5300 Memorial Dr., Suite 116
                    Stone Mountain, GA 30083

                    American Fence Association
                    800 Roosevelt Road
                    Bldg. C-312
                    Glen Ellyn, IL 60137

                    American Financial
                    Management, Inc.
                    3175 Ventura Drive
                    Arlington Heights, IL      60004

                    American Freightways
                    4103 Collection Ctr Dr
                    Chicago, IL 60693

                    American Gator Tool Mfg. Inc.
                    1211 W. Conway Road
                    Harbor Springs, MI 49740

                    American Glass Works
                    PO Box 15768
                    Wilmington, NC 28408

                    American Glassmith, Inc
                    195 Phillipi Road
                    Columbus, OH 43228

                    American Granby Company
                    1111 Vine Street
                    Syracuse, NY 13220

                    American Heart Association
                    415 N Charles St
                    PO Box 17025
                    Baltimore, MD 21203

                    American Heart Association
                    600 S. White Horse Pike
                    Audubon, NJ 08106

                    American Heart Association
                    6252 W Ridge Pk
                    Building A Suite 100
                    Conshocken, PA 19428



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                    American Heart Association
                    Pro-Am Golf Tournament
                    One Bala Plaza, Ste 502
                    Bala Cynwyd, PA 19004

                    American Honda Finance Corp
                    PO Box 7860
                    Philadelphia, PA 191017860

                    American Honda Finance Corp.
                    P.O. Box 165007
                    Irving, TX 75016-5007

                    American Hotel Register Co
                    PO Box 94150
                    Palatine, IL 600944150

                    American Industrial Corp.
                    P.O. Box 26406
                    4730 Industrial Parkway
                    Lawrence, IN 46226-0406

                    American Industrial Corp.
                    P.O. Box 26890
                    Indianapolis, IN 46226

                    American Institute Of
                    Chemical
                    Engineers
                    P.O. Box 9471
                    Uniondale, NY 11555-9471

                    American Insurance Co.
                    Box 371482
                    Policy #Vza12206043
                    Pittsburgh, PA 15250-7482

                    American Iron & Metal
                    15 Bloomfield Avenue
                    Verona, NJ 07044

                    American Iron And Metal
                    9100 Henri Bourassa Est
                    Montreal Est
                    Quebec Canada
                    H1e2s4




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                    American Lifts
                    6010 West Mckee Street
                    Greensburg, IN 47240

                    American Lung Assoc.
                    917 North Main Street
                    Route 166
                    Toms River, NJ 08753

                    American Management Assoc.
                    P.O. Box 4725
                    Buffalo, NY 14240-4725

                    American Maplan
                    823 S By-Pass
                    Box 832
                    Mcpherson, KS 67460

                    American Marking Systems
                    2324 West Route 70
                    Cherry Hill, NJ 08002

                    American Marking Systems
                    401 Cooper Landing Road
                    Cherry Hill, NJ 08002

                    American Marking Systems
                    PO Box 9522
                    Philadelphia, PA 19124

                    American Media Duplication
                    PO Box 6241
                    Denver, CO 80202

                    American Merchant Inc
                    P.O. Box 9626
                    Santurce, PR

                    American Metal Market
                    P.O. Box 15127
                    N. Hollywood, CA 91615-9645

                    American Metal Moulding
                    PO Box 29277
                    Philadelphia, PA 19125




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                    American Non Ferrous
                    7345 Milnor St
                    P.O. Box 6205
                    Philadelphia, PA 19136

                    American Packaging Dist.
                    Corp.
                    Pob 63
                    Lima, PA 19037

                    American Packing Distrbutors
                    Corp.
                    300 S. Pennell Road
                    Suite 100
                    Glen Riddle, PA 19037

                    American Paper & Pkg.
                    PO Box 25377
                    4560 N. 124th St.
                    Wauwatosa, WI 53225

                    American Paper
                    2113 E. Rush St.
                    Philadelphia, PA     19134

                    American Pool & Spa Maint
                    21950 S E Stark St
                    Gresham, OR 97030

                    American Power Conversion
                    132 Failgrounds Road
                    West Kingston, RI 02874

                    American Precision Industries
                    Basco Div., Api
                    P.O. Box 623
                    Buffalo, NY 14240

                    American Precision Prototype
                    19503 E. 6th St
                    Tulsa, OK 74108

                    American Products
                    Northeastern Division
                    65 Clyde Road
                    Somerset, NJ 08873-3485




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                    American Ranch Homes LLC
                    843 Middleboro Rd
                    Oregonia, OH 45054

                    American Recycling Market
                    P.O. Box 577
                    Ogdensburg, NY 13669

                    American Red Cross Lbcc
                    Lower Bucks County Chapter
                    1909 New Rodgers Rd
                    Levittown, PA 19056

                    American Red Cross
                    Camden County Chapter
                    312 Cooper Street
                    Camden, NJ 08102

                    American Red Cross
                    Disaster Response Fund
                    PO Box 37243
                    Washington, DC 20013

                    American Safety Razor Company
                    One Razor Blade Ln
                    Verona, VA 24482

                    American Safety Training,
                    Inc.
                    317 W. 4th Street
                    P.O. Box 3824
                    Davenport, IA 52808-3824

                    American Society For Quality
                    611 E. Wisconsin Ave.
                    Milwaukee, WI 53202

                    American Society Of
                    Landscape Architects
                    636 Eye Street,Nw,
                    Washington, DC 200001

                    American Society
                    Of Safety Engineers
                    Asse-Dues
                    33480 Treasury Center
                    Chicago, IL 60694-3400



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                    American Speedy Printing Ctr.
                    2101 Street Rd
                    Bensalem, PA 19020

                    American Stainless Tubing
                    PO Box 909
                    Troutman, NC 28166

                    American Steel & Aluminum
                    Attn: Paul Rockenstyre
                    1080 University Avenue
                    Norwood, MA 02062

                    American Steel Door
                    13416 Atlantic Ave
                    Richmond Hill, NY 11419 1636

                    American Stock Exchange
                    P.O. Box 11181A
                    New York, NY 10286-1181

                    American Thermoplastic Co.
                    106 Gamma Drive
                    Pittsburgh, PA 15238

                    American Thermoplastic
                    Company
                    106 Gamma Dr
                    Pittsburgh, PA 15238-2949

                    American Tonerserv (Asvp)
                    6280 South Valley View Blvd.
                    Bldg. F Suite 612
                    Las Vegas, NV 89118

                    American Training Resources
                    In
                    1901 East 4th Street
                    Suite 210
                    Santa Ana, CA 92705

                    American Trans-Freight Inc.
                    PO Box 7777-W7415
                    Philadelphia, PA 19175-7415




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                    American Welding Society
                    550 N. West Lejeune Rd.
                    Miami, FL 33126

                    American Window & Glass
                    2715 Lynch Road
                    Evansville, IN 47711

                    Americana Inc.
                    PO Box 71
                    Wolcott, IN 47995-0071

                    Amerigas - Bordentown
                    1005 Route 206
                    Bordentown, NJ 08505

                    Amerigas
                    1005 Route 206
                    Bordentown, NJ     08505-2198

                    Amerihealth
                    P.O. Box 70250
                    Philadelphia, PA     19176-0250

                    Ameri-Line, Inc.
                    PO Box 965
                    Columbia Station, OH      44028

                    Amerimax Building Products,
                    Inc.
                    1262 Paysphere Circle
                    Chicago, IL 60674

                    Amerinational Inc.
                    3422 Old Capitol Trail
                    Pmb 198
                    Wilmington, DE 19808

                    Amerisafe
                    3990 Enterprise Court
                    Aurora, IL 60504

                    Ameriwest Industries
                    2540 Fulton Road
                    Pomona, CA 91767




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                    Amertranz Worldwide
                    P.O. Box 601117
                    Charlotte, NC 28260-1117

                    Amesbury Group Inc.
                    PO Box 75483
                    Charlotte, NC 28275-5483

                    Ametek Automation & Process
                    1080 N. Crooks Road
                    Clawson, MI 48017-1097

                    Amie Carroll
                    22 Penn Ave
                    Collingswood, NJ 08108

                    Am-Quip Corporation
                    777 Winks Lane
                    Bensalem, PA 19020-8531

                    Amquip Rental
                    PO Box 8500-2945
                    Philadelphia, PA     19178-2945

                    Ams Mechanical LLC
                    P.O. Box 2252
                    1703 Taylors Lane
                    Cinnaminson, NJ 08077

                    Ams Production Machinery Inc.
                    Attention: Kay
                    P.O. Box 376
                    Plainfield, IN 46168

                    Amsco Wear Products Inc.
                    289 West Main Street
                    P.O. Box 269
                    Goshen, NY 10924

                    Amsco
                    1050 Hollybell Court
                    Sewell, NJ 08080

                    Amsterdam Printing And Litho
                    PO Box 701
                    Amsterdam, NY 12010




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                    Amy Fittipaldo
                    2773 Citadel Drive
                    Waren, OH 44483

                    Amy S Riley
                    105a Chalmers Ave
                    Bellmawr, NJ 08031

                    Ana Hidalgo
                    2415 Howell St
                    Camden, NJ 08105

                    Ana M Nunez
                    2717 Hayes Ave
                    Camden, NJ 08105

                    Anchor Fence Co.
                    7921 River Road
                    Pennsauken, NJ 08110

                    Anchor Sales Assoc.
                    9 Humphreys Drive
                    Warminster, PA 18974

                    Anchor Seals Inc.
                    920 Second Avenue
                    Coraopolis, PA 15108

                    Ancon Prototype/Machine
                    1755 Wicco Road
                    Saginaw, MI 48601

                    Andco
                    1020 Rankin Road
                    Houston, TX 77073

                    Anderson Component Corp.
                    61 Clinton Street
                    Malden, MA 02148

                    Anderson Consulting Engineers
                    1110 Fairview Avenue
                    Wyomissing, PA 19610

                    Anderson Corp
                    PO Box 573
                    Bayport, MN 55003



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                    Andrea Simons
                    15867 Powell St
                    Clinton Township, MI      48038

                    Andrew Brooker
                    2835 Coventry Green
                    Hamburg, NY 14075

                    Andrew Demarco
                    3961 Warfield Dr.
                    Huntingdon Valley, PA      19006

                    Andrew Greenspan
                    555 Foxglove Ln
                    Wynnewood, PA 19096 1659

                    Andrew Knazek
                    4592 Campenille Court
                    Suwanee, GA 30024

                    Andrew Robelli
                    Viscount Pools
                    36568 Groesbeck Highway
                    Clinton Township, MI 48035

                    Andrew Roberts, Inc.
                    PO Box 3775
                    215 Oak Street
                    Natick, MA 1760

                    Andrew Robinson
                    1502 N 7th Street
                    Philadelphia, PA 19122

                    Andrew S. Price, Esq.
                    23 West Second Street
                    Media, PA 19063

                    Andrew Simon
                    R Brands
                    955 Lafayette Rd
                    Bryn Mawr, PA 19010

                    Andrew's International Co Ltd
                    Room 1003, 96 Chun-Shan N. Rd
                    Taipei Taiwan




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                    Angel Barrios
                    PO Box 13674
                    Santurce, PR 00908

                    Angel L Ramos
                    321 N 40th St
                    Pennsauken, NJ 08110

                    Anita Kittel
                    9652 Holton Ducklake Rd.
                    Holton, MI 49425

                    Anixter Wire And Cable Group
                    Rosetree Corporate Center 1
                    1400 N. Providence Road
                    Suite 41
                    Media, PA 19063

                    Anixter
                    32 Commerce Ct. North
                    Cranbury, NJ 08512

                    Anji Xingrui Bamboo And
                    Wooden Products Co Ltd
                    Changlingan, Kuntong Town,
                    Anji County, Zhejiang
                    Province
                    China 313307

                    Anker-Holth
                    2455 Lucknow Drive,
                    Mississauga
                    Ontario Canada
                    L5S 1H9

                    Ankor Fire & Safety Equip Inc
                    PO Box 187
                    Mt Ephraim, NJ 08059

                    Ann Arbor News
                    340 E. Huron Street
                    Ann Arbor, MI 48104

                    Ann Pezzino
                    72 Cannon Drive
                    Holbrook, NY




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                    Anna Chernin
                    11708 Centennial Square West
                    Philadelphia, PA 19116

                    Annett Holdings
                    4335 Paysphere Circle
                    Chicago, IL 60674

                    Ant Shendge
                    231 Jasper Road
                    King Of Prussia, PA     19406

                    Anthe Machine Works, Inc
                    407 Madison Avenue
                    Covington, KY 41011

                    Anthony Bradley
                    General Contractors
                    204 Hilltop Drive
                    Churchville, PA 18966

                    Anthony Campbell
                    1211 Ford Road
                    Bensalem, PA 19020

                    Anthony Harris
                    1211 Ford Road
                    Bensalem, PA

                    Anthony J. Marfia A.I.A.
                    224 South Bellevue Avenue
                    Langhorne, PA 19047-2806

                    Anthony Palmer
                    3950 D Street
                    Philadelphia, PA     19124

                    Anthony Pietro
                    528 Liberty Ave
                    Williston Park, NY 11596

                    Anthony's Leasing Corp
                    Icc Mc 298952
                    3 Beverly Court
                    Robbinsville, NJ 08691




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                    Anti-Defamation League
                    One Penn Center
                    1617 John F. Kennedy Blvd.
                    Suite 1160
                    Philadelphia, PA 19103

                    Antigua Group, Inc.
                    PO Box 5300
                    Peooroa, AZ 85385

                    Antilles Freight Corporation
                    11206 Nw 36th Street
                    Miami, FL 33167

                    Antoinette Ferrara
                    PO Box 915
                    Ocean Gate, NJ 08740

                    Antonine Oliveri
                    350 Disbrow Hill Rd
                    Heightstown, NJ 08520

                    Apa Transport Corp.
                    PO Box 831
                    North Bergen, NJ 07047

                    Apache Band Boosters
                    C/O Jack Divito
                    Pennsauken High School
                    800 Hylton Road
                    Pennsauken, NJ 08110

                    Apco Technical Services, Inc.
                    P.O. Box 149
                    478 11th Street
                    Palisades Park, NJ 07650-
                    0148

                    Apex Industrial Supply, Inc.&
                    Express Business Funding
                    3326-10 Del Prado Blvd
                    Cape Coral, FL 33904

                    Apex Piping Systems Inc.
                    302 Falco Drive
                    Newport, DE 19804




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                    Apex Transportation
                    P.O. Box 20068
                    Charlotte, NC 28202

                    Apics Customer Service
                    500 West Annandale Road
                    Falls Church, VA 22046-4274

                    Apics
                    P.O. Box 75381
                    Baltimore, MD 21275

                    Apics
                    PO Box 630057
                    Baltimore, MD 21263 0057

                    Apm A Best
                    2902 Haddonfield Road
                    Pennsauken, NJ 08110

                    Apm Terminals
                    Demurrage Dept
                    Berth 88
                    Newark, NJ

                    Apm Testing
                    Testing, Inc.
                    42 Dutch Mill Road
                    Ithaca, NY 14850

                    Apogee Copier Service
                    4909 Oxford Court
                    PO Box 1598
                    Bensalem, PA 19020

                    Apple Cookie & Chocolate Co
                    501 Braddock Ave
                    Turtle Creek, PA 15145

                    Applied Air Inc.
                    P.O. Box 530
                    Fanwood, NJ 07023

                    Applied Controls Incorporated
                    47 General Warren Boulevard,
                    Malvern, PA 19355-0918




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                    Applied Controls
                    40 General Warren Blvd.
                    PO Box 879
                    Malvern, PA 19355-0918

                    Applied Fabric Technologies
                    227 Thorn Ave.
                    P.O. Box 575
                    Orchard Park, NY 14127

                    Applied Industrial Tech
                    124 E. 9th. Ave.
                    Runnemede, NJ 08078

                    Applied Industrial Technology
                    22510 Network Place
                    Chicago, IL 60673-1225

                    Appriver LLC
                    1101 Gulf Breeze Parkway
                    Suite 200
                    Gulf Breeze, FL 32561

                    Approved Ladder & Equipment
                    4613 Torresdale Ave
                    Philadelphia, PA 19124

                    Apr Plastic Fabricating
                    2312 Cass Street
                    Fort Wayne, IN 46808

                    APSP
                    2111 Eisenhower Ave
                    Alexandria, VA 22314-4695

                    Aqua Dynamic Systems Inc.
                    P.O. Box 2290
                    Wilkes Barre, PA 18703-3514

                    Aqua International
                    2062 Business Center Dr
                    Suite 120
                    Irvine, CA 92612

                    Aqua Pa
                    PO Box 1229
                    Newark, NJ 07101-1229



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                    Aqua Quest
                    4805 Cheshire Road
                    Doylestown, PA 18902

                    Aqua
                    4130 Lien Road
                    Madison, WI 53704

                    Aqua
                    4130 Lien Road
                    Madison, WI 53704-3602

                    Aqualogic Inc.
                    30 Devine Street
                    North Haven, CT 06473

                    Aquatech Corp
                    7901
                    Professional Circle
                    Huntington Beach, CA      92648

                    Aquazone
                    3635 St. Rd.38 E.
                    Lafayette, IN 47905

                    Aramark Refreshment Services
                    7850 Airport Highway
                    Pennsauken, NJ 08109

                    Aramsco Inc.
                    18 India St.
                    Brooklyn, NY    11222-1506

                    Arbee Sales Corp
                    313n. Morgan St.
                    Chicago, IL 60607

                    Arbill Industries Inc
                    2207 W. Glenwood Avenue
                    Philadelphia, PA 19132

                    Arbill Industries, Inc.
                    10450 Drummond Road
                    Philadelphia, PA 19182

                    Arbill Industries, Inc.
                    PO Box 820542
                    Phiadelphia, PA 19182-0542


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                    Arbor Fence Company
                    2190 S. Delaware Street
                    Denver, CO 80223

                    Arbor Material Handling Inc
                    2465 Maryland Rd
                    Willow Grove, PA 19090 1710

                    Arbor Material Handling, Inc.
                    P.O. Box 91
                    2380 Maryland Road
                    Willow Grove, PA 19090

                    Arc Manufacturing Co., Inc.
                    1651 Loretta Avenue
                    Feasterville, PA 19053

                    Arc Water Treatment Co
                    114 Harvey St
                    Philadelphia, PA 19144

                    Arcadia Express Inc
                    1724 Oakwood Terrace
                    Scotch Plains, NJ 07076

                    Arch Aluminum & Glass
                    PO Box 25127
                    Tamarec, FL 33320

                    Arch Aluminun & Glass, LLC
                    Attn: Natalie Reed
                    10100 Nw 67th Street
                    Tamarac, FL 33321

                    Arch L.L.C.
                    1501 John Tipton Blvd
                    Pennsauken, NJ 08110

                    Arch L.L.C.
                    P.O. Box 25127
                    Tamarec, FL 33320

                    Arch Paging
                    PO Box 970016
                    Boston, MA 02297-0016




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                    Arch Rothrock
                    210 Sunny Acres Drive
                    Lewisville, NC 27023

                    Arch Wireless
                    P.O. Box 4062
                    Woburn, MA 01888-4062

                    Arch Wireless
                    PO Box 4062
                    Woburn, MA 01888-4062

                    Arch Wireless
                    PO Box 4062
                    Woburn, MA 018884062

                    Archer & Greiner Pc
                    One Centennial Sq
                    Haddonfield, NJ 08033 0968

                    Archer & Greiner Trust
                    Account
                    Attention: Joel Schneider
                    One Centennial Square
                    P.O. Box 3000
                    Haddonfield, NJ 08033

                    Architectural Steel Company
                    P.O. Box 2206
                    Cinnaminson, NJ 08077

                    Architectural Testing Inc
                    130 Derry Ct
                    York, PA 174029405

                    Arco Dist. Company
                    22815 Hwy 1
                    Plaquemine, LA 70764

                    Arco Distributors Inc.
                    22815 Hy
                    Davie, FL 33317

                    Ardell Sales & Consulting Inc
                    2150 E Lake Cook Rd, Ste 590
                    Buffalo Grove, IL 60089-1862




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                    Ardmore Toyota
                    219 East Lancaster Avenue
                    Ardmore, PA 19003

                    Area Lighting Research
                    Asbury Road
                    Hackettstown, NJ 07840

                    Area Lighting Research, Inc.
                    PO Box 371631
                    Pittsburgh, PA 15251-7631

                    Aremco Products Inc.
                    P.O. Box 517
                    707-B Executive Blvd.
                    Valley Cottage, NY 10989

                    Argo International
                    140 Franklin Street
                    New York, NY 10013

                    Argonaut Insurance Company
                    P.O. Box 974941
                    Dallas, TX 75397-4941

                    Aries Global Logistics
                    P.O. Box 592
                    Franklin Square, NY 11010

                    Aristech Chemical Corp.
                    Dept. 302
                    Cincinnati, OH 45296

                    Arizona Designs Inc
                    3121 Rte 73 S
                    Maple Shade, NJ 08052

                    Arjay Company
                    1030 Grand Boulevard
                    Deer Park, NY 11729

                    Ark-Plas Products Inc.
                    165 Industry Ln
                    Flippin, AR 72634

                    Arl Inc
                    PO Box 360-034
                    Pittsburgh, PA 15251-6034


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                    Arm Recycling Directories
                    P.O. Box 577
                    Ogdensburg, NY 13669

                    Armaclad Inc
                    6806 Anthony Hwy
                    PO Box 70
                    Waynesboro, PA 17268

                    Armen Cadillac & Oldsmobile
                    1441 Ridge Pike
                    PO Box 193
                    Plymouth Meeting, PA 19462

                    Arnold's Safe And Lock
                    7315 Park Avenue
                    Pennsauken, NJ 08110-3009

                    Arobone And Company, Inc.
                    1390 Industry Road
                    Hatfield, PA 19440

                    Arpit Patel
                    3241 Hulmeville Road
                    Apt E154
                    Bensalem, PA 19020

                    Arrow Star Discount Whse
                    PO Box 5200
                    Suwanee, GA 30024

                    Arrow Star Inc.
                    22 Harbor Park Drive
                    Port Washington, NY 11050

                    Arrow Star Incorporated
                    3-1 Park Plaza, Dept. S
                    Glen Head, NY 11545

                    Arrow Trucking Company
                    Drawer 136
                    PO Box 21338
                    Tulsa, OK 74121-1338

                    Arrow Trucking Company
                    Lockbox Number 1162
                    Tulsa, OK 74182



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                    Arrowpac Inc
                    2240 74th St
                    North Bergen, NJ 07047

                    Arrowpoint Capital Corp.
                    3600 Arco Corporate Drive
                    Charlotte, NC 28273

                    Art On View
                    340 N. 12th Street
                    4th Floor,Suite #9
                    Philadelphia, PA 19107-1123

                    Artcraft & Foremost
                    215 Executive Drive
                    Moorestown, NJ 08057

                    Artcraft Sign Studio Inc.
                    127-F Gaither Drive
                    Mt. Laurel, NJ 08054-1707

                    Artesian /Home And Roam
                    1601 Wicomico Street
                    Baltimore, MD 21230

                    Artesian Pools
                    Attn : Richard Krabbendam
                    1105 Mackey Ave
                    Chattanooga, TN 37421

                    Artesian Pools, LLC
                    1601 Wicomico Street
                    Baltimore, MD 21230

                    Arthritis Foundation
                    9 Tanner Street-East Entry
                    Haddonfield, NJ 08033

                    Arthur Andersen LLP
                    1601 Market Street
                    Philadelphia, PA 19103-2499

                    Arthur Andersen LLP
                    P.O. Box 905717
                    Charlotte, NC 28290-5717




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                    Arthur Ashe Youth
                    Tennis & Education
                    3901 B Main St, Ste 304
                    Philadelphia, PA 19127

                    Arthur W. Bidwell Iii
                    3803 Central Avenue
                    Middletown, OH 45044

                    Artistic Creations By Sharon
                    506 Arthur Dr.
                    Cherry Hill, NJ 08003

                    Asbury Park Locksmith
                    1024 Main St
                    Asbury Park, NJ 07712

                    Asc Global International Inc
                    88-11 69th Rd
                    Forest Hills, NY 11375

                    Asd/Amd Trade Shows
                    Jp Morgan Chase/Merchandise
                    PO Box 88943
                    Chicago, IL 60695 1943

                    Ase Technical Service Corp,
                    Inc
                    1 Goldenrod Drive
                    Mount Laurel, NJ 08054

                    Ashbee Lacrosse Club
                    C Hupfeldt
                    38 Buck Ln
                    Haverford, PA 19041

                    Ashland Chemical, Inc.
                    P.O. Box 371002
                    Pittsburgh, PA 15250-7002

                    Ashland Products, Inc.
                    PO Box 92026
                    Chicago, IL 60675-2026

                    Ashlee Publishing Co Inc
                    18 E 41st St
                    New York, NY 10017-6222



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                    Ashlee Publishing Inc.
                    310 Madison Ave
                    New York, NY 10017

                    Asinco Industies, Inc.
                    PO Box 1405
                    Lumberton, NC 28359

                    Askins Models, Inc.
                    55 North Third Street
                    Philadelphia, PA 19106

                    Asm International
                    Attention: Customer Service
                    Materials Park, OH 44073-
                    0002

                    Asq
                    American Society For Quality
                    Milwaukee, WI 53201-3033

                    Asqc
                    611 E. Wisconsin Ave.
                    PO Box 3005
                    Milwaukee, WI 53201-3005

                    Assoc. Of Pool & Spa
                    2111 Eisenhower Avenue
                    Alexandria, VA 22314

                    Associated Bag Co
                    400 W. Boden St
                    Milwaukee, WI 53207

                    Associated Bag Company
                    PO Box 3036
                    Milwaukee, WI 53201-3036

                    Associated Controls Inc.
                    915 Montgomery Avenue
                    Narberth, PA 19072

                    Associated Global Systems
                    PO Box 71318
                    Chicago, IL 60694-1318




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                    Associated Imaging Solutions
                    Summit Center
                    658 W Street Rd
                    Feasterville, PA 19053

                    Associated Industrial Tire
                    Inc
                    606 Wm. Leigh Drive
                    Tullytown, PA 19007

                    Associated Industrial Tire,
                    Inc
                    PO Box 512
                    Levittown, PA 19058

                    Associated Insulation
                    Services
                    P.O. Box 6054
                    Southeastern, PA 19398-6054

                    Associated International
                    3333 New Hyde Park Rd
                    New Hyde Park, NY 11042

                    Associated Laboratories Inc
                    PO Box 152837
                    Dallas, TX 75315

                    Associated Rental Systems Inc
                    Attention: Mr. Vincent Puccio
                    51 Edgeboro Road
                    East Brunswick, NJ 08816

                    Associates Commercial
                    PO Box 410587
                    Kansas City, MO 64141-0587

                    Association For Corporate
                    Growth
                    Berwind Financial, L.P.
                    3000 Centre Square West
                    Philadelphia, PA 19102




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                    Association For Facilities
                    Engineering
                    8180 Corporate Park Drive
                    Suite 305
                    Cincinnati, OH 45242

                    Association Of Corp. Counsel
                    Membership Department
                    1025 Connecticut Avenue, Nw
                    Suite 200
                    Washington, DC 20036-5425

                    Association Of Corporate
                    Counsel
                    P.O. Box 791044
                    Baltimore, MD 21279-1044

                    Association Of Millwork
                    Distributors
                    10047 Robert Trent Jones Pky
                    New Port Richey, FL 34655
                    4649

                    Association Of Window
                    Installers, Inc
                    14255 Us Highway One
                    Suite 200
                    Juno Beach, FL 33408

                    Assurance Builders
                    PO Box 1452
                    Bensalem, PA 19020

                    Astech, Inc.
                    5512 Scotch Rd.
                    Vassar, MI 48768

                    Astral Products
                    8003 Westside Industrial Dr.
                    Jacksonville, FL 32219

                    Astralloy Wear Technology
                    1550 Red Hollow Rd
                    P.O. Box 170974
                    Birmingham, AL 35217-0974




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                    Astro Chemical Company, Inc.
                    P.O. Box 200
                    3 Mill R4oad
                    Ballston Lake, NY 12019

                    Astro Pneumatic Tool Co.
                    18051 E. Arenth Ave
                    City Of Industry, CA 91748

                    At & T (Phoenix)
                    PO Box 78158
                    Phoenix, AZ 85062-8158

                    At & T Global Information
                    PO Box 75245
                    Charlotte, NC 28275-5245

                    At & T Mobility
                    PO Box 537113
                    Atlanta, GA 30353-7113

                    AT & T
                    PO Box 27-820
                    Kansas City, MO     64184-0820

                    AT&T Wireless Services
                    P.O. Box 8220
                    Aurora, IL 60572-8220

                    AT&T Wireless
                    P.O. Box 105773
                    Atlanta, GA 30348-5773

                    AT&T
                    P.O. Box 78158
                    Phoenix, AZ    85062-8158

                    AT&T
                    PO Box 2971
                    Omaha, NE 68103-2971

                    AT&T
                    PO Box 8212
                    Aurora, IL 60572-8212

                    AT&T
                    PO Box 9001310
                    Louisville, KY    40290-1310


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                    Atec Fabrications Inc.
                    899 Maple Ave
                    Lansdale, PA 19446

                    Athletic Business
                    4130 Lien Road
                    Madison, WI 53704

                    Atlanta Import Collision
                    Center
                    589 Willow Street
                    Atlanta, GA 30308

                    Atlanta Journal &
                    Constitution
                    PO Box 105375
                    Atlanta, GA 30348-5375

                    Atlantic Analytical
                    Laboratory
                    P.O. Box 220
                    Salem Industrial Park
                    Building #4
                    Whitehouse, NJ 08888

                    Atlantic Builder's Convention
                    500 Horizon Center Drive
                    Suite 530
                    Robbinsville, NJ 08691

                    Atlantic City Convention
                    Center
                    2301 Boradwalk
                    Atlantic City, NJ 08401

                    Atlantic City Housing
                    Authority
                    227 N. Vermont Ave.
                    Attn: Purchasing Dept.
                    Atlantic City, NJ 08401

                    Atlantic Concrete Cutting
                    Inc.
                    396 N. Pemberton Road
                    Mt. Holly, NJ 08060




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                    Atlantic County Probation
                    Dept
                    P.O. Box 6080
                    Bellmawr, NJ 08099

                    Atlantic Crane Inc.
                    P.O. Box 728
                    Fogelsville, PA 18051-0728

                    Atlantic Drives & Bearings
                    Inc
                    3109 North Mill Road
                    Vineland, NJ 08360

                    Atlantic Electric
                    P.O. Box 4860
                    Trenton, NJ 08650

                    Atlantic Exchange, Inc.
                    2900 NW 79th Ave
                    Miami, FL 33122

                    Atlantic Fluid Power
                    111 Bridge Road
                    Hauppauge, NY 11788

                    Atlantic Gear & Machine
                    3905 W. 9th Street
                    Unit K
                    Trainer, PA 19061

                    Atlantic Mortgage & Invest
                    4348 Southpoint Blvd
                    Suite 101
                    Jacksonville, FL 32216

                    Atlantic Pacific Air &
                    Transport Inc
                    Ambassador Ctr Bay 2 & 3
                    Lester, PA 19113

                    Atlantic Scrap &Processing
                    LLC
                    Po Box 608
                    Kernersville, NC 27285-0608




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                    Atlantic Southern Dental Fdn
                    C/O Benecare, Suite 472
                    620 Chestnut Street
                    Philadelphia, PA 19106

                    Atlantic Tool Systems
                    150 Fifth Avenue
                    Hawthorne, NJ 07506

                    Atlantic Track
                    270 Broad Street
                    Bloomfield, NJ 07003

                    Atlantic Underwriting Group
                    P.O. Box 811
                    1288 Valley Forge Rd.-Suite
                    65
                    Valley Forge, PA 19482

                    Atlas Bronze
                    445 Bunting Avenue
                    Trenton, NJ 08611

                    Atlas Electrostatic Ref Co
                    Inc
                    5066 West Chester Pike
                    Newtown Square, PA 19073

                    Atlas Fire Equipment, Inc.
                    Box 330
                    1035 Jersey Avenue
                    Gloucester City, NJ 08030-
                    0330

                    Atlas Fire Sprinklers Inc.
                    517 South Broadway
                    P.O. Box 230
                    Gloucester City, NJ 08030

                    Atlas Material Handling
                    Systems
                    PO Box 2273
                    Warminster, PA 18974




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                    Atlas Minerals & Chemicals
                    1227 Valley Road
                    P.O.Box 38
                    Martztown, PA 19539

                    Atomic Tire & Auto Service
                    200 Route 73 North
                    Palmyra, NJ 08065

                    Atotech Usa Inc.
                    1750 Overview Drive
                    Rock Hill, SC 29731

                    Atpac
                    208 Diplomat Drive
                    Airport Business Center
                    Lester, PA 19113

                    Atria Building Products
                    539 E Coshocton St
                    Johnstown, OH 43031 9589

                    Ats Specialized, Inc.
                    Nw 7130
                    P.O. Box 1450
                    Minneapolis, MN 55485-7130

                    Ats, Inc.
                    203 Cooper Ave. N.
                    Box 1377
                    St. Cloud, MN 56302

                    Attica Hydraulic Exchange
                    Corp
                    18175 Gratiot
                    Chesterfield, MI 48051

                    Atwood Publishing LLC
                    11600 College Blvd.
                    Overland Park, KS 66210

                    Atx Communications
                    PO Box 9257
                    Uniondale, NY 11555 9257




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                    Atx Telecommunications Serv
                    PO Box 57194
                    Philadelphia, PA 19111-7194

                    Auburn Millwork
                    PO Box 1307
                    Auburn, AL 36831 1307

                    Audi Financial Services
                    PO Box 7247-0136
                    Philadelphia, PA 19170-0136

                    Audio Visual Systems
                    Rental Centers
                    Pennjerdel House
                    449 High Street
                    Burlington, NJ 08016

                    Audiomax
                    470 Sentry Parkway East
                    Blue Bell, PA 19422

                    Audubon International, Inc.
                    223 South Whitehorse Pike
                    Audubon, NJ 08106

                    Audubon Plumbing Supply
                    515 3rd. Avenue
                    Audubon, NJ 08116

                    Aurora Parts & Accessories
                    LLC
                    12813 Flushing Meadows Drive
                    Attn: Kate Dyer
                    St. Louis, MO 63131

                    Aurora Plastics, Inc.
                    11444 Chamberlain Road
                    Aurura, OH 44202

                    Austino's Liftrucks
                    A United Rentals Co.
                    1016 S. Delsea Drive
                    Vineland, NJ 08360




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                    Auto Driveaway Co
                    5777 E Evans Ave, Ste 109
                    Denver, Co 80222 5318

                    Auto Radiator Service
                    39 Haddon Ave
                    W Berlin, NJ 08091

                    Auto Wheel & Rim Co, Inc.
                    2731 E. Caster Avenue
                    Philadelphia, PA 19134

                    Autocon Technologies Inc.
                    38455 Hills Tech Drive
                    Farmington Hills, MI 48331

                    Autodesk, Inc.
                    P.O. Box 3268
                    Marion, IN 46953

                    Auto-Diesel Piston Ring Co.
                    3145 Superior Ave.
                    Cleveland, OH 44114

                    Automated Packaging Systems
                    10175 Philip Street
                    Streetsboro, OH 44241

                    Automated Packaging Systems
                    1433 Route 34
                    Building B
                    Farmingdale, NJ 07727

                    Automated Packaging Systems
                    PO Box 92485n
                    Cleveland, OH 44193

                    Automated Pkg Systems
                    8400 Darrow Road
                    Twinsburg, OH 44087

                    Automated Window Machinery
                    Inc
                    526 S Main Street
                    Suite 122
                    Akron, OH 44311




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                    Automated
                    6231 Mckinley St Nw
                    Ramsey, MN 55303

                    Automatic Data Processing
                    PO Box 9001006
                    Louisville, KY 40290-1006

                    Automatic Timing And Controls
                    114 Earland Drive
                    New Holland, PA 17557

                    Automation Aides
                    26 Evergreen Avenue
                    Warminster, PA 18974

                    Automation Aids, Inc.
                    420 Babylon Road
                    Suite B
                    Horsham, PA 19044

                    Automation And Metrology
                    130 Liberty Street
                    Painesville, OH 44077

                    Automation Direct
                    3505 Huchinson Road
                    Cumming, GA 30040

                    Automation Direct
                    3505 Hutchinson Rd.
                    Cumming, GA 30130

                    Automation Solutions, Inc.
                    882 S. Matlack Street
                    Suite 204
                    West Chester, PA 19382-4505

                    Avaya Inc.
                    P.O. Box 5332
                    New York, NY 10087-5332

                    Avellino's
                    6820 Crescent Blvd.
                    Pennsauken, NJ 08110




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                    Averitt Express Inc.
                    PO Box 3145
                    Cookeville, TN 385023145

                    Avfco Wholesale Supply Co Inc
                    6598 Hwy 17 North
                    Rhinelander, WI 54501

                    Avitar Technologies, Inc.
                    65 Dan Road
                    Canton, MA 2021

                    Avitar
                    65 Dan Road
                    Canton, MA 02021

                    Avnet Industrial Inc.
                    Avnet/Mechanics Choice
                    P.O. Box 70373
                    Chicago, IL 60673-0373

                    Avo Communications, Inc
                    PO Box 2250
                    Huntsville, AL 35804

                    Avoca Wireless
                    1916 Old Cuthbert Rd
                    Suite B-13
                    Cherry Hill, NJ 08003

                    Award Cutter Company, Inc.
                    5577 Crippen Avenue, S.W.
                    Grand Rapids, MI 49548

                    Awdi, LLC.
                    14255 Us Highway One
                    Suite 200
                    Juno Beach, FL 33408

                    Awilda Medina
                    1890 River Rd
                    Camden, NJ 08105




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                    Awmi
                    Association Of Women In The
                    Metal Industries
                    P.O. Box 70038
                    Baltimore, MD 21237

                    Axiom Management Systems Ltd
                    2085 Hurontario, Ste 300
                    Canada M5R 3K4
                    Mississauga, Ontario

                    Ay Machine Co
                    East King St
                    PO Box 608
                    Ephrata, PA 17522

                    A-Z Enterprises
                    3409 Giant Oaks Drive
                    Sophia, NC 27350-8119

                    Azar Int'l Inc
                    31 W Prospect St
                    Nanuet, NY 10954

                    Azcon Construction
                    Corporation
                    7327 River Road
                    Pennsauken, NJ 08110

                    Azon Usa, Inc.
                    2204 Ravine Rd.
                    Kalamazoo, MI 49004-3506

                    Aztec Washer Company
                    20520 Walnut Drive
                    P.O. Box 696
                    Walnut, CA 91789

                    Aztech Sales Associates, Inc.
                    57 Fourth Street
                    Somerville, NJ 08876

                    B & B Freight Lines, Inc.
                    471 Oak Street
                    Florence, NJ 08518




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                    B & B Specialty Advertising
                    1008 Cherry Lane
                    Cinnaminson, NJ 08077

                    B & F Enterprises
                    1530 Irving St
                    Rahway, NJ 070654036

                    B & H Industries
                    629 Hollywood Avenue
                    Cherry Hill, NJ 08002

                    B & H Machine, Inc.
                    P.O. Box 96
                    Minerva, OH 44657

                    B & O Saws, Inc.
                    P.O. Box 26
                    825 Reed Street
                    Belding, MI 48809

                    B & P Enviromental Resources
                    128 Bauer Drive
                    Oakland, NJ 07436

                    B & P Manufacturing
                    8052 East Boon Road
                    Cadillac, MI 49601

                    B & P Sales
                    6361 Yarrow Drive
                    Suite E
                    Carlsbad, CA 92009

                    B & S Glass & Mirror Co Inc
                    64 Arctic Parkway
                    Ewing, NJ 08638 3041

                    B & S Glass & Mirror Co
                    64 Arctic Parkway
                    Ewing, NJ 08638 3041

                    B & S Glass Service, Inc.
                    PO Box 4446
                    Roanoke, VA 24015




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                    B & T Hardware
                    2878 Fulton St
                    Brooklyn, NY 11208

                    B & Z Cabinets Inc
                    10 Canal St
                    Bristol, PA 19007

                    B B P
                    24 Rope Ferry Road
                    Waterford, CT 06386-0001

                    B C K Engineering Assoc. P.C.
                    900c Hollydell Court
                    Sewell, NJ 08080

                    B K A Sales & Marketing
                    PO Box 56-2408
                    Miami, FL 33156 2408

                    B L G T Manufacturing
                    PO Box 13
                    Plum Coulee Mb Canada\

                    B M I
                    P.O. Box 8299
                    Foster City, CA     94404-8299

                    B M W Financial Services
                    PO Box 9001065
                    Louisville, KY 402901065

                    B&B Carpet
                    8 Lakeside Ave.
                    Cherry Hill, NJ     08034

                    B.B. Bradley Company
                    7755 Crile Road
                    Painesville, OH 44077

                    B.B.Pallets Inc.
                    701 Rue Dubois
                    St-Eustache
                    Quebec Canada
                    J7p3w1




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                    B.C. Salvage
                    2312 Ne 11th Street
                    Hallendale, FL 33009

                    B.C.I.T. Burlington County
                    Insitute Of Technology
                    Adult Education Division
                    10 Hawkins Rd.
                    Medford, NJ 08055

                    B.C.S.C.P.
                    49 Rancocas Rd.
                    Mt Holly, NJ 08060

                    B.L. Builders
                    605 Poplar St
                    Walterboro, SC    29488

                    B.M.W. Financial Services
                    PO Box 9001065
                    Louisville, KY 40290-1065

                    Bache Financial Limited
                    One New York Plaza
                    New York, NY 10292

                    Bad Cat Design
                    3006 Aquetong Road
                    New Hope, PA 18938

                    Badger Meter, Inc.
                    6116 East 15th Street
                    Tulsa, OK 74112

                    Badger Transformer Co. Inc.
                    7939 W. Tower Avenue
                    Milwaukee, WI 53223-3213

                    Bahia Honda Scrap Metal
                    3185 Nw North River Dr
                    Miami, FL 33142

                    Bahr Bros. Mfg., Inc.
                    2545 Lincoln Blvd.
                    P.O. Box 411
                    Marion, IN 46952




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                    Bahr Pools
                    647 Sodom-Hutchings Road
                    Vienna, OH 44473

                    Bailey Engineering & Sales
                    Co.
                    P.O. Box 183
                    Ft. Washington, PA 19034

                    Baileys Model Management
                    37 N. Orange Ave
                    5th Floor, Suite 510
                    Orlando, FL 32801

                    Baker & Hostetler LLP
                    P.O. Box 53369
                    Los Angeles, CA 90074-3369

                    Baker Botts LLP
                    PO Box 201626
                    Houston, TX 772161626

                    Baker Industries - Pa Whse
                    Ultra Hardware Products, LLC
                    184 Pennsylvania Ave
                    Malvern, PA 193552418

                    Baker Industries Inc
                    3506 N "F" Street
                    Philadelphia, PA 19134

                    Baker, Sterchi, Cowden & Rice
                    & Rice, L.L.C
                    2400 Pershing Rd., Suite 500
                    Kansas City, MO 64108-2504

                    Balboa Instruments Inc.
                    1221 W. Coast Highway
                    Newport Beach, CA 92663

                    Baldo Photography
                    259 Morgan St
                    Phoenixville, PA 19460

                    Baldo Photography
                    259 Morgan Street
                    Phoenixville, PA 19460



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                    Baldwin Hardware
                    841 E Wyomissing Blvd
                    Reading, PA 19611

                    Baldwin Steel Inc.
                    500 Route 440
                    Jersey City, NJ 07304

                    Balkan Siding Co.
                    4030 Nw 10th
                    Oklahoma City, OK     73107

                    Ball Screws & Actuators
                    C/O Sell Industries
                    3616 Snell Ave.
                    San Jose, CA 95136

                    Ballard Forest Transportation
                    P.O. Box 222
                    Homer, GA 30547

                    Ballard Spahr Andrews
                    & Ingersoll
                    1735 Market Street 51st Floor
                    Philadelphia, PA 19103-7599

                    Ballon Celebrations
                    127 S. Whitehorse Pike
                    Somerdale, NJ 08083

                    Balluff Inc.
                    8125 Holton Drive
                    Florence, KY 41042

                    Baltimore Aircoil Co., Inc.
                    P.O. Box 62199
                    Baltimore, MD 21264-2199

                    Bamberger's, Inc.
                    122 Schneider Drive
                    Lebanon, PA 17046

                    Bank Of America
                    P.O. Box 15713
                    Wilmington, DE 19886-5713




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                    Bank Of America
                    P.O. Box 15731
                    Wilmington, DE 19886-5731

                    Bankcard Services
                    P.O. Box 15019
                    Wilmington, DE 19886-5019

                    Banners & Signs Express
                    4839 Street Road
                    Trevose, PA 19053

                    Bantivoglio Metal Exchange
                    96 Forrest Hill Drive
                    Voorhees, NJ 08043

                    Bantivoglio Metals, Inc.
                    1500 South Sixth Street
                    Camden, NJ 08104

                    Barbara A Milligan
                    149 Whippoorwill Way
                    Mantua, NJ 08051

                    Barbara Haubois
                    39 Payne Ave
                    Runnemede, NJ

                    Barbara L. Gudgel Inc.
                    Dba Florida Sales Associates
                    2000 Cevera Drive
                    Dunedin, FL 34698

                    Barbara Miller
                    Harrows
                    270 Spagnoli Road
                    Melville, NY 11747

                    Barbara Wilus
                    5019 Cottage St.
                    Philadelphia, PA     19124

                    Barber-Coleman Co.
                    Industrial Instruments
                    P.O. Box 65754
                    Charlotte, NC 28265




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                    Barbour Bros.Steel
                    85 Route 31 North
                    Pennington, NJ 08534-3601

                    Barclays American Mortgage
                    Co.
                    Box 31903
                    Charlotte, NC 28231

                    Barco Products Co.
                    11 N. Batavia Ave.
                    Batavia, IL 60510

                    Barcode Graphics
                    444 N Michigan Ave #3500
                    Chicago, IL 60611 3902

                    Bardane Manufacturing
                    Delaware Street
                    Jermyn, PA 18433

                    Bardot Plastics Inc.
                    10 Mcfadden Road
                    Palmer Industrial Park
                    Easton, PA 18045-7817

                    Bargain Brakes & Mufflers
                    Rt. 130 & Cinnaminson Ave.
                    Cinnaminson, NJ 08077

                    Bargain Warehouse
                    502 W Market St
                    Portland, TN 37148 1353

                    Barish Pump
                    61 Allen Blvd.
                    Farmingdale, NY     11735

                    Barker Pipe Fittings Co.
                    271 Lancaster Avenue
                    Frazer, PA 19355

                    Barksdale Inc.
                    3211 Fruitland Avenue
                    P.O. Box 58843
                    Los Angeles, CA 90058-0843




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                    Barlow Buick Inc.
                    Route 130 North At Route 73
                    P.O. Box 2126
                    Cinnaminson, NJ 08077

                    Barlow Chevrolet
                    Route 130 & Fairview Street
                    Delran, NJ 08075

                    Barmet Aluminum Corp
                    753 W. Waterloo Rd
                    PO Box 3740
                    Akron, OH 44314-0740

                    Baron Usa, Inc.
                    P.O. Box 2997
                    350 Baron Circle
                    Cookeville, TN 38502

                    Barrett Warehouse & Trans
                    505 University Avenue
                    Norwood, MA 02062

                    Barrington Door Inc.
                    111 Clements Bridge Rd.
                    Barrington, NJ 08007

                    Barr-Nunn Transportation Inc
                    PO Box 289
                    Des Moines, IA 50301

                    Barry Decorators
                    1205 Warren Avenue
                    Cherry Hill, NJ 08002

                    Barry E Walter Sr Company
                    PO Box 1069
                    Fort Morgan, CO 80701

                    Barry Kimmel
                    1307 Barbaras Ct
                    North Wales, PA 19454-4031

                    Barson's
                    Lafayette Hill Deli
                    551 Germantown Pike
                    Lafayette Hill, PA 19444



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                    Bartie, James, Sgt. At Arms
                    5th & Mickle Blvd.
                    Camden, NJ 08105

                    Barton Supply Inc.
                    1260 Marlkress Road
                    P.O. Box 2240
                    Cherry Hill, NJ 08034

                    Bart's Truck Service
                    4340 Sepviva Street
                    Philadelphia, PA 19124

                    Bartuk Hose & Hydraulics
                    1 Surrey Lane
                    Cinnaminson, NJ 08077

                    Basco/Api
                    P.O. Box 623
                    Buffalo, NY 14240

                    Basf Corporation Chemical
                    Div.
                    P.O. Box 101530
                    Atlanta, GA 30392

                    Basic Builders Brass 97
                    2885 N. Berkeley Lake Road
                    Suite 16
                    Duluth, GA 30096

                    Basic Chemical Solutions
                    5 Steel Road East
                    Morrisville, PA 19067

                    Baskets-N-Beyond
                    39 W. Madison Avenue
                    Dumont, NJ 19020

                    Bass Transportation Co.
                    Old Croton Road
                    PO Box 391
                    Flemington, NJ 08822

                    Bateman Bros. Lumber Co
                    PO Box 1039
                    Doylestown, PA 18901



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                    Baton Secured Investments Inc
                    Dba Baton Security Products
                    11521 Salinaz Dr
                    Garden Grove, CA 92843

                    Battery Builders Inc.
                    31w238 91st Street
                    Naperville, IL 60564

                    Baur Children College Fund
                    Inglesby/Givnish Funeral Home
                    600 E. Main Street
                    Maple Shade, NJ 08052

                    Bax Global
                    P.O. Box 371963
                    Pittsburgh, PA 15250-7963

                    Baxter - Harris
                    2322 N Tryon Street
                    Charlotte, NC 28206

                    Bay Cities Warehouse Co Inc
                    31474 Hayman St
                    Hayward, CA 94544

                    Bay Glass Works Inc
                    PO Box 485
                    Lothian, MD 20711

                    Bay Metal, Inc.
                    4100 Congress Pkwy. West
                    Box 449
                    Richfield, OH 44286

                    Bay Mills, Ltd
                    Brampton Division
                    6 Holtby Avenue
                    Brampton Canada
                    L6X2M1

                    Bay Ridge Lumber Co, Inc.
                    PO Box 11
                    Bayonne, NJ 7002




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                    Bay State Window & Door
                    364 Ashley Blvd
                    New Bedford, MA 02745

                    Bayco/Viking
                    Epoxylite
                    9400 Toledo Way
                    Irvine, CA 92718

                    Bayform
                    PO Box 641544
                    Pittsburgh, PA    15264-1544

                    Bayley Fan Co.
                    843 Indianapolis Ave
                    Indianapolis, IN 46052

                    Bayshore Vinyl Compounds Inc
                    PO 430, Route 522
                    Tennent, NJ 7763

                    Bbb Consumer Awareness Cmp.
                    3700 Koppers Street
                    Suite 105
                    Baltimore, MD 21227-1020

                    Bc Fence Contractors
                    620 5th Ave.
                    Croydon, PA 19021

                    Bcc Software Inc
                    39093 Treasury Ctr
                    Chicago, IL 60694 9000

                    Bcm Engineers Inc.
                    135 South Lasalle
                    Dept. 2795
                    Chicago, IL 60674-2795

                    Bcm Engineers, Inc.
                    P.O. Box 35053
                    Newark, NJ 07193-5053




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                    Bcsp
                    Board Of Certified Safety
                    Professionals
                    P.O. Box 17040
                    Urbana, IL 61803-7040

                    Bds Technologies Inc.
                    385 Lancaster Avenue
                    Malvern, PA 19355

                    Beacon Container Corporation
                    PO Box 8500 (S-9445)
                    Philadelphia, PA 19178-9445

                    Beacon Container
                    P.O. Box 8500 (S-9445)
                    Philadelphia, PA 19178-9445

                    Beacon Environmental Services
                    P.O. Box 477
                    Summit, NJ 07902-0477

                    Beacon Equipment Compay
                    16 Bala Ave.
                    Bala-Cynwyd, PA 19004

                    Beacon Paint & Wallpaper Co
                    371 Amsterdam Ave
                    New York, NY 10024 6713

                    Bearings & Drives Unlimited
                    3443 Behtlehem Pike
                    Souderton, PA 18964

                    Beatrice Kelley
                    10907 Carey Place
                    Philadelphia, PA 19154

                    Beautified Cabinets Inc
                    94 Commerce
                    PO Box 383
                    East Berlin, CT 06023 0383

                    Because We Care
                    7603 Old York Road
                    Melrose Park, PA 19027




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                    Bechtel Co (Repair Shop)
                    1810 Marne Hwy
                    Hainsport, NJ 08036

                    Bechtel Co.
                    16 West Front St
                    Florence, NJ 08518

                    Beck Aluminum Corporation
                    Po Box 714804
                    Columbus, OH 43271-4804

                    Beck Aluminum
                    300 Allen Bradley Drive
                    Mayfield Heights, OH 44124

                    Beck Packaging
                    PO Box 20250
                    Lehigh Valley, PA     18002-0250

                    Beemak Plastics Inc
                    PO Box 75590
                    Chicago, IL 60675 5590

                    Beiler Hydraulics, Inc.
                    322 East Main Street
                    Leola, PA 17540

                    Beitzinger's Inc
                    722 N Broadway St
                    Pittsburg, KS 66762 3922

                    Belcher Roofing Corp.
                    912 Fitzwatertown Road
                    Glenside, PA 19038

                    Belco Industries, Inc.
                    115 East Main Street
                    Belding, MI 48809

                    Belden Tools Inc
                    2500 Braga Drive
                    Broadview, IL 60153




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                    Belding Tank Technologies,
                    Inc
                    P.O. Box 160
                    200 E. Main St.
                    Belding, MI 48809-0160

                    Belfiglio, Thomas
                    660 South Cental Ave
                    Deptford, NJ 08096

                    Be-Lite/ Cmt Covers
                    1130-B N. Kraemer
                    Anaheim, CA 92806

                    Bell Atl Mob Sys., Inc.
                    P.O. Box 64508
                    Baltimore, MD 21264

                    Bell Atlantic - NJ
                    PO Box 4833
                    Trenton, NJ 08650-4833

                    Bell Atlantic - Pa
                    P.O. Box 28000
                    Lehigh Valley, PA 18002-8000

                    Bell Atlantic - Pa
                    P.O. Box 28001
                    Lehigh Valley, PA 18002-8001

                    Bell Atlantic - Pa
                    P.O. Box 8585
                    Phila., PA 19173-0001

                    Bell Atlantic Rps-South
                    P.O. Box 60
                    Cockeysville, MD 21030

                    Bell Atlantic
                    PO Box 1100
                    Albany, NY 12250-0001

                    Bell Atlantic-Pa
                    P.O. Box 4833
                    Trenton, NJ 08650-4833




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                    Bell Container Corp
                    P.O. Box 5728
                    615 Ferry Street
                    Newark, NJ 07105-0728

                    Bell Container Corp
                    PO Box 5728
                    615 Ferry St
                    Newark, NJ 071050728

                    Bell Container Corporation
                    PO Box 5728
                    615 Ferry Street
                    Newark, NJ 07105-0728

                    Bell Of Pa.
                    PO Box 8585
                    Philadelphia, PA     19173-0001

                    Bell Pallet
                    3800 Bensalem Blvd
                    Bensalem, PA 19020

                    Bell South
                    PO Box 70807
                    Charlotte, NC    28272-0807

                    Bell Supply Company
                    7221 Route 130
                    Pennsauken, NJ 08110-1597

                    Belle Hardware Inc
                    240 Mcmechen St
                    Baltimore, MD 21217 4301

                    Bellevue Builders Supply
                    Attn: Suzanne Frisch
                    500 Duanesburg Rd
                    Schenectady, NY 12806

                    Bellmawr Purple Eagles
                    PO Box 101
                    Bellmawr, NJ 08099

                    Belmark
                    PO Box 5310
                    De Pere, WI 54115-5310



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                    Belmont Equipment Company
                    P.O. Box 71013
                    Madison Heights, MI 48071-
                    0013

                    Belmont Fabricare
                    200 Belmont Avenue
                    Bala Cynwyd, PA

                    Belt Maintenance Group
                    74 9 Parker Avenue
                    Trenton, NY 08609

                    Belyea Company Inc.
                    2200 Northwood Avenue
                    Easton, PA 18045

                    Bemco
                    2255-T Union Place
                    Simi Valley, CA 93065

                    Ben Tanner Photography
                    1838 Gerda Terrace
                    Orlando, FL 32804

                    Ben Weitsman & Son Inc
                    15 W Main St
                    Owego, NY 13827

                    Benada Aluminum
                    415 Royalston
                    Minneapolis, MN     55405

                    Benchmark Machine
                    P.O. Box 163
                    Killen, AL 35645

                    Benchmarks
                    628 Braeside Crescent
                    Kingston, Ontario Canada
                    K7p 1g8

                    Benjamin Obdyke
                    John Fitch Indus Park
                    65 Steamboat Drive, PA
                    18974-4889




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                    Bennett Tool & Die
                    12 West Main Street
                    P.O. Box 55
                    Bargersville, IN 46106

                    Bennett's Trailer Co.
                    3655 Market Street
                    P.O. Box 13456
                    Philadelphia, PA 19101-3456

                    Bennettt Heat Treating &
                    Brazing Inc.
                    82 Richard Road
                    Gingko Industrial Park
                    Ivyland, PA 18974

                    Bensalem Police Dept.
                    2400 Byberry Road
                    Alarms Division
                    Bensalem, PA 19020

                    Bensalem Rescue Squad, Inc.
                    39 N. 7th Street
                    Indiana, PA 15701

                    Bensalem Township School
                    Dorothy D. Call
                    Administrative Center
                    3000 Donallen Dr
                    Bensalem, PA 19020-1898

                    Bensalem Township
                    Building & Planning Dept
                    2400 Byberry Rd
                    Bensalem, PA 19020

                    Bensalem Twsp & School Dist.
                    714 Market Street
                    3rd Flr
                    Philadelphia, PA 19105

                    Benshaw Inc.
                    1659 E. Sutter Road
                    Glenshaw, PA 15116




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                    Benson Printing
                    60 South Keswick Avenue
                    Gelnside, PA 19038

                    Beracah Homes Inc
                    9590 Nanticoke Business
                    Greenwood, DE 19950

                    Berendsen Fluid Power
                    131 Ethel Road West
                    Unit 1
                    Piscataway, NJ 08854

                    Berg Chilling Systems Inc.
                    51 Nantucket Blvd
                    Ontario, Canada A M1p2ns

                    Berger & Company
                    126 Front Street
                    Pawtucket, RI 02860

                    Berger Building Products
                    2547 Paysphere Circle
                    Chicago, IL 60674

                    Bergess Contracting
                    18090 Truman Street
                    Boykins, VA 23827

                    Berks Industrial Supply
                    1601 Centre Avenue
                    Reading, PA 19601-4366

                    Berlin Glass Mirror Co., Inc.
                    60 W. White Horse Pike
                    Berlin, NJ 08009

                    Bernan Essential Reference
                    Publications
                    4611-F Assembly Drive
                    Lanham, MD 20706-4391

                    Bernard Industrial Components
                    Division Of T.H. Paris
                    P.O. Box 77316
                    West Trenton, NJ 08628




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                    Berry And Homer
                    2035 Richmond Street
                    Philadelphia, PA 19125

                    Berry Tile & Carpet Ctr.
                    716 Haddon Ave.
                    Collingswood, NJ 08107

                    Bertola, Mike
                    1415 E. Guadalupe Road
                    Tempe, AZ 85283

                    Besam Inc.
                    81 Twin Rivers Drive
                    Hightstown, NJ 08520

                    Besmer Industries Inc.
                    P.O. Box 695
                    Rockwell, NC 28138

                    Best Metal Corp
                    PO Box 245, Nanking 115
                    1f No. 9, Alley 2, Lane 120,
                    Shain Yang Road
                    Taipei Taiwan

                    Best Power Technologies Inc
                    P.O. Box 280
                    Necedah, WI 54646

                    Besten, Inc.
                    PO Box 951117
                    Cleveland, OH 44193

                    Bestko Precision Limited
                    Unit 2, 3/F, Kinglet Ind Bldg
                    21-23 Shing Wan Rd
                    Hong Kong
                    Shantin, N T

                    Bestway Transport
                    259 Beardsley Road
                    Beardsley, New Brunswick
                    E7m 4e1




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                    Beta Tank Inc.
                    201 North 5th Ave.
                    Lebanon, PA 17046

                    Betar Inc.
                    1524 Millstone River Rd.
                    Hillsborough, NJ 08844

                    Bete Fog Nozzle Inc.
                    50 Greenfield Street
                    Greenfield, MA 01301

                    Betec Symposium
                    1201 L St Nw
                    Suite 400
                    Washington DC 20005

                    Bethayers Home Center
                    2283 Huntingdon Pike
                    Huntingdon Valley, PA 19006

                    Bethlehem Steel
                    Sparrows Point Plant
                    5111 North Point Blvd.
                    Sparrows Point, MD 21219-
                    0160

                    Betsy Claghorn
                    524 Cresheim Valley Road
                    Wyndmoor, PA 19038

                    Better Business Bureau
                    PO Box 325
                    Hershey, PA 17033-0325

                    Better Enterprise Co Ltd
                    6f, No. 77, Sec. 4
                    Nanking E. Rd.
                    Taipei Taiwan

                    Better Home Products
                    Distribution Facilities
                    534 Eccles Ave
                    South San Francisco, CA 94080
                    1979




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                    Better Homes & Gardens
                    Special Interest Publication
                    125 Park Ave
                    New York, NY 10017-5529

                    Better Methods Alexander
                    1077 Rydal Rd
                    Rydal, PA 19046

                    Betty Armbruster
                    2415 Nassau Road
                    Cinnaminson, NJ 08077

                    Betty Becker
                    1433 Woodgrove Square
                    San Jose, CA 95117

                    Betty S. Pressley
                    123 Old Doc Court
                    Lexington, NC 27295-6767

                    Beverly Hardware
                    PO Box 116
                    Edinburg, TX 78540

                    Beverly Pallet, Inc.
                    Po Box 187
                    Ipswich, MA 01938

                    Bg Solutions, LLC
                    10 Cligton Blvd.
                    Unit Two
                    Clifton, NJ 7011

                    Bha Group, Inc.
                    8800 East 63rd Street
                    Kansas City, MO 64133

                    Bick's Supply Inc
                    211 S Broad St
                    Fayetteville, NC 28301

                    Bierman Trucking, Inc
                    1130 Hengemihle Ave
                    Baltimore, MD 21221




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                    Big Council
                    Municipal Building
                    5605 N. Crescent Boulevard
                    Pennsauken, NJ 08110

                    Big O Builders Supply
                    315 Maple Lane
                    Hillside, IL 60162 1724

                    Bijur Lubricating Corp.
                    50 Kocher Drive
                    Bennington, VT 05201-1994

                    Bilco Wire Rope & Supply
                    265 Pennsylvania Ave.
                    Hillside, NJ 07205

                    Bilgram Gear Company
                    8 Union Hall Road
                    West Conshohocken, PA      19428

                    Bill Buffington Retirement
                    Barb Corbett, Administration
                    Pennsauken Municipal Building
                    5605 N. Crescent Boulevard
                    Pennsauken, NJ 08110

                    Bill Davis
                    44 Bellwood Drive
                    Langhorne, PA 19053

                    Bill Flannery Automotive,
                    Inc.
                    1430 Wells Drive
                    Bensalem, PA 19020

                    Bill Frith
                    124 Shilo Drive
                    Lugoff, SC 29078

                    Bill Murray & Associates Inc
                    2036 Shady Crest Dr
                    Birmingham, AL 35216




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                    Bill Streicher Photography
                    421 No. 7th Avenue
                    Suite 202
                    Philadelphia, PA 19123

                    Billco Manufacturing Co
                    100 Grandview Blvd.
                    Zelienople, PA 16063

                    Billet And Conner
                    2000 Market Street
                    Suite 2803
                    Philadelphia, PA 19103-3201

                    Billows Electric Supply Co.
                    9100 State Road
                    Philadelphia, PA 19136-1694

                    Billows Electric
                    506 White Horse Pike
                    Haddon Heights, NJ 08035

                    Billows Electric
                    PO Box 828404
                    Philadelphia, PA     19182-8404

                    Billy Black Photographer
                    For Sail
                    62 Braman's Lane
                    Portsmouth, RI 02871

                    Billy Smotherman
                    1303 Lakeshore Drive
                    Murfreesboro, TN 37130

                    Bil-Ray Group
                    12 Petra Lane
                    Albany, NY 12205

                    Binder Machine Co.
                    P.O. Box 399
                    So. Plainfield, NJ     07080

                    Bio-Clean
                    1709 Biden Lane
                    Williamstown, NJ     08094




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                    Bio-Marine Instruments
                    131 Wallace Ave.
                    Suite #3
                    Downingtown, PA 19335

                    Biopharm Inc.
                    187 S. Tilley Rd.
                    Hatfield, AR 71945

                    Bird-B-Gone
                    24362 Via Madrugada
                    Mission Viejo, CA 92692

                    Birddog Solutions Inc
                    2301 N 117th Ave, Ste 201
                    Omaha, NE 68164

                    Birdsky Corporation
                    4g-27, No.5, Hsinyi Road, Sec
                    5
                    Taipei 110, Taiwan

                    Birmingham Rail & Locomotive
                    P.O. Box 53015
                    Birmingham, AL 35253-0157

                    Bi-State Building Products
                    125 Tyger River Road
                    Duncan, SC 29334

                    Bkg Company Inc
                    Mechanical Contractors
                    2990 Clymer Ave.
                    Telford, PA 18969

                    Bks Industries Incorporated
                    6417-19 Hegerman Street
                    Philadelphia, PA 19135

                    Bks Industries LLC
                    6417-19 Hegerman Street
                    Philadelphia, PA 19135

                    Black & Decker (U.S.) Inc.
                    P.O. Box 630846
                    Baltimore, MD 21263-0846




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                    Black & Decker Repair
                    2715 S Front Street
                    Philadelphia, PA 19148

                    Black & Decker
                    PO Box 98692
                    Chicago, IL 60693

                    Black And Decker
                    144 East Marlton Pike
                    Cherry Hill, NJ 08031

                    Black Box Corp. Of
                    Pennsylvania
                    PO Box 371671
                    Pittsburgh, PA 15251-7671

                    Blair O'neal
                    R O Sales
                    1123 E Villa Rita Dr
                    Phoenix, AZ 85022

                    Blake Shinpaugh
                    17912 Ne 27th St|
                    Vancouver, WA 98684

                    Blanchard Industrial Supplies
                    P.O. Box 659
                    422 River Street
                    Troy, NY 12181

                    Bleeker, Brodey & Andrews
                    9247 N. Meridian St.
                    Suite 200
                    Indianapolis, IN 46260

                    Bless Precision Tool Inc
                    80 Pacific Dr
                    Quakertown, PA 18951

                    Blimpy Floating Signs
                    905 G. Street
                    Hampton, Vi




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                    Blish & Cavanagh,LLP
                    Commerce Center
                    30 Exchange Terrace
                    Providence, RI 02903-1765

                    Bliss Clearing Niagara Inc.
                    1004 E. State Street
                    Hastings, MI 49058

                    Blixtar Inc.
                    226 Highland Ave.
                    Westmont, NJ 08108

                    Bloom Engineering Co. Inc.
                    5460 Horning Road
                    Pittsburgh, PA 15236

                    Blount Associates
                    1608 Mockingbird Ln
                    Sulphur Springs, TX 75482

                    Blr
                    141 Mill Rock Road East
                    Old Saybrook, CT 06 475

                    Blue Diamond Express, Inc.
                    119 Dittmar Drive
                    So. Toms River, NJ 08757

                    Blue Dolphin Pools
                    Attn: Jean Beaulieu
                    8 Industrial Park
                    Hooksett, NH 03106

                    Blue Ocean Software, Inc,
                    Suite 250
                    15310 Amberly Drive
                    Tampa, FL 33647

                    Bluebird
                    C/O Apex Analytix
                    Attn: Lisa Rodgers
                    1501 Highwoods Blvd Ste 200-A
                    Greensboro, NC 27410-2047




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                    Bluetarp Financial Inc
                    PO Box 105525
                    Atlanta, GA 30348 5525

                    Bmc Software Distribution
                    Inc.
                    2101 Citywest Blvd.
                    Houston, TX 77042

                    Bmc West Corporation
                    Attn: K C Valentine
                    12299 Grant St
                    Thornton, CO 80241

                    Bmw Financial Services Na,
                    Inc
                    P.O. Box 9001065
                    Louisville, KY 40290-1065

                    Bmw Financial Services
                    P.O. Box 78103
                    Phoenix, AZ    85062-8103

                    Bmw Of North America LLC
                    300 Chestnut Ridge Road
                    Woodcliff Lake, NJ 07677-
                    7731

                    Bmw Of The Main Line
                    225 Bala Avenue
                    Bala Cynwyd, PA 19004

                    Bna Communications
                    9439 Key West Avenue
                    Attention: Accounts
                    Receivable
                    Rockville, MD 20850

                    Bob Britton
                    959 Woodcliff Drive
                    Franklin Square, NY     11010

                    Bob Buehler Construction
                    560 S. Black Horse Pike
                    Blackwood, NJ 08012




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                    Bob Madi
                    Harrows
                    2485 Route #22
                    Union, NJ 07083

                    Bob Ramsey
                    3622 Belgrade St.
                    Philadelphia, PA 19134

                    Bob Schueller & Sons
                    2115 Maryland Avenue
                    Bensalem, PA 19020

                    Bob St Amour
                    198 Gifford Rd
                    PO Box 5
                    Wesatport, MA 02790

                    Bob Wark's Sunoco, Inc.
                    300 Montgomery Ave
                    Merion Station, PA 19066

                    Bobby Caudle
                    Jones Patio Door
                    785 Cedar Grove Church Rd
                    Mocksville, NC 27028

                    Bobby Wholesale Distributors
                    9525 River Road
                    Pennsauken, NJ 08110

                    Bob's Towing Recovery, Inc.
                    710 Friend Way
                    Leebanon, IN 46052

                    Boc Gases
                    P.O. Box 360920
                    Pittsburgh, PA 15250-6920

                    Boca International
                    4051 West Flossmoor Road
                    Country Club Hills, IL
                    60478-5795

                    Boca Talent & Model
                    829 Se 9th Street
                    Deerfield Beach, FL     33441



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                    Boerner, Inc.
                    15500 Wayzata Boulevard
                    Suite 812
                    Wayzata, MN 55391

                    Bogen Communications
                    50 Spring St
                    Ramsey, NJ 07446

                    Boggs Tool Company
                    14100 Orange Avenue
                    Paramount, CA 90723

                    Bohler Edelstahl Gmbh & Co Kg
                    Mariazellerstrasse 25
                    P.O. Box 96
                    A-8605 Kapfenberg
                     Austria

                    Boiler Erection & Repair Co.
                    200 S. Main Street
                    P.O. Box 299
                    Ambler, PA 19002-0299

                    Bois Neos Inc.
                    175 Louis Hebert
                    Mascouche
                    Quebec Canada
                    J7k 3ci

                    Boise Cascade Corp
                    3001 Frost Road
                    Bristol, PA 19007

                    Boise Cascade Office Products
                    PO Box 360755
                    Pittsburgh, PA 15250-6755

                    Bon Builders Inc
                    4283 Old Springfield Rd
                    Vandalia, OH 45377 9739

                    Bon-Art International
                    99 Evergreen Avenue
                    Newark, NJ 07114




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                    Bonaventure Video
                    1812 Underwood Blvd.
                    Unit 5
                    Delran, NJ 08075

                    Bond Packaging Inc.
                    7203 Browning Road
                    Pennsauken, NJ 08109

                    Bondabelt
                    Two Ivybrook Blvd
                    Ivyland, PA 18974

                    Bone's Express
                    1001 Berlin Road
                    Cherry Hill, NJ 08034

                    Bonneville Market Info.
                    19 West South Temple
                    Salt Lake City, UT 84101-
                    1503

                    Bonnie I. Cerrito
                    20 Firewood Drive
                    Holland, PA 18966

                    Bonnie Knapp
                    412 S. Jackson Street
                    Woodbury, NJ 08096

                    Bonus Marketing, Inc.
                    1208 Bethlehem Pike
                    Flourtown, PA 19031

                    Bonus Marketing, Inc.
                    1208 Bethlehem Pike
                    Flourtown, PA 19031

                    Bonus Metal Canada, Inc.
                    10171 Pelletier Avenue
                    Montreal
                    Quebec Canada
                    H1h 3r2

                    Bookbinder's
                    125 Walnut Street
                    Philadelphia, PA 19106



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                    Borden Ladner Gervais
                    Lawyers
                    Patent & Trade-Mark Agents
                    Scotia Plaza, 40 King St. W.
                    Toronto
                    Canada
                    M5h5 3y4

                    Borden Packaging
                    PO Box 75030
                    Charlotte, NC 28275

                    Borland Sales Inc
                    3758 Limerock Rd
                    PO Box 9093
                    Columbus, MS 39701

                    Borland Sales
                    100 Borland Way
                    P.O. Box 660001
                    Scotts Valley, CO     95067-0001

                    Boro Recycling
                    2771 Hamilton Blvd.
                    S. Plainfield, NJ 07080

                    Boss Manufacturing Co
                    52194 Eagle Way
                    Chicago, IL 60678 1521

                    Bossen Architectural Millwork
                    P.O. Box 133
                    1818 Bannard Street
                    Cinnaminson, NJ 08077

                    Boston & Associates P.C.
                    136 Garrett Avenue
                    Rosemont, PA 19010

                    Boston Tapes Inc.
                    1320 Tower Rd
                    Clark, NJ 07066

                    Bottom Line/Personal
                    Susbscription Service Center
                    P.O. Box 58423
                    Boulder, CO 80322-8423



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                    Bourn & Koch
                    2500 Kishwaukee Street
                    Rockford, IL 61104

                    Bower Paper & Pkg
                    2210 Weccacoe Ave
                    Philadelphia, PA 19148

                    Bowman Displays
                    648 Progress Ave.
                    Munster, IN 46321

                    Bowman Distribution
                    Dept Ch 14079

                     Palatine, IL    60055-4079

                    Box King Products
                    40 S. 2 Nd Street
                    Phoenixville, PA 19460

                    Boyd Bros. Transportation
                    Inc.
                    2554 Paysphere Circle
                    Chicago, IL 60674

                    Boyd Peck
                    30911 Georgetown Road
                    Salem, OH 44460

                    Boyko Tool Dba O.S. Johnson
                    450 N. King Street
                    P.O. Box 587
                    Gloucester City, NJ 08030-
                    0587

                    Boyle & Chase
                    72 Sharp Street
                    Hingham, MA 2043

                    Boyle Bros., Inc.
                    130 Sharp Road
                    Marlton, NJ 08053

                    Boyle Tool & Die Co. Inc.
                    135 Crown Point Road
                    Thorofare, NJ 08086



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                    Boys & Girls Club Of Windsor
                    PO Box 526
                    Windsor, CA 95492

                    Boys & Girls Clubs Of America
                    Southwest Region
                    2107 N. Collins Blvd.
                    Richardson, TX 75080

                    Brad Sinoff Sales
                    3 East 4th St
                    Bridgeport, PA 18405

                    Bradco- Bethleham
                    2225 Avenue A
                    Bethlehem, PA 18017

                    Brad-David Distributors, Inc.
                    C/O Midlantic National Bank
                    P.O. Box 5550
                    Clark, NJ 07066

                    Bradenton Window & Allied
                    Products, Inc.
                    1217 29th Ave. W.
                    Bradenton, FL 34205

                    Bradford A. Dungan
                    15 Levis Avenue
                    Media, PA 19063

                    Bradley Douglas Dellow
                    1407 W. Birge
                    Sherman, TX 75092

                    Bradley Lifting Corp.
                    1030 Elm Street
                    York, PA 17403

                    Bradley
                    4 Peyton Court
                    Marlton, NJ 08053

                    Brady Usa
                    6835 Winnetka Circle
                    Brooklyn Park, MN 55428




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                    Brady Worldwide, Inc.
                    PO Box 71995
                    Chicago, IL 60694-1995

                    Bragley Mfg. Co.
                    924 Bergen St
                    Brooklyn, NY 11238

                    Brake Pipe Fittings Co.
                    271 Lancaster Ave.
                    Frazer, PA 19355

                    Branch Radiographic Labs.
                    Inc.
                    32 South Avenue West
                    Cranford, NJ 07016

                    Brandenburg Industrial Serv
                    1905 East 4th Street
                    Bethlehem, PA 18015

                    Brandon Industries
                    216 E. Mc Leroy Blvd
                    Saginaw, TX 76179

                    Brandweek
                    Subscription Service Center
                    PO Box 16749
                    North Hollywood, CA 91615
                    9465

                    Brandywine Machine
                    P.O. Box 202
                    Downingtown, PA 19335

                    Brandywine Research
                    Laboratory, Inc.
                    60 Blue Hen Drive
                    Newark, DE 19713

                    Brassworks Ltd
                    379 Charles St
                    Providence, RI 02904 2231




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                    Brennan International
                    Transport, Inc.
                    One Woodbridge Center
                    5th Floor
                    Woodbridge, NJ 07095

                    Brenner Recycling
                    282 S Wyoming St
                    Hazleton, PA 18201

                    Brenner Tool & Die
                    921 Cedar Avenue
                    Croyden, PA 19021

                    Brenntag Northeast Inc.
                    P.O. Box13788
                    Pottsville Pike, Huller Lane
                    Reading, PA 19605

                    Bressler Group
                    The Marketplace Design Ctr
                    2400 Market St. Suite 1
                    Philadelphia, PA 19103

                    Brevini Usa
                    400 Corporate Woods Parkway
                    Vernon Hills, IL 60061

                    Brian Fuller
                    C/O Sales Unlimited LLC
                    15911 Township Glen Ln
                    Cypress, TX 77433

                    Brian J. Walker,Esq. And Erie
                    Ins.
                    142 West Market St.
                    Suite 2
                    West Chester, PA 19382

                    Brian Mcvetty
                    Harrows
                    1953 Middle Country Road
                    Centereach, NY 11720




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                    Bridgestate Foundry Corp.
                    20 East Clementon Road
                    Suite 201 North
                    Gibbsboro, NJ 08026

                    Briggs - Valcon
                    20 Hagerty Blvd.
                    Suite 5
                    West Chester, PA     19382

                    Briggs Co.
                    3 Bellecor Drive
                    New Castle, DE 19403

                    Briggs Hydraulic
                    2572 Industry Lane
                    Norristown, PA 19403

                    Bright Sign Co Inc.
                    1215 Race Street
                    Philadelphia, PA 19107-1692

                    B-Right Trucking Company
                    P.O. Box 901842
                    Cleveland, OH 44190-1842

                    Bristol Aluminum Co.
                    5514 Emilie Road
                    Levittown, PA 19057

                    Bristol Environmental Inc.
                    1123 Beaver Street
                    Bristol, PA 19007

                    Bristol Inc.
                    1100 Buckingham Street
                    Watertown, CT 06795

                    Bristol Metals
                    P.O. Box 596
                    Bristol, RI 02809

                    Briteline Extrusions Inc
                    PO Box 75086
                    Charlotte, NC 282755086




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                    Brith Sholom Foundation
                    3939 Conshohocken Avenue
                    Suite 109
                    Philadelphia, PA 19131

                    British Metrics
                    P.O. Box 399
                    Westminster, MD     21158

                    Brittany Collins
                    20 Utah Trail
                    Medford, NJ 08055

                    Broad Street Community
                    Newspapers
                    2512 Metropolitan Dr
                    Trevose, PA 19053

                    Broad Street Hardware
                    1285 D Broad St
                    Trenton, NJ 08610

                    Broadbent's Inc.
                    39-45 Industrial Hwy.
                    Essington, PA 19029

                    Broadway Alloys, Ltd.
                    P.O. Box 6911
                    539 Broadway
                    Elizabeth, NJ 07206

                    Broadway Glass & Mirror Co.
                    7613 Maple Ave.
                    Pennsauken, NJ 08109

                    Broadway Hardware & Gifts
                    PO Box 1450
                    Mcallen, TX 78505

                    Brodeur Window Dist
                    PO Box 196
                    Lincoln, RI 02865 0196

                    Broken Arrow Transport
                    Company
                    2930 Bellemans Church Road
                    Mohrsville, PA 19541



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                    Broken Sound Productions
                    6001 Broken Sound Pkwy, Nw
                    Suite 630
                    Boca Raton, FL 33487

                    Brokerage Concepts Inc
                    1021 W 8th Ave
                    King Of Prussia, PA 19406
                    1553

                    Brokerage Concepts Inc.
                    P.O. Box 61553
                    King Of Prussia, PA 19406

                    Brokerage Concepts, Inc.
                    651 Allendale Road
                    King Of Prussia, PA 19406

                    Brookmeade Hardware
                    1810 A Air Lane Dr
                    Nashville, TN 37210 3812

                    Brooks Personnel Inc.
                    200 W. Somerdale Road
                    Suite G
                    Voorhees, NJ 08043

                    Brookshore Metal
                    25 Brook Avenue
                    Deer Park, NY 11729

                    Brookville Glove Mfg. Co.
                    Inc.
                    5-15 Western Avenue
                    P.O. Box 188
                    Brookville, PA 15825-0188

                    Brother's Pizza
                    Us Highway 130 N South
                    Riverton, NJ 08077

                    Broudy Precision Equip. Co.
                    2439 West York Street
                    Philadelphia, PA 19132




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                    Broudy Precision Equip. Co.
                    P.O. Box 215
                    I-295 Bus.Ctr Bldg. D-1
                    Westville, NJ 08093

                    Brown & Connery
                    360 Haddon Avenue
                    PO Box 539
                    Westmont, NJ 08108

                    Brown & Guarino
                    313 South Black Horse Pike
                    Blackwood, NJ 08012

                    Brown & Ross International
                    234 Park Street
                    Hackensack, NJ 07601

                    Brown Bearing
                    7 Deer Park Drive
                    Monmouth Junction, NJ      08852

                    Brown Cor
                    400 South 5th Street
                    P.O. Box 04499
                    Milwaukee, WI 53204

                    Brown Fleet Services
                    4 Memorial Ave
                    Palmyra, NJ 08065

                    Brown Raysman Millstein
                    Felder & Steiner LLP
                    900 Third Avenue
                    New York, NY 10022

                    Brown, Russell & Chris
                    5434 16th Street East
                    Bradenton, FL 34203

                    Browncor International
                    400 South 5th Street
                    PO Box 04499
                    Milwaukee, WI 53204




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                    Brownell Electric
                    Avent Industrial
                    PO Box 198428
                    Atlanta, GA 30384-8428

                    Bruce Industrial Co.
                    P.O. Box 10485
                    Wilmington, DE 19850

                    Bruce Lachowicz Auto Tag
                    1664 Street Road
                    Bensalem, PA 19020

                    Bruer C Kershner
                    Keschner Office Furniture
                    555 Croton Rd, Ste 201
                    King Of Prussia, PA 19406

                    Bruer Kershner
                    C/O Yeo
                    Philadelphia, PA

                    Brulin Corporation
                    P.O. Box 66235
                    Indianapolis, IN 46266-0335

                    Brumark Co.
                    2020 Airport
                    Industrial Park Drive
                    Suite B
                    Marietta, GA 30062

                    Brunelle Aluminum Products
                    23 Myrtle St
                    Somersworth, NH 03878

                    Brunozzi Logistics &
                    Brokerage
                    201 Derosa Drive
                    Vineland, NJ 08360

                    Brunozzi Transfer
                    201 De Rosa Drive
                    Vineland, NJ 08360




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                    Bruzzone Shipping Inc.
                    530 Burnside Avenue
                    Inwood, NY 11096

                    Bryan Transfer & Storage Co
                    PO Box 5007
                    Macon, GA 31208

                    Bryant Trailer Corp
                    4102 Church Rd
                    Mt Laurel, NJ 08054

                    Bryson Design Incorporated
                    71 Valley Street
                    S. Orange, NJ 07079

                    Bsi Commodities Inc.
                    Twin Towers - Suite 110
                    4955 Steubenville Pike
                    Pittsburgh, PA 15205

                    Bsi Controls
                    Kay-Ray/Sensall C/O Buck
                    Sales
                    141 Union Ave.
                    Middlesex, NJ 08846

                    Bsi Door Hardware
                    PO Box 751579
                    Charlotte, NC 28275

                    B-Tec Solutions Inc.
                    913 Cedar Aveenue
                    Croydon, PA 19021

                    Buckboard Carriers, Inc.
                    P.O. Box 648
                    Perry, OH 44081

                    Buckeye Fastners
                    5250 West 164th Street
                    Cleveland, OH 44142

                    Bucks County Domestic Rel Sec
                    30 East Court Street
                    Doylestown, PA 18901




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                    Bucks County Emergency Phys
                    PO Box 7798
                    Philadelphia, PA 19101-7798

                    Bucks County FOP
                    Lodge No 53
                    Box 493
                    Levittown, PA 19058

                    Bucks County Ind. Dev. Corp.
                    2 E. Court Street
                    Doylestown, PA 18901

                    Bucks County Sheriff Dept.
                    Broad & Court Sts
                    Doylestown, PA 18901

                    Bucks County Tma
                    Two Greenwood Square
                    3331 Street Rd.
                    Bensalem, PA 19020

                    Bucks County Transport Inc
                    PO Box 510
                    Holicong, PA 18928

                    Bucks County Water & Sewer
                    Authority
                    PO Box 8457
                    Philadelphia, PA 19101-8457

                    Bud Hanson Company
                    1013 Kings Avenue
                    Bensalem, PA 19020

                    Budget Molders Supply, Inc.
                    8303 Corporate Park Dr.
                    Macedonia, OH 44056

                    Budget Rent A Car
                    P.O. Box 95322
                    Chicago, IL 60694-5322

                    Bud's Pools
                    950 Cooper St & Route 47
                    PO Box 5570
                    Deptford, NJ 08096



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                    Buehler Ltd.
                    P.O. Box 73828
                    Chicago, IL 60673-7828

                    Buerge Insulation & Window
                    Company
                    700 S. Elm Street
                    PO Box 96
                    Ithaca, MI 48847

                    Buffer Enterprises
                    131 Fleet Street
                    Marina Del Rey, CA     90292

                    Builder's Discount Center
                    1301 Collier Street
                    Goldsboro, NC 27530

                    Builders Firstsource
                    Atlantic Group LLC
                    7490 New Technology Way
                    Frederick, MD 21703 8370

                    Builders Firstsource
                    Attn: Larry Wozniak
                    4450 Arco Ln
                    N Charleston, SC 29418

                    Builders Firstsource
                    Attn: Star Pollard
                    North Trim
                    5930 Orlando St
                    Jacksonville, FL 32208

                    Builders League Of
                    South Jersey
                    114 Haddontowne Court
                    Cherry Hill, NJ 08034-3699

                    Builders Political Action
                    Com.
                    5544 Cedar Avenue
                    Pennsauken, NJ 08109

                    Builders Transport, Inc.
                    P.O. Box 60240
                    Charlotte, NC 28260-0240



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                    Building & Remodeling News
                    PO Box 367
                    Bellmawr, NJ 08031

                    Building Fund Of Our Lady
                    Queen Of Peace Church
                    Box 188
                    Hainesport, NJ 08036

                    Bulbtronics
                    P.O. Box 306
                    Farmingdale, NY     11735

                    Bulk Chemicals, Inc
                    P.O. Box 13700-1085
                    Philadelphia, PA 19191-1085

                    Bulk Pak Usa Corp.
                    55 Haul Rd.
                    Wayne, NJ 07470

                    Bull's Trucking
                    37 Honey Comb Road
                    Baltimore, MD 21220

                    Bullseye Environmental Corp.
                    PO Box 1626 Bldg 101a
                    7900 N Radcliff St
                    Tullytown, PA 19007

                    Bunting Magnetics Co.
                    500 S. Spencer Avenue
                    PO Box 468
                    Newton, KS 67114

                    Bunting Magnetics Co.
                    PO Box 877814
                    Kansas City, MO 64187-7814

                    Bureau Of Accounts
                    PO Box 18
                    Philadelphia, PA 19105

                    Bureau Of Business Practice
                    Simon & Schuster
                    P.O. Box 70845
                    Chicago, IL 60673-0845



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                    Burhans Glass Co. Inc.
                    P.O. Box 60111
                    110 East Beidler Road
                    King Of Prussia, PA 19406-
                    0111

                    Burlingham International
                    1041 West 18th Street
                    Unit A-109
                    Costa Mesa, CA 92627-4553

                    Burlington Co. Probation
                    Dept.
                    49 Rancocas Road
                    Mt. Holly, NJ 08060

                    Burlington Co. Probation
                    49 Rancocaas Road
                    Mount Holly, NJ 08060

                    Burlington County College
                    Customized Training Services
                    County Road 530
                    Pemberton, NJ 08068

                    Burlington County Overhead
                    Door Co Inc
                    444 Logan St
                    PO Box 127
                    Burlington, NJ 08016

                    Burlington County Times
                    4284 Route 130
                    Willingboro, NJ 080462080

                    Burlington Electrical Testing
                    825 Sycamore Avenue
                    Croydon, PA 19021

                    Burlington Motor Carriers
                    First Union
                    14611 West Commerce Road
                    Daleville, IN 47334




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                    Burlington Motor Carriers
                    First Union
                    P.O. Box 60167
                    Charlotte, NC 28260

                    Burner Dynamics Inc.
                    5865 Old Leeds Rd.
                    Suite F
                    Birmingham, AL 35210

                    Burr Abrador
                    1025 South Summit
                    Barrington, IL 60010

                    Burrelle's Information Svc
                    75 E. Northfield Rd
                    Livingston, NJ 07039

                    Burton Industrial Supply
                    And Tool Processing Co. Inc
                    865 Honey Lane
                    Crete, IL 60417

                    Burton Photo Industries Inc.
                    3332 Rorer Street
                    Philadelphia, PA 19134

                    Burton's Radiator, Inc.
                    401 White Horse Pike
                    Somerdale, NJ 08083

                    Bushwick-Koons
                    P.O. Box 476
                    36 Anserson Road
                    Parker Ford, PA 19457-0476

                    Business & Institutional
                    Furn.
                    611 N Broadway
                    Milwaukee, WI 53202-0902

                    Business & Legal Reports
                    141 Mill Rock Road East
                    Old Saybrook, CT 06475




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                    Business & Legal Reports,
                    Inc.
                    141 Mill Rock Road East
                    P.O. Box 6001
                    Old Saybrook, CT 06475-9861

                    Business & Trade Publication
                    Circulation Department Tm
                    16913 E. Enterprise Dr.
                    Fountain Hills, AZ 85269-
                    7480

                    Business 21 Publishing
                    477 Baltimore Pike
                    Springfield, PA 19064

                    Business Communications Inc.
                    A/R Dept
                    Five Penn Plaza
                    New York, NY 10001

                    Business Communicatons Inc.
                    G.P.O. 9352
                    New York, NY 10087-9352

                    Business Credit Usa.Com
                    An Info Usa Company
                    PO Box 3603
                    Omaha, NE 68103-0603

                    Business Insurance
                    Subscription Dept.
                    P.O. Box 07917
                    Detroit, MI 48207-9907

                    Business Interiors
                    918 N. Delaware Ave
                    Philadelphia, PA

                    Business Machine
                    Professionals
                    341 W Lincoln Highway
                    Pendel, PA 19047




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                    Business Radio Licensing
                    26941 Cabot Rd.
                    #134
                    Laguna Hills, CA 92653

                    Business Reference Services
                    P.O. Box 75918
                    Chicago, IL 60675-5918

                    Business Solutions
                    100 A Walnut Street
                    Suite 177
                    Champlain, NY 12919

                    Businessweek
                    PO Box 8426
                    Red Oak, IA 51591 1426

                    Busy Beaver Building Center
                    3130 Wm Pitt Way
                    Pittsburgh, PA 15238

                    Buten
                    10406 Tucker Street
                    Beltsville, MD 20705-2297

                    Buy - Rite Lumber
                    4104 Marlton Pike
                    Pennsauken, NJ 08109

                    Buy-Rite Equipment Co., Inc.
                    3971 Independence Dr
                    Schnecksville, PA 18078-0510

                    Buy-Rite Lumber
                    4104 Marlton Pike
                    Pennsauken, NJ 08109

                    Bwf America, Inc.
                    7453 Empire Drive #340
                    Florence, KY 41042

                    Byers Electrical Construction
                    P.O. Box 335
                    Cenco Boulevard
                    Clayton, NJ 08312




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                    Byk - Gardner, Inc.
                    Rivers Park Ii
                    9104 Guilford Road
                    Columbia, MD 21046

                    Byk Gardner Usa
                    PO Box 33045
                    Hartford, CT 06150-3045

                    Byn Financial Corp.
                    PO Box 730471
                    Dallas, TX 75373-0471

                    Byrne Rentals & Sales, Inc.
                    8448 Highway 90e
                    Morgan City, LA 70381

                    Byrne, Kimball & Sons
                    145 North Franlin Trp
                    Suite 118
                    Ramsey, NJ 7446

                    C & C Industries
                    P.O. Box 180
                    1808 Bannard Ave.
                    Riverton, NJ 08077

                    C & C Landscaping
                    602 Shady Lane
                    Collingswood, NJ 08108

                    C & C Leak Detection
                    6014 Kubel Drive
                    New Orleans, LA 70126

                    C & G Remodeling
                    1757 Frey Ford Road
                    Springfield, TN 37172

                    C & H Cabinets
                    1729 Fleet St
                    Baltimore, MD 21231 2918

                    C & H Distributors Inc
                    770 South 70th Street
                    PO Box 14770
                    Milwaukee, WI 53214



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                    C & H Distributors, Inc.
                    22133 Network Place
                    Chicago, IL 60673-1133

                    C & H Mechanical Inc.
                    P.O. Box 644
                    Clayton, NJ 08312

                    C & J Associates
                    P.O. Box 628
                    New Castle, DE 19720

                    C & P Printing Co.
                    PO Box 29331
                    Philadelphia, PA 19125

                    C & R Specialties, Inc.
                    1391 Dodson Way
                    Roverside, CA 92507

                    C & S Battery Company, Inc.
                    32 East 9th Street
                    Chester, PA 19013

                    C B A
                    PO Box 8129
                    Cherry Hill, NJ 08002

                    C B L Trucking, Inc.
                    124 Gaither Drive Suite 200
                    P.O. Box 5099
                    Mt. Laurel, NJ 08054-5099

                    C C O Whirlpool Service
                    6075 E. Henrietta Rd.
                    P.O. Box 8
                    Rush, NY 14543

                    C D M Technologies
                    40 Galesi Dr
                    Wayne, NJ 07470

                    C D T Business System
                    P.O. Box 66
                    500 North Black Horse Pike
                    Mt. Ephraim, NJ 08059-0066




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                    C E C Products Co., Inc.
                    24650 Sherwood
                    Center Line, MI 48015-1063

                    C H Briggs Hardware Co Inc
                    PO Box 15188
                    Reading, PA 196125188

                    C J Lucci Construction
                    1879-17 Old Cuthbert Rd
                    Cherry Hill, NJ 08034

                    C R P Sales Inc
                    5481 Split Rail Dr
                    Brighton, MI 48114

                    C S T Company Incorporated
                    C S T Building
                    1400 Dragon St
                    Dallas, TX 75207

                    C S T Company Incorporated
                    C S T Building
                    PO Box 33127
                    Louisville, KY 40232

                    C T J Enterprises
                    Dba Timco Industrial Sales
                    2839 Graybill Rd
                    Uniontown, OH 44685-8111

                    C W Auto Glass
                    6305 Godfrey Rd, #186
                    Godfrey, IL 62035

                    C Y Tanger & Son Inc
                    806 Rohrerstown Rd
                    PO Box 6189
                    Lancaster, PA 176076189

                    C. A. Briggs Company
                    632 Davisville Rd.
                    Willow Grove, PA 19090

                    C. J. Mitchell
                    1907 Osbourne Ave.
                    Willow Grove, PA 19090



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                    C. Palmer Die Casting, Inc.
                    97 Commerce Drive
                    Oakland, MD 21550

                    C. R. Daniels Inc.
                    3451 Ellicott Center Dr.
                    Ellicott City, MD 21043

                    C. R. Laurence Company
                    2503 E Vernon Avenue
                    Los Angeles, CA 90058-1897

                    C.A. Preston
                    P.O. Box 85
                    109 East Main Street
                    Maple Shade, NJ 08052

                    C.H. Morse Stamp Co.
                    528 South Ave.
                    Rochester, NY 14620

                    C.H. Reed Inc.
                    301 Poplar Street
                    Hanover, PA 17331

                    C.H.Briggs Hardware Co.
                    PO Box 15188
                    Reading, PA 19612-5188

                    C.R. Warner Inc.
                    61st & W. Passyunk Avenue
                    Philadelphia, PA 19153

                    C.S. Hyde Company
                    1351 North Milwaukee Ave.
                    Lake Villa, IL 60046

                    C.S. Report Inc.
                    P.O. Box 696
                    Uwchland, PA 19480

                    C.S.C. Processing
                    Po Box 26107
                    Wilmington, DE 19899




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                    C.Steinweg(Baltimore) Inc.
                    F.T.Z. # 74
                    1657 B South Highland Avenue
                    Baltimore, MD 21224

                    C.V.I. Analytical Labs
                    P.O. Box 796
                    Easton, PA 18044-0796

                    C.W. Petterson
                    R.R. 1 Box 70
                    Clinton, ME 04927

                    C-3 International LLC
                    1370e Union Hill
                    Industrial Ct.
                    Alpharetta, GA 30004

                    Cable Advantage Of Cullman
                    2969u Pelham Pkwy
                    Pelham, AL 35124

                    Cad Concepts Inc.
                    1571 Sumneytown Pike
                    P.O. Box 311
                    Kulpsville, PA 19443

                    Cadillac Ace Hardware
                    2479 W Davison
                    Detroit, MI 48238 3545

                    Cadillac Marking
                    13920 East Nine Mile Road
                    Warren, MI 48089

                    Cadillac Plastic & Chemical
                    7025 Colonial Highway
                    Pennsauken, NJ 08109

                    Cadkey
                    175 Fairfield Ave
                    Unit 4a
                    West Caldwell, NJ     07006

                    Cadmus Communications
                    PO Box 751896
                    Charlotte, NC 28275-1896



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                    Cadmus Specialty Publications
                    Accounting Dept, Easton
                    Division
                    PO Box 751898
                    Charlotte, NC 28275 1898

                    Cadpro Inc.
                    #18 50 Union Ave.
                    Berlin, NJ 08009

                    Caffe Aldo Lamberti
                    2011 Rt 70 West
                    Cherry Hill, NJ 08002

                    Cahn Associates (Al)
                    14604 Anchoret Road
                    Tampa, FL 33624

                    Caig Labratories
                    16744 W. Bernado Drive
                    Rancho Bernardo, CA 92127

                    Caine & Weiner
                    PO Box 8500
                    Van Nuys, CA 91409-8500

                    Cajun Bag & Supply
                    Formerly Cajun Bag
                    P.O. Box 6325
                    Brattleboro, VT 05302-6325

                    Calbar Inc.
                    2626 N. Martha St.
                    Phila., PA 19125

                    Calcomp Inc.
                    2411 W. La Palma
                    Anaheim, CA 92803

                    Calcomp Inc.
                    P.O. Box 3250
                    Anaheim, CA 92803-3250

                    Caldwell Co. Inc.
                    C/O John G. Bryant Co.
                    590 N. Milford Rd.
                    Downingtown, PA 19335



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                    Caldwell Mfg. Co.
                    Department 400
                    PO Box 8000
                    Buffalo, NY 14267

                    Calex Corporation
                    2415 Wilson Avenue
                    Campbell, OH 44405

                    Calgon Corporation
                    P.O. Box 640509
                    Pittsburg, PA 15264-0509

                    Calgon Vestal
                    P.O. Box 640045
                    Pittsburgh, PA 15264-0045

                    Californian's For
                    Alternatives To Toxics
                    424 First St
                    Eureka, CA 95501

                    Caliper
                    PO Box 2050
                    Princeton, NJ 08543 2050

                    Caljune Inc.
                    P.O. Box 9551
                    N. Hollywood, CA     91609-1551

                    Calley Lumber Co.
                    7900 State Road
                    Philadelphia, PA 19155

                    Calnumerics, Inc.
                    60 G South Second Street
                    Deer Park, NY 11729

                    Cal-Royal Products Inc
                    6605 Flotilla St
                    Commerce, CA 90040

                    Cambridge Iron & Metal Co.
                    901 S. Kresson Street
                    Baltimore, MD 21224




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                    Cambridge
                    1177 Franklin Blvd.
                    Cambridge
                    Ontario Canada
                    N1r 7w4

                    Camden Bag & Paper Co.
                    114 Gaither Drive
                    East Gate Industrial Drive
                    Mt. Laurel, NJ 08054

                    Camden Co. Board Of Soc. Svc
                    600 Market Street
                    Camden, NJ 08101

                    Camden Co. Municipal
                    Utilities
                    P.O. Box 1105
                    Bellmawr, NJ 08099-5105

                    Camden Co. Probation Dept.
                    P.O. Box 1928
                    Camden, NJ 08101

                    Camden County College
                    Dept Of Continuing Educations
                    PO Box 200
                    Blackwook, NJ 08012

                    Camden County Fc/Bf Golf
                    5301 Lexington Avenue
                    Bloomfield Fire Co.
                    Attn: Jim Hutton
                    Pennsauken, NJ 08109

                    Camden County Improvement
                    Authority
                    224 Barclay Pavilion
                    Route 70 East
                    Cherry Hill, NJ 08034

                    Camden County Municipal
                    Utilities Authority
                    1645 Ferry Ave.
                    Camden, NJ 08104




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                    Camden County Municipal
                    Utilities Authority
                    200 Jackson Street
                    Regulatory Comp. Div./Ipp
                    Camden, NJ 08104

                    Camden County Municipal
                    Utilities Authority
                    PO Box 1105
                    Bellmawr, NJ 080995105

                    Camden County Probation Dept
                    PO Box 1928
                    Camden, NJ 08101

                    Camden County Special
                    Civil Part
                    Hall Of Justice-Co-110
                    101 S. 5th Street
                    Camden, NJ 08103

                    Camden County Technical
                    School
                    Att: John Moore
                    Coordinator Of Adult
                    Education
                    343 Berlin Cross Keys Road
                    Sicklerville, NJ 08081-4000

                    Camden County Treasurer
                    Courthouse, 8th Floor
                    520 Market Street
                    Camden, NJ 08102-1375

                    Camden County Visiting Nurse
                    2201 Rt. 38
                    Suite 500
                    Cherry Hill, NJ 08002

                    Camden Cty.Board Of Soc.
                    Serv.
                    Overpayment Unit
                    Attention: Mary Jane Mc Quaid
                    600 Market Street
                    Camden, NJ 08102




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                    Camden Glass
                    111 Marlton Avenue
                    Camden, NJ 08105

                    Camden Iron & Metal
                    P.O. Box 48080
                    Newark, NJ 07101

                    Camden Iron And Metal Inc.
                    1500-1522 South Sixth Street
                    Camden, NJ 08104

                    Camden Pallet
                    P.O. Box 1041
                    Camden, NJ 08010

                    Camden Recycling, Inc.
                    2820 Mt. Ephraim Avenue
                    Camden, NJ 08104

                    Camden Riversharks
                    One Port Center
                    2 Riversdie Drive
                    Suite 504
                    Camden, NJ 08103

                    Camden Tool Inc.
                    P.O. Box 653
                    Camden, NJ 08101-0653

                    Cam-Fab, Inc.
                    37th & River Road
                    Pennsauken, NJ 08110

                    Campbell Foundry Company
                    800 Bergen Street
                    Harrison, NJ 07029

                    Campbells Express
                    134 Laurel Dr
                    PO Box 119
                    Pitman, NJ 08071 0119

                    Campbell's Express
                    P.O. Box 119
                    Pitman, NJ 08071-0119




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                    Campise Shorthand Reporters
                    273 West Main Street
                    Moorestown, NJ 08057

                    Campus Apartments
                    4043 Walnut St
                    Philadelphia, PA 191043513

                    Can - Eng Furnaces Ltd.
                    P.O. Box 235
                    Niagara Falls, NY 14302-0235

                    Can Am Packaging Systems
                    5700 Chemin St. Francois
                    St.Laurent, Quebec Canada
                    H4s-1b4

                    Canam Steel Corporation
                    P.O. Box 224
                    Frederick, MD 21705-0224

                    Candice Smith
                    Wilson & Mitchell Hardware
                    3509 E Main St
                    Murfreesboro, TN 37127

                    Can-Do Machinery Sales
                    23155 Schumann Rd
                    Chatsworth, CA 91311

                    Canfield Technologies, Inc
                    1 Crossman Road
                    Sayreville, NJ 08872

                    Cangro Industries
                    295 Crooks Ave
                    Clifton, NJ 07011-1615

                    Canning Gumm Inc.
                    P.O. Box 1297
                    Passaic, NJ 07055

                    Cannon Trucking Co. Inc.
                    PO Box 68
                    Fairless Hills, PA 19030




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                    Canon Business Solutions
                    300 Commerce Square Blvd
                    Burlington, NJ 08016

                    Cantar/Polyair Corp
                    1275 Crescent St
                    Youngstown, OH 44502

                    Canton Lub//Amcol Corp.
                    13105 Prospect
                    Dearborn, MI 48126

                    Caparele Pool & Supplies Inc
                    12301 Seminole Blvd
                    Largo, FL 33778

                    Capital Media Group
                    2421 West Pratt Blvd #300
                    Chicago, IL 60645

                    Capital One Auto Finance
                    PO Box 93016
                    Long Beach, CA 90809-3016

                    Capital Painting Inc.
                    101 Church Road
                    P.O. Box 521
                    Medford, NJ 08055

                    Capital Supply Const.
                    Products
                    Route 6
                    P.O. Box 216
                    Baldwin Place, NY 10505

                    Capitale Metal Recycle
                    220,Rue De Rotterdam
                    St-Augustin-De-Desmaures
                    Quebec Canada
                    G3a 1t4

                    Capp Inc
                    201 Marple Ave
                    P.O. Box 127
                    Clifton Heights, PA     19018-
                    0127




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                    Capp Inc.
                    100 Springdale Rd.
                    A3, Suite 241
                    Cherry Hill, NJ 08003

                    Carbis Inc.
                    P.O. Box 6229
                    Florence, SC 29502-6229

                    Cardinal Originals
                    P.O. Box 6213
                    Carol Stream, IL 60197-6213

                    Cardinal Systems
                    250 Route 61 South
                    Schuykell Haven, PA     17972

                    Cardinal Transport, Inc.
                    P.O. Box 98
                    Morton Grove, IL 60053

                    Career Track Seminars
                    3085 Center Green Drive
                    Boulder, CO 80301-5408

                    Careerbuilder.Com
                    8420 West Bryn Mawr Ave.
                    Suite 1000
                    Chicago, IL 60631

                    Careers Usa
                    C/O Bank Atlantic
                    PO Box 5512
                    Ft Lauderdale, FL 33313

                    Careers Usa, Inc.
                    P.O. Box 82-653
                    Phila., PA 19182

                    Carell Corporation
                    34225 Hwy 31
                    PO Box 850
                    Stapleton, AL 36578

                    Carey Decker
                    PO Box 377
                    Caneyville, KY 42721



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                    Cargo Expediters Ltd
                    300 St Sacrement
                    Suite 403
                    Quebec, Canada H2Y 1X4
                    Montreal

                    Cargo Express, Inc
                    1790 Yardley-Landhorne Rd
                    Heston Hall, Suite 202
                    Yardley, PA 19067

                    Cargotainer
                    Arian Fabricators Inc
                    P.O. Box 518
                    545 Industrial Drive
                    Arian, MI 49221

                    Carl Czepiel
                    3227 Belgreen Road
                    Philadelphia, PA 19154

                    Carl Shalayko
                    Viscount Pools
                    4130 Dixie Highway
                    Waterford, MI
                    48329

                    Carl Whitney Bucks
                    152 Whiteland Road
                    Downingtown, PA 19335

                    Carleton-Stuart Corp.
                    1302 44 Th Ave.
                    Lg. Island City, NY 11101

                    Carlisle Syntec Systems
                    P.O. Box 75242
                    Charlotte, NC 28275

                    Carlmax Products Inc
                    12f, No. 294, Sec 1
                    Tun Hwa South Road
                    Taipei




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                    Carnival Pools
                    18022 Cowan Drive
                    Suite 203b
                    Irvine, CA 92714

                    Carole Fabrics Inc
                    633 NW Frontage Rd
                    Augusta, GA 30907 2406

                    Carolina Fence Association
                    Attn: Louise Oxner
                    1103 Pasture Lane
                    Columbia, SC 29201

                    Carolina Freight Carriers
                    PO Box 905121
                    Charlotte, NC 28290

                    Carolina Freight Corp.
                    P.O. Box 13581
                    Newark, NJ 07188-0581

                    Carolina Logos
                    180 Riverbirch Drive Se
                    Concord, NC 28025

                    Carolinas Fence Association
                    813 Silver Street
                    Columbia, SC 29201

                    Caroline J Markert
                    6851 Roswell Rd
                    Condo K-11
                    Atlanta, GA 30328

                    Carpenter Specialities Alloy
                    1075 Virginia Drive
                    Suite 200
                    Fort Washington, PA 19034-
                    3101

                    Carpet Concepts
                    Amherst Shopping Center
                    Rt. 38
                    Mt. Holly, NJ 08060




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                    Carpet Rentals, Inc.
                    PO Box 5386
                    Statesville, NC 28687-5386

                    Carr & Duff, Inc.
                    2100 Byberry Rd.
                    Huntingdon Valley, PA      19006-
                    3598

                    Carr Lane Manufacturing Co.
                    4200 Carr Lane Ct.
                    P.O. Box 191970
                    St. Louis, MO 63119

                    Carrier Express
                    1170 Eight Ave
                    Martin Tower
                    Bethlehem, PA 18016

                    Carrollton Lumber & Wrecking
                    2940 Leonidas St
                    New Orleans, LA 70118

                    Carson
                    635 Longwood Ave.
                    Cherry Hill, NJ 08002-2918

                    Cart-All Express
                    43 Perdue Court,
                    Caledon, Ont., Canada      L7C0G6

                    Carter Fire & Safety
                    82 E. Browning Rd
                    PO Box 1023
                    Bellmawr, NJ 08099

                    Carter Fire Safety
                    82 E. Browning Rd.
                    P.O. Box 1023
                    Bellmawr, NJ 08099

                    Case Consulting Laboratories
                    622 Route Ten
                    Whippany, NJ 07981




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                    Casie/Protank
                    P.O. Box 92
                    Franklinville, NJ     08322

                    Cassidy's Express, Inc.
                    PO Box 430
                    Levvitown, PA 19058

                    Cast Rite Metals Company
                    P.O.Box 367
                    Birdsboro, PA 19508

                    Cast-All Corp
                    221-235 Liberty Ave
                    Box 271, MI neola, NY
                    11501-0271

                    Caster City
                    77 Bassett Hwy
                    Dover, NJ 07801

                    Castool Tooling Systems
                    2 Parratt Road
                    Uxbridge
                    Ontario, Canada L9p 1r1


                    Castrol Industrial Americas
                    P.O. Box 824
                    White Cloud, MI 49349-0824

                    Catalink Direct!
                    111 Sinclair Street
                    Bristol, PA 19007

                    Catalink Direct/Computerware
                    P.O. Box 4820
                    Boston, MA 02212-4820

                    Catering By The Woodbine
                    1444 Route 73 North
                    Pennsauken, NJ 08110

                    Catherine A Nuccio
                    161 Duffield St
                    Willow Grove, PA 19090




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                    Cathy Michalowski
                    9941 S. Canterbury Rd
                    Philadelphia, PA 19114

                    Cathy's Catering
                    1811 Cinnaminson Avenue
                    Cinnaminson, NJ 08077

                    Catuogno Court Reporting &
                    Sten-Tel Transcription
                    1 Monarch Place-Suite 1810
                    Springfield, MA 01144-1810

                    Cavalier Transportation
                    225 Buell Road
                    Rochester, NY 14624

                    Cavert Wire Co., Inc.
                    P.O. Box 642318
                    Pittsburgh, PA 15264-2318

                    Cavotec Inc.
                    124 Hatfield Road
                    Statesville, NC 28625

                    Cazo Construction Co
                    3461 Sw 8th St,
                    Miami, FL 33135

                    CBA
                    PO Box 8129
                    Cherry Hill, NJ     08002

                    Cbacs
                    P.O. Box 9308
                    Wilmington, DE    19809-0308

                    Cbl Trucking, Inc.
                    124 Gaither Dr Suite 200
                    PO Box 5099
                    Mt Laurel, NJ 08054-5099

                    Cbm Of Neshaminy Valley, Inc
                    4258 Bristol Road
                    Oakford, PA 19053




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                    Cch Incorporated
                    P.O. Box 4307
                    Carol Stream, IL     60197-4307

                    Cch Incorporated
                    PO Box 4307,
                    Carol Stream, IL     60197-4307

                    Ccsnj
                    Piazza 6014 At Main Street
                    Voorhees, NJ 08043-4659

                    Ccx Screening & Fiberglass
                    PO Box 951644
                    Cleveland, OH 44193

                    Cd Surplus
                    319 Pine Street
                    Camden, NJ 08103

                    Cdt Business Systems
                    500 N. Black Horse Pike
                    PO Box 66
                    Mt. Ephraim, NJ 08059

                    Cdt News
                    P.O. Box 239
                    Haverford, PA    19041

                    Cdw Direct, LLC
                    PO box 75723
                    Chicago, IL 60675

                    Cdw
                    200 N. Milwaukee Avenue
                    Vernon Hills, IL 60061

                    Ced Electric Supply
                    PO Box 249
                    Lewis Center, OH 43035

                    Ced-Kay Electric Supply
                    301 Chestnut Ave.
                    Vineland, NJ 08360

                    Ced-National Electric Supply
                    6910 Central Hwy.
                    Pennsauken, NJ 08109


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                    Cee Bee Glass Inc.
                    PO Box 603
                    Massilon, OH 44648-0603

                    Cei Services
                    As Subrogees Of Inventive
                    Commercial Sservices
                    4850 Street Rd. Ste# 220
                    Trevose, PA 19053

                    Celadon Logistics Services
                    1830 Momentum Place
                    Chicago, IL 60689-5318

                    Celtic Marine Corporation
                    15171 S. Harrell's Ferry Rd
                    Baton Rouge, LA 70816

                    Cemtech Energy Controls Inc.
                    P.O. Box 368
                    21 East 5th Ave
                    Conshohocken, PA 19428

                    Center For Environmental
                    Engineering
                    Stevens Institute Of
                    Technology
                    Hoboken, NJ 07030

                    Center For Forensic
                    Economic Studies
                    1608 Walnut St
                    Suite 1200
                    Philadelphia, PA 19103

                    Center For Professional
                    Education Institute
                    1460 Russell Road
                    Paoli, PA 19301-1259

                    Center Stage Entertainment,
                    Inc
                    902 West Laurel Road
                    Lindenwold, NJ 08021




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                    Center Stage Tickets Of Pa.
                    11 Bala Avenue
                    Suite 41
                    Bala Cynwyd, PA 19004

                    Center Stage Tickets
                    2431 Church Road
                    Cherry Hill, NJ 08002

                    Center Stage Tickets
                    7905 Browning Road
                    Ste. 214
                    Pennsauken, NJ 08109

                    Centier Bank, Nbt
                    PO Box 1558
                    12531 Cedar Lake Road
                    Crown Point, IN 46308

                    Centimark Corporation
                    PO Box 360093
                    Pittsburgh, PA 15251-6093

                    Centimark Corporation
                    23 Creek Circle
                    Suite 2
                    Boothwyn, PA 19061

                    Centra Inc.
                    P.O. Box 80
                    Warren, MI 48090

                    Central Air Freight, Inc.
                    1080 Garden State Rd
                    Union, NJ 7083

                    Central City Toyota Inc
                    4820 Chestnut St
                    Philadelphia, PA 19139

                    Central City Toyota
                    4800 Chestnut Street
                    Philadelphia, PA 19139

                    Central Manufacturing
                    Junction 98 & Springfield Rd.
                    Groveland, IL 61535



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                    Central Metals
                    950 Marietta Street, Nw
                    Atlanta, GA 30318

                    Central N.J. Chapter,
                    A.W.M.A.
                    C/O Robin Mulhall, Registrar
                    160 Pitman Avenue
                    Pitman, NJ 08071

                    Central New York Technology
                    Development Organization
                    1201 E. Fayette Street
                    Syracuse, NY 13210

                    Central Penn
                    Sewing Machine Co., Inc.
                    351 E. 7th Street
                    Bloomsburg, PA 17815

                    Central Scrap Metal Co Inc
                    670 Captain Neville Dr
                    P.O. Box 2584
                    Waterbury, CT 06705

                    Central Steel & Wire
                    3000 W. 51st Street
                    Chicago, IL 60632

                    Central Transport Internat'l
                    PO Box 33299
                    Detroit, MI 48232

                    Central Wholesalers Inc
                    13401 Virginia Manor Rd
                    Laurel, MD 20707

                    Centurion Ndt
                    1400 Yorkshire Drive
                    Streamwood, IL 60107

                    Century Autoline
                    P.O. Box 8327
                    Chicago, IL 60680




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                    Century Marketing
                    12836 Dixie Hwy
                    Bowling Green, OH     43402-9230

                    Century Rollforming Inc.
                    1099 North Gateway Blvd.
                    Norton Shores, MI 49441

                    Century Tube Corporation
                    22 Tannery Road
                    Somerville, NJ 08876

                    Ceramic Fiber Engineering
                    Po Box 85
                    Ingomar, PA 15127

                    Cerny
                    723 Eldridge Ave
                    Collingswood, NJ     08107

                    Certanium Alloy & Research
                    6500 Rock Side Road
                    Independence, OH 44131

                    Certanium Alloys Co.
                    P.O. Box 74075
                    Cleveland, OH 44194

                    Certegy Check Services Inc
                    PO Box 30038
                    Tampa, FL 336303038

                    Certif-A-Gift Company
                    PO Box 66210
                    Chicago, IL 60666-0210

                    Certified Metal Finishers
                    P.O. Box 114
                    440 Howell Street
                    Bristol, PA 19007

                    Certified Metal Finishers,
                    Inc.
                    440 Howell Street
                    Bristol, PA 19007




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                    Certified Steel Co
                    1621 N. Olden Ave.
                    Trenton, NJ 08638

                    Certified Welder Training,
                    Inc.
                    42 Longhurst Road
                    Marlton, NJ 08053

                    Certified Welding
                    Technologies
                    38 Foxchase Road
                    Tabernacle, NJ 08088

                    Cf Motor Freight
                    Attn: Barbara Bourcier
                    Post Office Box 4488
                    Portland, OR 97208

                    Cfo & Controller Alert
                    370 Technology Dr.
                    P.O. B0x 3019
                    Malvern, PA 19355

                    Cgs Consulting, Inc.
                    9801 Germantown Ave.
                    Suite 523
                    Lafayette Hills, PA 19444

                    Cgs Thermodynamics
                    123 Willowbrook Lane
                    West Chester, PA 19382

                    Cgtech
                    Po Box 148
                    Hudson, NH 03051

                    Chain Store Guide
                    PO Box 533093
                    Atlanta, GA 30353

                    Challenge Tool & Mfg., Inc.
                    P.O. Box 306
                    11725 Highway 14 East
                    New Haven, IN 46774




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                    Chalmers & Kubeck Inc.
                    150 Commerce Drive
                    P.O. Box 2447
                    Aston, PA 19014-0447

                    Chalmur Bag Company Inc
                    PO Box 3692
                    Philadelphia, PA 191250692

                    Chalmur Bag
                    1435 North Front Street
                    Philadelphia, PA 19122

                    Chamber Of Commerce Of
                    Southern New Jersey
                    Piazza 6014 At Main Street
                    Voorhees, NJ 08043-4659

                    Chamberlin Rubber Co. Inc.
                    3333 Brighton Henrietta
                    Town Line Road
                    P.O. Box 22700
                    Rochester, NY 14692

                    Champ Prosperity Ent Co Ltd
                    Room 34, 6th Fl, Kuo-Pin Bldg
                    No 2 Cheng Kung Road
                    PO Box 428
                    Tainan Taiwan

                    Champion Packaging Inc.
                    7b South Gold Drive
                    Robbinsville, NJ 08691

                    Chandler Hall
                    99 Barkley Street
                    Newtown, PA 18940

                    Changzhou Cross Door
                    Hardware Co Ltd
                    19, Tongjia Industrial
                    Estate,
                    Qinglong, Changzhou
                    China
                    Jiangsu




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                    Chantelau Inc.
                    3225 Meetinghouse Road
                    Telford, PA 18969

                    Chapman Ford Sales, Inc.
                    9371 Roosevelt Blvd.
                    Philadelphia, PA 19114

                    Charger
                    P.O. Box 874
                    Lowell, AR 72745

                    Charles A. Hones, Inc.
                    607 Albany Avenue
                    N. Amityville, NY 11701-0518

                    Charles A. Wagner Co
                    PO Box 46845
                    Philadelphia, PA 19160-6845

                    Charles Dunn
                    127 Dumas Road
                    Cherry Hill, NJ     08003

                    Charles E. Kern
                    328 W. Center Street
                    Maple Shade, NJ 08052

                    Charles F. Connolly
                    43 River Road
                    North Arlington, NJ     07032

                    Charles F. Reichert
                    4931 N 6th Street
                    Philadelphia, PA 19120

                    Charles H. Anderson
                    1446 Ormond Avenue
                    Camden, NJ 08105

                    Charles H. Keith Co.
                    116 Gradyville Rd
                    Glen Mills, PA 19342

                    Charles Higham
                    4529 Bleigh Avenue
                    Philadelphia, PA 19136



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                    Charles Licht Engineering
                    Associates, Inc.
                    P.O. Box 315
                    Olympia Fields, IL 60461

                    Charles Locksmith
                    185 E 80th St
                    New York, NY 10021 0446

                    Charles M. Cleary
                    6 La Fite Court
                    West Deptford, NJ     08096

                    Charles M. Ritter & Assoc.
                    1635 Bustleton Pike Unit D
                    Feasterville, PA 19053

                    Charles Piacentino
                    NE Corner Swanson & Ritner
                    Sts
                    Philadelphia, PA 19148

                    Charles R. Saunders
                    1618 Burke Road
                    Baltimore, MD 21220

                    Charles S. Levine Co., Inc.
                    2240 Germantown Avenue
                    Phila., PA 19133

                    Charles Stickler Associates
                    P.O. Box 5312
                    Lancaster, PA 17606

                    Charles Thomason
                    801 W Park Ave, 5-D
                    Lindenwold, NJ 08021

                    Charles W Long Inc
                    2600 Haddonfield Road
                    Pennsauken, NJ 08110

                    Charlotte R. Carkeek
                    71 Executive Lane
                    Willingboro, NJ 08046




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                    Charlton Bros. Transportation
                    P.O. Box 64416
                    Baltimore, MD 21264

                    Charmilles Technologies
                    560 Bond Street
                    Lincolnshire, IL 60069-4224

                    Charrette Corporation
                    31 Olympic Avenue
                    P.O. Box 4010
                    Woburn, MA 01888-4010

                    Chas F Connolly Dist. Co. Inc
                    39 River Road
                    P.O. Box 7189
                    North Arlington, NJ 07031

                    Chase Auto Finance
                    P.O. Box 78070
                    Phoenix, AZ    85062-8070

                    Chase Automotive Finance
                    PO Box 15594
                    Wilmington, DE 198861304

                    Chase Leasing
                    PO Box 15594
                    Wilmington, DE    19886-1304

                    Chase
                    Post Office Box 15594
                    Wilmington, DE 19886-1304

                    Cheer Explosion
                    309 Crystal Avenue
                    Mount Laurel, NJ 08054

                    Chelsea Building Products
                    Attn Jen Bedillion
                    565 Cedar Way
                    Oakmont, PA 15139

                    Chelsea Building Products
                    PO Box 643638
                    Pittsburgh, PA 15264-3638




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                    Chem Plus
                    Route 41
                    P.O. Box 5538
                    Deptford, NJ 08096

                    Chemdry By Jake
                    657 Street Road
                    Bensalem, PA 19020

                    Chem-Ecol Ltd.
                    640 Victoria Street
                    P.O. Box 955
                    Cobourh, Ontario Canada
                    K9a4w4

                    Chemi Graphics
                    340 State St
                    Ludlow, MA 01056

                    Chemical Bank
                    Letter Of Credit Department
                    55 Water Street
                    Room 1702
                    New York, NY 10041

                    Chemical Concepts
                    410 Pike Road
                    Huntingdon Valley, PA      19006

                    Chemical Equipment Labs Inc.
                    P.O. Box A
                    Havertown, PA 19083

                    Chemical Leaman Tank Lines,
                    Inc
                    P.O. Box 8500 S-1445
                    Philadelphia, PA 19178

                    Chempipe Co., Inc.
                    P.O. Box 2
                    Malvern, PA 19355

                    Chemung County Scu
                    P.O. Box 15307
                    Albany, NY 12212-5307




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                    Chep Usa
                    8517 South Park Circle
                    Orlando, FL 32819 9040

                    Cherry Hill Atlas Paint Co.
                    P.O. Box 953
                    935 Route 73 South
                    Marlton, NJ 08053

                    Cherry Hill Emerg. Phys.
                    Serv.
                    P.O. Box 4892
                    Lancaster, PA 17604

                    Cherry Hill Equipment
                    P.O.Box 4137
                    Cherry Hill, NJ 08034

                    Cherry Hill Flag Co.
                    515 Franklin Ave
                    Cherry Hill, NJ 08002

                    Cherry Hill Taxi Inc.
                    19 Lees Avenue
                    Collingswood, NJ 08108

                    Cherry Hill Township
                    Dept Of Recreation
                    820 Mercer Street
                    PO Box 5002
                    Cherry Hill, NJ 08034-0358

                    Cherry Hill Violations Bureau
                    820 Mercer Street
                    Cherry Hill, NJ 08002

                    Cherry Steel Corp.
                    2320 Big Oak Road
                    Langhorne, PA 19047

                    Chesapeake Display & Pack
                    855 Hylton Rd
                    Pennsauken, NJ 08110

                    Chesapeake Trading Group
                    PO Box 640883
                    Pittsburgh, PA 15264-0883



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                    Chester County Machine Co.
                    Rt. 41 Gap-Newport Pike
                    P.O. Box 489
                    Toughkenamon, PA 19374-0489

                    Chester Machine Works Inc.
                    P.O. Box 9
                    Jeffrey Street & Delaware
                    Ave.
                    Chester, PA 19016-0009

                    Chests Unlimited
                    112 Maxwell Hill Rd
                    Morgantown, PA 19543 9418

                    Chet Palys Screens
                    PO Box 801,
                    Marco Island, FL 34146

                    Chevy Chase Bank
                    PO Box 1912
                    Merrifield, VA 22116

                    Chevy Chase, F.S.B.
                    PO Box 371357
                    Pittsburg, PA 15250-7357

                    Cheyenne Software, Inc
                    3 Expressway Plaza
                    Roslyn Heights, NY 11577

                    Chicago Dreis & Krump
                    481 S. Governors Highway #2
                    Peotone, IL 60468

                    Chicago Tribune
                    P.O. Box 6315
                    Chicago, IL 60680-6315

                    Chick's Towing Service, Inc.
                    9035 Collins Avenue
                    Pennsauken, NJ 08110

                    Chief Executive Boards
                    P.O. Box 42506
                    Cincinnati, OH 45242-0506




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                    Childress Klein Properties
                    Charlotte Indust. Pool
                    PO Box 60198
                    Charolette, NC 28260

                    Chilton Company
                    P.O. Box 8538-285
                    Philadelphia, PA 19171

                    Chin Industrial Pte. Ltd.
                    5048 Ang Mo Kio Indust Park
                    Hex01-627
                    Singapore
                    569 551

                    China Daily
                    Circulation Department
                    No 15, Huixin Dongjie,
                    Chaoyang District,
                    China
                    Beijing 10002

                    Chinese Consulate General
                    520 12th Avenue
                    New York, NY 10036

                    Chinese Visa Express
                    2200 Wilson Blvd.
                    Suite 102-307
                    Arlington, VA 22201-3324

                    Chip Blaster Inc.
                    Dunham Road
                    P.O. Box 1057
                    Meadville, PA 16335

                    Chiuta Installations
                    113 Cedar Road,
                    MIlford, MA 1757

                    Chm Software, Inc
                    150 Taylor Road
                    Libby, MT 59923

                    CHMC, PC Depot Services
                    2010 Cabot Boulevard W
                    Langhorne, PA 19047



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                    Choo-Choo Trolley Co
                    PO Box 54
                    Perkasoe, PA 18944

                    Chris Broomhead
                    Baron's Fund
                    303 Temple Blvd
                    Palmyra, NJ 08065

                    Chris Galeone
                    942 Edgewood Lane
                    Langhorne, PA 19053

                    Chris Hart
                    8 Cedar Place
                    Farmingdale, NY     11735

                    Chris Harte
                    921 Conklin Street
                    Farmingdale, NY 11735

                    Chris Tate
                    8411 Oakview Ave.
                    Richmond, VA 23228

                    Chris Voith
                    6059 Boylston Drive
                    Suite C
                    Altanta, GA 30328

                    Chrispopher Marston
                    1934 Buchanan St
                    Croydon, PA 19021

                    Christopher B. Clarke
                    PO Box 243
                    Summit, NY 12175

                    Christopher Marston
                    1934 Buchanan St
                    Croydon, PA 19021

                    Christopher S. Greaney
                    Consulting LLC
                    9854 E. Monument Drive
                    Scottsdale, AZ   85262




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                    Chroma Copy
                    520 N. Delaware Avenue
                    Suite 305
                    Philadelphia, PA 19123

                    Chromalox
                    103 Gamma Drive Ext.
                    Pittsburg, PA 15238

                    Chromalox
                    701 Alpha Dr
                    Pittsburg, PA    15238

                    Chromate Industrial Corp.
                    100 Davinci Dr
                    Bohemia, NY 11716

                    Chrysler Financial
                    Payment Processing Center
                    P.O. Box 3208
                    Milwaukee, WI 53201-3208

                    Chrysler Financial
                    PO Box 2993
                    Milwaukee, WI 53201-2993

                    Chung Hsin Enterprise Ltd
                    No. 16, Sec. 1 Guor Guang Rd.
                    Dah Lii
                    Taichung County 412
                    Taichung Taiwan

                    Churchill, Eric
                    9731 Hunting Ground Court
                    Louisville, KY 40228

                    Churchside Doors & Trim
                    10760 State Rtw 66
                    Fort Laramie, OH 45845 9789

                    Cif/Rtk/Ppc
                    NJ Department Of Labor
                    P.O. Box 595
                    Newark, NJ 07101-0595




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                    Cimarron Lumber
                    Attn: Vern Anderson
                    4000 Main St
                    Kansas City, MO 64111

                    Cimmetry Systems Inc.
                    124 Mt. Auburn Street
                    Suite 200n
                    Cambridge, MA 02138

                    Cincinnati Incorporated
                    L-6124
                    Cincinnati, OH 45270-6124

                    Cinelli Iron + Metal
                    109 Mckinley Street
                    Hackensack, NJ 07601

                    Cingular Wireless
                    PO Box 70524
                    Charolette, NC 28272-0524

                    Cingular Wireless
                    P.O. Box 17514
                    Baltimore, MD 21297-1514

                    Cingular Wireless
                    PO Box 17542
                    Baltimore, MD 21297-1542

                    Cintas Corporation #061
                    10080 Sandmeyer Lane
                    Philadelphia, PA 19116

                    Cintiolli's Music
                    5349 Oxford Ave.
                    Philadelphia, PA 19124

                    Cioffi's Auto Service Inc
                    309 Chapel Ave West
                    Cherry Hill, NJ 08002

                    Circuit City
                    2138 Route 38
                    Cherry Hill, NJ     08002




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                    Circumdale Construction
                    921 E. Prospect Ave
                    North Wales, PA 19454

                    Ciro Electrical Supply Co.
                    1732-40 Jackson Street
                    Philadelphia, PA 19145

                    Cit Technology Fin Serv, Inc.
                    21146 Network Place
                    Chicago, IL 60673-1211

                    Cit Technology Financing
                    Services Inc.
                    4600 Touchton Rd.
                    Bldg. 100 Suite 300
                    Jacksonville, FL 32246

                    Citation Graphics
                    1249 Glen Ave
                    Moorestown, NJ 08057

                    Citgo Petroleum Corp.
                    P.O. Box 208
                    Tulsa, OK 74189-0008

                    Citicapital
                    P.O. Box 6229
                    Carol Stream, IL     60197-6229

                    Citicorp Leasing
                    PO Box 7247-7878
                    Philadelphia, PA 19170-7878

                    Citicorp Mortgage
                    P.O. Box 790005
                    St Louis, MO 63179-0005

                    Citicorp Vendor Finance Inc.
                    P.O. Box 7247-0371
                    Philadelphia, PA 19170-0371

                    Citifax
                    26639 W Commerce Dr.#401
                    Volo, IL 60073




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                    Citizens Bank
                    1 Citizens Drive
                    Riverside, RI 02915-3000

                    City Blue Print Co. Inc.
                    1729 Tilghman Street
                    Allentown, PA 18104-4196

                    City Glass Co
                    1405 W Aztec Blvd
                    Aztec, NM 87410

                    City Of Hope
                    Hardware/Home Improvement
                    Industry
                    1055 Wilshire Blvd
                    Los Angeles, CA 90017

                    City Of Mirrors
                    6006 S Route #130
                    Pennsauken, NJ 081091512

                    City Of Philadelphia
                    Department Of Revenue
                    PO Box 1700
                    Philadelphia, PA 19105-1700

                    City Of Philadelphia
                    Parking Violation Branch
                    P.O. Box 41818
                    Philadelphia, PA 19101

                    City Protection
                    41 E 28th St
                    New York, NY 10016 7924

                    City Testing & Research Inc.
                    967 E. Hazelwood Ave.
                    Rahway, NJ 07065-5633

                    Ck & Associates
                    1329 Solano Avenue
                    Albany, CA 94706

                    Clad-Tex Metals, Inc.
                    PO Box 828660
                    Philadelphia, PA 19182-8660



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                    Clair Home Products
                    311-16 Hong-Chu Village
                    Lu-Chu Hsiang
                    Tao-Yuan

                    Clamco Corporation
                    12900 Plaza Dr
                    Cleveland, OH 441301079

                    Claricom, Inc.
                    3930 Rose Lake Drive
                    Charlotte, NC 28217

                    Clark & Stant, P.C.
                    900 One Columbus Center
                    Virginia Beach, VA 23462

                    Clark Builders Group
                    4401 Wilson Blvd, Ste 600
                    Arlington, VA 22203

                    Clark Cares Foundation
                    Tom Boylan, Development
                    Associate
                    Clark Realty Capital LLC
                    9910 Tracy Loop, Bldg 766
                    Ft Belvoir, VA 22060

                    Clark Colony
                    41181 179th St
                    Raymond, SD 57258

                    Clark Construction Group
                    Attn: Vonetta Harris
                    PO Box 30559
                    Bethesda, MD 20814

                    Clark Pinnacle Belvoir LLC
                    Attn: Jason Meker
                    9910 Tracey Loop - Bldg #766
                    Fort Belvoir, VA 22060

                    Clark Realty Builders LLC
                    2 Bethesda Metro Ctr #250
                    Bethesda, MD 20814




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                    Clark Realty Capital LLC
                    Attn: Casey Nolan,
                    Development Exec
                    9910 Tracy Loop, Bldg 766
                    Fort Belvoir, VA 22060 5443

                    Clarke & Cohen/Claims Intl
                    Public Insurance Adjusters
                    Meeting House Centre
                    711 Montgomery Ave Suite 4
                    Narberth, PA 19072

                    Classic Chevrolet
                    Route 38 And Lenola Road
                    P.O. Box C
                    Moorestown, NJ 08057

                    Classic Fence & Lumber Co.
                    3030 Niagara Falls Blvd
                    Amherst, NY 14228

                    Claudia Cinelli
                    Harrows
                    610 Route #110
                    Melville, NY 11747

                    Clausing Service Center
                    Customer Service Department
                    P.O. Box 877
                    Goshen, IN 46527-0877

                    Clayton Group Services Inc.
                    45525 Grand River Avenue
                    Suite 200
                    Novi, MI 48374

                    Clean Earth Of North Jersey
                    115 Jacobus Avenue
                    South Kearny, NJ 07032

                    Clean Team Company
                    3655 Pacific Highway
                    San Diego, CA 92101

                    Clean Venture, Inc.
                    600 Cenco Blvd.
                    Clayton, NJ 08312



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                    Cleanite Products
                    1300 Schwab Road
                    Hatfield, PA 19440

                    Clearinghouse
                    Atlas# 000411343400
                    P.O. Box 52107
                    Phoenix, AZ    85072-2107

                    Clearspan Steel Supply Inc.
                    840 Mill Road
                    Bensalem, PA 19020

                    Clendenin Bros. Inc.
                    4309 Erdman Ave.
                    Baltmore, MD 21213-2695

                    Clermont Glass
                    2263 Ridge Ave
                    Clermont, FL 34711 2703

                    Cleveland Punch And Die Co.
                    P.O. Box 92594t
                    Cleveland, OH 44190

                    Cliff Robitaille
                    143 Hangdog Lane
                    Wethersfield, CT     06109

                    Clifford Tkach
                    C/O Window Pains
                    1691 Wellington Ave
                    Newton, NC 28658

                    Clifton Steel Co.
                    8950 Dutton Drive
                    Twinsburg, OH 44087

                    Clinton Aluminum & Stainless
                    6270 Van Buren Road
                    Clinton, OH 44216

                    Clinton Aluminum & Stainless
                    Po Box 75702
                    Cleveland, OH 44101-4755




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                    Clinton Envelope & Paper Co.
                    310 North Eleventh Street
                    Philadelphia, PA 19107

                    Clinton Williams
                    407 W. Duncannon Ave.
                    Philadelphia, PA 19120

                    Clipper Group
                    15700 West 103rd ST.
                    Lemont, IL 60439-9662

                    Cloister
                    PO Box 3229
                    Lancaster, PA    17604-3229

                    Closet City, LTD
                    619 Bethlehem Pike
                    PO Box 779
                    Montgomery, PA 18936-0779

                    Closure Systems, Inc.
                    1327 D Adams Rd
                    Bensalem, PA 19020

                    Clover Garden Center LLC
                    1017 S Church St
                    Mt Laurel, NJ 08054

                    Cluthe Mfg. Co.Ltd.
                    585 Kumpf Drive
                    Ontario, CA A N2j3z7

                    Cmc Joists & Deck
                    Formally Nicholas Bouras,
                    Inc.
                    350 Sentry Parkway
                    Building 610, Suite 130
                    Blue Bell, PA 19422

                    Cmf Limited, Inc.
                    PO Box 5989
                    Trenton Circle Branch
                    Trenton, NJ 08638




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                    Cmi Color Graphix
                    99 Buck Road
                    Huntington Valley, PA      19006

                    Cmi
                    Computer Management
                    International
                    3256 West 25 Street
                    Cleveland, OH 44109

                    Cmrs-Fp
                    PO Box 7247-0119
                    Philadelphia, PA 19170-0119

                    Cms Communications Inc.
                    715 Goddard Avenue
                    Chesterfield, MO 63005

                    Cnb International
                    683 Northland Avenue
                    Buffalo, NY 14211

                    Cnytdo
                    Clara Scherfner, Financial
                    Adm
                    1201 E. Fayette Street
                    Syracuse, NY 13210-1953

                    Coach Leatherware
                    P.O. Box 13670
                    Newark, NJ 07188-0670

                    Coast Pneumatics Inc.
                    8055 E. Crystal Drive
                    Anaheim, CA 92807

                    Coastal Technical Sales, Inc.
                    400 Babylon Road
                    Suite A
                    Horsham, PA 19044-1233

                    Coates Communication Corp.
                    54 New Hwy 64 West
                    Lexington Shopping Ctr
                    Lexington, NC 27295




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                    Coates Heater Company, Inc.
                    18250 68th Avenue South
                    Kent, WA 98032

                    Cobra Machine & Fabrication
                    2 James Court
                    Wilmington, DE 19801

                    Coburn, Stacie
                    P.O. Box 3413
                    Sherman, TX 75091

                    Coburn-Myers Bolt & Nut, Inc.
                    3211 West 9th Street
                    Trainer, PA 19013

                    Coface North America Inc
                    Insurance Company
                    1350 Broadway, Ste 2001
                    New York, NY 10018

                    Cognos Corporation
                    15 Wayside Road
                    Burlington, MA 01803

                    Cognos Corporation
                    PO Box D3923
                    Boston, MA 02241 3923

                    Cohen & Grigsby Pc
                    11 Stanwix St, 15th Fl
                    Pittsburgh, PA 15222

                    Coil Plus
                    5135 Bleigh Avenue
                    Philadelphia, PA 19136

                    Coil-Plus Pennsylvania,
                    Milnor & Bleigh Sts
                    PO Box 11158
                    Philadelphia, PA 19136

                    Colantuono-Klurman Assoc.
                    227 Clifford Street
                    P.O. Box 5150
                    Newark, NJ 07105




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                    Coleman Equipment, Inc.
                    656 South 21st Street
                    Irvington, NJ 7111

                    Cole-Parmer Company
                    625 East Bunker Court
                    Vernon Hills, IL 60061

                    Coles Express, Inc.
                    PO Box 918
                    Bangor, ME 04402-0918

                    Colleen Karstens
                    11008 West 120th Terrace
                    Overland Park, IL 66213

                    College Of NJ Book Store
                    Hillwood Lakes
                    Cn4700
                    Trenton, NJ 08650

                    Colliers, Lanard
                    & Axilbund
                    399 Market St
                    Third Floor
                    Philadelphia, PA     19106

                    Collingswood Presbyterian
                    Fern And Maple Aves.
                    Collingswood, NJ 08108

                    Collins Mechanical Service
                    Inc
                    821 Cedar Street
                    Bristol, PA 19007

                    Collins Packaging Company
                    5024-30 Mulberry Street
                    Philadelphia, PA 19124-0564

                    Collins Toker Agencies Ltd
                    1224 Sherwin Rd
                    Canada R3H 0v3
                    Winnipeg




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                    Colonial Electric
                    9734 Bustleton Ave.
                    Philadelphia, PA

                    Colonial Marketing Inc
                    131-11 Atlantic Ave
                    Richmond Hill, NY 11418

                    Colonial Metal Products, Inc.
                    25 N. Railroad Street
                    Wheatland, PA 16161

                    Colonial Metals, Co.
                    217 Linden Street
                    Columbia, PA 17512

                    Colonial Processing
                    1930 South Sixth Street
                    Camden, NJ 08104

                    Colonial Rubber
                    19 Elbo Lane
                    Mount Laurel, NJ     08054

                    Colonial Sales Co. Inc.
                    P.O. Box 5
                    439 St. Mihiel Drive
                    Riverside, NJ 08075

                    Colony Press, Inc.
                    278 Jamie Lane
                    Wauconda, IL 60084

                    Color Carton Corporation
                    341 Canal Place
                    Bronx, NY 10451

                    Color Reflections
                    400 Green St
                    Philadelphia, PA 19123

                    Color Reflections
                    400 Green Street
                    Philadelphia, PA 19123

                    Color Source
                    5113 Central Highway
                    Pennsauken, NJ 08109


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                    Colorsource Inc.
                    5113 Central Highway
                    Pennsauken, NJ 08109

                    Colorworks Graphic Services
                    PO Box 80
                    480 County Line Rd.
                    Boyertown, PA 19512

                    Colton Resque Squad
                    C/O Jerome Wilson
                    PO Box 146
                    Colton, NY 13625

                    Columbia Manufacturing Corp.
                    PO Box 536717
                    Atlanta, CA 30353-6717

                    Columbia Marking Tools
                    27430 Luckino
                    Chesterfield, MI 48047

                    Columbian Tectank
                    2101 S. 21st Street
                    PO Box 996,
                    Parsons, KS 67357

                    Colwell General, Inc.
                    200 6th Street
                    PO Box 329
                    Fort Wayne, IN 46801

                    Combination Door Ware Ind
                    No. 79, Lane 36, Tan Shing
                    Road
                    Sec 2, Tantzu, Taichung 427
                    Taichung Taiwain
                    40099

                    Combination Lock & Key
                    Service
                    263 E Elm St, #B
                    Conshohocken, PA 19428

                    Combined Processes Inc.
                    3606 Kennedy Road
                    South Plainfield, NJ 07080



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                    Comcast Business
                    Communication
                    Processing Center
                    PO Box 828259
                    Philadelphia, PA 19182-8259

                    Comcast Cable
                    Bank Processing Center
                    PO Box 820124
                    Philadelphia, PA 19182-0124

                    Comcast Metrophone
                    PO Box 15343
                    Wilmington, DE 19886-5343

                    Comcast
                    24560 Sherwood
                    Center Line, MI     48015

                    Comco Signs
                    PO Bo 37247
                    Charlotte, NC     28237

                    Comeq, Inc.
                    Box 207
                    White Marsh, MD     21162-0207

                    Comet Inc.
                    N. 56 W. 12678
                    Silver Springs Road
                    Menomones Falls, WI       53051

                    Cometal Engineering Spa
                    C/O Cts Distribution (Us)
                    1901 Simmons Parkway
                    Carrollton, TX 75006

                    Cometals
                    2050 Center Avenue
                    Suite 250
                    Fort Lee, NJ 07024

                    Comfort Telecommunications
                    Inc
                    1407 Se 47th Terrace
                    Cape Coral, FL 339049638




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                    Comm-Ad Media Corp.
                    211 Saranac Avenue #108
                    Lake Placid, NY 12946

                    Commerce Bank NA
                    Church Road
                    Cinnaminson, NJ 08077

                    Commerce Clearing House Inc.
                    P.O. Box 5490
                    Chicago, IL 60680-5490

                    Commerce Technologies Inc
                    Dba Commerce Hub
                    255 Fuller Rd, Ste 327
                    Albany, NY 12203

                    Commerce Technologies, Inc
                    Attn: Client Services
                    255 Fuller Road, Suite 327
                    Albany, NY 12203

                    Commercial Alloys Corp.
                    1831 E. Highland Road
                    Twinsburg, OH 44087

                    Commercial Business Forms
                    240 Cedar Knolls Road
                    Suite 203
                    Cedar Knolls, NJ 07927

                    Commercial Drivers Leasing
                    Co.
                    PO Box 905
                    Quakertown, PA 18951-0905

                    Commercial Index Bureau
                    PO Box 24090
                    Baltimore, MD 21227

                    Commercial Lock & Safe
                    Service
                    77 Pleasant St
                    S Weymouth, MA 02190




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                    Commercial Masonry, Inc.
                    431-A Commerce Lane
                    West Berlin, NJ 08091-9200

                    Commercial Plastics
                    443 Ivyland Road
                    Warminster, PA 18974

                    Commercial-Wagner Inc.
                    4101 Ashland Ave.
                    Baltimore, MD 21205

                    Commissioner Of Labor &
                    Workforce Development
                    Attn: Audit Section
                    P. O. Box 389
                    Trenton, NJ 08625-0389

                    Commissioner Of Revenue Serv.
                    State Of Connecticut
                    PO Box 2937
                    Hartford, CT 06104-2937

                    Commissioner Of Revenue
                    Services
                    25 Sigourney Street
                    P.O. Box 5018
                    Hartford, CT 06102-5018

                    Commissioner Of Taxation
                    & Finance, NYs Assessment
                    Receivables
                    GPO, Box 26823
                    New York, NY 10087 6823

                    Committee For Citizen
                    Awareness
                    601 Thirteenth Street, N.W.
                    Suite 1150 South
                    Washington, DC 20005

                    Commodity Metals Mgmt. Co.
                    2000 Corporate Drive
                    Suite 365
                    Wexford, PA 15090-1425




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                    Commodore Logistic LLC
                    25525 Mound Road
                    Warren, MI 48091

                    Commonwealth Aluminum
                    7130 Krick Road
                    Bedford, OH 44146

                    Commonwealth Aluminum
                    Po Box 360293
                    Pittsburgh, PA 15251

                    Commonwealth Metal Corp.
                    560 Sylvan Ave
                    PO Box 1426
                    Englewood Cliffs, NJ 07632-
                    0426

                    Commonwealth Metals Corp
                    235 Neck Road
                    Haverhill, MA 01830

                    Commonwealth National
                    Country Club
                    300 Tournament Dr
                    Horsham, PA 19044

                    Commonwealth Of Mass.
                    Data Integration Bureau
                    PO Box 7022
                    Boston, MA 2204

                    Commonwealth Of Massachusetts
                    Mass Dept. Of Revenue
                    P.O. Box 7012
                    Boston, MA 02204

                    Commonwealth Of Pa Depart Of
                    Revenue
                    Pobox 280404
                    Bureau Of Receipts & Control
                    (Corp)
                    Harrisburg, PA 17128-0404




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                    Commonwealth Of Pa Department
                    Of Revenue
                    PO Box 280701
                    Harrisburg, PA 17128-0701

                    Commonwealth Of Pa
                    Department Of Transportation
                    Bureau Of Motor Vehicles
                    Harrisburg, PA 17106-8274

                    Commonwealth Of Pa. State
                    Reg. Board-Prof. Engineers
                    Land Surveyors,& Geologists
                    P.O. Box 8418
                    Harrisburg, PA 17105-8418

                    Commonwealth Of Pa.
                    Bureau Of Motor Vehicles
                    Harrisburgh, PA 17104-2516

                    Commonwealth Of Pennsylvania
                    Department Of Revenue
                    Bureau Of Corporation Taxes
                    Dept. 280404
                    Harrisburg, PA 17128-0404

                    Commonwealth Of Pennsylvania
                    Dept Of Motor Vehicles
                    Harrisburg, PA 17104-2516

                    Communication Briefings
                    1101 King Street
                    Suite 110
                    Alexandria, VA 22314

                    Communication Cable Co.
                    140 Quaker Lane
                    Malvern, PA 19355-2479

                    Communication Cable
                    140 Quaker Lane
                    Malvern, PA 19355

                    Comp Usa
                    1100 Nixon Drive
                    Mt. Laurel, NJ 08054




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                    Companhia Industrial
                    Fluminens
                    Lock Box #4036
                    P.O. Box 8500
                    Philadelphia, PA 19178-4036

                    Compass Capital Partners Ltd
                    One E. Uwchlan Avenue
                    Suite 110
                    Exton, PA 19341

                    Compass Transportation Inc.
                    P.O. Box 70241
                    Cleveland, OH 44190-0001

                    Compassionate Care Hospice
                    600 Highland Drive
                    Westhampton, NJ 08060

                    Comped Solutions
                    P.O. Box 419107
                    Kansas City, MO 64141-6107

                    Compes International
                    45a Armthorpe Road
                    Brampton, Ontario Canada
                    L6t 5m4

                    Compes S.P.A.
                    25050 Rodengo Saiano
                    (Brescia)
                    Italy


                    Compliance Solutions
                    7120 E. Orchard Road
                    Suite 140
                    Englewood, CO 80011

                    Component Manufacturing
                    555 Thames St
                    Newport, RI 02840

                    Composites One LLC
                    6202 Executive Blvd.
                    Dayton, OH 45424-1492




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                    Compressed Air Equipment
                    111 Clinton Avenue
                    Pitman, NJ 08071

                    Compressed Air Services, Inc
                    2544 West Ridge Pike
                    Norristown, PA 19403

                    Compressed Air
                    111 Clinton Ave
                    Pittman, NJ 08071

                    Comptroller Of Maryland
                    Revenue Administration
                    Division
                    PO Box 17405
                    Baltimore, MD 21297-1405

                    Comptroller Of The Treasury
                    Income Tax Division
                    Annapolis, MD 21411-0001

                    Compuadd Corp
                    P.O. Box 320001
                    Dallas, TX 75320-0001

                    Compurex Systems Inc.
                    83 Eastman Street
                    P.O. Box 2000
                    Easton, MA 02334

                    Compusa Corp.
                    1100 Nixon Drive Eastgate Sq
                    Mount Laurel, NJ 08054

                    Compuserv Incorporated
                    Dept. L-742
                    Columbus, OH 43268-0742

                    Compu-Simple, Inc.
                    PO Box 7161
                    Wilmington, DE 19803

                    Computer City
                    937 Church Rd
                    Cherry Hill, NJ     08002




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                    Computer City
                    P.O. Box 7777-W9570
                    Philadelphia, PA 19175

                    Computer Electronics
                    975a Bristol Pike
                    Bensalem, PA 19020

                    Computer Technology Corp.
                    P.O. Box 710787
                    Cincinnati, OH 45271-0787

                    Computers Made Easy
                    6 1/2 East Kings Highway
                    Haddonfield, NJ 08033

                    Computerworld
                    P.O. Box 2044
                    Marion, OH 43306-2144

                    Comstock Images
                    244 Sheffield Street
                    Mountainside, NJ 07092

                    Conair Group, Inc.
                    Department 1119
                    PO Box 40000
                    Hartford, CT 06151-1119

                    Conant Controls, Inc.
                    427 Riverside Avenue
                    Medford, MA 02155

                    Concentric Data Systems
                    110 Turnpike Road
                    Westborough, MA 01581

                    Concept 250 Inc.
                    830 Kinderkamack Road
                    Riveredge, NJ 07661

                    Conco
                    195 Davis Road
                    Lawnside, NJ 08045

                    Concord Enterprises
                    PO Box 1700
                    Paoli, PA 19301


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                    Concord Friends Of Music
                    Attn: Brenda Eccleston
                    42 Ruby Dr
                    Claymont, DE 19703

                    Concord Friends Of Music
                    Attn: Laurene Eckbold
                    1002 Linda Rd
                    Wilmington, DE 19810

                    Concord Locksmith
                    2228 Concord Blvd
                    Concord, CA 94520 2107

                    Concord Transportation
                    22368 Network Place
                    Chicago, IL 60673-1223

                    Concrete Servce Materials Co.
                    Elm & Walmut Streets
                    P.O. Box 447
                    Conshohocken, PA 19428

                    Condat Corp.
                    250 S. Industrial Drive
                    Saline, MI 48176

                    Cone-Blanchard Corporation
                    P.O.Box 757
                    7 Everett Lane
                    Windsor, VT 05089

                    Conectiv Services
                    621 Chapel Avenue
                    Cherry Hill, NJ 08034

                    Conectiv Solutions (Formally
                    Multi-Test)
                    206 Gale Lane
                    Po Box 390
                    Kennett Square, PA 19348

                    Conestoga-Rovers & Assoc.
                    Route 113-559
                    W. Uwchian Avenue
                    Suite 120
                    Exton, PA 19341



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                    Conger Brothers
                    PO Box 1617
                    Paso Robles, CA     93447

                    Conger Manufacturing
                    PO Box 1617
                    Paso Robles, CA 93447

                    Conn - Dee Industrial
                    726 Northwood Avenue
                    Cherry Hill, NJ 08002

                    Conn West Freight Systems Inc
                    P.O. Box 640131
                    Cincinnati, OH 45264-0131

                    Conn-Dee Industrial
                    726 Northwood Ave.
                    Cherry Hill, NJ 08002

                    Connecticut Secretary Of The
                    State
                    Document Review
                    30 Trinity St. PO Box 150470
                    Hartford, CT 06115-0470

                    Connelly Containers/Bala
                    Cynwd
                    P.O. Box 426
                    Bala Cynwyd, PA 19004-0426

                    Conner Xpress
                    P.O. Box 3071
                    Tempe, AZ   85281

                    Conney Safety Products
                    PO Box 44575,
                    Madison, WI 53744-4575

                    Conney Safety
                    3202 Latham Drive
                    PO Box 44575
                    Madison, WI 53744-4575

                    Conn-Fab Sales Inc.
                    P.O. Box 388
                    Uncasville, CT 06382-0388



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                    Connie Hickey
                    104 Constantine St.
                    Bloomington, IL 61704

                    Conntrol International
                    P.O. Box 645
                    Putnam, CT 06260

                    Conolly, Calhoun, Conolly
                    P.O. Box 8500 S41515
                    Phila., PA 19178

                    Conquest Communications
                    25400 Us 19 N #162
                    Clearwater, FL 33763

                    Conquest Communications
                    31581 Us19n
                    Palm Harbor, FL 34684

                    Conquest Communications
                    31597 U.S. 19n.
                    Palm Harbor, FL 34684

                    Conrad Logistics, Inc.
                    PO Box 17384
                    Nashville, TN 37217-7384

                    Consolidate Scrap Resource
                    Inc
                    P.O. Box 389
                    York, PA 17405

                    Consolidated Ceramic Products
                    838 Cherry Street
                    Blanchester, OH 45107

                    Consolidated Corporation
                    2701 Cindel Drive
                    Cinnaminson, NJ 08077

                    Consolidated Freightways
                    P.O. Box 641939
                    Pittsburgh, PA 15264-1939

                    Consolidated Plastics Co
                    8181 Darrow Rd
                    Twinsburg, OH 44087-9822


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                    Consolidated Plastics Co.
                    8181 Darrow Road
                    Twinsburg, OH 44087-2375

                    Consolidated Plastics
                    Company, Inc.
                    8181 Darrow Road
                    Twinsburg, OH 44087-2375

                    Consolidated Products
                    210 New Road
                    Linwood, NJ 08221

                    Consolidated Recycling Co Inc
                    8 Commerce Drive
                    PO Box 55
                    Troy, NY 47588

                    Constance Collins
                    20 Utah Trail
                    Medford, NJ 08055

                    Construction Bookstore
                    Order Department
                    P.O. Box 7029
                    Dover, DE 19903-7029

                    Construction Component Sales
                    2604 Highland Dr
                    PO Box 1742
                    Colleyville, TX 76034 1742

                    Construction Crane & Tractor
                    1545 Hook Road
                    Building A
                    Folcroft, PA 19032

                    Consumer Building Supply
                    1650 63rd St
                    Brooklyn, NY 11204

                    Consumer Connection Inc
                    1200 Whitman Court Ne
                    Renton, WA 98059




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                    Container Research
                    Corporation
                    Attention: Theresa
                    P.O. Box 159
                    Glen Riddle, PA 19037

                    Contemporary Graphics
                    1533 Union Avenue
                    Pennsauken, NJ 08110

                    Contemporary Graphics
                    7030 Colonial Highway
                    Pennsauken, NJ 08109

                    Continental Casualty Company
                    Lee & Hawthorne Agency
                    1350 Broadway, Ste 2001
                    New York, NY 10018

                    Continental Custom Windows
                    Inc
                    254 Windsor Place
                    Brooklyn, NY 11215

                    Continental Sales & Marketing
                    2360 Alvarado St
                    San Leandro, CA 94577

                    Continental Sales & Mktg Inc
                    Commission Account
                    2360 Alvarado
                    San Leandro, CA 945774314

                    Contractors Corner
                    902 E Memorial Dr
                    Ahoskie, NC 27910

                    Contractor's Notice Service
                    P.O. Box 355
                    Lutz, FL 33549

                    Control Design Supply, Inc.
                    101 Great Valley Parkway
                    Malvern, PA 19355




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                    Control Module Inc.
                    380 Enfield St.
                    Enfield, CT 06082

                    Controlled Access, Inc.
                    P.O. Box 88
                    Bellmawr, NJ 08099

                    Conversion Resources, Inc.
                    8295 Bavaria Drive East
                    Suite A
                    Macedonia, OH 44056

                    Converter Specialties Inc
                    2045 Route 130
                    Burlington, NJ 08016

                    Converter Specialties Inc.
                    2045 Route 130
                    Burlington, NJ 08016

                    Converters, Inc.
                    P.O. Box 910
                    1617 Republic Road
                    Huntingdon Vly, PA     19006

                    Convoy Oil Corporation
                    1412 N. Front St.
                    P.O. Box 29366
                    Philadelphia, PA 19125-0366

                    Con-Way Central Express
                    P.O Box 5160
                    Portland, OR 97208-5160

                    Con-Way Central Express
                    PO Box 642080
                    Pittsburgh, PA 15264-2080

                    Conway Now
                    4840 Venture Drive
                    Ann Arbor, MI 48108-9559

                    Con-Way Transportation Inc
                    PO Box 642080
                    Pittsburgh, PA 152642080




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                    Con-Way Transportation
                    Service
                    P.O. Box 5160
                    Portland, OR 97208

                    Conway's Truck & Trailer Rep.
                    4215 Myrtle Ave.
                    Pennsauken, NJ 08104

                    Cook College
                    P.O. Box 231
                    New Brunswick, NJ     08903-0231

                    Cook Composits & Polymers
                    1412 Knox
                    Kansas City, MO 64116

                    Cook Machinery
                    683 Sicklerville Rd.
                    P.O. Box 626
                    Sicklerville, NJ 08081

                    Cooke
                    800 Avondale Road
                    Unit 3e
                    Wallingford, PA 19086

                    Cool Temp Aluminum Inc
                    6005 Two Notch Rd
                    Columbia, SC 29223

                    Coolant Control Inc.
                    235 West 12th Street
                    Suite 200
                    Cincinnati, OH 45210

                    Coolinit Corporation
                    3 Horseshoe Drive
                    Morgantown, PA 19543-8825

                    Cool-Rite Appliances
                    3222 Red Lion Road
                    Philadelphia, PA 19114




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                    Cooney Brothers Incorporated
                    1850 N. Gravers Road
                    Plymouth Meeting, PA 19462-
                    2837

                    Cooney Brothers, Inc.
                    1850 N. Gravers Rd.
                    Plymouth Meeting, PA 19462

                    Cooper Electric Supply Co.
                    402 Bloomfield Drive
                    West Berlin, NJ 08091

                    Cooper Electric
                    2020 Springdale Road
                    Cherry Hill, NJ 08034

                    Cooper Health System
                    Attn: N. Keleher
                    Comm. Health Affairs Dept
                    One Cooper Plaza
                    Camden, NJ 08103

                    Cooper Hospital/U.M.C.
                    One Cooper Plaza
                    Camden, NJ 08103-1489

                    Cooper Occupational Health
                    3 Cooper Plaza, Ste 517,
                    Camden, NJ 08103

                    Cooper Occupational Health
                    9370 Route 130 North
                    Suite 200
                    Pennsauken, NJ 08110

                    Cooper Occupational Health
                    Pennsauken Industrial
                    9003 Route 130
                    Pennsauken, NJ 08110

                    Cooper Plumbing & Heating,
                    Inc.
                    Rd #1 Box 53
                    Rt 611 & Tohickon Valley
                    Ottsville, PA 18942




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                    Cooper Roofing, Inc
                    1234 Hayes Blvd., Unit # 2
                    Bristol, PA 19007

                    Cooper Roofing, Inc.
                    970 River Road
                    Croydon, PA 19021

                    Copelco Capital Inc.
                    P.O. Box 8500-6075
                    Phildelphia, PA 19178-6075

                    Copier Repair
                    29 Melwood Court
                    Sicklerville, NJ     08081

                    Copper & Brass Sales
                    P.O. Box 77040
                    Detroit, MI 48277-7040

                    Coppin State University
                    Eagles Club
                    C/O Guy Robertson
                    2500 W North Ave
                    Baltimore, MD 21216

                    Copy Dynamics
                    1163 Route 130 North
                    Robbinsville, NJ 08691

                    Copy Print
                    1333 E. Darby Road
                    Havertown, PA 19083

                    Copy Quality Services
                    320 Washington Ave
                    Cherry Hill, NJ 08002

                    Corbis Corporation
                    PO Box 11626
                    Tacoma, WA 98411-6626

                    Corbus Div. Comp. Mgmt. Sys.,
                    Inc
                    206 Line Road
                    Kennett Square, PA 19348




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                    Corestate (Credit Card) B O D
                    P O Box 41536
                    Philadelphia, PA 19101-1536

                    Corestates Bank, N.A.
                    Commercial Loan Dept.
                    P.O. Box 8500 S-6705
                    Philadelphia, PA 19178-6705

                    Cormark Inc
                    1701 S Winthrop Dr
                    Des Plaines, IL 60018

                    Cornell Group International
                    147-06 176th St.
                    Jamaica, NY 11434

                    Corporate Express
                    P.O. Box 64935
                    Baltimore, MD 21264-4635

                    Corporate Furnishings
                    701 South 10th Street
                    Newark, NJ 07108

                    Corporate Incentive Solutions
                    PO Box 847992
                    Boston, MA 02284 7992

                    Corporate Rate Services
                    P.O. Box 60001
                    Tampa, FL 33660-0001

                    Corporate Source
                    3111 Rt. 38
                    #11-139
                    Mt. Laurel, NJ 08054

                    Corporate Staffing Services
                    150 Monument Road
                    Suite 410
                    Bala Cynwyd, PA 19004

                    Corrie Rath
                    10 Candle Ct
                    Shamong, NJ 08088




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                    Corrosion Technology Sys.
                    Inc.
                    9 Deer Tree Professional Ctr.
                    600 Deer Road
                    Cherry Hill, NJ 08034

                    Cosmo Store Services
                    741 N Main St
                    Orange, CA 92868

                    Cospito
                    2 Wheatland Court
                    Marlton, NJ 08053

                    Cotkin, Collins & Ginsburg
                    300 South Grand Ave, 24th Fl
                    Los Angeles, CA 90071-3134

                    Cottman Transmission
                    Lenola Rd & Kings Hwy
                    Maple Shade, NJ 08052

                    Council On Education
                    In Management
                    P.O. Box 116096
                    Atlanta, GA 30368-6096

                    County And State Detectives
                    Assoc. Of Pa
                    408 Sumner Way
                    Treasurer- Thomas G. Frame
                    West Chester, PA 19382

                    County Electric Supply Co.
                    P.O. Box 820552
                    Philadelphia, PA 19182-0552

                    County Of Bucks Hazardous
                    Emergency Response Team
                    911 Ivyglenn Circle
                    Ivyland, PA 18974

                    County Supply
                    524 Lincoln Blvd.
                    Middlesex, NJ 08846




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                    Courier Post
                    P.O. Box 5705
                    Cherry Hill, NJ     08034

                    Courier Post
                    PO Box 5705
                    Cherry Hill, NJ     08034

                    Court House Legal Srv Inc.
                    112 Haddontowne Ct
                    Suite 304
                    Cherry Hill, NJ 08034

                    Courtenay Whitehurst
                    10 Tanglewood Rd.
                    Newnan, GA 30263

                    Covance Inc.
                    210 Carnegie Center
                    Att: James W. Lovett
                    Princeton, NJ 08540

                    Coweta County Tax
                    Commissioner
                    PO Box 195
                    Newnan, GA 30264-0195

                    Coweta County Tax
                    Commissioner/ J. T. Ferrell
                    PO Box 195
                    Newnan, GA 30264-0195

                    Cowie & Mott, P.A.,
                    Canton Title Building
                    2110 Fleet Street
                    Baltimore, MD 21231

                    Coyne Chemical
                    P.O. Box 7777-W8450
                    Philadelphia, PA 19175

                    Coyte Smolin Sales
                    8111 182nd St Sw
                    Edmonds, WA 98026




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                    Cpc Catalog
                    1001 W. Gate Dr.
                    St Paul, MN 55114-9905

                    Cps
                    1204 Route 130 N. Suite # 4
                    Cinnaminson, NJ 08077

                    Cpt Freight Management
                    Service
                    425 Steelway
                    Lancaster, PA 17601

                    Cradle Of Liberty Council Bsa
                    1485 Valley Forge Road
                    Wayne, PA 19087

                    Cradle Of Liberty Council
                    Boy Scouts Of America
                    22nd And Winter Streets
                    Philadelphia, PA 19103-1085

                    Crafco
                    20 Regina Road
                    Ontario, CA A L4l8l6

                    Craftbuilt
                    53 Souderton-Hatfield Pike
                    Souderton, PA 18964

                    Craftech Industries, Inc.
                    8 Dock Street
                    Hudson, NY 12534

                    Craig A Lieb
                    497 Bridge St
                    Hastings, PA 16646

                    Craig B.Sobel, Esq.
                    200 South Broad Street
                    Suite 440 The Bellevue
                    Philadelphia, PA 19102

                    Craig Camalda
                    PO Box 177
                    Fort Ann, NY 12827




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                    Craig Radiator Service
                    705 W. Spring Garden Street
                    Palmyra, NJ 08065

                    Craig Rash
                    669 Butterwood Terrace
                    Pouhatan, VA 23139

                    Craig Seller
                    1211 Ford Road
                    Bensalem, PA 19020

                    Craig Testing Laboratories,
                    In
                    5435 Harding Highway
                    Po Box 427
                    May Landing, NJ 08330

                    Crane Pro Services
                    225 W. Howard Street
                    Stowe, PA 19464

                    Crane-Dorray Corp.
                    P.O. Box 1465
                    Elmhurst, IL 60126

                    Craven Pools
                    53 Willow Lake Lane
                    Hattiesburg, MS 39402

                    Crawford Products
                    3637 Corporate Drive
                    Columbus, OH 43231

                    Crc Inc.
                    162 Old Eagle School Rd.
                    Strafford, PA 19087

                    Crc Press, Inc.
                    2000 Corporate Blvd. Nw
                    Boca Raton, FL 33431-9868

                    Creative Book Manufacturer
                    Inc
                    1422 Callowhill Street
                    Philadelphia, PA 19130




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                    Creative Elements
                    Incorporated
                    10197 Lincoln Hwy
                    Frankfort, IL 60423

                    Creative Forms & Supplies,
                    Inc
                    7905 Browning Road
                    112 Cooper Center
                    Pennsauken, NJ 08109

                    Creative Forms
                    112 Cooper Center
                    Pennsauken, NJ 08109

                    Creative Group
                    1735 Market Street
                    25th Floor
                    Philadelphia, PA 19103

                    Creative Strategy Group, Inc
                    2708 Commerce Way
                    Suite 203
                    Philadelphia, PA 19154

                    Credit Card Department
                    P.O. Box 15396
                    Wilmington, DE 19886-0814

                    Credit Clearing House
                    200 Business Dr
                    Armonk, NY 10504-1712

                    Credit Lenders Service Agency
                    P.O. Box 508
                    Cherry Hill, NJ 08003

                    Credit.Net
                    An Info Usa Co
                    PO Box 3603
                    Omaha, NE 68103 0603

                    Creform Corporation
                    49037 Wixom Tech Drive
                    Wixom, MI 49393




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                    Crell Direct Mail Advertising
                    410 S 8th St
                    PO Box 0386
                    Gloucester City, NJ 080302446

                    Crescent Brass Mfg. Corp.
                    701 Park Avenue
                    Reading, PA 19611

                    Crescent Shrine Temple
                    Regional Accounting Office
                    P.O. Box 574
                    Bellmawr, NJ 08099

                    Cresco Lines, Inc.
                    284 East 155th Street
                    Harvey, IL 60426

                    Cressona Die Shop
                    53 Pottsville St.
                    Cressona, PA 17929-0129

                    Creston Inc.
                    109 Flock Road
                    Trenton, NJ 08619

                    Crestwood Metal Corp.
                    1100 Lincoln Avenue
                    Holbrook, NY 11741

                    Cricket Catering
                    2638 E. County Line Road
                    Ardmore, PA 19003-2031

                    Criterion Recycling D/B/A/
                    City Metal Co., Inc.
                    P.O. Box 30734
                    Hartford, CT 06150

                    Cronatron Welding Systems
                    668 Stony Hill Road, Suite
                    134
                    Yardley, PA 19067




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                    Crops, Inc.
                    6600 Decari
                    Suite # 302
                    Montreal
                    Quebec Canada
                    H3x2k4

                    Crosible, Inc.
                    West Cayuga Street
                    Moravia, NY 13118

                    Cross Check Inc
                    PO Box 6008
                    Petaluma, CA 94955 6008

                    Cross Keys Medical & Dental
                    600 Berlin-Cross Keys Road
                    Suite 100
                    Sicklerville, NJ 08081

                    Cross Wire Cloth
                    121 Harding Avenue
                    Bellmawr, NJ 08031

                    Crowley American Transport
                    Inc
                    P.O. Box 651070
                    Charlotte, NC 28265

                    Crown Contractors, Inc.
                    701-C W. 5th Street
                    Lansdale, PA 19446

                    Crown Cork & Seal Company,
                    Inc
                    9300 Ashton Road
                    Philadelphia, PA 19114

                    Crown Credit Company
                    P.O. Box 640352
                    Cincinnati, OH 45264-0352

                    Crown Graphics
                    5113 Central Highway
                    Pennsauken, NJ 08109




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                    Crown Graphics
                    5113 Central Highway
                    Pennsauken, NJ 08109

                    Crown Industrial Supply
                    Div Of Richards Co.
                    437 Blvd
                    PO Box 199
                    Elwood Park, NJ 07407

                    Crown Metals
                    581 Rivermede Road
                    Concord
                    Ontario Canada
                    L4k 2g8

                    Crown Resources (Usa), Inc.
                    224 Franklin Avenue
                    Hewlett, NY 11557

                    Crown Staple & Supply Co.
                    96n. Harrison Avenue
                    Congers, NY 10920

                    Crown Staple & Supply Company
                    PO Box 445
                    Valley Stream, NY 11582

                    Crownflex Abrasives Inc.
                    P.O. Box 123
                    Riverside, NJ 08075

                    Crozier/Taylor/Springfield
                    PO Box 8500-5205
                    Philadelphia, PA 19178-5205

                    Crst Inc.
                    P.O. Box 71573
                    Chicago, IL 60694-1573

                    Cru International Ltd.
                    31 Mount Pleasant
                    London England
                    Wc1x0ad




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                    Crucible Service Centers
                    P.O. Box 360069m
                    Pittsburgh, PA 15251

                    Crucible Steel
                    585 North Michigan Ave.
                    Kenilworth, NJ 07033

                    Crystal Metal Prod. Co. Inc.
                    Attention: Kathy
                    2700 Castor Avenue
                    Philadelphia, PA 19134-5598

                    Crystal Motor Express, Inc.
                    3 Melvin Street
                    P.O. Box 501
                    Wakefield, MA 01880

                    Crystal Services
                    1095 W. Pender St.
                    Vancouver, British Columbia
                    V6e2m6


                    Cs Cororate Source
                    3111 Rt. 38 #11-139
                    Mount Laurel, NJ 08054

                    Cs Hyde Company
                    461 Park Avenue Suite 300
                    Lake Villa, IL 60046

                    CS Packaging Inc
                    1620 Fullerton Ct, Ste 200
                    Glendale Heights, IL 60139

                    Csg Technologies
                    214 W. Main Street
                    Suite L3
                    Moorestown, NJ 08057

                    Css Test
                    35 Kings Highway East
                    Suite 203
                    Haddonfield, NJ 08033




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                    Css Test
                    400 Laurel Oak Road
                    Suite 102
                    Voorhees, NJ 08043

                    Ctc Analytical Services
                    18419 Euclid Avenue
                    Cleveland, OH 44112-1016

                    Ctdnews
                    P.O. Box 239
                    Haverford, PA    19041

                    Ctii
                    P.O. Box 80
                    Warren, MI 48090

                    Ctii
                    PO Box 80
                    Warren, MI    48090

                    Cts Distribution (U.S.), Inc.
                    1525 N. Ih 35e
                    Suite 208
                    Carrollton, TX 75006

                    Cue Paging Corp.
                    P.O. Box 7789
                    Newport Beach, CA     92658

                    Culligan Water
                    3113 West Ridge Pike
                    Eagleville, PA 19408

                    Cullman Times
                    300 Fourth Avenue S.E.
                    Cullman, AL 35055

                    Cumberland Co. Probation
                    Dept.
                    P.O. Box 796
                    Bridgeton, NJ 08302

                    Cumberland Co. Probation
                    Broad & Fayette Streets
                    PO Box 543
                    Bridgeton, NJ 08302



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                    Cumberland Recycling Corp.
                    702 Southwest Blvd.
                    Vineland, NJ 08360

                    Cummings & Lockwood
                    City Place I
                    Hartford, CT 06103

                    Cummings-Moore Graphite Co.
                    1646 North Green Avenue
                    Detroit, MI 48209

                    Cummins-Wagner
                    89 East Stewart Avenue
                    Lansdowne, PA 19050

                    Cuny & Guerber Inc.
                    2100 Kerrigan Avenue
                    Union City, NJ 07087

                    Curbell Plastics
                    844 Lenola Road
                    Moorestown, NJ 08057

                    Curbell Plastics
                    844 North Lenola Road
                    Moorestown, NJ 08057

                    Curcio Scrap Metal
                    416 Lanza Ave
                    Saddle Brook, NJ 07663

                    Curley & Curley, P.C.
                    27 School St.
                    Boston, MA

                    Curl's Rental Inc
                    707 N English St
                    Greensboro, NC 27405

                    Curtis Joints
                    P.O. Box 70038
                    Springfield, MA     01107-0038

                    Curtis Underwood
                    12 Petra Lane
                    Albany, NY 12205



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                    Curtis, Clark & Fairchild
                    255 Rt. 3 East
                    Suite 205
                    Secaucus, NJ 07094

                    Cushman Fab & Machine, Inc.
                    426 Dolan
                    Kincheloe, MI 49788

                    Custom Abrasive Prod. Co.
                    Inc.
                    100 Lexington Avenue
                    Trenton, NJ 08616-2381

                    Custom Automated Machinery
                    615 Thompson Street
                    Florence, AL 35630

                    Custom Cassette And Graf-X
                    3809 Third Street NE
                    Columbia Heights, MN 55421

                    Custom Companies
                    PO Box 94338
                    Chicago, IL 60678-4338

                    Custom Craft Plastics
                    100 King Arthur's Court
                    PO Box 6029J
                    North Brunswick, NJ 08902

                    Custom Creations
                    202 Highway 72 East
                    Carinth, MS 38834

                    Custom Creative Plastics
                    13601 Sw 143rd Court, Unit
                    103
                    Miami, FL 33186

                    Custom Electric Manu. Co.
                    48941 West Road
                    Wixom, MI 48393




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                    Custom Extruders, Inc.
                    PO Box 187
                    Roberts Road
                    Pine Grove, PA 17963

                    Custom Iron Shop Inc
                    PO Box 2633
                    Wilmington, DE 19805

                    Custom Litho
                    6005 S.Route 130
                    Pennsauken, NJ 08105

                    Custom Manufactured Products
                    1100 W. Indiana Avenue
                    Philadelphia, PA 19133

                    Custom Manufacturing Corp.
                    2542 State Road
                    Bensalem, PA 19020

                    Custom Manufacturing Corp.
                    2542 State Road
                    Bensalem, PA 19020

                    Custom Spec Systems
                    1553 Hamilton Avenue
                    Cleveland, 0H 44114-1107

                    Custom Window
                    PO Box 3000
                    Taylors, SC 29687

                    Customer Choice Trans. Inc.
                    107 Green Street
                    Hulmeville, PA 19047-5543

                    Customer Choice
                    Transportation
                    107 Green Street
                    Hulmeville, PA 19047-5543

                    Customer Perspectives
                    213 West River Road
                    Hooksett, NH 03106-2628




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                    Custom-Pak
                    86-16th Avenue
                    Clinton, IA 52732

                    Cut Mark
                    PO Box 906
                    Mt. Laurel, NJ    08054

                    Cut-Mark
                    801 South Church Street
                    Mt. Laurel, NJ 08054-2572

                    Cuyahoga County Support
                    Enforcement Agency
                    P.O. Box 93318
                    Cleveland, OH 44101-5318

                    Cycle Systems Inc.
                    Box 611
                    2580 Broadway S.W.
                    Roanoke, VA 24004

                    Cygnus Business Media
                    Box 68-9528
                    Milwaukee, WI 5329528

                    Cypress Ace Hardware
                    11655 Jones Rd
                    Houston, TX 77070

                    Cyprus Chamber Of Commerce
                    And Industry
                    PO Box 1455
                    1509 Nicosia
                    Cyprus

                    Cystic Fibrosis Foundation
                    "Wishes And Dreams"
                    1601 Market Street
                    Suite 2310
                    Philadelphia, PA 19103

                    D & A Associates
                    90 North Kings Highway
                    Cherry Hill, NJ 08034




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                    D & B General Contractors Inc
                    1613 Carpenter St
                    Philadelphia, PA 19146

                    D & B
                    75 Remittance Drive
                    Suite 1793
                    Chicago, IL 60675-1793

                    D & D Technologies
                    7731 Woolwind Dr.
                    Huntington Beach, CA      92647

                    D & K Laminex, Inc.
                    Dept 77-6050
                    Chicago, IL 60678-6050

                    D & N Sporting Goods
                    113 West Park Drive
                    Mt. Laurel, NJ 08054

                    D & N Water Cooler Sales
                    P.O. Box 175
                    Clarksboro, NJ 08020

                    D & R Lawnmower Repair
                    130-D Harding Ave.
                    Bellmawr, NJ 08030

                    D H L Express (Usa) Inc
                    PO Box 4723
                    Houston, TX 77210 4723

                    D H L Worldwide Express
                    PO Box 905143
                    Charlotte, NC 28290 5143

                    D J R Logistics Inc
                    23 Independence Ct
                    Folcroft, PA 19032

                    D Xenos Associates
                    2045 W Grand Ave
                    Chicago, IL 60612 1501

                    D Z Sunshine Sales Inc
                    450 Rivera Bay Dr Ne
                    St Petersburg, FL 33702 2706


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                    D&S Express Inc.
                    P.O. Box 145
                    Bound Brook, NJ 08805

                    D. Kent Gilliam, P.C.
                    211 Ruthers Road, Suite 204
                    PO Box 36321
                    Richmond, VA 23235

                    D. Nast Machinery Co
                    206 Lincoln Ave
                    Hatboro, PA 19040

                    D. Nast Machinery Co.
                    800 Norristown Road
                    Po Box 875
                    Springhouse, PA 19477

                    D. Oettinger Trading, Inc.
                    12 Normandy Road
                    Marlton, NJ 08053

                    D.A.T.A. Den
                    1901 Train Avenue
                    Cleveland, OH 44113

                    D.P. Brown Of Pa., Corp.
                    710 E. Street Road
                    Bensalem, PA 19020

                    D.P. Brown
                    710 E Street Rd
                    Bensalem, PA 19020-7322

                    D.R. Cordell & Assoc. Inc.
                    95 West Butler Avenue
                    Chalfont, PA 18914

                    D.R. Sperry & Co.
                    P.O. Box 71842
                    Chicago, IL 60694-1842

                    D/M Consultants
                    46 Locust Avenue
                    Yardville, NJ 08620-1716




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                    Dac Products, Inc.
                    100 Century Point Drive
                    East Bend, NC 27018

                    Dale-Pak Corporation
                    3602 N. Mill Road
                    Vineland, NJ 08360

                    Dallas & Mavis Specialized
                    Carriers Co.
                    Dept. 77-4939
                    Chicago, IL 60678-4939

                    Dallas Laboratories, Inc.
                    P.O. Box 152837
                    1323 Wall Street
                    Dallas, TX 75315

                    Dallas Transfer
                    & Terminal Warehouse
                    PO Box 224301
                    Dallas, TX 752224301

                    Dalton Directory
                    410 Lancaster Avenue
                    Haverford, PA 19041

                    Dalziel Supply World
                    920 E Carroll St
                    Kissimmee, FL 34744

                    Damack
                    7101 Winnetka Ave N.
                    P.O. Box 9437
                    Minneapolis, MN 55440-9437

                    Dameon Galeone
                    942 Edgewood Lane
                    Langhorne, PA 19053

                    D'amico Concrete Construction
                    336 Red Lion Rd.
                    Southampton, NJ 08088




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                    Damon & Morey LLP
                    1000 Cathedral Place
                    298 Main St
                    Buffalo, NY 14202-4096

                    Dan C. Lowe
                    6515 Walton Heath
                    Houston, TX 77069

                    Dan Falcone
                    57 Brownback Rd.
                    Apt. 2
                    Linfield, PA 19468

                    Dan O'connell
                    145 Mayberry Road
                    Gray, ME 04039

                    Dana Transport
                    51 Crown Point Road
                    Paulsboro, NJ 08066

                    Danaher Controls
                    1675 Delany Road
                    Gurnee, IL 60031

                    Danaher Industrial Controls
                    Elizabethtown
                    2100 West Broad Street
                    Elizabethtown, NC 28337

                    Danair, Inc.
                    PO Box 2577
                    Elko, NV 89803-2577

                    Dance Odyssey
                    C/O 23 Snowfield Drive
                    Glassboro, NJ 08028

                    Dane Industries
                    5400 Nathan Lane North
                    Plymouth, MN 55442

                    Daniel B Gross
                    55 St Moritz Ln
                    Cherry Hill, NJ 08003




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                    Daniel Carpey
                    532 Foxglove Ln
                    Wynnewood, PA 19096

                    Daniel Eachus
                    137 Peterson Blvd
                    Deptford, NJ 08096

                    Daniel F. Brent
                    239 Shady Brook Lane
                    Princeton, NJ 08540

                    Daniel Haidet
                    4920 S. First St. #15
                    Murrells Inlet, SC 29576

                    Daniel R Mcnair Jr
                    1208 Brookview Cir
                    Marlton, NJ 08053

                    Daniel Suchodolski, LLC
                    114 Lawnton Road
                    Willow Grove, PA 19090

                    Daniel V. Griffin
                    14048 Erwin Street
                    Phialdelphia, PA 19116

                    Daniel V. Walker Inc.
                    PO Box 467
                    Buckingham, PA 18912

                    Danieli Corporation
                    600 Cranberry Woods Dr.
                    Cranberry Township, PA 16006

                    Danieli-Breda Extrusion And
                    Forging Presses S.P.A.
                    Viale Fulvio Testi, 124
                    20092 Cinisello
                    Balsamo

                    Danik Stainless, Inc.
                    446 Getty Ave
                    Clifton, NJ 7001




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                    Danka Corporation
                    12 Edison Place
                    Springfield, NJ 07081

                    Danly Die Set
                    PO Box 99897
                    Chicago, IL 60696-7697

                    Danly Iem
                    255 Industrial Parkway
                    Ithaca, MI 48847

                    Danly Machine
                    2115 South 54th Ave
                    Chicago, IL 60650

                    Dap Technologies
                    875 Charest Blvd. West
                    Suite 200
                    Quebec City Canada
                    Qc G1n 2c9

                    Dapa Products
                    3130 Industrial Drive.
                    Jasper, AL 35501

                    Dar James Deniers
                    Rr#1 Box 480
                    Jeffersonville, NY     12748

                    Darex Corporation
                    P.O. Box 277
                    Ashland, OR 97520

                    Darmex
                    71 Jane Street
                    Roslyn Hts, NY    11577

                    Darrow Instruments
                    112 S. Broadway
                    Gloucester City, NJ       08030

                    Darryl Hurd
                    1801 Wyckwood Ct
                    Wilmington, DE 19803-3957




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                    Dart Metals Trading Co
                    19 Colonial Drive
                    Suite 26
                    Youngstown, OH 44505

                    Dart Metals Trading Co.
                    P.O. Box 93825
                    Cleveland, OH 44101

                    Dart Transit Company
                    Cm 9427
                    St. Paul, MN 55170-0301

                    Dart Transit Company
                    Cm 9427
                    St. Paul, MN 55170-0301

                    Dartek
                    PO Box 4135
                    Naperville, IL    60567-4135

                    Data Broadcasting Corp.
                    P.O. Box 8089
                    Foster City, CA 94404-8089

                    Data Comm Warehouse
                    1720 Oak Street
                    P.O. Box 301
                    Lakewood, NJ 08701-9885

                    Data Comm Warehouse
                    PO Box 8934
                    Boston, MA 02266-8934

                    Data Engineering
                    6625 Jason
                    Houston, TX 77074

                    Data Link Technologies
                    3873 C Airport Way
                    P. O. Box 9754
                    Bellinham, WA 98227-9754

                    Data Source Solutions
                    4001 Kennett Pike
                    Suite 647
                    Wilmington, DE 19807



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                    Dataman Sales And Service
                    P.O. Box 51570
                    Knoxville, TN 37950-1570

                    Datastorm Technologies, Inc.
                    P.O. Box 1471
                    Columbia, MO 65205-1471

                    Datastream Systems Inc.
                    50 Data Stream Plaza
                    P.O. Box 60678
                    Charlotte, NC 28260

                    Datastream Systems, Inc.
                    50 Datastream Plaza
                    Greenville, SC 29605

                    Dats Trucking Inc
                    PO Box 910550
                    St George
                    Ut 84791 0550

                    Dattner Tool & Mold Co.
                    876 N. Lenola Road
                    Unit 3-H
                    Moorestown, NJ 08057

                    Dauphin Electric
                    3315 Concord Rd
                    York, PA 17402-0073

                    Davalyn Corporation
                    1240 Sussex Turnpike, Ste B
                    Randolph, NJ 07869

                    Dave Flowe
                    C/O Norandex
                    1601 Crums Lane
                    Louisville, KY 40216

                    Dave Lyon
                    1315 Flintlock Drive
                    Greenwood, IN 46143

                    Dave Miles
                    420 North Street
                    Ahoskie, NC 27910



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                    Dave Plyler
                    1920 Youngstown-
                    Kingsville Rd Ne
                    Vienna, OH 44473

                    Dave Tripp
                    17 Melrose Addition
                    Washington, WV 26181

                    David A. Smith Plumbing & Htg
                    221 Mardale Drive
                    Somerdale, NJ 08083

                    David Asnes
                    139 Ayrshire Ln
                    Avon, CT 06001

                    David Childs
                    Tax Assessor-Collector
                    PO Box 139066
                    Dallas, TX 75313 0966

                    David Coates
                    Norandex Okla City
                    4326 Sw 21
                    Oklahoma City, OK 73108

                    David Cornett
                    255 Sunrise Drive
                    Elizabethton, TN 37643

                    David Feldman
                    Graphic Design & Mktg Cons.
                    Seven Forest Wood
                    Toronto Ontario Canada
                    M5N 2V5

                    David Friday
                    C/O Grass Roots Sales & Mktg
                    Inc
                    4128 Stonemill Dr
                    High Point, NC 27265




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                    David Ginsburg
                    C/O Vanco Inc.
                    1170 Florence Road
                    P.O. Box 98
                    Florence, NJ 08518

                    David Jenofsky
                    8716 Hargrave Street
                    Philadelphia, PA 19152

                    David Kammer
                    Rr# 1 Box 39a
                    Vernon, VT 5354

                    David L. Garfield Associates
                    1307 White Horse Road
                    Bldg B. Staffordshire Prof
                    Ctr
                    Voorhees, NJ 08043

                    David Lee
                    Room 204, No 4, Lane 3
                    Sha Yong Xin Cun, Fang Cun
                    District
                    Guang Zhou
                    China
                    Guang Dong

                    David Lycan
                    PO Box 188
                    Prichard, WV 25555

                    David Olive
                    11448 New Zion Road
                    Christiana, TN 37037

                    David Round And Son, Inc.
                    P.O. Box 39456
                    32405 Aurora Road
                    Cleveland, OH 44139-2880

                    David Schroeder
                    1325 Centennial Road
                    Narberth, PA 19072




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                    David Smith
                    2225 Strasburg Rd
                    Coatesville, PA 19320

                    David T. Lang
                    21 Waverly Drive
                    Lumberton, NJ 08060

                    David Tosta
                    C/O Apple Valley Spa Repair
                    112 Littlefawn Road
                    Southington, CT 06489-1734

                    David Triplett
                    W.E. Sale & Son
                    14862 Elkin Highway 268
                    Ronda, NC 28670

                    David V Friday
                    365 Second Ave
                    Phoenixville, PA 19460

                    Davidson Collision Center
                    3718 Bristol Pike
                    Bensalem, PA 19020

                    Davidson Publishing Company
                    3452 Lake Lynda Dr.
                    Suite 363
                    Orlando, FL 32817

                    Davinci Graphics, Inc.
                    433 B Horsham Road
                    Horsham, PA 19044

                    Davis Enterprises
                    6000 Sagemore Dr, Ste 6301
                    Marlton, NJ 08053

                    Davis Entryways
                    21300 W. 8 Mile Road
                    Southfield, MI 48075

                    Davis Instruments
                    625 East Bunker Court
                    Vernon Hills, IL 60061-1844




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                    Davison Publishing
                    3452 Lake Lynda Dr.
                    Suite 363
                    Orlando, FL 32817

                    Davison Publishing
                    3452 Lake Lynda Dr. Suite 363
                    Orlando, FL 32817

                    Dawg Inc.
                    25 Lassy Court
                    Terryville, CT 06786

                    Dawn-Shirre Hines Sgt. At
                    Arms
                    Special Civil Part Suite 110
                    101 S. Fifth Street
                    Camden, NJ 08103

                    Dawson Engineering, Inc.
                    114 Trenton Road-Rear
                    Fairless Hills, PA 19030

                    Day Engin. (Now Dayco Inc.)
                    680 Hollow Road
                    Phoenixville, PA 19460

                    Day Timers, Inc
                    PO Box 27013
                    Lehigh Valley, PA     18002-7013

                    Dayco Incorporated
                    325 Circle Of Progress
                    Pottstown, PA 19464

                    Daylight Transport LLC
                    PO Box 93155
                    Long Beach, CA 90809

                    Daylight Transport
                    3200 Hooper Ave
                    Los Angeles, CA 90011

                    Daylight Transport, LLC
                    PO Box 93155
                    Long Beach, CA 90809




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                    Day-Timers, Inc.
                    P.O. Box 27013
                    Lehigh Valley, PA     18002-7013

                    Dayton Freight
                    PO Box 340
                    Vandalia, OH 45377

                    Dayton Precision Punch Inc.
                    4900 Webster Street
                    Dayton, OH 45414-4831

                    Dayton Precision Punch, Inc.
                    1875 Radio Road
                    Dayton, OH 45431

                    Db Engineering
                    2239 Valwood Parkway
                    Dallas, TX 75234

                    Dci-Digital Color Image
                    5055 Central Highway
                    Pennsauken, NJ 08109

                    Dck Construction
                    And Ironworks Inc
                    2730 E Lehigh Ave
                    Philadelphia, PA 19125 4031

                    Dd&S Express Inc.
                    6600 Frankford Avenue
                    Baltimore, MD 21206

                    Ddp Roofing
                    20 Conchester Rd.
                    Glenmills, PA 19342

                    Ddt, Inc.
                    200 Pierce Rd
                    Jacksboro, TN    37757

                    De Falco Transmissions, Inc.
                    2751 Bristol Pike
                    Bensalem, PA 19020

                    De Lage Financial Services
                    PO Box 41601
                    Philadelphia, PA 191011601


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                    De Lage Landen Financial
                    Services Inc
                    Account Services
                    1111 Old Eagle School Rd
                    Wayne, PA 19087

                    De Silvio & Co., Inc.
                    P.O. Box 240
                    Cedar Brook, NJ 08018

                    Deacon Indust. Supply Co.,
                    Inc
                    165 Boro Line Road
                    King Of Prussia, PA 19406

                    Dead Sea Magnesium Inc.
                    49050 Schoenherr Road
                    Suite 300
                    Shelby Township, MI 48315

                    Dead Sea Magnesium Ltd.
                    Po Box 1195
                    Beer Sheva
                    84111
                    Israel

                    Dead Sea Magnesium Ltd.
                    Po Box 5019
                    Grand Central Station
                    New York, NY 10163

                    Dean Paist
                    27 Byers Road
                    Ottsville, PA    18942

                    Deanna Di Meola
                    6 Florence Ct
                    Jackson, NJ 08527

                    Dearden Stationers, Inc.
                    633 Davisville Road
                    Willow Grove, PA 19090

                    Deaton, Inc.
                    Drawer # 1201
                    P.O. Box 830621
                    Birmingham, AL 35283-0621



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                    Deb Maintenance, Inc.
                    P.O. Box 13
                    Cinnaminson, NJ 08077

                    Debbie Franke Architectural
                    Photography, Inc
                    6419 Murdoch Avenue
                    St. Louis, MO 63109

                    Deborah Donegan
                    15035 London Rd
                    Philadelphia, PA     19116

                    Deborah Hospital Fund
                    149-04 61st Road
                    C/O Sharon Dandes,
                    Flushing, NY 11367

                    Deborah Mayhew
                    115 Harman Ave.
                    Springfield, MA     1118

                    Deborah Quaglio
                    Harrows
                    610 Route #110
                    Melville, NY 11747

                    Dec Service
                    701 Eastgate Dr.
                    Mount Laurel, NJ     08054

                    Decatur Daily
                    201 First Avenue Se
                    PO Box 2213
                    Decatur, AL 35609-22

                    Deck The Walls
                    Neshaminy Mall
                    Bensalem, PA 19020

                    Deco Products Company
                    506 Sanford Street
                    Decorah, IA 52101




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                    Decorative Glass
                    International
                    12 Stanley Court Unit 5
                    Ontario, Canada A L1n8p9

                    Dedicated Delivery Service
                    Inc
                    1519 Evans Pond Road
                    Greenwood, SC 29649

                    Deeghan Mfg
                    120 Derry Court
                    York, PA 17402

                    Deer Park Recycling, Inc.
                    955 Long Island Avenue
                    Deer Park, NY 11729

                    Deer Park Spring Water
                    PO Box 52271
                    Phoenix, AZ 85072-2271

                    Dees Corporation
                    8860 Kelso Drive
                    Baltimore, MD 21221

                    Defelsko Corporation
                    802 Proctor Avenue
                    Ogdensburg, NY 13699-0676

                    Defelsko Dorp.
                    802 Proctor Ave
                    P.O. Box 676
                    Ogdensburg, NY 13669

                    Deflesko Corporation
                    802 Proctor Avenue
                    P.O. Box 676
                    Ogdensburg, NY 13669-0676

                    Del Casale, Casey, Martin
                    & Manchello
                    Ten Penn Center Suite 636
                    1801 Market Street
                    Philadelphia, PA 19103




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                    Del Casale, Casey, Martin
                    & Manchello
                    Ten Penn Center Suite 636
                    1801 Market Street
                    Philadelphia, PA 19103

                    Del Industries
                    3428 Bullock Lane
                    San Luis Obispo, CA     93401

                    Del Mar Hardware Mfg.
                    1275 Eglinton Ave East
                    Units 50-51 Mississauga,
                     Mississauga, Canada A
                    L4W2Z2

                    Del Val Office
                    411 Haddon Ave.
                    Haddonfield, NJ     08033

                    Del Vel Chem Company
                    250 Old Marlton Pike
                    P.O. Box 67
                    Medford, NJ 08055

                    Del Vel Chem Company
                    250 Old Marlton Pike
                    PO Box 67
                    Medford, NJ 08055

                    Delage Landen Financial
                    Services Inc.
                    1111 Old Eagle School Road
                    Wayne, PA 19087

                    Delair Civic Association
                    P.O. Box 1185
                    Pennsauken, NJ 08109

                    Delair Group, LLC
                    22118 Network Place
                    Chicago, IL 60673-1221

                    Delaview Volunteer Fire Co.
                    Engine Company No. 5
                    511 Union Avenue
                    Delair, NJ 08110



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                    Delaware Avenue
                    Distribution Center Inc
                    700 Pattison Ave
                    Philadelphia, PA 19148

                    Delaware Express Company
                    PO Box 97
                    Elkton, MD 21922

                    Delaware River Port Auth.
                    PO Box 1949
                    Camden, NJ 08101-1949

                    Delaware Valley Box & Lumber
                    2651 E. State St.
                    Trenton, NJ 08619

                    Delaware Valley Chapter-Ngf
                    9 Dartmouth Ln
                    C/O Larry Kaliner
                    Haverford, PA 19041

                    Delaware Valley Door
                    240 S 69th St
                    Upper Darby, PA 19082 4101

                    Delaware Valley Industrial
                    Resource Ctr
                    2905 Southampton Road
                    Philadelphia, PA 19154-1270

                    Delaware Valley Pack & Seal
                    4106 Blanche Rd
                    PO Box 96
                    Bensalem, PA 19020

                    Delco Metals
                    3100 North Second Street
                    Philadelphia, PA 19133

                    Deleo
                    3256 Goodman St
                    Philadelphia, PA     19140

                    Delgard Permier Alum. Fencing
                    8600 River Road
                    Delair, NJ 08110



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                    Dell Account Dept57 000425708
                    P.O. Box 9020
                    Des Moines, IA 50368-9020

                    Dell Business Credit
                    PO Box 5275, Payment
                    Processing Center,
                    Carol Stream, IL 60197-5275

                    Dell Marketing L.P.
                    C/O Dell Usa L.P.
                    Box 371964
                    Pittsburgh, PA 15250-7964

                    Delmarva Chemicals
                    1149 Skippack Pike
                    Blue Bell, PA 19422

                    Deloitte & Touche L.L.P.
                    P.O. Box 7780-4037
                    Philadelphia, PA 19182-4037

                    Delphi Engineering
                    & Contracting, Inc.
                    P.O. Box # 9
                    Sewell, NJ 08080-0009

                    Delran Equipment Rental Corp
                    PO Box 1035
                    Delran, NJ 08075-0835

                    Delran Ford
                    P.O. Box 1510
                    Route 130
                    Delran, NJ 08075

                    Delri Industrial Supplies
                    1431-37 Chester Pike
                    PO Box 125
                    Crum Lynne, PA 19022-0125

                    Delta International Machinery
                    PO Box 640388
                    Pittsburg. Pa., PA 15264-
                    0388




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                    Delta International Parts
                    4290 East Raines Rd.
                    Memphis, TN 38118

                    Delta Machine Shop Inc.
                    1800 Nn Mearns Road
                    Warminster, PA 18974

                    Delta Phi Epsilon
                    Monmouth University
                    431 Cedar Ave, NJ 7764

                    Deltacomm Development, Inc.
                    P.O. Box 1185
                    Cary, NC 27512

                    Deltech Manufacturing Inc.
                    3910 Oaklawn Dr..
                    Louisville, KY 40219-2719

                    Deltronics Corporation
                    P.O. Box 446
                    22 Eastwood Street
                    Millville, NJ 08332

                    Deluxe Business Forms
                    PO Box 64230
                    St. Paul, MN 55164-0230

                    Delvacca
                    Association Of Corp. Counsel
                    Delaware Valley Chapter


                    Delval Equipment Corp.
                    431 Feheley Drive
                    King Of Prussia, PA 19406

                    Delval Equipment Corp.
                    431 Feheley Drive
                    King Of Prussia, PA 19406

                    Demand Products Inc.
                    1055 Nine North Drive
                    Alpharetta, GA 30004




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                    Demeo Construction Corp.
                    13 Chelsea Court
                    Marlton, NJ 08053

                    Dempsey Industries, Inc.
                    802 North Fourth Street
                    Miamisburg, OH 45342

                    Denise Dailyda
                    583 Starlight Ln
                    Williamstown, NJ 08094

                    Denise M Vogel
                    725 Park Ave
                    Palmyra, NJ 08065

                    Denise Wittkop
                    Dba D W Graphic Design
                    5 Centennial Ave
                    Medford, NJ 08055

                    Dennis Beliveau
                    85 Yaples Orchard Dr
                    Chillicothe, OH 45601

                    Dennis Callaghan & Associates
                    960 Maldon Court
                    Suite B
                    Blue Bell, PA 19422

                    Dennis Kidder Inc
                    107 Nonesuch Place
                    Irving, TX 75071

                    Dennis L. Coffey Machinery
                    Co.
                    12 Ravine Road
                    Verona, NJ 07044

                    Dennis Traxler
                    52033 Winding Waters Lane
                    Elkhart, IN 46514-5710

                    Dennis Tritt Custom Machines
                    6578 Hwy 801 S.
                    Mocksville, NC




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                    Dennis Trucking Co. Inc.
                    6951 Norwitch Drive
                    Philadelphia, PA 19153-3405

                    Dennis W. Briggs
                    4068 County Route 24
                    Russell, NY 13884

                    Department Of Finance &
                    Administration
                    PO Box 3861
                    Little Rock, AR 72203-3861

                    Department Of Motor Vehicles
                    Motor Carrier Services
                    PO Box 27415 2300 W. Broad
                    St
                    Richmond, VA 23269-0001

                    Department Of Motor Vehicles
                    Traffic Violations Plea Unit
                    P.O. Box 2950-Esp
                    Albany, NY 12220-0950

                    Department Of The Treasury
                    Internal Revenue Service
                    Cincinnati, OH 45999-0399

                    Department Of Transportation
                    Bureau Of Motor Vehicles
                    Harrisburg, PA 17106-8274

                    Dept. 57-0000425708
                    Dell Account
                    P.O. Box 9020
                    Des Moines, IA 50368-9020

                    Derek Raphael & Co., Ltd.
                    Clay Street
                    Sheffield
                    United Kingdom
                    S9 2pe

                    Deringer, Inc.
                    PO Box 1309
                    St Albans, VT 5478




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                    Derrick Lyons
                    102 Oak Street
                    Baltimore, MD 21222

                    Derse Exhibits/System Rental
                    Solutions
                    3350 W. Town Pkwy, Ste 200
                    Kennesaw, GA 30144

                    Desert Empire Transfer Strg
                    258 E. Commercial Road
                    San Bernardino, CA 92408-
                    4149

                    Desi Smith
                    271 Applewood Dr
                    Rochester, NY 14612

                    Design And Molding Services
                    25 Howard Street
                    Piscataway, NJ 08854

                    Design Equipment Systems,
                    Inc.
                    2841 Egypt Road
                    Audubon, PA 19403

                    Designed Metal Fabrication
                    LLC
                    2570 Franklin Drive
                    Vineland, NJ 08361

                    Designer Glass International
                    4 Chase Metro Center
                    7th Floor East, Lockbox #6429
                    Brooklyn, NY 11245

                    Desimone Cadillac
                    1315 Route 73 N.
                    Mt. Laurel, NJ 08054

                    Deskey Associates Inc
                    PO Box 63340
                    Cincinnati, OH 452633400




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                    Det Norske Veritas
                    Po Box 8500-9025
                    Philadelphia, PA 19178-9025

                    Detroit Coil Company
                    2435 Hilton Road
                    Ferndale, MI 48220

                    Detroit Newspapers
                    Dept 77708
                    Detroit, MI 48277-0708

                    Detroit Press
                    615 W. Lafayette Blvd
                    Detroit, MI 48226

                    Deublin Company
                    2050 Norman Drive West
                    Waukegan, IL 60085

                    Deutsch Consultants Inc.
                    518 Balsam Road
                    Cherry Hill, NJ 08003

                    Dev-Air Corporation
                    380 Morehall Road
                    Malvern, PA 19355-1223

                    Devco Corporation
                    Post Office Box 176
                    Wyckoff, NJ 07481

                    Devonne Moody
                    1150 Bibbs Rd, #8
                    Voorhees, NJ 08043

                    Dewalt Industrial Tool
                    1234 E. Lincoln Hywy.
                    Langhorne, PA 19047

                    Dewees Business Systems
                    P.O. Box 3840
                    26 Springdale Road
                    Cherry Hill, NJ 08034-0593

                    Dex Express, Inc.
                    PO Box 96
                    Folcroft, PA 19032


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                    Dgi Supply
                    95 Louise Drive
                    Suite B
                    Ivyland, PA 18974

                    D-G's Farms, Inc.
                    5448 Hulmeville Rd
                    Bensalem, PA 19020-3097

                    Dhl Airways, Inc.
                    P.O. Box 78016
                    Phoenix, AZ    85062-8016

                    Dhl Express (Usa) Inc
                    P.O, Box 4723
                    Houston, TX 77210-4723

                    Dhl Express (Usa), Inc.
                    P.O. Box 840032
                    Dallas, TX 75284-0032

                    Dhl Worldwide Express, Inc.
                    22128 Network Place
                    Chicago, IL 60673-1221

                    Di Central Corporation
                    1199 Nasa Parkway, Ste 101
                    Houston, TX 77058

                    Di Medio Lime Co
                    1815 Federal St.
                    Camden, NJ 08105

                    Di Medio Lime Co.
                    P.O. Box 1589
                    1805-23 Federal Street
                    Camden, NJ 08105-9998

                    Di Vincenzo's Pizza
                    1101 Cinnaminson Avenue
                    Cinnaminson, NJ

                    Diagnostic Imaging Inc.
                    PO Box 19697
                    Philadelphia, PA 19124-0697




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                    Diamond Freight Systems Inc
                    PO Box 884074
                    San Francisco, CA 94188 4074

                    Diamond Optical Lab Inc.
                    1049 Thomas Bush Highway
                    Pennsauken, NJ 08110

                    Diamond Roller Die Company
                    646-T Moore Road
                    Avon Lake, OH 44012

                    Diamond State Recycling
                    P.O. Box 9798
                    Wilmington, DE 19809

                    Diamond Transportation Group,
                    Inc.
                    PO Box 268
                    Philadelphia, PA 19105-0268

                    Diamond Transportation
                    Service
                    PO Box 268
                    Philadelphia, PA 19105

                    Diamonite Rotary Tools Inc.
                    P.O. Box 780
                    S.R. 1200
                    Columbia, NC 27925

                    Dick's Auto Service
                    411 W. Atlantic Ave
                    Atco, NJ 08004

                    Dickson Company
                    930 South Westwood Drive
                    Addison, IL 60101

                    Dictaphone Corporation
                    P.O. Box 856120
                    Louisville, KY 40285-6120




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                    Dictaphone
                    Unit D 401 & D 402
                    Fellowship Business Ctr.
                    520 Fellowship Rd.
                    Mt. Laurel, NJ 08054-3496

                    Die Sets Inc.
                    221 Nibert Road
                    Indiana, PA 15701

                    Die-A-Matic
                    PO Box 1422
                    York, PA 17405

                    Die-A-Matic/Rg Group
                    P.O. Box 2825
                    York, PA 17405

                    Diesel & Machining Serv. Inc.
                    P.O. Box 791
                    Turnersville, NJ 08012

                    Die-Tech Inc.
                    4504 Helton Drive
                    Florence, AL 35630

                    Dietz Roofing Company, Inc.
                    15 N. Pine Avenue
                    Maple Shade, NJ 08052

                    Digital Equipment Corporation
                    P.O. Box 100500
                    Atlanta, GA 30384

                    Dilley Manufacturing Company
                    215 East Third Street
                    Des Moines, IA 50309

                    Dilworth Paxson LLP
                    P.O. Box 2570
                    Cherry Hill, NJ 08034

                    Dimedio Lime
                    1815 Federal Street
                    Camden, NJ 08105




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                    Dimedio Lumber & Home Center
                    651 Cutler Avenue
                    Maple Shade, NJ 08052

                    Dimedio Lumber & Home Center
                    Rt. 38 & Cutler Avenue
                    Maple Shade, NJ 08052

                    Dimensional Plastics Corp.
                    1065 E 26th Street
                    Hialeah, FL 33013

                    Dimensions Iii Modeling
                    5205 S. Orange Avenue
                    Orlando, FL 32809

                    Dinapoli Recycling
                    3 Bayview Avenue
                    Po Box 183
                    Oyster Bay, NY 11771

                    Direct Express
                    500 North Hough Street
                    Suite 2
                    Barrington, NJ 60010

                    Direct Transit
                    PO Box 10313
                    Des Moines, IA    50331

                    Director Of Taxation
                    Division Of Taxation
                    Dept Of Revenue
                    Topeka, KS 66625-001

                    Directtv
                    P.O. Box 9001069
                    Louisville, KY 40290-1069

                    Dirtyblinds.Com
                    Of South Jersey
                    186 Columbia Ave
                    Thorofare, NJ 08086

                    Disc Makers Inc
                    7905 N Route 130
                    Pennsauken, NJ 08110



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                    Disc Makers
                    7905 N. Crescent Blvd.
                    Pennsauken, NJ 08110

                    Disclosure Incorporated
                    P.O. Box 360922
                    Pittsburgh, PA 15251-6922

                    Discount Fence Co.
                    6959 S. Crescent Blvd.
                    Pennsauken, NJ 08110

                    Discount Industrial Supply
                    Cor
                    912 Fifth Street West
                    Huntington, WV 25701

                    Discount Lock
                    67 S Semoran Blvd
                    Orlando, FL 32807

                    Discount Packaging
                    629 Hollywood Avenue
                    Cherry Hill, NJ 08003

                    Discover Card
                    PO Box 6011
                    Dover, DE 19903-6011

                    Discovery Channel
                    641 Lexington Ave
                    New York, NY 10022-4503

                    Dish Network
                    Dept 0001,

                     Palatine, IL    60055-0001

                    Dismar Corporation
                    4415 Marlton Pike
                    Pennsauken, NJ 08109

                    Dismar-Ultra For Kbc Boards
                    4415 Marlton Pike
                    Pennsauken, NJ 08109




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                    Display Design & Sales
                    11500-B Roosevelt Blvd
                    Philadelphia, PA 19116-3032

                    Disposal Consultant Service
                    743 Route 206
                    Hillsborough, NJ 08844

                    Distribution America
                    11111 Carmel Commons Blvd
                    Suite 240
                    Charlotte, NC 28226

                    Distribution Specialists,
                    Inc.
                    P.O. Box 41483
                    Philadelphia, PA 19101

                    District Attorney Family
                    Support Division
                    Post Office Box 19990
                    Riverside, CA 92502

                    District Court 07-1-01
                    2404 Byberry Rd
                    Bensalem, PA 19020

                    District Court 07-3-01
                    4001 Durham Road
                    Doylestown, PA 18901

                    District Court Of Maryland
                    Traffic Processing Center
                    PO Box 6676
                    Annapolis, MD 21401-0676

                    District Court
                    38-1-06
                    907 Montgomery Ave
                    Narberth, PA 19072

                    Diversified Automation &
                    Controls Inc.
                    301 Broad Street Unit 2
                    P.O. Box 7
                    Riverton, NJ 08077




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                    Diversified Collection
                    Service
                    PO Box 45959
                    San Francisco, CA 94145

                    Diversified Ind Equipment Inc
                    1144 Forrest St
                    Conshohocken, PA 194281435

                    Diversified Industrial
                    Equipment Co. Inc.
                    1145 Forrest Avenue
                    Conshohocken, PA 19428

                    Diversifield Plant Services
                    Tri-State Business Park
                    130 Hickman Road - 32b
                    Claymont, DE 19703

                    Diversi-Plast Products
                    7425-T Laurel Ave.
                    Minneapolis, MN 55426

                    Dixon Recyclers
                    328 N 14th St
                    Lebanon, PA 17042

                    Dixon Systems Components
                    P.O. Boc 2412
                    Farmingdale, NJ 07727

                    Djc Entertainment
                    2428 Route 38
                    Suite 208
                    Cherry Hill, NJ 08002

                    Dk Mold & Tool
                    100 N. Hayes Ave.
                    Wenonah, NJ O8090

                    Dlc Trucking Co.
                    450 Cove Road
                    Pennsauken, NJ 08110

                    Dlm Plastics Corporation
                    1530 Harvard Avenue
                    Findlay, OH 45840-1737



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                    Dm Industries
                    PO Box 540118
                    2320 N.W. 147th Street
                     Miami, FL 33054

                    Dmh Industrial Surplus
                    20 S Merion Avenue
                    Bryn Mawr, PA 19010

                    Dmi Home Supply
                    2541 Haverford Rd
                    Ardmore, PA 190032620

                    Dmi Home Supply
                    2541 Haversford Rd
                    Ardmore, PA 190032620

                    Dns Worldwide
                    Att: Invoicing Dept.
                    6 New England Executive Park
                    Burlington, MA 01803-5080

                    Dobrofsky & Co., Inc.
                    1145 Webster Avenue
                    Bronx, NY 10456

                    Doc-U-Search
                    PO Box 767
                    Concord, NH 03302-0767

                    Do-It-Best Corp
                    Box 868 Nelson Rd
                    Ft Wayne, IN 46801 0868

                    Dollinger Corporation
                    2499 Sw 60th Avenue
                    Ocala, FL 34474

                    Domestic Relations Section
                    P.O. Box 139
                    Media, PA 19063

                    Domestic Relations
                    40 East King Street
                    PO Box 83479
                    Lancaster, PA 17608-3479




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                    Dominic Fusco
                    1142 Passmore Street
                    Philadelphia, PA 19111

                    Dominion Metal & Refining Wks
                    700 Rue St Regis Sud
                    St. Constant
                    Quebec Canada
                    J5a 2e7

                    Dominion Metal & Refining Wks
                    C/O Bank Of Montreal
                    119 St. Jacques
                    Montreal, Quebec
                    H2y 1l6

                    Don Hemenway
                    PO Box 1061,
                    Middletown Springs, VT 05757

                    Don Mar Corporation
                    141 Route 94
                    Blairstown, NJ 07825

                    Don Millsaps & Associates
                    528 Manning Walk
                    Philadelphia, PA 19106

                    Don Oettinger
                    325 Surrey Road
                    Cherry Hill, NJ     08002

                    Don Rosen Cadillac
                    190 Presidential Blvd.
                    Bala Cynwyd, PA 19004

                    Donald B. Kelly
                    2008 Federal Street
                    Camden, NJ 08105

                    Donald Calhoun
                    C/O Central Building Supply
                    West Bassett St.
                    Rocky Mount, NC 27802




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                    Donald E. Grimme'
                    P.O. Box 2332
                    Cinnaminson, NJ 08077

                    Donald Grassi
                    324 Sunset Avenue
                    Penndel, PA 19047

                    Donald Haberle
                    Dba Cfo's To Go
                    14 Baydon Way
                    Medford, NJ 08055

                    Donald J Benner
                    3101 Stone Ridge Dr
                    Huntingdon, PA 16652

                    Donald J. Lineback
                    C/O Mercer Transportation Co.
                    P.O. Box 35610
                    Louisville, KY 40232

                    Donald L Beltz
                    27049 Sea Breeze Way
                    Wesley Chapel, FL 33543

                    Donald P. Horst Ph.D.


                    Donald Varney
                    C/O Northern Marketing Inc
                    Attn: John Coates
                    14-16 Brown St
                    Salem, MA 01970

                    Donald Yang
                    302, 7#, First Lane
                    Ping Kang Road, Shiqiao Town,
                    PAnyu District, Guang
                    511400
                    China

                    Donaldson Co / Torit Prod.
                    P.O. Box 96869
                    Minneapolis, MN 60693




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                    Donaldson Co., Inc.
                    Torit Division
                    140 S. Village Ave #100
                    Exton, PA 19341

                    Dongan Electric Mfg Co
                    2987 Tranklin
                    Detroit, MI 48207

                    Dongguan Jiawei Furniture
                    Fcty
                    3rd Industry District
                    Yangwu Dongguan City
                    Guangdong China

                    Don-Jo Manufacturing Inc
                    PO Box 929
                    Sterling, MA 01564

                    Donjon Marine Co., Inc
                    1250 Liberty Avenue
                    Hillside, NJ 07205

                    Donjon Marine Co., Inc
                    2453 Arthur Kill Road
                    Staten Island, NY 10309

                    Donna Iannetta
                    78 Saratoga Rd
                    Stratford, NJ 08084

                    Donnie Ray Brown
                    3346 Brown Circle
                    Cookeville, TN 38506

                    Donofrio Metals
                    P.O. Box 74
                    Gill Avenue
                    Rockaway, NJ 07866

                    Donovan's Automotive, Inc.
                    200 North Pavilion Avenue
                    Riverside, NJ 08075

                    Don's Westfield Auto Supply
                    7908 River Road
                    Delair, NJ 08110



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                    Doolan Industries Inc
                    1223 Church St
                    Mooretown, NJ 08057

                    Dooling Tire Co.
                    Industrial Tire Div.
                    2820 East Tioga
                    Philadelphia, PA 19134

                    Doran Associates
                    P.O. Box 118
                    East Hampton, CT 06424

                    Doran Sling & Assembly Corp.
                    265 Pennsylvania Ave.
                    Hillside, NJ 07205

                    Dorel Juvenile Group Inc
                    135 S Lasalle St, Dept 2154
                    Chicago, IL 606742154

                    Dorell Equipment, Inc.
                    832 Ridgewood Avenue
                    North Brunswick, NJ 08902

                    Dorian,Goldstein,Wisniewski &
                    Orchinik
                    Neshaminy Valley Commons
                    2410 Bristol Road
                    Bensalem, PA 19020

                    Dorothea Lavine
                    2412 Yonkers Road
                    Raleigh, NC 27604

                    Dosmatic U.S.A. Inc.
                    1230 Crowley Circle
                    Carrollton, TX 75006

                    Double Dog Communications
                    2615 Joppa Road
                    York, PA 17403

                    Doug Hunt
                    150 Warren Road
                    Statesville, NC     28625




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                    Douglas B Sikkel
                    The Douglas Group
                    PO Box 13513
                    Overland Park, KS     66282

                    Douglas Dibella
                    854 Brandywine Rd
                    West Chester, PA 19380

                    Douglas G. Bean Enterprises
                    Box 246 Rd #1
                    Greenlane, PA 18054

                    Dove Industries, Inc.
                    5025 E Cottman Ave
                    Philadelphia, PA 19135

                    Dovebid Valuation Services
                    Inc
                    2201 W. Royal Lane
                    Suite 220
                    Irving, TX 75063

                    Dow Corning Corporation
                    PO Box 70678
                    Chicago, IL 60673-0678

                    Doyle Machine Tool Sales Inc.
                    318 Springdale Ave.
                    Hatboro, PA 19040

                    Dozier Equipment
                    P.O. Box 290367
                    Nashville, TN 37229

                    Dp Mckay Cranston Hall
                    Cranston Hall Office
                    3314 Old Capital Trail
                    Wilmington, DE 19808 6235

                    Dp Technology Corp.
                    1150 Avenida Acaso
                    Camarillo, CA 93012




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                    Dr. Wojciech Z. Misiolek
                    Materials Engineering
                    Consultant
                    4671 Waterfall Drive
                    Macungie, PA 18062

                    Dr. Stanley J. Schwartz
                    409 Glenway Road
                    Erdenheim, PA 19038

                    Drache Usa Inc.
                    1001 Springwood Avenue
                    Unit 4b
                    Gibsonville, NC 27249

                    Draves
                    31 E. Wyncliffe Ave
                    Clifton Hts., PA 19018

                    Drawing Board
                    Greenswoods Industrial Park
                    PO Box 150460
                    Hartford, CT 06115-0460

                    Dreis & Krump Manufacturing
                    7400 South Loomis Boulevard
                    Chicago, IL 60636

                    Dreis & Krump Mfg. Co.
                    481 S. Governors Highway
                    Suite 2
                    Peotone, IL 60468

                    Dremel Service Center
                    4915 21st Street
                    Racine, WI 53406

                    Dresser Equipment Group, Inc.
                    C/O Mc Cullough Sales Corp.
                    Po Box 69
                    Chester Springs, PA 19425

                    Drever Company(Now Evans)
                    380 Red Lion Rd.
                    Huntingdon Valley, PA 19006




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                    Drexel University
                    3141 Chestnut Street
                    Philadelphia, PA 19104

                    Drive Control Systems
                    Electro-Sensors Inc
                    6111 Blue Circle Drive
                    Minnetonka, MN 55343-9108

                    Drpa E-Z Pass
                    420 N. 6th Street
                    Camden, NJ 08102

                    Drummond American
                    600 Corporate Woods Pkwy.
                    Vernon Hills, IL 60061-3165

                    Drydene Oil Company, Inc.
                    P.O. Box 64715
                    Baltimore, MD 21264-4715

                    Dsc Logistics/Kenner
                    30 E Airline And Kenner
                    Kenner, IL 70062

                    Dsc Logistics/Memphis Tn
                    135 S. Lasalle
                    Dept.2134
                    Chicago, IL 60674-2134

                    Dti International
                    P.O. Box 1758
                    Temecula, CA 92593

                    Du Charme, Mcmillen & Assoc.
                    6610 Mutual Drive
                    Fort Wayne, IN 46825

                    Dubell Lumber Co.
                    P.O. Box 1449
                    Medford, NJ 08055

                    Dubell Lumber
                    731 Cuthbert Boulevard
                    Cherry Hill, NJ 08002




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                    Dubin Metals, Inc.
                    2409 Bowdens Ferry Road
                    Norfolk, VA 23508

                    Dubin Paper Co.
                    1910 S. Columbus Blvd.
                    P.O. Box 924
                    Philadelphia, PA 19105-0924

                    Dublin Scrap Metal
                    41 Rizzalo Road
                    Kearny, NJ 07032

                    Ducker Research Company
                    6905 Telegraph Road
                    Suite 300
                    Bloomfield Hills, MI 48301

                    Duhamell Sales Associates
                    3610 W. Pioneer Pkwy, #123
                    Arlington, TX 76013

                    Dun & Bradstreet Corporation
                    Box 8500-5325
                    Philadelphia, PA 17178

                    Dun & Bradstreet
                    P.O. Box 75434
                    Chicago, IL 60675-5434

                    Dun & Bradstreet
                    PO Box 75949
                    Chicago, IL 60675-5949

                    Dunaway Inc.
                    P.O. Box 488
                    5959 Leffingwell Road
                    Canfield, OH 44406

                    Dunaway Machinery LLC
                    5959 Leffingwell Rd.
                    Canfield, OH 44406




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                    Dunhill Personnel Of
                    Cherry Hill, Inc.
                    1040 Kings Highway North
                    Suite 400
                    Cherry Hill, NJ 08034

                    Dunlap, Mellor & Co Inc
                    2107 E. Susquehana Ave
                    PO Box 15237
                    Philadelphia, PA 19125

                    Dunlap, Mellor & Co., Inc.
                    P.O. Box 2368
                    Aston, PA 19014

                    Duoyuan Plastic Production
                    Co.
                    Guantian Industry Estate
                    Shi Yan Town, Baoan District
                    Shenzhen, China

                    Duplication Factory
                    4275 Norex Drive
                    Chaska, MN 55318

                    Dupli-Fax Service
                    300 Commerce Square Blvd
                    Burlington, NJ 08016

                    Dupont Graphic Arts Ii Inc.
                    Cinnaminson Mall
                    Route 130
                    Cinnaminson, NJ 08077

                    Dupre Transport, Inc.
                    135 S Lasalle
                    Dept 1519
                    Chicago, IL 60674-1519

                    Durable Products Company
                    Dept L 1616
                    Columbus, OH 43260-1616

                    Duramic Abrasive Products
                    Inc.
                    24135 Gibson Drive
                    Warren, MI 48089



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                    Durant Tool Company
                    200 Circuit Drive
                    North Kingstown, RI     02852

                    Durant True Value #96339
                    115 S 3rd Ave
                    Durant OK 74701 5010

                    Duross, Inc
                    7921 Oxford Avenue
                    Philadelphia, PA 19111

                    Dutch Machine Company
                    2920 Phillips Road
                    Mt. Holly, NJ 08060

                    Dutch Nursery & Landscape,
                    Inc
                    3007 Haddonfield Road
                    Pennsauken, NJ 08110

                    Dvdm
                    Del. Val. Designer & Man.
                    809 Hylton Rd.
                    Pennsauken, NJ 08110

                    Dwight Mohler
                    8129 Caraway Drive
                    Orlando, FL 32819

                    Dwyer Instrument Inc.
                    Indiana 212 At U.S.12
                    Michigan City, IN 46360-0373

                    Dynacast Canada, Inc.
                    330 Avro Street
                    Pointe Claire
                    Quebec Canada

                    Dynamation Inc.
                    3784 Plaza Drive
                    Ann Arbor, MI 48108

                    Dynamic Auto Center
                    2730 Haddonfield Rd.
                    Pennsauken, NJ 08110




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                    Dynamic Auto Glass & Tint
                    2740 Haddonfield Road
                    Pennsauken, NJ 08109

                    Dynamic Digital Advertising
                    950 Street Road
                    Southampton, PA 18966

                    Dynamic Digital
                    950 Street Road
                    Southampton, PA     18966

                    Dynamic Feeds Inc
                    Po Box 5264
                    High Point, NC 27262

                    Dynamic Mat & Surface
                    2979 S. Delsea Drive
                    Vineland, NJ 08360

                    Dynamic Metals Incorporated
                    1713 South Second Street
                    Piscataway, NJ 08854

                    Dynamite Pest Control
                    279 South 52nd Street
                    Philadelphia, PA 19139

                    Dynapower Corporation
                    85 Meadowland Dr.
                    South Burlington, VT 05403

                    Dynasonics, Inc
                    522 West 5th Avenue
                    Napierville, IL 60563

                    Dynetics Corporation
                    30 Nashua Street
                    Woburn, MA 01801-4598

                    Dynisco
                    Four Commercial Street
                    Sharon, MA 2067

                    E & D Windows Services
                    913 Sweet Briar St
                    Charlotte, NC 28205



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                    E & M Sales Company
                    1879 Old Cuthbert Rd
                    Units 20 & 21
                    Cherry Hill, NJ 08034

                    E & P Trimwork
                    128 Cedar Point Dr
                    Mooresville, NC 28117

                    E & R Industrial Sales
                    23 Creek Circle
                    Boothwyn, PA 19061

                    E A P A
                    Starfest Catalogue
                    Attn: Cindy Singley
                    606 Muirfield Ct
                    Berwyn, PA 19312

                    E And F Auto Glass Place
                    2730 Haddonfield Rd
                    Pennsauken, NJ 08110

                    E E Stein
                    10 Anvil Court
                    Cherry Hill, NJ 08003

                    E J Miller & Sons Pool Co.
                    Rd #4 Box 208
                    Mifflinburg, PA 17844

                    E P S Associates Inc
                    257 E Lancaster Ave
                    Wynnewood, PA 190961932

                    E R I Safety Videos
                    P.O. Box 1257
                    Lexington, SC 29071

                    E T I LLC
                    Centennial Ctr, Ste 106
                    175 Cross Keys Rd
                    Berlin, NJ 08009




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                    E&T Plastic Mfg. Co. Of N.J.
                    824 East Gate Drive
                    Suite E
                    Mt. Laurel, NJ 08054

                    E.D.S. Lock & Safe Service
                    1202 Lowell Ave
                    Bensalem, PA 19020

                    E.E. Goldberg & Sons
                    3100 E. Ontario
                    Philadelphia, PA 19134

                    E.J. Lydon
                    1432 S. Pleasant Dr.
                    Feasterville, PA 19053

                    E.O. Habhegger Co. Inc.
                    460-462 Penn Street
                    Yeadon, PA 19050

                    E.P. Heller Co.
                    P.O. Box 26
                    21-25 Samson Avenue
                    Madison, NJ 07940

                    E.S.P., Inc.
                    8105 Perry Highway
                    Pittsburgh, PA 15237-5234

                    E.T. Saba Associates, Inc.
                    916 S. Ott Street
                    Allentown, PA 18103

                    E.Thomas Brett Bus. Machines
                    440 Horsham Road
                    Horsham, PA 19044

                    E.Thomas Brett Bus. Machines
                    440 Horsham Road
                    Horsham, PA 19044

                    E.W. Wylie Corporation
                    P.O. Box 1188
                    222-40th Street S.W.
                    Fargo, ND 58107




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                    E.W.A. Truck Repairs
                    72 Walnut Street
                    Woodbury, NJ 08096

                    E2b Distributors
                    71 Milbar Blvd.
                    Famingdale, NY 11735

                    Eachus, Daniel
                    137 Peterson Blvd
                    Deptford, NJ 08096

                    Eagle Consulting &
                    Development
                    170 Kinnelon Road
                    Suite 3
                    Kinnelon, NJ 07405

                    Eagle Consulting And
                    Deveolopment Corporation
                    135 Kinnelon Road, Suite 3
                    Kinnelon, NJ 07405

                    Eagle Engineering Corp.
                    8869 Citation Road
                    Baltimore, MD 21221

                    Eagle Equipment Corporation
                    PO Box 99
                    Uwchland, PA 19480

                    Eagle Fence And Supply Inc
                    3220 Route 22 West
                    Branchburg, NJ 08876

                    Eagle Global Logistics
                    P.O. Box 844650
                    Dallas, TX 75284-4650

                    Eagle Group, Ltd.
                    8384 West Peck Rd
                    Greenville, MI 48838

                    Eagle Pneumatic Inc.
                    3902 Industry Blvd.
                    Lakeland, FL 33811




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                    Eagle Pneumatic
                    3902 Industry Blvd.
                    Lakeland, FL 33811

                    Eagle Technology Inc.
                    10500 N. Port Washington Road
                    Mequon, WI 53092

                    Eagle Usa
                    P.O. Box 844650
                    Dallas, TX 75284-4650

                    Earle M. Jorgensen Company
                    58 Cabot Blvd
                    Langhorne, PA 19047

                    Earle's Tire Service Of NJ
                    308 Rising Sun Road
                    P.O. Box 428
                    Bordentown, NJ 08505

                    Earthlink
                    PO Box 7645
                    Atlanta, GA    30357-0645

                    Easco Aluminum
                    706 South State St.
                    P.O. Box 80
                    Girard, OH 44420

                    Easco Aluminum
                    P.O. Box 640918
                    Pittsburgh, PA 15264-0918

                    East Coast Concrete Cutting
                    Inc.
                    2021 State Highway 38
                    Po Box 187
                    Hainesport, NJ 08036

                    East Coast Dj Services, Inc.
                    7124 Rising Sun Ave
                    Philadelphia, PA 19111-3957

                    East Coast Recycling
                    3301 Tulip St
                    Philadelphia, PA 19134



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                    East Coast Steel Inc.
                    P.O. Box 421
                    Rt 47 & Salina Rd.
                    Sewell, NJ 08080

                    East Coast Transport
                    & Logistics, LLC
                    PO Box 1000, Dept 340
                    Memphis, TN 38148-0340

                    East Penn Machine Co.
                    P.O. Box 3245
                    Allentown, PA 18106

                    East Penn Machinery Co
                    801 Broad St
                    PO Box 285
                    Emmaus, PA 18049

                    Eastern Aluminum Supply
                    Of Virginia Inc
                    1351 W Pembroke Ave
                    Hampton, VA 23661

                    Eastern Cnc Inc.
                    101 Wilton Ave.
                    Middlesex, NJ 08846

                    Eastern Comfort Inc.
                    1344 Unruh Street
                    Phila., PA 19111

                    Eastern Comfort, Inc.
                    1344 Unruh Street
                    Philadelphia, PA 19111

                    Eastern Door Service Inc.
                    P.O. Box 591
                    Maple Shade, NJ 08052

                    Eastern Energy Marketing,
                    Inc.
                    P.O. Box 640051
                    Pittsburgh, PA 15264-0051




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                    Eastern Engineering & Sales
                    25 W. Howard St
                    Quincy, MA 02169

                    Eastern Fluid And Power
                    43 Newark Way
                    PO Box 129
                    Maplewood, NJ 07040

                    Eastern Freight Ways, Inc.
                    212 Black Horse Lane
                    North Brunswick, NJ 08902

                    Eastern High Voltage, Inc.
                    P.O. Box 8481
                    Trenton, NJ 08850

                    Eastern Lift Truck
                    Rt 73 & Linwood Ave
                    PO Box 307
                    Maple Shade, NJ 08052

                    Eastern Lift Truck
                    Rt. 73 And E. Linwood Avenue
                    Maple Shade, NJ 08052

                    Eastern Medical Associates
                    PO Box 7780-4023
                    Philadelphia, PA 19182

                    Eastern Metal Supply Of Mo.
                    13161 Lakefront Drive
                    Suite B
                    Earth City, MO 63045

                    Eastern Metal Supply Of N.C.
                    2925 Stewart Creek Blvd
                    Charlotte, NC 28216

                    Eastern Motion Controls
                    P.O. Box 567
                    Thorofare, NJ 08086

                    Eastern Process Instruments
                    601 Summer Street
                    Lynn, MA 01905




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                    Eastern Rail Systems, Inc.
                    31 Friends Lane
                    Newton, PA 18940

                    Eastern States Steel
                    PO Box 7076
                    Audubon, PA 19407

                    Eastland Group
                    13440 Damar Drive
                    Philadelphia, PA 19116

                    Eastland
                    13440 Damar Drive
                    Philadelphia, PA 19116

                    Eastman Technology
                    PO Box 710375
                    Cincinnati, OH 45271-0375

                    Eastman Worldwide
                    779 Washington Street
                    Buffalo, NY 14203-1396

                    Easy Pickins Auto Parts
                    440 Mainn St.
                    Sewell, NJ 08080

                    Easylink Services
                    International Corporation
                    Box 510473
                    Philadelphia, PA 19175-0473

                    Eaton Corporation
                    P.O. Box 6033n
                    Cleveland, OH 44193-0041

                    Ecco Process & Control Equip
                    452 Parkway
                    P.O. Box 210
                    Broomall, PA 19008

                    Eclipse Combustion, Inc.
                    Dept. 600-6015
                    P.O. Box 94020

                     Palatine, IL    60094-4020



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                    Eclipse Thermal Systems
                    320 Sked Street
                    Pennington, NJ 08534

                    Eco Tec, Inc.
                    1145 Squires Beach Road
                    Pickering, Ontario Canada
                    L1w 3t9

                    Ecofill Int. B.V.
                    Produktieweg 30
                    Nl 2382 Pc Zoeterwoude
                     Netherlands

                    Ecom-411
                    102 West Service Rd.
                    Champlain, NY 12919

                    Ecompressedair
                    7255 East 46th Street
                    Tulsa, OK 74145

                    Econco
                    1318 Commerce Avenue
                    Woodland, CA 95776

                    E-Conolight
                    1501 96th Street
                    Sturtevant, WI 53177

                    Economy Hardware
                    2242 65th St
                    Brooklyn, NY 112044058

                    Economy Spring & Stamping
                    29 De Paolo Drive
                    PO Box 651
                    Southington, CT 06 489

                    Ecracom, Inc.
                    P.O. Box 421
                    Ramsey, NJ 07446

                    Ed & Mark's Locksmith
                    7615 National Pike
                    Uniontown, PA 15401 5108




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                    Ed & Sons Inc.
                    708 East Main Street
                    Maple Shade, NJ 08052

                    Ed Bluestein
                    10503 Lexington Circle S
                    Boynton Beach, FL 33426

                    Ed Scannapieco Plumbing Inc.
                    2824 Hargrave Street
                    Philadelphia, PA 19136

                    Ed Schorpp
                    939 Edgewood Lane
                    Langhorne, PA 19053

                    Ed Stoyanoff Scholarship
                    Fund


                    Edge Seal Technologies
                    PO Box 75673
                    Cleveland, OH 44101

                    Edgehill Ace Hardware
                    26012 Cox Ed
                    Petersburg, VA 23803 6566

                    Edgemere Terminals, Inc.
                    8004 Stansbury Road
                    Baltimore, MD 21222

                    Edgewater Building Supply
                    704 Woodlane Road
                    Beverly, NJ 08010

                    Edgewater Building Supply
                    PO Box 242
                    Cedar Brook, NJ 08018 0242

                    Edgewater Building Supply,
                    Inc
                    P.O. Box 242
                    Cedar Brook, NJ 08018

                    Edifice, Inc.
                    PO Box 36349
                    Charlotte, NC    28236


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                    Edinburg Fixture & Machine
                    3101 State Route 14
                    Rootstown, OH 44272

                    Edker Industries
                    1401 Union Landing Road
                    Cinnaminson, NJ 08077

                    Edm Performance Accessories
                    1400 Pioneer St
                    Brea, CA 92621

                    Edm Solutions, Inc.
                    17w697h Roosevelt Road
                    Suite 126
                    Oakbrook Terace, IL 60181

                    Edmund Scientific
                    101 East Gloucester Pike
                    Barrington, NJ 08007

                    Edmunds Auto Body
                    3437 Haddonfield Road
                    Pennsauken, NJ 08109

                    Edmund's Auto Body, Inc.
                    3437 Haddonfield Road
                    Pennsauken, NJ 08110

                    Edson Corporation
                    146 Duchaine Blvd
                    New Bedford, MA 02745

                    Educational Resources, Inc.
                    P.O. Box 1257
                    Lexington, SC 29071-1257

                    Educational Seminars, Inc.
                    2702 N. Third St
                    Suite 4014
                    Phoenix, AZ 85004

                    Edward Cruz
                    925 N 19th St
                    Camden, NJ 08105




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                    Edward D. Jacobs
                    142 Temple Street
                    PO Box 1952
                    New Haven, CT 06 509

                    Edward J Stevens
                    315 Pearl St
                    Moorestown, NJ 08057

                    Edward Kurth & Sons, Inc.
                    220 Blackwood-Barnsboro Rd
                    Sewell, NJ 08080

                    Edward Moskow Studio
                    7565 Haverford Ave
                    Phialdelphia, PA 19151

                    Edward S. Mcconnell
                    Associates
                    P.O, Box 2202
                    Cherry Hill, NJ 08034

                    Edward Sharff Jr
                    Dba E V S Marketing
                    5118 Warfield Dr
                    Memphis, TN 38117

                    Edward Stanojev
                    7 Avondale Drive
                    Newtown, PA 18966

                    Edward Storms,Jr
                    Storms Installlations Inc.
                    41 Cobalt Ridge Rd North
                    Levittown, PA 19057-1405

                    Edward Wayne Industries
                    10308 Metcalf Ave #308
                    Overland Park, KS 66212

                    Edward Zipf Lockshop Inc
                    PO Box 23826
                    Columbus, NJ 43223

                    Edwards Transportation Inc.
                    P.O. Box 278
                    Ravenswood, WV 26164



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                    Edwin Elliot & Co.
                    643 Ridge Pike
                    P.O. Box 439
                    Lafayette Hill, PA     19444

                    Effort Foundry
                    Route 512 Industrial Campus
                    6980 Chrisphalt Drive
                    Po Box 158
                    Bath, PA 18014

                    Efo Schofield & Velazquez
                    Marrero
                    P.O. Box 10
                    Pennsauken, NJ 08110

                    Egg Harbor T/V Hardware
                    208 Philadelphia, Ave
                    Egg Harbor, NJ 08215

                    Egs Electrical Group
                    1369 Main St. E.
                    Rainsville, AL 35986

                    Ehmke Manufacturing Co Inc
                    4200 Macalester St
                    Philadelphia, PA 19124

                    Ehmke Manufacturing Co., Inc.
                    5155 Belfield Avenue
                    Philadelphia, PA 19144-1790

                    Eil Instruments Inc.
                    2 Executive Drive
                    Unit 8
                    Moorestown, NJ 08057

                    Eilbacher Scott
                    Attention: Daniel J. Skekloff
                    110 West Berry Street
                    Suite 2202
                    Fort Wayne, IN 46802

                    Eileen S. Morrow
                    3200 Lenox Road F-301
                    Atlanta, GA 30324




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                    Eimicke Associates
                    P.O. Box 160
                    Bronkville, NY 10708

                    Einstein Practice Plan, Inc.
                    PO Box 13918
                    Philadelphia, PA 19101

                    Eisner Bros. Scrap Metal
                    P.O. Box 1028
                    67 Parker Avenue
                    Poughkeepsie, NY 12602

                    Ejm Associates
                    525 Boulevard
                    Kenilworth, NJ    07033

                    Ekl Machine Co.
                    500 Mill Road
                    Andalusia, PA 19020

                    Ekl Machine Compay
                    500 Mill Road
                    Andalusia, PA 19020

                    Ekl Tool & Die
                    500 Mill Road
                    Andalusia, PA 19020

                    Elaina M West
                    129 Sycamore Ct
                    Collegeville, PA 19426

                    Electra-Gear
                    1110 North Lemon Street
                    Anaheim, CA 92801

                    Electric City Printing
                    PO Box 1920
                    Anderson, SC 29622

                    Electric Motor Systems (Ems)
                    11895 Kemper Springs Drive
                    Cincinnati, OH 45240

                    Electrical South
                    PO Box 900013
                    Raleigh, NC 27675-9013


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                    Electrodes, Inc.
                    160 Cascade Blvd.
                    Milford, CT 06460

                    Electrolift
                    204 Sargeant Avenue
                    Clifton, NJ 07013

                    Electro-Matic Products Co.
                    2235 N. Knox Ave.
                    Chicago, IL 60639-3487

                    Electronic Controls Design
                    Inc
                    4287-B Se
                    International Way
                    Milwaukie, OR 97222

                    Electronic Design Inc.
                    Box Z, 1925 Greenwood Lk Tpk.
                    Hewitt, NJ 07421

                    Electronic Design To Market,
                    Inc,
                    Payment Processing Center
                    85849 577th Ave.
                    Wayne, NE 68787

                    Electronic Equipment Co.
                    602 Oakland Ave
                    Cedarhurst, NY 11516

                    Electronic Sensors, Inc.
                    2063 S. Edwards St.
                    Wichita, KS 67213

                    Electronics,Drives & Controls
                    17 Eastmans Rd.
                    Parsippany, NJ 07054

                    Elgar Products Inc
                    Cn 3104
                    5250 Naiman Pkwy
                    Solon, OH 44139




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                    Elhaus Industrieanlagen Gmbh
                    Rudolf-Diesel-Str 1-3
                    78239 Rielasingen-Worblingen
                     Germany

                    Elisa Rojas
                    737 Market St
                    Gloucester City, NJ 08030

                    Elit Press Instries Sdn Bhd
                    34 Jalan Industrial
                    Taman Perindustrian Pekan
                    Pontian Malaysia
                    81500

                    Elite Service Inc.
                    P.O. Box 70
                    Denver, PA 17517

                    Elite Union Enterprises Co.
                    2nd Industrial Zone, Jinju
                    Dalingshan, Dongguan City

                    Elkay Fasteners Inc.
                    351 Landing Road
                    Blackwood, NJ 08012

                    Elkhart County Treasurer
                    315 South 2nd Street
                    Elkhart, IN 46516

                    Ellenville Scrap Iron & Metal
                    34 Cape Ave
                    Ellenville, NY 12428

                    Elliot Olen, Esq.
                    Oxford Crossing, Suite 302
                    333 Oxford Valley Road
                    Fairless Hills, PA 19030

                    Elliott & Frantz, Inc.
                    P.O. Box 8500-50075
                    Philadelphia, PA 19178-0075

                    Ellis/Kuhnke Controls
                    26 West Highland Avenue
                    Atlantic Highlands, NJ 07716



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                    Ellsworth Cutting Tools Ltd.
                    887 Degurse Avenue
                    Marine City, MI 48039

                    Elm International, Inc.
                    P.O. Box 1740
                    East Landing, MI 48826

                    Elox Corporation
                    P.O. Box 220
                    Griffith Street
                    Davidson, NC 28036

                    Elumatec Usa, Inc.
                    4320 Ralph Jones Court
                    South Bend, IN 46628

                    Emaint Enterprises, L.L.C.
                    7 Chester Avenue
                    Medford, NJ 08055

                    Emaint Enterprises, LLC
                    438 North Elmwood Road
                    Suite 201
                    Marlton, NJ 08053

                    Emalfarb Swan & Bain
                    660 Lasalle Place
                    Highland Park, IL 60035

                    Emed Company, Inc.
                    39209 Treasury Center
                    Chicago, IL 60694-9200

                    Emed Company, Inc.
                    P.O. Box 369
                    Buffalo, NY 14240

                    Emerson Knife And Grinding
                    1489 Kelly Ave
                    Akron, OH 44306

                    Emery Customs Brokers
                    P.O. Box 1067
                    Scranton, PA 18577-0067




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                    Emery Forwarding
                    Box 371232
                    Pittsburgh, PA 15250-7232

                    Emery Worldwide
                    A Cf Company
                    Box 371232m
                    Pittsburgh, PA 15250

                    Emery Worldwide
                    Box 371232m
                    Pittsburgh, PA 15250

                    Emhart Fastening Technologies
                    P.O. Box 859
                    50 Shelton Technology Center
                    Shelton, CT 06484

                    Emi Return Center
                    Att: Sol Auraham
                    P.O. Box 320150
                    Brooklyn, NY 11232

                    Emily Coronado
                    One Winchester Circle C206
                    Woolwich Twp, NJ 08051

                    Emily Michot
                    61 Ne 96th St
                    Miami Shores, FL     33138

                    Emo Trans Georgia, Inc.
                    135 Guy Lombardo Ave.
                    Freeport, NY 11520

                    Empire Imaging Systems
                    171 Route 173
                    Suite 101
                    Asbury, NJ 08802

                    Empire Medicare Services
                    Cashier
                    P.O. Box 69216
                    Ein# XX-XXXXXXX
                    Harrisburg, PA 17106-9216




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                    Empire Metal Merchants Assoc.
                    71 Peconic Avenue
                    Attn: Kevin G. Gershowitz
                    Medford, NY 11763

                    Empire Recycling Corp.
                    P.O. Box 353
                    N. Genessee & Lee Sts.
                    Utica, NY 13501

                    Empire Scrap
                    35 Herman St
                    Worcester, MA    01603

                    Empire State Plating Services
                    P.O. Box 928
                    Carmel, NY 12603

                    Empire Warehouse & Leasing Co
                    1059 Empire Avenue
                    Camden, NJ 08103

                    Employee Benefits Ins. Co.
                    PO Box 96082
                    Chicago, IL 60693

                    Employers Association Of NJ
                    30 West Mount Pleasant Ave.
                    Suite 201
                    Livingston, NJ 07039

                    Employing Bricklayers Assoc.
                    140 W Germantown Pk
                    Suite 240
                    Plymouth, PA 19462

                    Employment Weekly
                    P.O. Box 399
                    Berlin, NJ 08009

                    Emras Inc.
                    4303 Vineland Road
                    Suite F6
                    Orlando, FL 32811




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                    Emsl Analytical Inc
                    107 Haddon Ave
                    Westmont, NJ 08108

                    Emsl Analytical Inc.
                    107 Haddon Avenue
                    Westmont, NJ 08108

                    Emsource
                    111 Commerce Street
                    Suite 400
                    P.O. Box 17194
                    Portland, ME 04112-7194

                    Enap Inc, MArketing Dept
                    121 Executive Dr
                    New Windsor, NY 12553

                    Enap Marketing Department
                    555 Hudson Valley Ave, Ste
                    200
                    New Windsor, NY 12553

                    Enap, Inc.
                    4 Executive Dr
                    New Windsor, NY     12553

                    Encinosa Expostions, Inc.
                    5435 Shirley Street #6
                    Naples, FL 34109

                    Enco Manufacturing Co.
                    135 S. Lasalle Street
                    Dept. 1219
                    Chicago, IL 60674-1219

                    Enco Manufacturing Company
                    Dept. Ch14137,

                     Palatine, IL     60055-4137

                    Endre Doczy Co.
                    876 N. Lenola Rd.
                    Moorestown, NJ 08057




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                    Endres Wood Plastics Inc
                    PO Box 396
                    Huntingdon, PA 16652

                    Endura Products
                    PO Box 651613
                    Charlotte, NC 28265-1613

                    Enduralguard Systems
                    81 Patterson Road
                    Ontario, Canada A L4n3v9

                    Endustra Filter Manufacturers
                    1145 Birch Drive
                    Schererville, IN 46375

                    Enecon Corporation
                    Suite 190
                    125 Baylis Road
                    Melville, NY 11747-3800

                    Engineered Hydraulics, Inc.
                    401 Route 130
                    W. Collingswood, NJ 08059

                    Engineered Plastic Design
                    Inc.
                    19750 Weld County Road 7
                    Berthoud, CO 80513

                    Engineered Products
                    1821 Oregon Pike
                    Lancaster, PA 17601

                    Engineered Sales Co.
                    21 Chatham Rd.
                    P.O. Box 309
                    Summit, NJ 07902-0309

                    Engineered Shapes
                    113 Dewitt Street
                    Garfield, NJ 07026

                    Engineered Systems & Designs
                    119a Sandy Drive
                    Newark, DE 19713




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                    Engines, Inc.
                    Po Box 1930
                    Atlantic City, NJ     08404-1930

                    Englewood Company Inc.
                    533 Abbott Drive
                    Broomall, PA 19008

                    Enprotech Mechanical Services
                    Ems Parts Division
                    16800 Industrial Parkway
                    Lansing, MI 48906

                    Enro Shirt Company
                    Div The Apparel Group
                    PO Box 10502
                    Newark, NJ 07193-0502

                    Ensign Products Co., Inc.
                    P.O. Box 27427
                    3528 East 76th Street
                    Cleveland, OH 44127

                    Ensr
                    2 Technology Park Drive
                    Westford, MA 01886

                    Enterprise Paper
                    2900 Wharton Road
                    Bristol, PA 19007

                    Enterprises R.R. Mondor
                    2000inc. 920
                    Grande Cote Quest
                    Lanoraie ,Quebec Canada
                    J0k 1e0

                    Enterprising Service
                    Solutions
                    4500 Daly Dr., Suite 100
                    Chantilly, VA 20151

                    Entrepreneur
                    PO Box 55809
                    Boulder, CO 08322 5809




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                    Enutron Industrial
                    3847 Geryville Pike
                    Pennsburg, PA 18073

                    Enviromed Corp.
                    555 Blackwood-Clementon
                    Lindenwold, NJ 08021-5901

                    Enviromed Corporation
                    555 Blackwood-Clementon Road
                    Lindenwold, NJ 08021

                    Environmental Erosion Control
                    P.O. Box 579
                    Waterford Works, NJ 08037


                    Environmental Field Services
                    2 Knoll Lane
                    Marlton, NJ 08053

                    Environmental Resolutions,
                    Inc.
                    124 Gaither Drive
                    Suite 160
                    Mt. Laurel, NJ 08054

                    Environmental Resource Center
                    101 Center Pointe Drive
                    Cary, NC 27513-5706

                    Environmental Sciences-Air
                    Dept. Of Environmental
                    Science
                    Cook College
                    14 College Farm Road
                    New Brunswick, NJ 08801-8551

                    Environmental Services Inc.
                    P.O. Box 23534c
                    Newark, NJ 07189

                    Environmental Technology
                    P.O. Box 2150
                    Cathedral City, CA 92235-
                    2150




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                    Environmental Test Systems
                    23575 County Road 106
                    PO Box 4659
                    Elkhart, IN 46514-0659

                    Environmental Waste
                    Minimization Inc.
                    14 Brick Kiln Court
                    Northampton, PA 18067

                    Envirosafe Technologies, Inc.
                    3701 St James Ind Pkwy
                    W Jacksonville, FL 32246

                    Ep
                    P.O. Box 1919
                    Delran, NJ 08370-1919

                    Epe Technologies, Inc.
                    P.O. Box 75281
                    Charlotte, NC 28275-5281

                    Epic Industrial Inc.
                    P.O. Box 5147
                    179 Broad Street
                    Phillipsburg, NJ 08865

                    Episcopal Hospital
                    100 E Lehigh Ave
                    Philadelphia, PA 19125109

                    Epsen Hillmer Graphics Co.
                    Hg Professional Forms Div.
                    2000 California Street
                    Omaha, NE 68102

                    Eptam Plastics
                    P.O. Box 6144
                    La Conia, NH 03247-6144

                    Equipment Onlee
                    P.O. Box 373
                    Emmaus, PA 18049




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                    Equipment Trade Service Co,
                    Inc
                    20 E Winona Ave
                    Norwood, PA 19074

                    Equipment Trade Service Co.
                    20 E. Winona Ave.
                    Norwood, PA 19074

                    Equitable
                    PO Box 13463
                    Newark, NJ 7188

                    Erco Ceilings
                    32 North Delsea Drive
                    Glassboro, NJ 08028

                    Erco Interior Systems
                    P.O. Box 567
                    Glassboro, NJ 08028

                    Erd Environmental Inc
                    General Post Office
                    P.O. Box 29743
                    New York, NY 10087-9743

                    Erdman Automation Corporation
                    1603 So. 14th Street
                    Princeton, MN 55371

                    Erdman Roofing Co., Inc
                    501 North Belleview Avenue
                    Cinnaminson, NJ 08077

                    Eri Safety Video
                    P.O. Box 1257
                    557 Whiteford Way
                    Lexington, SC 29071-1257

                    Eric Jacobson
                    330 Rosemary Lane
                    Narberth, PA 19072

                    Eric Beattie
                    1007 W. Lehigh Ave.
                    Philadelphia, PA 19133




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                    Eric Jacobson
                    330 Rosemary Lane
                    Narberth, PA 19072

                    Eric Kogan
                    3253 Durham Place
                    Holland, PA 18966

                    Eric Laboz
                    1283 Clubhouse Road
                    Gladwyne, PA 19035

                    Eric S Laboz
                    1283 Club House Rd
                    Gladwynne, PA 19035

                    Eric Snyder
                    C/O Marsh Building Products
                    1209 E. Lincoln Way,
                    VAlparaiso, IN 46383

                    Eric Tasker
                    143 Eastern Ave
                    Apt 304, MAnchester, NH      3104

                    Eric's Nursery And Garden
                    Ctr.
                    528 Mount Laurel Road
                    Mt. Laurel, NJ 08054

                    Eriez Magnetics
                    Po Box 099
                    Maple Glen, PA 19002

                    Erik Dague
                    47 Foxtail Ln
                    Dove Canyon, CA 92679

                    Erik M Dague
                    15 Great Oak Dr
                    Glen Mills, PA 19342

                    Erin Supply Co., Inc.
                    175 E. Broad Street
                    P.O. Box 39
                    Dallastown, PA 17313-0039




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                    Erin Supply Company, Inc.
                    175 E. Broad St
                    PO Box 39
                    Dallastown, PA 17313-0039

                    Erin Supply
                    275 Railroad Ave
                    PO Box 39
                    Dallastown, PA 17313-0039

                    Erjo Service Co.
                    15 Woodlyn Avenue
                    Norristown, PA 19403

                    Ernamatic Tool & Die Company
                    4717-4719 Duffield Street
                    Philadelphia, PA 19124

                    Ernst & Young Inc, “In Trust"
                    1, Place Ville Marie,
                    Montreal, Quebec Canada
                    H3b 3m9

                    Erols Internet
                    7921 Woodruff Court
                    Springfield, VA 22151

                    Erwyn Promotions Co., Inc.
                    200 Campus Drive
                    Asi # 189095
                    Morganville, NJ 07751

                    Escort Transportation
                    560 Fellowship Road
                    Suite 306-308
                    Mt.Laurel, NJ 08054

                    Essex Brownell
                    3325 Street Road
                    Suite 100
                    Bensalem, PA 19020

                    Essex Service Corporation
                    82 Doe Run Drive
                    Holland, PA 18966




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                    Estec Corporation
                    8-B Inspiration Lane
                    Research Park
                    Chester, CT 06412

                    Estelle Carpey
                    731 W Wynnewood Rd
                    Ardmore, PA 19003

                    Estes Express Lines
                    4095 Blanch Road
                    Bensalem, PA 19020

                    Estes Express Lines
                    P.O. Box 25612
                    Richmond, VA 23260-5612

                    Etc.,Etc., Etc
                    214 Bala Ave
                    Bala Cynwyd, PA     19004

                    Eti
                    Centennial Center Suite 105
                    Cross Keys Road
                    Berlin, NJ 08009

                    Ets Corporation Of Detroit
                    320 High Tide Drive
                    Suuite 201
                    St Augustine, FL 32080

                    Etz Chaim Center
                    262 South 16th Street
                    Suite 100
                    Philadelphia, PA 19102

                    Eugene Ernst Products Co
                    116 Main Street
                    Farmingdale, NJ 07727

                    Eugene K Cormier
                    14-16 Brown St
                    Salem, MA 01970

                    Euler's Incorporated
                    1801 Haddon Avenue
                    Camden, NJ 08103



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                    Euromin Inc.
                    1 Stamford Plaza
                    263 Tresser Blvd.
                    Stamford, CT 06901

                    Eurotherm
                    741-F Miller Drive
                    Leesburg, VA 20175

                    Eva Ortiz
                    136 W. Spencer St.
                    Philadelphia, PA

                    Evans Heat Treating Company
                    360 Red Lion Road
                    Huntingdon Valley, PA 19006

                    Evans Transportation Co.
                    PO Box 160
                    Levittown, PA 19059-0160

                    Evans Welding Service, Inc.
                    2201 E. Tioga Street
                    Philadelphia, PA 19134

                    Everett Crouse
                    C/O Bil-Raygroup
                    12 Petro Lane
                    Albany, NY 12205

                    Everhard Products, Inc.
                    1016 Ninth St. S.W.,
                    Canton, OH 44707

                    Everlasting Fence Co.
                    39 Limekiln Pike
                    Glenside, PA 19038

                    Eversafety Precision Industry
                    (Tianjin) Co Ltd
                    Liao Ho Bei Road
                    Hi-Tech Park
                    China 300402
                    Tianjin




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                    Evertek Industries Inc
                    Suite C, 16f, 447, Sec. 3
                    Wen-Shin Road
                    Taichung Taiwan

                    Everyday Warehousers
                    642b Ridgewood Rd
                    Ridgeland, MS 39157

                    Evesham Lock And Safe Co.
                    Inc.
                    12 N. Maple Avenue
                    Marlton, NJ 08053

                    Ewl Productions, Inc.
                    9377 Readcrest Drive
                    Beverly Hills, CA 90210

                    Exabyte Corporation
                    P.O. Box 6130
                    1685 38th Street
                    Boulder, CO 80301

                    Exact Software North America
                    Inc
                    1136 Paysphere Circle
                    Chicago, IL 60674

                    Exact-Stroke Inc.
                    P.O. Box 2577
                    680 Sycamore Dr.
                    Warminster, PA 18974-0058

                    Exair Corporation
                    1250 Century Circle North
                    Cincinnati, OH 45246

                    Excel Business Systems Inc
                    Christiana Village
                    Professional
                    Center, Ste #300
                    Newark DE 19702

                    Excel Direct Inc.
                    9256 Commerce Hwy
                    Pennsauken, NJ 08110




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                    Excel Electric
                    40 Spring Lake Drive
                    Clementon, NJ 08021

                    Excel Extrusion Tooling, Inc.
                    41 Radcliffe Drive
                    Voorhees, NJ 08043

                    Excel Graphics
                    200 Horizon Way
                    Suite 250-A
                    Mt. Laurel, NJ 08054

                    Excel Graphics
                    735 Kenilworth Ave.
                    Cherry Hill, NJ 08002

                    Excel Hydraulics LLC.
                    P.O. Box 40
                    Swedesboro, NJ 08085

                    Ex-Cel Manuafacturing, Inc.
                    PO Box 3429
                    2212 South Hamilton Road
                    Buffalo, NY 14240

                    Excel Paint Applicators Inc
                    808 Georgia Ave
                    Brooklyn, NY 11207

                    Excel Sales
                    30 State Place
                    Huntington, NY 11713

                    Excel Transfer
                    701 White Horse Rd Ste 5
                    Voorhees, NJ 080432494

                    Excess Welding Alloys, Inc.
                    P.O. Box 60340
                    King Of Prussia, PA 19406

                    Exco Dies /Canada
                    130 Spy Court, Unit 1
                    Markham, Ontario
                    L3r 5h6




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                    Exco Usa
                    56617 North Bay Drive
                    Chesterfield, MI 48051

                    Execumail Images Systems
                    PO Box 2380
                    Cherry Hill, NJ 08034

                    Executive Computer Products,
                    Inc
                    21818 Craggy View St
                    Suire #105
                    Chatsworth, CA 91311

                    Executive Copy
                    Marlkress Road & Allison Dr.
                    P.O. Box 2380
                    Cherry Hill, NJ 08034

                    Executive Maintenance
                    Industries, Inc.
                    1902 Fairfax Avenue
                    Cherry Hill, NJ 08003

                    Executrain
                    7030 Pointe Inverness Way
                    Suite 330
                    Ft. Wayne, IN 46804

                    Exelon Powerlabs
                    175 North Caln Road
                    Coatesville, PA 19320-2309

                    Exide-Palmyra Battery Company
                    217 W Broad Street
                    Palmyra, NJ 08065

                    Expeditors International
                    870 Ashland Avenue
                    Folcroft, PA 19032

                    Experian Real Estate Services
                    PO Box 8129
                    Cherry Hill, NJ 08002




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                    Experian
                    Department 1971
                    Los Angeles, CA 90088 1971

                    Expert Cabinets
                    222 W Atlantic Ave
                    Haddon Heights, NJ 08035

                    Expert Service Plaza
                    2950 State Road
                    Bensalem, PA 19020

                    Express One Services
                    PO Box 1193, Midlothian, VA
                    23113

                    Express Personnel Services
                    PO Box 730039
                    Dallas, TX 75373-0039

                    Exproma
                    23 Spring Oak Drive
                    Newtown, PA 18940

                    Extec, Limited
                    2 Norman Hayward Pl.
                    P.O. Box 20136
                    Te Rapa,Hamilton.^
                    New Zealand

                    Exton Granite Calibration
                    Services, Inc.
                    P.O. Box 483
                    Hatboro, PA 19040

                    Extru System Inc.
                    10541 Calle Lee, Suite 115
                    Lo Alamitos, CA 90720

                    Extrudehone Corporation
                    1 Industry Boulevard
                    P.O. Box 1000
                    Irwin, PA 15642

                    Extrusion Die Makers, Inc.
                    3819 Old William Penn Hwy.
                    Murrysville, PA 15668



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                    Extrusion Die Tech
                    511 Chanticleer
                    Cherry Hill, NJ 08003

                    Exxon
                    PO Box 105992
                    Atlanta, GA 30348-5992

                    Exxonmobil Fleet/Gecc
                    P.O. Box 530988
                    Atlanta, GA 30353-0988

                    E-Z Go
                    3 South Gold Drive
                    Robbinsville, NJ 08691

                    Ezautomation
                    Division Of Autotech
                    Technologies L.P.
                    1102 Momentum Place
                    Chicago, IL 60689-5311

                    Ez-Cross
                    309 Fellowship Rd, Ste 210
                    Mt Laurel, NJ 08054

                    E-Zpass Maryland Violation
                    Processing Ct
                    PO Box 5100
                    Baltimore, MD 21224

                    E-Zpass, NJ E-Zpass Customer
                    Service Center
                    PO Box 52003
                    Newark, NJ 07101 8203

                    E-Zpass, NJ E-Zpass Violation
                    Processing Ctr
                    PO Box 52005
                    Newark, NJ 07101 8205

                    F & E Business Machines
                    5460 Ridge Avenue
                    Phila., PA 19128




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                    F & G Tool & Die Inc
                    195 Sumner Street
                    Kenilworth, NJ 07033

                    F & M Delicatessen Inc
                    3701 Church Rd
                    Mt Laurel, NJ 08054

                    F & R, Pallets Inc
                    T/A J & R, Pallets
                    1929 S 4th St
                    CAMDEN, NJ 08104

                    F. Ambrose Rigging
                    151 Domorah Dr.
                    Montgomery, PA 18936

                    F. W. Dodge
                    Division Of The Mcgraw Hill
                    7625 Collection Center Dr.
                    Chicago, IL 60693-0076

                    F.C. Kerbeck & Sons
                    Route 73
                    Palmyra, NJ 08065

                    F.C.C.
                    574r Land Mobile Renewal
                    P.O. Box 358245
                    Pittsburgh, PA 15251-5245

                    F.C.F.C.U.
                    3301 S. Galloway St.
                    Room 241
                    Philadelphia, PA 19148

                    F.J. Angelo, Inc.
                    184 Country Club Drive
                    Lumberton, NJ 08048

                    F.J.Gray Glass Co., Inc.
                    Gray Glass Co
                    217-44 98th Ave
                    Queens, NY 11429




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                    F.M.A. Contracting
                    & Mechanical Construction
                    Inc.
                    Cooper River Plaza
                    2400 Mcclellan Ave Suite 101
                    E
                    Pennsauken, NJ 08109

                    F.P Woll & Company
                    10060 Sandmeyer Lane
                    Philadelphia, PA 19116

                    F.R. Tessitore Construction
                    In
                    19 Doe Run Drive
                    Warrington, PA 18376

                    F.W. Dodge
                    1791 Tribute Rd
                    Suite D
                    Sacramento, CA 95815

                    F.W. Haxel Co., Inc.
                    200-202 N Pearl St
                    Baltimore, MD 21201

                    F.W. Murphy Company
                    332 South 17th Street
                    Camden, NJ 08105

                    F.W.Hoffman
                    353 Cryder Rd
                    Moorestown, NJ    08057

                    Fab-Alloy Company
                    P.O. Box 1429
                    Jackson, MI 49204

                    Fabbs Inc.
                    150 Atlantic Avenue
                    Berlin, NJ 08009

                    Faber Associates Inc.
                    1111 Paulison Avenue
                    P.O. Box 2000
                    Clifton, NJ 07015-2000




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                    Fabex INC.
                    545 Shoreview Park Road
                    Shoreview, MN 55126-7014

                    Fabricare Inc.
                    2111 Largo Road
                    Wilmington, DE 19803

                    Face Consultants
                    213 Barberry Lane
                    Lexington, KY 40503

                    Face Lift Remodeling
                    4233 N.7th St.
                    Philadelphia, PA 19140

                    Facet Usa Inc.
                    9910 E. 56th St. North
                    Tulsa, OK 74117-4011

                    Fairlite Electric Supply Co.
                    P.O. Box 820562
                    Philadelphia, PA 19182-0562

                    Fairlite Electric
                    White Horse Pike & Cooper
                    Road
                    Atco, NJ 08004

                    Fairview Pharmacy
                    1192 Yorkship Sq
                    Camden, NJ

                    Falcon Cable
                    1740 4th Avenue S.E.
                    Suite E
                    Decatur, AL 35601

                    Falcon Express Inc.
                    PO Box 8500 (S-6120)
                    Philadelphia, PA 19178-6120

                    Falder's Inc
                    PO Box 768
                    Mayfield, KY 42066 0034




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                    Families Of S M A
                    South Jersey Chapter
                    PO Box 538
                    Medford, NJ 08055

                    Family Auto Service Center
                    46th & Westfield Avenue
                    Pennsauken, NJ 08110

                    Family Limousine & Tour Bus
                    Service
                    413 Crystal Lake Ave. Pmb238
                    Haddonfield, NJ 08033

                    Family Pool Center
                    10175 Veterans Memorial Dr
                    Houston, TX 77038

                    Family Support Registry
                    P.O. Box 2171
                    Denver, CO 80201-2171

                    Fan Equipment Co. Inc.
                    3925 W. Sunset Road
                    Las Vegas, NV 89118

                    Fanuc Repair Facility
                    1331 Green Leaf Ave.
                    Elk Grove, IL 60007

                    Fanuc/Ge Automation N.A. Inc
                    Route 606 & 29n
                    Seminole Trail
                    Charlottesville, VA 22906

                    Farella Braun & Martel LLP
                    Russ Bldg, 30th Fl
                    235 Montgomery St
                    San Francisco, CA 94104

                    Farmville Hardware
                    100n Main St
                    Farmville, NC 27828

                    Farrell
                    709 Baird Dr
                    Florence, NJ    08518



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                    Fas/Glas Glass & Mirror
                    1008b National Highway
                    Thomasville, NC 27360

                    Fast Company
                    Billing Department
                    Po Box 52760
                    Boulder, CO 80322-2760

                    Fast Industries Inc
                    6850 Nw 12th Ave
                    Ft Lauderdale, FL 33309

                    Fast Signs
                    1019-A Easton Road
                    Regency Square Shop Ctr
                    Willow Grove, PA 19090

                    Fast Signs
                    928 Greentree Sq Shopping Ct
                    Rt 73 & Greentree Rd
                    Marlton, NJ 08053

                    Fastcom Supply Corp.
                    795 Susquehanna Ave
                    Franklin Lakes, NJ 07417

                    Fastenal Company
                    PO Box 978
                    Winona, MN 55987-0978

                    Fastenal Industrial Supplies
                    8021 Route 130 Unit 8
                    Pennsauken, NJ 08110

                    Fastenal Industrial Supplies
                    8021 Route 130 Unit 8
                    Pennsauken, NJ 08110

                    Fastener Coating
                    1111 River Rd
                    Three Rivers, MI     49093

                    Fasteners For Retail
                    28900 Fountain Parkway
                    Cleveland, OH 44139-4337




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                    Fastex Logistics
                    PO Box 142028
                    Austin, TX 78754

                    Fastlane Logistics
                    Servicesinc
                    10-118 Wyse Road
                    Suite 321
                    Dartmouth, Nova Scotia
                    B3a 1n7

                    Fata Hunter Inc.
                    1040 Iowa Ave
                    Suite 100
                    Riverside, CA 92507

                    Father Judge Music Department
                    3301 Solly Ave
                    Philadelphia, PA 19136

                    Faust Millwork
                    795 6th Ave NW
                    Ryersville, IA 52040 1035

                    Fauver Co. Inc.
                    P.O. Box 77042
                    Detroit, MI 48277-0042

                    Fayscott LLC
                    A Div.Of Industrial Actuation
                    Group LLC
                    81 Central Ave Po.O Box 534
                    Limerick, ME 04048

                    Fbf Inc
                    1145 Industrial Blvd.
                    Southampton, PA 18966

                    Fbf Industries
                    1145 Industrial Boulevard
                    Southhampton, PA 18966

                    Fdr Design, Inc.
                    303 12th Ave. South
                    Buffalo, MN 55313




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                    Fed Ex Freight/Amer. Freight
                    4103 Collection Center Dr.
                    Chicago, IL 60693

                    Fedco Steel Corporation
                    785 Harrison Ave.
                    Harrison, NJ 07029

                    Fedco Steel Corporation
                    785 Harrison Ave.
                    Harrison, NJ 07029

                    Federal Bronze Alloys Inc.
                    50 Wheeler Point Road
                    Newark, NJ 07105

                    Federal Equipment
                    2029 Ninth Ave
                    Ron Kon Koma, NY 11779

                    Federal Express Corp
                    PO Box 371461
                    Pittsburgh, PA 15250-7461

                    Federal Express Corporation
                    PO Box 1140
                    Memphis, TN 38101 1140

                    Federal Express Ers
                    PO Box 371461
                    Pittsburgh, PA 15250 7461

                    Federal Licensing, Inc.
                    1588 Fairfield Road
                    P.O. Box 4567
                    Gettysburg, PA 17325-4567

                    Federal Metals & Alloys Co.
                    106 Skyline Drive
                    So. Plainfield, NJ 07080

                    Federal Reserve Bank
                    Of Cleveland
                    P.O. Box 299
                    Pittsburgh, PA 15230




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                    Federated Allied Jewish
                    Appeal
                    Jewish Federation Of
                    Greater Philadelphia
                    2100 Arch Street
                    Philadelphia, PA 19103

                    Federation Day Care
                    Foundation
                    10700 Jamison Avenue
                    Philadelphia, PA 19116-3899

                    Fedex Custom Critical
                    P.O. Box 371627
                    Pittsburgh, PA 15251-7627

                    Fedex Custom Critical
                    PO Box 371627
                    Pittsburgh, PA 15251-7627

                    Fedex Freight East
                    4103 Collection Center Dr
                    Chicago, IL 60693

                    Fedex Freight West
                    Dept Ch
                    PO Box 10306
                    Palatine, IL 60055 0306

                    Fedex Ground, Inc.
                    P.O. Box 360911
                    Pittsburgh, PA 15250-6911

                    Fedex Kinko's
                    1211 Route 73
                    Mount Laurel, NJ

                    Fedex National Ltl
                    PO Box 95001
                    Lakeland, FL 33804-5001

                    Fedex Trade Networks
                    P.O. Box 4590
                    Buffalo, NY 14240




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                    Fedex
                    P.O. Box 371461
                    Pittsburgh, PA 15250-7461

                    Feehery Machine & Grinding
                    Co.
                    2122 E York Street
                    Philadelphia, PA 19125

                    Felix Alvarez
                    1100 Vergen Avenue
                    Apt 2
                    Camden, NJ 08105

                    Fence City
                    619 Bethlehem Pike
                    Montgomeryville, PA     18936

                    Fence City
                    Dba Fence City
                    PO Box 779
                    Montgomeryville, PA     18936-
                    0779

                    Fence Masters, Inc
                    Attn: Sheena Spearman
                    3550 N.W. 54th Street
                    Miami, FL 33142

                    Fence Works
                    414 Lincoln Ave
                    Ravenna, OH 44266

                    Fencecenter.Com
                    929 West Street
                    Annapolis, MD 21401

                    Fenestra
                    One New Street
                    PO Box 608
                    West Middlesex, PA     16159

                    Fenestration Manufacturers
                    Association Inc
                    1625 Summit Lake Dr, Ste 300
                    Tallahassee, FL 32317




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                    Fenestration Marketing, Inc.
                    PO Box 374
                    West Berlin, NJ 08091

                    Fenghua Lianxin Upvc
                    Hardware Co Ltd
                    375 Yuelin East Road, Fenghua
                    Ningobo City, Zhejiang
                    Province
                    China

                    Ferguson Dechert
                    Real Estate Inc
                    2789 Dune Dr
                    Avalon, NJ 08202

                    Fernando Nieves
                    C/O Delair Group, LLC
                    8600 River Road
                    Delair, NJ 08110

                    Ferreteria Oregon
                    520 S Oregon St
                    El Paso, TX 79901

                    Ferroatlantica,Invensil Div.
                    60 Public Square
                    Suite 350
                    Medina, OH 44256

                    Fesseden Hall
                    1050 Sherman Avenue
                    Pennsauken, NJ 08110

                    Fetim International Bv
                    Kopraweg 1, 1000 At Amsterdam
                    PO Box 770
                    The Netherlands

                    Ffr Ideal Merchandising
                    28900 Fountain Parkway
                    Cleveland, OH 44139-4337

                    Ffr Inc
                    PO Box 635696
                    Cincinnati, OH 45263 5696




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                    Fhcs Physician Services
                    PO Box 9518
                    Philadelphia, PA 19124

                    Fhcs Physicians Services
                    PO Box 7777-W6920
                    Philadelphia, PA 19175-6920

                    Fiber Star/Rexon Tecg
                    ATTN: Lena Luo
                    5th FL.#Jian-KAangRD.
                    Chung Ho City
                    Taipei Hsien Tawain

                    Fiberstar Inc
                    44259 Nobel Dr.
                    Fremont, CA 94538

                    Fiberstars, Incorporated
                    2883 Bayview Drive
                    Fremont, CA 94538

                    Fibreform Containers, Inc.
                    N115W19255 Edison Drive
                    Germantown, WI 53022

                    Fidelcomm Service Co., Inc.
                    6845 Westfield Ave.
                    Pennsauken, NJ 08110-1527

                    Fidelity Direct
                    135 South Lasalle St.
                    Dept. 8003
                    Chicago, IL 60674

                    Fidelity National Title
                    Insurance Company
                    1500 Walnut Street
                    Suite 400
                    Philadelphia, PA 19102

                    Fielding & Platt
                    International
                    1965 Providence Court
                    College Park, GA 30337




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                    Filex Document Imaging Svc
                    Inc
                    Attn: Alysia Close
                    20 Union Hill Rd, Ste 200
                    West Conshohocken, PA 19428

                    Filnor Inc.
                    227 N. Freedom Ave.
                    Po Box 2328
                    Alliance, OH 44601

                    Filpro Corp
                    PO Box 374
                    West Point, PA    19486-0374

                    Filter Equipment Co., Inc.
                    1440 Highway #34
                    Wall, NJ 07719

                    Filter Equipment Co., Inc.
                    1440 Hwy 34
                    Wall Township, NJ 07753

                    Filter Specialists, Inc.
                    1243 Reliable Parkway
                    Chicago, IL 60686-0012

                    Filtration Systems Products
                    6662 Olive Boulevard
                    St. Louis, M0 63130

                    Filtration Systems
                    10304 Nw 50th Street
                    Sunrise, FL 33351

                    Financial Executives
                    Institute
                    P.O. Box 10408
                    Newark, NJ 07193-0408

                    Financial Executives Research
                    Foundation, Inc.
                    10 Madison Avenue
                    Box 1938
                    Morristown, NJ 07962-1938




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                    Fine & Staud
                    1333 Race St
                    Philadelphia, PA     19107-1585

                    Fine And Staud
                    1333 Race Street
                    Philadelphia, PA     19107-1585

                    Fine Bros. Corp
                    1852 Flushing Ave
                    Ridgewood, NY 11385

                    Fine Woodworking Co.
                    PO Box 153
                    Fine, NY 13639

                    Finishers' Management
                    4350 Dipaolo Center
                    Suite B
                    Glenview, IL 60025

                    Finishing Systems
                    P.O. Box 335
                    Emigsville, PA 17318

                    Finnaren & Haley Paint &
                    Coatings
                    PO W510433
                    Philadelphia, PA 19175-0433

                    Fiore Skylights Inc.
                    P.O. Box #64
                    700 Grace Street
                    Somerdale, NJ 08083

                    Firemasters, Inc.
                    P.O. Box 100
                    Garwood, NJ 07027

                    Firemen's Association Of Pa.
                    5950 Reeves Road
                    E. Petersburg, PA 17520

                    First American Title Ins. Co.
                    2 Penn Center Plaza
                    Suite 1910
                    Philadelphia, PA 19102



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                    First American Title
                    Insurance Co.
                    Attention: Brendan O'mara
                    2 Penn Center Plaza Suite
                    1910
                    Philadelphia, PA 19102

                    First Bankcard Center
                    PO Box 33313
                    Omaha, NE 68103-0331

                    First Class Auto Service Inc.
                    1244 Haddonfield Rd.
                    Voorhees, NJ 08043

                    First Class Luxury Limos
                    P.O. Box 1555
                    Delran, NJ 08075

                    First Fidelity Leasing Group
                    PO Box 41533
                    Philadelphia, PA 19101

                    First Forms
                    95 James Way
                    Suite 111
                    Southampton, PA     18966

                    First Nh Bank
                    C/O Spaulding Composites Co.
                    P.O. Box 9594
                    Manchester, NH 03108

                    First Publications Inc.
                    P.O. Box 151
                    Albertson, NY 11507-05151

                    First Service Warehouse
                    2195 Broehm Road
                    Columbus, OH 43207

                    First Staff
                    PO Box 952056
                    St. Louis, MO 63195-2056




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                    First Technology Safety
                    Systems, Inc.
                    47460 Galleon Drive
                    Plymouth, MI 48170

                    First Union National Bank
                    Vehicle Leasing Dept.
                    PO Box 96020
                    Charlotte, NC 28296-0020

                    First Union National Bank
                    Vehicle Leasing
                    P.O. Box 96002
                    Charlotte, NC 28296-0002

                    First Usa Bank Na
                    PO Box 530803
                    Atlanta, GA 30353-0803

                    First Usa Bank, Na
                    PO Box 15153
                    Wilmington, DE 19886-5153

                    Fisher Bros. Supply, Inc.
                    7900 Rockwell Ave.
                    Philadelphia, PA 19111-2209

                    Fisher Scientific
                    Acct# 300912-001
                    P.O. Box 360153
                    Pittsburgh, PA 15250-6153

                    Fisher Steel Inc.
                    W. Browning Road
                    And Railroad Ave.
                    Bellmawr, NJ 08031

                    Fisler & Cassedy, Inc.
                    P.O. Box 1530
                    Camden, NJ 08105

                    Fitzpatrick Container Company
                    800 East Walnut Street
                    North Wales, PA 19454




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                    Flagpoles Inc.
                    95 Gnarled Hollow Road
                    P.O. Box 833
                    East Setauket, NY 11733

                    Flakt Wood Group
                    1701 Terminal Road
                    Niles, MI 49120-1245

                    Flanagan's Auto & Truck
                    Repair
                    98 Ark Road
                    Medford, NJ 08055

                    Flaster/Greenberg
                    Commerce Center
                    1810 Chapel Avenue West
                    Third Floor
                    Cherry Hill, NJ 08002-4609

                    Flatworld Solutions Inc
                    60 East 42nd St, Ste 1144
                    New York, NY 10165

                    Fleet Logistics LLC
                    PO Box 274
                    Mt. Royal, NJ 08061

                    Fleet Warehouse Inc
                    122 Richard Road
                    Ivyland, PA 18974

                    Fleetwash
                    PO Box 36014
                    Newark , NJ 07188-6014

                    Fleetway Sales And Leasing
                    336 W. Strret Road
                    Feasterville, PA 19053

                    Fleetway Leasing
                    200 West Street Road
                    Feasterville, PA 19053




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                    Fleetwood Athletic
                    Association
                    PO Box 494
                    Mt. Laurel, NJ 08054

                    Fleetwood Lock & Alarm Inc
                    1085 Yonkers Ave
                    Yonlers, NY 10704 3123

                    Flexible Benefit Plans, Inc.
                    PO Box 190
                    Perkiomenville, PA 18074

                    Floe Products Co.
                    P.O. Box 623
                    Buffalo, NY 14240

                    Flohr Pools, Inc.
                    1350 Lincoln Way East
                    Chambersburg, PA 17201

                    Flood Supply
                    215 Railroad Drive
                    Ivyland, PA 18974

                    Floor Coating Etc. Inc.
                    P.O. Box 784
                    New Castle, DE 19726

                    Floor Concepts
                    2091 Route 70 E.
                    Cherry Hill, NJ 08003

                    Florida Building & Remodeling
                    News
                    233 S Lakewood Dr Ste 9
                    Brandon, FL 33511

                    Florida Chapter Msci
                    Att: Jim Boedeker
                    Namasco
                    907 South 20th Street
                    Tampa, FL 33605

                    Florida Department Of Revenue
                    5050 W Tennessee St
                    Tallahassee, FL 32399 0125



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                    Florida Department Pf Revenue
                    Atlanta Taxpayer Service
                    Center
                    180 Interstate North Parkway
                    Suite 450
                    Atlanta, GA 30339

                    Florida Hardware Company LLC
                    PO Box 6759
                    Jacksonville, FL 32236 6759

                    Florida Msci Scholarship Fund
                    C/O Jim Boedetier
                    Treasurer-C/O Namasco
                    907 S. 20th St
                    Tampa, FL 33605

                    Florida Pool & Spa Assoc.
                    558 S. Osprey Avenue
                    Sarasota, FL 34236-7525

                    Florida Sales Associates
                    C/O Barbara Gudgel
                    316 Cevera Drive
                    Dunedin, FL 34698

                    Florida Spa Covers
                    13257 60th Street North
                    Clearwater, FL 33760

                    Flotran Pneu-Draulics, Inc.
                    3527 West 9th Street
                    Trainer, PA 19061-4317

                    Flow Control Incorporated
                    420 Beningo Blvd.
                    Unit J
                    Bellmawr, NJ 08031

                    Flow Engineering Inc.
                    8 E. Mill Road
                    P.O. Box 336
                    Flourtown, PA 19031-0336

                    Flow Ezy Filters, Inc.
                    PO Box 1749
                    Ann Arbor, MI 48106



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                    Flower & May
                    20th Floor Sun Building
                    65 Jiefang Nan Rd
                    China
                    Ningbo

                    Flowserve Corporation
                    103 Chelssea Parkway
                    Boothwyn, PA 19061

                    Fluid Engineering
                    1432 Walnut Street
                    Erie, PA 16502

                    Fluid Power, Inc.
                    534 Township Line Road
                    Blue Bell, PA 19422-2798

                    Fluidics Inc.
                    9815 Roosevelt Blvd.
                    Suite A
                    Philadelphia, PA 19114

                    Fluke Electronics Corp.
                    P.O. Box 9090,M/S 216
                    Everett, WA 98206-9090

                    Flying Horse Usa Inc
                    36-19 219th St
                    Bayside, NY 11361

                    Flying Horse Usa Inc
                    36-19 219th Street
                    Bayside, NY 11361

                    Fmc Rents
                    300 Boot Road
                    Downingtown, PA     19335

                    Foam Fair Industries
                    P.O. Box 304
                    Aldan, PA 19018-0304

                    Foam Fair Industries
                    PO Box 304
                    Merion Terrace
                    Aldan, PA 19018-0304



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                    Foam Fair Industries, Inc.
                    PO Box 304
                    Merion Terrace
                    Aldan, PA 19018

                    Foam Pak
                    PO Box 257b
                    Swedesboro, NJ    08085

                    Foam Supplies, Inc.
                    4387 North Rider Trail
                    Earth City, MO 63045-1103

                    Foampak Inc.
                    427 High Hill Road
                    Woolwich Twp, NJ 08085

                    Foampak, Inc.
                    427 High Hill Road
                    Woolwich Twp., NJ 08085

                    Foerster Instruments, Inc.
                    140 Industry Drive
                    Pittsburgh, PA 15275-1028

                    Fogleman Truck Line
                    135 S Lasalle
                    Dept 1519
                    Chicago, IL 60674-1519

                    Foley Material Handling
                    P.O. Box 289
                    Ashland, VA 23005-0289

                    Forbes Inc.
                    P.O. Box 10051
                    Desmoines, IA 50340-0051

                    Force Engineering & Testing
                    Inc.
                    2405a S. Houston Ave. Suite
                    500
                    Humble, TX 77396

                    Ford Credit
                    Box 105697
                    Atlanta, GA    30348-5697



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                    Ford Credit
                    Department # 194101
                    PO Box 55000
                    Detroit, MI 48255-1941

                    Ford Credit
                    P.O. Box 94380

                     Palatine, IL    60094-4380

                    Ford Electric
                    PO Box 155
                    Cheltenham, PA    19012

                    Ford Motor Credit Company
                    500 North Gulph Road
                    Suite 202
                    King Of Prussia, PA 19406

                    Ford Motor Credit Company
                    Box 220564
                    Pittsburgh, PA 15257-2564

                    Ford Motor Credit Company
                    PO Box 220555
                    Pittsburgh, PA 15257-2555

                    Forever Green Holdings LLC
                    117 Fort Lee Rd, Unit A-11
                    Leonia, NJ 07605

                    Forging Specialties, Inc.
                    12600 Beech Daly Road
                    Detroit, MI 48239

                    Formcenter
                    P.O.Box 65
                    210 S. Progress Drive East
                    Kendallville, IN 46755

                    Formed Steel, Inc.
                    740 Haverford Road
                    Bryn Mawr, PA 19010

                    Forms Plus
                    6 Harwood Drive
                    Voorhees, NJ 08043



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                    Formtek
                    76 Hinckley Road
                    Clinton, ME 04927

                    Formula 40 Usa, Inc.
                    12 Cascade Blvd
                    Orange, CT 06 477

                    Fortune Magazine
                    P.O. Box 60400
                    Tampa, FL 33660-0400

                    Fortune Metal Inc
                    55 Provost Street
                    Brooklyn, NY 11222

                    Fortune Metal Inc.
                    2 Crow Point Road
                    Lincoln, RI 02865

                    Fortune Plastic & Metal Inc
                    20 Carbon Place
                    Jersey City, NJ 07305

                    Foseco, Inc.
                    20200 Sheldon Road
                    P.O. Box 74705
                    Cleveland, OH 44194-0788

                    Foshan Huge Aluminum Co Ltd
                    #8 West Rd,Guanglong Indust
                    Park
                    Chencun Town, Shunde, Foshan
                    Guangdong Province China

                    Foshan Nanhai Dacheng Alum
                    Xingxian Rd, Dali Town,
                    Nanhai City, 321 National Rd
                    China
                    Guangdong

                    Foster Printing Service Inc
                    PO Box 2089
                    Michigan City, IN 46362 8089




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                    Foster, Miller & Bierley
                    6225 State Road
                    Philadelphia, PA 19135

                    Four Quarters-Plmg, Htg, &
                    A/C
                    2601 River Road
                    Cinnaminson, NJ 08077

                    Four Wheels, Co.
                    P.O.Box 96336
                    Chicago, IL 60693

                    Fox Chase Cancer Center
                    7701 Burholme Ave.
                    Philadelphia, PA 19111

                    Fox Electric Supply Co
                    3901 G St
                    Philadelphia, PA 19124

                    Fox Electric Supply Co
                    8021
                     Rt. 130 South
                    Pennsauken, NJ 08110

                    Fox Eletric Supply Co.
                    33 W. Girard Ave.
                    Philadelphia, PA 19123

                    Fox Glass & Mirror Co., Inc
                    118 E Main
                    Weatherford, OK 73096

                    Fox Machinery Associates, Inc
                    PO Box 160
                    35 Front Street
                    Bridgeport, PA 19405

                    Fox Meadow Apts
                    100 Fox Meadow Drive
                    Maple Shade, NJ 08052

                    Foxfire Printing
                    750 Dawson Drive
                    Newark, DE 19713




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                    Foy, Inc.
                    100 Mc Kenney Street
                    Farmersville, TX 75442

                    Fp Mailing Solutions
                    Dept 4272
                    Carol Stream, IL 60122 4272

                    Fpg International LLC
                    32 Union Square East
                    New York, NY 10003-3295

                    Fpg
                    32 Union Square East
                    New York, NY 10003

                    Frame's Motor Freight
                    P.O. Box 1600
                    West Chester, PA 19380

                    Frame's Motor Freight
                    PO Box 1600
                    1233 Wright's Lane
                    West Chester, PA 19360

                    Fran Zeilman Inc.
                    767 Dutchmill Road
                    Newfield, NJ 08344

                    Frances Shults
                    7905 Sailboat Lane
                    Las Vegas, NV 89145

                    Francotyp-Postalia
                    Dept. 4272,
                    CArol Stream, IL 60122-4272

                    Fran-Dan Bolt & Screw Co
                    188 Charles St,
                    Cambridge, MA 02141 2143

                    Frank Avenge
                    6 Belhurst Lane
                    Willingboro, NJ     08046

                    Frank B. Clayton's Sons
                    Fifth And Butler Streets
                    Philadelphia, PA 19140


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                    Frank C. Williams
                    23 Bromley Court
                    Hamden, CT 06514-1701

                    Frank Hatoum
                    33966 Treeline Ct.
                    Gages Lake, IL 60030

                    Frank Lowe Co.
                    10 Dubon Court
                    Suite 1
                    Farmingdale, NY     11735

                    Frank M. O'dowd, Inc.
                    3055 Blvd. Hamel,O.,Suite215
                    Quebec
                    Qc Canada
                    G1p 4c6

                    Frank Mayer & Associates Inc
                    5750 River Valley Trail
                    Anaheim Hills, CA 92807

                    Frank Miller & Sons
                    435 Mt. Hope St
                    North Attleboro, MA

                    Frank Rageis
                    2601 Broadway & Sycamour
                    Hatboro, PA 19040

                    Frank Spince
                    C/O Northern Marketing Inc
                    Attn: John Coates
                    14-16 Brown St
                    Salem, MA 01970

                    Frank T. Donnelly Company
                    P.O. Box 7829
                    15th And South Canal Street
                    Pittsburgh, PA 15215

                    Frank W. Winne & Son, Inc.
                    P.O. Box 7780-4281
                    Philadelphia, PA 19182-4281




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                    Frank W. Winne & Son, Inc.
                    PO Box 12860
                    Philadelphia, PA 19176-0860

                    Frank Wimmersberger
                    22 Quail Drive
                    Edgewater Park, NJ 08010-
                    1658

                    Frankford Aluminum
                    4233 Leiper Street
                    Philadelphia, PA

                    Frankford Hospital
                    PO Box 7777
                    W3590
                    Philadelphia, PA 19175

                    Franklin Chemical & Equip.
                    Co.
                    5116 Butler Pike
                    Plymouth Mtg., PA 19462

                    Franklin Electric Co
                    1511-37 N. 26th Street
                    Philadelphia, PA 19121-3799

                    Franklin Electric Company
                    1511-37 North 26th Street
                    Philadelphia, PA 19121-3799

                    Franklin Sign Co
                    4331 Frankford Ave
                    Philadelphia, PA 19124

                    Franklin Trailers, Inc.
                    1016 South Route 30 & Yale
                    Ave
                    Somerdale, NJ 08083

                    Frank's Lock & Key
                    1844 S Mooney Blvd, Ste A
                    Visalia, CA 93277 4455




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                    Frank's Paint & Wallpaper
                    Store Inc
                    817 Grand Ave
                    New Haven, CT 06511

                    Frantz Lithographic Services
                    1505 Ford Road
                    Bensalem, PA 19020

                    Fraser Stryker Meusey Olson
                    Boyer & Bloch, Pc
                    500 Energy Plaza
                    409 South 17th Street
                    Omaha, NE 68102-2663

                    Frazier Industrial Co.
                    Fairview Ave.
                    P.O. Box F
                    Longvalley, NJ 07853

                    Freas Millwork
                    1028 Progress Ave.
                    Andalusia, PA 19020

                    Fred Hall & Associates Inc
                    PO Box 610867
                    Dfw Airport, TX 752610867

                    Fred Hill & Son
                    PO Box 52498
                    Philadelphia, PA     19115

                    Fred Hill & Son, Inc.
                    P.O. Box 52498
                    Philadelphia, PA 19116-4202

                    Fred Kennedy Trucking, Inc
                    PO Box 297
                    Beverly, NJ 08010

                    Fred Lonner
                    One Penn Plaza
                    Suite 3509
                    New York, NY 10119-0118




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                    Fred Pryor Seminars
                    P.O. Box 2951
                    Shawnee Mission, KS     66201

                    Fred Pryor Seminars
                    PO Box 2951
                    Shawnee Mission, KS     66201

                    Fred Pryor Seminars
                    PO Box 410498
                    Kansas City
                    Mo 64141 0498

                    Fred V. Fowler Company, Inc.
                    66 Rove Street
                    P.O. Box 66299
                    Newton, MA 02466

                    Frederick L. Conrad, Jr
                    4020 Sutherland Avenue
                    PO Box 11202
                    Knoxville, TN 37939-1202

                    Fredeswinda Britton
                    959 Woodcliff Drive
                    Franklin Square, NY     11010

                    Fred's Trailer Repair Inc
                    Creek Rd
                    PO Box 5002
                    Delanco, NJ 08075

                    Fred's Trailer Repair, Inc.
                    450 Creek Road
                    P.O. Box 5352
                    Delanco, NJ 08075

                    Free State Steel
                    1700 South Haven St
                    PO Box 5110
                    Baltimore, MD 21224

                    Freeman Companies
                    7000 Placid, #101
                    Las Vegas, NV 89119




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                    Freightland
                    809 N. Bethlehem Pike
                    Building F-1
                    Ambler, PA

                    Fremont Contract Carriers
                    Inc.
                    P.O. Box 489
                    Fremont, NE 68026-0489

                    Frey, Petrakis, Deeb & Blum

                    Friden Neopost
                    101 Executive Drive
                    Unit 3 And 4
                    Moorestown, NJ 08057

                    Friden Neopost
                    PO Box 13206
                    Newark, NJ 07101-3206

                    Fried Brothers, Inc.
                    467 N. 7th Street
                    Philadelphia, PA 19123

                    Friedman Electric
                    1321 Wyoming Ave.
                    Exeter, PA 18643

                    Friends Of Jewish Family
                    Service
                    3 S. Weymouth Avenue
                    Ventnor, NJ 08406

                    Friends Of Mcdonnel Election
                    Fund
                    2958 Hartford Road
                    Camden, NJ 08104

                    Friends Of The Philadelphia
                    Ronald Mcdonald House
                    Attn: Jody Abrams
                    323 S. Sterling Road
                    Elkins Park, PA 19027




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                    Friends Of Vinnie
                    C/O Pershing
                    380 Red Lion Road
                    Huntingdon Valley, PA      19006

                    Friskem Infinetics Inc.
                    201 Vandever Ave.
                    Wilmington, DE 19899-2330

                    Fromm Electric Supply
                    2020 Springdale Road
                    Suite 200
                    Cherry Hill, NJ 08034

                    Frontier Cellular
                    PO Box 20568
                    Rochester, NY 14602

                    Fryer Machine Systems Inc.
                    Robin Hill Corporate Park
                    Patterson, NY 12563

                    Fst Logistics
                    Po Box 1300
                    Hillard, OH 43026

                    Fuchs Lubricants Co.
                    281 Silver Sands Rd.
                    East Haven, CT 06512

                    Fucimet
                    P.O. Box 88554
                    Chicago, IL 60680-1554

                    Fuell's Bjcc/Ultra Hdwe - Iro
                    Rr01 Box 11835,
                    Carr 684 Km 0.8
                    Manati, PR 00617

                    Full House
                    320 North Drive
                    Melbourne, FL 32934

                    Full Quiver Construction, LLC
                    509 Terrace Ave
                    Albion, NJ 08009




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                    Full Spectrum Systems, Inc.
                    55 Willis Drive
                    West Trenton, NJ 08628

                    Fulton Ferry Liquidators Inc
                    Brooklyn Army Terminal
                    140 58th Street, 2b
                    Brooklyn, NY 11220 2521

                    Fulton
                    Iron & Manufacturing LLC
                    3844 Walsh Street
                    St. Louis, MO 63116-3399

                    Fulton, Mehring & Hauser Co.
                    235 N. Beaver Street
                    P.O. Box 2466
                    York, PA 17405

                    Furman, Ellen B.
                    3858 Modena Place
                    San Diego, CA 92130

                    Future Resources Unlimited
                    Inc
                    80-8 North Main Street
                    P.O. Box 476
                    Florida, NY 10921

                    Fux Maschinenbau &
                    Kunststofftechnik
                    A-4575 Rossleithen 72
                    Robleithen
                    Austria
                    T 12051997

                    Fuzhou Baige Bag Mfy Co Ltd
                    1/Fl, Fusheng Bldg
                    Jincheng Investment Area
                    Fuzhou China

                    G & G Builders Hardware
                    4885 Us 322
                    Franklin, PA 16323




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                    G & H Distribution
                    2973 Bristol Pike
                    Bensalem, PA 19020

                    G & H Service Co.
                    P.O. Box 190
                    Bridgeport, PA 19405

                    G & S Technologies
                    1800 Harrison Ave
                    Kearny, NJ 07032

                    G F Technologies
                    4565 Willow Parkway
                    Cuyahoga Hts, OH 44125

                    G M Wood Products
                    PO Box 673808
                    Detroit, MI 48267-3808

                    G O D Inc
                    PO Box 100
                    Kearny, NJ 07032

                    G. Neil Companies
                    PO Box 31038
                    Tampa, FL 33631-3038

                    G. Rodemer Assoc.
                    919 Broadway
                    Westville, NJ 08093

                    G.E. Supply
                    1641 Route 70 East
                    Cherry Hill, NJ 08034

                    G.F Goodman
                    2 Ivybrook Blvd
                    Ivyland, PA 18974

                    G.F. Goodman & Son Inc.
                    Two Ivybrook Boulevard
                    Ivyland, PA 18974

                    G.I. Joe Septic Tank & Cp
                    Serv
                    3rd & Green Streets
                    Waterford, NJ 08089


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                    G.I.L. Building Contractors
                    619 Quincy Court
                    Glassboro, NJ 08028

                    G.M. Honkus & Sons Inc.
                    2030 Seanor Rd.
                    Windber, PA 15963

                    G.O.D., Inc
                    PO Box 100
                    Kearny, NJ 07032

                    G.R. Grant Co.
                    205 Plushmill Road
                    Wallingford, PA 19086

                    Gaer Hardware Ltd
                    460 Hanlan Road Unit #1
                    Woodbridge, Ontario L4I 3P6
                     Canada

                    Gagetalker Corporation
                    11415 Ne 128th Street
                    Kirkland, WA 98034

                    Gainsborough Hardware Ind Ltd
                    190 Whitehorse Road
                    Black Burn Victoria. 3130
                    Australia

                    Galaxy Fasteners
                    101 Telmore Rd
                    East Greenwich, RI     02818

                    Galaxy Fasteners
                    101 Telmore Road
                    East Greenwich, RI     02818

                    Galey Industrial Supply Co
                    1021 Saville Ave
                    Eddystone, PA 19016-0797

                    Gallagher Brothers, Inc.
                    7033 Frankford Ave
                    Philadelphia, PA 19135




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                    Gallagher Fluid Seals, Inc.
                    P.O. Box 61367
                    King Of Prussia, PA 19406-
                    0857

                    Gallagher Promotional
                    Products
                    PO Box 520635
                    Longwood, FL 32752

                    Gallagher, Ed
                    9903 Santa Monica Blvd #497
                    Beverly Hills, CA 90212

                    Gallo Bros Development
                    1800 Dekalb St
                    Norristown, PA 19401

                    Gall's, Inc.
                    2470 Palumbo Drive
                    P.O. Box 54666
                    Lexington, KY 40555-4666

                    Galman-Lepow Associates
                    1879 Old Cuthbert Rd. #12
                    Cherry Hill, NJ 08034

                    Galson Laboratory
                    P.O. Box 8000
                    Dept. 684
                    Buffalo, NY 14267

                    Gannett Fleming, Inc.
                    P.O. Box 67100
                    Harrisburg, PA 17106-7100

                    Gaoshida Bldg Matl Deco
                    Longsheng Industrial Region
                    Leliu Town
                    Shunde City
                    Guangdong Chuba

                    Garbose Metal Company
                    P.O. Box 66
                    155 Mill Street
                    Gardner, MA 01440-0066




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                    Garden State Chapter Of Afa
                    K.Thomas %Homestead Fence Co
                    637 Rt 9
                    West Creek, NJ 08092

                    Garden State Dust Control Inc
                    7007 Route 38
                    Pennsauken, NJ 08109

                    Garden State Fraternal
                    Order Of Police Lodge #03
                    PO Box 1338
                    Merchantville, NJ 08109

                    Garden State Lodge #3 Fop
                    871 Engard Avenue
                    Pennsauken, NJ 08110

                    Garden State Metals, Inc.
                    1 Pavilion Avenue
                    Po Box 144
                    Riverside, NJ 08075

                    Garden State Paving Co.
                    1205 Farrell Avenue
                    Cherry Hill, NJ 08002

                    Garden State Pump Co.
                    3910 Park Ave Unit 1
                    Edison, NJ 08820

                    Garden State Trailer Jockey
                    P.O. Box 497
                    Cliffwood, NJ 07721

                    Gardenwood Inc.
                    2800 Richie Avenue
                    Oroville, CA 95966

                    Gardner Custom Construction
                    11013 Ferndale St.
                    Philadelphia, PA 19116

                    Gardner Publications Inc.
                    6600 Clough Pike
                    Cincinnati, OH 45244




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                    Gardner Spring, Inc.
                    1115 North Utica Avenue
                    Tulsa, OK 74110-4632

                    Garfield Alloys
                    P.O. Box 70415t
                    Cleveland, OH 44190

                    Garland Floor Company
                    4500 Willow Parkway
                    Cleveland, OH 44125

                    Garland Manufacturing Company
                    P.O. Box 538
                    Saco, ME 04072-0538

                    Garmar Industries Inc.
                    1625 U.S. Highway 322
                    60 N. Forklanding Road
                    Woolwich Township, NJ 08085

                    Garner Mini Storage
                    2016 W Garner Rd
                    Garner, NC 27529 2620

                    Garney Morris
                    6139 Emilie Road
                    Levittown, PA 19057

                    Garon Products Inc.
                    P.O. Box 1924
                    Wall, NJ 07719-1924

                    Garsey Electric
                    853 Kendrick Street
                    Philadelphia, PA 19111

                    Garth Collins
                    8 Dunluce Road
                    Edmonton
                    Alberta Canada
                    T5x 3v2 Canada

                    Gary Billings
                    2851 Almond St
                    Philadelphia, PA 19134




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                    Gary Dawson
                    4430 N 22rd St, #13
                    Phoenix, AZ 85016

                    Gary P. Romisher, Md Pa
                    P.O. Box 189
                    Stratford, NJ 08084-0189

                    Gary Stallings
                    230 Evergreen Rd
                    Bakersville, NC 28705

                    Gary's Glass & Mirror
                    1109 Osage Beach Road
                    Osage Beach, MO 65065

                    Gas Arc Supply
                    5104 Umbria St
                    Phila., PA 19128

                    Gasper Landscapes, Inc.
                    870 2nd Street Pike
                    Richboro, PA 18954

                    Gaston Fence Company
                    Highway 321 North
                    PO Box 575
                    Dallas, NC 28034

                    Gateway 2000
                    8255 Box 2000
                    Des Moines, IA     50301

                    Gateway Services
                    2512 Route 73 N.
                    Cinnaminson, NJ 08077

                    Gaul Constuction
                    1703 Rancocas Road
                    Burlington, NJ 08016

                    Gaum Inc.
                    1080 Route 130
                    PO Box 485
                    Robbinsville, NJ     08691




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                    Gaylord Container Corp
                    1001 Ogletown Road
                    Newark, DE 98335

                    Gbi-B2b Inc.
                    1320 Rte. 9
                    Champlain, NY    12919

                    Gdhwd & Eberle Inc
                    111 Deerlake Rd, Ste 115
                    Deerfield, IL 60015

                    Ge Betz Customer Care Center
                    4636 Somerton Road
                    Trevose, PA 19053-6783

                    Ge Capital Solutions
                    1000 Windward Concourse
                    Suite 403
                    Alpharetta, GA 30005

                    Ge Capital
                    P.O. Box 3083
                    Cedar Rapids, IA     52406-3083

                    Ge Capital
                    P.O. Box 642111
                    Pittsburgh, PA 15264-2111

                    Ge Capitol
                    PO Box 802585
                    Chicago, IL 60680-2585

                    Ge Energy Services
                    1040 E. Erie Ave.
                    Philadelphia, PA 19124

                    Ge Inspection Technologies
                    50 Industrial Park Road
                    Lewistown, PA 17044

                    Ge Plastics
                    P O Box 640959
                    Pittsburgh, PA     15264-0959




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                    Ge Polymershapes,
                    Cadillac & Commercial
                    4168 Collections Center
                    Chicago, IL 60693

                    Ge Supply Company
                    522 Pedricktown Road
                    Logan Township, NJ 08085

                    Ge Supply Obsolete
                    PO Box 8500 S 41790
                    Philadelphia, PA 19178

                    Gebhardt B Schornstadt
                    5102 Rotherfield Ct
                    Charlotte, NC 28277 2661

                    GED Integrated Solutions
                    9280 Dulton Drive
                    Twinsburg, OH 44087

                    Gee Bridge International Inc
                    5th Floor, No. 46, Lane 80,
                    Nan-King Road, Sec. 3,
                    Taipei Taiwan

                    Gefran Isi, Inc.
                    8 Lowell Ave
                    Winchester, MA 1890

                    Gehringer Canvas & Repair
                    1340 Centre Avenue
                    Reading, PA 19601

                    Geico
                    One Geico Plaza
                    Bethesda, MD 20810-0001

                    Gemini Business Machines Inc
                    PO Box 218
                    Bensalem, PA 190200218

                    Gemm Enterprises Inc.
                    Suite 2006 Kinvara Drive
                    Mcknight East Plaza #1
                    Pittsburgh, PA 15237




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                    Gems Sensors
                    1 Cowles Road
                    Plainville, CT 06062

                    Gendiam Ltd.
                    51 Ford Ave
                    Latham, NY 12110

                    Gene Giles
                    4909 Oxford Ct
                    Bensalem, PA 19020

                    Gene Liguori Memorial Fund
                    Mark Schwebel
                    75 Dogwood Rd.
                    Hopewell Jct., NY 12533

                    Gene Morrison
                    6 Roxburn Place
                    Willingboro, NJ     08046

                    General Aire Systems
                    115 North 5th Street
                    P.O. Box 110
                    Darby, PA 19023-0110

                    General Binding Corporation
                    P.O. Box 71361
                    Chicago, IL 60694-1361

                    General Chemical & Supply
                    119 E. Kings Highway
                    Suite 103
                    Maple Shade, NJ 08052

                    General Chemical & Supply
                    119 E. Kings Highway
                    Suite 103
                    Maple Shade, NJ 08052

                    General Chemical And Supply
                    119 East Kings Hwy, Ste 103,
                    Maple Shade, NJ 08052




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                    General Container Corp.
                    54 Veronica Avenue
                    P.O. Box 6140
                    Somerset, NJ 08875-6140

                    General Copper & Brass Co.
                    P.O. Box 5353
                    414 Mc Dade Blcd
                    Collingdale, PA 19142

                    General Electric Company
                    P.O. Box 640101
                    Pittsburgh, PA 15264-0101

                    General Electrical Speciality
                    181-04 Jamaica Avenue
                    Jamaica, NY 11423

                    General Felt Ind
                    2121 E. Wheatsheaf Lane
                    Philadelphia, PA 19137

                    General Machine & Manufacture
                    610 Route 168
                    Turnersville, NJ 08012

                    General Metal Company Inc.
                    1286 Adams Road
                    Bensalem, PA 19020

                    General Metal Company, Inc.
                    1286 Adams Rd.
                    Bensalem, PA 19020

                    General Metals & Smelting Co.
                    21 Industrial Drive
                    Readville, MA 02137

                    General Partition Co. Inc.
                    P.O. Box 97
                    916 Washington Ave.
                    Croydon, PA 19021

                    General Partition Company
                    916 Washington Avenue
                    Croydon, PA 19021




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                    General Scrap
                    P.O. Box 227
                    Elizabeth, NJ    07201

                    General Wire Spring Co.
                    1101 Thompson Ave.
                    Mckees Rocks, PA 15136

                    General Wire Spring Co.
                    1101 Thompson Avenue
                    Mckees Rocks, PA 15136

                    Generation 4 LLC
                    PO Box 769
                    Rock Falls, IL 61071

                    Genesis Equipment Marketing
                    7595 E. Gray Rd.
                    Scottsdale, AZ   85260

                    Genesis Equipment
                    7595 East Gray Road
                    Scottsdale, AZ 85260

                    Genesys Combustion Inc.
                    87 Sleepy Valley Road
                    Warwick, NY 10990

                    Gengroup, Inc
                    4200 Midland Ave.
                    Scarborough
                    Ontario Canada Miv 456

                    Genicom Corp.
                    PO Box 277871
                    Atlanta, GA 30384-7871

                    Genimex Jersey Limited
                    Representative Office
                    No 212, Jiangning Rd
                    Jiang An District
                    China
                    Shanghai




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                    Genius Products Co Ltd
                    Rm 1501-3, 15/Fl Metro Ct
                    32 Lam Hing Street
                    Kowloon Bay
                    Kowloon Hong Kong

                    Genoa Couplings
                    1001 Westgate Drive
                    St. Paul, MN 55114

                    Geo Trans Inc.
                    2 Paragon Way
                    Freehold, NJ 07728

                    George A. Cook, Sgt At Arms
                    Room 112
                    Hall Of Justice
                    Camden, NJ 08103

                    George Apkin & Sons, Inc.
                    Po Box 509
                    N. Adams, MA 01247

                    George Campbell Contracting
                    Supply Corporation
                    31-40 College Point Blvd
                    Flushing, NY 11354

                    George Degen & Co. Inc.
                    D/B/A/ Industrial Oil
                    Products
                    144 Woodbury Road
                    Woodbury, NY 11797

                    George E Fern Company
                    1100 Gest St
                    Cincinnati, OH 45203 1198

                    George E. Snyder Contractors
                    1250 Clarion Street
                    Reading, PA 19601

                    George F. Kempf
                    5800 Lindbergh Blvd.
                    P.O. Box 19269
                    Philadelphia, PA 19143




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                    George Feder
                    435 Haverford Road
                    Wynnewood, PA 19096

                    George Fernandez
                    B K A Sales & Marketing
                    16045 Sw 89th Ave
                     Miami, FL 33157

                    George L Griffin
                    6552 Windsor Ave
                    Philadelphia, PA 19142

                    George Malcom Usa Inc
                    PO Box 1581
                    Elkhart, IN 46515 1581

                    George Massie
                    1013 Woodhill Drive
                    Gibsonia, PA 15044

                    George Rodemer Associates
                    919 Broadway
                    Westville, NJ 08093

                    George Rutz
                    1125 St. Finegan Dr.
                    West Chester, PA 19382

                    George S. Coyne Chemical Co.
                    P.O. Box 7777-W8450
                    Philadelphia, PA 19175

                    George S. Loutey.
                    13 Poulson Avenue
                    Essington, PA 19029

                    George S. Maier Co.
                    5070 West Chester Pike
                    Edgemont, PA 19028

                    George Sparks, Inc
                    11 Monroeville
                    Monroeville, NJ 08343

                    George Young Company
                    20th Street And Oregon Avenue
                    Philadelphia, PA 19145-4296


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                    George's Auto
                    Sales & Detailing
                    5120 Route 38
                    Pennsauken, NJ 08109

                    Georgetown Publishers
                    Dept Sfd 265
                    1101 30th St. N.W.
                    Washington, DC 20007

                    Georgetti's Pasta And Sauce
                    Market
                    1095 Cinnaminson Avenue
                    Cinnaminson, NJ 08077

                    Georgia Department Of Revenue
                    PO Box 105296
                    Atlanta, GA 30348

                    Georgia Dept. Of Revenue
                    PO Box 105499
                    Atlanta, GA 30348-5499

                    Georgia-Pacific Corp.
                    Packaging Division
                    Plant# 427
                    Righters Ferry Rd.
                    Bala Cynwyd, PA 19004-0426

                    Georgia-Pacific
                    A Georgia-Pacific Company
                    Righters Ferry Road &
                    Schuylkill River
                    Bala Cynwyd, PA 19004

                    Georgia-Pacific
                    P.O. Box 102333
                    Atlanta, GA 30368-0333

                    Geppert Broc. Inc.
                    Box 81
                    Colmar, PA 18915

                    Geppert Rental/A-1 Repair
                    Tool Repair & Rental
                    1561-B Easton Road
                    Roslyn, PA 19001



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                    Gerald Metals, Inc.
                    6 High Ridge Park
                    Stamford, CT 06905

                    Gerald Metals, Inc.
                    P.O. Box 10134
                    Stamford, CT 06904

                    Gerald's Locksmith
                    1383 N Tamiami Trail
                    North Fort Myers, FL 33903

                    German Glass
                    9384 Route 130 North
                    Pennsauken, NJ 08110

                    Germat Trading Ltd.
                    4 Lower Hatch Street
                    Dublin 2
                    Ireland

                    Gerrard Packaging
                    33612 Treasury Center
                    Chicago, IL 60694-3800

                    Gershow Recycling Centers
                    P.O. Box 526
                    71 Peconic Avenue
                    Medford, NY 11763

                    Gerth Transport
                    280 Shoemaker Street
                    Kitchener, Ontario, CA      N2e
                    3e1

                    Gesswein
                    255 Hancock Avenue
                    Bridgeport, CT 06605-2400

                    Gettys Corporation
                    Dept. Ch10515

                     Palatine, IL    60055-0515

                    Geyer Roofing
                    P.O. Box 375
                    Pitman, NJ 08071



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                    Gi Trucking Co
                    PO Box 609
                    La Mirada, CA 90637

                    Gib Gullaksen
                    131 Berwick Dr
                    West Chester, PA 19382

                    Giberson Plumbing &
                    Excavating
                    7 Park Drive
                    Shamong, NJ 08088-8995

                    Gibraltar Construction
                    703 White Horse Road
                    Suite One
                    Voorhees, NJ 08043

                    Gibson Engineering
                    90 Broadway
                    P.O. Box 496
                    Norwood, MA 02062

                    Giddings & Lewis
                    Drawer No. 609
                    Milwaukee, WI 53278-0609

                    Gifford Studio Inc.
                    1131 South Chester Rd.
                    West Chester, PA 19382

                    Gifford Studio Inc.
                    1131 South Chester Road
                    West Chester, PA 19382

                    Gifts To Go
                    200 Kings Highway E
                    Haddonfield, NJ 08033

                    Gil ( Do Mnot Use)
                    619 Quincy Court
                    Glassboro, NJ 08028

                    Gilbert Daye
                    11 Corsalo Road
                    Lambertville, NJ     08530




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                    Gilco Trucking Company Inc
                    PO Box 27474
                    Salt Lake City, UT 84127
                    0474

                    Giles & Ransome
                    600 S. Egg Harbor Road
                    Hammonton, NJ 08037

                    Gill Powder Coating Inc.
                    1384 Byberry Road
                    Bensalem, PA 19020

                    Gill Powder Coating
                    1384 Byberry Road
                    Bensalem, PA 19020

                    Gillen Machinery Co, Inc
                    233 Briarwood Trail
                    PO Box 62
                    Medford Lakes, NJ 08055

                    Gillen Machinery Co. Inc.
                    P.O. Box 62
                    233 Briarwood Trail
                    Medford, NJ 08055

                    Gilliard Associates LLC
                    82 Sannita Dr
                    Rochester, NY 14626

                    Gino F Mevoli
                    8 Slate Ct
                    Sicklerville, NJ 08081

                    Giordano's Scrap Yard
                    110 N. Mill Road
                    Vineland, NJ 08360

                    Giuliano Auto Body
                    5091 Umbria Street
                    Philadelphia, PA 19128

                    Giuseppe Fiorilli
                    Architectural Millwork
                    1714 N. Mascher Street
                    Phila., PA 19122



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                    Gjp Enterprises Inc
                    2047 Route 130
                    Burlington, NJ 08016

                    Gladon
                    310 West Forest Hill Ave.
                    Oak Creek, WI 53154-2906

                    Glantz Iron & Metals Inc
                    44 S 8th St
                    Brooklyn, NY 11211

                    Glasforms Inc.
                    271 Barnard Avenue
                    San Jose, CA 95125

                    Glass Enterprises Inc.
                    2277 New York Ave
                    Bensalem, PA 19020

                    Glass Equipment Development
                    In
                    PO Box 691148
                    Cincinnati, OH 45269-1148

                    Glass House, Inc.
                    P.O Box 5527
                    Deptford, NJ 08096

                    Glass Mechaniks
                    139 Dogwood Drive
                    Tarboro, NC 27886

                    Glass Supplies Incorporated
                    14015 Appling Lane
                    Charlotte, NC 28278

                    Glasstint
                    3121 Rt. 73s
                    Maple Shade, NJ     08052

                    Glaziers Supply (T/S)
                    Glass Wholesalers Inc
                    4822 Southerland Rd
                    Houston, TX 77092-3024




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                    Gleason Reel Corp
                    P.O. Box 26
                    600 South Clark Street
                    Mayville, WI 53050

                    Glen Weisman
                    21 Westwood Place
                    Holland, PA 18966

                    Glencoe Farm Hand
                    909 Pinder Ave.
                    Grinnell, IO 50112

                    Glencore Ltd
                    Three Stamford Plaza
                    301 Tresser Boulevard
                    Stamford, CT 06901

                    Glenrich Metals International
                    108-18 Queens Blvd
                    Forest Hills, NY 11375

                    Glenwood Mfg. Co.
                    1701 Loretta Ave.
                    Feasterville Industrial Park
                    Feasterville, PA 19053

                    Global Business Corporation
                    7300 N. Crescent Blvd
                    Unit 18
                    Pennsauken, NJ 08110

                    Global Comm - 310
                    PO Box 85195
                    Richmond, VA 23285

                    Global Computer Supplies
                    11 Harbor Park Drive
                    Port Washington, NY 11050-
                    4622

                    Global Computer Supplies
                    Dept 7777
                    PO Box 5133
                    Chicago, IL 60680-5133




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                    Global Contact, Inc
                    16 West Main Street
                    Marlton, NJ 08053

                    Global Equipment Company
                    11 Harbor Park Drive
                    Pt. Wash, NY 11050-4682

                    Global Equipment Company
                    PO Box 100090
                    Buford, GA 30515

                    Global Flag Co
                    2800 Ridgewood Road
                    & Rt. 34
                    Wall Township, NJ 07719

                    Global Industrial Equipment
                    22 Harbor Park Drive
                    Dept. Q
                    Port Washington, NY 11050

                    Global Integrated
                    Logistics, Inc.
                    629 Airport Road Suite B
                    Lawrenceville, GA 30045

                    Global Logistics
                    Po Box 1437
                    MT.Laurell, NJ 08054

                    Global Marketing
                    Group Worldwide LLC
                    16-00 Route 208
                    Fairlawn, NJ 07410

                    Global Mechanical, Inc.
                    225 Scarlett Road
                    Kennett Square, PA 19348

                    Global Merchant Supplies Inc.
                    Dba
                     Global-Infocom
                    100 A Walnut D15, #485
                    Champlain, NY 12919




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                    Global Source Link
                    PO Box 871871
                    Kansas, MO 64187-0871

                    Global Sources
                    PO Box 0203
                    Raffles City
                    911707
                    Singapore

                    Global Sourcing Solutions Inc
                    8122 Southpark Lane
                    Suite 112
                    Littleton, CO 80120

                    Global Terminal
                    C/O Fleet Bank
                    701 Broadway
                    Bayonne, NJ 07002

                    Global Trading Co Ltd
                    PO Box 712
                    Meadow Bridge Po
                    Jamaica, West Indies
                    Kingston 19

                    Globalcom-310
                    P.O. Box 85195
                    Richmond, VA 23285

                    Global-Infocom
                    100 A Walnut D15 #485
                    Champlain, NY 12919

                    Globe Metals Inc.
                    7 Ave L
                    P.O. Box 5029
                    Newark, NJ 07105

                    Globe Sanitary Fittings Co
                    Yue Xing Wei Village Fu Min
                    Guan Lan Town, Bao An
                    District
                    Shen Zhen China




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                    Gloria Ditomasso
                    26 Edinboro Circle
                    Chalfont, PA 18914

                    Gloria Taylor
                    15 Tioga Ln
                    Willingboro, NJ 08046

                    Gloucester Co. Probation
                    Dept.
                    P.O. Box 638
                    Woodbury, NJ 08096

                    Gloucester County College
                    Division Of Lifelong Learning
                    1400 Tanyard Road
                    Sewell, NJ 08080

                    Gloucester Publishers Corp
                    108 E Main St
                    Gloucester, PA 01930

                    Gm Fence
                    170 Route 10
                    East Hanover, NJ     07936

                    Gma Tooling
                    110 Pike Circle
                    Huntingdon Valley, PA        19006

                    Gmac Financial Services
                    P.O. Box 5180
                    Carol Stream, IL 60197-5180

                    Gmac Payment Processing
                    Center
                    PO Box 830069
                    #020-9056-33760
                    Baltimore, MD 21283-0069

                    Gmac Payment Processing Ctr.
                    PO Box 5180
                    Carol Stream, IL 60197-5180




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                    Gmac
                    Payment Processing Center
                    PO Box 78234
                    Phoenix, AZ 85062-8234

                    Gmg Productions
                    60 Cutter Mill Road
                    Suite 202
                    Great Neck, NY 11021

                    Gns/Bennington
                    66 Southgate Blvd.
                    New Castle, DE 19720

                    Goddard Manufacturing
                    101 Mill St
                    Logan, KS 67646 0502

                    Godwin Pumps Of America, Inc.
                    One Floodgate Road
                    Bridgeport, NJ 08014

                    Gold Coast Freightways, Inc
                    12250 N. W. 28th Avenue
                    Miami, FL 33167

                    Gold Shield Of Indiana, Inc.
                    P.O. Box 496
                    Decatur, IN 46733

                    Golden Eagle Moving Services
                    1450 N Benson Avenue
                    Upland, CA 91786

                    Golden Hedge Inc.
                    1469 Brace Rd.
                    Cherry Hill, NJ 08034

                    Golden Slipper Club
                    & Charities
                    215 N. Presidential Blvd.
                    1st Floor
                    Bala Cynwyd, PA 19004-1201




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                    Golden Valley Farms Inc.
                    208 Carter Drive
                    Suite 13b
                    West Chester, PA 19382

                    Golden Yarmalka Youth
                    Campaign
                    C/O Mr. Milton Pomerantz
                    53 Levering Circle
                    Bala Cynwyd, PA 19004

                    Goldenberg Rosenthal LLP
                    101 West Ave
                    PO Box 458
                    Jenkintown, PA 19046 0458

                    Goldenberg Rosenthal LLP
                    101 West Avenue
                    Jenkintown, PA 19046-0458

                    Goldhaber Research Assoc.LLC
                    One Nfa Park
                    Amherst, NY 14228-1149

                    Goldrick & Goldrick, Ltd.
                    10540 South Western Avenue
                    Suite 303
                    Chicago, IL 60643

                    Goldsboro Iron & Metal Co.
                    801 N. John St.
                    Goldsboro, NC 27533

                    Goldstein Chrysler Plymouth
                    PO Box 906
                    Latham, NY 12110-0906

                    Good Impressions Inc.
                    155 New Boston St.
                    Suite E
                    Woburn, MA 01801

                    Goodall Rubber
                    P.O. Box 4346
                    Dept 172
                    Houston, TX 77210-4346




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                    Goodhart Sons Inc.
                    2515 Horseshoe Road
                    Lancaster, PA 17605-0308

                    Goodrich Advertising
                    302 Hyde Park
                    Doylestown, PA 18901

                    Goodwin Import And Export
                    Co Ltd Of Zhongshan
                    3/F No 86 Bldg, Shun Jing
                    Garden
                    Zhongshan 4 Road
                    China
                    Zhongshan Gd

                    Goodyear Tire Center
                    10 A & B Runway Road
                    Levittown, PA 19057

                    Gorbel, Inc.
                    600 Fishers Run
                    Fishers, NY 14453

                    Gordon & Sons
                    1030 N 4th Street
                    Philadelphia, PA 19123

                    Gordon & Weinberg, P.C.
                    21 South 21st Street
                    Philadelphia, PA 19103

                    Goroge E. Snyder Contractors
                    & East Penn Refractories
                    1250 Clarion Street
                    Reading, PA 19601

                    Gortrac Division
                    Department 3865
                    P.O. Box 2088
                    Milwaukee, WI 53201-3865

                    Gosiger Inc.
                    322 Commerce Drive
                    Exton, PA 19341




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                    Gosiger Mid/Atlantic Corp.
                    P.O. Box 826026
                    Philadelphia, PA 19182-6026

                    Gotcha Legal Process
                    129 Main Street
                    Stonybrook, NY 11790

                    Gouge Glass, Inc.
                    11111 South 226 Hwy
                    Spruce Pine, NC 28777

                    Gould & Company
                    715 Boylston Street
                    Boston, MA 2116

                    Govberg J. Roberts Jewelers
                    292 Montgomery Avenue
                    Bala Cynwyd, PA 19004

                    Govberg
                    1428 Walnut Street
                    Philadelphia, PA 19102

                    Government Access
                    P.O. Box 430
                    Columbus, OH 43216

                    Govro-Nelson Co.
                    2155 Wadhams Rd.
                    St. Clare, MI 48079

                    Grabell Farms Inc
                    19 West Amherst Rd
                    Bala Cynwyd, PA 19004

                    Grace Filter Company
                    P.O. Box 348
                    #1 Foundry Street, Ste 102
                    Stroudsburg, PA 18360

                    Grafco
                    20 Regina Road
                    Woodbridge
                    Ontario, Canada     A L4l8l6




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                    Graftec Of Rockford Inc
                    3925 N Alpine Rd
                    Rockford, IL 61114

                    Graham Distribution Of S.C.
                    PO Box 1495
                    Columbia, SC 29202

                    Graham Gallery
                    28 S. Centre Street
                    Merchantville, NJ 08109

                    Grainger Parts
                    1657 Shermer Road
                    Northbrook, IL 60062

                    Grainger
                    Dept 808060032
                    Palatine, IL 60038-0001

                    Grainger
                    Dept. 808060032

                     Palatine, IL     60038-0001

                    Granco-Clark, Inc.
                    7298 North Storey Road
                    Belding, MI 48809

                    Grand Fiberglass Co Ltd
                    8a No 513 Zhongxing Road
                    China
                    Ningbo

                    Grand Northern Products Ltd.
                    400 Mart S.W.
                    Grand Rapids, MI 49548-1015

                    Grand Versailles
                    531 Route 38 West
                    Maple Shade, NJ 08052

                    Granite Packaging Supply Co
                    111 Whittendale Drive
                    Moorestown, NJ 08057-1399




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                    Granite Packaging Supply
                    111 Whittendale Drive
                    Moorestown, NJ 08057-1399

                    Grant R. Brooker
                    Attorney For Trism
                    P.O. Box 1491
                    Kennesaw, GA 30156

                    Graphel, Inc.
                    6115 Centre Park Drive
                    P.O. Box 369
                    West Chester, OH 45071

                    Graphic Controls Corp.
                    P.O Box 1271
                    Buffalo, NY 14240-1271

                    Graphics Advisory
                    7804 Montgomery Avenue
                    Suite 7
                    Elkins Park, PA 19027

                    Graphite Engineering & Sales
                    P.O. Drawer 637
                    712 Industrial Park Drive
                    Greenville, MI 48838

                    Graphite Machining Inc.
                    240 Main St.
                    Topton, PA 19562

                    Graphite Machining Torrance
                    In
                    1950 Centers Avenue
                    Lake Havasu City, AZ   86403

                    Grass Roots Sales & Mktg Inc
                    Attn: Jerry Thomas
                    4128 Stonemill Dr
                    High Point, NC 27265

                    Grass Tex Incorporated
                    PO Box 962
                    Dalton, GA 30722-0962




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                    Graybar Electric Company Inc.
                    900 Ridge Avenue
                    Pittsburgh, PA 15212

                    Graybar Electric
                    PO Box 7409
                    Philadelphia, PA     19101

                    Grayloc Products
                    11835 Charles Street
                    Houston, TX 77041

                    Grays Trucking
                    735 Broad Street
                    Beverly, NJ 08010

                    Grayson Flower Shop
                    5 E. Broad Street
                    Palmyra, NJ 08065

                    Grayson Mitchell Inc.
                    P.O. Box 128
                    Emporia, VA 23847

                    Great American Equip. Co
                    Toolholders Inc.
                    11925 Enterprise Ave
                    Cincinnati, OH 45241

                    Great Bear Spring Water Co.
                    Processing Center
                    P.O. Box 650641
                    Dallas, TX 75265-0641

                    Great Dane Limited
                    Partnership
                    Lathrop Avenue
                    P.O. Box 67
                    Savannah, GA 31402-0067

                    Great Dane Trailers
                    Attention: Jay Sevens
                    P.O. Box 350
                    Brazil, IN 47834




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                    Great Lakes Window
                    30499 Tracy Road
                    Walbridge, OH 43465

                    Great Plains
                    PO Box 1587
                    Burnsville, MN    55337

                    Green Valley Cc
                    201 West Ridge Pike
                    Lafayette Hill, PA 19444

                    Green Valley Country Club
                    201 West Ridge Pike
                    Lafayette, PA 19444

                    Greenberg,Grant & Richards
                    Inc
                    5858 Westheimer Suite 500
                    Houston, TX 77057

                    Greenberg,Grant & Richards,
                    Inc.
                    5858 Westheimer
                    Suite 500
                    Houston, TX 77057

                    Greene Installation Co., Inc
                    165 Bow Street
                    Everett, MA 2149

                    Greenfield Mfg Co
                    920 Levick St
                    Philadelphia, PA 19111-5498

                    Greenleaf Environmetal Serv,
                    Inc
                    7360 Milnor St
                    Philadelphia, PA 19136-4211

                    Greenwich Metals, Inc.
                    22 West Putnam Avenue
                    Greenwich, CT 06830

                    Greenwood Fabricating Inc.
                    P.O. Box 3323
                    Greenwood, SC 29648



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                    Greenwoods Collection
                    P.O. Box 6213
                    Carol Stream, IL 60197-6213

                    Greenwoods Collection
                    PO Box 2945
                    Hartford, CT 06104-2945

                    Greenwoods Collection
                    PO Box 188
                    957 N Meridian St
                    Sunman, IN 47041 0188

                    Greer Housing Authority
                    103 School St
                    Greer, SC 29651 3437

                    Greer Trading Ltd
                    405 Lexington Avenue
                    48th Floor
                    NY, New York 10174

                    Greg Carr
                    National Sales Manager
                    Asilimited
                    130 Inverness Plaza #187
                    Birmingham, AL 35242

                    Greg Marris Carpentry
                    255 Dudley Town Road
                    Windsor, CT 06 095

                    Gregg H. Hoffman
                    4670 Mcdermott Road
                    Bangor, PA 18013

                    Gregis Assoc Advertising
                    3601 Concord Road
                    York, PA 17402

                    Gregory A Pollack
                    2601 Pennsylvania Ave, Apt
                    529
                    Philadelphia, PA 19130




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                    Gregory Carter Locksmith
                    127 N Hanover St
                    Pottstown, PA 19464 5411

                    Gregory Chernin
                    11708 Centennial Square
                    Philadelphia, PA 19116

                    Gregory Manufacturing
                    2512 Henry Ladyn Dr
                    PO Box 325
                    Fort Madison, IA 52627

                    Gregory Schutz
                    3540 Taurus Dr
                    Racine, WI 53406

                    Greif Brothers Corporation
                    PO Box 799
                    3033 Market Street
                    Chester, PA 19016-0799

                    Greiner Industries
                    1650 Steel Way
                    Mount Joy, PA 17552-9515

                    Greller & Company
                    17830 Englewood Drive
                    Unit 4
                    Cleveland, OH 44130-3485

                    Grey Hub Trolley Wheel Co.
                    17265 Gable Avenue
                    Detroit, MI 48212

                    Grice Showcase & Display Mfg
                    2323 Center Park Dr
                    Charlotte, NC 28217 2908

                    Griffin Sign Co.
                    Market & Madison
                    Palmyra, NJ 08065

                    Grinding & Polishing
                    Machinery Corporation
                    2801 Tobey Dr.
                    Indianapolis, IN 46219



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                    Grip Tek
                    6855 Hermosa Circle
                    Buena Park, CA 90622

                    Grizzly Industrial
                    PO Box 2069
                    Bellingham, WA 98227

                    Grooters Machine Shop, Inc.
                    406 Cottage Grove Se
                    Grand Rapids, MI 49507

                    Grooters Machine Shop, L.C.
                    1562 Madison S.E.
                    Grand Rapids, MI 49507

                    Gross Metal Products, Inc.
                    221 Glenwood Avenue
                    Philadelphia, PA 19140

                    Gross Metal Products, Inc.
                    221 To 249 W. Glennwood Ave.
                    P.O. Box 46096
                    Philadelphia, PA 19160-6096

                    Grossman Bros. Inc.
                    614-18 N. 2nd St
                    Allentown, PA 18102

                    Grothe Electronics Corp.
                    2206 N. 53rd St.
                    Milwaukee, WI 53208

                    Grove Flower Shop
                    1241 Delsea Drive
                    Deptford Township, NJ      08093

                    Grove Supply Inc.
                    1125 T Bush Memorial Hwy.
                    Pennsauken, NJ 08110

                    Gsi Automation
                    P.O.Box 2010
                    45 Route 46
                    Pinebrook, NJ 07058




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                    Gts Of Tennessee, Inc.
                    63 Valleybrook Drive
                    Hendersonville, TN 37075

                    G-U Hardware, Inc.
                    12550 Patrick Henry Drive
                    Newport News, VA 23502

                    Guang Cheng Aluminum Indust
                    800 Airport Boulevard
                    Suite 300
                    Burlingame, CA 94010

                    Guang Zhou Shun Ming Hardware
                    Yuangang Village, San Jiang
                    Shitan Town, Zengcheng City
                    Guangdong Province Prc
                    China

                    Guangzhou Weloon Metalwork
                    Shashui Industrial District
                    Songgang, Nanhai
                    Foshan, China

                    Guaranteed Overnight Delivery
                    PO Box 100
                    Kearny, NJ 7032

                    Guardian Building Products
                    Attn: 2004 Fall Market
                    PO Box 528
                    Greenville, SC 29602

                    Guardian Building Products
                    Event Services
                    PO Box 528
                    Greenville, SC 29602

                    Guardian Industries Corp
                    4681 Collections Center
                    Chicago, IL 60696

                    Guardian Security Group Inc
                    5424 S Tacoma Way
                    Tacoma, WA 98409 4313




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                    Guardian
                    P.O. Box 530157
                    Atlanta, GA 30353-0157

                    Guernsey Engineers
                    246 Lambertville-Hopewell Rd
                    Hopewell, NJ 08525

                    Guides, Inc.
                    P.O. Box 160158
                    Altamonte Springs, FL      32716-
                    0158

                    Guidon Corp
                    23a Roland Avenue
                    Mt. Laurel, NJ 08054

                    Guidon Corporation
                    P.O. Box 1351
                    Mt. Laurel, NJ 08054

                    Gulf Coast Spa
                    2555 N. Monroe Street
                    Tallahassee, FL 32303

                    Gulf Northern Transport, Inc
                    3125 Ashley Phosphate Rd
                    Suite 126
                    North Charlston, SC 29418

                    Gulf Northern Transportation
                    P.O. Box 13251
                    Newark, NJ 07101

                    Gulf Oil
                    P.O. Box 9001001
                    Louisville, KY 40290-1001

                    Gulf Oil
                    PO Box 41592
                    Philadelphia, PA     19162-0035

                    Gulf South Chapter Of Afa
                    C/O Neil Stephens
                    Jamieson Fence Supply
                    PO Box 54085
                    Pearl, MS 39288-4085



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                    Gulf South Chapter
                    PO Box 875
                    Abbeville, LA 70511-0875

                    Gulton Graphic Instruments
                    1900 South County Trail
                    East Greenwich, RI 02818

                    Gunnar Nordahl
                    221 Prospect St
                    Auburn, MA 01501334

                    Guspro Inc.
                    280 Grand Ave. E.
                    Chatham, Ontario Canada
                    N7m 5l5

                    Guthrie Glass
                    7829 S Highway 17-92
                    Fern Park, FL 32730

                    Guy's Brake Service Company
                    P.O. Box 268
                    7321 Crescent Blvd
                    Pennsauken, NJ 08110

                    Guy's Brake Service Company
                    Po. Box 268
                    7321 Crescent Blvd.
                    Pennsauken, NJ 08110

                    Guyson Corporation Of Usa
                    W.J. Grande Industrial Park
                    13 Grande Blvd.
                    Saratoga Springs, NY 12866-
                    9090

                    H & C Metals
                    P.O. Box 5150
                    91 Malvern Street
                    Newark, NJ 07105

                    H & E Do It Y'self
                    14021 Amagosa Rd
                    Voctorville, CA 92392




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                    H & H Tooling
                    30505 Clemens Road
                    Westlake, OH 44145

                    H & J Demolition & Hauling
                    7015 Beaver Dam Road
                    Levittown, PA 19057

                    H & L Ford, Inc.
                    305 Grant Ave
                    Auburn, NY 13021

                    H & T Variety
                    Kiryas Joel Shopping Ctr
                    51 Forest Rd #202
                    Monroe, NY 10950 2948

                    H F Storage
                    2350 Old Georges Rd
                    North Brunswick, NJ 08902

                    H G Lipscomb & Co
                    621 Murfreesboro Rd
                    Nashville, TN 37210

                    H. B. Fuller Company
                    PO Box 73515
                    Chicago, IL 60673-7515

                    H. Bixon & Sons, Inc.
                    P.O. Box 1198
                    808 Washington Avenue
                    New Haven, CT 06505

                    H. Schwartz & Sons
                    P.O. Box 9421
                    Wilmington, DE 19809

                    H.A.Perotti, Inc.
                    2605 Durham Road
                    PO Box 702
                    Bristol, PA 19007

                    H.C. Harrington Co., Inc.
                    3201 Smallman Street
                    Pittsburgh, PA 15201-1492




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                    H.C. Nye Company
                    31st & Revere Street
                    Harrisburg, PA 17111

                    H.G.H.B.A.
                    728 Hwy 501 Bypass E
                    Conway, SC 29526

                    H.I.T. Distributers, Ltd.
                    74 Merrick Road
                    Lynbrook, NY 11563

                    H.O. Trerice Co.
                    P.O. Box 55-463
                    Detroit, MI 48255

                    H.R. Benjamin, Inc.
                    3525 Amber St.
                    Philadelphia, PA 19134

                    Haas Factory Outlet
                    3599 Marshall Lane
                    Bensalem, PA 19020

                    Haas Factory/Cnc Assoc.
                    A Division Of Lance Co.
                    3599 Marshall Lane
                    Bensalem, PA 19020

                    Hab-Eit
                    PO Box 900
                    Bangor, PA    18013-0900

                    Habitat For Humanity
                    C/O Midsouth Bldg Supply
                    5640 P Sunnyside Ave
                    Beltsville, MD 207054

                    Habitat For Humanity
                    C/O Team Marketing
                    2440 Plainfield NE
                    Grand Rapids, MI 49505

                    Hach Company
                    Dept. 198
                    Denver, CO 80281-0198




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                    Hach Company
                    P.O. Box 389
                    Loveland, CO    80539

                    Hachik Distributors, Inc.
                    2300 Island Avenue
                    Philadelphia, PA 19142

                    Hadco Alum. & Metal Corp
                    4001 "G" Street
                    Philadelphia, PA 19124

                    Haddon Fire Protection Co Inc
                    340 S. 8th Street
                    Gloucester City, NJ 08030

                    Haddon Transmission
                    Route 73
                    Maple Shade, NJ

                    Hagarty Associates, Inc.
                    Four Greentree Centre
                    Suite 102
                    Marlton, NJ 08053

                    Hager Companies
                    PO Box 503057
                    St Louis, MO 63150-3057

                    Hagglunds Drives, Inc.
                    2275 International Street
                    Columbus, OH 43228

                    Hagner-Carr Inc.
                    40 E. Crescent Blvd.
                    Collingswood, NJ 08108

                    Haining Anjie Locks Co Ltd
                    88 Xiuchuan E,
                    Road Changgan Town Hanning
                    China
                    Zhejiang

                    Hajjar Manufacturing Inc
                    PO Box L
                    Goldsboro, NC 27533 5911




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                    Hajoca Corp
                    950 Township Line Rd
                    Chester, PA 19013

                    Hajoca Corp.
                    P.O. Box 7777-W9470
                    Phila., PA 19175

                    Hal Hughes
                    3409 Little Hal Road
                    Loris, SC 29569

                    Hale Trailer Brake & Wheel,
                    Inc.
                    Route 73 & Cooper Rd.
                    Voorhees, NJ 08043-08

                    Hale Trailer
                    P.O. Box 1400
                    Rt. 73 & Cooper Rd.
                    Voorhees, NJ 08043

                    Hall County Sheriff's Dept.
                    C/O Dive Team Equipment Fund
                    610 Main Street
                    Gainesville, GA 30501

                    Halmar Robicon Corp.
                    P.O. Box 11578
                    Boston, MA 02211

                    Halmar Robicon Group
                    500 Hunt Valley Drive
                    New Kenington, PA 15068

                    Hamblen Hardware
                    111 King St
                    St Augustine, FL 32084 4320

                    Hamilton & Castor
                    1615 Dixie Hwy
                    Hamilton, OH 45011-4087

                    Hamilton Caster & Mfg. Co.
                    1637 Dixie Highway
                    Hamilton, OH 45011-4087




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                    Hammer Communications
                    28 Sunken Meadow Road
                    Northport, NY 11768

                    Hammertek Corporation
                    PO Box 416
                    Landisville, PA 17538

                    Hammond Machinery, Inc.
                    1600 Douglas Avenue
                    Kalamazoo, MI 49007-1690

                    Hampton Center East, L.L.C.
                    C/O Kenwood Management Co.,
                    L.L.C.
                    5272 River Rd. Suite 110ll
                    Bethesda, MD 20816

                    Hampton Inn
                    1329 Bristol Pike
                    Bensalem, PA 19020

                    Hand Held Products, Inc.
                    24004 Network Place
                    Chicago, IL 60673-1240

                    Handan Asia East Plastics Co
                    No. 56 Guangming South Road
                    Handan City, Hebei Box 056001
                    China

                    Handy Hardware Wholesale Inc
                    8300 Tewantin Dr
                    PO Box 12847
                    Houston, TX 77217 2847

                    Handy Hardware Wholesale Inc
                    Attn: Cindy Rodriguez
                    8300 Tewantin Dr
                    Houston, TX 77061

                    Hangzhou Great Star Tools Co
                    No. 35 Jiu Huan Rd
                    Jiubao Town, Hangzhou
                    310019
                    Hangzhou China




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                    Hangzhou Jiarui Hdw Co Ltd
                    #5 Jincheng Road,
                    Xindeng Developing Garden
                    Fuyang
                    China
                    Hangzhou

                    Hangzhou Xiaoshan Qiangwei
                    Hdw
                    Xintangtou Cun, Xin Jie Town
                    Xiaoshan, Hangzhou City
                    Zhejiang China

                    Hanjin Shipping Co Ltd
                    Frontage Worldwide LLC
                    PO Box 2187
                    Buena Park, CA 90621

                    Hanley-Wood Exhinition
                    8600 Freeport Parkway
                    Suite 200
                    Irving, TX

                    Hanley-Wood, Inc.
                    PO Box 75324
                    Baltimore, MD 21275-5324

                    Hanlix Int'l Co Ltd
                    533 Chung Shan Road, Shalu
                    Taiwan
                    Taichung Hsien

                    Hanlix Int'l Co Ltd
                    533 Chung Shan Road, Shalu
                    Taiwan
                    Taichung Hsien

                    Hanlon Transportation Systems
                    PO Box 2284
                    Cinnaminson, NJ 08077

                    Hanner Industries, Inc.
                    2520 Ford Road
                    Bristol, PA 19007




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                    Hanover Lantern
                    350 Kindig Lane
                    Hanover, PA 17331-1733

                    Hansen Gardner Publications
                    6915 Valley Ave.
                    Cincinnati, OH 45244

                    Hapco Div. Kearny National
                    Attention; Marilyn Taylor
                    P.O. Box 547
                    Abingdon, VA 24210

                    Har Zion Temple
                    1500 Hagys Ford Road
                    Penn Valley, PA 19072-1195

                    Harbinger Corp.
                    1055 Lenox Park Blvd.
                    Atlanta, GA 30319

                    Harbison Lock & Key
                    1704 28th Ave S
                    Birmingham, AL 35209 1832

                    Harbison-Walker Refractories
                    4667a Somerton Road
                    Trevose, PA 19053-6754

                    Harbot Casting
                    52 Centre St
                    Nutley, NJ 07110

                    Hard Chrome Specialists Inc
                    41 Leigh Drive
                    York, PA 17402

                    Hardinge Inc.
                    One Hardinge Drive
                    Elmira, NY 14903

                    Hardware & Industrial Tool Co
                    1 Commerce Drive
                    PO Box 307
                    Delanco, NJ 08075-0307




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                    Hardware & Supply Of Chester
                    Edgmont At Fourth
                    P.O. Box 678
                    Chester, PA 19016-0678

                    Hardware Distributors
                    2580 Getty St
                    Muskegon, MI 49444

                    Hardware Express
                    PO Box 404295
                    Atlanta, GA 30384 4295

                    Hardware House Inc
                    PO Box 11407
                    Birmingham
                    Al 35246 0587

                    Hardware Retailing
                    5822 West 47th St
                    Indianapolis
                    In 462781787

                    Hardware Suppliers Of Amer
                    Inc
                    PO Box 890669
                    Charlotte, NC 28289 0669

                    Hardware Suppliers Of America
                    PO Box 2208
                    Winterville, NC 28590 2208

                    Hardware/Housewares Show,
                    CArribean Inc
                    PO Box 29021
                    San Juan, PR 00929-0021

                    Hardwoods Plus Co
                    PO Box 706
                    Selma, OR 97538

                    Harkness Industries, Inc.
                    50 Grandview Court
                    Department 5
                    Cheshire, CT 06410




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                    Harney Hardware Inc
                    9610 Harney Rd
                    Thonotosassa, FL 33592

                    Harold Beck & Sons Inc.
                    2300 Terry Drive
                    Newtown, PA 18940

                    Harold Fisher And Sons Inc.
                    Ash & Rancocas Aves
                    Delanco, NJ O8075

                    Harold Henrich Co.
                    300 Syracuse Court
                    Lakewood Industrial Campus
                    Lakewood, NJ 08701

                    Harold L. Kapp
                    660 Dodds Lane
                    Gladwyne, PA 19035

                    Harrielle Embroidery Ltd.
                    375 Ivyland Rd.
                    Unit #19 Ivywood Ll
                    Warminster, PA 18974

                    Harrington & Company
                    760 West Layton Ave
                    Salt Lake City
                    Ut 84104

                    Harrington & King
                    Perforating Company
                    PO Box 91
                    Highland Lakes, NJ 07422

                    Harrington Group
                    576 North Semoran Boulevard
                    Orlando, FL 32807

                    Harrington Robb Co.
                    41 Twosome Drive
                    Unit 4
                    Moorestown, NJ 08057




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                    Harris Calorific Sales, Inc
                    25 Progress Street
                    Edison, NJ 08820

                    Harris Employment Svcs, Inc.
                    PO Box 9695
                    Uniondale, NY 11555-9695

                    Harris Fence Corp.
                    1105 Route 130 S .
                    Burlington Township, NJ
                    080016

                    Harris Fuels, Inc.
                    206 Otter Street
                    Bristol, PA 19007

                    Harrison Publishing Co. Inc.
                    624 Patton Avenue
                    Asheville, NC 28806-3890

                    Harry F.Long & Associates
                    P.O. Box 905
                    Wood Dale, IL 06191-0905

                    Harry White
                    Turnkey Services
                    PO Box 669
                    Seabrook, TX 77586

                    Hartford Insurance Company
                    Hartford Plaza
                    Hartford, CT 06 115

                    Hartford Specialty
                    690 Asylum Ave T-19-95
                    Hartford, CT 06115

                    Harvard Factory Automation,
                    Inc
                    3 N Lincoln
                    Harvard, IL 60033




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                    Harwell Industries Ltd
                    PO Box 267
                    No 157, Lane 175, Gwo-Sheng
                    Rd
                    Taiwan Changhua

                    Harwood Rubber Products
                    1365 Orlen Ave
                    Cuyahoga Falls, OH 44221

                    Hasmukhbhia Patel
                    1211 Ford Road
                    Bensalem, PA 19020

                    Hatch Associates Consultants
                    Att: Patricia Grady
                    1600 West Carson Street
                    Gateway View Plaza
                    Pittsburgh, PA 15219-1031

                    Hatfield Enterprizes
                    P.O. Box 14436
                    Spokane, WA 99214

                    Hatt's Industrial Supplies,
                    Inc
                    P.O. Box 506
                    Thorndale, PA 19372-0506

                    Havco
                    1000 Washington Avenue
                    Croydon, PA 19021

                    Hawk Labeling Systems
                    P.O. Box 208
                    Stillwater, MN 55082

                    Hawks & Co.
                    116 Haddon Ave.
                    Collingswood, NJ     08108

                    Hawley, Chris
                    10143 La Plante Rd
                    Monclora, OH 43542




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                    Hayden Switchgear
                    Products Corp.
                    41 Ward Rd.
                    Lancaster, NY 14086-9779

                    Haydon Bolt
                    1181 Unity Street
                    Philadelphia, PA 19124-3196

                    Haydon Bolts, Inc.
                    1181 Unity Street
                    Phila., PA 19124-3196

                    Haydon Corp
                    2a Jasper St
                    Patterson, NJ    07522

                    Hayes Children Fund
                    C/O The Oilgear Company
                    905 Cross Keys Drive
                    Doylestown, PA 18901

                    Hays Sheet Metal, Inc.
                    7300 N. Crescent Blvd
                    Bldg.21a
                    Pennsauken, NJ 08110

                    Hayward / Img
                    2875 Pomona Blvd
                    Pomona, CA 91768

                    Hayward Ind. Prod./Malvern
                    643 Swedesford Corp. Centre
                    P. O. Box 505
                    Frazer, PA 19355

                    Hayward Industrial Prod. Co.
                    P.O. Box 10742
                    Newark, NJ 07193-0742

                    Hayward Pool Products Co,
                    Inc.
                    900 Fairmount Ave.
                    Po.Box 18
                    Elizabeth, NJ 07207




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                    Hayward Pool Products, Inc.
                    900 Fairmount Avenue
                    Elizabeth, NJ 07207

                    Hazmat Environmental Group
                    60 Commerce Dr.
                    Buffalo, NY 14218

                    Haztrain Inc
                    P.O. Box 2206
                    5 Oak Avenue
                    La Plata, MD 20646

                    Hba Of Bucks/Montgomery
                    Counties
                    275 Commerce Dr Ste 325
                    Fort Washington, PA 19034

                    Hbi Contractors
                    2520 W Maple Avenue
                    Langhorne, PA 19053-0962

                    Hbi, Inc. Contractors
                    PO Box 501
                    Feasterville, PA 19053-0962

                    Hd Supply
                    Attn: Debbie Lin
                    10641 Scripps Summit Court
                    San Diego, CA 92131

                    Hd Supply
                    Attn: Vendor Reporting &
                    Analysis
                    501 W Church St
                    Orlando, FL 32805

                    Health Provisionaries Inc
                    PO Box 722
                    Woodbury, NJ 08096

                    Heany Industries, Inc.
                    249 Briarwood Lane
                    Scottsville, NY 14546




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                    Hearst Publications
                    224 West 57th Street
                    4th Floor
                    New York, NY 10019

                    Heart Advisor
                    P.O. Box 420041
                    Palm Coast, FL 32142-8559

                    Heart Of Camden
                    1742 Ferry Avenue
                    Camden, NJ 08104

                    Heartland Express, Inc.
                    2777 Heartland Drive
                    Coralville, IA 52241

                    Heather M Sprouse
                    48 West Azalea Ln
                    Mt Laurel, NJ 08054

                    Heaton, Ted
                    2921 Horse Hill East Dr
                    Indianapolis, IN 46214

                    Heatube Company
                    P.O. Box 130
                    Clarence, MO 63437-0130

                    Heaven Sent
                    PO Box 42623
                    Philadelphia, PA     19101

                    Hechinger
                    Route 38
                    Maple Shade, NJ     08052

                    Heck Associates
                    P.O. Box 3116
                    Omaha, NE 68103-0116

                    Hedman Co.
                    1910 W. Sunset Blvd.
                    Suite 825
                    Los Angles, CA 90026




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                    Hedwig C Casperson -Petty
                    Cash
                    2627 Norner Ave
                    Pennsauken, NJ 08109

                    Heil Company
                    Attn: Darlene
                    P.O. Box 160
                    Athens, TN 37303

                    Heim Group
                    PO Box 87618
                    Dept 302
                    Chicago, IL 60680-0618

                    Helene Wheeler
                    10923 Templeton Drive
                    Philadelphia, PA 19154

                    Helima Helvetion Intl., Inc.
                    PO Box 1348
                    Duncan, SC 29334

                    Heller Jeff Toni
                    593 Diane Place
                    North Woodmere, NY     11581

                    Hello Direct
                    75 Notyheastern Blvd.
                    Ms Box 555
                    Nashua, NH 3062

                    Helms Mullis & Wicker, Pllc
                    Attorneys At Law
                    201 N. Tryon St., PO Box
                    31247
                    Charlotte, NC 28231

                    Help Fight Crime America
                    132 Juniper Road
                    Havertown, PA 19083




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                    Henan Jianghua
                    Measure Tools Co Ltd
                    Yuhang Road Of Shangqiu
                    Economis
                    Technilogical Development
                    Zone
                    China
                    Henan

                    Hench Products
                    1510-C Avenue.
                    De La Estrella, |
                    San Clemente, CA 92672

                    Henderson Glass
                    31285 23 Mile Road
                    New Baltimore, MI 48047

                    Henderson Marine Supply LLC
                    644 Marina Way South
                    Rrichmond, CA 94804-3733

                    Henderson
                    116 Meadow Ave.
                    Bay Head, NJ 08742

                    Heng Hing Metal Factory Ltd
                    Heng Hing Metal Factory Ltd
                    Rm 515,5/F,Vanta Industrial
                    Centre,
                    21-33 Tai Lin Pai Road,
                    N.T.
                    Kwai Chung Hong Kong

                    Henges Associates, Inc.
                    P.O. Box 1809
                    Maryland Hts, MO 63043

                    Henkel Surface Tech/Equipment
                    32100 Stephenson Hwy
                    Madison Heights, MI 48071

                    Henkel Surface Tech/Novamax
                    P.O. Box 101432
                    Atlanta, GA 30392




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                    Hennen & Associates
                    10581 Cr2300 (75474)
                    PO Box 1449
                    Quinlan, TX 75474 1449

                    Henry Plumbing
                    440 Kaighn Ave.
                    Camden, NJ 08103

                    Henry Schildmeier
                    14184 Dickinson Court
                    Noblesville, IN 46060

                    Henry Stewart Company
                    1121-29 N. Delaware Avenue
                    Philadelphia, PA 19125

                    Henry Stewart Company
                    P.O. Box 280
                    Villanova, PA 19085

                    Herbert J Breggar
                    3600 Conshohocken Ave, Apt
                    1916
                    Philadelphia, PA 19131

                    Herder Associates
                    PO Box 61
                    Langhorne, PA 19047

                    Hergo Ergonomic Support
                    Systems, Inc.
                    56-01 55th Ave
                    Maspeth, NY 11378

                    Heritage Business System
                    8021 Route 130
                    Pennsauken, NJ 08110

                    Heritage Maintenance Products
                    Post Office Box 2178
                    Blue Bell, PA 19422-2178

                    Heritage News
                    1 Heritage Place
                    Suite 100
                    Southgate, MI 48195



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                    Herman Goldner Co. Inc.
                    7777 Brewster Avenue
                    Phila., PA 19153

                    Hermance Machine Co.
                    1st & Campbell Sts
                    Williamsport, PA 17701

                    Hermes D'andrea
                    Harrows
                    610 Route #110
                    Melville, NY 11747

                    Hero Scholarship Fund
                    Engine 1 & Ladder 5
                    711 S. Broad Street
                    Philadelphia, PA 19147

                    Herr Pump Co., Inc.
                    211 N. Ann Street
                    P.O. Box 179
                    Lancaster, PA 17603

                    Herschal Products Inc.
                    3778 Timberlake Drive
                    Richfield, OH 44286

                    Hertz Rental
                    9325 Route 130south
                    Pennsauken, NJ 08110

                    Hess Corporation
                    PO Box 905243
                    Charlotte, NC 28290 5243

                    Hewitt Electronics
                    241a East Waveland Avenue
                    Absecon, NJ 08201-9564

                    Hewlett Packard Company
                    Smb Direct
                    301 Rockrimmon Blvd. South
                    Colorado Springs, CO 80919-
                    2398




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                    Hewlett Packard
                    8000 Foothills Blvd. Ms 5532
                    Roseville, CA 95747

                    Hewlett-Packard Co.
                    P.O. Box 101149
                    Atlanta, GA 30392-1149

                    Hewlett-Packard Company
                    8000 Foothills Blvd
                    Ms 5512
                    Roseville, CA 95747-5512

                    Hexacomb Corp.
                    75 Tri-State International
                    Lincolnshire, IL 60069

                    Heyco Products, Inc.
                    PO Box 8500 (S-42220)
                    Philadelphia, PA 19178

                    Heyco
                    147 North Michigan Avenue
                    Kennilworth, NJ 07033

                    Heyco
                    PO Box 8500 (S-42220)
                    Philadelphia, PA 19178

                    Hf Fischer And Sons
                    Ash & Rancocas Ave
                    Delanco, NJ 08075

                    Hgs Administrators
                    Att: Cashier
                    P.O. Box 890304
                    Camp Hill, PA 17089-0304

                    Hi Temp Products, Inc.
                    85 Gibson Highway
                    Milan, TN 38358

                    Hibrett Puratex
                    7001 Westfield Ave
                    Pennsauken, NJ 08110




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                    High Reach Co., Inc.
                    1680 N West End Blvd
                    Quakertown, PA 18951-1805

                    High Steel Structures Inc.
                    1770 Hempstead Rd.
                    Lancaster, PA 17603

                    Highland Tank & Mfg. Co.
                    4535 Elizabethtown Road
                    Manheim, PA 17545

                    Highway Rental Co
                    1221 Route 73
                    Mt Laurel, NJ 08054

                    Hildebrand Machinery Co., Inc
                    2023 Black Bridge Road
                    York, PA 17402

                    Hildebrand Machinery Co., Inc
                    2023 Black Bridge Road
                    York, PA 17402

                    Hilti, Inc.
                    P.O. Box 382002
                    Pittsburgh, PA 15250-8002

                    Hilton At Cherry Hill
                    2349 W. Marlton Pike
                    Cherry Hill, NJ 08002

                    Hilton At Cherry Hill
                    Route 70 & Cuthbert Blvd
                    Cherry Hill, NJ 08034

                    Hindley Manufacturing Co.,
                    Inc.
                    9 Havens Street
                    P.O. Box 38
                    Cumberland, RI 02864-0838

                    Hireability
                    P.O. Box 200
                    Attn: Tina Kaluhiokalani
                    Blackwood, NJ 08012




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                    Hirecheck Inc.
                    P.O. Box 23199
                    Saint Petersburg, FL      33742

                    Hisco Inc.
                    109 Talcott Road
                    West Hartford, CT     06110

                    Hi-Tech Glass & Window
                    423 W 27th St
                    Hialeah, FL 33010 1319

                    Hi-Tech Machine Tools, Inc.
                    130-B Jefryn Blvd East
                    Deer Park, NY 11729

                    Hochschild Partners
                    250 Park Avenue
                    New York, NY 10177

                    Hodgson, Russ, Et Al
                    1800 One M & T Plaza
                    Buffalo, NY 14203-2391

                    Hoesch North America LLC
                    Division Of Hoesch
                    Metallurgie
                    Gmbh
                    1287 Brookstone Dr.
                    Boothwyn, PA 19061

                    Hoffman Air & Filtration Sys.
                    P.O. Box 1359
                    Buffalo, NY 14240

                    Hoffman Equipment, Inc.
                    300s. Randolphville Rd.
                    P.O. Box 669
                    Piscataway, NJ 08855-0669

                    Hogue,Hill,Jones,Nash & Lynch
                    PO Drawer 2178
                    101 S Third Street
                    Wilmington, NC 28402




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                    Hokay Travel Agency
                    5313 Frankford Avenue
                    Philadelphia, PA 19124

                    Holampco International
                    5825 Ellsworth Ave
                    Pittsburgh, PA 15232

                    Holco, Inc.
                    570 Bethlehem Pike
                    Fort Washington, PA     19034

                    Hold Company, Inc.
                    540 Township Line Road
                    Suite 200
                    Blue Bell, PA 19422

                    Holiday Inn Cherry Hill
                    Route 70 & Sayer Avenue
                    Cherry Hill, NJ 08002

                    Holiday Inn, Trevose
                    4700 Street Road
                    Trevose, PA 19083

                    Holloway Tools
                    102 Oscar Way
                    Uwchland, PA 19480

                    Hollywood Banners
                    539 Oak Street
                    Copiague, NY 11726

                    Holman Ford - Mount Laurel
                    1301 Route 73
                    Mt. Laurel, NJ 08054

                    Holman Truck Center
                    P.O. Box 279
                    Rt. 73 & 38
                    Maple Shade, NJ 08052

                    Holy Trinity School
                    631 E. 4th St.
                    Swedesburg, PA 19405




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                    Homa Pump Technology, Inc.
                    18 Elmcroft Road
                    Stamford, CT 06902

                    Home & Builders Association
                    275 Commerce Dr
                    Suite 325
                    Fort Washington, PA 19034

                    Home Builder Executive
                    25 East 21st St
                    New York, NY 10010

                    Home Depot Supply
                    10641 Scripps Summit Court
                    San Diego, CA 92150

                    Home Improvement Executive
                    25 East 21st St
                    New York, NY 10010

                    Home Insurance
                    P.O. Box 9636
                    Manchester, NH 03108-9636

                    Home Magazine
                    Eastern Advertising
                    1633 Broadway.
                    44th Floor
                    New York, NY 10019

                    Home Protector Mfg. Co., Inc.
                    PO Box 425
                    Pico Rivera, CA 90660

                    Home Tops
                    PO Box 370
                    499 W. Whitewater St.
                    Whitewater, WI 53190

                    Homes Plus
                    2800 Sylvester Rd
                    Albany, GA 31705

                    Homewood Products Corp.
                    820 Washington Boulevard
                    Pittsburg, PA 15206



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                    Honda Finance
                    PO Box 7860
                    Philadelphia, PA     19101-7860

                    Honeywell Inc
                    7 Eves Drive
                    Suite 100
                    Marlton, NJ 08053

                    Honeywell Industries
                    Solutions
                    P.O. Box 848324
                    Dallas, TX 75284-8324

                    Honeywell, Inc.
                    PO Box 916
                    Valley Forge, PA     19482

                    Hoogovens Aluminum Corp. Usa
                    101 Venture Way
                    Secaucus, NJ 07094-2127

                    Hoogovens/Corus Aluminum Svs
                    A Div. Of Corus Alum. Corp.
                    101 Venture Way
                    Secaucus, NJ 07096-2127

                    Hoosier Transportation Inc.
                    P.O. Box 207
                    Hwy. 50 East
                    Shoals, IN 47581

                    Hoover Containment Inc.
                    6740 Baymeadow Drive
                    Glen Burnie, MD 21060

                    Hoover Precision Products,
                    Inc.
                    2200 Pendly Road
                    Cumming, GA 30131

                    Hoppman Corp
                    14560 Lee Road
                    Chantilly, VA 20151-1684




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                    Horizon Blue Cross & Blue
                    Shield Of NJ
                    3 Penn Plaza East
                    Newark, NJ 07105-2200

                    Horizon Corp
                    6394 Castor Ave
                    Philadelphia, PA     19149

                    Horizon Data
                    100a Walnut Street
                    Suite 618
                    Champlain, NY 12919

                    Horizon Distribution Inc
                    PO Box 1021
                    Yakima, WA 98907

                    Horizon High Reach
                    25 Chambersbridge Road
                    Lakewood, NJ 08701

                    Horizon Industries
                    410 South 12th Street
                    Columbia, PA 17512

                    Horizon Systems, Inc.
                    PO Box 4290
                    1101 Horizon Drive
                    Lawrence KS 66046-1290

                    Horizon Ventures
                    PO Box 513
                    Deerfield, IL 60015

                    Hornady Truck Line, Inc.
                    Dept. 3215
                    P.O. Box 2153
                    Birmingham, AL 35287-3215

                    Horner Truck Center
                    7460 N. Crescent Blvd.
                    Pennsauken, NJ 08110




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                    Horry Georgetown Home Bldrs.
                    Assoc.
                    728 Highway 501 East
                    Conway, SC 29526

                    Horsham Valley Graphics
                    903 Sheehy Drive
                    Horsham, PA 19044

                    Hosokawa Mikropul Sys.
                    P.O. Box 40012
                    Newark, NJ 07101-4012

                    Hot Wire Foam Factory
                    216 E. Laurel Avenue
                    Lompoc, CA 93436

                    Hough Petroleum
                    340 Fourth Street
                    Trenton, NJ 08638-2799

                    Houghton Metal Finishing
                    1075 Windward Ridge Pkwy
                    Suite 180
                    Alpharetta, GA 30005

                    Hour Glass Trading
                    1425 Walnut Street
                    2nd Floor
                    Philadelphia, PA 19102

                    House Hasson Hardware
                    3125 Water Plant Rd
                    Knoxville, TN 37914

                    Household Metals, Inc.
                    645 E. Erie Ave.
                    Philadelphia, PA 19134

                    Houston Hose & Specialty
                    6417 Winfree St.
                    Houston, TX 77087

                    Howard Berger Co Inc
                    1 S Middlesex Ave
                    Monroe Township, NJ 088313726




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                    Howard Enterprises, Inc.
                    PO Box 3807
                    Harrisburg, PA 17105

                    Howard Interior Design
                    725 County Line Road
                    Huntingdon Valley, PA 19006

                    Howard Packaging Industries
                    Box 212
                    Langhorne, PA 19047-0212

                    Howard Precision Metals
                    Attn: Melissa
                    8058 N. 87th Street
                    Milwaukee, WI 53224

                    Howard Trucking, Inc.
                    P.O. Box 950
                    Newport, AR 72112

                    Howard's Auto Parts & Salvage
                    315 Westtown Road
                    West Chester, PA 19382

                    Howard's Express, Inc.
                    P.O. Drawer 72
                    Geneva, NY 14456

                    Howden Fluid Systems
                    72 Santa Felicia Dr.
                    Santa Barbara, CA 93117-2893

                    Howe Freightways Inc
                    1740 Bell School Road
                    P.O. Box 5763
                    Rockford, IL 61125

                    Howell Corporation
                    1180 Stratford Road
                    Stratford, CT 06497

                    Hp Express Services
                    PO Box 22160
                    Oakland, CA 94623




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                    Hp Financial Services
                    Att: Customer Service
                    420 Mountain Ave
                    Murray Hill, NJ 07974

                    HPG International, Inc.
                    200 Cottontail Lane
                    O Box 6818
                    Somerset, NJ 08873

                    Hr Direct
                    P.O. Box 452019
                    Sunrise, FL 33345-2019

                    Hsb Co.
                    The Hartford Steam Boiler Co.
                    21045 Network Place
                    Chicago, IL 60673-1210

                    Hsbc Business Solutions
                    PO Box 5219,
                    Carol Stream, IL 60197-5219

                    Hubbard Marketing & Publish
                    270 Esna Park Dr
                    Unit 12
                    Maarkham, Ontario Canada
                    L3r1h3

                    Hubley
                    128 John Sevier Circle
                    Rogersville, TN 37857

                    Hudecheck Roofing Co, Inc.
                    506 E. Lancaster Avenue
                    Downington, PA 19335

                    Hudson & Felzer P.C.
                    Washington Professional
                    Campus
                    900 Route 168, Suite C-2
                    Turnersville, NJ 08012

                    Hudson County Probation Dept.
                    Post Office Box 6462
                    Jersey City, NJ 07306




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                    Hudson Gilman
                    PO Box 204
                    Culpeper, VA 22701

                    Hughes Consultants, Inc.
                    65 Old Highway 22
                    Suite 10
                    Clinton, NJ 08809

                    Hughes Enterprises
                    2 Industrial Dr
                    Trenton, NJ 08619 3298

                    Hughes Enterprises
                    2 Industrial Drive
                    Trenton, NJ 08619

                    Hughes M R O
                    Attn: Sharon Cooley
                    9707 Williams Rd
                    Thonotosassa, FL 33592

                    Hugo Bosca Company
                    Post Office Box 777
                    Springfield, OH 45501

                    Human Factors And
                    Ergonomics Society
                    PO Box 1369
                    Santa Monica, CA 90406-1369

                    Human Resource Executive
                    Dept. Aa, 747 Dresher Rd
                    P.O. Box 980
                    Horsham, PA 19044-0980

                    Humi Plastic Ltd
                    Moshav Netaim
                    Mobile Post Emek Sorek
                    Israel
                    Postcode 76870

                    Hun Machine Works, Inc
                    901 Bridgeboro Rd.
                    Riverside, NJ 08075




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                    Huneke Associates, Inc.
                    P.O. Box 898
                    Hightstown, NJ 08520

                    Hungarian-American Newspaper
                    724 Jefferson Building
                    Philadelphia, PA 19107

                    Hunger Hydraulics
                    P.O. Box 37
                    Rossford, OH 43460

                    Hunt Supply Co
                    PO Box 30368
                    Cleveland, OH 44130

                    Hunt Valve Co.
                    1913 E. State St.
                    Salem, OH 44460

                    Hunter Bircher, LLP
                    727 Pollock St.
                    PO Box 567
                    New Bern, NC 28563

                    Hunter Douglas Metals, Inc.
                    135 S. Lasalle Street
                    Dept. 1409
                    Chicago, IL 60674-1409

                    Hunter Douglas Metals, Inc.
                    915 W. 175th Street
                    Homewood, IL 60430

                    Hunter Douglas
                    2 Park Way
                    Upper Saddle River, NJ      07458

                    Hunter Engineering Co., Inc.
                    6147 River Crest Drive
                    Riverside, CA 92507

                    Hunter Morin
                    11901 Bowman Dr, Ste 101
                    Fredericksburg, VA 22405




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                    Huntingdon Valley Auto Body
                    612 Huntingdon Pike
                    Rockledge, PA 19111

                    Huntsville Times
                    2317 S. Memorial Pkwy
                    Huntsville, AL 35801

                    Hunt-Wilde Corporation
                    2835 Overpass Road
                    Tampa, FL 33619-1396

                    Hunt-Wilde
                    2835 Overpass Road
                    Tampa, FL 33619-1315

                    Hurco Companies, Inc.
                    P.O. Box 77000
                    Dept. # 771015
                    Detroit, MI 48277-1015

                    Hurwitz Bros. Iron & Metal
                    267 Marilla St
                    Buffalo, NY 14220

                    Huston Industrial Sales Co.
                    105 Shenot Road
                    Wexford, PA 15090

                    Hutchinson
                    621 Chapel Ave
                    Cherry Hill, NJ 08034

                    Hutchinson
                    621 Chapel Avenue
                    Cherry Hill, NJ 08034

                    Hwc Transportation LLC
                    400 Rock Run Road
                    Fairless Hills, PA 19030

                    Hy Comp
                    17960 Englewood Drive
                    Cleveland, OH 44130

                    Hybrid Cases & Accessories
                    1121-20 Lincoln Ave.
                    Holbrook, NY 11741


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                    Hydrair Inc.
                    615 Union Avenue
                    Union Beach, NJ 07735

                    Hydranamics, Inc.
                    P.O. Box 117
                    820 Edwards Street
                    Galion, OH 44833

                    Hydraulic Fittings Co., Inc.
                    P.O. Box 9580
                    5606 Tulip Street
                    Phila., PA 19124-0580

                    Hydraulic Fittings
                    PO Box 9580
                    5606 Tulip Street
                    Philadelphia, PA 19124-0580

                    Hydraulic Solutions
                    Division Of Eastern Lift
                    Truck
                    549 E. Linwood Avenue
                    Maple Shade, NJ 08052

                    Hydraulics Industrial
                    Supplies
                    Holly And Madison Avenues
                    Bldg# 1
                    Clifton Heights, PA 19018-
                    9976

                    Hydro Air Industries, Inc.
                    1317 West Grove Avenue
                    Orange, CA 92665

                    Hydro Air Of Penn, Inc.
                    427 Sargon Way
                    Suite D
                    Horsham, PA 19044-1298

                    Hydro Aluminum Henderson
                    5801 Riverport Road
                    Henderson, KY 42420




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                    Hydro Aluminum North America
                    801 International Drive
                    Suite 200
                    Linthicum, MD 21090-2254

                    Hydro Aluminum, Inc
                    P.O. Box 2387
                    Carol Stream, IL 60132-2387

                    Hydro Design Service, Inc.
                    PO Box 967
                    Mt Juiet, TN 37121-0967

                    Hydro-Craft Inc
                    1821 Rochester Industrial Dr
                    Rochester Hills, MI 48309

                    Hydropro Fire Sprinkler, Co.
                    PO Box 934
                    Morrisville, PA 19067-0934

                    Hydro-Quip, Inc.
                    13345 Estelle Street
                    Corona, CA 91719

                    Hygrade Metal Moulding Mfg
                    Corp
                    Lockbox #510582
                    PO Box 7777
                    Philadelphia, PA 19175-0582

                    Hygrade
                    30 Warsoff Place
                    Brooklyn, NY 11205

                    Hyloft Usa
                    Attn: Jim Scharman
                    5175 W Diablo Dr, Suite 110
                    Las Vegas, NV 89118

                    Hymark Ltd.
                    1517 E 18th Street
                    Owensboro, KY 42303

                    Hyster Credit Company
                    P.O. Box 78155
                    Phoenix, AZ    85062-8155



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                    Hyster Credit Corporation
                    PO Box 78155
                    Phoenix, AZ 85062-8155

                    Hytorc Div. Of Unex Corp.
                    333 Rt 17 North
                    Mahwah, NJ 07430

                    I & I Sling Inc.
                    2626 Market Street
                    P.O. Box 2423
                    Aston, PA 19014-0423

                    I E Solutions Group
                    700 B Evelyn Ave
                    Linthicum, MD 21090

                    I R Air Centers
                    Ingersoll-Rand Company
                    P.O. Box 75817
                    Charlotte, NC 28275

                    I S A
                    P.O. Box 3561
                    Durham, NC 27702

                    I T W Ransburg
                    Electrostatic Systems
                    P.O. Box 75267
                    Chicago, IL 60675-5267

                    I W Industries Inc
                    35 Melville Park Rd
                    Melville Li, NY 11747

                    I. Alper Company
                    P.O. Box 1425
                    Camden, NJ 08101

                    I. Ganz Scrap Metal
                    96 Wythe Ave
                    Brooklyn, NY 11211

                    I.A.T.L.
                    16000 Horizon Way
                    Unit 100
                    Mt. Laurel, NJ 08054



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                    I.B.M. Information Network
                    P.O. Box 620000
                    Orlando, FL 32891-8294

                    I.C.D. Group International
                    Inc
                    600 Madison Avenue
                    New York, NY 10022

                    I.Q.S. Inc.
                    20526 Center Ridge Road
                    Suite 400
                    Cleveland, OH 44116

                    I.S.R.I. New England Chapter
                    C/O Costello Dismantling Co.
                    2 Rocky Gutter Street
                    Middleboro, MA 02346

                    I.T.W. Fluid Products
                    P.O. Box 75562
                    Chicago, IL 60675-5562

                    I/D/E/A Inc.
                    One Idea Way, CAldwell, ID
                    83605

                    Ibm Corporation
                    Parts Order Center
                    6300 Diagonal Highway
                    Boulder, CO 80301

                    Ibm Corporation
                    PO Box 643600
                    Pittsburgh, PA 15264 3600

                    Ibm Limited Special Billing
                    12493 Collections Center Dr.
                    Chicago, IL 60693

                    Ibm Thinkpad Easy Service
                    3861 Knight Road
                    Memphis, TN 38118




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                    Ibsa
                    PO Box 2310
                    1360 West Market St.
                    Smithville, NC 27577-2310

                    Ice Systems, Inc.
                    5 Evansburg Road
                    Collegeville, PA 19426

                    Ichikawa North America Corp.
                    11097 Houze Road
                    Suite 200
                    Roswell, GA 30076

                    Icom, Inc
                    P.O.Box 351
                    Milwaukee, WI    53201

                    Icpi
                    Attn: Chuck Simanek
                    Hardscape Northameric/Ex.Srv
                    800 Roosevelt Rd, Bldg C-312
                    Glenn Ellyn, IL 60137

                    Ics LLC
                    197 Eight Street
                    Boston, MA 02129-2025

                    Ideal Aluminum Products LLC
                    2000 Brunswick Lane
                    Deland, FL 32724

                    Ideal Engraving Co, Inc.
                    400 South Jefferson Street
                    Orange, NJ 07050

                    Ideal Equipment Co
                    4701 Rivard St
                    Montreal Canada
                    H2J2N5

                    Ideal Tape Co.
                    1400 Middlesex St.
                    Lowell, MA 01851




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                    Ideal Tile Co. Of Mt. Laurel
                    1316 Route 73 South
                    Mount Laurel, NJ 08054

                    Ideal Tool
                    456 N 8th St.
                    Phila., PA 19123

                    Ideal Tool
                    456 N 8th Street
                    Philadelphia, PA     19123

                    Identicard Systems Inc.
                    P.O. Box 5349
                    630 E. Oregon Road
                    Lancaster, PA 17601

                    Idsa
                    Industrial Designers Society
                    Of America
                    1142 Walker Road
                    Great Falls, VA 22066

                    Ieee
                    445 Hoes Lane
                    P.O. Box 459
                    Piscataway, NJ     08855-0459

                    Ies Engineers
                    1720 Walton Road
                    Blue Bell, PA 19422

                    Ifm Efector, Inc.
                    805 Springdale Drive
                    Exton, PA 19341

                    Igus
                    50 N. Broadway
                    East Providence, RI     02916

                    Ikey/Texas Ind. Peripherals
                    P.O. Box 49182
                    Austin, TX 78765

                    Ikon Document Services
                    P.O. Box 8538-156
                    Philadelphia, PA 19171



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                    Ikon Document Services
                    PO Box 31306
                    Hartford, CT 06150-1306

                    Ikon Financial Services
                    P.O. Box 41564
                    Philadelphia, PA 19101-1564

                    Ikon Office Solutions
                    P.O. Box 827468
                    Philadelphia, PA 19182-7468

                    Ikon Office Solutions, MI d-
                    Atlantic District
                    PO Box 827468
                    Philadelphia, PA 19182-7468

                    Illinois Student Assistance
                    Commission
                    P.O. Box 904
                    Attn: Recovery Services
                    Deerfield, IL 60015

                    Image Consulting Services
                    1771 Donwell Dr
                    South Euclid, OH 44121

                    Image Scan, Inc.
                    865 Waterman Ave.
                    East Providence, RI     02914

                    Image-Centre
                    428 N. Sycamore St.
                    Lansing, MI 48933

                    Imagerite
                    3280 Wynn Road
                    Suite #2
                    Las Vegas, NV 89102

                    Imco Recycling Inc.
                    Box 910078
                    717 North Harwood 6th Floor
                    Dallas, TX 75201




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                    Imco Recycling Inc.
                    Roane Cty Ind Park
                    Hwy 27-S
                    Rockwood, TN 37854

                    Imo Industries
                    Imo Pump Division
                    515 Stump Rd.Suite 222
                    North Wales, PA 19454

                    Impact Services Corp.
                    Attn: Ed Blaney, Finance
                    Dept.
                    1952 E. Allegheny Ave.
                    Philadelphia, PA 19134

                    Impact Trans & Logistics, Inc
                    4801 Blakiston Street
                    Philadelphia, PA 19136

                    Impax Tooling Solutions
                    Div: Of Wilson Tool
                    International
                    12912 Farnham Avenue
                    White Bear Lake, MN 55110

                    Imperial Adhesives, Inc.
                    6315-T Wiehe Road
                    Cincinnati, OH 45237

                    Imperial Electro Plating
                    Div Of F E R Plating Inc
                    52 Park Ave
                    Lyndhurst, NJ 07071

                    Imperial Plastics, Inc.
                    PO Box 375
                    80 Industrial Street
                    Rittman, OH 44270-0375

                    Imperial Pool Company Inc
                    33 Wade Road
                    Latham, NY 12110

                    Imperial Products, Inc.
                    33649 Treasury Center
                    Chicago, IL 60694-3600



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                    Ims Co.
                    PO Box 75799
                    Cleveland, OH     44101-4755

                    Ims Distribution
                    2905 Haddonfield Rd.
                    Pennsauken, NJ 08110

                    In Dept Of Workforce
                    Developmenyt
                    PO Box 548661
                    Indianapolis, IN 46255-5486

                    In The News Inc
                    8517 Sunset St
                    Tampa, FL 33634

                    In The News Inc.
                    4895-F West Waters Ave
                    Tampa, FL 33634

                    In The News, Inc.
                    PO Box 30176
                    Tampa, FL 33630-3176

                    Inadexa Industria Auxiliar De
                    Extrusion, S.A.
                    50171 La Puebla De Alfinden
                    Zaragoza
                    Spain

                    Inc.
                    Subscription Service Dept.
                    P.O. Box 54106
                    Boulder, CO 80321-4106

                    Indalex Inc
                    1507 Industry Drive
                    Burlington, NC 27215

                    Indalex Inc
                    3488 Collection Center Dr.
                    Chicago, IL 60693

                    Indalex, Inc.
                    925 Carle Street
                    Niles, OH 44446



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                    Indalex, Inc.
                    P.O. Box 177
                    Winton, NC 27986

                    Indalex, Inc.
                    P.O. Box 640918
                    Pittsburgh, PA 15264-0918

                    Indalloy
                    7 Alloy Court
                    North York
                    Ontario Canada
                    M9m3a2

                    Indalloy
                    P.O.Box 640918
                    Pittsburgh, PA    15264-0918

                    Independence Blue Cross
                    PO Box 8500 K-105
                    Philadelphia, PA 19178

                    Independent Builders Supply
                    Association Inc
                    PO Box 2310
                    Smithfeild, NC 27577-2310

                    Independent Builders Supply
                    Attn: Johnny Hicks
                    PO Box 2310
                    Smithfield, NC 27577

                    Independent Container Line
                    Ltd.
                    4801 Audubon Drive
                    Richmond, VA 23231

                    Independent Distributors
                    PO Box 8716
                    Fort Wayne, IN 46898-8716

                    Independent Hardware Inc
                    14 S Front St
                    Philadelphia, PA 191063001




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                    Independent Media
                    3392 Hillcroft Rd
                    Huntingdon Valley, PA      19006

                    Independent Metal & Sales Inc
                    Ims Processing Inc
                    PO Box 17
                    Hainsport, NJ 08036

                    Independent Metals
                    PO Box 17
                    Hainesport Industrial Park
                    Park & Delaware Avenues
                    Hainesport, NJ 08036

                    Independent Steel
                    615 Liverpool Drive
                    PO Box 472
                    Valley City, OH 44280

                    Indiana Department Of Revenue
                    Indiana Government Ctr
                    100 North Senate Ave
                    Indianapolis, IN 46204-2253

                    Indiana Department Of Revenue
                    PO Box 7218
                    Indianapolis, IN 46207-7218

                    Indiana Dimensional Prod.LLC
                    7224 North State Road 13
                    PO Box 271
                    North Webster, IN 46555

                    Indianapolis Newspapers, Inc.
                    307 N. Pennsylvania St.
                    P.O. Box 145
                    Indianapolis, IN 46206-0145

                    Indumer Supplies Inc.
                    13290 N.W. Le Jeune Road
                     Miami, FL 33054

                    Industrial Automation
                    18636 Northline Drive
                    Cornelius, NC 28031




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                    Industrial Battery & Services
                    535 Andrews Road
                    Suite 200
                    Trevose, PA 19053

                    Industrial Battery Systems
                    3224 Friendship St
                    Philadelphia, PA 19149

                    Industrial Battery
                    3244 Friendship Street
                    Phildelphia, PA 19149

                    Industrial Clutch Corporation
                    P.O. Box 118
                    515 Frederick St.
                    Waukesha, WI 53187-0118

                    Industrial Computer Source
                    P.O. Box 910557
                    San Diego, CA 92191-0557

                    Industrial Computers &
                    Control
                    43774 Bemis Road
                    Belleville, MI 48111

                    Industrial Const. & Maint.
                    53 Green Lane
                    Aston, PA 19014

                    Industrial Controls Dist Inc
                    PO Box 8500-41190
                    Philadelphia, PA 19178

                    Industrial Controls
                    Governor Printz Blvd.
                    Lester, PA 19029

                    Industrial Dynamics
                    405 Gordon Drive
                    Lionville, PA 19341




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                    Industrial Electric
                    Wire/Cable
                    P.O. Box 510908
                    16325 West Ryerson Road
                    New Berlin, WI 53151-0908

                    Industrial Fasteners Corp
                    PO Box 285
                    Roslyn, NY 11576

                    Industrial Floor Corporation
                    Suite 612
                    Fox Pavilion
                    Jenkintown, PA 19046-3778

                    Industrial Guaranteed
                    Products
                    P.O. Box 17477
                    Irvin, CA 92713

                    Industrial Health Care Center
                    1854 New Rodgers Rd
                    Levittown, PA 19056

                    Industrial Health, Inc.
                    PO Box 1547,
                    Palo Alto, CA 94302-1547

                    Industrial Heater Corp.
                    30 Knotter Dr
                    Cheshire, CT 06 410

                    Industrial Hydraulics &
                    Rubber
                    458 Atlantic Avenue
                    Camden, NJ 08104

                    Industrial Lift
                    1905 Route 206
                    P.O. Box 2507
                    Vincentown, NJ 08088-2507

                    Industrial Lift
                    1905 Route 206
                    Vincentown, NJ 08088




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                    Industrial Metal Plating, Inc
                    153 Wagner Lane
                    Reading, PA 19601-1195

                    Industrial Power Solutions
                    411 Black Horse Pike
                    Suite 2
                    Haddon Heights, NJ 08055

                    Industrial Process Solutions
                    1 Ivybrook Blvd.
                    Suite 130
                    Ivyland, PA 18974

                    Industrial Products
                    International Inc.
                    1655 West Yale Avenue
                    Englewood, CO 80110

                    Industrial Sales Corp
                    727 Post Road East
                    Westport, CT 06 880

                    Industrial Supplies Co.
                    405 Andrews Road
                    Trevose, PA 19053

                    Industrial Supplies Company
                    405 Andrews Road
                    Trevose, PA 19053

                    Industrial Supply Co
                    1225 Cottman Ave
                    Philadelphia, PA 19111

                    Industrial Training, Inc.
                    5376 - 52nd Street, S.E.
                    Grand Rapids, MI 49512

                    Industrial Weighing Systems
                    3477 Haddonfield Road
                    Pennsauken, NJ 08109




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                    Industries Guides Inc.
                    927 Hickory St.
                    P.O. Box 160158
                    Altamonte Springs, FL 32716-
                    0158

                    Industronics Service Co.
                    489 Sullivan Avenue
                    South Windsor, CT 06074

                    Indy Translations, LLC
                    Meridian Communications Ctr
                    1800 N. Meridian St, Ste.506
                    Indianapolis, IN 46202

                    Infinity Direct Marketing
                    6730 Westfield Ave
                    Pennsauken, NJ 08110

                    Infinity Direct Marketing
                    6730 Westfield Ave.
                    Pennsauken, NJ 08110

                    Infinity Financial Services
                    Division Of Nissan Motor
                    Acceptance Co
                    PO Box 660360
                    Dallas, TX 75266-0360

                    Infinity Financial Services
                    PO Box 371447
                    Pittsburgh, PA 15250-7447

                    Info Ameriquest
                    Box 54306
                    Atlanta, GA 30308

                    Info Direct Publications
                    P.O. Box 3473
                    Champlain, NY 12919

                    Infochase
                    21 Lawrence Paquette Drive
                    Champlain, NY 12919




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                    Infographix Inc.
                    1380 Soldiers Field Road
                    Boston, MA 02135

                    Infographix, Inc.
                    1230 Soldiers Field Road
                    Boston, MA 02135

                    Infopak International, Inc.
                    P.O.Box 6808
                    Bend, OR 97708

                    Inform Graphics Inc.
                    9905 Sw Arctic Drive
                    Beaverton, OR 97005-9859

                    Information Data Management
                    4894 Des Sources
                    P.O. Box 43514
                    D.D.O Quebec H8y 3p4
                     Canada

                    Infotel Publications
                    5 Cotton Lane
                    Champlain, NY 12919

                    Ingersoll-Dresser Pumps (Uk)
                    P.O. Box 17
                    Lowfield Works
                    Newark
                    Nottinghamshire
                    United Kingdom Ng24 3en

                    Ingersoll-Rand Air Center
                    30 Macdonald Blvd.
                    Aston, PA 19014

                    Ingersoll-Rand Air Center
                    30 Mcdonald Blvd
                    Aston, PA 19014-3203

                    Ingersoll-Rand/H.B.Ives
                    75 Remittance Dr.
                    Suite 1942
                    Chicago, IL 60675-1942




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                    Ingram Glass Works, Inc.
                    2130 Newton Drive
                    Statesville, NC 28677

                    Inland Leidy, Inc.
                    P.O. Box 75192
                    Baltimore, MD 21275-5192

                    Inland Wholesale Hardware Inc
                    PO Box 1700
                    Turlock, CA 95381

                    Inner Mongolia Acme
                    Hardware Co Ltd
                    Room 1-4302, Fang Ting Garden
                    No 535 Dong Feng Road
                    China
                    Hohhot

                    Inner Mongolia Acme
                    Hardware Co Ltd
                    Room 1-4302, Fang Ting Garden
                    No 535 Dong Fend Rd

                    Innotec
                    P.O. Box 085546
                    Racine, WI 53408-5546

                    Innovation Printing
                    2051 Byberry Road
                    Philadelphia, PA 19116

                    Innovation Specialties
                    2625 Alcatraz, Number 243
                    P.O. Box 5899-243
                    Berkley, CA 94705

                    Innovative Leadership Of The
                    Delaware Valley, LLC
                    732 Society Hill Boulevard
                    Cherry Hill, NJ 08003

                    Innovative Metal Industries
                    741 S. Lugo Ave.
                    Suite A
                    San Bernardino, CA 92408




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                    Innovative Solutions Inter.
                    P.O Box 88132
                    Carol Stream, IL 60188

                    Innovative Systems Assoc LLC
                    725 Shippack Pike, Ste 370
                    Blue Bell, PA 19422

                    Inovis Incorporated
                    1277 Lenox Park Blvd.
                    Atlanta, GA 30319-5396

                    Ins Insurance Inc.
                    P.O. Box 2680
                    Green Bay, WI 54306-9963

                    Inside Netware
                    The Cobb Group
                    P.O. Box 35160
                    Louisville, KY    40232-9797

                    Insight
                    PO Box 78269
                    Phoenix, AZ 85062

                    Instant Courier Service
                    PO Box 331
                    Philadelphia, PA 19105

                    Institute Of Risk And Safety
                    Analyses
                    5324 Conago Avenue
                    Woodland Hills, CA 91364

                    Institute Of Scrap Recycling
                    Industries, Inc.
                    1325 G Street, N.W.
                    Suite 1000
                    Washington, DC 20077-1800

                    Instron Systems
                    100 Royall Street
                    Canton, MA 02021-1089

                    Instrucon Inc.
                    3415 Precision Drive
                    Rockford, IL 61109



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                    Instrument Society Of America
                    Member & Customer Services
                    P.O. Box 3561
                    Durham, NC 27702

                    Integra J. Fegley Division
                    1021 Saville Ave
                    Eddystone, PA 19022

                    Integra
                    1320 Mckinley Ave
                    Columbus, OH 43222

                    Integra
                    1320 Mckinley Ave
                    Columbus, OH 43222

                    Integrated Enviromental Serv.
                    2001 Joshua Road
                    Lafayette Hill, PA 19444

                    Integrated Mfg. Solutions
                    Corp
                    1236 Brace Road
                    Unit B
                    Cherry Hill, NJ 08034

                    Integrated Power Sources Inc.
                    2537 Wyandotte Road
                    Bldg. C
                    Willow Grove, PA 19090

                    Integrated Quality Systems
                    20525 Center Ridge Rd.
                    Suite 400
                    Cleveland, OH 44116

                    Integration Technology
                    Sys.Inc
                    G & H Industrial Park
                    523 Woodward Ext. Dr.
                    Greensburg, PA 15601

                    Intel Video Surveillance
                    Corp.
                    3 Gordon Ave.
                    East Brunswick, NJ 08871



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                    Inteplast Group, Ltd.
                    9 Peach Tree Hill Rd
                    Livingston, NJ 7039

                    Interall Srl
                    Via Marinuzzi, 38-41100
                    Modena, Italy

                    Interfab Inc
                    3831 E. Technical Drive
                    Tucson, AZ 85713

                    Interglassmetal Corp
                    C/O Dame Associates Inc
                    100 Lincoln St
                    Boston, MA 02135

                    Intergris Metals
                    700 Pencader Drive
                    Newark, DE 19702

                    Interim Personnel
                    P.O. Box 13546
                    Dept. 106
                    Newark, NJ 07188-0546

                    Interlogic Trace Inc.
                    Att 3 093701
                    P.O. Box 200181
                    Dallas, TX 75320-0181

                    Intermec Corporation
                    501 Office Center Drive
                    Suite 302
                    Fort Washington, PA 19034

                    Intermec Office Technologies
                    80 Main Street
                    West Orange, NJ 07052

                    Intermec Office Technologies
                    80 Main Street
                    West Orange, NJ 07052

                    Intermec Technologies Corp
                    Dept Ch 14099
                    PAlatine, IL 60055-4099



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                    Intermec Technologies Corp
                    Dept Ch 14099
                    Palatine, IL 60055 4099

                    Intermec Technologies Corp.
                    134 Flanders Road
                    Westborough, MA 01581

                    Intermec Technologies Corp.
                    13509 S. Point Blvd.
                    Suite 100
                    Charlotte, NC 28273

                    Intermec Technologies Corp.
                    Identification Sys. Div.
                    9290 Le Saint Drive
                    Fairfield, OH 45014-5454

                    Intermec Technologies Corp.
                    Media Supplies Unit
                    9290 Lesaint Drive
                    Fairfield, OH 45014-5454

                    Intermec Technologies
                    Dept. Ch 10696,
                     Palatine, IL 60055-0696

                    Intermodal Caribbean Express
                    Nw 7130
                    P.O. Box 1450
                    Minneapolis, MN 55485-7130

                    Internal Revenue Service
                    Dept Of The Treasury
                    Philadelphia, PA 19255

                    Internal Revenue Service
                    P.O. Box 57
                    Bensalem, PA 19020

                    Internat Service
                    5225 Rue Rideau
                    Quebec
                    Canada.
                    G2e5h5




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                    International Alloys
                    171 Ridgedale Avenue
                    P.O. Box 509
                    Florham Park, NJ 07932

                    International Bus.
                    Directories
                    10200 N.W. 25th Street
                    Suite A-113
                    Miami, FL 33172

                    International Business Daily
                    Building 14, Part 3,
                    Fang Xing Yuan,
                    Fang Zhuang, Beijing
                    China
                    100078

                    International Business
                    Systems
                    PO Box 8500-51570
                    Philadelphia, PA 191788500

                    International Business
                    Systems
                    W 510276
                    PO Box 7777
                    Philadelphia, PA 19175 02176

                    International Chemical Co.
                    2628-48 N. Mascher Street
                    Philadelphia, PA 19133

                    International Commercial
                    Collectors, Inc.
                    1016 East Pike Street
                    Seattle, WA 98122

                    International Door Closers
                    Inc
                    1920 Air Lane Dr
                    Nashville, TN 37210

                    International Exhibits Trans
                    444 Madison Ave
                    37th Floor
                    New York, NY 10022-6903


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                    International Extruders
                    2377 Hoffman Street
                    Bronx, NY 10458

                    International Fenestration
                    Components LLC
                    917 Pond Island Ct
                    Northville, MI 48167

                    International Foundation
                    18700 W. Bluemound Rd.
                    Brookfield, WI 53045

                    International Gate
                    101 Sycamore Avenue
                    Folsom, PA 19033

                    International Hydronics Corp.
                    P.O. Box 243
                    Rocky Hill, NJ 08553

                    International Lease
                    Consultants, Inc.
                    506 Arthur Drive
                    Cherry Hill, NJ 08003

                    International Leisure
                    Products, Incorporated
                    191 Rodeo Drive
                    Edgewood, NY 11717

                    International Metal Corp
                    150 Old Page Street
                    Stoughton, MA 02072

                    International Petroleum Corp
                    505 S. Market Street
                    Wilmington, DE 19801

                    International Plastic
                    Components Inc
                    PO Box 603, CAmpbell, OH
                    44405




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                    International Pool & Spa
                    Expo 2007
                    PO Box 612128
                    Dallas, TX 75261-2128

                    International Publishing
                    Services
                    42 East Street
                    Champlain, NY 12919

                    International Ribbons
                    1806 West Stassney Lane
                    Suite 106
                    Austin, TX 78745

                    International Trade
                    Publishing West Inc.
                    1128 Deep Cove Road
                    North Vancover
                    V7g1s3

                    Internet Commerce Corporation
                    Lockbox W510473
                    PO Box 7777
                    Philadelphia, PA 19175 0473

                    Intersol
                    6 Century Drive
                    Parsippany, NJ 07054

                    Intersolv Inc.
                    P.O. Box 630413
                    Balitmore, MD 21263-0413

                    Intersource Usa Inc.
                    17 Edgeboro Road
                    Suite D
                    East Brunswick, NJ 08816

                    Interstate Container Corp
                    PO Box 777-W5890
                    Philadelphia, PA 19175-5890

                    Interstate Distributors
                    Attn: Amber Blackman
                    PO Box 1145
                    Dunn, NC 28335



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                    Interstate Express, Inc
                    PO Box 26485
                    Oklahoma City, OK 73126-0485

                    Interstate Locksmith Inc.
                    3518 Street Road
                    Bensalem, PA 19020

                    Interstate Pallet
                    14 Captains Ct.,
                    Cape May, NJ 08204

                    Interstate Plastics Inc.
                    2708 47th Avenue
                    Sacramento, CA 95822

                    Interstate Plastics
                    330 Commerce Circle
                    Sacramento, CA 95815

                    Interstate Steel
                    PO Box 905038
                    Charolette, NC 28290-5038

                    Interstate Welding
                    8407 River Road
                    Delair, NJ 08110

                    Interstate Window Co.
                    345 Crooked Hill Road
                    Brentwood, NY 11717

                    Intertape Polymer Group
                    248 Industrial Drive
                    P.O. Box 148
                    Rayne, LA 70578

                    Intertec Publishing
                    6151 Powers Ferry Road Nw
                    Atlanta, GA 30339

                    Intex Environmental Group
                    Inc.
                    6205 Easton Road
                    Pipersville, PA 18947




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                    Int'l Digit Scientific Inc.
                    28460 Avenue Stanford
                    Suite 100
                    Valensia, CA 91355

                    Introcaso
                    412 Larch Ct.
                    Williamstown, NJ     08094

                    Invader Lubricants
                    P. O. Box 284
                    Hainsport, NJ 08036

                    Invader Lubricants
                    PO Box 284
                    Hainsport, NJ 08036

                    Inventory Sales Co.
                    9777 Reavis Road
                    St. Louis, MO 63123

                    Investment Dealers' Digest
                    Circulation Dept.
                    Two World Trade Center 18th
                    Fl
                    New York, NY 10277-0516

                    Invetech
                    124 E. 9th Avenue
                    Runnemede, NJ 08078

                    Inway Transportation Serv.
                    P.O. Box 75492
                    Chicago, IL 60675-5492

                    Inwood Greeting Cards
                    9689-D Gerwig Lane
                    Columbia, MD 21046-1571

                    Iobp/ Institute Of Business
                    Publications
                    748 Springdale Drive
                    Suite 150
                    Exton, PA 19341




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                    Ios Capital
                    P.O.Box 41564
                    Philadelphia, PA     19101-1564

                    Ios/Samples
                    PO Box 127
                    Riverton, NJ 08077

                    Iq Services Group, Inc.
                    23925 Forest Place
                    Land O'lakes, FL 34639

                    Ir/Datalink Corporation
                    56 Newtown-Richboro Road
                    Richboro, PA 18954

                    Irael Roman
                    2352 Baird Blvd, Camden, NJ
                    08105

                    Iris Alvarez
                    6 Buckingham Dr.
                    Easthampton, NJ 08060

                    Iron Age Corp.
                    P.O. Box 730
                    Westborough, MA     01581

                    Ironclad Performance Wear
                    Corp
                    12506 Beatrice St
                    Los Angeles, CA 90066

                    IRS/ACS
                    Memphis Service Center
                    Memphis, TN 37501

                    Irs/Acs
                    PO Box 8669
                    Philadelphia, PA     19162

                    Irs/Acs
                    PO Box 889
                    Holtsville, Ny, NY     11742

                    Irving Rubber & Metal
                    9525 Ditmas Avenue
                    Brooklyn, NY 11236


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                    Irwin Car And Equipment
                    P.O. Box 409
                    Irwin, PA 15642

                    Isabel Balboa, Trustee
                    P.O. Box 3820
                    Cherry Hill, NJ 08034-0588

                    Isb Division 3517110
                    2300 Victoria Avenue
                    Lachine,Quebec
                    H8s 1z3

                    Isb Products
                    43 Falls Ave.
                    Waterbury, CT 06708

                    Isco, Inc.
                    P.O. Box 82565
                    Lincol, NE 68501-2565

                    Isendit Business
                    Communications Services
                    Suite 101
                    1111 Street Rd
                    Southampton, PA 18966 4250

                    Isg Transportation Inc.
                    7965 Goreway Drive, Unit No 2
                    Brampton
                    Ontario, Canada L5T5T5

                    Isla Supply Corporation
                    PO Box 29066
                    Rio Piedras, PR 00929-0066

                    Island Trading Inc
                    4413 Bluebonnet Dr, Ste 101
                    Stafford, TX 77477

                    Ismael Rubert
                    941 N 33rd Street
                    Camden, NJ 081054

                    Itb Transportation, Inc.
                    PO Box 605
                    Ontario, Canada A L6V 2L6



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                    Itc-Formosa, L.L.C.
                    File #7062
                    PO Box 1067
                    Charlotte, NC 28201-1067

                    Itl
                    558-2 Plate Drive
                    East Dundee, IL 60118

                    Itnet Services LLC
                    19 Riesling Ct
                    Marlton, NJ 08053

                    Itnet Services
                    19 Riesling Court
                    Marlton, NJ 08053

                    Itt Flygt Corporation
                    2330 Yellow Spring Rd.
                    Malvern, PA 19355

                    Itt Standard
                    P.O. Box 98582
                    Chicago, IL 60693-8582

                    Itw Angleboard
                    10 Industrial Rd
                    Elizabethtown, PA     17022

                    Itw Buildex
                    1349 W Brynmawr Ave
                    Itasca, IL 60143

                    Itw Devcon Futura Coatings
                    75 Remittance Dr.
                    Suite #1669
                    Chicago, IL 60675-1669

                    Itw Ransburg
                    320 Phillips Ave.
                    Toledo, OH 43612

                    Itw Tacc - Foamseal
                    75 Remittance Dr.
                    Suite 1601
                    Chicago, IL 60675-1601




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                    Ives Equipment Corp.
                    P.O. Box 13700
                    Philadelphia, PA 19191-1117

                    Ives Equipment Corporation
                    601 Croton Road
                    King Of Prussia, PA 19406

                    Ivug Inc.
                    P.O. Box 908
                    Wilmington, MA     01887

                    Izenberg's Gourmet Deli
                    PO Box 15
                    Lafayette Hill, PA 19444

                    J & B Eastern
                    1613 Mckean St.
                    Philadelphia, PA     19145

                    J & B Eastern
                    1613 Mckean Street
                    Philadelphia, PA 19145

                    J & E Manufacturing Company
                    36 North Pine Street
                    Maple Shape, NJ 08052

                    J & J Carbide Tool Co.
                    P.O. Box 54
                    Watsontown, PA 17777

                    J & J Distributors Inc
                    728 Nw 29th St
                     Miami, FL 33127

                    J & J Home Improvements
                    7940 E Baltimore Street
                    Baltimore, MD 21224

                    J & J Keller & Associates,
                    Inc
                    P.O. Box 548
                    Neenah, WI 54957-0548

                    J & J Lock
                    236 Tyler St
                    Pittsfield, MA 01201 4224


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                    J & J Temporaries
                    P.O. Box 1620
                    Cherry Hill, NJ 08034-0079

                    J & L Industrial Supply
                    31800 Industrial Road
                    Livonia, MI 48151-3359

                    J & L Microscope Services
                    106 Commonwealth Ave.
                    Claymont, DE 19703

                    J & L Services
                    658 Farley Road
                    Bensalem, PA 19020

                    J & N Incorporated
                    Yellow Cab
                    P.O. Box 288
                    Pennsuaken, NJ 08110

                    J & P Cleaning Services
                    Pedro Infante
                    1639 Creston Street
                    Philadelphia, PA 19149

                    J & R Garage Door Co., Inc.
                    1683b Winchester Road
                    Bensalem, PA 19020

                    J & S Marketing Inc
                    2028 Double Springs Place
                    Monroe, GA 30656

                    J And J Monogramming
                    And Promotions
                    380 Egg Harbor Rd, Ste C-1
                    Sewell, NJ 08080

                    J B & Associates
                    67245 Tamarack Road
                    North Liberty, IN 46554

                    J B W Systems
                    P.O. Box 1530
                    Westerville, OH     43086




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                    J C Transport Services Inc.
                    2615 Maitland Crossing Way
                    Suite 9-208
                    Orlando, FL 32810

                    J E H Communications Inc
                    23 Nasturtium Ln
                    Levittown, PA 190543801

                    J F Grilli Assocs Inc
                    2544 Kilpatrick St
                    San Ramone, CA 94583

                    J L Lawson
                    301 N Black Horse Pike
                    Williamstown, NJ 08094

                    J M Office Furniture
                    8400a Remington Avenue
                    Pennsauken, NJ 08110

                    J M Simpson Enterprises
                    T/A C & C Interior Systems
                    12188 Livingston Rd
                    Manassas, VA 20109

                    J N Marianni Serv. Co. Inc.
                    2910 Burgundy Drive
                    Cinnaminson, NJ 08077

                    J P Boyle Trucking
                    754 Cornell Ave
                    Drexel Hill, PA 19026

                    J P S Express Inc
                    4101-51 Bath St
                    Philadelphia, PA 191371921

                    J R Goslee Company
                    1154 West Smith Road
                    Medina, OH 44256

                    J W Scott Serv. Station
                    Equip.
                    P.O. Box 1160
                    Whittlesey Road
                    Trenton, NJ 08606-1160



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                    J W Window Components, Inc.
                    386 Highway 91
                    Elizabethon, TN 37643

                    J&E Trucking
                    4991 Hamilton Blvd
                    Wescosville, PA 18106

                    J&L Industrial Supply
                    PO Box 382070
                    Pittsburgh, PA 15250-8070

                    J&P Rental
                    20-B Roland Ave.
                    Mt. Laurel, NJ 08054

                    J. Brian Voss
                    1636 E. Baltimore Street
                    Baltimore, MD 21231

                    J. Lorber Co.
                    PO Box 966
                    2659 Bristol Pike
                    Bensalem, PA 19020

                    J. Lorber Company
                    P.O. Box 966
                    Bensalem, PA 19020

                    J. Lutz Metalworking Mach.Inc
                    810 State Route #12
                    Frenchtown, NJ 08825

                    J. Michael Kaplan
                    165 North Main Street
                    PO Box 11569
                    Atlanta, GA 30355

                    J. Pinz Metals Co.
                    208 Frost Street
                    Brooklyn, NY 11211

                    J. W. Aluminum Corporation
                    PO Box 29419
                    435 Old Mount Holly Road
                    Mount Holly, SC 29445




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                    J.A. Cunningham Equipment
                    Inc.
                    2025 Trenton Avenue
                    Philadelphia, PA 19125

                    J.A. Cunningham
                    2025 Trenton Ave
                    Philadelphia, PA     19125

                    J.B. Hunt Transport, Inc.
                    PO Box 98545
                    Chiagao, IL 60693-8545

                    J.B. Hunt
                    615 J.B. Hunt Corporate Drive
                    Attention: Tanya Hull
                    Lowell, AR 72745

                    J.C. Bennington Company
                    PO Box 10450
                    Wilmington, DE 19850

                    J.C. Gromley
                    Jcg Consulting
                    4120 Devonshire Road
                    Plymouth Meeting, PA      19462

                    J.C.G. Inc.
                    1200 Pere Daniel
                    Trois-Rivieres
                    Quebec Canada
                    G9a5r6

                    J.E. Kodish & Sons Inc.
                    Po Box 354
                    E. Union & Worthington Sts
                    West Chester, PA 19381

                    J.E.H. Communications Inc.
                    23 Nasturtium Lane
                    Levittown, PA 19054

                    J.F.R. Salvage Inc.
                    6500 Sullivan Tr
                    Wind Gap, PA 18091




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                    J.G. Wells Sales Co. Inc.
                    32 South Mall
                    Plainview, NY 11803

                    J.G.Nasile Painting Co.
                    64 Oakland Street
                    Trenton, NJ 08618

                    J.H. Cohn LLP
                    Accountants & Consultants
                    997 Lenox Drive
                    Lawrenceville, NJ 08648-2317

                    J.H. Fischer & Son, Inc.
                    523-5 Ferry Street
                    Newark, NJ 07105

                    J.H. Fisher & Sons
                    523-531 Ferry St
                    Newark, NJ 07105

                    J.H. Mixner Consultants Inc
                    924 Bent Road
                    Bensalem, PA 19020

                    J.H. Templeton
                    3602 Kennedy Road
                    South Plainfield, NJ      07080

                    J.J. Keller & Associates Inc.
                    3003 W. Breezewood Lane
                    P.O. Box 368
                    Neenah, WI 54957-0368

                    J.J. Keller & Associates,
                    Inc.
                    3003 W. Breezewood Lane
                    PO Box 548
                    Neenah, WI 54957-0548

                    J.J. Maloney Co.
                    7235 Boulevard Avenue
                    Pennsauken, NJ 08110

                    J.J. Maloney
                    7235 Boulevard Ave
                    Pennsauken, NJ 08110



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                    J.J.L. Trading Corp.
                    10660 Guilford Road
                    Jessup, MD 20794

                    J.L.S. Systems
                    P.O. Box 654
                    York, PA 17405

                    J.M. Sales & Marketing
                    6233 Sylvania Drive
                    Toledo, OH 43623

                    J.N. Marianni Service Co Inc
                    2910 Burgundy Drive
                    Cinnaminson, NJ 08077

                    J.P. Nissen Company
                    P.O. Box 339
                    Glenside, PA 19038

                    J.P.A. Machine Shop
                    P.O. Box 102
                    Feasterville, PA 19053

                    J.R. Christoni, Inc.
                    PO Box 947
                    Wallingford, CT 08492

                    J.R. Clendenning Co.
                    P.O. Box 50
                    Royersford, PA 19468-0050

                    J.S. Computer Inc.
                    1514 7th Avenue West
                    First Floor
                    Bradenton, FL 34205

                    J.T. Reddy & Co. Inc.
                    787 Passaic Ave.
                    W. Caldwell, NJ 07006

                    J.T. Reddy & Co., Inc.
                    195 Philmont Ave
                    PO Box 546
                    Feasterville, PA 19053-0546




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                    J.T. Seeley & Company
                    P.O. Box 702
                    Valley Forge, PA 19482

                    J.W. Ferrell Concrete Co.,
                    Inc
                    P.O. Box 2566
                    Vincentown, NJ 08088

                    J.W. Kennedy Inc.
                    536 Perry Street
                    Trenton, NJ 08618

                    J.W. Kennedy Inc.
                    536 Perry Street
                    Trenton, NJ 08618-3943

                    Jack Engle & Co.
                    8440 South Alameda Street
                    Los Angeles, CA 90001

                    Jack Young Company Inc.
                    334-362 Cambridge Street
                    Alstone, MA 02134

                    Jack Young Glass Co
                    122 E Lee Ave
                    Sapulpa, OK 74066

                    Jacks Cold Cuts
                    1951 Street Rd
                    Bensalem, PA 19020

                    Jacks Paperstock & Scrap
                    3615 Emerald St
                    Philadelphia, PA 19134

                    Jackson Storm Window & Glass
                    112 Harts Bridge Rd W
                    Jackson, TN 38301 7516

                    Jacob Brothers & Green
                    Attn: Al Green
                    12930 Dunkirk Dr
                    Upper Marlboro, MD 20772




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                    Jacob Goldberg & Son
                    430 Seaman Street
                    Perth Amboy, NJ 08861

                    Jacob Holtz Company
                    2424 E York St
                    PO Box 3654
                    Philadelphia, PA 19125

                    Jacobson Metal Company
                    P O Box 7596
                    Portlock Branch
                    Chesapeake, VA 23324

                    Jacqueline Campbell
                    15044 Endicott St
                    Philadelphia, PA 19116

                    Jacqueline Lambiaso
                    202 Linden Street
                    Rockville Center, NY      11570

                    Jaguar Credit
                    Dept 193901
                    P.O. Box 55000
                    Detroit, MI 48255-1939

                    Jam Service, Inc.
                    Coles Road. Suite 2
                    P.O. Box 308
                    Blackwood, NJ 08012

                    James A. Scott
                    16 West Elmwood Drive
                    Monroe, LA 71203

                    James A. Turner Inc.
                    3469 Bethlehem Pike
                    Souderton, PA 18964

                    James B. Jackman
                    2 Pilgrim Court
                    Pekin, IL 61554

                    James Bartie, Sgt. At Arms
                    5th Street & Mickle Blvd.
                    Camden, NJ 08105



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                    James Bayes
                    3763 Ky Rt 1750
                    East Point, KY 41216

                    James Brown
                    2871 Harrison Avenue
                    Camden, NJ 08105

                    James C Tubbs
                    442 W Main St
                    Greeneville, TN 37743

                    James D Mccleery
                    222 Albertson Ave
                    Barrington, NJ 08007

                    James Door Co.
                    Ets Corporation Of Detroit
                    120 State Rd 312 West Suite 1
                    St Augustine, FL 32086

                    James Doorcheck, Inc.
                    9027 Torresdale Ave
                    Philadelphia, PA 19136

                    James E. Dooley Co.
                    838 Sussex Blvd.
                    Broomall, PA 19008-4309

                    James E. Lundstedt
                    14 Gladiola Lane
                    Mount Holly, NJ 08060-4872

                    James G. Dickey
                    1831 Hiram Street
                    Louisville, OH 44641

                    James H Bennett
                    5327 Sapphire Dr
                    Prescot, AZ 86301

                    James Harrington
                    1147 N. 33rd Street Apt# 4
                    Camden, NJ 08105-4350




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                    James Konchan
                    1276 W. 3rd. Street
                    Route 313
                    Cleveland, OH 44113

                    James Limousine Svc
                    2050 Springdale Road
                    Unit #800
                    Cherry Hill, NJ 08003-4005

                    James M Mccormick
                    19 Riesling Ct
                    Marlton, NJ 08053

                    James M. Arnett
                    27517 Dupre Drive
                    Brownstown, MI 48174

                    James M. Hunt Services
                    121 Ann Street
                    Cedar Springs, MI

                    James M. Kelly
                    333 Rettop Place
                    Warminster, PA 18974

                    James M. Mccormick
                    Desktop Publishing Consult.
                    19 Reisling Court
                    Marlton, NJ 08053

                    James M. Stewart Inc.
                    9622 Evans Street
                    Philadelphia, PA 19115-3917

                    James Matteo & Sons Inc
                    1708 Us Highway 130
                    Thorofare, NJ 08086

                    James Murphy
                    C/O Ultra Hardware Products
                    LLC
                    1777 Hylton Rd
                    Pennsauken, NJ 08110




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                    James North
                    968 Kings Hwy
                    Apt. W-21
                    Thorofare, NJ    08086

                    James P. Eagle
                    7415 Clubhouse Drive
                    Ft. Wayne, IN 46835

                    James R. Mcquaide LLC
                    C/O Tristate Hvac Equipment
                    Union Hill Industrial Park
                    West Conshohocken, PA 19428

                    James R. Mcquaide, Inc.
                    C/O Baltimore Aircoil Co.,
                    Inc.
                    P.O. Box 306
                    Maple Shade, NJ 08052

                    James R. Odell, P.S.C.
                    429 North Broadway
                    PO Box 2258
                    Lexington, KY 40588-2258

                    James S. Perry, Sr.
                    2073 Dawson Cabin Road
                    Jacksonville, NC 28540

                    James Silberman Dds
                    603 White Horse Pike
                    Haddon Heights, NJ 08035

                    James Spring & Wire Co.
                    P.O. Box 878
                    6 Bacton Hill Road
                    Fraxer, PA 19355

                    James T. Sapio, P.L.S. & P.P.
                    19 Stratford Avenue
                    P.O. Box 207
                    Stratford, NJ 08084

                    James V. Tillona
                    Memorial Scholarship Fund
                    PO Box 394
                    Marlborough, CT 06447



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                    James Walker Mfg. Co.
                    P.O. Box 216
                    Charlton City, MA 01508

                    James Weber
                    150 Pine Tree Road
                    Orrtanna, PA 17353

                    Jamestown Paint
                    108 Main Street
                    PO Box 157
                    Jamestown, PA 16134

                    Jamie Caudell
                    Premier Wds. Of Elkin
                    1919 N. Bridge Street
                    Elkin, NC 28621

                    Jamieson Fence Supply
                    2345 Frisco
                    Memphis, TN 38114

                    Jams
                    Attn: Megan Altman
                    2 Grand Central Tower
                    140 East 45th St/25th Floor
                    New York, NY 10017

                    Jan C. Stoy
                    319 Washington Avenue
                    Magnolia, NJ 08049

                    Jan Communications Co., Inc.
                    6630 South Crescent Boulevard
                    Pennsauken, NJ 08109-1403

                    Jan K. Sonsteby, P.E.
                    30 Meadowbrook Lane
                    Chalfont, PA 18914

                    Janet White
                    207 Allendale Dr
                    Morrisville, PA 19067




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                    Jani-King Of Philadelphia,
                    Inc
                    2500 Eisenhower Ave
                    Norristown, PA 19403

                    Jan-Pro Cleaning Systems
                    1873 Route 70 East
                    Suite 100
                    Cherry Hill, NJ 08003

                    Janusz Nowak
                    56 Kemi Lane
                    Sayville, NY     11782

                    Jany
                    C/O Cit Business Capital
                    Attn: Julianne Low
                    11 West 4rnd St, 13th Floor
                    New York, NY 10036

                    Jason Dabrow
                    C/O Ultra Hardware Products
                    LLC
                    1777 Hylton Rd
                    Pennsauken, NJ 08110

                    Jason Hardware Co Ltd
                    Li-De Industrial Estate
                    Lianxia, Chenghai District
                    Shantau City, Guangdong
                    Province
                    China 515834

                    Jason Hardware Mfg Co Ltd
                    Jindu Town, Gao-Yau City
                    China
                    Guang-D0ng

                    Jason Seller
                    PO 1165
                    Brigantine, NJ

                    Jason Steel
                    1701 Hylton Road
                    Pennsauken, NJ 08110




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                    Jay & Jay Transportation
                    PO Box 237
                    Savannah, NY 13146

                    Jay & Jay Transportation,
                    Inc.
                    P.O. Box 237
                    Savannah, NY 13146

                    Jay A. Press P.C.
                    100 Crossways Park West
                    Suite 106
                    Woodbury, NY 11797

                    Jay J. Greenberg, P.E.
                    335 Quarry Lane
                    Haverford, PA 19041

                    Jay M Cantor
                    9 Overpond Ct
                    Potomac, MD 20854

                    Jay M. Cantor, P.C.
                    Suite 300 East
                    1100 New York Avenue N.W.
                    Washington, DC 20005-3955

                    Jay-Cee Sales & Rivet Inc.
                    P.O. Box 419
                    32861 Chesley Drive
                    Farmington, MI 48336

                    Jay's Tire Service
                    7015 Westfield Avenue
                    Pennsauken, NJ O8110

                    Jays Tire
                    7015 Westfield Avenue
                    Pennsauken, NJ 08110

                    J-B Supply Co., Inc.
                    8433 South Aveenue
                    Bldg. 1, Suite 3
                    Youngstown, OH 44514




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                    Jc Bennington
                    2940 Turnpike Drive
                    Hatboro, PA 19040

                    JC Transport Services, Inc.
                    2615 Maitland Crossing
                    Suite 9-208
                    Orlando, FL 32810

                    Jcc
                    Mr. Brian Adler
                    Betty & Milton Katz Jcc
                    1301 Springdale Road
                    Cherry Hill, NJ 08003

                    Jdm Infrastructure, LLC
                    Dept#4240
                    PO Box 87618
                    Chicago, IL 60680-061

                    JDRF
                    U.I.U. 1166 South 11th St
                    Philadelphia, PA 19147

                    Je Berkowitz
                    One Gateway Blvd.
                    Pedricktown, NJ 08067

                    Jean Pagone
                    C/O Joseph T. Ryerson Central
                    2621 West 15th Place
                    Box 8000
                    Chicago, IL 60680

                    Jeanco Services Inc.
                    P.O. Box 44
                    Franklin Lakes, NJ 07417-
                    0044

                    Jed Inc
                    1449 First Ave
                    New York, NY 10021 3002

                    Jef Products, Inc.
                    408 W Indiana Ave
                    South Bend, IN 46613




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                    Jeff Desnoyers
                    3316 Hill Top
                    Bristol, PA 19007

                    Jeff Isaia
                    36 East Second Street
                    Moorestown, NJ 08057

                    Jeff Lister
                    4 Nancia Court
                    Fallingston, PA     19054

                    Jeffery W. Schipani
                    124 Stonebridge Drive
                    Oakdale, PA 15071

                    Jeffrey B. Tener
                    256 Edgerstoune Road
                    Princeton, NJ 08540

                    Jeffrey D Hart
                    7 Dearborne Cove
                    Jackson, TN 38305

                    Jeffrey Simons
                    15867 Powell St
                    Clinton Township, MI        48038

                    Jeh Communications, Inc.
                    23 Nasturtium Lane
                    Levittown, PA 19054-3801

                    Jenken LLC
                    Attn: Marta Lewis
                    20 Stirrup Ln
                    Flemington, NJ 08822

                    Jenkintown Building Svcs Inc
                    827 Glenside Ave
                    Wyncote, PA 19095

                    Jensen Distribution Service
                    Attn: Kalita Benway
                    PO Box 3708
                    Spokane, WA 99220




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                    Jensen Industries Inc
                    1946 E 46th St
                    Los Angeles, CA 90058 2096

                    Jeremy Miller
                    8716 Hargrove St
                    Philadelphia, PA     19152

                    Jerome Kurtz
                    17 East 16th Street
                    New York, NY 10003

                    Jerome L. Holub & Assoc.
                    159 South Main St.
                    Akron, OH 44308

                    Jerome M Albert
                    185 West End Ave, Apt 10c
                    New York, NY 10023

                    Jerome Mckie
                    2655 Hazy Hollow Run
                    Roswell, GA 30076

                    Jerrold Distributors Inc.
                    3617-19 North Eighth Street
                    Phila., PA 19140

                    Jerry Baldier
                    310 Mayfield St.
                    Wanatah, IN 46390

                    Jerry Coleman
                    54981 Sunray Drive East
                    Osceola, IN 46561

                    Jerry L Smith
                    Dba J L Smith & Associates
                    206 Cypress Knoll Dr
                    Sewickley, PA 15143

                    Jerry Malfait
                    C/O Wright & Wilhelmy Co
                    11005 "E" St
                    Omaha, NE 68137




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                    Jerry Thomas
                    PO Box 16003
                    High Point, NC 27261

                    Jersey Drives & Bearings Co.
                    P.O. 558
                    409 White Horse Pike
                    Waterford, NJ 08089

                    Jersey Tempered Glass, Inc.
                    2035 Briggs Rd
                    PO Box 205
                    Mt Laurel, NJ 08054

                    Jersey Tempered Glass, Inc.
                    2035 Briggs Road
                    P.O. Box 205
                    Mt. Laurel, NJ 08054

                    Jervis & Associates
                    14255 Us Highway One
                    Suite 200
                    Juno Beach, FL 33408

                    Jes Advertising
                    3430 E. Jefferson Ave. #435
                    Detroit, MI 48207

                    Jesco
                    2610 South Black Horse Pike
                    Williamstow, NJ 08094

                    Jesse
                    449 Drummers Ln.
                    Wayne, PA 19087

                    Jet Hardware Manufacturing Co
                    800 Hinsdale Street
                    Brooklyn, NY 11207

                    Jet Line Services
                    PO Box 1566
                    Blackwood, NJ 08012

                    Jet Messenger Service Inc
                    PO Box 99
                    Metuchen, NJ 08840



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                    Jet Messenger Service, Inc.
                    PO Box 99
                    Metuchen, NJ 08840

                    Jet Set Travels
                    501 Washington Lane
                    Jenkintown, PA 19046

                    Jet Set Travels
                    Washington Lane & Old York
                    Rd.
                    Bldg 501
                    Jenkintown, PA 19046

                    Jet Stream Mobile Wash
                    5419 Beacon Avenue
                    Pennsauken, NJ 08109

                    Jetstar Co Ltd
                    16f, No401, Sec 1, Chung Shan
                    Road
                    Chang Hua City
                    China
                    Taiwan

                    Jevic Transportation Inc
                    PO Box 13031
                    Newark, NJ 07188

                    Jevic Transportation Inc.
                    P.O. Box 23194
                    Newark, NJ 07189

                    Jevic Transportation Inc.
                    PO Box 13031
                    Newark, NJ 7188

                    Jewish Family Service
                    3 S. Weymouth Avenue
                    Ventnor, NJ 08406

                    Jewish Federation Of Southern
                    New Jersey
                    1301 Springdale Road Suite
                    200
                    Cherry Hill, NJ 08003




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                    Jewish National Fund
                    1528 Walnut St
                    Suite 1210
                    Philadelphia, PA 19102

                    Jiaxin Feng Jian Hdw Co Ltd
                    No 8 Haisheng Road
                    Wu Yuan Town
                    China
                    Haiyan Zhejiang

                    Jiaxin Yinmao Intl Trading Co
                    No. 562 Hongxing Road
                    Jiaxing
                    314001

                    Jiffy Lube/Afms
                    PO Box 1610
                    Ellicot, MD 21041

                    Jill Donaldson
                    37 Albany Rd,
                    Marlton, NJ 08053

                    Jill Warm
                    4598 Nw 26 Pl
                    Boca Raton, FL    33434

                    Jim Hayes
                    828 8th Avenue
                    Fulton, IL 61252

                    Jim Hinzman
                    PO Box 3223
                    Concord, NC    28025

                    Jim Jarozynski
                    625 Bettlewood Avenue
                    Collingswood, NJ 08108

                    Jim Whitmoyer
                    11 Mailman Lane
                    Bloomsburgh, PA     17815

                    Jimmie L Sellars
                    12871 Encanto Dr
                    Victorville, CA 92392



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                    Jm Leasing Co.
                    295 Grand Avenue
                    P.O. Box 27
                    Clarion, PA 16214

                    Jm Office Furniture Distrib.
                    8400 A Remington Avenue
                    Pennsauken, NJ 08110

                    Jm Office Furniture
                    Distributors Inc
                    8550-E Remington Ave
                    Pennsauken, NJ 08110

                    Jm Thomas Co.
                    227 Highland Ave.
                    Westmont, NJ 08108

                    Jms Co, Inc
                    1666 Rt206
                    Vincentown, NJ    08088

                    Jno S Solenberger
                    832 Berryville Ave
                    Winchester, VA 22601

                    Jo Anderson Models & Talent
                    1 Eves Drive, Suite 111
                    Marlton, NJ 08053

                    Joan Scullion
                    208 Whitehall Court
                    Voorhees, NJ 08043

                    Job Boss Software, Inc.
                    7701 York Avenue South
                    Minneapolis, MN 55435-5832

                    Job Shop Technology
                    Edwards Publishing, LLC
                    P.O. Box 7193
                    Prospct, CT 06712

                    Jobnet.Comm Inc.
                    1700 Paoli Pike
                    Malvern, PA 19355




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                    Jobtrak
                    1964 Westwood Blvd
                    Third Floor
                    Los Angeles, CA 90025

                    Jody Cutcher
                    C/O Viscount Pools
                    36568 Groesbeck Highway
                    Clinton Township, MI 48035

                    Jody Stein
                    11 Marni Ct
                    Marlton, NJ 08053

                    Joe Brucato
                    Rr 2 Box 131 Bf
                    Uniondale, PA 18470

                    Joe Fiorilli
                    1714 N. Mascher Street
                    Philadelphia, PA 19122

                    Joe Harris, Jr.
                    PO Box 877
                    Williamstown, NJ     08094

                    Joe Kerins
                    10 Oakleaf Drive
                    New Egypt, NJ 08533-1818

                    Joe Sanchez
                    1211 Ford Road
                    Bensalem, PA 19020

                    Joe Tex Xpress, Inc.
                    P.O. Box 1638
                    Mt. Vernon, TX 75457

                    Joe Tex, Inc.
                    P.O. Box 1287
                    Mount Vernon, TX     75457

                    Joe Torsella For Congress
                    7601 Castor Ave
                    Philadelphia, PA 19152




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                    Joffe Lumber
                    PO Box 2309
                    Vineland, NJ 08362 2309

                    John A Steer Co
                    28 S 2nd St
                    Philadelphia, PA 19106

                    John A. Crane
                    113 Riverview Ave.
                    Yardley, PA 19067

                    John A. Michael
                    19 Coldspring Road
                    Mercerville, NJ 08619

                    John A. Steer Co.
                    28 S 2nd Street
                    Philadelphia, PA 19106

                    John A. Weinberger
                    16 Avenue Dumas
                    Geneva Switzerland

                    John A. Wenstrom And Son,
                    Inc.
                    Kings Highway Commerce Center
                    120 East Kings Highway
                    Maple Shade, NJ 08052

                    John Annas
                    140 Mccoy Rd
                    Salisbury, NC 28144

                    John Azzari
                    109 Marne Ave.
                    Brooklawn, NJ 08030

                    John Bridge And Sons
                    9th And Pennel Streets
                    Chester, PA 19013

                    John Bridge Sons, Inc.
                    P.O. Box 819
                    1201 W. 9th Street
                    Chester, PA 19016




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                    John C. Ernst Co. Inc.
                    21 Gail Ct.
                    Sparta, NJ 07871

                    John Coates
                    1000 Lawndale Rd
                    Wilmington, DE 19810

                    John Collins
                    6410 Riverfront Drive
                    Palmyra, NJ 08065

                    John De Gorter Inc, S.C.
                    5623 Cannon Drive
                    Monroe, NC 28110

                    John Delgiorno
                    105 Stratton Lane
                    Mt. Laurel, NJ 08054

                    John E. Schade Assoc., Inc.
                    1150 Old York Road
                    Abington, PA 19001

                    John Evans Installations
                    901 S. Bellevue Avenue
                    Langhorne, PA 19047

                    John Evan's Sons, Inc.
                    1 Spring Avenue
                    P.O. Box 885
                    Lansdale, PA 19446

                    John F. Chandler
                    2215 43rd Street
                    Pennsauken, NJ 08110

                    John Hack Company Inc.
                    P.O. Box 309
                    Thorofare, NJ 08086-0309

                    John J Carreiro
                    58 Westview Terrace
                    Shelton, CT 06484

                    John J Mcintyre Sons Inc
                    514-16 Knoor St
                    Philadelphia, PA 19111 4699


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                    John J. Mcintyre Sons Scale
                    514-16 Knorr Street
                    Philadelphia, PA 19111-4699

                    John J. White, Cpa
                    104 Paisley Place
                    Hainesport, NJ 08036

                    John Kennedy Ford
                    620 Bostleton Ave.
                    Feasterville, PA 19053

                    John L. Lutz Welding
                    810 State Route 12
                    Frenchtown, NJ 08825

                    John Lobe
                    1500 Reisteictown Road
                    Baltimore, MD 21208

                    John Lucas
                    #2 Walnut
                    PO Box 1149
                    Clendenin, WV 25045

                    John M Frey Company
                    Drawer #338
                    Milwaukee, WI 53278-0338

                    John M. Rowe Inc.
                    Route 419 South
                    P.O. Box 362
                    Schaefferstown, PA     17088

                    John M. Skonier
                    2417 Oakland Ave
                    Norristown, PA 19403

                    John Mccleery
                    129 8th Ave
                    Haddon Heights, NJ 08035

                    John Mitchell
                    4295 S Priceless View Dr
                    Gold Canyon, AZ 85218 5870




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                    John P. Costello
                    328 Dogwood Lane
                    Elkins Park, PA 19027-1609

                    John P. Moore
                    94 Fisher Street
                    Walpole, MA 02081

                    John R. Naples
                    4059 Madison Road
                    Youngstown, OH 44505

                    John Romano Construction
                    511 Garden Road
                    Pittsgrove, NJ 08318

                    John Ross & Sons
                    5 Canterbury Close
                    Halifax
                    Novia Scotia


                    John Royer Windows
                    6766 Rpote 66
                    Fairmount City, PA     16224

                    John S Coates
                    1000 Lawndale Rd
                    Wilmington, DE 19810

                    John Schlueter
                    3243 Pinewood Drive
                    New Waterford, OH 44445

                    John Sterling Corporation
                    6295 Reliable Parkway
                    Chicago, IL 60686

                    John Sterling Corporation
                    6295 Reliable Parkway
                    Chicago, IL 60686

                    John Stojanov
                    396 Mount Laurel Road
                    Mount Laurel, NJ 08054




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                    John T Buhr
                    C/O J T B & Associates
                    318 Ne 2nd St, Box 172
                    Colman, SD 57017

                    John W. Cochrane, Inc.
                    PO Box 625
                    Franklinville, NJ 08322-0625

                    John Walmsley:Infra-Metals
                    5208 24th Ave. S.
                    Tampa, FL 33619

                    John Wiley & Sons, Inc.
                    Po Box 7247-8402
                    Phila., PA 19170-8402

                    John Witlin
                    13 West Indian Lane
                    Norristown, PA 19403

                    John Zamer
                    Apco Industries
                    777 Michigan Ave.
                    Columbus, OH 43215

                    John's Landscaping & Lawn
                    Serv
                    428 Derousse Avenue
                    Pennsauken, NJ 08110

                    John's Lock Shop Inc
                    Dba Houdini Lock & Safe Co
                    932 Old York Rd
                    Abington, PA 19001

                    John's Locksmith Service
                    8505 Daryl Dr
                    Lusby, MD 20657 2067

                    Johnson Madison Lumber
                    815 10th St N
                    Great Falls, MT 59403




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                    Johnson Sales, Inc.
                    Attn: Larry French-President
                    P.O. Box 20906
                    St. Petersburg, FL 33742

                    Johnston Supply
                    12 N Wildwood Blvd
                    Capemay Courthouse, NJ      08210

                    Johnstone Supply Of Phila
                    PO Box 43144
                    Philadelphia, PA 19129

                    Johnstown America Corp.
                    Attn: Jerry Bunda
                    17 John Street
                    Johnstown, PA 15901

                    Jolynn Transport Co., Inc.
                    17 Tolles Street
                    Hudson, NH 03051

                    Jomar Technologies, Inc.
                    Attn: Accounts Receivable
                    2 Christy Dr. Suite 301 PO
                    Box 2000
                    Chadds Ford, PA 19317

                    Jonas Browne & Hubbard Ltd
                    PO Box 25
                    Grenada WI
                    St Georges

                    Jonathan Eshenour
                    1920 Kaylor Road
                    Hummelstown, PA 17036

                    Jonathan Sanchez
                    509 Line St
                    Camden, NJ 08103

                    Jones Machinery Co.
                    465 3rd Ave S.E.
                    Britt, IA 50423




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                    Jones/Kinden Co.
                    1517 Mcdaniel Drive
                    West Chester, PA 19380

                    Jon-Mar Trucking Co., Inc.
                    P.O. Box 3205
                    South Amboy, NJ 08879-3205

                    Joplin Venetian Blind Inc
                    1525 S Main St
                    Joplin, MO 64804

                    Jordan Controls
                    5607 W. Douglas Ave.
                    Millwaukee, WI 53218

                    Jordan Hardware Mfg Co Ltd
                    No. 1, Shin Hwa Rd.
                    Hengli Town, Dongguan City
                    Guangdong Province

                    Jordan International Co
                    PO Box A
                    New Haven, CT 06515

                    Joric Inc.
                    807 Cherry Street
                    Gloucester City, NJ     08030

                    Jose A Martinez
                    256 Morse St.
                    Camden, NJ 08105-2028

                    Joseph A Moore-Mudry
                    3175 John F Kennedy Blvd
                    Apt 1105
                    Philadelphia, PA 19104

                    Joseph Abbatelli
                    1875 Pitman-Downer Drive
                    Williamstown, NJ 08094

                    Joseph B. Bloom
                    611 Wadsworth Ave
                    Philadelphia, PA 19119




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                    Joseph Dinoto
                    217 S Pine St
                    Maple Shade, NJ 08052

                    Joseph Donnelly
                    1431 Ocean Drive
                    Avalon, NJ 08202

                    Joseph Fazzio, Inc.
                    2760 Glassboro-Cross Key Road
                    Glassboro, NJ 08028

                    Joseph Finkle & Son, Inc.
                    7 Coryell Street
                    Attn: Rachel
                    Lambertville, NJ 08530

                    Joseph Freedman
                    40 Albany St
                    P.O. Box 3555
                    Springfield, MA     01101

                    Joseph Gartland, Inc.
                    80 W. Browning Rd.
                    Bellmawr, NJ 08031-2243

                    Joseph Giglio
                    7 Eden Rd.
                    Turnersville, NJ     08012

                    Joseph Hunt Company
                    Baltimore Pike & Marple Ave.
                    Clifton Heights, PA 19018

                    Joseph J. Doyle Machine Tool
                    Sales, Inc.
                    P.O. Box 427
                    Huntingdon Valy, PA 19006

                    Joseph J. Mclaughlin Jr.
                    Three Radnor Corporate Center
                    Suite 450
                    Radnor, PA 19087-4546

                    Joseph Kuppler
                    986 Sherbrook Way
                    Somerdale, NJ 08083



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                    Joseph Lee
                    1701 Dupwe Dr
                    Jonesboro, AR    724014640

                    Joseph Machine Company, Inc.
                    PO Box 121
                    Dillsburg, PA 17019

                    Joseph R. Wolf, P.E.
                    116 Pelham Road So.
                    Voorhees, NJ 08043

                    Joseph Smith & Sons, Inc.
                    P.O. Box 62800
                    Washington, DC 20029

                    Joseph Steinroeder
                    509 Traditions Ct. South
                    Oxford, CT 06 478

                    Joseph Stong, Inc
                    742 West Front Street
                    Chester, PA 19013

                    Joseph Strong, Inc.
                    742 W. Front St
                    Chester, PA 19013-3899

                    Joseph T. Ryerson & Son
                    33959 Treasury Center
                    Chicago, IL 60694-3900

                    Joslyn Hi-Voltage Corp.
                    P.O. Box 91758
                    Chicago, IL 60693

                    Jottan Inc.
                    P.O. Box 166
                    Florence, NJ    08518

                    Joule Industrial Contracting
                    429 E. Broad Street
                    Gibbstown, NJ 08027-1515

                    Jowitt & Rodgers Co
                    9400 State Road
                    Philadelphia, PA 19114



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                    Joyce/Dayton Corp
                    P.O. Box 635789
                    Cincinnati, OH 45263-5789

                    Jp Morgan Chase Bank
                    10420 Highland Manor Drive
                    Tampa, FL 33610

                    Jr Raptors Ice Hockey
                    C/O Skate Zone
                    6725 River Rd
                    Pennsauken, NJ 08110

                    Jt's Vacuum & Sew Inc.
                    3 W. Broad St.
                    Palmyra, NJ 08065

                    Jts
                    PO Box 13424
                    Newark, NJ 07188

                    Juan Burkette
                    4 Pine Street
                    Old Bridge, NJ    08857

                    Juan Torres
                    463 Knight Island Rd.
                    Earleville, MD 21919

                    Jubanyik, Varbalow, Et Al
                    1701 Route 70 East
                    P.O. Box 2570
                    Cherry Hill, NJ 08034

                    Judi Glover
                    4405 Yorktown Place
                    Mays Landing, NJ 08330

                    Judith A. Karr, Esq.
                    P.O. Box 346
                    123 South Broadway
                    Pennsville, NJ 08070

                    Judy Venn & Associates
                    3186 Airway Ave.
                    Suite H
                    Costa Mesa, CA 92626



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                    Jules Kramer
                    2403 Chestnut Dr
                    Cinnaminson, NJ 08077

                    Julie Associates, Inc.
                    PO Box 141
                    Billerica, MA 01821

                    Juliette Broglin
                    311 Edgewater Ave
                    Westville, NJ 08093

                    Jurman Glass & Mirror Inc.
                    P.O. Box 1277
                    Merchantville, NJ 08109

                    Just Auto Glass Inc.
                    4200 Strand Avenue
                    Pennsauken, NJ 08109

                    Just Tires
                    408 Haddonfield Road
                    Cherry Hill, NJ 08034

                    Justin Farrell
                    Harrows
                    831 Sunrise Highway
                    Lynbrook, NY 11563

                    K & D Associates
                    90 North Kings Highway
                    Cherry Hill, NJ 08034

                    K & E Mobile Painting
                    118 Kennedy Blvd.
                    Bellmawr, NJ 08031

                    K & K Express, LLC
                    Sds 12-2079
                    P.O. Box 86
                    Minneapolis, MN 55486

                    K & M Printing Co
                    1410 North Meacham Rd
                    Schaumburg, IL 60173




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                    K & M Transport LLC
                    526 Railroad Blvd.
                    Buena, NJ 08310

                    K & S Services
                    15677 Noecker Way
                    Southgate, MI 48195

                    K B Acrylics Inc
                    I-295 Industrial Center, Bldg
                    B
                    Delsea Drive & Frontage Rd
                    PO Box 47
                    Westville, NJ 08093 0047

                    K B E Inc
                    945 Ben Franklin Dr #2
                    Sarasota, FL 34236 2118

                    K B M Company LLC
                    876 N Lenola Rd, Ste 6d
                    Moorestown, NJ 08057

                    K Brothers Fence
                    17101 S. Wolf Road
                    Orland Park, IL 60462

                    K C S Energy Marketing, Inc.
                    1800 West Loop South
                    Suite 1400
                    Houston, TX 77027-3210

                    K D I American Products
                    Departmetn No. 4505
                    SCF Pasadena, CA 91050-4505

                    K R G Enterprises Inc
                    8701 Torresdale Ave
                    Philadelphia, PA 191361509

                    K&S International
                    600 South Wheeling Road
                    Wheeling, IL 60090

                    K.C. Bulk Metals, LLC
                    34 Lloyd Street
                    New Haven, CT 06513



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                    K.J.S. Pool Center
                    C/O Doheny Ent
                    6950 51st
                    Kenosha, WI 53144

                    K2bw
                    700 B. Eastern Road
                    Horsham, PA 10944

                    Ka Cee Enterprises, Ltd
                    22 Hummel Road
                    (Quinton Township)
                    Bridgeton, NJ 08302

                    Kabelschlepp
                    7100 W. Marcia Road
                    Milwaukee, WI 53223-3363

                    Kaiser Alum. & Chem. Corp.
                    P.O. Box 360345m
                    Pittsburgh, PA 15251

                    Kaiser Aluminum &Chemical
                    Corp
                    1459 Hebron Road
                    Heath, OH 43056

                    Kaiser Aluminum
                    3021 Gore Road
                    London
                    Ontario Canada
                    N5v 5a9

                    Kale Transport
                    P.O. Box 725
                    Mt. Laurel, NJ    08054

                    Kaleidoscope Graphics
                    N60 W25884 Walnut Rd
                    Sussex, WI 53089

                    Kam Wah Metalware Mfg Fty
                    B5, 11/F, Hong Kong
                    Industrial
                    489-491 Castle Peak Road
                    Kowloon Hong Kong




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                    Kaman Bearing
                    1001 Lower Landing Road
                    Suite 102
                    Blackwood, NJ 08012

                    Kaman Industrial Tech. Corp.
                    PO Box 74566
                    Chicago, IL 60690

                    Kaman Industrial Technologies
                    1001 Lower Landing Road
                    Rd 1, Suite 102
                    Blackwood, NJ 08012

                    Kaman Industrial Technologies
                    P.O. Box 8644
                    Ft. Wayne, IN 46898

                    Kambo Security Products
                    Unit 01-02, 5-Fl.
                    Kwai Fung Street
                    Kwai Chung, N.T.

                    Kamco Flow Solutions
                    Access Capital, Inc.
                    405 Park Ave. 16th Floor
                    New York, NY 10022

                    Kamden International Ship
                    PO Box 300123
                    Jfk Airport Station
                    Jamaica, NY 11430

                    Kane Steel Company
                    South Twelfth Street
                    P.O. Box 829
                    Millville, NJ 08332

                    Kane Steel
                    South 12th
                    Millville, NJ    08332

                    Kano Laboratories Inc.
                    1000 E Thompson Lane
                    Nashville, TN 37211-2627




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                    Kansas City Star
                    PO Box 27-766
                    Kansas City, MO 64180-0766

                    Kansas Department Of Revenue
                    P.O. Box 12007
                    Topeka, KS 66612-2007

                    Kansas Department Of Revenue
                    Sales And Excise Tax
                    915 Sw Harrison St
                    Topeka, KS 66625-5000

                    Kaps, Incorporated
                    Centennial Center Suite
                    105-106 Cross Keys Road
                    Berlin, NJ 08009

                    Karlye Novy
                    2966 Shamrock Dr
                    Elgin, IL 60124

                    Karosserie
                    378 Crooked Lane
                    King Of Prussia, PA     19406

                    Kasey Kadrey
                    631 Jaeger Drive
                    Delray Beach, FL     33444

                    Kasowitz & Sons, Inc.
                    149 Front Avenue
                    West Haven, CT 06516

                    Kasper\Chambers Waste Sys.
                    3101 E. Hedley St.
                    Philadelphia, PA 19137-1993

                    Kate Hagarty Inc
                    Four Greentree Centre, Ste
                    102
                    Marlton, NJ 08053

                    Kate Hagarty, Inc
                    Four Greentree Centre
                    Suite 102
                    Marlton, NJ 08053



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                    Kate Hagerty Inc.
                    Four Greentree Center
                    Suite 102
                    Marlton, NJ 08053

                    Katherine Rush
                    6 Kelly Dr
                    Woodbury, NJ 08096

                    Kathleen Heintzelman
                    24 E. 5th Ave.
                    Runnemeade, NJ 08078-1115

                    Kathrine B. Hogan
                    P.O. Box 4671
                    Wilmington, DE 19807

                    Katie Westfall
                    Viscount Pools
                    28302 Jor Road
                    Livonia, MI 48150

                    Katz & Sons, Inc.
                    P.O. Box 510
                    Dreher Avenue At Erie
                    Stroudsburg, PA 18360

                    Kauffman Trucking, Inc
                    744 Walnut Ave 1a
                    Bensalem, PA 19020

                    Kavanagh & Associates, Inc.
                    Logistics Management
                    1465 Route 31 South
                    Annandale, NJ 08801-3130

                    Kawneer Company Inc.
                    500e. 12th Street
                    Bloomsburg, PA 17815

                    Kay Mcgovern & Associates
                    Certified Court Reporters
                    Post Office Box 20044
                    Raleigh, NC 27619




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                    Kay Roofing, Inc.
                    P.O. Box 245
                    Montgomeryville, PA     18936

                    Kaye Personnel Inc
                    1868 Route 70 East
                    Cherry Hill, NJ 080032078

                    Kaye Staffing
                    1868 Rte 70 E
                    Cherry Hill, NJ 080032078

                    KAZARIAN, DR LEON
                    674 Mcbee Road Box 306
                    Bellbrook, OH 45305

                    Kb Leisure Ltd, Dba Viscount
                    Pools, Spas And Billiards
                    32439 Industrial Drive
                    Madison Heights, MI 48071

                    Kballoys, Inc.
                    Dept. 77-3069
                    Chicago, IL 60678-3069

                    Kbc Tools And Machinery
                    6300 18 Mile Road
                    Sterling Heights, MI 48314

                    K-Bin
                    PO Box 200820
                    Houston, TX 77216-0820

                    Kci Konecranes International
                    PO Box 641807
                    Pittsburgh, PA 15264-1807

                    Kci Konecranes
                    1314 E. Philadelphia Ave.
                    Gilbertsville, PA 19525

                    Kd Tool, Inc.
                    46 Dunham Loop
                    Berlin, NJ 08009

                    Kd Tool, Inc.
                    46 Dunham Loop
                    Berlin, NJ 08009


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                    Kdi Paragon Incorporated
                    341 Route 55
                    West Wing
                    Lagrangeville, NY 12540-5105

                    Kearns, Kathleen
                    319 Susan Dr
                    Cinnaminson, NJ 08077

                    Keeney Rigging & Truck Co.
                    180 Oakwood Drive
                    Glastonbury, CT 06033

                    Keith R. Waters, LLC
                    302 Nelson Avenue
                    Chesilhurst, NJ 08089-1145

                    Keith Titus Corp.
                    Po Box 920
                    Weedsport, NY 13166

                    Keithley Instruments, Inc.
                    28775 Aurora Road
                    Cleveland, OH 44139-1891

                    Kellaway Intermodal &
                    Distribution Systems Inc
                    PO Box 750
                    Randolph, MA 02368

                    Keller Glasco, Inc.
                    2711 East Oakland Ave.
                    Johnson City, TN 37602-4109

                    Kelley Transportaion
                    P.O. Box 340
                    Vandalia, OH 45377

                    Kelly Control Systems
                    Unit 5 Capitol Park
                    Pearce Way
                    Gloucester
                    England Gl2 5yd




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                    Kelly Industrial Floor, Inc.
                    1008 Industrial Drive
                    Unit-J
                    West Berlin, NJ 08091

                    Kelly Industrial Floors, Inc.
                    265 Mount Vernon Avenue
                    West Berlin, NJ 08091

                    Kelly Services, Inc.
                    P.O. Box 7777 C9995
                    Philadelphia, PA 19175-9995

                    Kelly Smith
                    125 Colonial Square Dr
                    Lindenwold, NJ 08021

                    Kelly Truck Line, Inc.
                    P.O. Box 1142
                    20th & Bypass
                    Pittsburg, KS 66762

                    Ken Detmayer
                    14531 Polo Club Dr.
                    Strongsville, OH 44136

                    Ken Mcgann
                    PO Box 130
                    East Dover, VT    05341

                    Ken Morgan
                    419 S Lynnhaven Road
                    Virginia Beach, VA 23452

                    Kendrioski, Steven
                    8 Ridge Trail
                    Kinnelon, NJ 07405

                    Ken-Mac Metals
                    PO Box 30250
                    17901 Englewood Dr.
                    Cleveland, OH 44130-3492

                    Kennametal Inc.
                    P.O. Box 800
                    Windsor, CT 06095-0800




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                    Kenneco Transportation, Inc.
                    122 Racehorse Drive
                    Jonestown, PA 17038

                    Kennedy Center At Voorhees
                    Att: Loretta Baum
                    P.O. Box 1916
                    1099 White Horse Rd.
                    Voorhees, NJ 08043

                    Kennedy Culvert & Supply Co.
                    P.O. Box 706
                    Clementon, NJ 08021

                    Kennedy Pump
                    PO Box 345
                    Kulpsville, PA    19443

                    Kenneth Clark Co. Inc.
                    10264 Baltimore National Pike
                    Ellicott City, MD 21042

                    Kenneth S Blazick
                    675 Raymond Dr
                    Lewiston, NY 14092

                    Kenny Daniels
                    C/0 Atlantic Roofing
                    573 Railroad St.
                    Fair Bluff, NC 28439

                    Kenric R. Bullins
                    1407 Dillard Road
                    Madison, NC 27025

                    Ken's Forklift Service
                    Rr I Box 349a
                    Lake Road
                    Mewfield, NJ 08344

                    Kent Wassmann
                    16128 Martin
                    Roseville, MI 48066

                    Kentucky Builders
                    1008 Forest Ave
                    Maysville, KY 41056



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                    Kentucky Dept. Of Revenue
                    Frankfort, KY 40620-0003

                    Kern Special Tools Co., Inc.
                    411 John Downey Drive
                    New Britain, CT 06051

                    Kerry Pacifico's
                    Ardmore Ford
                    211 S. Lancaster Avenue
                    Ardmore, PA 19003

                    Kevin Arbogast
                    C/O Abc Supply
                    441 Abc Drive
                    Myrtle Beach, SC     29577

                    Kevin E. Roberts
                    826 Lionshead Lane
                    Greenwood, IN 46143

                    Kevin Sullivan
                    107 Gentry Dr
                    Perkasie, PA 18944

                    Kevin T Warner
                    2791 Pettit Ln
                    Pennsauken, NJ 08109

                    Kevin Watson And Lovitz
                    And Gold Jointly
                    1704 W. Juniata At
                    Philadelphia, PA 19140

                    Key Bellevilles
                    100 Key Lane
                    Leechburg, PA 15656

                    Key Communications Inc
                    PO Box 569
                    Garrisonville, VA 22463

                    Key Equipment Finance
                    600 Travis Suite 1300
                    Houston, TX 77002




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                    Key Fasteners
                    Po Box 2131
                    Cherry Hill, NJ     08034-0157

                    Key Tech Corporation
                    20508 56th Ave W. Suite A
                    Lynnwood, WA 98036-7650

                    Keye Productivity Center
                    P.O. Box 4725
                    Buffalo, NY 14240-4725

                    Keye Productivity Center
                    P.O.Box 169
                    Saranac Lake, NY 12983-0169

                    Keymark Corporation
                    1188 Cayadutta Street
                    Fonda, NY 12068

                    Keystone Aerial Survey, Inc.
                    Northeast Philadelphia
                    Airport
                    P.O. Box 21059
                    Philadelphia, PA 19114

                    Keystone Air Gas
                    3625 Sycamore St
                    PO Box 4946
                    Harrisburg, PA 17111-0946

                    Keystone Building Products,
                    Inc
                    PO Box 423
                    Selinsgrove, PA 17870-0423

                    Keystone Crane & Hoist Co.
                    396 Morganza Road
                    Cannonsburg, PA 15317

                    Keystone Dedicated Logistics
                    15 27th Street
                    Pittsburg, PA 15222

                    Keystone Dedicated Logistics
                    15 27th Street
                    Pittsburgh, PA 15222



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                    Keystone Fire Protection Co.
                    108 Park Drive
                    Suite 3
                    Montgomeryville, PA 18936

                    Keystone Flashing
                    5119 N. Second St.
                    Philadelphia, PA 19120

                    Keystone Health Plan East
                    PO Box 41507
                    Philadelphia, PA 19101-1507

                    Keystone Manufacturing Inc.
                    668 Cleveland Street
                    Rochester, PA 15074-0270

                    Keystone Products
                    2880 Mt. Pleasant Street
                    Burlington, IA 52601

                    Keystone Protection Corp.
                    108 Park Drive Suite 3
                    Montgomeryville, PA 18936

                    Keystone Protection
                    Industries
                    108 Park Drive
                    Suite 3
                    Montgomeryville, PA     18936

                    Keystone Window Machinery
                    1650 Sismet Drive
                    Ontario, CA A L4w2k8

                    Kfc Y064-045
                    7550 S. Crescent Road
                    Pennsauken, NJ 08109

                    Kfc Yo64-024
                    1170 Haddon Avenue
                    Collingswood, NJ 08108

                    Kgk International Corp.
                    Lock Box 94031
                    Chicago, IL 60690




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                    Kgm Precision Corporation
                    1875 Route 206
                    Southampton, NJ 08088

                    Kha Home Improvement
                    2517 Patterson Road
                    Kettering, OH 45420

                    Kiber Environmental Services
                    3145 Medlock Bridge Road
                    Norcross, GA 30071

                    Kickplate/Showcase Brass
                    PO Box 75628
                    Charlotte, NC 28275-0628

                    Kids R It
                    811 Church Road
                    Suite 114
                    Cherry Hill, NJ     08002

                    Kik
                    425 E. Arrow Hwy
                    Ste #721
                    Glendora, CA 9170-5684

                    Kilntek, Inc.
                    P.O. Box 5883
                    Asheville, NC     28813

                    Kilsby-Roberts
                    P.O. Box 8500-4000
                    Phila., PA 19178-4000

                    Kim Bender
                    287 Messer Road
                    Waynesville, NC     28786

                    Kim Jordan
                    2605 Little Bartons Creek Rd.
                    Cumberland Furnace, TN

                    Kind & Co. Edelstahlwerk
                    2882 Forest View Way
                    Carlsbad, CA 92008




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                    Kinder Foundation
                    4496 Chesswood Drive
                    Toronto
                    Canada
                    M3J 2B9

                    Kindt-Collin Co
                    12651 Elmwood Ave
                    Cleveland, OH 44111

                    Kinetic Technologies
                    Eng.Corp.
                    1309 Poplar Avenue
                    Kirkwood, NJ 08043

                    King Architectural Metals
                    PO Box 271169
                    Dallas, TX 75227

                    King Bros. Industries
                    27781 Avenue Hopkins
                    Valencia, CA 91355

                    King Finishing Co.
                    141 Lanza Avenue Bldg. 32
                    Garfield, NJ 07026

                    King Steel Inc.
                    1329 Ford Road
                    Bensalem, PA 19020

                    Kingmaker Steel Co. Inc.
                    133 Belmont Drive
                    Somerset, NJ 08873-1203

                    Kings Hardware
                    531 Smith St
                    Providence, RI 02908

                    Kingsway
                    6600 Chemin St
                    Quebec, Canada    A H4s1b7

                    Kinko's
                    1211 Route 73
                    Mt. Laurel, NJ    08054




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                    Kinsun International
                    Trade Co Ltd
                    A-1203, No 129, Xinhua Rd
                    China
                    Wuhan

                    Kirk Brimhall
                    15962 Wicklow Ln
                    Huntington Beach, CA 92647
                    3151

                    Kirk G Kredell Co
                    2636 East York St
                    Philadelphia, PA 19125

                    Kirsten Bjork
                    114 Cooper Avenue
                    Collingswood, NJ 08108

                    Kissler & Co Inc
                    770 Central Blvd
                    Carlstadt, NJ 07072

                    Kitchen/Bath Industry Show
                    13760 Noel Rd, Ste 500
                    Dallas, TX 75240

                    Kits
                    4712 North Hesperides Street
                    Tampa, FL 33614

                    Klamath Environmental Law Ctr
                    424 First Street
                    Eureka, CA 95501

                    Klaus Construction Co., Inc.
                    218 Elm Avenue
                    Maple Shade, NJ 08052

                    Klean Sanitary Equip Co Ltd
                    Shangtian Development Zone
                    Fenghua City
                    Zhejiang Province Prc
                    China




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                    Klear Impressions Inc
                    11500 Roosevelt Blvd
                    Bldg 3a
                    Philadelphia, PA 19116

                    Klear Impressions
                    2433 W. Westmoreland Street
                    Philadelphia, PA 19129

                    Klein, Walter J. Co Ltd
                    Box 472087
                    Charlotte, NC 28247

                    Kleinbard, Bell & Brecker
                    1900 Market Street
                    Suite 700
                    Phila., PA 19103

                    Klingelhofer Corporation
                    165 Mill Lane
                    P.O. Box 1098
                    Mountainside, NJ 07092

                    Klt Sales & Service, Inc
                    3269 North Delsea Drive
                    Vineland, NJ 08360

                    K-Mart
                    Street Road
                    Bensalem, PA    19020

                    Kmj's Marketing Inc
                    Dba Mcm Marketing Inc
                    2170 S 31st Ct
                    Ridgefield, WA 98842

                    Knapp Associates
                    264 Cheesespring Road
                    Wilton, CT 06897

                    Knight Corporation
                    P.O. Box 332
                    Ardmore, PA 19003

                    Knight Transportation
                    P.O. Box 29897
                    Phoenix, AZ    85038-9897



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                    Knopf Dodge Inc.
                    717 N. Bethlehem Pike
                    Ambler, PA 19002

                    Knox County Treasurer
                    111 N. 7th Street
                    Vincennes, IN 47591

                    Knoxville News Sentinal Co.
                    P.O. Box 2357
                    Memphis, TN 38101-2357

                    Knupp Kodiak & Imblum, Pc
                    PO Box 11848
                    Harrisburh, PA 07108-1848

                    Knuth Hinge Company Inc.
                    561 Scobie Street
                    Montague, CA 96064

                    Kobold Instruments Inc.
                    1801 Parkway View Drive
                    Pittsburgh, PA 15205

                    Koch Gas Services Company
                    P.O. Box 951219
                    Dallas, TX 75395-1219

                    Koch Metals Division
                    600 Travis Street
                    Houston, TX 77002

                    Koerner Ford Of Syracuse
                    805 W Genesee St
                    Syracuse, NY 13204

                    Koger
                    P.O. Box 2098
                    Martinsville, VA     24113

                    Kokido Mfy Limited
                    Unit 1319 Sunbeam Center
                    27 Shing Yip Street
                    Kwun Tong
                    Kowloon Hong Kong




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                    Kokomo Harth & Pools
                    2411 North Reed Road
                    Kokomo, IN 46901

                    Koller Craft Plastic Products
                    PO Box 795122
                    St Louis
                    Mo 631790795

                    Konecranes Inc.
                    Pobox 641807
                    Pittsburgh, PA 15264-1807

                    Konica
                    345 Phoenixville Pike
                    Malvern, PA 19355

                    Konstance Pneumatics, Inc.
                    882 S. Matlack Street
                    Unit B
                    West Chester, PA 19382

                    Konstance Pneumatics, Inc.
                    882 S. Matlack Street
                    Unit B
                    West Chester, PA 19382

                    Kool Industries Inc.
                    960 S. Hermitage Rd.
                    Hermitage, PA 16148

                    Kooltronic Inc.
                    P.O. Box 240
                    30 Pennington-Hopewell Road
                    Pennington, NJ 08534-0240

                    Koons Steel Inc.
                    PO Box 476
                    36 Anderson Road,
                    Parker Ford, PA 19457

                    Koons Steel, Incorporated
                    36 Anderson Road
                    Parker Ford, PA 19457-0476




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                    Korab, Mcconnell & Dougherty
                    90 North Kings Highway
                    Cherry Hill, NJ 08034

                    Korean Association
                    C/O Bob's Hardware
                    Attn: Chris Ko
                    2546 W Lehigh Ave
                    Philadelphia, PA 19132

                    Korman Suites Apartments
                    Country Lights Villas
                    1002 Neshaminy Valley Dr
                    Bensalem, PA 19020

                    Korman Suites At Willow
                    Shores
                    4067 Harbor Drive
                    Palmyra, NJ 08065

                    Kosakura & Associates
                    2215 South Standard Ave
                    Santa Ana, CA 927073036

                    Kosmin
                    49 Seaside Ct
                    Margate, NJ 08042

                    Kove Catering
                    519 Garfield Ave
                    Palmyra, NJ 08065

                    Kpmg LLP
                    Lockbox # 890566
                    Dept. 0566
                    P.O. Box 120001
                    Dallas, TX 75312-0566

                    K-Products
                    PO Box 414951
                    Kansas City, MO     64141-4951

                    Kraemer & Co., Inc.
                    P.O. Box 486
                    Sewell, NJ 08080




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                    Kraftbilt
                    PO Box 800
                    Tulsa, OK 74101-0800

                    Kramer Chemicals Inc.
                    266 Harristown Road
                    Po Box 1118
                    Glen Rock, NJ 07452-1118

                    Kramer Industrial Sales
                    2134 Wisconsin Ave
                    PO Box 475
                    Grafton, WI 53024

                    Kramer Scrap
                    P.O. Box 588
                    Greenfield, MA

                    Kraus Children's Education
                    Fund
                    6902 Rising Sun Avenue
                    Philadelphia, PA 19111

                    Kravitz Industries
                    P.O. Box 711
                    Fort Washington, PA     19034

                    Krayden Inc.
                    491 East 124th Ave
                    Denver, CO 80241

                    Kreepy Krauly Usa Inc.
                    13801 N.W. 4th Street
                    Sunrise, FL 33325

                    Kreg Kehoe
                    54 Gloria Drive
                    Jacobus, PA 17407

                    Krenz & Company Inc.
                    W190 N 11333 Carnegie Drive
                    Germantown, WI 53022




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                    Krg Logistics Inc
                    170 Traders Blvd. East,
                    Mississauga, Ontario
                    Canada
                    L4Z 1W7

                    Kriebel Engineered Equipt.
                    Ltd
                    9 Humphreys Drive
                    Warminster, PA 18974

                    Kriscomm Sound Company
                    3402 Bethel Avenue
                    Pennsauken, NJ 08109-2810

                    Kriska Transportation Ltd
                    300 Churchill Road
                    PO Box 879
                    Prescott
                    Ontario Canada
                    Koe1to

                    Kroff Chemical Co., Inc.
                    PO Box 76710
                    Cleveland, OH 44101-6500

                    Kromschroder Inc.
                    1595-H Georgetown Road
                    Hudson, OH 44236

                    Kronos
                    P.O. Box 4295
                    Boston, MA 02211

                    Kronos
                    PO Box 845748
                    Boston, MA 02284-5748

                    Krusch, Robert
                    3 West Annapolis De
                    Erial, NJ 08081

                    Ksg Industrial Supplies, Inc
                    805 W. Fifth Street, Suite 6
                    PO Box 787
                    Lansdale, PA 19446




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                    Kta Tator
                    115 Technology Drive
                    Pittsburgh, PA 15275

                    K-Tec Corp.
                    7224 Winterwood La.
                    Dallas, TX 75248

                    Kt-Grant, Inc.
                    3073 Route 66
                    Export, PA 15632

                    Ktr Corporation
                    P.O. Box 9065
                    Michigan City, IN     46361

                    K-Tron America
                    PO Box 512377
                    Philadelphia, PA     19175-2377

                    Kuehne & Nagel, Inc
                    10 Exchange Place
                    Chb#4455
                    Jersey City, NJ 07302

                    Kuehne & Nagel, Inc.
                    10 Exchange Place
                    Jersey City, NJ 07302

                    Kumar Plakkat
                    3 Stoney Hill Lane
                    Mt. Laurel, NJ 08054

                    Kung's Trading Company Inc
                    1339 Folsom St
                    San Francisco, CA 94103

                    Kunshan Jiurun Plastics-Steel
                    Multiunit Tube Factory
                    Nongchang Road, Zhengyi Town,
                    Kunshan, Jiangsu Province
                    China

                    Kvinc
                    1458 County Line Road
                    Huntington Valley, PA      19006




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                    Kw Express
                    6100 East Belding Road
                    Belding, MI 48809

                    Kw Holding
                    P.O. Box 232
                    Stroud, Ontario
                    Lol 2mo

                    Kwikset
                    516 E Santa Ana Street
                    Anaheim, CA 92803-4250

                    L - L Heating & Equipment Co.
                    P.O. Box 2
                    Abington, PA 19001

                    L & E Specialities
                    24460 Sperry Circle
                    Westlake, OH 44145

                    L & L Industrial Furnace Co
                    803 Kent Road
                    Aston, PA 19014

                    L & R Associates
                    533 North Dexter Road
                    Dexter, ME 04930

                    L & R Shipping Supply Co.
                    2554 State Street
                    Bensalem, PA 19202

                    L & R Shipping Supply Inc.
                    2554 State Road
                    Bensalem, PA 19020

                    L & R Shipping Supply
                    2554 State Road
                    Bensalem, PA 19020

                    L & R Traffic Service, Inc.
                    P.O. Box 725
                    Mt. Laurel, NJ 08054




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                    L C D Exposition Services
                    20 E Augusta
                    PO Box 4487
                    Spokane, WA 99220-0487

                    L C Industrial (Hong Kong)
                    Ltd
                    Room 1209 Kwong Sang Hong Ctr
                    12/F 151 Hoi Bun Rd Kwum Tong
                    Kowloon Hong Kong

                    L J Cappa And Associates
                    Dba Lawrence Northwest Co
                    PO Box 86219
                    Portland, OR 97206

                    L L Ramdhanny & Co Ltd
                    PO Box 922
                    St Andrew's
                    Grenada WI

                    L&L Redi-Mix, Inc.
                    1939 Route 206
                    Southampton, NJ 08088

                    L. Roberto Lomas P.E.
                    1432 Woodford Rd.
                    Clemmons, NC 27012

                    L. Stephen Champion
                    C/O American Window Co.
                    4986-3 Euclid Road
                    Virginia Beach, VA 23462-
                    5806

                    L.A. California
                    2301 Federal Avenue
                    La, CA 90064

                    L.A. Pools And Spas
                    Pool And Spa World LLC
                    7194 Rt.415 North
                    Bath, NY 14810

                    L.B. Chemical Company, Inc
                    321 North 10th Street
                    Gadsden, AL 35901



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                    L.D.M. Transport Inc.
                    332a, St-Francois-Xavier
                    Delson, Quebec Canada
                    J0L 1G0

                    L.G.I. Transportation
                    Solutions Ltd.
                    Suite 205
                    9131-39 Ave.
                    Edmonton, Alberta, Canada
                    T6E 5Y2

                    L.J. & M. Laplace
                    P.O. Box 443
                    Elmwood Park, NJ 07407

                    L.M. Robbins Co.
                    P.O. Box 217
                    Neffs, PA 18065-0217

                    L3 Communications Narda
                    435 Moreland Road
                    Hauppauge, NY 11788

                    La Collina, Inc.
                    37-41 Ashland Avenue
                    Bala Cynwyd, PA 19004

                    La Deau
                    637 Colorado St
                    Glendale, CA 91204

                    La Grange Lock
                    5546 S Brainard Ave
                    La Grange, IL 60525 3590

                    La Motte Company
                    502 Washington Avenue
                    P.O Box 329
                    Chestertown, MD 21620-0329

                    Lab Safety Supply Inc
                    401 S Wright Rd
                    PO Box 1368
                    Janesville, WI 53547 1368




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                    Lab Safety Supply Inc
                    PO Box 1368
                    Janesville, WI 53547-1368

                    Lab Safety Supply, Inc.
                    P.O. Box 5004
                    401 S. Wright Rd
                    Janesville, WI 53547-5004

                    Lab Security Systems Inc
                    700 Emmett St
                    Bristol, CT 06010

                    Label Group
                    PO Box 1326
                    Holyoke, MA 01041-1326

                    Labor & Logistics Mgt., Inc.
                    58 West Bridge Street
                    New Hope, PA 18938

                    Laboratory Testing Inc.
                    PO Box 249
                    Dublin, PA 18917

                    Labratory Testing Inc.
                    120 Mill St.
                    Dublin, PA 18974

                    Lackett & Associates, Inc.
                    7 Kelly Driver Rd
                    PO Box 1518
                    Laurel, NJ 08021

                    Lafayette Crane & Hoist
                    182 Vanderpoll St
                    PO Box 2189
                    Newark, NJ 07114

                    Lafayette Technology LLC
                    178a Pulaski St.
                    Newark, NJ 07105

                    Laird Plastics
                    211 Sinclair Street
                    Bristol, PA 19007




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                    Laird Plastics, Inc.
                    P.O. Box 751298
                    Charlotte, NC 28275-1298

                    Laird's Auto Service
                    800 Montgomery Avenue
                    Narberth, PA 19072

                    Lajoie's Auto Wrecking Co.,
                    Inc
                    40 Meadow Street
                    South Norwalk, CT 06854

                    Lake Erie Smelting Co, Inc.
                    P.O. Box 6601
                    127 Fillmore Avenue
                    Buffalo, NY 14240-6601

                    Lake Park Tool & Machine,
                    Inc.
                    1221 Velma Court
                    Youngstown, OH 44512

                    Lakes Appliance & Tv, Inc.
                    513 Stokes Road
                    Medford, NJ 08055

                    Lakeview Custom Coach
                    100 White Horse Pike
                    Oaklyn, NJ 08107

                    Lakeway Building Supply
                    265 Burem Rd
                    Rogersviile, TN 37857

                    Lakewood Engineering & Mfg
                    501 N. Sacramento Blvd
                    Chicago, IL 60612

                    Laman-Loesche Supply Co.,
                    Inc.
                    302 Moore St.
                    Phila., PA 19148-1897

                    La'mar Professional Cleaning
                    Po Box 1436
                    Bensalem, PA 19020-3689



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                    Lamatek, Inc
                    1226 Forest Parkway
                    West Deptford, NJ 08066

                    Lambert Electric Motor
                    Service
                    710 Broadway
                    Mccomb, MS 39648

                    Lamco Safety Products
                    360 Church St PO Box 159
                    Hanover, PA 17331-0159

                    Lamcor Incorporated
                    PO Box 25209
                    2025 East Orangewood Avenue
                    Anaheim, CA 92806-6194

                    Lami Products Inc
                    543 Davisville Road
                    Willow Grove, PA 19090

                    Lanard & Axilbund, Inc.
                    399 Market Street
                    Phila., PA 19106

                    Lancaster Aluminum, LLC.
                    24 Keystone Drive
                    Lebanon, PA 17042

                    Lance Co/Mts
                    P.O. Box 17435
                    Baltimore, MD 21203-7435

                    Lance Company
                     P.O. Box 8538-721
                    Philadelphia, PA 19171-0721

                    Lancer Packaging Corp
                    151 Remington Blvd
                    Ronkonkoma, NY 11779

                    Land Air Express
                    P.O.Box 503
                    Williston, VT 05495-0503




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                    Land Instruments
                    International
                    10 Friends Lane
                    Newtown, PA 18940

                    Land Rover Cherry Hill
                    1100 Haddonfield Road
                    Cherry Hill, NJ 08002

                    Land Rover Financial Services
                    P.O. Box 9001065
                    Louisville, KY 40290-1065

                    Landen Strapping Corp.
                    3810 Corporate Road
                    Petersburg, VA 23805

                    Landis Express, Inc.
                    PO Box 14807
                    Reading, PA 19612-4807

                    Landscape Architect
                    Landscape Architect Product
                    368 Dufferin Avenue
                    London, Ontario Canada
                    N6b1z4

                    Landscape Architecture
                    115 E. Spring Street
                    Suite 405
                    New Albany, IN 47150

                    Landscape Creations
                    PO Box 432
                    Fairless Hills, PA 19030

                    Landstar Express America
                    PO Box 651434
                    Charlotte, NC 28265-1434

                    Landstar Express America
                    World Headquarters
                    P.O. Box 651434
                    Charlotte, NC 28265-1434




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                    Landstar Inway, Inc.
                    135 S. Lasalle Dept. 1272
                    Chicago, IL 60674-1272

                    Landstar Ligon, Inc.
                    Drawer Cs 100733
                    Atlanta, GA 30384-0733

                    Landstar Poole
                    Drawer 0292
                    PO Box 11407
                    Birmingham, AL    35246-0292

                    Landstar Ranger, Inc.
                    P.O. Box 11407
                    Birmingham, AL 35246-0360

                    Lane Punch Corporation
                    281 Lane Parkway
                    Salisbury, NC 28146

                    Lane Punch Corporation
                    281 Lane Parkway
                    Salisbury, NC 28146

                    Langhorne Emergency
                    Physicians
                    PO Box A
                    Springfield, PA 19064-0131

                    Langston Corp
                    PO Box 8500 (S-4170)
                    Philadelphia, PA 19178-4170

                    Lansdale Finishers, Inc.
                    21 Williams Place
                    Lansdale, PA 19446

                    Lansdale Machine Works Inc.
                    8th & Maple Street
                    Lansdale, PA 19446

                    Lantz Fencing Supplies
                    13708 Avenue 5e
                    Yuma, AZ 85365




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                    Larc School
                    1089 Creek Road
                    Bellmawr, NJ 08031

                    Larry Albert
                    5161 Collins Ave #1110
                     Miami, FL 33140

                    Larry Johnson Trucking, Inc.
                    P.O. Box 1350
                    Chadron, NE 69337

                    Larry's A-1 Auto Repair
                    399 West Katherine Ave.
                    West Berlin, NJ 08091

                    Larsen & Shaw Limited
                    575 Durham St W
                    PO Box 1420
                    Ontario N0g 2v0
                    Walkerton,

                    Larsen & Shaw Limited
                    575 Durham St W
                    PO Box 1420
                    Walkerton Ontario Canada
                    N0G2Y0

                    Larson Allen
                    18 Sentry Park W. Ste 300
                    Blue Bell, PA 19422

                    Larson Allen
                    Certified Public Accountants
                    18 Sentry Park W, Suite 300
                    Blue Bell, PA 19422-2348

                    Larson Allen
                    Certified Public Accountants
                    Bldg 18, Ste 300
                    Blue Bell, PA 19422 2348

                    Larson Hardware Mfg Co
                    PO Box E
                    Sterling, IL 61081




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                    Larsonallen
                    18 Sentry Park W Ste 300
                    Blue Bell, PA 19422

                    Larson-Metercraft
                    9328-A Wheatlands
                    Santee, CA 92071

                    Lasco Fluid Dist. Products
                    540 Lasco St
                    PO Box 116
                    Brownsville, TN 38012

                    Laser Link, Inc.
                    146 S Reading Ave
                    Boyertown, PA 19512

                    Lasersense Inc.
                    230 North Monroe Street
                    Media, PA 19063

                    Latham Plastics/Cookson
                    787 Watervliet-Shaker Road
                    Latham, NY 12110

                    Latinos Bakery And Restaurant
                    3200 Westfield Ave, Camden,
                    NJ 08105

                    LATISHA L WILSON
                    2127 Mckinley ST
                    Philadelphia, PA 19149

                    Latrobe Steel Company
                    P.O. Box 360434
                    Pittsburgh, PA 15251-6434

                    Latsha Davis Yohe & Mckenna
                    Pc
                    1700 Bent Creek Blvd
                    Suite 140
                    Mechanicsburg, PA 17050

                    Laura Sanders
                    88 Felton St.
                    Marlboro, MA 1752




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                    Laura Sweet
                    836 Upton Way
                    Somerdale, NJ 08083

                    Laurand Associates, Inc.
                    11 Grace Avenue
                    Suite 405
                    Great Neck, NY 11021

                    Laurdan Associates, Inc.
                    10220 River Road
                    Suite 201
                    Potomac, MD 20854

                    Laurel Valley, Inc.
                    1601 Laurel Road
                    Lindenwold, NJ 08021

                    Lauren E Dailyda
                    583 Starlight Ln
                    Williamstown, NJ 08094

                    Lauri Kurki
                    1253 Street Road
                    South Hampton, PA     18966

                    Law Enforcement Torch Run
                    For Special Olympics
                    C/O Camden Pd
                    PO Box 2988, Camden, NJ 08101

                    Lawnmowers Unlimited Inc.
                    491 Route 38 West
                    Maple Shade, NJ 08052

                    Lawrence Brothers, Inc.
                    Dept 1428
                    135 S Lasalle
                    Chicago, IL 60674-1428

                    Lawrence Housing Authority
                    PO Box 1259
                    Lawrence, MA 01842 2359

                    Lawrence Metals Corp.
                    21 Hyatt Avenue
                    Newark, NJ 07105



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                    Lawrence Northwest Company
                    PO Box 1230
                    Washougal, WA 98671

                    Lawrence Todd
                    6861 Greenleaf Dr
                    N Richland Hills, TX 76180

                    Lawson Products Inc.
                    295 Princeton Heightstown Rd
                    Suite 11-226
                    West Windsor, NJ 08512-2907

                    Lawyer Assessment
                    Administrative Office Of Pa
                    P.O. Box 46
                    Camp Hill, PA 17001-0046

                    Lawyers Diary And Manual
                    P.O. Box 1227
                    Newark, NJ 07101-1227

                    Lcd Express Systems
                    1047 Danbury Road
                    Wilton, CT 06897

                    Lcs Precision Molding
                    119 S. 2nd Street
                    Waterville, MN 56096

                    Ldg Hardware Mfg Co Ltd,
                    Floor 3-4, No 1 Lehua Rd
                    Jiangmen
                    China
                    Guangdong

                    Ldm Transport
                    332a St-Francois-Xavier
                    Delson,
                    Quebec Canada
                    J0l 1G0

                    Ldpi Lighting
                    800 Wisconsin Street
                    Mailbox 80
                    Eau Claire, WI 54703-3607




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                    Leader Publications
                    345 Park Avenue South
                    New York, NY 10010

                    Leading Edge Distribution
                    PO Box 75602
                    Cleveland, OH 441014755

                    Lean Manufacturing Group LLC
                    240 Gillette Drive
                    Franklin, TN 37069

                    Leanne Hayes
                    506 Ivystone Ln
                    Cinnaminson, NJ 08077

                    Lebhar-Friedman Inc
                    PO Box 533093
                    Atlanta, GA 30353 3093

                    Leblond Ltd.
                    3976 Bach Buxton Road
                    Amelia, OH 45102

                    Lechler, Inc.
                    Dept. 77-3276
                    Chicago, IL 60678-3276

                    Leco Corporation
                    3000 Lakeview Avenue
                    St. Joseph, MI 49085-2396

                    Lee Auto Supply
                    6300 Westfield Ave
                    Pennsauken, NJ 08110

                    Lee Electric, Inc.
                    PO Box 238
                    309 51st Street
                    West New York, NJ 7093

                    Lee Moving & Storage
                    9731 Express Lane
                    Richmond, VA 23237

                    Lee Shivers
                    5134 Sycamore Springs Dr
                    House Springs, MO 63051


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                    Lee Spring Company
                    1462 62nd. Street
                    Brooklyn, NY 11219

                    Lee Wapner
                    169 Sherwood Drive
                    Churchville, PA 18966

                    Leeman Architectural Woodwork
                    4975 Powder Springs Dallas Rd
                    S.W.
                    Powder Springs, GA 30127

                    Lee's Group Holdings Co. Ltd.
                    Blk A, 6/F
                    Kwai Fung Ind Bldg
                    9-15, Kwai Cheong Road
                    Kwai Chung, N.T Hung Kong.

                    Lehigh University
                    Materials Research Center
                    5 East Packer Avenue
                    Bethlehem, PA 18015-3194

                    Lehigh Valley Safety Supply
                    Co
                    1105 E. Susquehanna Street
                    Allentown, PA 18103-4203

                    Lehigh Valley Safety Supply
                    1105 E Susquehanna Street
                    Allentown, PA 18103-4203

                    Leight Sales Co Inc
                    1051 E Artesia Blvd
                    Carson, CA 90746

                    Leisure Bay Manufacturing
                    3033 Mercy Drive
                    Orlando, FL 32808

                    Lejeune Litho & Graphic Serv.
                    139 Connie Drive
                    Pittsburg, PA 15214




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                    Leland Gifford Inc.
                    1497 Exeter Road
                    Akron, OH 44306

                    Leland Industries Inc.
                    95 Commander Blvd.
                    Toronto, Ontario
                    Canada M1S 3S9

                    Len Dor Specialties, Inc.
                    1298 S. 28th Street
                    Harrisburg, PA 17111

                    Len Gordon, Co.
                    640 Glenoaks Blvd
                    San Fernando, CA 91340-1489

                    Lenny's Towing & Recovery
                    Branch Pike & Church Road
                    Cinnaminson, NJ 08077

                    Lenser Filter Media Inc.
                    1000 Airport Road
                    Building 205
                    Lakewood, NJ 08701

                    Leon Bickoff & Co.
                    199 Oraton Street
                    Newark, NJ 07104

                    Leon Kozeirock
                    625 Avenue Rd#504
                    Toronto Ontario
                    Canada M4v-2k7

                    Leon Specialty Inc
                    11th Floor
                    555 Kuang Fu S Road
                    Taipei Taiwan

                    Leonard Busch Associates Pc
                    Consulting Engineers
                    1239 Parkway Avenue
                    Trenton, NJ 08628-3013




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                    Leonard's Express, Inc.
                    P.O. Box 847055
                    Boston, MA 02284-7055

                    Les Industries Radisson
                    132, Boul. Leon-Vachon
                    (Parc Industriel),
                    Quebec G0S 2W0 Canada
                    St-Lambert

                    Lesco Paper & Box Co
                    PO Box 46826
                    Philadelphia, PA 19160 6826

                    Leslie's Poolmart Inc.
                    20630 Plummer St
                    Chatsworth, CA 91311

                    Lester Electriacal Inc.
                    625 West A St.
                    Lincoln, NE 68522

                    Letchworth Village
                    Welfare League
                    9525 Ditmas Avenue
                    Attn: Stephen Greenberg
                    Brooklyn, NY 11236

                    Let's Think Wireless
                    30 Chapin Road
                    P.O. Box 628
                    Pine Brook, NJ 07058

                    Levesque Pools & Spas, Inc.
                    20 Benton Neck Road
                    Benton, ME 04901

                    Levow & Costello, P.A.
                    1415 Route 70 E. Suite 200
                    Cherry Hill, NJ 08034

                    Lewco, Inc.
                    706 Lane St
                    Sandusky, OH    44870




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                    Lewis Lumber Ltd.
                    P.O. Box 8
                    High Falls, NY 12440

                    Lewis Paint & Wallcovering
                    44 South York Road
                    Hatboro, PA 19040

                    Lewis-Goetz & Company Inc
                    751 Hylton Road
                    Pennsauken, NJ 08110

                    Lexisnexis
                    P.O. Box 7247-7090
                    Philadelphia, PA 19170-7090

                    Lexus Financial Services
                    P.O. Box 17187
                    Baltimore, MD 21297-0511

                    Lexus Of Wilmington
                    2100 Pennsylvania Ave
                    Wilmington, DE 19805

                    Lg&E Natural Marketing I
                    P.O. Box 651529
                    Charlotte, NC 28265-1529

                    Liberty Electric Inc.
                    16 Prospect Street
                    Columbiana, OH 44408

                    Liberty Hardware Mgf Corp
                    PO Box 75628
                    Charlotte, NC 282750628

                    Liberty Mutual
                    5050 W. Tighman St.
                    Suite 200
                    Allentown, PA 18104

                    Liberty Mutual
                    P.O. Box 0569
                    Carol Stream, IL     60132-0569

                    Liberty Ornamental Products
                    872 East Trevitt
                    Bryan, OH 43506


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                    Liberty Power Tool Repair
                    101-D Newton Avenue
                    Oaklyn, NJ 08107

                    Liberty Steel Productions,
                    Inc.
                    11650 Mahoning Ave.
                    North Jackson, OH 44450

                    Liberty Systems, Inc.
                    3080 Centerville Rd
                    St Paul, MN 55117

                    Liberty Technologies
                    840 Mcclurg Road
                    Youngstown, OH 44512

                    Liberty Tool Co., Inc.
                    319k Westtown Road
                    West Chester, PA 19382

                    Liberty Tool Co., Inc.
                    319t Westtown Road
                    West Chester, PA 19382

                    Liedtka Trucking, Inc.
                    110 Patterson
                    P.O. Box 8607
                    Trenton, NJ 08650

                    Life-Like Products, Inc.
                    711 Chesapeake Avenue
                    Baltimore, MD 21225

                    Lift Equipment
                    2029 Legat Lane
                    Cedars, PA 19423

                    Lifting Services, Inc.
                    P.O. Box 153
                    Eagleville, PA 19408

                    Light Metal Age
                    170 South Spruce Avenue
                    Suite 120
                    S. San Francisco, CA 94080




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                    Light World
                    4625 Street Rd
                    Trevose, PA 19053

                    Lighthouse Data Systems
                    P.O. Box 862
                    Mt. Pleasent, SC 29465-0862

                    Lighting Dimensions
                    40 Titan Road
                    Ontario, Canada A M8Z5Y2

                    Lightline Engineering
                    6 Fawn Dr
                    Sewell, NJ 08080 9736

                    Lightman Brothers, Inc.
                    1445 Anderson Ave.
                    Oreland, PA 19075

                    Lightning
                    531 Foxglove Lane
                    Wynnewood, PA 19096

                    Lillian Leithead
                    9927 S Canterbury Rd
                    Philadelphia, PA 19114

                    Lillian Vernon
                    100 Lillian Vernon Blvd.
                    Virginia Beach, VA 23479

                    Limbermen Associates, Inc.
                    PO Box 720
                    Bristol, PA 19007-0720

                    Limco Technologies Inc.
                    P.O. Box 32127
                    Ecuclid, OH 44132

                    Lincoln Machine
                    326 West Second St.
                    Salem, OH 44460




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                    Linda Creed
                    Breast Cancer Foundation
                    Medical Tower Bldg. Ste. 905
                    255 South 17th St.
                    Philadelphia, PA 19103

                    Linda Dempsey
                    Dba L D International
                    8624 Wakefield Dr
                    Palm Beach Gardens, FL
                    334102031

                    Linda Quaglio
                    Harrows
                    610 Route #110
                    Melville, NY 11747

                    Lindabury, Mccormick, Et Al
                    P.O. Box 2369
                    Westfield, NJ 07091

                    Lindberg
                    P.O. Box 502848
                    St. Louis, MO 63150-2848

                    Lindenmeyer Munroe Paper Co.
                    3300 Horizon Drive
                    King Of Prussia, PA 19406

                    Lindley Electric Supply
                    4910 North Fairhill St.
                    Pennsylvania, PA 19120

                    Lindsay Lighting Inc
                    240 Rockhill Rd
                    Bala Cynwyd, PA 19004

                    Lindstrom & Company, Inc
                    P.O. Box 2500
                    Cinnaminson, NJ 08077

                    Line Source Inc.
                    111 Lyman Street
                    Springfield, MA 01103




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                    Line Systems Inc
                    1645 West Chester Pike, Ste
                    200
                    West Chester, PA 19382

                    Line Systems, Inc.
                    PO Box 7215
                    Account #19109
                    Philadelphia, PA 19175-7215

                    Linetec, Inc.
                    725 South 75 Th Avenue
                    Wausau, WI 547402

                    Linkamerica Atlanta
                    P.O.Box 26485
                    Oklahoma City, OK 73126-0485

                    Linzer Products Corp
                    248 Wyandanch Ave
                    PO Box 9002
                    Wyandanch, NY 11798

                    Lion Technology
                    P.O. Box 700
                    Lafayette, NJ 07848-9947

                    Lippincott, Jacobs & Gouda
                    P.O. Box 354
                    One Pavilion Avenue
                    Riverside, NJ 08075-0354

                    Liquid Carbonic
                    P.O. Box 8309
                    File # 99551
                    Phila., PA 19101-8309

                    Lisa Dorn
                    3441 Chesterfield Ct.
                    Snellville, GA 30039

                    Lisa Fore
                    4002 Shiloh Ave
                    Hampstead, MD 21074




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                    Littlestown Hardware
                    150 Charles Street
                    Littlestown, PA 17340

                    Lively & Co.
                    10 Merry Lane
                    East Hanover, NJ     07936

                    Livingston International,
                    Inc.
                    P.O. Box 490
                    Buffalo, NY 14225

                    Liz Klein
                    119 W Miami Ave
                    Cherry Hill, NJ 08002

                    Lizell's Office Furniture
                    Routes 309 & 463
                    Montgomery, PA 18936

                    Lloyd & Mcdaneil
                    11405 Park Road Suite 200
                    PO Box 23200
                    Louisville, KY 40223-0200

                    Lloyd & Mcdaniel
                    PO Box 23200
                    11405 Park Rd., Suite 200
                    Louisville, KY 40223-0200

                    Lloyd Scott & Company
                    1820 Chapel Ave W, #192
                    Cherry Hill, NJ 080024611

                    Lloyd Wheeler
                    1884 Indian Creek Rd
                    Amherst, VA 24521

                    Lloyd's Quality Assurance
                    Ltd.
                    33-41 Newark Street
                    Hoboken, NJ 07030

                    Lloyd's Window Service, Inc.
                    6190 Seminole Blvd.
                    Seminole, FL 33772



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                    Lnc Associates, Inc.
                    1812 Underwood Blvd
                    Unit 5
                    Delran, NJ 08075-1245

                    Loc Pump
                    P.O. Box 225
                    S. Hackensack, NJ     07606

                    Local 837 G C Scholarship
                    Fund
                    C/O Local 837 Health &
                    Welfare Fund
                    12275 Townsend Rd
                    Philadelphia, PA 19154

                    Local 837 Health & Welfare
                    12275 Townsend Road
                    Philadelphia, PA 19154

                    Local 837 Health And Welfare
                    &
                    Local 837 Pension Funds
                    12275 Townsend Rd
                    Philadelphia, PA 19154

                    Local 837 Pension Fund
                    12275 Townsend Road
                    Philadelphia, PA 19154

                    Locinox Usa
                    PO Box 1105
                    Dania Beach, FL     33004

                    Lockformer Company
                    711 Ogden Ave
                    Lisle, IL 60532-1399

                    Lockhart Glass Co
                    1204 S Commerce St
                    Lockhart, TX 78644 3451

                    Lockheed Martin Systems
                    Integration
                    1801 State Route 17c
                    Owego, NY 13827-3998




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                    Locksmith Service
                    609 West Ave D
                    Elk City, OK 73644

                    Lockwood's Elec. Motor
                    Service
                    2239 Nottingham Way
                    Trenton, NJ 08619

                    Lod America
                    216 Little Falls Road
                    Unit 7
                    Cedar Grove, NJ 07009

                    Loewy Machinery Supplies Co.
                    115 North Rte. 9w
                    Congers, NY 10920-1722

                    Loftware
                    Box 1090
                    York Beach, ME 03910

                    Logistics Management
                    Solutions
                    One City Place, Ste 415
                    St Louis, MO 63141

                    Logistics Solutions
                    1757-58
                    Veterans Memorial Highway
                    Islandia, NY 11749-1535

                    Loma Machine
                    A Divison Of Magnum
                    Integrated
                    Technology
                    4 Thomas Drive, Suite 5
                    Westbrook, ME 04092

                    Lombard Industries, Inc.
                    29 Main Street
                    P.O. Box 50
                    Hubbard, OH 44425




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                    London & Scandanavian
                    Metallur
                    Lock Box # 4036
                    Philadelphia, PA 19178-4036

                    Long Engineering And
                    Surveying
                    P.O. Box 8209
                    Turnersville, NJ 08012

                    Long Island Swim-Pool Serv.
                    PO Box 24
                    East Rockaway, NY 11518

                    Long Island Swim-Pool
                    Service
                    3595 Lawson Blvd.
                    Oceanside, NY 11572

                    Long May Industrial Co Ltd
                    3f No. 26 Sec. 3 Jen Ai Road
                    Taipei Taiwan

                    Long Pools
                    1065 West High Street
                    PO Box 521
                    New Philadelphia, OH 44663

                    Long Run Press
                    1002 Industrial Drive
                    West Berlin, NJ 08091

                    Long-Lok Fasteners Corp.
                    10630 Chester Rd.
                    Cincinnati, OH 45215

                    Loni Liss
                    C/O Weo Forum Group
                    Philadelphia, PA

                    Loni-Jo Scrap Metal
                    70 Kinkel St
                    Westbury, NY

                    Lorbec Metals Usa
                    3415 Western Road
                    Flint, MI 48506



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                    Lorbec Metals Usa, Ltd
                    3415 Western Road
                    Flint, MI 48506

                    Lorbec Metals
                    5055 Ramsay St.
                    St. Hubert, Montreal
                    PQ Canada
                    J3y 2s3

                    Lorber Plumbing
                    PO Box 966
                    2659 Bristol Pk
                    Bensalem, PA 19020

                    Lorenz Industries Inc
                    233 Needham St
                    Newton, MA 02464

                    Lorigene, Inc
                    4113 Aquarium Place
                    Baltimore, MD 21215

                    Lorman Educational Services
                    P.O. Box 509
                    Eau Claire, WI 54702

                    Lou E. Schimpf Inc.
                    25th St. And River Road
                    Camden, NJ 08105

                    Louis Cohen & Son
                    Fellows Ave.
                    P.O. Box 1004
                    Wilkes Barre, PA 18703

                    Louis Dreyfus Energy Corp.
                    10 Westport Road
                    Attention: Evelyn Mcelveen
                    Wilton, CT 06897

                    Louis J. Kennedy Trucking Co.
                    P.O. Box 506
                    342 Schuyler Avenue
                    Kearny, NJ 07032




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                    Louis Martino
                    Sgt At Arms
                    1st Floor
                    Hall Of Justice
                    Camden, NJ 08101

                    Louis Martino, Sgt. At Arms
                    Hall Of Justice
                    1st Floor
                    Camden, NJ 08101

                    Louis P. Canuso, Inc.
                    101 Crown Point Rd
                    Thorofare, NJ 08086

                    Louis P. Canuso, Inc.
                    P.O. Box 501
                    101 Crown Point Rd.
                    Thorofare, NJ 08086-0501

                    Louis Ross Associates
                    1960 Rt. 70
                    Cherry Hill, NJ 08003

                    Louis Rukeyser's Mutual Funds
                    P.O. Box 9625
                    Mclean, VA 22102-9672

                    Louis Sherman & Company
                    2012 Wharton St
                    PO Box 54635
                    Philadelphia, PA 19148

                    Louisiana Dept. Of Revenue
                    Sales Tax Division
                    PO Box 3138
                    Baton Rouge, LA 70821-3138

                    Lourdes Foundation
                    900 Haddon Avenue
                    Suite 100
                    Collingswood, NJ 08108

                    Loutey Machinery Co.
                    13 Poulson Ave
                    Essington, PA 19029




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                    Lovejoy Tool Co.
                    P.O. Box 949
                    Springfield, VT 05156

                    Lower Merion Cheerleading
                    Booster Club
                    532 Foxglove Ln
                    Wynnewood, PA 19096

                    Lower Merion Twp Police Dept
                    Attn: Citation Clerk
                    71 Lancaster Ave
                    Ardmore, PA 19003

                    Lowe's Motor Speedway, Inc.
                    Speedway Club
                    PO Box 600
                    Concord, NC 28026-0600

                    Loxon Lock Co
                    6f,No.76 Sec.1, Roosevelt Rd
                    Taiwan R.O.C. 10074
                    Taipei Taiwan

                    Lrp Publications
                    Dept. 480
                    747 Dresher Road
                    Horsham, PA 19044-0980

                    Lti Dba Cittone Temporaries
                    1697 Oak Tree Road
                    Edison, NJ 08820

                    Lufasco Inc
                    208 Phillips Rd
                    Lionville, PA 19353

                    Lufran Incorporated
                    9085 Freeway Drive
                    Macedonia, OH 44056

                    Luis Cruz
                    3000 Mickle Street
                    Camden, NJ 08105




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                    Lumberjack Co
                    1405 W Broadway Rd
                    Phoenix, AZ 85041

                    Lumbermen Associates, Inc.
                    2101 Hunter Road
                    Bristol, PA 19007-0720

                    Lumbermen Associates, Inc.
                    PO Box 72
                    2101 Hunter Rd.
                    Bristol, PA 19007-0720

                    Lumbermens Merchandising Corp
                    Attn: Mary Ellen Blankley
                    137 W Wayne Ave
                    Wayne, PA 19087 4095

                    Lunabrite Light Technology
                    215 Morris Ave
                    Mt. Lakes, NJ 07046

                    Lvr Inc.
                    P.O. Box 187
                    75 West 21st Street
                    Northampton, PA 18067

                    Lydia Colbert
                    1 Leonard Avenue
                    East Providence, RI     02914

                    Lyle Beckner
                    C/O Northern Marketing Inc
                    Attn: John Coates
                    14-16 Brown St
                    Salem, MA 01970

                    Lyncor
                    PO Box 711967
                    Cincinnati, OH    45271-1967

                    Lynden Air Freight
                    P.O. Box 84167
                    Seattle, WA 98124




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                    Lynden International
                    PO Box 84167
                    Seattle, WA 98124

                    Lyons,Doughty & Veldhuis,
                    P.C.
                    1288 Route 73 Suite 310
                    PO Box 1269
                    Mt. Laurel, NJ 08054

                    M & A Landscaping
                    8529 Tolbut Street
                    Philadelphia, PA 19152

                    M & A Recycling
                    352 Market St.
                    Kenilworth, NJ 07033

                    M & D Controls Company
                    Nine N. Bacton Hill Rd.
                    Frazer, PA 19355-0955

                    M & D Controls
                    9 North Bacton Hill Road
                    Frazer, PA 19355

                    M & G Tool
                    936 Harrison Avenue
                    Kearny, NJ 07029

                    M & I Door System, Inc.
                    C/O Johnson Bldg. Sys, Inc.
                    3176 Abbott Road
                    Orchard Park, NY 14127

                    M & M Controls Inc.
                    9(E) West Aylesbury Road
                    Timonium, MD 21093

                    M & M Processors
                    153 Peconic Ave
                    Medford, NY 11763

                    M & M Recycling
                    551 New Point Rd
                    P.O.Box 227
                    Elizabeth, NJ 07206



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                    M & M Transport Services, Inc
                    21 Mcgrath Hwy, Suite 203
                    Quincy, MA 02169

                    M B Jewelers
                    674 Stonyhill Road
                    Yardley, PA 19067

                    M Burstein & Co Inc
                    12 Mear Road
                    Holbrook, MA 02343

                    M C I
                    PO Box 600670
                    Jacksonville, FL 32260 0670

                    M D C Industries, Inc.
                    Collins & Willard Sts.
                    Philadelphia, PA 19134-3299

                    M E B Logistics
                    PO Box 1644
                    Doylestown, PA 18901

                    M J Metal, Inc.
                    201 Hancock Avenue
                    Bridgeport, CT 06605

                    M S C Industrial Supply Co
                    Inc
                    75 Maxess Rd
                    Melville, NY 11747

                    M W I, Inc.
                    1269 Brighton-Henrietta Town
                    Line Road
                    Rochester, NY 14623

                    M W P Supply
                    322 Washington St
                    Madison, VA 22727

                    M. Antonik Co., Inc.
                    8280 Lake Pine Drive
                    Commerce Twsp., MI 48382




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                    M. C. Canfield Sons, Inc.
                    P.O. Box 17512
                    Newark, NJ 07194

                    M. Davis & Sons Inc.
                    200 Hadco Road
                    Wilmingaton, DE 19804-1000

                    M. Davis & Sons Inc.
                    200 Hadco Road
                    Wilmington, DE 19804-1000

                    M. Farris & Associates
                    4032 Delrey Ave.,
                    Marina Del Rey, CA 90292

                    M. Ferrara & Sons
                    304 Airline Avenue
                    P.O. Box 41
                    Portland, CT 06480

                    M. Lee Smith Publishers LLC
                    P.O. Box 5094
                    Brentwood, TN 37024-9711

                    M. Robert Queler
                    865 Providence Highway
                    Dedham, MA 2026

                    M. Weingold & Co.
                    3915 E. 91st Street
                    Cleveland, OH 44105

                    M.A. Dooling & Sons Inc.
                    833 Bustleton Pike
                    Feasterville, PA 19053

                    M.A. Dooling
                    4001 Torresdale Avenue
                    Philadelphia, PA 19124

                    M.B.I.A. Muniservices
                    PO Box 215
                    51 North Third Street
                    Philadelphia, PA 19106-4597




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                    M.G.P. LLC
                    Division Of Sgl Carbon Corp
                    P.O. Box 2193
                    Sinking Spring, PA 19608-
                    2193

                    M.H. Eby Inc.
                    Attn: Kelly Miller
                    P.O. Box 127
                    Blue Ball, PA 17506

                    M.I. Plastics, Inc.
                    Rd 1 Box 148a,
                    Millersburg, PA 17061

                    M.I.T. Grinding Co.
                    5826 New Territory Blvd.
                    Sugar Land, TX 77479

                    M.J. Egy & Associates
                    1000 So 14th Street
                    Terre Haute, IN 47807

                    M.J. Vail Company, Inc.
                    14 Ilene Court
                    Bldg. 7
                    Belle Mead, NJ 08502

                    M.P. Industries
                    102 N. Cool Springs Road
                    O'fallon, MO 63366

                    M.R. Weiser & Co. LLP
                    Certified Public Accountants
                    399 Thronall Street
                    Edison, NJ 08837-2246

                    M.R.K. Industries, Inc.
                    8234 West Chester Pike
                    Upper Darby, PA 19082

                    M.T. Sales
                    15520 Cornet Avenue
                    Santa Fe Spring, CA     90670




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                    M.W. Bud Perrine Ph.D.
                    PO Box 8300
                    Essex, VT 05451

                    M/H Group
                    300 West Adams
                    Chicago, IL 60606

                    M/M Tallman
                    734 Isaac Taylor Dr
                    West Chester, PA 19382

                    Maaco Auto Painting
                    531 Route 168
                    Turnersville, NJ 08012

                    Mabco Systems Inc.
                    4500 N. Talbot Road
                    Oldcastle
                    Ontario Canada
                    Nor 1lo

                    Mac Millan Publishing
                    201 W 103 St.
                    Indianapolis, IN 46290

                    Mac Trailer Manufacturing Inc
                    14599 Commerce Street
                    Alliance, OH 44601

                    Macaro's Catering
                    6225 Westfield Avenue
                    Pennsauken, NJ 08110

                    Machine Design Concepts, Inc.
                    691 West Hoopocan Ave.
                    Barberton, OH 44203

                    Machine Shop Supply
                    PO Box 5142
                    Janesville, WI 53547-5142

                    Machine Technologies
                    Hatfield, PA 19440

                    Machine Tool Service
                    813 Hartley Place
                    Lansdale, PA 19446


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                    Machinery Values Of NJ Inc.
                    401 Supor Blvd.
                    Harrison, NJ 07029

                    Mack Camera & Video Service
                    200 Morris Avenue
                    Springfield, NJ 07081

                    Mack/Corr Industries
                    123 Hill Street
                    Orange, NJ 07051-0270

                    Mackenzie
                    609 Blueberry Dr.
                    Atco, NJ 08004

                    Macola Inc.
                    333 E. Center St.
                    Marion, OH 43302-4148

                    Macoware Company Limited
                    Room 1410, 14/F.,
                    World Wide Industrial Centre
                    43-47 Shan Mei Street, Fo Tan
                    Shatin, New Territories

                    Mac-Ran Enterprises Inc.
                    629 Airport Rd.
                    Suite B
                    Lawrenceville, GA 30045

                    Macroair Technologies LLC
                    PO Box 70
                    Sherborn, MA 1770

                    Mac's Builders Hardware Inc
                    5982 State St
                    Saginaw, MI 48603 3488

                    Macsteel Service Centers Usa
                    P. O. Box 6055
                    Philadelphia, PA 19114

                    Maddox Enterprises
                    633 South College Drive
                    Santa Maria, CA 93452




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                    Magic Transport Inc
                    PO Box 360729
                    San Juan, PR 00936-0729

                    Magisterial District #38-1-23
                    4002 Center Ave
                    Lafayette Hill, PA 19444

                    Magisterial District Number
                    07-01-01
                    2404 Byberry Rd
                    Bensalem, PA 19020

                    Magisterial District
                    Number 07-1-01
                    2404 Byberry Road
                    Bensalem, PA 19020

                    Magla Products Inc
                    PO Box 1934
                    Morristown, NJ 079621934

                    Magnaflux Corporation
                    7300 Lawrence Avenue
                    Chicago, IL 60656

                    Magnatag
                    2031 O'neill Road
                    Macedon, NY 14502

                    Magnatrol Valve Corp.
                    P.O. Box 17
                    Hawthorne, NJ 07507

                    Magne-Flo Inc
                    34854 Avenue Rockefeller
                    Valencia, CA 91355

                    Magnetool, Inc.
                    505 Elmwood
                    Troy, MI 48083-2755

                    Magnetrol International Inc.
                    Dept 77-5612
                    Chicago, IL 60678-5612




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                    Magnolia Metal & Plastic
                    Products Inc.
                    PO Drawer 820289
                    Vicksburg, MS 39182

                    Magnus Computers
                    2101 West Marlton Pyke
                    Cherry Hill, NJ 08002

                    Magretech Inc
                    301 County Road #177
                    Bellevue, OH 44811

                    Magretech Inc.
                    P.O. Box 901859
                    Cleveland, OH 44190

                    Mahoning County Child Support
                    Enforcement Agency
                    P.O. Box 119
                    Youngstown, OH 44501-0119

                    Main Access Entry Systems
                    1004 Jaycox Road
                    Avon, OH 44011

                    Main Line Personnel
                    100 Presidential Blvd
                    P.O. Drawer 448
                    Bala Cynwyd, PA 19004

                    Main Line Saab
                    219 E Lancaster Ave
                    PO Box 887
                    Ardmore, PA 190030887

                    Main Line Today
                    201 North Walnut Street
                    Suite 1205
                    Wilmington, DE 19801

                    Main Line
                    325 East Lancaster Avenue
                    Wayne, PA 19087




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                    Main Manufacturing Products
                    3181 Tri-Park Drive
                    Grand Blanc, MI 48439

                    Main Street Furniture
                    3901 Main Street
                    Philadelphia, PA 19127

                    Mainetire Ne
                    6730 Westfield Ave.
                    Pennsauken, NJ 08110

                    Mainline Party Rental, Inc.
                    Creating Memorable Occasions
                    298 Hansen Access Rd.
                    King Of Prussia, PA 19406-
                    2424

                    Maison Jacques Corporate
                    Sales
                    1422 Walnut Street
                    Philadelphia, PA 19102-4016

                    Majestic Building Maintenance
                    439 Good Intent Road
                    Blenheim, NJ 08012

                    Majestic Oil Company, Inc.
                    2104 Fairfax Avenue
                    Cherry Hill, NJ 08003

                    Major Petroleum Industries
                    P.O. Box 377
                    Rosenhayn, NJ 08352

                    Mak Metal Corporation
                    Po Box 604407
                    Bayside, NY 11360

                    Makarios Consulting LLC
                    2837 Westerham Rd
                    Downingtown, PA 19335

                    Mal Machinery Sales, Inc.
                    PO Box 1822
                    Bristol, CT 06011-1822




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                    Mal-Ber Manufacturing Co.
                    830 Pennsylvania Blvd.
                    Feasterville, PA 19053

                    Malber Tool
                    2115 Byberry Road
                    Huntingdon Valley, PA      19006

                    Malchak Salvage Co., Inc.
                    360 Castle Creek Road
                    Binghamton, NY 13901

                    Malo & Weste Corp.
                    D/B/A Plastics Plus
                    809 Third Avenue
                    Asbury Park, NJ 07712

                    Malone Freight Line, Inc
                    PO Box 71573
                    Chicago, IL 60694-1573

                    Malone Freight Lines
                    P.O. Box 71573
                    Chicago, IL 60694-1573

                    Malone Graphics
                    386 Cooper Rd
                    PO Box 28
                    Berlin, NJ 08009

                    Malz Brothers
                    500 Sharon Ave
                    Sharon Hill, PA 19079 2215

                    Man Cel Assoc. Inc.
                    291 Rt. 22 East, Suite #5
                    Salem Industrial Park
                    Lebanon, NJ 08833

                    Manchester Enterprises
                    2398 North Penn Road
                    Hatfield, PA 19440

                    Mancine Optical
                    2910 Route 130 North
                    Delran, NJ 08075




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                    Manco Steel Products Inc.
                    471 Southard Street
                    P.O. Box 1145
                    Trenton, NJ 08606

                    Maner Builders Supply Co
                    PO Box 204598
                    Augusta, GA 30917

                    Man-Gill
                    2300 St. Clair Ave
                    Cleveland, OH 44117

                    Manhattan Paint Fair
                    17 W 125th St
                    New York, NY 10027 4512

                    Manifest Group
                    100 East Saratoga
                    Marshall, MN 56258-1714

                    Manko, Gold & Katcher, LLP
                    401 City Avenue
                    Suite 500
                    Bala Cynwyd, PA 19004

                    Manly-Regan Chemicals
                    Div Of E&E (Us), Inc.
                    P.O. Box 280
                    Middletown, PA 17057

                    Mannion Steel Co., Inc.
                    35th & Gray's Ferry Ave
                    Philadelphia, PA 19146-0184

                    Mannkraft Corrugated
                    Packaging
                    100 Main Street
                    Tullytown, PA 19007

                    Manpower Inc.
                    P.O. Box 7247-0208
                    Philadelphia, PA 19170-0208




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                    Manufacturer And Dealer
                    Services LLC
                    P.O. Box 828
                    Deerfield, IL 60015-0828

                    Manufacturers' News, Inc.
                    1633 Central St
                    Evanston, IL 60201-1569

                    Maple Shade Fuel Co.
                    P.O. Box 507
                    110 Stiles Ave.
                    Maple Shade, NJ 08052

                    Maple Shade Youth Football
                    P.O. Box 445
                    Maple Shade, NJ 08052

                    Marano National Truck Lease
                    2215 E. Westmoreland Street
                    Philadelphia, PA 19134

                    Marc Turco
                    11801 Glen Mill Road
                    Potomac, MD 20854

                    Marcadis & Associates
                    4062 Henderson Boulevard
                    Tampa, FL 33629

                    Marchetty Machinery, Inc.
                    130 Stratford Ave
                    Westmont, NJ 08108

                    Marcia D'andrea
                    Harrows
                    610 Route #110
                    Melville, NY 11747

                    Marco Paper
                    4640 Large Street
                    Philadelphia, PA 19124

                    Marco Trading Corp
                    350 5th Ave, Empire State Bld
                    New York, NY 10118




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                    Marco Trading Corporation
                    Empire State Building
                    350 5th Avenue, Suite 4301
                    New York, NY 10118-4394

                    Marcon Engraving Inc
                    8021, Rt 130, Unit # 7
                    Pennsauken, NJ 08110

                    Margaret R. Brogan, Esquire
                    P.O. Box 103
                    Narberth, Pa., PA 19072

                    Maria Weissmuller
                    9903 Santa Monica Blvd.
                    Suite 497
                    Beverly Hills, CA 90212

                    Marianist Mission
                    Mount Saint John
                    4435 E. Patterson Rd.
                    Dayton, OH 45481-0001

                    Marilyn P. Kadrey
                    812 Glouchester Street
                    Boca Raton, FL 33487

                    Marine Developement Usa Inc.
                    Po Box 175
                    Manasquan, NJ 08736

                    Marine Fasteners Inc
                    120 Maritime Dr
                    Sanford, FL 32771

                    Marine Fasteners
                    120 Maritime Drive
                    Sanford, FL 32771

                    Marine Fasteners
                    120 Maritime Drive
                    Sanford, FL 32771

                    Marinesat Communications
                    P.O. Box 32288
                    Hartford, CT 06150-2288




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                    Marjam Supply Company
                    885 Conklin Street
                    Farmington, NY 11735

                    Marjorie Campanella
                    C/O 976 Old Darlington Rd.
                    Newtown, PA 18940

                    Marjorie Vagnozzi
                    603 E Pine St
                    Trevose, PA 19053

                    Mark A Lobel
                    4281 E Sherman Ave,
                    Millville, NJ 083321005

                    Mark A. Dano
                    909 Arbor Forest Landing,
                    Marietta, GA 30064

                    Mark Bacik
                    Coyte Smolin Sales
                    8111 182nd St Sw
                    Edmonds, WA 98026

                    Mark Baer Trucking
                    Rd # 7 Box 596
                    Bedford, PA 15522

                    Mark C. Burkhart & Kyle M.
                    Burkhart, His Wife & James M
                    Burton, Esquire, Their
                    Attorney.

                    Mark Haberbosch
                    21 Cheney Road
                    Pomfret Center, CT     06259

                    Mark Martinez
                    15672 Coventry Ln
                    Fontana, CA 92337

                    Mark Powell
                    3003 Revere Court
                    Hillsborough, NJ 08876




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                    Mark Rafferty
                    2821 Burgandy Drive
                    Cinnaminson, NJ 08077

                    Mark S Sandler
                    985 Wilkweed Ln
                    Huntingdon Valley, PA 19006

                    Mark Tagliaferri
                    184 Ivy Lane
                    Zieglerville, PA     19492

                    Mark Vii Transportation Co.
                    350 Phelps Court
                    Suite 320
                    Irving, TX 75062

                    Mark Vii Transportation
                    P.O. Box 844711
                    Dallas, TX 75284-4711

                    Markel American Ins Co.
                    Ins Billing Office
                    P.O. Box 906
                    Pewaukee, WI 53072-0906

                    Market Resource Associates
                    15 South Fifth St
                    8th Floor,
                    Minneapolis, MN 55402

                    Marketplace Advertising
                    PO Box 1321
                    Merchantville, NJ 08109

                    Marketrans
                    P.O. Box 66041
                    Chateauguay, Quebec
                    Canada J6k 5b7

                    Markoff, Michael
                    908 Francine Drive
                    Cherry Hill, NJ 08003

                    Markowitz Metal Corp
                    45 Brook Ave
                    Deer Park, NY 11729



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                    Mark's Metals
                    25 Morris Lane
                    East Providence, RI     02914

                    Marlac Electronics
                    311 New Albany Road
                    Moorestown, NJ 08057

                    Marley Cooling Tower
                    P.O. Box 99038
                    Chicago, IL 60693

                    Marlo Manufacturing Co. Inc.
                    140 Fifth Avenue
                    Hawthorne, NJ 07506

                    Marmetal Industries
                    903-F Sheehy Drive
                    Horsham, PA 19044

                    Marquis Computing Inc.
                    P.O. Box 387
                    Pomfret Center, CT 06259

                    Marrco Paper Company Inc
                    PO Box 23065
                    Philadelphia, PA 19124

                    Marsal Assoc., Inc.
                    4011-A Creek Road
                    Delance, NJ 08075

                    Marsh Laboratories
                    2437 Waverly Avenue
                    Pittsburgh, PA 15218

                    Marsh Usa Inc.
                    P.O. Box 371237
                    Pittsburgh, PA 15251-7237

                    Marshall & Stevens, Inc.
                    Attn: Accounts Receivable
                    707 Wilshire Blvd.
                    Suite 5200
                    Los Angeles, CA 90017




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                    Marshall Industrial
                    Technologies
                    529 South Clinton Avenue
                    Trenton, NJ 08611-1893

                    Marshall Industries LLC
                    Aka/Formed Steel, Inc.
                    2231 E. Ontario Street
                    Philadelphia, PA 19134-2695

                    Marshall Institute, Inc.
                    1800-I Tillery Place
                    Raleigh, NC 27604

                    Marshall Machinery, Inc.
                    51 Eads Street
                    West Babylon, NY 11704

                    Marshall W. Nelson
                    Associates Inc.
                    4300 North Port Washington
                    Rd.
                    Millwaukee, WI 53212

                    Martech Systems
                    35 Viburnum Court
                    Lawrenceville, NJ     08648-4809

                    Mar-Tee Contractors, Inc.
                    Scott Ave.
                    P.O. Box 602
                    Woodbine, NJ 08270-0602

                    Martek Associates Inc
                    5147 Via Madrid
                    Oceanside, CA 92057

                    Martelli's Inc.
                    4 Louise Dr.
                    Ivyland, PA 18974

                    Martier's Florist Inc.
                    5820 Bensalem Blvd
                    PO Box 1525
                    Bensalem, PA 19020




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                    Martin Bullen
                    125 South Valley Rd
                    Paoli, PA 19301

                    Martin Garcia
                    2800 Federal St,
                    Camden, NJ 08105

                    Martin Merkel Inc.
                    5375 Naiman Parkway
                    Cleveland, OH 44139

                    Martin Stern
                    1448 Dewey Ave
                    North Bellmore, NY 11710

                    Martinez Auto Repair
                    3409 Hayes Road
                    Camden, NJ 08105

                    Martinez Auto Repair
                    3409 Hayes Road
                    Camden, NJ 08105

                    Martin's Freight Systems
                    6949 Sherman Avenue
                    Pennsauken, NJ 08110

                    Marty Wilhelm
                    2840 Powhattan Parkway
                    Toledo, OH 43606

                    Marubeni America Corporation
                    450 Lexington Avenue
                    New York, NY 10017-3984

                    Marvel Marking Products
                    3000 Jane Street
                    Pittsburgh, PA 15203

                    Marvic Supply Co., Inc.
                    626 Byberry Road
                    Philadelphia, PA 19116

                    Marvin Gregory
                    914 N 9th St
                    Camden, NJ 08102



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                    Marx Gmbh & Co. Kg
                    58638 Iserlohn
                    Lilienthalstr 6-13


                    Mary Coolures
                    117 Harmon Street,
                    Panama City, FL 32401

                    Mary Kay Neville
                    463 Lydll Street
                    Manchester, CT 06040

                    Maryland Child Support
                    Account
                    PO Box 17396
                    Baltimore, MD 21297-1396

                    Maryland Improvement Contract
                    720 Light St
                    Baltimore, MD 21230

                    Maryland Metals
                    449 Antietam Dr
                    Hagerstown, MD 21741

                    Maryland Recycling Co.
                    200 8th Avenue
                    Glen Burnie, MD 21061

                    Mason And Dixon Lines Inc.
                    P.O. Box 33298
                    Detroit, MI 48232

                    Mason
                    50 Peppermint Lane
                    Willingboro, NJ 08046

                    Masonry Arts Inc.
                    2105 3rd Ave. N.
                    P.O. Box 1350
                    Bessemer, AL 305020

                    Mass. Dept. Of Revenue
                    Sales & Use Tax
                    PO Box 7039
                    Boston, MA 2204



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                    Massari Service Company
                    972 S. Broadway
                    Pennsville, NJ 08070

                    Mass-Awma
                    C/O Robin Mulhull, Registrar
                    160 Pitman Avenue
                    Pitman, NJ 08071

                    Massflow Solutions, Inc.
                    PO Box 426
                    Alburtus, PA 18011

                    Massoud & Bros Co Ltd
                    7th Floor,#60 Zhou Zi Street
                    Neihu District
                    Taiwan
                    Taipei

                    Master Bond
                    154 Hobart Street
                    Hackensack, NJ 07601

                    Master Metrology Inc.
                    1041 Cromwell Bridge Rd.
                    Towson, MD 21286

                    Masterman's
                    PO Box 411
                    Auburn, MA 01501-0411

                    Matalco Inc.
                    850 Intermodal Drive
                    Brampton
                    Ontario Canada
                    L6t 0b5

                    Matco Associates Inc
                    PO Box 15580
                    Pittsburgh, PA 152440580

                    Material Control Inc.
                    338 E Sullivan Road
                    Aurora, IL 60504




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                    Material Handling Supply Inc
                    PO Box 827043
                    Philadelphia, PA 191827043

                    Material Handling Supply Inc.
                    Creek And Old Salem Roads
                    Brooklawn, NJ 08030

                    Material Handling
                    Old Salem Road, North Creek
                    Road
                    Brooklawn, NJ 08030

                    Mathews Conveyor Division
                    P.O. Box 60720
                    Charlotte, NC 28260

                    Mathews Home Design
                    220 N Chickasaw St,
                    Pauls Valley OK 73105

                    Mati Sales LLC
                    PO Box 816
                    Glenside, PA 190380816

                    Matlack Electronics
                    1035 South Church Street
                    Mt. Laurel, NJ 08054-2539

                    Matrix Data Index
                    100 Walnut Street
                    Suite 900
                    Champlain, NY 12919

                    Matrix Service Industrial
                    Contractors, Inc.
                    1500 Chester Pike
                    Eddystone, PA 19022

                    Matt Boland
                    355 Waterworks Road
                    Radford, VA 24141

                    Matt Laughlin
                    1473 Mercer-West, Middlesex
                    Rd.
                    Mercer, PA 16137



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                    Mattatuck Industrial Scrap
                    28 Town Line Rd
                    Wolcott, CT

                    Matthew Boland
                    355 Waterworks Rd.
                    Radford, VA 24141

                    Matthew Colter Co
                    1255 Ionia Sw
                    Grand Rapids, MI 49507

                    Matthew Galeone
                    1336 Park Ave
                    Bensalem, PA 19020

                    Matthew Gorczynski
                    1400 Crescent Blvd
                    B-Beechwood Ave
                    Gloucester, NJ 08030

                    Matthew O'brien
                    C/O Pelican Sport Center
                    2980 Rt 10 West
                    Morris Plains, NJ 07950

                    Matthews International Corp.
                    Two North Shore Center
                    Pittsburgh, PA 15212-5851

                    Matthews, Steven
                    410-758-4697
                    116 Jarmens Branch
                    Centreville, MD 21617

                    Mattye M. Gandel
                    520 Melrose Place
                    South Orange, NJ 07079

                    Mawson & Mawson
                    PO Box 248
                    Langhorne, PA 19047

                    Max Cohen & Sons
                    25 Sandquist St
                    P.O. Box 2410
                    Concord, NH 03302



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                    Max Ellenberg
                    19 N Iroquois Avenue
                    Margate, NJ 08402

                    Max Weinstein & Sons, Inc.
                    2426 Morris Avenue
                    Union, NJ 07083-5705

                    Maxcraft Signs, Inc.
                    419 Commerce Lane Suite 2
                    West Berlin, NJ 08091

                    Maxhealth Corporation
                    15f-6, No. 81, Hsin Tai Wu
                    Rd.
                    Sec. 1, Hsi Chih
                    Taipei Taiwan

                    Maxisoft Inc.
                    5301 Longley Lane
                    Building D #154
                    Reno, NV 89511

                    Maxon Corporation
                    P.O. Box 2068
                    Muncie, IN 47307-0068

                    Maxpro Technologies Inc.
                    7728 Klier Drive South
                    Fairview, PA 16415

                    Maxwell Products Corp.
                    P.O. Box 1573
                    402 Industrial Drive
                    North Wales, PA 19454

                    May National Associates Inc
                    1700 Route 3 West
                    Clifton, NJ 07013

                    Mayberry Rigger Inc.
                    876 N. Lenola Road
                    Moorestown, NJ 08057

                    Mayer Pollock Steel Corp.
                    P.O. Box 759
                    Pottstown, PA 19464-4422



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                    Mayerfeld Supply Co
                    PO Box 249
                    Norma, NJ 08347 0249

                    Mayrand Publishers
                    100 Walnut Street
                    Suite 6
                    Champlain, NY 12919

                    Maytag/Clarence
                    P.O. Box 130
                    Clarence, MO 63437-0130

                    Mazer Lumber & Supply
                    2 South 41st St
                    Birmingham
                    Al 35222 1979

                    Maziuk Wholesale Distributors
                    1251 W Genesee St
                    Syracuse, NY 13204

                    Mb Material Handlingn Systems
                    Midland Road
                    Hunslet Leeds
                    Ls10 2bh

                    Mba Plans, Inc.
                    415 Harmon Cove Towers
                    Secaucus, NJ 7094

                    Mbe Associates Inc
                    PO Box 862
                    Monsey, NY 10952

                    Mbna America
                    P.O. Box 15288
                    Wilmington, DE    19886-5288

                    Mc Caffery Metal Corp.
                    120 Francis Street
                    Keyport, NJ 07735

                    Mc Carter Alloys
                    128 Red Lion Road.
                    Vincentown, NJ 08088




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                    Mc Clymont & Rak Geotechnical
                    Engineers
                    1059 Bush Highway
                    Pennsauken, NJ 08110

                    Mc Daniel Window & Door Co
                    Inc
                    300 E Tennessee St,
                    Florence, AL 35630 5716

                    Mc Elhaney's Pool Service
                    1228 Wade Street
                    Aliquippa, PA 15001

                    Mc Knight Steel & Tube Co.
                    P.O. Box 2847
                    Ivyland, PA 18974-0085

                    Mc Machinery Systems
                    1500 Michael Drive
                    Wood Dale, IL 60191

                    Mc Master-Carr Supply Co
                    PO Box 7690
                    Chicago, IL 60680

                    Mcallister Transportation
                    PO Box 183
                    Oxford, ME 04270

                    Mccarthy's Geographics
                    404 Bloomfield Ave
                    Montclair, NJ 07042

                    Mccartney Multimedia/Musik K
                    322 Culver Blvd.
                    #124
                    Playa Del Ray, CA 90295

                    Mccauley
                    117 Jennings Road
                    Briston, CT 06010

                    Mccorry Mechanical Services
                    4 Terry Drive Suite 3
                    Newtown, PA 18940




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                    Mcdowell Insulation Co.
                    2305 Garry Road
                    Cinnaminson Industrial Center
                    Cinnaminson, NJ 08077

                    Mcfc National Bank
                    PO Box 15609
                    Wilmington, DE 19886-5609

                    Mcgill & Wilson, Inc.
                    4432 Bristol Rd
                    Suite 4b
                    Trevose, PA 19053

                    Mcginnis And Associates
                    Sales And Service Inc
                    3022 Colonel Springs Way
                    Fort Mill, SC 29708

                    Mcgivney & Kluger, P.C.
                    23 Vreeland Road
                    Suite 220
                    Florham Park, NJ 07932

                    Mcgowan Construction
                    12 A Healy Way
                    Langhorne, PA 19047

                    Mcgraw Elementary School
                    Fremont And Dudley Streets
                    Attn: Kindergarten Trip Staff
                    Camden, NJ 08105

                    Mcgraw Hill Publishing
                    1221 Avenue Of The Americas
                    New York, NY 10020

                    Mci Residential Service
                    P.O. Box 52252
                    Phoenix, AZ    85072-2252

                    Mci
                    PO Box 600607
                    Jacksonville, FL     32260-0607




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                    Mcintyre Scale, Inc.
                    514-16 Knorr Street
                    Philadelphia, PA 19111

                    Mckay Hochman Co., Inc.
                    10 Park Place
                    P.O. Box 196
                    Butler, NJ 07405-0196

                    Mckeegan Equipment & Supply
                    Co
                    8411 Ronda Drive,
                    Canton, MI 48187-2001

                    Mckenna & Mccormick
                    Suite 330 Shakespeare Hall
                    128 Dorrance Street
                    Providence, RI 02903

                    Mckenzie,Becker,& Stevens
                    PO Box 1967
                    8 Holley Street
                    Lakeville, CT 06039

                    Mclean Thermal
                    11611 Business Park Blvd. N.
                    Champlin, MN 55316

                    Mcmaster Carr Supply Company
                    P.O. Box 7690
                    Chicago, IL 60680-7690

                    Mcmaster-Carr Supply Co
                    PO Box 7690
                    Chicago, IL 60680 7690

                    Mcmaster-Carr
                    473 Ridge Road
                    Dayton, NJ 08810-0317

                    Mcnamara Tile & Marble
                    110 Shire Lane
                    Swedesboro, NJ 08085

                    Mcneil Construction Co.
                    15 Marlen Drive
                    Robbinsville, NJ 08691



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                    Mcneil Sales & Service Co.,
                    Inc
                    15 Marlen Drive
                    Robbinsville, NJ 08691-1604

                    Mcnichols Co.
                    2 Home News Row
                    New Brunswick, NJ     08901

                    Mcwilliams Sales Service,
                    Inc.
                    6600-A North Park Blvd.
                    Charlotte, NC 28216

                    Mdc Industries Inc.
                    Collins & Willard Sts.
                    Philadelphia, PA 19134-3299

                    Mdm Of America Inc.
                    2451 E. Sunrise Blvd.
                    Suite St4
                    Fort Lauderdale, FL 33304

                    Meade Trucking Company, Inc.
                    P.O. Box 314
                    Verona, VA 24482-0314

                    Meadowbrook Food Center
                    3012 Union Ave
                    Pennsauken, NJ 08109

                    Mears Tool & Die Inc.
                    24668 U.S. Highway 322
                    Cochranton, PA 16314

                    Mecha-Draulic Service, Inc
                    152 Berkley Road
                    Clarksboro, NJ 08020

                    Mechanics Choice
                    Dept Ch 14049
                    Palatine, IL 60055-4079

                    Medalco Metals, Inc
                    281 Highway 79
                    Morganville, NJ 07751




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                    Medalco Metals, Inc
                    281 Highway 79
                    Morganville, NJ 07751

                    Medford Concrete Company
                    P.O. Box 273
                    10 Tidswell Street
                    Medford, NJ 08055

                    Media Mastr Computer Prod Inc
                    1053 Thomas Busch Memorial
                    Hwy
                    Pennsauken, NJ 08110

                    Medical Center Radiologists
                    P.O. Box 1928
                    Voorhees, NJ 08043

                    Medtox Laboratories, Inc.
                    402 West Country Road
                    St. Paul, MN 55112

                    Meech Usa
                    2662 Brecksville Road
                    Richfield, OH 44286-9772

                    Meehan & Nolan Associates
                    200 Walnut St
                    Saugus, MA 01906

                    Mega Marine Yacht Service
                    Inc.
                    Attention: Taz
                    11831 Royal Palm
                    Building # 102
                    Coral Springs, FL 33065

                    Megahertz
                    605 N 5600w
                    Salt Lake City, UT     84116

                    Mel Molitor
                    8907 E. Salix Circle
                    Gold Canyon, AZ   85219




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                    Melillo Consulting Inc.
                    285 Davidson Ave.
                    Suite 202
                    Somerset, NJ 08873

                    Melillo Consulting, Inc.
                    285 Davidson Avenue
                    Somerset, NJ 08873

                    Melissa Miller, Sgt.@ Arms
                    Special Civil Part
                    Suite 110
                    101 S. Fifth St.
                    Camden, NJ 08103

                    Mellon Bank (Credit Card
                    Dept)
                    P.O. Box 15396
                    Wilmington, DE 19886-0814

                    Mellon Bank, N.A.
                    610 W. Germantown Pike
                    Suite 200
                    Plymouth Meeting, PA 19462

                    Mellon Bank, N.A.
                    P.O. Box 360528
                    Pittsburgh, PA 15251-6528

                    Mellon Bank, N.A.
                    P.O. Box 7777-W7715
                    Philadelphia, PA 19175

                    Melrath Gasket, Inc.
                    P.O. Box 43099
                    2901 W. Hunting Park Ave.
                    Philadelphia, PA 19129-3099

                    Melrose Nameplate
                    & Label Co Inc
                    26575 Corporate Ave
                    Hayward, CA 94545




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                    Melton International
                    Logistics, Inc.
                    Accounting
                    P.O. Box 678030
                    Dallas, TX 75267-8030

                    Melton Truck Lines, Inc.
                    Department 1974
                    Tulsa, OK 74182

                    Melvin Blount
                    1211 Ford Road
                    Bensalem, PA 19020

                    Memorial Hosp Of Burl Co
                    175 Madison Ave.
                    Mount Holly, NJ 08060

                    Memphis Tri-State Fence Asso
                    Attn: Phillip Doyle
                    5458 Crestview
                    Memphis, TN 38134

                    Memphis Tri-State
                    Volunteer Fence Co.
                    PO Box 2284
                    Jackson, TN 38302

                    Menasha Corp.
                    Route 70
                    Yukon, PA 15698

                    Menlo Worldwide Forwarding
                    Inc
                    P.O. Box 1994
                    Scranton, PA 18501

                    Menlo Worldwide Forwarding
                    Box 371232
                    Pittsburgh, PA 15250 7232

                    Menlo Worldwide Trade
                    Services
                    P.O. Box 1067
                    Scranton, PA 18577-0067




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                    Meranto Technology Inc
                    45 Crockford Blvd
                    Ontario Canada M1R 3B7
                    Scarborough

                    Mercantile Buyers Service Inc
                    PO Box 090528
                    Milwaukee, WI 53209 0528

                    Mercedes-Benz Financial
                    PO Box 9001921
                    Louisville, KY 40290-1921

                    Mercer County Head Start
                    Child
                    Development Program, Inc.
                    2238 Hamilton Avenue
                    Hamilton, NJ 08619

                    Mercer County Probation Dept
                    175 S. Broad Street
                    PO Box 8068
                    Trenton, NJ 08650

                    Mercer Group International
                    Po Box 5626
                    4 Beakes Street
                    Trenton, NJ 08638

                    Mercer Rubber Company
                    Interstate Business Park
                    110 Benigno Boulevard
                    Bellmawt, NJ 08031

                    Mercer Transportation
                    P.O. Box 644011
                    Pittsburgh, PA 15264-4011

                    Mercer
                    1205 Wayne Rd.
                    Haddonfield, NJ     08033

                    Merchants Fastener Corp.
                    45-18 Court Square
                    Suite 501
                    Long Island, NY 11101




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                    Merchantville - Pennsauken
                    Water Commission
                    PO Box 1205
                    Merchantville, NJ 08109

                    Merchantville Overhead Door
                    Co
                    234 N. Route 130
                    Collingswood, NJ 08108

                    Merchantville-Pennsauken
                    Water
                    P.O. Box 1205
                    20 W. Maple Avenue
                    Merchantville, NJ 08109

                    Mercury Distribution Carriers
                    5495 Levering Avenue
                    Elkridge, MD 21227

                    Mercury Plastic Bag Co Inc
                    7th & South Sts
                    Passaic, NJ 07055

                    Meridian Display
                    162 York Ave East
                    St Paul, MN 55117

                    Meridian Freight Services
                    Inc.
                    2650 Slough Street,
                    Mississauga
                    Ontario L4T3T2

                    Meridian International Co Ltd
                    8893, Zhong Chun Road, Qi
                    Bao, MI n Hang
                    Shanghai China
                    201101

                    Meridian Precision Inc
                    PO Box 206
                    80 Roberts Road
                    Pine Grove, PA 17963




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                    Meridian/Iq
                    10990 Roe Avenue, Ms-E105
                    Overland Park, KS 66211

                    Merion Caterers
                    U.S. Route 130 And Wynwood
                    Dr.
                    Cinnaminson, NJ 08077

                    Merit Cordage Company
                    353 Crider Avenue
                    Moorestown, NJ 08057

                    Merlin Industries
                    720-B Monmouth Street
                    Trenton, NJ 08064

                    Merrill Communications LLC
                    Cm-9638
                    St. Paul, MN 55170-9638

                    Merrill Lumber Co., Inc.
                    7700 State Road
                    Philadelphia, PA 19136

                    Merryman Trk., Inc.
                    501 Alder Street
                    P.O. Box 629
                    Philipsburg, PA 16866-0629

                    Mershon Concrete
                    P.O. Box 254
                    Bordentown, NJ 08505

                    Messer Gas Technology &
                    Service Group
                    5275 Tilghman Street
                    Allentown, PA 18104

                    Mestex
                    4830 Transport Drive
                    Dallas, TX 75247

                    Met Life
                    Dept Ch 10579
                     Palatine, IL    60055-0579




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                    Metal Amore
                    1630 W Mission Rd
                    Escondido, CA 92029

                    Metal Craft
                    149 Fourth Street S.W.
                    P.O. Box 1468
                    Mason City, IA 50402-1468

                    Metal Edge International,
                    Inc.
                    P.O. Box 1488
                    North Wales, PA 19454

                    Metal Exchange Corporation
                    111 West Port Plaza
                    Suite 704
                    St. Louis, MO 63146

                    Metal Finishing Supply Inc
                    320 West Second St
                    PO Box 37
                    East Syracuse, NY 13057

                    Metal Industries Inc
                    1517 Route 209
                    Millersburg, PA 17061

                    Metal Koting
                    1430 Martin Grove Road
                    Rexdale, Ontario Canada
                    M9W 4Y1

                    Metal Koting
                    1430 Martin Grove Road
                    Rexdale, Ontario Canada
                    M9w 4y1

                    Metal Management Nashville
                    LLC
                    Department 8269
                    Carol Stream, IL 60122-8269

                    Metal Management, Inc.
                    P.O. Box 5158
                    Newark, NJ 07105




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                    Metal Mark Inc.
                    100 First National Plaza
                    #500
                    Chicago Heights, IL 60411

                    Metal Stock, Inc.
                    4901 Cottman St.
                    Philadelphia, PA 19136

                    Metal Structures Inc.
                    1603 Taylors Lane
                    Cinnaminson, NJ 08077

                    Metal Supply Company
                    40001 G Street
                    Phila., PA 19124

                    Metalall Co Ltd
                    6f-4, No. 186, Sec. 2
                    Mei-Tsun Road
                    Taichung Taiwan

                    Metalico Lyell Acquisitions
                    1515 Scottsville Road
                    Rochester, NY 14623

                    Metalico-Lyell Acquisition,
                    Inc
                    Nw 7780
                    P.O. Box 1450
                    Minneapolis, MN 55485-7780

                    Metallurg Aluminum
                    12 West Boulevard
                    Newfield, NJ 08344-7068

                    Metallurg Aluminum
                    Lock Box #4036
                    P.O. Box 8500
                    Philadelphia, PA 19178-4036

                    Metallurgical Consulting
                    2521 Cherry Valley Turnpike
                    Marcellus, NY 13108




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                    Metal-Mation Inc.
                    2391 West 38th Street
                    Cleveland, OH 44113

                    Metalprices.Com
                    P.O. Box 3050
                    Basalt, CO 81621

                    Metals Usa
                    50 Cabot Boulevard
                    Langhorn, PA 19047

                    Metals Usa
                    50 Cabot Boulevard
                    Langhorne, PA 19047

                    Metals Usa
                    Specialty Metals Northcentral
                    Plates & Shapes-Newark
                    50 Wheeler Point Rd.
                    Newark, NJ 07105

                    Metaux Max Inc
                    1213,Avenue Industrielle
                    C.P. 1002
                    Terminus
                    Quebec Canada
                    G1k 7b5

                    Met-Cycle Inc.
                    730 Lincoln Blvd
                    Middlesex, NJ 08846

                    Methods Engineering
                    10-21 County Line Road
                    Branchburg, NJ 08876

                    Metlfax
                    P.O. Box 3202
                    Northbrook, IL    60065-3202

                    Metlsaw Systems, Inc.
                    2950a Bay Vista Ct.
                    Benicia, CA 94510




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                    Metl-Span Corporation
                    1497 N. Kealy
                    Lewisville, TX 75067

                    Metric & Multistandards
                    120 Old Saw Mill River Rd.
                    Hawthorne, NY 10532

                    Metro Chem-Dry
                    35 Rockwood Road
                    Newtown Square, PA     19073

                    Metro Hydraulic Jack Co.
                    1271
                    Mcmarter Highway
                    Newark, NJ 07104

                    Metro Metals, Inc.
                    3908 Coolidge Avenue
                    Suite B
                    Baltimore, MD 21229

                    Metrocall
                    523 Fellowship Road
                    Suite 290
                    Mt. Laurel, NJ 08054

                    Metrology Lab
                    @ Office Of Weights &
                    Measures
                    1261 Route 1 And 9 South
                    Avenel, NJ 07001

                    Metromedia Paging
                    PO Box 23580-051
                    Newark, NJ 07189

                    Metropolis Customs Brokers
                    Inc
                    156-15 146th Avenue
                    Suite 110
                    Jamaica, NY 11434

                    Metropolitan Contract Carpet
                    625 E Chapel Ave
                    Cherry Hill, NJ 08034




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                    Metropolitan Flag & Banner Co
                    3237 Amber St, Ste 1
                    Philadelphia, PA 19134

                    Metropolitan Software
                    11 Prince Street Suite 1b
                    New York, NY 10012

                    Metropolitan Software, Inc.
                    11 Prince Street
                    Suite 1b
                    New York, NY 10012

                    Mfg/Pro Mid Atlantic Users
                    Group C/O Bdm Largotim
                    10000 Midlantic Drive
                    Suite 300 West
                    Mt. Laurel, NJ 08054

                    Mg Industrial Products, Inc
                    Po 2566 Us. West 50
                    Clarksburg, WV 26302-2650

                    Mg Industries/Messer
                    Use Messer Gas Tech.
                    Philadelphia, PA 19178-4385

                    Mge Ups Systems
                    30 Chapin Road
                    Unit1204
                    Pine Brook, NJ 07058

                    Mge Ups Systems
                    3598 Cadillac
                    Costa Mesa, CA 92626

                    Mgs Publishing Ltd.
                    172 London Road
                    Guildford Surrey
                    Gui 1xr

                    Mhs Lift
                    Old Salem Road
                    North Of Creek Road
                    Brooklawn, NJ 08030




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                    Mi Home Products Inc
                    Attn: Michael Ohlin
                    PO Box 370
                    650 W Market St
                    Gratz, PA 17030

                    Mi Metals, Inc.
                    P.O. Box 100378
                    Atlanta, GA 30384-0378

                    Michael Angelo Miranda
                    19 Elmhurst Avenue
                    Cherry Hill, NJ 08034

                    Michael B. Kaplan, Trustee
                    P.O. Box 933
                    Memphis, TN 38101-0933

                    Michael Beattie
                    13907 Kellen Dr
                    Hagerstown, MD 21740

                    Michael Conley
                    1600 Market St, 25th Fl
                    Philadelphia, PA

                    Michael Dopkin
                    31 Gordon Rd
                    Erdenheim, PA 19038

                    Michael Fine Machinery Co.
                    44 Melrose Drive
                    Livingston, NJ 7039

                    Michael Hagan
                    700 South Brynwood Drive
                    Browns Mills, NJ 08015

                    Michael J Garland
                    32 East Lance Leaf Rd
                    The Woodlands, TX 773812826

                    Michael J Perilli
                    52 Maple Ave
                    Blackwood, NJ 080125023




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                    Michael J. Kane Carpentry,
                    LLC
                    116 Pinetown Road
                    Audubon, PA 19403-2021

                    Michael John
                    19 Coldspring Road
                    Mercerville, NJ 08619

                    Michael Kuntush
                    6620 Torresdale Ave.
                    Philadelphia, PA 19135

                    Michael Perry
                    1991 Dry Run Rd
                    Jackson, OH 45640

                    Michael Pilla Photography
                    825 North Second Street
                    Philadelphia, PA 19123

                    Michael R. Jeffcoat
                    Attorney At Law LLC
                    407 W Main St Pob 1860
                    Lexington, SC 29071-1860

                    Michael Suchodolski, Jr.
                    225 Kent Road
                    Warminster, PA 18974

                    Michael Surratt
                    716 Fifth St.
                    Aurora, IL 60505

                    Michael's Glass
                    46-25 Knorr Street
                    Philadelphia, PA 19135

                    Michele Crispin
                    10 Columbine Dr
                    Pittsgrove, NJ 08318

                    Michele Schwartz
                    3404 Knights Road, Apt 63
                    Philadelphia, PA 19020




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                    Michigan Chapter N.A.A.D.
                    Attn: Ms. Claire Schmitz
                    Copper And Brass Sales, Inc.
                    17200 Ten Mile Rd Suite 250
                    Eastpointe, MI 48021

                    Michigan Dept. Of Treasury
                    Dept. 77003
                    Detroit, MI 48277-0003

                    Michot, Walter
                    61 Northeast 96th Street
                    Miami Shores, FL 33138

                    Micro Control
                    301 Oxford Valley Rd
                    Bldg 1000
                    Yardley, PA 19067

                    Micro Firm
                    330 West Gray Street
                    Suite 120
                    Norman, OK 73069

                    Micro Focus
                    P.O. Box 45611
                    San Fransisco, CA     94145-0611

                    Micro Lambda North
                    1 Hytek Corporate Center
                    Route 526
                    Clarksburg, NJ 08510

                    Micro Plastics Inc
                    Hwy 178 N
                    PO Box 149
                    Flippin AR 726340149

                    Micro Plastics, Inc.
                    Highway 178n
                    Flippin, AR 72634

                    Micro Warehouse
                    7077 Collection Center Dr.
                    Chicago, IL 60693-0072




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                    Microaccounting Systems, Inc.
                    15050 Sw Koll Pkwy
                    Suite C
                    Beaverton, OR 97006

                    Microage
                    7250 Westfield Avenue
                    Pennsauken, NJ 08110

                    Microcut Inc
                    1758 S Queen St
                    York, PA 17403

                    Micron Electronics Inc.
                    900 East Karcher Road
                    Nampa, ID 83687

                    Micron Electronics, Inc.
                    900 East Karcher Road
                    Nampa, ID 83687

                    Micronics Inc.
                    200 West Road
                    Portsmouth, NH 03801

                    Microsoft Technical Support
                    P.O. Box 844510
                    Dallas, TX 75284-4510

                    Microwarehouse
                    1690 Oak Street
                    Lakewood, NJ 08701

                    Mid Atlantic Instrumentation
                    650 N. State Street
                    York, PA 17403

                    Mid Atlantic Logistics Co Inc
                    PO Box 308
                    Pennsauken, NJ 08110

                    Mid Atlantic Management
                    Association
                    90 So. Newtown State Rd.
                    Suite 7
                    Newtown Square, PA 19073




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                    Mid Atlantic Pump     & Equip.Co
                    228 No. Route 73
                    Berlin, NJ 08009

                    Mid Atlantic Tank Inspection
                    Holland Commerce Center
                    464 S.Independence Blvd.
                    Suite C-108
                    Virginia Beach, VA 23452

                    Mid Carolina Pools
                    6035 Two Notch Road
                    Columbia, SC 29223

                    Mid-America Overseas, Inc.
                    1180 Mclester Street # 7
                    Elizabeth, NJ 07201

                    Mid-American Glazing
                    426 W. Second Street
                    Davenport, IA 52801

                    Mid-Atlantic Chapter Isri
                    P.O. Box 217
                    Dallas, PA 18612

                    Mid-Atlantic Cnc, Inc.
                    260 Evans Way
                    Branchburg, NJ 08876

                    Midatlantic Employers' Assoc.
                    P.O. Box 770
                    Valley Forge, PA 19482-0770

                    Mid-Atlantic Equipment Co.
                    P.O. Box 158
                    Rt. 29
                    Collegeville, PA 19426

                    Mid-Atlantic Equipment Corp.
                    P.O. Box 5204
                    Limerick, PA 19468




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                    Mid-Atlantic Packaging, Inc.
                    438 Stump Road
                    PO Box 445
                    Montgomeryville, PA 18936-
                    0445

                    Mid-Atlantic Quick-Fit
                    P.O. Box 1008
                    Buckingham, PA 18912

                    Mid-Atlantic Trade Expo, Inc.
                    2117 Smith Ave
                    Chesapeake, VA 23320

                    Middlesex County Probation
                    10 Corporate Place So.
                    Third Floor
                    Piscataway, NJ 08854

                    Midland Building Materials
                    Inc
                    2912 Cameron St
                    Monroe, LA 71211

                    Midland Mortgage Co.
                    Box 99621
                    Oklahoma City, OK 73199-0621

                    Midlantic Bank     Int
                    Commercial Loan Operations
                    P.O. Box 7539
                    Fort Washington, PA 19034

                    Midlantic Bank (Mtg)
                    710 Turnpike Road
                    P.O. Box 1040
                    East Brunswick, NJ 08816

                    Midlantic Bank
                    Charity Tournament
                    515 Pennsylvania Avenue #977
                    Fort Washington, PA 19034

                    Midlantic Bank, N.A.
                    499 Thornall Street
                    Edison, NJ 08837




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                    Midlantic Data Forms, Inc
                    1301 Metropolitan Avenue
                    West Deptford, NJ 08066

                    Midsouth Building Supply
                    5640 P Sunnyside Ave
                    Beltsville, MD 20705

                    Mid-South Extrusion Die
                    P.O. Box 2369
                    334 Washington Ave
                    Muscle Shoals, AL 35662

                    Mid-South Metals
                    P.O. Box 96
                    Greenville, NC 27835

                    Midwest Canvas Corporation
                    4635 West Lake Street
                    Chicago, IL 60644

                    Midwest Graphite Company,
                    Inc.
                    6101 W. 31st Street
                    Cicero, IL 60804-3708

                    Midwest Power Prod & Controls
                    235 S. Lindberg St.
                    Griffith, IN 46319

                    Mike Fitgibbons
                    2344 River Woods Drive
                    Naperville, IL 60565

                    Mike Ramaci
                    Viscount Pools
                    36568 Groesbeck Highway
                    Clinton Township, MI 48035

                    Mikron Instrument Co. Inc.
                    16 Thornton Road
                    Oakland, NJ 07436

                    Milacron Marketing Company
                    Plastics Machinery Group
                    PO Box 740440
                    Atlanta, GA 30374-0440



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                    Mildred Collica
                    Harrows
                    831 Sunrise Highway
                    Lynbrook, NY 11563

                    Milestone Corporation
                    PO Box 371165
                    Denver, CO 80237

                    Milford Enterprises, Inc.
                    200 Commerce Blvd
                    Quakertown, PA 18951

                    Millard Metal
                    P.O. Box #850880
                    116 Lundquist Drive
                    Braintree, MA 02185-0880

                    Miller Energy Inc.
                    3200 South Clinton Avenue
                    S. Plainfield, NJ 07080-1424

                    Miller Fluid Power Corp
                    800 North York Rd
                    Bensenville, IL 60106

                    Miller Fluid Power
                    Corporation
                    500 South Wolf Road
                    Des Plaines, IL 60016

                    Miller Hefele Pump Sales,
                    Inc.
                    P.O. Box 60576
                    King Of Prussia, PA 19406

                    Miller Lighting & Energy Inc
                    12 Penns Trail
                    Newtown, PA 18940

                    Miller Packaging Materials
                    PO Box 939
                    Buckingham, PA 18912

                    Miller Studios Inc
                    2 Keystone Avenue
                    Cherry Hill, NJ



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                    Miller Truck Leasing
                    7550 N. Crescent Blvd.
                    Pennsauken, NJ 08110

                    Miller Weldmaster Corp.
                    422 Alabama Ave. Sw
                    Navarre, OH 44662

                    Miller Weldmaster Corp.
                    4220 Alabama Ave. Sw
                    Navarre, OH 44662

                    Miller-Stephenson Chemical
                    Co.
                    P.O. Box 950
                    Danbury, CT 06813-0950

                    Mills Construction Products
                    13904 Hurontario Street
                    Inglewood, Ontario
                    Lon 1kd

                    Millsboro Lumber
                    Box I,
                    Millsboro, PA 15348

                    Milltronics Mfg. Co.
                    1400 Mill Lane
                    Waconia, MN 55387

                    Milltronics
                    P.O. Box 961013
                    Fort Worth, TX 76161-0013

                    Millville Iron Works
                    117 So. Sixth Street
                    Millville, NJ 08332

                    Milton J. Feldman Advertising
                    901-A Cedarbrook Hill Apts
                    8460 Limekiln Pike
                    Wyncote, PA 19095

                    Milwaukee Electric Tool Corp
                    388 Reed Road
                    Broomall, PA 19008




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                    Mimco Equipment LLC
                    1509 Chichester Avenue
                    Linwood, PA 19064-7256

                    Mindspring Enterprises, Inc.
                    1430 W Peachtree St NW
                    Suite 400
                    Atlanta, GA 30309

                    Mineral Springs Bottled Wtr
                    Rd 1
                    Box 44
                    Petersburg, PA 16669

                    Minland International Corp.
                    320 Rolling Knolls Way
                    Bridgewater, NJ 08807

                    Minmetals Zhongshan
                    Hinges Factory
                    No 61, Donggang Rd, Dongshen
                    Town,
                    Zhongshan City, Guangdong
                    Province,
                    China

                    Minolta Financial Svcs.
                    Ref No. 24431662
                    PO Box 41601
                    Philadelphia, PA 19101-1601

                    Minot Lumber & Hardware
                    204 20th Ave Se,
                    Minot, ND 58702 1147

                    Minteq International Inc.
                    Zedmark Division
                    P.O. Box 8500 (S-5605)
                    Philadelphia, PA 19178-5605

                    Miracle Paint Rejuvenator
                    Co., Inc.
                    6160 Claude Way East
                    Inver Grove Heights, MN
                    55076-4433




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                    Miraglia, James, A Minor
                    Marie Browne, His Parent And
                    Natural Guardian, And,
                    Michael A. Paul, Attorney

                    Mirillas Opticas S L
                    Cuartel De Levante, 7
                    08150 Pasrest Del Valles
                    Barcelona

                    Misco America/Power Up
                    One Misco Plaza
                    Holmdel, NJ 07733

                    Misco Inc.
                    PO Box 677
                    Holmdel, NJ    7733

                    Misco
                    One Misco Plaza
                    Holmdel, NJ 07733

                    Missouri Department Of
                    Revenue
                    Taxation Bureau
                    PO Box 840
                    Jefferson City, MO 65105-
                    0840

                    Mister Softie Inc
                    901 E Clements Bridge Rd
                    Runnemede, NJ 08078

                    Misumi Usa Inc.
                    1105 Remington Rd.
                    Suite B
                    Schaumburg, IL 60173

                    Mitchell Associates Inc
                    PO Box 57, CAnton, MA 02021

                    Mitchell Hardware Co
                    235 Delsea Dr
                    Sewell, NJ 08080




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                    Mitchell Inc.
                    PO Box 128
                    Emporia, VA 23847

                    Mitchell Instrument
                    1570 Cherokee St.
                    San Marcos, CA 92069

                    Mitchell Marketing Group Inc
                    7190 Maple Ln
                    Hartford, WI 53027

                    Mitchell Marketing Group
                    2 Redtail Dr
                    Bluffton, SC 29909

                    Mitel Networks Solutions,
                    Inc.
                    36560 Treasury Center
                    Chicago, IL 60694-6500

                    Mitsubishi Int'l Corp
                    2 Walnut Grove Drive
                    Suite 190
                    Horsham, PA 19044

                    Mitsui & Co Usa
                    200 Park Ave
                    36th Floor
                    New York, NY 10166

                    Mitsui & Co.(U.S.A.), Inc.
                    200 Park Avenue
                    New York, NY 10166

                    Mittelstaedt Galaviz Mylin
                    Inc
                    341 Broadway St
                    San Francisco, CA 94133

                    Mj Metals
                    201 Hancock Avenue
                    Bridgeport, CT 06605

                    Mjv Quality Products
                    P.O. Box 5041
                    Lafayette, IN 47903-5041



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                    Mlgba
                    PO Box 528
                    Wynnewood, PA 19096

                    M-Line
                    300 Old Reading Pike
                    Bldg. 8a
                    Stowe, PA 19464

                    Mma Model Management Agency
                    106 South Bellevue Avenue
                    Suite 212
                    Langhorne, PA 19047

                    Mmc
                    Mbia Muniservices
                    714 Market Street 3rd Fl
                    Philadelphia, PA 19105

                    Mo' Money Associates Inc
                    Dept 4907
                    PO Box 2153
                    Birmingham, AL 35287 4907

                    Mobil Oil Credit Corporation
                    P.O. Box 85100
                    Louisville, KY 40285-5100

                    Mobile Comm
                    P.O. Box 4326
                    Carol Stream, IL     60197-4326

                    Mobile Dredging & Pumping Co.
                    3100 Bethel Road
                    Chester, PA 19013-1405

                    Mobile Lifts, Inc.
                    3476 Germantown Pike
                    Collegeville, PA 19426-1554

                    Mobile Locksmith
                    Kings Hill
                    PO Box 2059
                    St Croix, VI 00851 2059




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                    Mobile Media
                    65 Challenger Rd
                    Ridgefield, NJ 07660

                    Mobilecomm
                    3392 Progress Drive
                    Suite F
                    Bensalem, PA 19020

                    Mobilecomm
                    P.O. Box 23604-051
                    Newark, NJ 07189-0604

                    Mocap Plastic Products
                    13100 Manchester Road
                    St Louis, MO 63131

                    Moczik Tool And Die Works
                    Of Canada Limited
                    21 Gregory Drive West
                    P.O. Box 489
                    Chatham, Ontario Canada
                    N7m 5k6

                    Model Management Agency Inc.
                    106 South Bellvue Avenue
                    Suite 205
                    Langhorn, PA 19047

                    Modelscout, Inc.
                    651 Rugby Street
                    Orlando, FL 32804

                    Modern Aluminum Finishing Co.
                    P.O. Box 490
                    Adel, GA 31620

                    Modern Equipment Co.
                    2590 Unionville Pike
                    Hatfield, PA 19440-1811

                    Modern Equipment Sales & Rent
                    201 West Church Road
                    Suite 500
                    King Of Prussia, PA 19406




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                    Modern Group Ltd
                    2501 Durham Rd
                    PO Box 710
                    Bristol, PA 19007 0710

                    Modern Handling Equip. Co.
                    PO Box 8500 (S-1880)
                    Philadelphia, PA 19178

                    Modern Handling Equipment Co
                    PO Box 710
                    2501 Durham Road
                    Bristol, PA 19007

                    Modern Handling Equipment Co.
                    2501 Durham Road
                    Bristol, PA 19007

                    Modern Hilift Equipment Co.
                    1165 Matson Ford Rd
                    West Conshohocken, PA 19428

                    Modern Industrial Services
                    2050 Collier Ave, Ste 104
                    Fort Myers, FL 33901

                    Modern Light Metals, Inc.
                    920 Boyer Road
                    Coloma, MI 49038

                    Modular Indust. Computers,
                    Inc.
                    6025 Lee Highway
                    Suite 340
                    Chattanooga, TN 37421

                    Modular Machine
                    460 Caredean Drive
                    Horsham, PA 19044-1325

                    Moffitt Corporation
                    6393-A Powers Ave.
                    Jacksonville, FL 32217

                    Molten Metal Equipment Inc.
                    16286 Nauvoo Road
                    Middlefield, OH 44062



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                    Momar, Inc.
                    Drawer Cs 100465
                    Atlanta, GA 30384-0465

                    Mo'money Associates
                    Attn: Janine Mc Donald
                    3838 North Palafox St
                    Pensacola, FL 32505

                    Monahan Fence
                    2 Greenfield Court
                    Newark, DE 19719

                    Monarch Cortland
                    641 N.Y.S. Route 13 South
                    Cortland, NY 13045

                    Monarch Life Insurance
                    Company
                    PO Box 371340m
                    Pittsburgh, PA 15250-7340

                    Mondor Lumber Inc.
                    231 Place Frontenac
                    Pointe Claire
                    Quebec
                    Ontario Canada
                    H9r 4z7

                    Money
                    P.O. Box 61740
                    Tampa, FL 33661-1740

                    Moneyline Telerate
                    135 South Lasalle Street
                    Dept. 2096
                    Chicago, IL 60674-2096

                    Monmouth County Probation
                    20 Gibson Place
                    PO Box 1259
                    Freehold, NJ 07728

                    Monmouth Recycling
                    492 R. Joline Ave
                    Long Branch, NJ




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                    Monroe Creative Partners
                    1435 Walnut St, Ste 600
                    Philadelphia, PA 19102

                    Monroe Hardware Company
                    Attn: Nancy Vander Kaay
                    PO Box 5015
                    Monroe, NC 28111

                    Monroe Lock & Safe
                    221 N Monroe St
                    Monroe, MI 48162

                    Monroe Tool & Die Inc.
                    197 Sharps Road
                    Willamstown, NJ 08094

                    Monroe Tool & Die Inc.
                    197 Sharps Road
                    Williamstown, NJ 08094

                    Monsanto Enviro-Chem Sys.
                    14522 South Outer Forty
                    Suite 100
                    St. Louis, MO 63178

                    Monsoon Microstudios
                    948 North 8th Street
                    Philadelphia, PA 19123

                    Monster Inc.
                    P.O. Box 34649
                    Newark, NJ 07189-4649

                    Monstertrak.Com
                    1964 Westwood Blvd.
                    3rd Floor
                    Los Angeles, CA 90025

                    Montgomery Scrap Corp.
                    15000 Southlawn Lane
                    Rockville, MD 20850

                    Montreal Extrusion, Inc.
                    158 Ch De La Reine
                    Quebec, Canada A J0R1N0




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                    Montville Plastics & Rubber
                    15567 Main Market Road
                    P.O. Box 527
                    Parkman, OH 44080

                    Moore Business Forms
                    2000 Midlantic Drive
                    Suite 400
                    Mount Laurel, NJ 08054-1512

                    Moore Business Solutions
                    Direct
                    30 Hazelwood Drive
                    Suite 100
                    Amherst, NY 14228-2295

                    Moore Industrial Hardware
                    75 Circle Freeway Drive
                    Cincinnati, OH 45246

                    Moore Medical Corp
                    389 John Downey Drive
                    PO Box 2620
                    New Britain, CT 06050-2620

                    Moore Medical Corporation
                    P.O. Box 31773
                    Hartford, CT 06150-1773

                    Moore North America, Inc.
                    PO Box 6147,
                    Carol Stream, IL 60197-6147

                    Moore Wallace
                    Moore Wallace
                    PO Box 13663
                    Newark, NJ 07188-0663

                    More Direct
                    Department 213380
                    Miami, FL 33121-3380

                    Moredirect
                    7300 North Federal Highway
                    Suite 200
                    Boca Raton, FL 33487




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                    Moretti Associates
                    42 Cedar St
                    Oneonta, NY 13820

                    Morgan Distribution
                    PO Box 5041
                    Dept. 300
                    Wallingford, CT 06492-7541

                    Morgan Paper
                    33 East South Street
                    Smyrna, DE 19977

                    Morgan Paper
                    PO Box 5011
                    Severna, MD 21146

                    Morgan Plumbing Supply
                    1033 W Dominick St
                    Rome, NY 13440 2925

                    Morgan Wholesale
                    PO Box 1347
                    Kingston, PA 18704

                    Morgan,Lewis & Bockius LLP
                    2000 One Logan Square
                    Philadelphia, PA 19103-6993

                    Morris Material Handling
                    1801 Gallagher Road
                    Plymouth Meeting, PA 19462

                    Morrow Ornamental Iron
                    Attn: Martha
                    12099 County Road 37
                    Selma, AL 36701

                    Morse Fluid Technologies Inc.
                    P.O. Box 283
                    Ramsey, NJ 07446

                    Morse Moving & Storage Inc.
                    27800 Wick Road
                    Romulus, MI 48174




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                    Morse Watchmans Inc.
                    2 Morse Road
                    Oxford, CT 06478

                    Morton Coatings Inc. No Bruns
                    P.O. Box 73215
                    Chicago, IL 60673-7215

                    Morton's Paint Center
                    107 W. Main St
                    Maple Shade, NJ 08052

                    Mor-X Plastics
                    4450 Lake Park Road
                    Youngstown, OH 44512

                    Mosaic Technology
                    11b Industrial Way, Unit 3
                    Salem, NH 03079-2838

                    Most Electric Inc.
                    114 E. Rankin Street
                    Jackson, MS 39201

                    Motion Industries Inc
                    28 Industrial Dr.
                    Unit 8
                    Trenton, NJ 08619

                    Motion Industries Inc.
                    28 Industrial Dr. Unit B
                    Trenton, NJ 08619

                    Motor Fuel Tax Administration
                    P.O. Drawer E
                    Department Of Transportation
                    Dover, DE 19903-1565

                    Motor Machine
                    1956 Woodbridge Avenue
                    Edison, NJ 08817

                    Motor Systems Inc.
                    501 Technecenter Drive
                    Milford, OH 45150




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                    Motor Systems, Inc.
                    501 Technecenter Drive
                    Suite F, MI lford, OH
                    451050

                    Motorcar Colors
                    772 E. Main St.
                    PO Box 532
                    Moorestown, NJ 08057

                    Motorcar Colors
                    PO Box 532
                    772 E. Main Street
                    Moorestown, NJ 08057

                    Motorola Cellular Serv Inc
                    P.O. Box 75904
                    Chicago, IL 60675-5904

                    Moultrie Manufacturing Comp.
                    PO Box 2948
                    1403 Hwy 133 S.
                    Moultrie, GA 31776-2948

                    Mountain Country Marketing
                    890 Diana Hills Way
                    Sandy, UT 94094

                    Mountain Valley Recreational
                    410 Main Street
                    Gorham, NH 03581

                    Moxley Skan-A-Matic
                    750 Springton Road
                    Glenmoore, PA 19343-1208

                    Moye Handling Systems, Inc.
                    P.O. Box 785
                    Somerville, NJ 08876

                    Mpb Hoist & Crane
                    P.O. Box 7399
                    North Arlington, NJ     07031

                    Mpc Industries
                    9111 River Road
                    Delair, NJ 08110



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                    Mphusky Corp.
                    355 Woodruff Rd.
                    Suite 208
                    Highland Par
                    Greenville, SC 29607

                    Mr Lock Inc
                    1820 Rlance Pky, Ste 500
                    Bedford, TX 76021 6126

                    Mr. & Mrs. Underwood
                    4209 De Haven Drive
                    Chantilly, VA 22021

                    Mr. Bob
                    151 Big Hill Road
                    Southampton, NJ 08080

                    Mr. Bradem
                    1725 Biden Lane
                    Gloucester, NJ 08094

                    Mr. Harris
                    601 New Street
                    Williamstown, NJ     08094

                    Mr. Paint All
                    44 N. 7th Avenue
                    Beech Grove, IN 46107

                    Mrp Plastics, Inc.
                    PO Box 458
                    Richboro, PA 18954

                    Mrs. Ortiz
                    121 Glen Hollow Dr.
                    Port Jefferson Station, NY
                    11776

                    Ms Deca
                    C/O Maple Shade High School
                    Clinton & Frederick Avenues
                    Maple Shade, NJ 08052-3299

                    Msa Instrument Division
                    300 Walden Road
                    Cranberry Twp., PA 16006



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                    Msb Associates L.L.C.
                    1117 Rivage Promenade
                    Wilmington, NC 28412

                    Msb Associates
                    115 South Fawn Forest Lane
                    Pittsboro, NC 27312

                    Msc - Pre-Finish Metals
                    120 Enterprise Ave.
                    Morrisville, PA 19067

                    Msc Industrial Supply Co
                    Dept Ch 0075,
                     Palatine, IL 60055-0075

                    Msc Industrial Supply Company
                    P.O. Box 9072
                    Melville, NY 11747

                    Msc Pre-Finish Metals
                    New Ford Mill Road
                    Morrisville, PA 19067

                    Msc
                    9 Bonair Drive
                    Warminster, PA    18974

                    Msci Mid-South Chapter
                    Mike Young Treasurer
                    C/O Chatham Steel
                    401 Avenue W
                    Birmingham, AL 35214

                    Msci Philadelphia Chapter
                    Russ Edborg- Golf Committe
                    C/O Olympic Steel
                    10 Industrial Highway Ms#39
                    Lester, PA 19113

                    Msd Industries, Inc.
                    /Industrial Hose & Belting
                    458 Atlantic Avenue
                    Camden, NJ 08104




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                    MSGI Inc
                    304 Park Ave South
                    6th FLoor
                    New York, NY 10010

                    Msi-Viking Gauge LLC
                    321 Tucapau Road
                    P.O. Box 537
                    Duncan, SC 29334

                    Mt. Holly Concrete
                    PO Box 957
                    Marlton, NJ 08053

                    Mt.Laurel Municipal Court
                    100 Mt.Laurel Road
                    Mt.Laurel, NJ 08054

                    Mtlm - Naporano
                    135 S. Lasalle Street
                    Dept 2180d
                    Chicago, IL 60674-2180

                    Mtlm Northeast
                    2430 Paysphere Circle
                    Chicago, IL 60674

                    Mtlm Northeast/Naporano
                    2180 Paysphere Circle
                    Chicago, IL 60674

                    Mulch Express LLC
                    267 Amberfield Dr
                    Mt Laurel, NJ 08054

                    Mulch Express
                    267 Amberfield Drive
                    Mt. Laurel, NJ 08054

                    Muller, Muller, Richmond,
                    Harms, Meyer & Sgr
                    161 Ottawa, Nw
                    Suite 205-E
                    Grand Rapids, MI 49503




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                    Multi-Measurements Inc.
                    1 Madison Ave.
                    Suite 06
                    Warminster, PA 18974

                    Multitech International Hk
                    Ltd
                    Rm. 30, 5/F Blk. A, Cambridge
                    Plaza
                    188 Sun Wan Road, Sheung
                    Shui, N.T.
                    Hong Kong

                    Multitech, Inc.
                    1220 American Blvd
                    West Chester, PA 19380-4268

                    Municipal Court
                    City Of Margate
                    1 South Washington Ave.
                    Margate, NJ 08402

                    Municipal Court
                    Township Of Pennsauken
                    2400 Bethel Ave.
                    Pennsauken, NJ 08109

                    Municipal Maintenance Co,
                    Inc.
                    1352 Taylors Lane
                    Cinnaminson, NJ 08077

                    Munin, Rob
                    26 Cedar Meadow Lane
                    Media, PA 19063

                    Muniservices, LLC
                    51 North Third St.
                    Pmb #215
                    Philadelphia, PA 19106-4597

                    Munroe Creative Partners
                    1435 Walnut St.
                    Suite 600
                    Philadelphia, PA 19102




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                    Munroe Creative Partners
                    1435 Walnut Street
                    Suite 600
                    Philadelphia, PA 19102

                    Murlin Chemical, Inc.
                    10 Balligomingo Road
                    W Conshohocken, PA 19428

                    Murphy & Read Spring Mfg. Co
                    617 W. Sixth St
                    PO Box 211
                    Palmyra, NJ 08065

                    Murphy & Read Spring Mfg. Co.
                    P.O. Box 211
                    Palmyra, NJ 08065

                    Murphy Development
                    780 Parkview Rd
                    Green Bay, WI 54304 5779

                    Murphy Ford Lincoln-Mercury
                    3310 Township Line
                    Chester, PA 19013

                    Muscular Dystrophy Assoc.
                    C/O Union Planters Bank
                    1 Cottomwood Road, Box 520
                    Glen Carbon, IL 62034-0520

                    Musik Klips Inc.
                    7536 Rindge Ave.
                    Playa Del Rey, CA     90293-8038

                    Mustang Express Trucking Inc
                    306 Titusville Road
                    Poughkeepsie, NY 12603

                    Mutimer Company
                    3138 Butler Pike
                    P.O. Box 630
                    Plymouth Meetig, PA     19462

                    Mutual Industries Inc
                    707 West Grange St
                    Philadelphia, PA 19120



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                    Mw/Patriot Mfg Inc
                    999a South Grand St
                    PO Box 498
                    Hammonton, NJ 08037

                    Mwi Inc.
                    P.O. Box 8000
                    Dept. 427
                    Buffalo, NY 14267

                    Mx Industrial
                    35 Steamwhistle Drive
                    Ivyland, PA 18974

                    My Pool Supply
                    1325 Peachtree Industrial Bl
                    Sugar Hill, GA 39518

                    Myers Brothers, Inc.
                    Box 7916
                    5101 Mackay Rd.
                    Greensboro, NC 27417

                    Myers Maintenance Co. LLC
                    900 North Delsea Drive
                    Clayton, NJ 08312

                    Myers Tire Supply Co.
                    9210 Collins Ave.
                    Pennsauken, NJ 08110

                    Myron E. Wasserman
                    Chapter 13 Trustee
                    P.O. Box 92033e
                    Cleveland, OH 44101-4033

                    Myung-Do Co Ltd
                    Unit No. 201, #509-2
                    Euijungbu-2 Dong, Euijungbu
                    City,
                    Kyungkee-Do, Korea
                    Cpo Bx 4344, Seoul

                    N V R Building Products Co
                    200 Veterans Dr
                    Portland, TN 37148




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                    N.A.G.S.
                    Grant & Frankford Ave
                    Phialdelphia, PA 19114

                    N.A.R.I.
                    1999 Booth Payments
                    2200 Wilson Bld Suite 200
                    Arlington, VA 22201-3324

                    N.C. Department Of Revenue
                    P.O. Box 25000
                    Raleigh, NC 27640-0001

                    N.C. Department Of Revenue
                    PO Box 25000
                    Raleigh, NC 27640-0700

                    N.D.C. Corporation
                    1548 Foard Road
                    Bensalem, PA 19020

                    N.E.B.S.
                    PO Box 88042
                    Chicago, IL 60680-1042

                    N.F.R.C., Inc.
                    6305 Ivy Lane
                    Suite 140
                    Greenbelt, MD 20770

                    N.J. Division Of Motor Veh.
                    CN 009
                    Trenton, NJ 08666-0009

                    N.J. State Bar Association
                    New Jersey Law Center
                    One Constitution Square
                    New Brunswick, NJ 08901-1520

                    N.J. State Disability
                    Benefits Fund
                    P.O. Box 0878
                    Newark, NJ 07101-0878

                    N.J.A.A.S.
                    1 Riverside Drive
                    Camden, NJ 08103



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                    N.J.P.D.F.
                    New Jersey Police Defense
                    Foundation
                    927 Route 33 Suite 250
                    Trenton, NJ 08690

                    N.K. Frea's Sons
                    1028 Poquessing Ave
                    At Rt. 13
                    Andalusia, PA 19020

                    N.S.I.
                    102 Great Hill Road
                    Naugatuck, CT 06770

                    N.Y. Workers' Compensation
                    Board Finance Office
                    100 Broadway
                    Albany, NY 12241

                    N.Y.C. Dept Of Finance,
                    Parking Violations
                    PO Box 2127
                    New York, NY 10272-2127

                    N.Y.S. Dept. Of Labor Ui
                    Division
                    GPO
                    PO Box 27435
                    New York, NY 10087-7435

                    Naad Central States Chapter
                    C/O Peterson Aluminum
                    Attn: Mike Palesny
                    1005 Tonne Road
                    Elkgrove, IL 60007

                    Naad Northern Ohio Chapter
                    Gary W. Stamm
                    Copper And Brass Sales Inc.
                    5755 Grant Ave.
                    Cleveland, OH 44105

                    Nachsin Entertainment
                    PO Box 154
                    Newtown, PA 18940




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                    Nacolah
                    PO Box 2419
                    Bedford Park, IL     60499-2419

                    Nada Associates
                    422 Ironwood Drive
                    Canonsburg, PA 15317

                    Nalco Company
                    1222 Forest Parkway
                    Suite 100
                    Paulsboro, NJ 08066

                    Names Group
                    693 Jolson Avenue
                    Akron, OH 44319

                    Nami
                    11870 Merchants Walk
                    Suite 202
                    Newport News, VA 23606

                    Nan Pi Zhao Zhuang Spring
                    Hdwe
                    Zhai Zhunag Village,
                    Nan Pi County
                    He Bei Province
                    061510 China

                    Nance Sales Company
                    9537 E Hercules Dr
                    Chandler, AZ 85248

                    Nancy A Effinger
                    504 Jefferson St
                    Riverside, NJ 08075

                    Nancy Carpey
                    532 Foxglove Ln
                    Wynnewood, PA 19096

                    Nancy Effinger
                    9a First Monthgomery Dr
                    Mt Holly, NJ 08060




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                    Nancy L Knipp
                    14 Purnell Ave
                    Cinnaminson, NJ 08077

                    Nanhai Kaili Hdw Prod Co Ltd
                    Shunxing Rd, Hegui Industry
                    City
                    Heshun, Nanhai
                    China 528241
                    Guangdong

                    Nanov Display Inc
                    13621 Deering Bay Drive # 60
                    Coral Gables, FL 33158

                    Nap Tools LLC
                    North American Products
                    120 South 16th Street
                    Lebanon, PA 17042

                    Napco, Incorporated
                    PO Box 87-7475
                    Kansas City, MO 64187-7475

                    Naples Shutter
                    2221 Corporation Blvd
                    Naples, FL 34109 2017

                    Napm
                    2055 East Centennial Circle
                    P.O. Box 22160
                    Tempe, AZ   85285

                    Napoleon Staffing Services
                    PO Box 10
                    Chektenham, PA 19012

                    Naporano Iron & Metal Co.
                    P.O. Box 5158
                    Newark, NJ 07105

                    Nasco Industries Inc.
                    Fort Lauderdale Commerce
                    Center 3541 N.W. 53 St.
                    Fort Lauderdale, FL 33309




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                    Nasdaq Stock Market, Inc.
                    Department 0522
                    Washington, DC 20073-0522

                    Nash Engraving, Inc.
                    206-208 N. Broadway
                    Gloucester City, NJ 08030

                    Nashville Door Closer Service
                    1827b 12th Ave S
                    Nashville, TN 37203 5405

                    Nasua Express
                    57 Danial Webster Hwy
                    Merrimack, NH 03054

                    Nat Alexander Company, Inc.
                    121 White Horse Pike
                    Laurel Springs, NJ 08021

                    Natalie Abram
                    Viscount Pools
                    36568 Groesbeck Highway
                    Clinton Township, MI 48035

                    Natco Inc.
                    P.O. Box 3342
                    Omaha, NE 68103

                    Nathaniel Finnel
                    7900 York Rd
                    Apt 713b
                    Elkins Park, PA 19027

                    Nation Wide Market Share Inc.
                    4535 W. Sahara Ave. #217
                    Las Vegas, NV 89102

                    National Accreditation And
                    Management Institute, Inc
                    11870 Merchants Walk - Suite
                    202
                    Newport News, VA 23606

                    National Airviews Inc.
                    11412 Williamsport Pike
                    Greencastle, PA 17225



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                    National Ammonia
                    P.O. Box 7777-W2170
                    Philadelphia, PA 19175

                    National Assoc Of Credit Man
                    Credit Management
                    PO Box 22827
                    Tampa, FL 33622

                    National Assoc. Of Colleges
                    And Employers
                    62 Highland Avenue
                    Bethlehem, PA 18017

                    National Association Of Home
                    Builders
                    1201 15th Street NW
                    Washington, DC 20005-2800

                    National Association Of
                    Aluminum Distributors
                    1900 Arch Street
                    Philadelphia, PA 19103-1498

                    National Association Of
                    Aluminum Dustributors
                    Mid-Atlantic Chapter
                    Collingdale, PA 19023

                    National Association Supply
                    Co-Operative, Inc.
                    P.O. Box 1015
                    New Philadelphia, OH 44663

                    National Bag
                    2233 Old Mill Road
                    Hudson, OH 44236

                    National Basic Sensor
                    4921 Carver Avenue
                    Trevose, PA 19053

                    National Bullet Proof, Inc.
                    9855 S. 78th Avenue
                    Hickory Hills, IL 60457-2324




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                    National Business Furniture
                    In
                    735 N Water Street
                    PO Box 92952
                    Milwaukee, WI 53202

                    National Business Institute
                    P.O. Box 3067
                    Eau Claire, WI 54702

                    National Business Supply Inc.
                    5419 S Decatur
                    Suite A
                    Las Vegas, NV 89118

                    National Carbide Saw Co
                    7353 State Road
                    Philadelphia, PA 19136

                    National Carbide Saw Company
                    7353 State Road
                    Philadelphia, PA 19136

                    National Carbide Saw Company
                    7353 State Road
                    Philadelphia, PA 19136

                    National Certified Testing
                    5 Leigh Drive
                    York, PA 17406

                    National City Commercial
                    Capital Corp.
                    PO Box 931034
                    Cleveland, OH 44193

                    National City Corporation
                    1900 East Ninth Street
                    Cleveland, OH 44193

                    National Filter Media Corp.
                    9 Fairfield Boulevard
                    Wallingford, CT 06492




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                    National Fire Protection
                    Assoc
                    P.O. Box 9689
                    Manchester, NH 03108-9806

                    National Flag & Banner Co.
                    1214 Arch Street
                    Philadelphia, PA 19107

                    National Freight Inc
                    P.O. Box 8500-(S-4535)
                    Philadelphia, PA 19178-4535

                    National Freight, Inc.
                    PO Box 11679-Dep t591
                    Newark, NJ 07101

                    National Glass Association
                    8200 Greensboro Dr
                    Suite 302
                    Mclean, VA 22102-3881

                    National Glass Association
                    8200 Greensboro Dr, Ste 302
                    Mclean, VA 22102

                    National Guardian Security
                    Ser
                    P.O. Box 85790
                    Louisville, KY 40285-5790

                    National Instrument Repr.
                    Stds
                    Div Speck Ind Controls
                    1503 Glen Ave Bldg 100
                    Moorestown, NJ 08057

                    National Millwrights Inc.
                    PO Box 181
                    Salfordville, PA 18958-0181

                    National Millwrights
                    & Installers Inc.
                    2166 Quarry Road
                    Salfordville, PA 18958




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                    National Northeast Corp.
                    33 Bridge St.
                    P.O. Box 1000
                    Pelham, NH 03076

                    National Northeast
                    Corporation
                    C/O Bank Boston
                    P.O. Box 5-0481
                    Woburn, MA 01815-0481

                    National Notary Association
                    PO Box 2402
                    Chatsworth, CA 91313-9965

                    National Packaging Special
                    PO Box 1207
                    Mountainside, NJ 07092

                    National Recycling Center,
                    Inc
                    105 Skillen Street
                    Buffalo, NY 14207

                    National Revenue Corporation
                    PO Box
                    182,964.00
                    Columbus, OH 43218-2964

                    National Safety Apparel
                    P.O. Box 901189
                    Cleveland, OH 44190-0003

                    National Sash & Door Jobbers
                    Association Inc
                    10047 Robert Trent Jones Pkwy
                    New Port Richey, FL 346554649

                    National Stainless And Alloy
                    P.O. Box 60340
                    King Of Prussia, PA 19406

                    National Stainless And Alloy
                    Queens Drive And Henderson
                    Road
                    King Of Prussia, PA 19406




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                    National Tool Grinding, Inc.
                    1920 West 8th Street
                    Erie, PA 16505-4935

                    National Traffic Service Inc
                    151 John James Audubon Pkwy
                    Amherst, NY 14228 1185

                    National Truck Equip. Assoc.
                    37400 Hills Tech Drive
                    Farmington Hill, MI 48331-
                    3414

                    National Vinyl Products Inc
                    Attn: Scott Channell
                    7 Coburn St
                    Chicopee, MA 01013

                    Nations Way Transport
                    PO Box 710
                    Denver, CO 80201-0710

                    Nationwide Architectural
                    Metal
                    Califon Business Park-Bldg.#1
                    412 Trimmer Road
                    Califon, NJ 07830

                    Nationwide Architectural
                    Metals, Inc
                    412 B Trimmer Road
                    Califon, NJ 07830

                    Nationwide Credit, Inc
                    PO Box 740617
                    Atlanta, GA 30342

                    Nationwide Industrial Supply
                    8414 South Ave
                    Youngstown, OH 44514

                    Nationwide Industries
                    10333 Windhorst Road
                    Tampa, FL 33619




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                    Nationwide Recovery Systems
                    2304 Tarpley Drive
                    Suite 134,
                    Carrollton, TX 75006

                    Nationwide Recovery Systems
                    2550 Midway Rd.
                    Suite 200
                    Carrollton, TX 75370

                    Nat'l Assoc. Of Home Builder
                    1201 15th St. Nw
                    Washington, DC 20005-2800

                    Nat'l Guardian Sec Svcs Corp
                    PO Box 26
                    1816 West Point Pike
                    West Point, PA 19486-0026

                    Nat'l Spa & Pool Inst - Can
                    7370 Bramalea Road
                    Unit 5,
                    Mississauga L5s 1n6
                    Canada

                    Ncneill Construction Co.
                    17 Herbert Place
                    Newark, NJ 07104

                    Nco Financial Systems, Inc.
                    P.O. Box 13579
                    Philadelphia, PA 19101-3579

                    Nco Financial Systems, Inc.
                    PO Box 8708
                    Metairie, LA 70010

                    Ncs Publications Group
                    PO Box 24101
                    Cleveland, OH 44124

                    Neal Systems Incorporated
                    122 Terry Dr.
                    Newtown, PA 18940




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                    Nebs Business Forms
                    500 Main Street
                    Groton, MA 01471

                    Neemar Inc.
                    P.O. Box 5539
                    2 Anco Drive
                    Deptford, NJ 08096

                    Nei Of Pa., Inc.
                    1850 Gravers Road
                    Norristown, PA 19406

                    Neilson Door & Window
                    PO Box 840837
                    Hildale, UT 84784

                    Nelco Hardware & Supply, Inc.
                    214 West Davis Dr.
                    Magnolia, NJ 08049

                    Nelson B. Cooney & Son Inc.
                    P.O. Box 53
                    Medford, NJ 08055

                    Nelson Stud Welding, Inc.
                    260 Boot Road
                    Downingtown, PA 19335

                    Nelson Wire Rope Corp.
                    3051 Penn Avenue
                    Hatfield, PA 19440

                    Nemf
                    1-71 North Avenue East
                    PO Box 6031
                    Elizabeth, NJ 07207-6031

                    Neopost Leasing
                    PO Box 45822
                    San Francisco, CA     94145-0822

                    Nep/Jed Industries
                    315 Popular Street
                    Scranton, PA 18509




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                    Neps Holding Co., Inc.
                    333 West 206th Street
                    New York, NY 10034

                    Neptune Iron & Metal
                    101 Memorial Drive
                    Neptune, NJ 07753

                    Nerio Rivera
                    1207 Central Ave
                    Matawan, NJ 07747 1063

                    Nerio Rivera
                    75 Pine Creek Estates
                    East Stroudsburg, PA 18301

                    Netdesign Inc.
                    181 Genesee Street
                    Suite 500
                    Utica, NY 13501

                    Netts
                    3715 E Thompson Street
                    Philadelphia, PA 19137

                    Network Solutions Inc.
                    P.O. Box 17305
                    Baltimore, MD 21297-0525

                    Network Solutions
                    13200 Woodland Park Rd
                    Herndon, VA 20171

                    Network Solutions, Inc.
                    PO Box 17305
                    Baltimore, MD 21297-0525

                    New Age Industries
                    147 James Way
                    Southampton, PA 18966

                    New Age Industries
                    PO Box 8500-S5810
                    Philadelphia, PA 19178-5810

                    New Armadillo Cover Co.
                    PO Box 691262
                    Houston, TX 77269


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                    New Century Transportation
                    Inc
                    PO Box 8500-53478
                    Philadelphia, PA 191783478

                    New England Business Service,
                    Inc.
                    500 Main Street
                    Att: A/R
                    Groton, MA 01471-0004

                    New England Chapter - Nspi
                    PO Box 997
                    Lynnfield, MA 01940

                    New England Motor Freight Inc
                    1-71 North Ave, East
                    PO Box 6031
                    Elizabeth, NJ 072076031

                    New England Motor Freight
                    Inc.
                    P.O. Box 6031
                    Elizabeth, NJ 07207-6031

                    New Hampshire Materials Lab
                    22 Interstate Drive
                    Somersworth, NH 03878-1209

                    New Harry's Discount
                    Rt. 130
                    9417 N. Crescent Boulevard
                    Pennsauken, NJ 08110

                    New Hocha Aluminum Ind Co Ltd
                    Nanhai Foshan
                    Xing Xian Rd,M Dali Town
                    Nanhai City, 321 National Rd
                    China 528231
                    Guangdong

                    New Holland Credit Company
                    P.O. Box 7247-0170
                    Philadelphia, PA 19170-0170




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                    New Horizon
                    1044 Laurel Oak Road, Suite 5
                    Voorhees, NJ 08043

                    New Jersey Art Supply Inc
                    926 Haddonfield Rd
                    Cherry Hill, NJ 08002

                    New Jersey Family Support
                    Payment Center
                    P.O. Box 4880
                    Trenton, NJ 08650

                    New Jersey Higher Education
                    Assistance Authority
                    4 Quakerbridge Plaza
                    Cn 548
                    Trenton, NJ 08625

                    New Jersey Law Journal
                    Post Office Box 18229
                    Newark, NJ 07191-8229

                    New Jersey Manufacturing
                    Extension Program, Inc.
                    P.O. Box 29004
                    Newark, NJ 07101-9004

                    New Jersey Motor Vehicle
                    Services
                    Revenue Processing Center
                    PO Box 008
                    Trenton, NJ 08646-008

                    New Jersey Painting
                    And Sandblasting Co.
                    P.O. Box 461
                    Clayton, NJ 08312

                    New Jersey State Association
                    Of Chiefs Of Police
                    777 Alexander Road, Suite 203
                    Princeton, NJ 08540




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                    New Jersey State Bldg
                    Trades Council
                    Garden State Executive Plaza
                    77 Brant Avenue
                    Clark, NJ 07066

                    New Jersey State Safety
                    Council
                    6 Commerce Drive
                    Cranford, NJ 07016-3554

                    New Jersey Steel Corp.
                    PO Box 2506
                    Cherry Hill, NJ 08034

                    New Jobs
                    Attn: Sherry Esteves
                    102 West State Street
                    Trenton, NJ 08608-1199

                    New Life Clinics
                    10971 Juanita Court
                    Grass Valley, CA 95949

                    New London Systems Inc
                    Kelton & Pennock Bridge Rd
                    PO Box 1001
                    New London, PA 19360

                    New Method Steel Stamps Inc.
                    31313 Kendall Ave
                    P.O. Box 338
                    Fraser, MI 48026

                    New Penn Motor Express Inc
                    625 S Fifth Ave
                    PO Box 630
                    Lebanon, PA 170420630

                    New Penn Motor Express
                    625 S Fifth Avenue
                    PO Box 630
                    Lebanon, PA 17042

                    New Pig Corporation
                    1 Pork Ave.
                    Tipton, PA 16684



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                    New Pig Corporation
                    One Pork Ave.
                    Tipton, PA 16684-0304

                    New Vision Windows, Inc.
                    PO Box 653
                    Walnut Grove, NC 27052

                    New York Carolina Express
                    1314 Conklin Rd
                    Box 317
                    Conklin, NY 13748-9522

                    New York City Scu
                    P.O. Box 15361
                    Albany, NY 12212-5361

                    New York Credit Group Serv.
                    49 West 45th St
                    New York, NY 10036

                    New York International Sales
                    233 East Shore Road
                    Suite 211
                    Great Neck, NY 11023

                    New York Key Service
                    1056 N Western Ave
                    Los Angeles, CA 90029 2310

                    New York Packaging Corp
                    PO Box 1228
                    Great Neck, NY 11023

                    New York Representatives Inc
                    Dba O'geary Birenbach
                    Wergeles
                    435 Main St
                    Farmingdale, NY 11735

                    New York State Department Of
                    Trans.
                    50 Wolf Rd. Pod 53
                    Albany, NY 12232




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                    New York State Sales Tax
                    Processing
                    JAF Building
                    PO Box 1208
                    New York, NY 10116-1208

                    New York State Sales Tax
                    Jaf Building
                    PO Box 1205
                    New York, NY 10116 1205

                    New York State
                    Unemployment Insurance
                    PO Box 4301
                    Birmingham, NY 13902 4301

                    New York Stock Exchange
                    Grand Central Station
                    Post Office Box 4695
                    New York, NY 10163

                    New York University
                    Stern Fund
                    P.O. Box 837
                    Peter Stuyvesant Station
                    New York, NY 10009-9984

                    New York Wire
                    PO Box 951644
                    Cleveland, OH 44193

                    Newage Testing Instruments
                    Inc
                    147 James Way
                    Southampton, PA 18966

                    Newark Electronic
                    PO Box 94151,
                     Palatine, IL 60094-4151

                    Newark Electronics
                    4801 N Ravenswood
                    Chicago, IL 60640

                    Newark Inone
                    4801 North Ravenswood Avenue
                    Chicago, IL 60640-4496



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                    Newark Prosessing
                    1367 E. Main Street
                    Newark, OH 43055

                    Newbridge Book Clubs
                    Post Office Box 6040
                    Riverside, NJ 08370-6040

                    Newport Electronics Inc.
                    2229 South Yale Street
                    Santa Ana, CA 92704-4426

                    News Journal Co.
                    PO Box 15506
                    Wilmington, DE 19886-1155

                    News Usa
                    198 Van Buren Street
                    Suite 420
                    Herndon, VA 20170

                    Newton & Associates
                    PO Box 8510
                    Metairie, LA 70011

                    Newtown Camera
                    Rte 413 & Doublewoods Rd
                    Summit Square
                    Langhorne, PA 19047

                    Next Communications
                    3070 Bristol Pike
                    Suite 101
                    Bensalem, PA 19020

                    Nextel Communications
                    P.O. Box 660075
                    Dallas, TX 75266-0075

                    Nextel Communications
                    PO Box 17621
                    Baltimore, MD 21297-1621

                    Nfl Films Inc.
                    One Nfl Plaza
                    Mount Laurel, NJ     08054




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                    Nfl Films
                    330 Fellowship Road
                    Mount Laurel, NJ 08054

                    Nfpa
                    PO Box 9143
                    Quincy, MA 02169

                    Ng, Inc.
                    501 Locust Street
                    Gasden, AL 35901

                    Nga Exhibits
                    8200 Greensboro Dr, Ste 302
                    Mclean, VA 22102

                    Nhc Incorporated
                    2137 Rust Avenue
                    Cape Girardeau, MO     63703

                    Nhs 2008
                    C/O Reed Exhibitions
                    PO Box 7247-7585
                    Philadelphia, PA 19170 7585

                    Niagara Polymer Products
                    Division Of Curbell
                    Plastics PO Box 1850
                    Buffalo, NY 14240

                    Niagara
                    Bliss Clearing Niagara
                    1004 E. State Street
                    Hastings, MI 49058

                    Niagra Fasteners Inc.
                    6095 Progress Street
                    Niagra Falls
                    Ontario Canada
                    L2e6x8

                    Nichimen America Inc
                    1185 Avenue Of The Americas
                    New York, NY 10036




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                    Nick Mustacchio
                    Mustacchio Windows & Siding
                    PO Box 123
                    Barto, PA 19504

                    Nick Teminsky
                    3148 Sunnybrook
                    Youngstown, OH 44511

                    Nick's Towing
                    9625 River Road
                    Pennsauken, NJ 08110

                    Nielsen Products, Inc.
                    P.O. Box 1381
                    Perth Amboy, NJ 08862-1381

                    Nightingale Conant Corp.
                    Remittance Processing Ct
                    PO Box 807
                    Morton, IL 60053-0807

                    Ningbo Jintian Import
                    & Export Co Ltd
                    6f, Guangfa Mansion
                    473 Lingqiao Rd
                    China 315000
                    Ningbo

                    Ningbo Major Locks Co., Ltd
                    518 Wangchun Road
                    Ningbo, China
                    Pc 315016

                    Ningbo Micota Lock Co.Ltd.
                    Zhuangqiao
                    Ningbo China
                    P.C.315032
                    Taipei

                    Ningbo Micota Locks Co.Ltd.
                    Zhuangqiao
                    Ningbo China
                    P.C.315032
                    Taipei




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                    Ningbo Yongxing Profiled
                    Alloy Aluminum Factory
                    Wangchun Changle Mfg District
                    Lingfeng 66 Ningbo
                    China 315175
                    Zhenjing

                    Ninghai Xingda
                    Stationery Co Ltd
                    Wangjia Industry Zone
                    Xidian, Ninghai
                    China
                    Ningbo

                    Nix Brothers Hydraulics, Inc.
                    PO Box 442,
                    Marietta, SC 29661

                    Nixon Uniform Service Co.
                    2925 Northeast Blvd
                    Wilmington, DE 19802

                    NJ Dept Of Weights & Measures
                    1261 Routes 1 And 9 South
                    Avenel, NJ 07001

                    NJ Division Of Fire Safety
                    PO Box 809
                    Trenton, NJ 08625-0809

                    NJ Division Of Fire Safety,
                    NJ Dept Of Community Affairs
                    Division Of Fire Safety
                    PO Box 809
                    Trenton, NJ 08625 0809

                    NJ Employment Security Agency
                    Cn 079
                    Trenton, NJ 08625-0079

                    NJ E-Pass Violation
                    Processing Ctr
                    PO box 52005
                    Newark, NJ 07101-8205




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                    NJ Family Support Payment
                    PO Box 4880
                    Trenton, NJ 08650

                    NJ Lawyers' Fund For Client
                    Protection
                    C/O Lockbox
                    P.O. Box 500
                    Newark, NJ 07101-0500

                    NJ Lawyers' Fund
                    For Client Protection
                    5th Floor, North Wing
                    25 Market Street
                    Trenton, NJ 08625

                    NJ Motor Vehicle Commission
                    Revenue Processing Center
                    PO Box 008
                    Trenton, NJ 08646 0008

                    NJ Motor Vehicle Services
                    CN 009
                    Trenton, NJ 08666-0009

                    NJ Turnpike Authority
                    Attn: Toll Collection
                    P.O. Box 1121
                    New Brunswick, NJ 08903

                    NJwea Registrar
                    1776 South Mill Rd.
                    Vineland, NJ 08360

                    Nkc Of America, Inc.
                    158 East Brooks Road
                    Memphis, TN 38116

                    Nmfta
                    2200 Mill Road.
                    Alexandria, VA 22314

                    Nmhg Financial Services
                    P.O. Box 643749
                    Pittsburgh, PA 15264-3749




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                    Nmhg Financial Services
                    PO Box 643749
                    Pittsburgh, PA 15264-3749

                    Nna Insurance Services, Inc
                    9350 De Soto Avenue
                    PO Box 2402
                    Chatsworth, CA 91313-2402

                    No. Ohio Chapter Of Afa
                    5285 Commerce Pkwy W
                    Parma, OH 44130

                    Nobel Corporation
                    2f., No. 126 Huai An Street
                    Kaoshiung Taiwan
                    807

                    Nobert Plating Co.
                    1613 West Carroll
                    Chicago, IL 60612

                    Noble Americas Corp.
                    Stamford Harbor Park
                    333 Ludlow Street
                    Suite #1230
                    Stamford, CT 06902

                    Norandel Usa Inc
                    1762 Goosepond Drive
                    PO Box 465,Rt 9
                    Scottsboro, AL 35768

                    Norandex-Fort Wayne
                    717 Ley Road
                    Fort Wayne, IN 46825

                    Norbert Butt
                    31-49 47th St
                    Astoria, NY 11103

                    Norbet Trucking, Corp.
                    400 Metuchen Road
                    South Plainfield, NJ 07080




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                    Norco Computer Systems Inc.
                    2888 Nationwide Parkway
                    Brunswick, OH 44212-2362

                    Norel
                    1 Boulden Circle
                    New Castle, DE 19720

                    Norfield Industries
                    44 Comanche Ct.
                    Chico, CA 95928

                    Norfield Industries
                    P.O. Box 459
                    Chico, CA 95927

                    Norfield Industries
                    PO Box 459
                    Chico, CA 95927

                    Norman Librett
                    64 Main St
                    New Rochelle, NY 10801

                    Norman Machine And Tool Ltd
                    1311 South Ponca St.
                    Baltimore, MD 21224

                    North American Circulation
                    848 N. Rainbow Ave
                    Suite 1412
                    Las Vegas, NV 89107

                    North American Edm Supplies
                    34675 Melinz Parkway
                    Suite 104
                    Eastlake, OH 44095

                    North American Fence
                    1005 Freeport Road
                    PO Box 217
                    Cheswick, PA 15024

                    North American Mfg. Co
                    P.O. Box 71009
                    Cleveland, OH 44191




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                    North American Products Corp
                    Lock Box 1396
                    1396 Paysphere Circle
                    Chicago, IL 60674

                    North American Tool & Die
                    540 N. Meridian Road
                    Youngstown, OH 44509

                    North American Van Lines
                    33901 Treasury Center
                    Chicago, IL 60694-3900

                    North Carolina Dept Of Rev
                    PO Box 25000
                    Raleigh, NC 27640-0500

                    North East Memory Co. Inc.
                    445 Veit Road
                    Huntingdon Valley, PA 19006

                    North Industrial Chemical
                    609 East King Street
                    York, PA 17405

                    North Jersey Express
                    1080 Springfield Road
                    Union, NJ 07083

                    North Light Community Center
                    4001 Main Street
                    Philadelphia, PA 19127

                    Northeast Auto Outlet
                    Fleet Division
                    3301 Grant Ave
                    Philadelphia, PA 19114

                    Northeast Building Products
                    4280 Aramingo Ave
                    Philadelphia, PA 19124-5007

                    Northeast Building Products
                    4280 Aramingo Ave.
                    Philadelphia, PA 19124




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                    Northeast Electrostatic, Inc.
                    1000 Airport Road
                    Suite 104
                    Lakewood, NJ 08701

                    Northeast Extrusion Tooling
                    3503 Cooper Street
                    Stone Ridge, NY 12484

                    Northeast Fireproofing Inc.
                    I-295 Business Center
                    Bldg. R Suite #2
                    P.O. Box 168
                    Westville, NJ 08093

                    Northeast Great Dane
                    Att: Fran Ward
                    200 Industrial Highway
                    Ridley Park, PA 19078

                    Northeast Lincoln Mercury
                    Inc.
                    7001 Roosevelt Blvd.
                    Philadelphia, PA 19149

                    Northeast Lincoln Mercury
                    Tyson Ave
                    Philadelphia, PA 19149

                    Northeast Metal Traders
                    7345 Milnor Street
                    Philadelphia, PA 19136

                    Northeast Plastic Supply Co.
                    3021 Darnell Road
                    Philadelphia, PA 19154

                    Northeast Plastics Supply
                    3019 Darnell Road
                    Philadelphia, PA 19154

                    Northeast Poly Bag Co Inc
                    2 Northeast Blvd
                    PO Box 1460
                    Sterling, MA 01564




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                    Northeast Precision Machinery
                    Inc.
                    1635 Longshore Avenue
                    Philadelphia, PA 19149

                    Northeast Publishing Group
                    Marine Industrial Park
                    P.O. Box 1659
                    Boston, MA 02205-1659

                    Northeast Spa & Pool Assn.
                    Attn: Trish Mccormick
                    300j Campus Drive
                    Morganville, NJ 07751-1281

                    Northeast Times
                    Times Newspapers Inc
                    8001 Roosevelt Blvd 404
                    Philadelphia, PA 19152

                    Northeast Window & Door Assoc
                    191 Clarksville Rd
                    Princeton Junction, NJ 08550

                    Northeast Window & Door
                    Assoc.
                    PO Box 15822
                    Philadelphia, PA 19103-5837

                    Northern Hydraulics
                    1850 Bunks Road
                    Fort Hill, SC 29715

                    Northern Marketing Inc
                    14-16 Brown St
                    Salem, MA 01970

                    Northern Ohio Chapter Of Isri
                    M.S.C.I.
                    C/O Bridget Vaughn
                    2603 Canterbury Road
                    Cleveland Heights, OH 44118-
                    4334




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                    Northern Ohio M.S.C.I.
                    C/O Olympic Steel Inc.
                    Attn: Rhonda Chalmers
                    5080 Richmond Road
                    Cleveland, OH 44146

                    Northern Plastic Lumber
                    77 St. David Street
                    Lindsay
                    Ontario Canada
                    K9v 1n8

                    Northern Safety
                    PO Box 4250
                    Utica, NY 13504-4250

                    Northern Tool & Equipment
                    2800 Southcross Dr
                    PO Box 1219
                    Burnsville, MN 55337-0129

                    Northern Valley Machine Inc.
                    1124 15th Ave Ne East
                    Grand Forks, MN 56721

                    Northern Wood Products Co.
                    515 Johnson Avenue
                    Bohemia, NY 11716

                    Northfield Foundry & Machine
                    P.O. Box 140
                    Northfield, MN 55057

                    Northfield Foundry And
                    Machine Co.
                    320 North Water Street
                    PO Box 140
                    Northfield, NJ 55057

                    Northland Manufacturing Inc.
                    528 Little Dover Cres.
                    Waterloo
                    Ontario, Canada A N2K4E4




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                    Northstar Logistics
                    Of Virginia
                    Feasterville Business Center
                    504 Pennsylvania Blvd. East
                    Feasterville, PA 19053

                    Northstar Services Ltd
                    PO Box 23148
                    Philadelphia, PA 19124

                    Northwest Florida
                    Housing Authority
                    Attn: A/P Dept
                    PO Box 218
                    Graceville, FL 32440

                    Norton Correctional Facility
                    Attn: Business Office
                    PO Box 546
                    Norton, KS 67654 0546

                    Norwood Industries Inc.
                    P.O. Box 2056
                    Haddonfield, NJ 08033

                    Norwood Industries
                    PO Box 2056
                    Haddonfield, NJ 08033-0816

                    Notaries Equipment Co.
                    2021 Arch Street
                    Philadelphia, PA 19103-1491

                    Notis Professional Services
                    1820 Garden Ave.
                    Cherry Hill, NJ 08003

                    Nott Recycling
                    Po Box 27225
                    Richmond, VA 23261

                    Nova Consultants Ltd
                    PO Box 10125
                    Wilmington, DE 19850




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                    Nova Consultants Ltd.
                    P.O. Box 10125
                    Wilmington, DE 19850

                    Nova Group Sales, Inc.
                    304 Bellamy Lane
                    Plymouth Meeting, PA 19462

                    Nova Supply
                    8 Hilton Court
                    Hewitt, NJ 7421

                    Nova Tool & Die
                    33877 Doreka
                    P.O. Box 130
                    Fraser, MI 48026

                    Novarco Ltd.
                    711 Westchester Ave.
                    4th Floor
                    White Plains, NY 10614

                    Novarco, Ltd.
                    711 Westchester Avenue
                    Fourth Floor
                    White Plains, NY 10604

                    Novatool, Inc.
                    6100 Baltimore National Pike
                    Baltimore, MD 21228

                    Novelty Technology Dba Nti
                    390 Sapling Way
                    Atco, NJ 08004

                    Novotechnik U.S., Inc.
                    155 Northboro Road
                    Southborough, MA 01772

                    Noyoye Russkoye Slava
                    111 Fifth Ave
                    New York, NY 10003

                    Nrca Marketing Services Nrc
                    P.O. Box 809261
                    Chicago, IL 60680-9261




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                    NRG Industries, Inc.
                    305 W. Brevard Street
                    Tallahassee, FL 32301

                    Nri Business Products
                    1313 South Penn. Ave.
                    Morrisville, PA 19067-1725

                    Nsa Commercial Products
                    4627 Arnold Ave
                    Naples, FL 33942

                    Nspi National Prom. Program
                    2111 Eisenhower Ave
                    Alexandria, VA 22314

                    Nspi-Florida
                    Florida Pool And Spa Assoc.
                    1718 Main Street, Suite 303
                    Sarasota, FL 34236

                    Nti Data Products Inc.
                    30 Lamy Drive
                    Goffstown, NH 03045

                    Nucor Sheet Mill Group
                    P. O. Box 907
                    Crawfordsville, IN 47933

                    Numax Inc.
                    117 Route 303 - Suite C
                    Tappan, NY 10983

                    Numax Inc.
                    117 Route 303
                    Suite C
                    Tappan, NY 10983

                    Numax, Incorporated
                    5035 Central Highway
                    Pennsauken, NJ 08109

                    Numerical Control Service
                    1124 Commons Blvd.
                    Reading, PA 19605




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                    Nuss Printing
                    2024 Darby Road
                    Havertown, PA 19083

                    Nutrition Action
                    P.O. Box 96611
                    Washington, DC 20077-7216

                    Nuview Windows Plus More
                    421 Williams St
                    Hamburg, PA 19526

                    Nuway Trucking Co., Inc.
                    PO Box 537,
                    Middlesex, NJ 08854

                    Nvr - Ultra Portland, Tn Whse
                    Ultra Hardware Products, LLC
                    200 Veterans Drive
                    Portland, TN 37148-2041

                    Nwda
                    191 Clarksville Rd
                    Princeton Jct, NJ 08550

                    NY Credit Group Service Inc
                    Service Inc.
                    49 West 45th Street
                    New York, NY 10036

                    Ny Skyline
                    75 Thompson St
                    Staten Island, NY 10304

                    Nyc Department Of Finance
                    Parking Violation Operations
                    Church Street Station
                    PO Box 3600
                    New York, NY 10008 3600

                    Nyc Dot-Nyc Parking Card
                    34-02 Queens Boulevard
                    Long Island City, NY 11101




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                    Nyi Building Products Inc.
                    2838 Long Beach Road
                    2nd Floor
                    Oceanside, NY 11572

                    Nynex Information Resources
                    Co
                    P.O. Box D-3794
                    Boston, MA 02241-3794

                    Nynex Mobile Communications
                    PO Box 20568
                    Rochester, NY 14602

                    Nynex
                    PO Box 1100
                    Albany, NY 12250-0001

                    Nys Dept Of Taxation &
                    Finance
                    Tax Compliance Division
                    P.O. Box 1912
                    Albany, NY 12201-1912

                    NYS Dept. Of Motor Vehicles
                    Traffic Violations Plea Unit
                    P.O. Box 2950-Esp
                    Albany, NY 12220-0950

                    NYS Income Tax
                    Processing Unit
                    PO Box 3961
                    New York, NY 10083961

                    NYS Unemployment Insurance
                    PO Box 1589
                    Albany, NY 12201-1589

                    NYS Unemployment Insurance,
                    NYS Dept Of Labor - Ui Div
                    GPO, PO Box 27435
                    New York, NY 100877435

                    O E M Mfg Ltd
                    65 Leliarts Ln
                    Elmwood Park, NJ 07407




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                    O S T Trucking Co Inc
                    PO Box 9589
                    Baltimore, MD 212370589

                    O.F. Zurn Company
                    2736-38 N. Broad Street
                    P.O. Box 6779
                    Philadelphia, PA 19132

                    O.K. Electric Supply Co.
                    224 Washington Street
                    Perth Amboy, NJ 08861

                    Oag North American Edition
                    P.O. Box 56742
                    Boulder, CO 80322-6742

                    Oak Harbor Freight Lines Inc
                    PO Box 1469
                    Auburn, WA 98071 1469

                    Oak Lane Printing Inc
                    9999 Global Rd
                    Philadelphia, PA 19115

                    Oak Lane Printing
                    9999 Global Road
                    Philadelphia, PA 19115

                    Oakcrest Hardware
                    2926 Ne Jacksonville Rd
                    Ocala, FL 34479 3314

                    Oakite Products Inc.
                    50 Valley Road
                    Berkeley Heights, NJ      07922-
                    2798

                    Oakite Products, Inc.
                    PO Box 641935
                    Pittsburgh, PA 15264-1935

                    Oakwood Uniform & Equipment
                    400 E. Main Street
                    Maple Shade, NJ




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                    Oberg Bros. Industrial
                    Supply Corp.
                    312 E. Main Street
                    Maple Shade, NJ 08052

                    Oberg Brothers
                    312 East Main Street
                    Maple Shade, NJ 08052

                    O'berry Center
                    400 Old Smithville Rd
                    Goldsboro, NC 27530

                    O'biren & Gear Of North
                    Americ
                    555 East Genesee Street
                    Fayetteville, NY 13066

                    O'brien & Taylor
                    175 Fairfield Ave
                    PO Box 505
                    West Caldwell, NJ     7007

                    Obsolete
                    1601 John Tippen Boulevard
                    Pennsauken, NJ 08110

                    Occupational Safety And
                    Health Associates, Inc.
                    1091 Cole Road Suite A
                    Lilburn, GA80247

                    Ocean Computer Group
                    90 Matawan Road
                    Suite 105
                    Matawan, NJ 07747

                    Oceangate, Inc.
                    19401 S. Main Street
                    Gardena, CA 90248

                    O'connor Window & Door
                    5534 Mirian Street
                    Philadelphia, PA 19134




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                    O'connor-Ravell Associates,
                    Inc
                    20 Waverly Place
                    Attn: Rachel, MAdison, NJ
                    18901

                    Octal Publishing Inc
                    13 Partridge Circle
                    Salem, NH 03079

                    Odc Manufacturing Limited
                    11 Morrow Road
                    Barrier Ontario, Canada A
                    L4n 3v7

                    Odl Incorporated
                    8392 Reliable Parkway
                    Chicago, IL 60686

                    O'donnell & Naccarato
                    111 South Independence Mall
                    E.
                    Suite 1060
                    Philadelphia, PA 19106-2524

                    Oec Environmental, Inc.
                    P.O. Box 28
                    Manville, NJ 08835

                    Oem Controls Inc.
                    12 Controls Drive
                    Shelton, CT 06484

                    Office Basics Inc
                    22 Creek Circle
                    Boothwyn, PA 19061

                    Office Depot
                    80 Stemmers Lane
                    Westampton, NJ 08060

                    Office Depot
                    PO Box 88040
                    Chicago, IL 60680-1040




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                    Office Depot, Inc.
                    PO Box 9027
                    Des Moines, IA 50368-9027

                    Office Etc. Inc.
                    3660 Nw 126th Ave.
                    Suite 11
                    Coral Springs, FL 33065

                    Office Liquidators Inc.
                    3485 Haddonfield Road
                    Pennsauken, NJ 08109

                    Office Max
                    3605 Warrensville Center Rd
                    Shaker Heights, OH 44122-
                    5203

                    Office Max
                    A Boise Company
                    PO Box 360755
                    Pittsburgh, PA 15250-6755

                    Office Max
                    P.O. Box 228070
                    Cleveland, OH 44122-8070

                    Office Max-A Boise Co.
                    P.O. Box 360755
                    Pittsburgh, PA 15250-6755

                    Office Team
                    D-3759
                    Boston, MA 02241-3759

                    Officeteam
                    D-3759
                    Boston, MA    02241-3759

                    Ogden Manufacturing Co.
                    64 West Seegers Road
                    Arlington Heights, IL 60005

                    O'haus
                    PO Box 2033
                    Attn: Parts Dept
                    Pine Brook, NJ 7058



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                    Ohio Carbon
                    705-T South U.S. Route 224
                    Nova, OH 44859

                    Ohio Department Of Taxation
                    PO Box 16560
                    Columbus, OH 43216-6560

                    Ohio Knife & Grinding
                    219 Annadale Street
                    Akron, OH 44304

                    Ohio Treasure Of State
                    Ohio Department Of Taxation
                    P.O. Box 182101
                    Columbus, OH 43218

                    Ohio Valley Chemical
                    208 E. Jefferson St
                    Martins Ferry, OH 43935

                    Oil Skimmers, Inc.
                    P.O. Box 951009
                    Cleveland, OH 44193

                    Oilgear Co. Milwaukee Repair
                    2300 S 51 Street
                    Milwaukee, WI 53219

                    Oilgear Co. Texas Repair
                    211 Industrial Blvd.
                    Longview, TX 75602

                    Oilgear Co.
                    3060 Hickory Grove Ct.
                    Fairfax, VA 22031

                    Old Dominion Freight Line
                    Attn: Diane
                    1300 Suckle Hwy
                    Pennsauken, NJ 08110

                    Old Dominion Freight Line
                    P.O. Box 60908
                    Charlotte, NC 28260-0908




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                    Old York Road Printing Co.
                    Ivywood Business Complex
                    359 Ivyland Road
                    Ivyland, PA 18974

                    Old York Road Publishing Co.
                    359 Ivyland Road
                    Ivywood Business Ctr
                    Ivyland, PA 18974

                    Oliver Wight East Inc.
                    P.O. Box 2398
                    177 Main Street
                    New London, NH 03257

                    Olympia Fitness
                    7534 Frankford Ave
                    Philadelphia, PA 19136

                    Olympic Freight Services,
                    Inc.
                    23 Adam Court
                    Red Bank, NJ 07701

                    Olympic Pools Inc.
                    30 Tunkhannock Drive
                    Exeter, PA 18643

                    Olympic Tool & Die
                    128 Industrial Drive
                    Ivyland, PA 18974

                    Olympic Tool Company
                    805 Summerfield Ave.
                    Asbury Park, NJ 07712

                    Olympic Wire & Cable Corp.
                    1 Madison Road
                    Fairfield, NJ 07004-2395

                    O'malley Carpentry &
                    Contracting
                    C/O Bil-Ray Group
                    113 Cedar St. Suite 113,
                    Milford, MA 1757




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                    Omav S.P.A.
                    Via Stacca, 2
                    25050 Rodengo Saiano
                    Bs
                    Italy

                    Omega Engineering, Inc.
                    One Omega Drive
                    Box 4047
                    Stamford, CT 06907-0047

                    Omm Soccer/Buddy Ball Sports
                    Regional Scaffolding &
                    Hoisting Co. Inc.
                    3900 Webster Avenue
                    Bronx, NY 10470

                    Omni Finishing Systems, Inc.
                    163 Railroad Drive
                    Ivyland, PA 18974

                    Omni Gear & Machine Corp.
                    90 Bissel
                    Joliet, IL 60432

                    Omni Graphics
                    134 W. Kings Highway
                    Mt. Ephraim, NJ 08059

                    Omni Graphix
                    520 Fellowship Rd D-406
                    Mt Laurel, NJ 08054-3406

                    Omni Transport Inc.
                    1501 South Pennsylvania Ave
                    Morrisville, PA 19067

                    Omnient
                    1600 Union Meeting Road
                    Blue Bell, PA 19422

                    Omnisource Atlanta
                    Dept 377822
                    Detroit, MI 48277




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                    Omnisource Corp.
                    1610 Calhoun St
                    Fort Wayne, IN 46808

                    Omnitech Sales Company
                    2370 York Road
                    Unit A7
                    P.O. Box 278
                    Jamison, PA 18929-0278

                    Omnitrans Inc.
                    6299 Airport Road
                    Suite 301
                    Mississauga, Ontario
                    L4v 1n3

                    On Time Staffing
                    5239 Route 70
                    Pennsauken, NJ 08109 4701

                    O'neil Lumber & Millwork
                    104 St Clair Ave
                    PO Box 9
                    East St Louis, IL 622020009

                    Online Info Solutions
                    177 Main Street
                    Suite 201
                    Fortlee, NJ 07024

                    Onsite Innovations, Inc
                    PO Box D
                    Bath, PA 18014-0166

                    Onstar
                    PO Box 33591
                    Detroit, MI 48232-9616

                    On-Time Promotions
                    6280 West Oakton Morton Grov
                    Morton Grove, IL 60053

                    Operating & Mainenance
                    Specialties, Inc.
                    P.O. Box 11515
                    Charlotte, NC 28220-1515




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                    Optica Photo
                    Route 130 N. Willow Drive
                    Main Line Center
                    Cinnaminson, NJ 08077

                    Optimal Handling Solutions
                    12247 W. Fairview Ave.
                    Milwaukee, WI 53211

                    Opus Technologies
                    256 West 12th Street
                    Bloomsburg, PA 17815

                    Oracle Corporation
                    Us Support Sales
                    12320 Oracle Boulevard
                    Colorado Springs, CO 80921

                    Orb Industries
                    2 Race Street
                    Upland, PA 19015

                    Orbis Corporation
                    1055 Corporate Center Dr
                    Oconomowoc, WI 53066

                    Orbit Industry Co Ltd
                    PO Box 44-93
                    Taichung Taiwan

                    O'reilley And Associates
                    462 Plain Street
                    Marshfield, MA 02050

                    Orgill Inc
                    Attn: Alex Burcham
                    3742 Tyndale Dr
                    Memphis, TN 38125

                    Oriental International
                    Trading Corporation
                    675 Neponset Street
                    Suite B
                    Norwood, MA 02062




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                    Oriole Chemical Carriers,
                    Inc.
                    P.O. Box 2096
                    Baltimore, MD 21203

                    Oris Express Canada Inc
                    3325a Orlando Dr
                    Ontario, Canada L4V 1C5,
                    Mississauka,

                    Orival, Inc.
                    213 S. Van Brunt Street
                    Englewood, NJ 07631

                    Orleans Technical Institute
                    2770 Red Lion Road
                    Philadelphia, PA 19114

                    Orlow And Orlow, P.C.
                    600 Chestnut Street
                    Suite 1154
                    Philadelphia, PA 19106

                    Ormet Aluminum Mill Products
                    PO Box 99984
                    Chicago, IL 60696-7785

                    Ormet Primary Aluminum Corp.
                    P.O. Box 176
                    State Route 7
                    Hannibal, OH 43931-0176

                    Orr Associates
                    905 Canterbury Road
                    Cleveland, OH 44145

                    Orr Safety
                    P.O. Box 631698
                    Cincinnati, OH 45263-1698

                    Orthopedic Surgery
                    8001 Roosevelt Blvd
                    Suite 408
                    Philadelphia, PA 19152




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                    Osborne Transformer Corp.
                    21481 Carlo Drive
                    Clinton Township, MI 48038-
                    1513

                    Ostroff Fair & Company Pc
                    Meetinghouse Business Center
                    2260 Butler Pike, Ste 100
                    Plymouth Meeting, PA
                    194621422

                    Otto Junker Inc.
                    391 Wegner Drive
                    Suite A
                    West Chicago, IL     60185

                    Our Lady Of Fatima Church
                    3443 Morrow Drive
                    Bensalem, PA 19020

                    Our Tool & Cutter Inc.
                    353 Washington Street
                    Mount Holly, NJ 08060

                    Outwater Plastics Ind., Inc.
                    4 Passaic Street
                    PO Drawer 403
                    Woodbridge, NJ 7075

                    Outwater Plastics
                    4 Passaic Street
                    Wood Ridge, NJ 07075

                    Overhead Crane Service, Inc.
                    P.O. Box 97
                    Boyertown, PA 19512

                    Overnite Transportation Co
                    PO Box 79755
                    Baltimore, MD 21279-0755

                    Oxford Container Co.
                    P.O. Box 449
                    Hanover, PA 17331




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                    P & A Gear And Machine Co.
                    2600 E. Tioga Street
                    Bldg #3
                    Philadelphia, PA 19134

                    P & P Transport Inc
                    PO Box 1710
                    Delran, NJ 08075

                    P & P Transport Inc.
                    P.O. Box 1710
                    Delran, NJ 08075

                    P B C C
                    P.O. Box 85460
                    Louisville, KY    40285-5460

                    P D Quick Temps, Inc.
                    P.O. Drawer 526
                    401 City Line Ave., Suite 221
                    Bala Cynwyd, PA 19004

                    P G D Enterprises
                    164 Railroad Drive
                    Northampton Industrial Park
                    Ivyland, PA 18974

                    P H Sales Company
                    P.O. Box 73246a
                    Baltimore, MD 21273-0246

                    P I D A
                    P.O. Box 884
                    Lecs Loan Accounting
                    Harrisburg, PA 17108-0884

                    P J A X Inc
                    PO Box 951775
                    Cleveland, OH 44193

                    P J Construction
                    Window Division
                    1136 Old Lincoln Hwy
                    Langhorne, PA 19047




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                    P J W Graphics
                    2285 Stanton Ave
                    Franklinville, NJ 08322

                    P M Fasteners
                    PO Box 124
                    333 Godshell Drive
                    Harlleysville, PA 19438-0124

                    P N C Bank
                    1 Garrett Mtn Plaza
                    W Paterson, NJ 07424

                    P S E & G
                    PO Box 14101
                    New Brunswick, NJ 08906 4101

                    P S E & G
                    PO Box 14106
                    New Brunswick, NJ 08906 4106

                    P. Cooper Roofing, Inc.
                    1234 Hayes Blvd., Unit #2
                    Bristol, PA 19007

                    P.B.A. Local #351
                    P.O. Box 1214
                    Bellmawr, NJ 08099-5214

                    P.E.C.O.
                    PO Box 37632
                    Philadephia, PA     19101

                    P.E.P.
                    50 Tannery Road
                    Bldg, 3
                    Readington Industrial Center
                    Branchburg, NJ 08876

                    P.H.E.A.A.
                    National Payment Center
                    PO Box 4169
                    Greenville, TX 75403-4169

                    P.J. Fund
                    PO Box 238
                    Eastport, NY    11941-0238



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                    P.K. Lindsay Co., Inc.
                    63 Nottingham Road
                    Deerfield, NH 03037

                    P.M.A.P.
                    P.O. Box 445
                    Southeastern, PA     19399-0445

                    P.M.A.P.
                    P.O. Box 445
                    Southeastern, PA     19399-0445

                    P.P.G. Industries Ohio, Inc.
                    One Ppg Place 9 South
                    Attn:Financial Services
                    Pittsburg, PA 15272

                    P.P.G. Industries
                    PO Box 360175
                    Pittsburgh, PA 15251-6175

                    P.P.G. Industries, Inc.
                    125 Colfax Street
                    Springdale, PA 15144

                    P.S.E. & G.
                    PO Box 14101
                    New Brunswick, NJ     08906-4101

                    P.S.E.& G
                    309 Fellowship Road
                    Mt. Laurel, NJ 08054

                    P.S.I. Repair Services, Inc.
                    P.O. Box 79001
                    Detroit, MI 48279-0267

                    P/A Industries Inc.
                    522 Cottage Grove Road
                    Bloomfield, CT 06002

                    Pa Department Of Revenue
                    Bureau Of Corporate Taxes
                    Dept. 280404
                    Harrisburg, PA 17128-0701




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                    Pa Department Of Revenue
                    Dept 280405
                    Harrisburg, PA 17172-0405

                    Pa Dept. Of Revenue
                    Bureau Of Corporate Tax
                    Dept. 280701
                    Harrisburg, PA 17128-0701

                    Pa Foundation Inc.
                    2986 North Second Street
                    Harrisburg, PA 17110

                    Pa Industrial Development
                    Authority Lecs Compt
                    PO Box 884
                    Harrisburg, PA 17108-0884

                    Pa Industries
                    522 Cottage Grove Raod
                    Bloomfield, CT 06002

                    PA Scdu
                    PO Box 69112
                    Harrisburg, PA    17106-9112

                    Pa Turnpike Commission
                    Violation Processing Center
                    8000c Derry Street
                    Harrisburg, PA 17111

                    Pa. Dept. Of Labor & Industry
                    Commonwealth Of Pa
                    PO Box 68572
                    Harrisburgh, PA 17106-8572

                    Pa. Dept. Of State
                    Corporation Bureau
                    PO Box 8722
                    Harrisburg, PA 17105-8722

                    Pac Strapping Products, Inc
                    307 National Road
                    Exton, PA 19341




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                    Pace Environmental Prod.,
                    Inc.
                    5240 West Coplay Rd.
                    Whitehall, PA 18052

                    Pace
                    P.O. Box 87
                    Bridgeport, CT 06601-0087

                    Pacesetter Steel
                    3300 Town Point Drive
                    Kennesaw, GA 30144-9207

                    Pac-Fab Incorporated
                    1620 Hawkins Avenue
                    Sanford, NC 27330

                    Pacific Cartage
                    & Warehousing Inc
                    1065 Whipple Rd
                    Hayward, CA 94544

                    Pacific Die Casting Corp.
                    6155 South Eastern Avenue
                    Commerce, CA 90040

                    Pacific Packaging Corp
                    175 Ruth Road
                    Hurleysville, PA 19438

                    Pacific Packaging
                    175 Ruth Road
                    Harleyville, PA 19438

                    Pacific Usa Corp
                    375 Sylvan Ave
                    Englewood Cliffs, NJ 07632

                    Packaging Services Of Md,
                    Inc.
                    16461 Elliott Parkway
                    Williamsport, MD 21795

                    Packaging Systems
                    South Main Street
                    P.O. Box 371
                    Jersey Shore, PA 17740



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                    Pacle
                    5035 Ritter Road
                    Suite 500
                    P.O. Box 869
                    Mechanicsburg, PA     17055

                    Pacmatic Corporation
                    8325 Green Meadows Drive
                    North
                    Lewis Center, OH 43035

                    Pacor Inc.
                    333 Rising Sun Road
                    Bordentown, NJ 08505

                    Pactex Incorporated
                    855 Hocquart Street
                    Ville St. Laurent
                    Quebec Canada
                    H4m-2w3

                    Padgett-Thompson
                    P.O. Box 8297
                    Division Of American
                    Management Association
                    Overland Park, KS 66208

                    Padgett-Thompson
                    PO Box 419107
                    Kansas City, MO 64141 6107

                    Page Print
                    7 Cherry Lane
                    PO Box 97
                    Greene, NY 13778

                    Page Transportation, Inc.
                    P.O. Box 920
                    Weedsport, NY 13166

                    Pagenet Of Philadelphia
                    Office 036 PO Box 42957
                    Suite 200
                    Philadelphia, PA 19162-4295




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                    Pagenet Of Philadelphia
                    Office 036, Dept. 0102
                    Palatine, IL 60055-0102

                    Paintarama, Inc.
                    5223 Torresdale Ave.
                    Philadelphia, PA 19124

                    Paintech Inc
                    1020 Matsonford Rd
                    W Conshohocken, PA 19428 2739

                    Pa-Isri
                    Attention: Rick Allan
                    20 Goodleigh Road
                    Dallas, PA 18612

                    Pak-Wik Corporation
                    128 Tivoli Street
                    Albany, NY 12207-1394

                    Pal Publications Group
                    Mediak, Inc.
                    P.O. Box 3065
                    Shiremanstown, PA 17011

                    Palermo Masonry Inc.
                    3040 Ivins Avenue
                    Egg Harbor Twp., NJ 08234

                    Palisades Research
                    869 Via De La Paz
                    Pacific Palisades, CA      90272

                    Pall Aeropower Corp.
                    5775 Rio Vista Drive
                    Clearwater, FL 33760-3137

                    Pall Trincor
                    770 Pennsylvania Dr.
                    Exton, PA 19431

                    Pallmann Pulverizers Company,
                    Inc.
                    820 Bloomfield Ave.
                    Clifton, NJ 7012




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                    Palm Restaurant
                    200 S. Broad Street @ Walnut
                    Philadelphia, PA 19102

                    Palmer Distributors Inc
                    Dba Palmer Promotional
                    Products
                    Attn: Tania Smolinski
                    23001 W Industrial Dr
                    St Clair Shores, MI 48080

                    Palmyra Battery Co.
                    217 W. Broad Street
                    Palmyra, NJ 08065

                    Palmyra Liquor Store
                    107-109 W Broad St
                    Palmyra, NJ 08065

                    Pamida Foundation
                    Attn: Mary Lindley
                    8800 F Street
                    Omaha, NE 68127

                    Pamida Inc
                    PO Box 19045
                    Green Bay, WI    54307

                    Pamida Inc
                    PO Box 3856
                    Omaha, NE 681030856

                    Pan U Industries Co Ltd
                    PO Box 2174
                    No. 135, San-Min West Road
                    Taichung Taiwan

                    Panel Processing Inc
                    98 Box 2066
                    Saginaw, MI 48605-2066

                    Panelglide Exhibit Systems
                    2023 West Carroll Ave.
                    Chicago, IL 60612




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                    Panitch Schwarze Balisario
                    & Nadel LLP
                    One Commerce Square, Ste 2200
                    2005 Market St
                    Philadelphia, PA 19103

                    Panitch Schwarze Jacobs
                    & Nadel, P.C.
                    One Commerce Square
                    2005 Market Street 22nd Floor
                    Philadelphia, PA 19103

                    Panitch, Schwarze, Jacobs &
                    Nade
                    2005 Market Street
                    22nd Floor
                    Philadelphia, PA 19103

                    Panorama Cabanan, Inc
                    3537 1/ Beacon St.
                    Kansas City, MO 64129

                    Panther Ii Transportaion
                    P.O. Box 713
                    1114n. Court Street
                    Medina, OH 44256

                    Paper Mart Inc
                    151 Ridgedale Ave
                    East Hanover, NJ 07936

                    Paperloop
                    PO Box 16586
                    North Hollywood, CA     91615-
                    6586

                    Parade Wire Products
                    3161 State Road
                    P. O. Box 360
                    Bensalem, PA 19020

                    Paradigm Promotions
                    PO Box 384
                    Greenwell Springs, LA      70739




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                    Paradigm Promotions
                    PO Box 384
                    Greenwell Springs, LA 70739

                    Paradise Distributing Inc.
                    PO Box 432
                    Effort, PA 18330

                    Paragon Supply Co.
                    7019 West Chester Pike
                    Upper Darby, PA 19082

                    Paramount Industries, Inc.
                    2475 Big Oak Road
                    Langhorne, PA 19047

                    Para-Plus Translation
                    P.O. Box 92
                    Barrington, NJ 08007

                    Para-Plus Translations Inc.
                    PO Box 92
                    Barrington, NJ 08007

                    Parent & Kirkbride, Inc.
                    P.O. Box 377
                    3434 York Road
                    Furlong, PA 18925

                    Parfrey Trucking
                    P.O. Box 11974
                    Spokane, WA 99211

                    Park Avenue Building
                    And Roofing Supplies LLC
                    525 Park Ave
                    Brooklyn, NY 11205

                    Park Building Supplies
                    706 Kings Road
                    Schenectady, NY 12304

                    Park Stein Inc
                    P.O. Box 2399
                    613-639 Route 46
                    Clifton, NJ 07015




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                    Parker Hannifin Corp.
                    P.O. Box 75755
                    Cylinder Division
                    Charlotte, NC 28275

                    Parker Motor Freight, Inc.
                    P.O. Box 710
                    Grand Rapids, MI 49501-0710

                    Parker Steel Co.
                    P.O. Box 2883
                    Toledo, OH 43606

                    Parker,Lawrence,Cantrell,Dean
                    Fifth Floor
                    200 Fourth Avenue North
                    Nashville, TN 37210

                    Parker's Flower Shop
                    602 Parry Avenue
                    Palmyra, NJ 08065-0203

                    Parking Authority
                    City Of Camden
                    10 Delaware Avenue
                    Camden, NJ 08103

                    Parts Co. Of America
                    Dept.592-808060032

                     Palatine, IL    60038-0001

                    Parts Express
                    7175 East Second Street
                    Prescott Valley, AZ 86314

                    Parts Plus Co., Lp.
                    P.O. Box 20156
                    Lansing, MI 48901

                    Partsmaster
                    P.O. Box 971342
                    Dallas, TX 75397-1342

                    Pascap Co
                    4250 Boston Rd
                    Bronx, NY 10475



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                    Pasco Inc
                    7250 Paschall Ave
                    Philadelphia, PA 19142

                    Paskorz Welding
                    1074 Yutes Run Road
                    Harwick, PA 15049

                    Pastor S.A
                    Rue Georges-Guynemer
                    Espace Commercial De Frejorg
                    34130 Mauguio
                    France

                    Pastor's Job Alert
                    518 W. Main
                    Louisville, KY 40202

                    Pat La Rosa
                    102 Windsor Circle
                    N. Wales, PA 19454

                    Patch Management, Inc.
                    8841 Old Route 13
                    Morrisville, PA 19067

                    Patclin Chemical Co., Inc.
                    66 Alexander Street
                    Yonkers, NY 10701

                    Patent Construction Systems
                    P.O. Box 643423
                    Pittsburgh, PA 15264-3423

                    Patented Photos
                    1620 Robin Hill Place
                    Clementon, NJ 08021

                    Pathcom Inc.
                    40 Lloyd Avenue
                    Greentree Suite 106
                    Malvern, PA 19355

                    Pathon Company
                    1160 Ty Drive
                    Medina, OH 44256




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                    Patio Enclosures Inc
                    720 E Highland Rd,
                    Macedonia, OH 44056

                    Patlite Corp
                    3860 Del Amo Blvd
                    Torrence, CA 90503

                    Patricia A. Walker
                    408 East Penn Boulevard
                    Woodbury, NJ 08096

                    Patrick's Auto Body, Inc.
                    7309 State Road
                    Cottman Ave And State Road
                    Philadelphia, PA 19136-4212

                    Patterson Fan Company Inc.
                    1120 Norhtpoint Blvd.
                    Blythewood, SC 29016

                    Pattie Barry
                    PO Box 92
                    Brandamore, PA 19316

                    Patwin Plastic Ext Special
                    2300 East Linden Avenue
                    Linden, NJ 07036

                    Paul Bros
                    4850 Chestnut St
                    Philadelphia, PA 19139

                    Paul Bros. Auto Body
                    4850 Chestnut Street
                    Philadelphia, PA 19139-3515

                    Paul Carr
                    92 Pleasant St
                    Lincoln, RI 02865

                    Paul F. Canali
                    28 Afonso Way, MI     llville,
                    MA 1529




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                    Paul Frank Roofing
                    & Water Proofing Corp.
                    2413 E. Hazzard Street
                    Philadelphia, PA 19125

                    Paul Frank's Architecture
                    3805 108th Ave NE #202
                    Bellevue, WA 98004

                    Paul J. Dooling Tire Co.
                    2820 E. Tioga Street
                    Phila., PA 19134

                    Paul J. Fleming & Son, Inc.
                    8004 Traymore Ave
                    P.O. Box 27027
                    Wyndmoor, PA 19118-0022

                    Paul John's Tree Service
                    PO Box 341
                    Fairless Hills, PA 19030

                    Paul Kammer
                    2629 Conners Road
                    Baldwinsville, NY     13027

                    Paul Mueller Company
                    P.O. Box 27-428
                    Kansas City, MO 64180-0001

                    Paul Mueller Company
                    P.O. Box 828
                    Springfield, MO 65801-0828

                    Paul Sustek Co. Inc.
                    Fleet Bank Att:Lockbox 34729
                    55 Challenger Road
                    Ridgefield Park, NJ 07660

                    Paul W. Rottloff, Inc.
                    948 Rosa Avenue
                    Croydon, PA 19021

                    Paul-Bass Metal Spec Inc
                    2839 E. Tioga St.
                    Philadelphia, PA 19134




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                    Paul's Custom Awards
                    & Trophies Inc
                    200 White Horse Pike
                    Barrington, NJ 08807

                    Payflex Systems Usa Inc.
                    700 Blackstone Centre
                    Omaha, NE 68131-3845

                    Pb Express Inc
                    3870 W 14th St
                    Cleveland, OH 44109

                    Pc Connection
                    730 Milford Road
                    Merrimack, NH 03054

                    PC Connection
                    730 Milford Road
                    Route 101a
                    Merrimack, NH 3054

                    Pc Mall
                    2555 West 19th Street
                    Torrance, CA 90504

                    Pc Service Source
                    2350 Valley View Lane
                    Dallas, TX 75234

                    Pc Warehouse
                    755 Bethlehem Pike
                    Montgomeryviile, PA     1836

                    Pc World
                    Subscription Department
                    P.O. Box 55000
                    Boulder, CO 80322-5000

                    Pci Industries, Inc.
                    700 South Vail Ave.
                    Montebello, CA 90640

                    PDC Glass & Metal Services Of
                    Pittsburgh
                    100 Business Center Drive
                    Cheswick, PA 15024



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                    Pdq Marlin Tool, Inc
                    105 Marc Drive
                    Cuyahoga Falls, OH 44223

                    Peachtree Business Products
                    P.O. Box 13290
                    Atlanta, GA 30324-9977

                    Peak Data System, Inc.
                    3 Saginaw Drive
                    Sparta, NJ 07871

                    Peanut City Iron & Metal Co.
                    425 S. Saratoga Street
                    Suffolk, VA 23434

                    Peanut City Iron & Metal
                    Dept. 77-6934
                    Chicago, IL 60678-6934

                    Pearl Pressman Liberty Comm
                    5th & Poplar Streets
                    Philadelphia, PA 19123

                    Pearl Rosenthal
                    161 Sheridan Ave
                    Mt Vernon, NY 10552

                    Peavey Performance Systems
                    PO Box 14100
                    Lemexa, KS 66285-4100

                    Peba
                    1528 Walnut Street
                    Suite 420
                    Philadelphia, PA 19102

                    Pechiney Sales Corp.
                    Stamford Harbor Park
                    333 Ludlow Street
                    Stamford, CT 06902

                    Peck Recycling
                    3220 Deepwater Terminal Road
                    Richmond, VA 23234




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                    Peck Spring Company
                    1100 Whiting Street
                    Plainville, CT 06062

                    Peco Energy Co.
                    PO Box 37629
                    Philadelphia, PA     19101

                    Peco Energy
                    P.O. Box 13437
                    Philadelphia, PA     19162-0437

                    Peco Nuclear
                    1111 Old Eagle School Road
                    Wayne, PA 19087-1453

                    Peco Peripheral Company, Inc
                    70 Stacey Haines Road
                    Lumberton, NJ 08048

                    Peco
                    Peripheral Company Inc.
                    101 Medford/Mt. Holy Rd.
                    Medford, NJ 08055

                    Pecora Corporation
                    PO Box 12845
                    Philadelphia, PA 19176-0845

                    Pedrick Tool & Machine Co.
                    P.O. Box 190
                    1518 Bannard Street
                    Riverton, NJ 08077

                    Pedro Baro
                    974 Propect Ave.
                    Bronx, NY 10459

                    Pedroni Fuel Co.
                    385 East Wheat Road
                    Vineland, NJ 08360-2100

                    Peeco & Ditch Witch Of Pa.
                    501 Garfield Avenue
                    West Chester, PA 19380




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                    peedy Metals, LLC
                    2505 S. 162nd Street
                    New Berlin, WI 53151

                    Peek-O Home Protector Mfg Co
                    PO Box 425
                    Pico Rivera, CA 90660

                    Peerless Transportation Co
                    PO Box 1296
                    Dayton, OH 45408

                    Peggy Vella
                    1649 East 38th Street
                    Erie, PA 16510

                    Pei/Genesis
                    2180 Hornig Road
                    Philadelphia, PA     19116

                    Peirce Phelps
                    2000 N. 59th Street
                    Philadelphia, PA 19131

                    Pella Corporation
                    102 Main St
                    Pella, IA 50219

                    Peltier
                    C/O Viscount Pools
                    36568 Groesbeck Hihgway
                    Clinton Township, MI 48035

                    Pemberton Fabricators, Inc.
                    30 Indel Avenue
                    P.O. Box 227
                    Rancocas, NJ 08073

                    Pendergast Safety Equipment
                    8400 Enterprise Avenue
                    Philadelphia, PA 19153

                    Penfield Inc.
                    P.O. Box 5864
                    Boston, MA 02206




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                    Penjerdel Employee Benefits
                    & Compensation Association
                    1528 Walnut Street
                    Suite 420
                    Philadelphia, PA 19102

                    Penjerdel Regional Foundation
                    One Penn Square West
                    Suite 700
                    Philadelphia, PA 19102-4826

                    Penn Colour Graphics, Inc.
                    99 Buck Road
                    Huntingdon Valley, PA 19006

                    Penn Credit Corporation
                    PO Box 988
                    Harrisburg, PA 17108-0988

                    Penn Del Metal Recycling
                    Corp.
                    P.O. Box 1288
                    504 S. Market Street
                    Wilmington, DE 19899

                    Penn Del, Inc.
                    748 Edison-Furlong Road
                    Furlong, PA 18925

                    Penn Fan
                    P.O. Box 426
                    Warrendale, PA    15086-0426

                    Penn Fluid System
                    Technologies
                    2440 Maryland Road
                    Willow Grove, PA 19090-0428

                    Penn Hudson Financial Group
                    1515 Market Street
                    Suite 1225
                    Philadelphia, PA 19102

                    Penn Jersey Paper Co.
                    2801 Red Lion Road
                    Philadelphia, PA 19154




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                    Penn Metal
                    700 Jacksonville Road
                    Burlington, NJ 08016

                    Penn Muffler & Brake
                    Route 130 & Strand Ave
                    Pennsauken, NJ 08109

                    Penn Pipe Hanger
                    7910 State Road
                    Philadelphia, PA     19112

                    Penn Queen Diner
                    7349 Route 130 &
                    Westfield Avenue
                    Pennsauken, NJ 08110

                    Penn Recycling, Inc.
                    P.O. Box 3514
                    2525 Trenton Avenue
                    Williamsport, PA 17701

                    Penn Scientific
                    1000 Old York Road
                    P.O. Box 370
                    Abington, PA 19001-4599

                    Penn Stainless Products, Inc.
                    P.O. Box 9001
                    Quakertown, PA 18951-9001

                    Penn Tool Co.
                    1776 Springfield Ave.
                    Maplewood, NJ 07040-2931

                    Penn Tool Compnay
                    1776 Springfield Avenue
                    Maplewood, NJ 07040

                    Penn Ventilator Co. Inc.
                    Accounts Payable Department
                    Red Lion & Gantry Roads
                    Philadelphia, PA 19115




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                    Penna Unemployment Comp. Fund
                    Seventh & Forster Sts.
                    Po Box 68568
                    Harrisburg, PA 17106-8568

                    Penn-Air & Hydraulics
                    P.O. Box 132
                    1750 Industrial Highway
                    York, PA 17402

                    Penndel Hydraulic Sales
                    And Service Co Inc
                    77 W Lincoln Highway
                    Penndel, PA 19047-5293

                    Pennex Aluminum
                    P.O. Box 100
                    Wellsville, PA 17365-0100

                    Pennoni Associates Inc.
                    One Drexel Plaza
                    3001 Market Street
                    Philadelphia, PA 19104

                    Penns Sewerage Authority
                    1250 John Tipton Blvd.
                    Pennsauken, NJ 08110

                    Pennsauken Fire Department
                    Bureau Of Fire Protection
                    4911 Westfield Avenue
                    Pennsauken, NJ 08110

                    Pennsauken Holiday Committee
                    5762 Rogers Avenue
                    Pennsauken, NJ 08109

                    Pennsauken Industrial
                    Medical Center
                    9003 Route 130
                    Pennsauken, NJ 08110

                    Pennsauken Lions
                    Post Office Box 1095
                    Merchantville, NJ 08109-0595




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                    Pennsauken Municipal Court
                    2400 Bethel Avenue
                    Pennsauken, NJ 08109-0000

                    Pennsauken Neighborhood Watch
                    4911 Westfield Avenue
                    Pennsauken, NJ 08110

                    Pennsauken Police Department
                    Att: Bert Peters
                    2400 Bethel Avenue
                    Pennsauken, NJ 08109

                    Pennsauken Sewage Authority
                    1250 John Tipton Blvd.
                    Pennsauken, NJ 08110

                    Pennsauken Sewerage Auth
                    1250 John Tipton Blvd
                    Pennsauken, NJ 08110

                    Pennsauken Sewerage Authority
                    PO Box 518
                    Pennsauken, NJ 08110 0518

                    Pennsauken Township
                    Bureau Of Fire Prevention
                    4911 Westfield Avenue
                    Pennsauken, NJ 08110

                    Pennsauken Township
                    Municipal Building
                    5605 N. Crescent Blvd.
                    Pennsauken, NJ 08110

                    Pennsauken Youth Athletic
                    Activities Inc.
                    Marion & Elm Avenues
                    P.O. Box 1213
                    Merchantville, NJ 08109

                    Pennsylvania Ballet
                    1101 South Broad Street
                    Philadelphia, PA 19147




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                    Pennsylvania Bar Association
                    P.O. Box 13860
                    Philadelphia, PA 19101-3860

                    Pennsylvania Bar Association
                    P.O. Box 186
                    Harrisburg, PA 17108-0186

                    Pennsylvania Carbon Products
                    219 Hope Road
                    Smithfield, PA 15478

                    Pennsylvania Chamber Of
                    Business & Industry
                    417 Walnut St
                    Harrisburg, PA 17101

                    Pennsylvania Dept Of Revenue
                    Bureau Of Corporate Taxes
                    Dept 280701
                    Harrisburg, PA 17128 0701

                    Pennsylvania Scdu
                    P.O. Box 69112
                    Harrisburg, PA 17106-9112

                    Pennsylvania Society Of
                    Architects
                    P.O. Box 5570
                    Harrisburg, PA 17110-5570

                    Pennsylvania Steel Company
                    Inc
                    P.O. Box 40
                    1717 Woodhaven Drive
                    Bensalem, PA 19020

                    Pennsylvania Steel Company
                    PO Box 40
                    1717 Woodhaven Drive
                    Bensalem, PA 19020

                    Pennsylvania Turnpike
                    Commission
                    Violation Processing Center
                    8000c Derry Street
                    Harrisburg, PA 17111



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                    Pensco Inc.
                    P.O. Box 451
                    Connoquenessing, PA       16027

                    Penske Truck Leasing Co. L.P.
                    P.O. Box 827380
                    Philadelphia, PA 19182-7380

                    Peony Inc.
                    One Paragon Drive
                    Suite 212
                    Montvale, NJ 07645

                    People To People
                    Student Leader Programs
                    Dwight D Eisenhower Bldg
                    110 So Ferrall St
                    Spokane, WA 99202 4800

                    Pep Boys
                    1748 Street Road
                    Cornwells Heights
                    Cornwells Heights, PA       19020

                    Pepsi-Cola
                    8275 Route 130
                    Pennsauken, NJ    08110

                    Peptop Enterprises Co Ltd
                    No. 5, Lane 176, Cheng Teh
                    Rd.
                    Sec. 3
                    Taipei Taiwan

                    Pequa Hardware
                    1000 Park Blvd, Ste A
                    Massapequa Park, NY 11762
                    2740

                    Perey Turnstile
                    308 Bishop Avenue
                    Bridgeport, CT 06906

                    Perfect Products
                    9945 South 72nd East Ave
                    Tulsa, OK 74133




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                    Perfect Shapes, Inc.
                    200 Davis Road
                    Magnolia, NJ 08049

                    Perfect Tape Company
                    1116 Summit Street
                    Toledo, OH 43604

                    Perfect Technology
                    100 Bowie Drive
                    Red Oak Industrial Park
                    Red Oak, TX 75154

                    Perfect Trade Development Co
                    Room A, 7/12f., MAo Tai
                    Century Tower
                    No. 83 Zhong He Bei Road
                    Hangzhou China

                    Performance Electrostatic
                    Schreibern Industrial Park
                    Bldg. 239-Suite 2
                    New Kensington, PA 15068

                    Performance Foams & Coatings
                    One Gooseneck Court
                    Sicklerville, NJ 08081

                    Performance Freight Systems
                    P.O. Box 210947
                    Milwaukee, WI 53221

                    Performance Packaging Inc.
                    1957 B Pioneer Road
                    Huntingdon Valley, PA 19006-
                    2503

                    Performance Packaging
                    5 Interplex Drive, Suite 307
                    Trevose, PA 19053

                    Performance Services
                    659 Eagle Rock Ave.
                    West Orange, NJ 07052




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                    Period Homes
                    69a Seventh Ave
                    Brooklyn, NY 11217

                    Peripheral Company Inc.
                    P.O. Box 1055
                    Medford, NJ 08055

                    Peripheral Company, Inc.
                    101 Medford / Mt Holly Ro
                    PO Box 1055
                    Medford, NJ 08055

                    Perla Block
                    East Thrid And Stanwick Ave.
                    Moorestown, NJ 08057

                    Perlstein's
                    7200 Frankford Ave.
                    Philadelphia, PA 19135

                    Perma Industries, Inc.
                    2129 Center Park Drive
                    Charlotte, NC 28217

                    Perma Tech
                    363 Hamburg St
                    Buffalo, NY 14204 2086

                    Perma-Cast
                    1871 Aspen Circle
                    PO Box 711
                    Pueblo, CO 81002

                    Permadur Industries, Inc.
                    P.O. Box 1032
                    Somerville, NJ 08876

                    Permatech Inc.
                    911 East Elm St.
                    Graham, NC 27253-1907

                    Permicom Permit Services Inc
                    P.O. Box 910360
                    Dallas, TX 75391-0360




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                    Perruso
                    20241 Watermark Place
                    Sterling, VA 20165

                    Perry Johnson, Inc.
                    26555 Evergreen Road
                    Suite 1300
                    Southfield, MI 48076

                    Perryvidex LLC
                    25 Mt. Laurel Rd.
                    Hainsport, NJ 08036

                    Persinger Supply Co
                    PO Box 188
                    Prichard, WV 25555

                    Persinger Supply
                    PO Box 188
                    Prichard, WV 25555

                    Personnel Concepts Limited
                    Division Of All-In-One
                    Products
                    PO Box 1183
                    Covina, CA 91722

                    Personnel Concepts
                    PO Box 1183
                    Covina, CA 91722

                    Pete Fowler
                    PO Box 1302
                    Delaware, OH    43015

                    Pete Vickers
                    1200 St. Andrews Road
                    Apt.# 2109
                    Columbia, SC 29210

                    Pete Westfall
                    Viscount Pools
                    28302 Jor Road
                    Livonia, MI 48150




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                    Peter A. Drobach Co.
                    2240 Us Highway 22
                    Union, NJ 07083

                    Peter Scott Webb
                    540 Collings Avenue
                    Apt 417-A
                    Collingswood, NJ 08107

                    Peter's Custom Cabinets
                    5959 Allentown Rd
                    Elida, OH 45807 9413

                    Petersen Aluminum Corp.
                    9060 Junction Drive
                    Annapolis Juncn, MD 20701

                    Petitte's Plumbing & Heating
                    25 Bridge Road
                    Medford, NJ 08055-4203

                    Petro Extrusion Technologies
                    490 South Avenue
                    Garwood, NJ 07027

                    Petro Plastics Company
                    P.O.Box 167
                    450 South Avenue
                    Garwood, NJ 07027-0257

                    Pfm Electrical Services Inc.
                    410 Brigham Court
                    Cinnaminson, NJ 08077

                    Pft Roberson
                    4286 Paysphere Circle
                    Chicago, IL 60674

                    Pft, Inc.
                    4335 Paysphere Circle
                    Chicago, IL 60674

                    Pgc Enterprises
                    17 Beacon Street
                    Johnston, RI 02919




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                    Pharmacy Plus, Ltd.
                    5000 Frankford Ave
                    Philadelphia, PA 19124

                    Phase Ii
                    14 Caesar Place
                    Moonachie, NJ 7074

                    Phatash.Com
                    8064 N. Lincoln Ave.
                    Skokie, IL 60077

                    Phd Commercial Building Svcs
                    1130 York Rd
                    Warminster, PA 18974

                    PHG
                    777 Schwab Road
                    Suite 1d
                    Hatfield, PA 19440

                    Phifer Wire Products, Inc.
                    PO Box 945823
                    Atlanta, GA 30394-5823

                    Phil Cook
                    1060 Tristram Circle,
                    Mantua, NJ 08051

                    Phil Jackson
                    36 Captain Isiah's Rd
                    Cotuit, MA 02635

                    Phil Mitchell
                    Bellshire Hardware
                    3837 Dickerson Pike
                    Nashville, TN 37207

                    Phil Schaffer
                    412 36th Street
                    Union City, NJ 07087

                    Phila. Ball & Roller Brg Co.
                    400-410 N. 6th Street
                    (6th & Callowhill Sts)
                    Philadelphia, PA 19123




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                    Phila. Marriott West
                    P.O. Box 13700
                    Philadelphia, PA 19191-1371

                    Phila. Track & Roller Inc.
                    8025 Torresdale Ave.
                    Philadelphia, PA 19136

                    Philabundance
                    Attn: Eleanor Missimer
                    3616 S Galloway St
                    PO Box 37555
                    Philadelphia, PA 19148 7555

                    Philadelphia Bar Association
                    P.O. Box 7780-4124
                    Philadelphia, PA 19182-4124

                    Philadelphia Business Journal
                    400 Market Street
                    Suite 1200
                    Philadelphia, PA 19106

                    Philadelphia Employment Guide
                    310 Turner Industrial Way
                    Aston, PA 19014-3014

                    Philadelphia Fire Retardant
                    Co Inc
                    PO Box 319
                    517 West Lancaster Avenue
                    Haverford, PA 19041-0319

                    Philadelphia Geriatric Center
                    5301 Old York Rd.
                    Philadelphia, PA 19141.2996

                    Philadelphia Grating Co.,
                    Inc.
                    P.O. Box 46006
                    Philadelphia, PA 19160-6006

                    Philadelphia Jewish
                    Archives Center
                    At The Balch Institute
                    18 South 7th Street
                    Philadelphia, PA 19106-2314



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                    Philadelphia Metals Assoc.
                    P.O. Box 5428
                    Attn: Lee Hillerson
                    Philadelphia, PA 19143-0428

                    Philadelphia Newspapers Inc.
                    P.O. Box 828253
                    Philadelphia, PA 19182-8253

                    Philadelphia Pipe Bending Co.
                    4165 N. 5th Street
                    P.O. Box 46128
                    Philadelphia, PA 19160

                    Philadelphia Plant Service
                    P.O. Box 44
                    Bala Cynwyd, PA 19004-0044

                    Philadelphia Sign Company
                    707 W. Spring Garden St.
                    Palmyra, NJ 08065

                    Philadelphia Traffic Court
                    800 Spring Garden Street
                    P.O. Box 56301
                    Philadelphia, PA 19130-6301

                    Philadelphia, Business
                    Journal
                    PO Box 36609
                    Charlotte, NC 28236 6609

                    Philadelphia, Inquirer
                    5th Floor Advertising
                    400 North Broad Street
                    Philadelphia, PA 19130

                    Philadelphia, Newspaper
                    PO Box 7668
                    Philadelphia, PA 19101

                    Philadelphia, Newspapers LLC
                    PO Box 822063
                    Philadelphia, PA 19182 2063




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                    Philadelphia, Parking
                    Authority
                    Red Light Camera Program
                    PO Box 742503
                    Cincinnati, OH 45274 2503

                    Philadelphia, Tramrail Crane
                    &
                    Hoist Service Co Inc
                    2207 E Ontario St
                    Philadelphia, PA 19134

                    Philip G. Bossert
                    730 E. Main Street
                    Dallastown, PA 17313

                    Philip H. Kline & Co., Inc.
                    981 S. Bolmar St.
                    Unit B
                    West Chester, PA 19382

                    Philip Lewis & Son
                    Po Box 309
                    Dorchester, MA 02125

                    Philip Marmelstein
                    PO Box 798
                    Glenside, PA 19038

                    Philip R. Lunetta, Jr.
                    26 Dunkin Drive
                    Washington Crossing, PA
                    18977

                    Philips Brothers Electrical
                    Contractors Inc.
                    235 Sweet Spring Road
                    Glenmoore, PA 19343

                    Phillip Doyle
                    Volunteer Fence & Access
                    PO Box 2284
                    Jackson, TN 38307

                    Phillip Jordan Architects
                    4450 State Road
                    Drexel Hill, PA 19026



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                    Phillip Metal Recovery
                    1170 Fairport Nursery Road
                    Painesville, OH 44077

                    Phillips Fencing Inc.
                    2726 Larson Street
                    La Crosse, WI 54603

                    Phillips
                    18 Kenton Place
                    Mt. Laurel, NJ 08054

                    Phillyjobs!
                    632 Robinson Lane
                    Haverford, PA 19041

                    Philpenn
                    635 Lancaster Ave
                    Bryn Mawr, PA 19010

                    Phiscon Enterprises, Inc.
                    213 South Davis Avenue
                    Audubon, NJ 08106

                    Phoenix Display & Packaging
                    1300 Metropolitan Avenue
                    West Deptford, NJ 08066-1800

                    Phoenix Environmental
                    Technology LLC
                    P.O. Box 598
                    Sparta, NJ 07871

                    Piad Precision Casting Corp.
                    Westmoreland County
                    Industrial Park
                    112 Industrial Park Road
                    Greensburg, PA 15601

                    Piccari Construction Co Inc.
                    4923 National Street
                    Philadelphia, PA 19135

                    Picpa
                    P.O. Box 8500-51465
                    Philadelphia, PA 19178-8500




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                    Pics, Inc.
                    560 Stokes Road
                    Suite 23-366
                    Medford, NJ 08055

                    Picture Perfent Usa, Inc.
                    Platinum Funding Corp.
                    2 University Plaza
                    Suite 206
                    Hackensack, NJ 07601

                    Piedmont Natural Gas Company
                    4339 S Tryon St
                    Charlotte, NC 28217

                    Pierce Dopkin
                    400 Glen Meadow Road
                    Richboro, PA 18954

                    Pietrowski
                    9548 Oak Hill Road
                    Holly, MI 48442

                    Pig Corporation
                    One Pork Avenue
                    Tipton, PA 16684

                    Pilker Home Remodeling & Gen.
                    Serv. Inc.
                    806 Montgomery Ave. #B1
                    Bryn Mawr, PA 19010

                    Pilot Air Freight
                    P.O. Box 7777-W9015
                    Philadelphia, PA 19175-9015

                    Pilot Air Freight
                    PO Box 97
                    Lima, PA 190370097

                    Pilot Batteries
                    2380 Maryland Road
                    PO Box 91
                    Willow Grove, PA 19090




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                    Pinch A Penny # 90
                    783 Blanding Blvd
                    Orange Park, FL 32065

                    Pinch A Penny, Inc.
                    PO Box 6025
                    Clearwater, FL 33758

                    Pine Bluff Lock & Key Service
                    2511 W 28th Ave
                    Pine Bluff, AR 71603 5053

                    Pine Environmental Services
                    In
                    379 Princeton Hightstown Rd.
                    Cranbury, NJ 08512

                    Pines Manufacturing Inc
                    30505 Clemens Rd
                    Westlake, OH 44145

                    Pines Manufacturing, Inc.
                    30505 Clemens Rd.
                    Westlake, OH 44145

                    Piney Creek Hardware Store
                    10015 Highway 113
                    Piney Creek, NC 28663

                    Pinnacle Technologies
                    5900 La Place Court
                    Suite 110
                    Carlsbad, CA 92008

                    Pinto Equipment Co.
                    26 N. Church Lane
                    E. Lansdowne, PA 19050

                    Pioneer Research Corp.
                    3443 North Central Avenue
                    Suite 1200
                    Phoenix, AZ   85012

                    Pioneer Smelting Company
                    P.O. Box 393
                    Chatsworth, NJ 08019




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                    Pioneer Technologies Group
                    9120 Gaither Road
                    Gaithersburg, MD 20877

                    Pioneer Transport, Inc.
                    PO Box 11388
                    Lancaster, PA 17605-1388

                    Pip. Printing
                    101 E. Route 70
                    Cherry Hill, NJ     08034

                    Pipe Express Inc.
                    821 E. Washington St.
                    West Chester, PA 19380

                    Pirtek-South Philadelphia
                    1544 Delmar Drive
                    Folcroft, PA 19032

                    Pistoll Automatics
                    2975 Philmont Ave.
                    Huntington Valley, PA       19006

                    Pistorius Machine Co. Inc.
                    1785 Express Drive North
                    Hauppauge, NY 11788

                    Pistorius Machine Co.
                    1785 Express Drive North
                    Hauppauge, NY 11788

                    Pitney Bowes Credit Corp
                    PO Box 85460
                    Louisville, KY 40285 5460

                    Pitney Bowes Inc
                    P.O. Box 856390
                    Louisville, KY 40285-6390

                    Pitney Bowes
                    Cmps-Pbp
                    PO Box 7247-0166
                    Philadelphia, PA 191700166




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                    Pitney Hardin LLP
                    Frank E. Lawatsch Jr.
                    7 Times Square
                    19th Floor
                    New York, NY 10036-7311

                    Pitt Ohio Express Inc
                    PO Box 643271
                    Pittsburgh, PA 15264-3271

                    Pitt Ohio Express, Inc
                    PO Box 371013
                    Pittsburgh, PA 15250-7013

                    Pivot Punch Corp
                    6550 Campbell Blvd
                    Lockport, NY 14094

                    Pivot Punch Corporation
                    Campbell Blvd.
                    Lockport, NY 14094

                    Pizza Hut Of Cinnaminson
                    Rt. 130 & Cinnaminson Ave.
                    Cinnaminson, NJ 08077

                    Pjax Freight System
                    Po Box 635746
                    Cincinnati, OH 45263-5746

                    Pjax
                    PO Box 1290
                    Gibsonia, PA     15044

                    Pjax
                    PO Box 8823
                    Pittsburgh, PA     15278-8823

                    Pkd Foundation "Phila"
                    Friends
                    Diane Katz
                    126 Lisette Road
                    Richboro, PA 18954




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                    Pkd Foundation
                    Phia. Friends"
                    Diane Katz
                    126 Lisette Road
                    Richboro, PA 18954

                    Pkf
                    26/F, Citicorp Centre
                    18 Whitfield Road, CAuseway
                    Bay
                    Hong Kong

                    Plains Aluminum Industries
                    500 Elsie St
                    Panhandle, TX 79068

                    Planet Corporation
                    P.O. Box 579
                    Helena Industrial Park
                    Helena, AL 35080

                    Plant Service Company
                    Sixth & Bingham Streets
                    Pittsburg, PA 15203-1098

                    Planttours Communications
                    4119-B Rose Lake Drive
                    Charlotte, NC 28217

                    Plas-Tech Coatings, Inc.
                    1000 N. Five Points Road
                    West Chester, PA 19380

                    Plastech, Inc.
                    70 S. Eaton Court
                    Dept T
                    Lakewood, CO 80226

                    Plastic & Metal Products Corp
                    8000 State Road
                    Philadelphia, PA 19136

                    Plastic Extruded Products
                    1430 Chestnut Avenue
                    Hillside, NJ 07205




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                    Plastic Piping Systems, Inc.
                    1 Hollywood Court
                    South Plainfield, NJ 07080

                    Plastic Process Equipment
                    PO Box 670425
                    Northfield, OH 44067-0425

                    Plastic Processing Tech.,
                    Inc.
                    281 Sheridan Springs Rd
                    Lake Geneva, WI 53147

                    Plasties Inc.
                    1500 East Chestnut Avenue
                    Santa Ana, CA 92702

                    Plastpro, Inc.
                    9 Peach Tree Hill Road
                    Livingston, NJ 7039

                    Plating Products Co.
                    840 Colfax Avenue
                    Kennelworth, NJ 08033

                    Platts
                    P.O. Box 848093
                    Dallas, TX 75284-8093

                    Pleasants Contract Hardware
                    901 Bridge St
                    Winston Salem, NC 27101

                    Pleatco
                    113 Kean Street
                    West Babylon, NY     11704

                    Plibrico Company
                    P.O. Box 70124
                    Chicago, IL 60673-0124

                    Plymouth Rock Transportation
                    95 Maple Street
                    Stoneham, MA 02180

                    Plymouth Rock Transportation
                    95 Maple Street
                    Stoneham, MA 02180


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                    Pmd Photography
                    6948 Marshall Road
                    Upper Darby, PA 19082

                    Pmi Computer Sales
                    PO Box 60615
                    St Louis, MO 63160-0615

                    PNC Bank
                    Attn: Michael A. Valerio, Jr
                    Pnc Bank, National Assoc.
                    1600 Market St. 11th Floor
                    Philadelphia, PA 19103

                    Pnc Bank
                    Letter Of Credit Department
                    3rd Floor Annex
                    237 Fifth Avenue
                    Pittsburgh, PA 15222

                    PNC Bank, N.A.
                    P.O. Box 747027
                    Commercial Loan Operations
                    Pittsburgh, PA 15274-7027

                    Pnc Bank, Na
                    Lockbox Processing
                    PO Box 828626
                    Philadelphia, PA 19182-8626

                    Pnc Bank, National
                    Association
                    Trade Service Operations
                    3rd Floor Annex
                    237 Fifth Avenue
                    Pittsburgh, PA 15222

                    Pnc Capital Markets
                    1600 Market Street
                    21st Floor
                    Philadelphia, PA 19103

                    Pnc Leasing Corp.
                    1000 Westlakes Drive
                    Suite 200
                    Berwyn, PA 19312




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                    Pneumatics & Hydraulics Inc.
                    P.O. Box 938
                    Malvern, PA 19355

                    Podgor Design Associates
                    200 Kings Highway
                    1 Kings Court, Suite 5
                    PO Box 1116
                    Haddonfield, NJ 08033

                    Pola Crespo
                    114 N 35th St, Apt #1
                    Camden, NJ 08105

                    Polar Cic Inc.
                    99 Seaview Blvd.
                    Port Washington, NY     11050

                    Polaris Pool Systems, Inc
                    2620 Commerce Way
                    Vista, CA 92083-8438

                    Polaroid Corporation
                    201 Burlington
                    Bedford, MA 01730

                    Polaroid Industrial Repair
                    2020 Swift Dr.
                    Oakbrook, IL 60521

                    Pole-Tech Co., Inc.
                    P.O. Box 715
                    97 Gnarled Hollow Road
                    East Setauket, NY 11733

                    Police Athletic League Of NJ
                    3587 Highway 9
                    Pmb 401
                    Freehold, NJ 07728

                    Pollock Engineering Group,
                    Inc
                    5500 Brooktree Road
                    Suite 200
                    Wexford, PA 15090




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                    Pollock Reading
                    P.O. Box 37
                    Temple, PA 19560

                    Polychem
                    Industrial Products Div
                    PO Box 268
                    Spring Valley, NY 10977

                    Polyone Corp
                    Dept Ch 10489,
                    Palatine, IL 60055-0489

                    Poly-Pak Industries Inc
                    PO Box 32174
                    Hartford, CT 06150 2174

                    Polytron Corp.
                    4400 Wyland Drive
                    Elkhart, IN 46516

                    Pomerantz
                    321 Benigno Blvd.
                    Belmawr, NJ 08031

                    Pool & Spa News
                    Leisure Publications Inc.
                    4160 Wilshire Bolevard
                    Los Angeles, CA 90010

                    Pool & Spa Outlet
                    Kevin Drew
                    3500 Plank Road
                    Fredericksburg, VA     22407

                    Pool And Spa Living Magazine
                    860 Pennsylvainia Boulevard
                    Suite 250
                    Feasterville, PA 19053

                    Pool Place Aquatech
                    1810 N Beckley
                    Lancaster, TX 75134

                    Pool Solutions, Midwest Inc
                    PO Box 493
                    Union, MO 63084



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                    Poole Div Of Schneider Nat'l
                    PO Box 100131
                    Atlanta, GA 30384-0131

                    Poole Trucking
                    PO Box 282
                    Smyrna, DE 19977

                    Poole
                    Drawer 0316
                    P.O. Box 11407
                    Birmingham, AL    35246-0316

                    Poolgear Plus
                    14880 62nd Street, N
                    Clearwater, FL 33760

                    Pope Mcmillan Kutteh Simon &
                    Privette
                    PO Drawer 1776
                    Statesville, NC 28687-1776

                    Porch King
                    1555 Route 37 West
                    Toms River, NJ 08755

                    Porex Technologies Corp
                    P.O. Box 100394
                    Atlanta, GA 30384-0394

                    Port Authority Of NY & NJ
                    E-Pass Customer Service
                    Center
                    P.O. Box 149003
                    Staten Island, NY 10314-9003

                    Port City Glass And Mirror,
                    Inc
                    Pobox 21943
                    Charleston, SC 29413-1943

                    Portable Internet, Inc.
                    136 Kinderkamack
                    Suite 2b, PArk Ridge, NJ
                    07656-1333




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                    Porter Cable Corp.
                    P.O. Box 91224
                    Chicago, IL 60693

                    Porter Cable
                    12285 Mc Nulty Rd
                    Philadelphia, PA 19154

                    Porter Cable
                    4828 Hwy 45n
                    PO Box 2468
                    Jackson, TN 38302

                    Porter Precision Products Co.
                    2734 Banning Road
                    Cincinnati, OH 45239-5504

                    Poseidon Pools
                    5 Ruland Rd.
                    Melville, NY 11747

                    Postmaster
                    Adams Circle & Byberry
                    Bensalem, PA 19020

                    Postmaster
                    Easton Post Office
                    (Palmer Branch)
                    650 S Greenwood Ave
                    Easton, PA 18045 9998

                    Potted Plant Flower Shoppe
                    1182 Route 70 East
                    Cherry Hill, NJ 08034

                    Power Express
                    27 Blake Avenue
                    Lynbrook, NY 11563-2505

                    Power Flow Equipment
                    P.O. Box 419
                    Silverdale, PA 18962

                    Power Modules Inc
                    1210 Stanbridge St
                    Suite 120
                    Norristown, PA 19401-5315



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                    Power Source Repair Co. Inc.
                    544 Pusey Avenue
                    P.O. Box 1433
                    Collingdale, PA 19023

                    Powercom Services
                    3423 Piedmont Road
                    Suite 310
                    Atlanta, GA 30305

                    Powercon Inc.
                    1907 Pennsylvania Avenue
                    Croydon, PA 19021

                    Powerflow Systems Inc
                    PO Box 419
                    Siverdale, PA 18962

                    Powerquip
                    8021 Route 130
                    Unit # 6
                    Pennsauken, NJ    08110

                    Powertec Industrial Motors,
                    Inc
                    5200 Upper Metro Place
                    Suite 110
                    Dublin, OH 43017

                    Ppg Industries
                    PO Box 360175 M
                    Pittsburgh, PA 15251-6175

                    PPG Industries, Chemical Div.
                    P.O. Box 360175m
                    Pittsburgh, PA 15251

                    PPG Industries, Inc.
                    P.O. Box 360175
                    Pgh, PA 15251-6175

                    Ppl Energyplus LLC
                    Two North Ninth Street
                    Allentown, PA 18101-1179




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                    PQ Systems
                    10468 Miamisburg-Springboro
                    Rd
                    Mimisburg, OH 45342-4800

                    Prab Conveyors
                    5944 E. Kilgore Road
                    P.O. Box 2121
                    Kalamazoo, MI 49003

                    Practising Law Institute
                    810 Seventh Avenue
                    New York, NY 10019-5818

                    Pratt & Reeves Co.
                    425 Quarkertown Road
                    Flemington, NJ 08822

                    Pratt Services Inc.
                    1532-34 Pratt St.
                    Philadelphia, PA 19124

                    Praxair Inc.
                    P.O. Box 91385
                    Chicago, IL 60693-1385

                    Praxis Communications
                    2600 Philmont Ave
                    Suite 111
                    Huntingdon Valley, PA 19006

                    Prc-Desoto International
                    (Formerally Courtaullds)
                    823 East Gate Drive
                    P.O. Box 1568
                    Mt. Laurel, NJ 08054

                    Precision Coil
                    P O Box 2650
                    Clarksburg, WV    26301

                    Precision Coil
                    P O Box 90441
                    Chicago, IL 60696-0441




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                    Precision Coil
                    PO Box 2650
                    U.S. 50 West
                    Clarksburg, WV    26302-2650

                    Precision Engraving &
                    Graphics
                    701 Circle Trace Road
                    Monroe, NC 28110

                    Precision Finishing
                    708 Lawn Ave.
                    Sellersville, PA 18960

                    Precision Gage
                    375 Gargrave Road
                    Dayton, OH 45449

                    Precision Instrument Repair
                    1160 Ringwood Ave
                    Haskell, NJ 07420

                    Precision Machine
                    840 Jarvis Road
                    Erial, NJ 08081

                    Precision Millwork Inc
                    200 John Roberts Rd
                    South Portland, ME 04106 3202

                    Precision Services Inc.
                    308 Colfax Avenue
                    Clifton, NJ 07013

                    Precision Specialists Inc
                    1004 Industrial Drive
                    Unit 5
                    West Berlin, NJ 08091

                    Precision Specialists Inc.
                    1004 Industrial Drive
                    Unit 5
                    West Berlin, NJ 08091

                    Precision Technologies Inc
                    1931 Allegheny Blvd, Box 351
                    Reno, PA 16343



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                    Precision Technologies Inc
                    300 Liberty Street
                    Franklin, PA 16323

                    Precision Technologies, Inc.
                    300 Liberty Street
                    Franklin, PA 16323

                    Precision Telecom
                    7905 Browning Road
                    Suite 112
                    Pennsauken, NJ 08109

                    Precision Time Systems
                    348 Railroad Ave
                    Ambler, PA 19002

                    Precision Tube
                    267 Wissahicon Ave.
                    North Wales, PA 19454

                    Precison Machinery Systems
                    Inc
                    630 Loucks Mill Road
                    York, PA 17403

                    Precoat Metals
                    6754 Santa Barbara Ct.
                    Elkridge, MD 21075-5886

                    Preferred Transportation Inc.
                    P.O. Box 6167
                    Bridgewater, NJ 08807-0167

                    Preffered Plastics, Inc.
                    800 East Bridge St.
                    Plainwell, MI 49080

                    Premdor Entry Systems
                    PO Box 102930
                    Atlanta, GA 30368-2930

                    Premier Fence
                    8040 Escalon Avenue
                    Pasadenda, MD 21122




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                    Premier Products Co.
                    250 Byberry Rd.
                    Philadelphia, PA 19116

                    Premier Sealants & Coatings
                    P.O. Box 484
                    Elmer, NJ 08318

                    Premier Supply Inc
                    Suite 606
                    1841 Broadway At Columbus
                    Circle
                    New York, NY 10023

                    Premier Windows, Inc
                    PO Box 62
                    Thurmond, NC 28683

                    Prentice Hall Direct
                    Remittance Processing Center
                    PO Box 11074
                    Des Moines, IA 50336-1074

                    Prentice Hall
                    Payment Processing Center
                    P.O. Box 11022
                    Des Moines, IA 50336-1022

                    Press Brake Technology
                    Society Of Manufacturing Eng
                    Attn: Customer Service
                    P.O. Box 6028
                    Dearborn. MI 48121

                    Press Parts Inc.
                    PO Box 2660
                    Elkhart, IN 46515

                    Presses, Inc.
                    The Heim Group
                    Dept. #3030, PO Box 87618
                    Chicago, IL 60680-0618

                    Press-Republican
                    PO Box 459
                    Plattsburgh, NY 12901 0459




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                    Pressure Wash Enterprises
                    224 East Orchard Avenue
                    Maple Shade, NJ 08052

                    Prestige Inc
                    PO Box 421
                    Reedsburg, WI 53959 0421

                    Prestige Personnel Inc.
                    999 Old Eagle School Rd.
                    Suite 106
                    Wayne, PA 19087

                    Prestige Promotions Inc
                    PO Box 485
                    Haddonfield, NJ 08033

                    Prestik Manufacturing
                    40 Titan Road
                    Toronto
                    Ontario, Canada M8Z5Y2

                    Preston H. Gunning
                    Sgt. At Arms
                    101 S. 5th St. Room 112
                    Camden, NJ 08103-4001

                    Preston Trucking Co Inc
                    PO Box 277084
                    Atlanta, GA 30384-7084

                    Preston Trucking Co.
                    PO Box 630296
                    Baltimore, MD 21263-0296

                    Preston Trucking Company,
                    Inc.
                    P.O. Box 277084
                    Atlanta, GA 30384-7084

                    Prial Technical Services, Inc
                    P.O. Box 170285
                    Miami Gardens, FL 33017




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                    Prichard Housing Authority
                    800 Hinson Ave
                    PO Box 10307
                    Prichard, AL 366100307

                    Pride Products Dist LLC
                    649 Morris Ave
                    Springfield, NJ 07081

                    Pridestaff
                    6780 N West Ave, Ste 103
                    Fresno, CA 93711 1393

                    Pridestaff
                    7535 N. Palm Ave
                    Suite 101
                    Fresno, CA 93711

                    Prime Connections
                    33 Elm Street
                    Champlain, NY 12919

                    Prime Material Sales
                    1317 Avenue A,S.E.
                    Winter Haven, FL 33880

                    Prime Materials Recovery Inc
                    99 East River Drive
                    East Hartford, CT 06108

                    Prime Tech Sales Inc.
                    1545 Mt. Read Blvd.
                    Rochester, NY 14606

                    Prime, Inc.
                    14433 Collections Center Dr
                    Chicago, IL 60693

                    Primedia Information Inc.
                    P.O. Box 96976
                    Chicago, IL 60693

                    Prime-Line Products Co Inc
                    PO Box 30170
                    Los Angeles, CA 90030 0170




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                    Prina Incorporated
                    15237 Highway 90
                    Paradis, LA 70080 2405

                    Prince Manufacturing Corp.
                    612 N. Derby Lane
                    P.O. Box 7000
                    North Sioux City, SD 57049-
                    7000

                    Princeton Upperclass Facebook
                    Educational Services
                    66 Witherspoon Street
                    Room 235
                    Princeton, NJ 08542

                    Principal Life
                    Dept 900
                    P.O. Box 14416
                    Des Moines, IA    50306-3416

                    Print Shop
                    1001 N. Kings Highway
                    Suite 111
                    Cherry Hill, NJ 08034

                    Print Source, Inc.
                    324 Second Street Pike
                    Unit 10
                    Southampton, PA 18966

                    Print Tech Graphics Inc
                    1165 Hollow Road
                    Narberth, PA 19072

                    Print Tech
                    1165 Hollow Road
                    Narbeth, PA 19072

                    Printer Connection, Inc.
                    290 Timber Oaks Court
                    Bartonville, TX 76226

                    Printers Trade
                    10081 Sandmeyer Lane
                    Philadelphia, PA 19116




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                    Print-O-Stat, Inc.
                    P.O. Box 15055
                    York, PA 17405-7055

                    Prism Color Corp
                    323 New Albany Rd
                    Moorestown, NJ 08057

                    Prism Engineering Inc.
                    440 Horsham Road
                    Suite 5
                    Horsham, PA 19044

                    Prism Graphics
                    7804 Montgomery Ave.
                    Suite7
                    Elkins Park, PA 19027

                    Pro Aerosols
                    4880 Buffalo Road
                    Erie, PA 16510

                    Pro Aerosols-Ship To:
                    Thermoclad Company
                    C/O: Peter Froess
                    4690 Iroquois Ave.
                    Erie, PA 16511

                    Pro Cad Inc.
                    175 Fairfield Ave.
                    Unit 4a
                    West Caldwell, NJ 07006

                    Pro Glass
                    523 W Oley St
                    Reading, PA 19601

                    Pro Group Inc
                    PO Box 173817
                    Denver, CO 80217 3817

                    Pro Label, Inc.
                    2915 N. Progress Dr.
                    Appleton, WI 54911




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                    Pro Lube, Inc.
                    PO Box 1810
                    Bensalem, PA 19020

                    Pro Marketing Inc
                    1350 Bluegrass Lakes Pkwy
                    Alpharetta, GA 30004

                    Pro Press Incorporated
                    Kirkwood Plaza
                    113 West White Horse Road
                    Voorhees, NJ 08043

                    Pro Tapes & Specialties
                    Raritan Center
                    P.O. Box 6630
                    Edison, NJ 08818-6630

                    Pro Tec Mechanical
                    P.O. Box 637
                    Landon Road
                    Sullivan, MO 63080-0637

                    Pro Trucking Inc.
                    77917 209th Street
                    Albert Lea, MN 56007

                    Pro Window & Door
                    4113 Asher Ave
                    Little Rock, AZ 72204 6327

                    Procedyne
                    11 Industrial Drive
                    New Brunswick, NJ 08901

                    Process Eng. & Equip. Co.
                    PO Box 2998
                    Grand Rapids, MI 49501

                    Process Equipment & Supply
                    Co.
                    3325 Hudson Avenue
                    P.O. Box 868
                    Union City, NJ 07087




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                    Process Equipment & Sys.,
                    Inc.
                    PO Box 1807
                    West Chester, PA 19380

                    Process Equipment Group
                    6 La Jolla Lane
                    Annandale, NJ 08801

                    Process Graphics Corp
                    2125 Kishwaukee St
                    Rockford, IL 61104

                    Process Piping Inc.
                    PO Box 541
                    Belleville, NJ 7109

                    Process Systems Engineering
                    1500 Gehman Road
                    Harleysville, PA 19438

                    Process Sytems & Components
                    Co
                    P.O. Box 761
                    72-78 Washington Street
                    Mount Holly, NJ 08060

                    Process Tdh Company
                    70 Stacy Haines Road
                    Lumberton, NJ 08048

                    Process Technologies Inc.
                    48-F Wingco Lane
                    Reading, PA 19605

                    Process Technology Inc
                    7010 Lindsay Drive
                    Mentor, OH 44060

                    Processflo Inc.
                    3910 Park Avenue
                    Unit 1
                    Edison, NJ 08820

                    Proconex
                    P.O. Box 13700-1259
                    Philadelphia, PA 19191-1259



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                    Pro-Dec Products, Inc.
                    12503 Exchange Drive
                    Suite 500
                    Stafford, TX 77477

                    Prodex, Inc.
                    P.O. Box 14
                    4th & Adams St.
                    Red Hill, PA 18076

                    Product & Application
                    116 W Greentree Lane
                    Lake Mary, FL 32746

                    Product Company
                    825 Arnold Drive
                    Suite 7
                    Martinez, CA 94553

                    Product Design
                    2603 Keyway Drive
                    York, PA 17402

                    Product Handling Equipment,
                    Inc
                    3615 Mattingly Rd.
                    Buckner, NJ 40010

                    Production Specialty
                    P.O. Box 1432
                    Corinth, MS 38835-1432

                    Production Supply & Eqip. Co
                    20 West Prospect Street
                    P.O. Box 36
                    Waldwick, NJ 07463

                    Production Tool Companies LLC
                    1229 East 74th Street
                    Chicago, IL 60619

                    Productive Carbides, Inc.
                    10265k Spartan Drive
                    Cincinnati, OH 45215




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                    Productive Corporation
                    Nw 7781
                    PO Box 1450,
                    Minneapolis, MN 55485 7781

                    Producto Corporation
                    Ring Precison Components Div.
                    2980 Turner Road
                    Jamestown, NY 14701

                    Pro-Face
                    750 North Maple Road
                    Saline, MI 48176

                    Professional Precision
                    Products Inc.
                    840 W. Main Street
                    Lansdale, PA 19446

                    Professional Lines
                    8306 Mills Drive # 289
                    Miami, FL 33183-4838

                    Professional Precision
                    Products Inc.
                    840 W. Main Street
                    Landsale, PA 19446

                    Professional Roof Services
                    38 Danvers Circle
                    Newark, DE 19702

                    Professional Service Ind.,
                    Inc.
                    P.O. Box 71168
                    Chicago, IL 60694-1168

                    Proforma Corporate Concepts
                    30 Main Street
                    Maple Shade, NJ 08052

                    Proforma Solutions & Ideas
                    57 Hidden Lake Drive
                    North Brunswick, NJ 08902




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                    Programmers Paradise
                    1163 Shrewsbury Ave.
                    Shrewsbury, NJ 07702

                    Progress Pools
                    6048 Carlesle Pike
                    Mechanicsburg, PA 17055

                    Progress Software Corporation
                    14 Oak Park Drive
                    Bedford, MA 01730-9959

                    Progress Software
                    14 Oak Park
                    Bedford, MA 01730

                    Progressive Business
                    Publications
                    370 Technology Drive
                    PO Box 3019,
                    Malvern, PA 19355

                    Progressive Business
                    Publications
                    370 Technology Drive
                    Box 3019
                    Malvern, PA 19355

                    Progressive Business
                    Publications
                    370 Technology Drive
                    P.O. Box 3019
                    Malvern, PA 19355

                    Progressive Hydraulics
                    280 Midland Avenue
                    Bldg. G1
                    Saddlebrook, NJ 07663

                    Progressive Printing Co.
                    811 Longwood Avenue
                    Cherry Hill, NJ 08002-3482

                    Progressive Stamping &
                    Plating
                    PO Box 72021
                    Bossier City, LA 71172-5000



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                    Promark
                    964 Woodcrest Road
                    Abington, PA 19001

                    Promotional Marketing Inc
                    441 Germantown Pike
                    Lafayette Hill, PA 19444 1819

                    Propress
                    Kirkwood Plaza
                    113 W. Whitehorse Road
                    Voorhees, NJ 08043

                    Pro-Tech Business Solutions
                    In
                    Suite 1564
                    10303 Jasper Avenue
                    Edmonton, Alberta, Canada
                    T5j 3n6

                    Protecta Sealing
                    6940 B. Central Highway
                    Pennsauken, NJ 08109

                    Protective Closures Co., Inc
                    2150 Elmwood Avenue
                    Buffalo, NY 14207

                    Proto-Pak Design
                    1008 Eagle Ridge Ct
                    Stillwater, MN 55082

                    Prototype Plastic Extrusion
                    Co
                    3637 131st Ave N
                    Clearwater, FL 33762

                    Provantage Corporation
                    7249 Whipple Ave Nw
                    North Canton, OH 44720

                    Provident Pack. & Cont. Corp
                    8701 Torresdale Ave (Rear)
                    Philadelphia, PA 19136




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                    Provident Packaging &
                    Containe
                    8701 Torresdale Ave.
                    Philadelphia, PA 19136

                    Provident Packaging Corp
                    8701 Torresdale Ave (Rear)
                    Philadelphia, PA 19136

                    Prudent Publishing Company
                    Post Office Box 360
                    Ridgefield Park, NJ 07660-
                    0360

                    Prudential-Bache
                    One New York Plaza
                    New York, NY 10292

                    Pruyn Bearings Co.
                    1324-28 Frankford Ave.
                    Philadelphia, PA 19125-3204

                    Pruyn Bearings Company, Inc
                    1324-28 Frankford Ave
                    Philadelphia, PA 19125-3204

                    Pruyn Bearings
                    1324-28 Frankford Avenue
                    Philadelphia, PA 19125

                    Pryor Resources, Inc.
                    P.O. Box 2951
                    Hawnee Mission, KS 66201

                    Ps Doors
                    4212 Gateway Drive
                    Grand Forks, ND 58203

                    PSE&G
                    PO Box 14101
                    New Brunswick, NJ     08906-4101

                    Pseg Energy Technologies
                    P.O. Box 18123
                    Newark, NJ 07191




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                    Pseg
                    Attn: Pete Frampton
                    499 Thornall 9th Floor
                    Edison, NJ 08837

                    Psk Steel Corp.
                    2960 Gale Ave.
                    Po Box 308
                    Hubbard, OH 44425

                    Ptc, LLC
                    1535 N. Cogswell St.
                    Suite C25
                    Rockledge, FL 32955

                    PTR Baler And Compactor
                    2207 E Ontario St
                    Philadelphia, PA 19134

                    Public Goods Pool
                    Excellus Bluecross Blueshield
                    P.O. Box 4757
                    Syracuse, NY 13221-4757

                    Public Service Enterprise
                    Group Incorporated
                    Attn: Pete Frampton
                    499 Thornall Street
                    Edison, NJ 08837

                    Puerto Rican Unity
                    For Progress
                    427 Broadway
                    Camden, NJ 08103

                    Pulte Home Corporation
                    1200 Woodruff Rd
                    Suite G-3 Merovan Ctr
                    Greenville, PA 29607

                    Pump Solutions Company
                    1240 Mill Creek Circle
                    Southampton, PA 18966-4358

                    Pumping Services, Inc.
                    368 Lincoln Blvd.
                    Middlesex, NJ 08846



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                    Punchrite
                    5320 Commerce Parkway West
                    Parma, OH 44130

                    Purchase Power
                    P.O. Box 856042
                    Louisville, KY 40285-6042

                    Purchasing Magazine
                    275 Washington Street
                    Newton, MA 02158

                    Purchasing Magazine
                    P.O. Box 497
                    New Town Branch
                    Boston, MA 02258

                    Purchasing Management Of
                    Philadelphia, Inc.
                    P.O. Box 445
                    Southeastern, PA 19399-0445

                    Purco Fleet Services Inc
                    Trust Account
                    136 South Main St
                    Spanish Fork, UT 84660

                    Purforms, Inc.
                    615 Chatham Street
                    Lowell, MI 49331

                    Purolator Courier Ltd.
                    PO Box 1100
                    Etobicoke Post St
                    Ontario, Canada A M9C5K2

                    Pyle Transportation Services
                    PO Box 749
                    West Chester, PA 19381-0749

                    Pyramid Bearing & Supply Co.
                    9230 Collings Avenue
                    Pennsauken, NJ 08110




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                    Pyramid Electric Service
                    Corp.
                    510 Heron Drive
                    Suite 207
                    Bridgeport, NJ 08014

                    Pyramid Electric Supply
                    3100 W. Oxford Street
                    Philadelphia, PA 19121

                    Pyramid Machine
                    9230 Collins Ave.
                    Pennsauken, NJ 08110

                    Pyrotek Incorporated
                    100 Clearbrook Road
                    Suite 325
                    Elmsford, NY 10523-1116

                    Pyrz Water Supply Co,. Inc.
                    P.O. Box 107
                    Harleysville, PA 19438

                    Q L C Technologies
                    1980 Old Cuthbert Rd
                    Cherry Hill, NJ 08034

                    Q Panel
                    26200 First Street
                    Cleveland, OH 44145

                    Qad Inc.
                    10,000 Midlantic Drive
                    Suite 200
                    Mt. Laurel, NJ 08054

                    Qad. Inc.
                    PO Box 395
                    Bellmawr, NJ    08099-0395

                    Qc Inc.
                    1205 Industrial Blvd.
                    P.O.Box 514
                    Southampton, PA 18966-0514




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                    Q-Cast
                    630 New York Ave
                    PO Box 230
                    Rochester, PA 15074

                    Qingdao Maoyuan Group
                    28#, Yellow River West Road
                    Qingdao, Etdz

                    Q-Mation
                    935 E. Horsham Road
                    Horsham, PA 19044

                    Q-Panel Lab Products
                    26200 First Street
                    Cleveland, OH 44145

                    Qrs Corporation
                    Department 05039
                    PO Box 39000
                    San Francisco, CA 941395039

                    Qrs Tradeweave Service Bureau
                    535 Fifth Ave, 3rd Fl
                    New York, NY 10017

                    Q'so Incorporated
                    PO Box 961251
                    File 99404
                    Fort Worth, TX 76161-0251

                    Quad Tool & Die Supply
                    6550 Campbell Boulevard
                    Lockport, NY 14094

                    Quad Tool And Die Supply
                    P.O. Box 834
                    Buffalo, NY 14240

                    Quadstar Transportation
                    1475 Park Avenue
                    Phillipsburg, NJ 08865

                    Quaker City Chemicals, Inc.
                    7360 Milnor St.
                    Philadelphia, PA 19136




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                    Quaker Photo
                    1025 Arch Street
                    Philadelphia, PA     19107

                    Quaker Plastics
                    103 South Manor Street
                    Mountville, PA 17554

                    Quaker Tool Rentals, Inc.
                    7215 Maple Avenue
                    Pennsauken, NJ 08109

                    Quality Air Forwarding Inc.
                    P.O. Box 370110
                    Milwaukee, WI 53237-0110

                    Quality Carriers, Inc.
                    135 S. Lasalle, Dept 4910
                    Chicago, IL 60674-4910

                    Quality Carton
                    100 Sterling Mine Road
                    Sloatsburg, NY 10974

                    Quality Circle Products
                    120 Albanay Post Road
                    Montrose, NY 10548

                    Quality Concepts, Inc.
                    730 Marne Highway
                    Moorestown, NJ 08057

                    Quality Driveaway Inc
                    PO Box 764
                    Goshen, IN 46527 0764

                    Quality Fence
                    Roger Frazier
                    13902 Dallarway Road
                    Pine Bluff, AR 71602

                    Quality Fulfillment Group
                    Div Of Quality Merch Group
                    109 Smoke Hill Lane
                    Suite 210
                    Woodstock, GA 30188




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                    Quality Glass Service, Inc.
                    PO Box 873
                    Goshen, IN 46527-0873

                    Quality Paving
                    2243 43rd Street
                    Pennsauken, NJ 08110

                    Quality Publishing, Inc.
                    2405 North Avenida Sorg
                    Tucson, AZ 85749

                    Quality Refractory Inst. Inc.
                    P.O. Box 7780-4327
                    Philadelphia, PA 19182-4327

                    Quality Systems Registrars
                    Inc
                    22630 Davis Drive
                    Suite 220
                    Sterling, VA 20164

                    Quality Transmission
                    Components
                    125 Railroad Avenue
                    Garden City Park, NY      11040-
                    5016

                    Quantum Storage Systems
                    4820 Nw 128th St
                    Opa Locka, FL 33054

                    Quantum Storage Systems
                    A Division Of M&M Plastics
                    4820 Nw 128th Street
                     Miami, FL 33054

                    Quarter Mile Performance
                    612 Jackson Road
                    Atco, NJ 08004

                    Quebec Metal Recycling
                    2185, Montee Masson
                    Laval
                    Quebec Canada
                    H7e 4p2




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                    Quench Inc.
                    3077 East 98th Street
                    Suite 120
                    Indianapolis, IN 46280

                    Quench Incorporated
                    PO Box 605
                    Moberly, MO 65270 0605

                    Quentin Lundstedt
                    14 Gladiola Lane
                    Lumberton, NJ 08048

                    Quest Service Group
                    2 Irwin Court
                    Lynbrook, NY 11563

                    Quick Core Co.
                    216 Delaware Avenue
                    Palmyra, NJ 08065

                    Quick Parts
                    301 Perimeter Center North
                    Suite 500
                    Atlanta, GA 30346

                    Quick Rock Inc.
                    691 Walt Whitman Rd.
                    Melville, NY 11747

                    Quick Service
                    604 Pomona Rd.
                    Cinnaminson, NJ     08077

                    Quick Service/So. Jersey
                    Serv.
                    P.O. Box 2156
                    Cinnaminson, NJ 08077-2494

                    Quickparts
                    219 Perimeter Center Pkwy,
                    Ste 400
                    Atlanta, GA 30346




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                    Quick-Way Inc.
                    S.E. Corner Bath & Orthodox
                    St
                    Philadelphia, PA 19137-2097

                    Quill Corporation
                    PO Box 37600
                    Philadelphia, PA 19101-0600

                    Quill Corporation
                    PO Box 94081
                    Palatine, IL 600944081

                    Quinlan Publishing Group
                    23 Drydock Avenue
                    Boston, MA 02210

                    Quinn Brothers Inc.
                    1712 North Second Street
                    Philadelphia, PA 19122

                    Quinn International Corp
                    No 54, 7/F, Chungsiao E. Rd
                    Sec. 1
                    Taipei Taiwan

                    Quint Company
                    3725 Castor Avenue
                    Philadelphia, PA 19124

                    Qwest
                    PO Box 856169
                    Louisville, KY    40285-6169

                    R & D Logistics LLC
                    64 North Green Lane
                    Zelienople, PA 16063

                    R & G Graphics
                    210 Haddon Ave.
                    Westmont, NJ 08108

                    R & I Co., Inc.
                    91 Prospect Street
                    Thomaston, CT 06787




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                    R & J Trucking
                    8063 Southern Blvd
                    P.O. Box 9454
                    Youngstown, OH 44513

                    R & L Carriers, Inc.
                    P.O. Box 713153
                    Columbus, OH 43271-3153

                    R & L Carriers, Inc.
                    PO Box 713153
                    Columbus, OH 43271-3153

                    R & M Brokerage Trucking
                    P.O. Drawer 316
                    Market Square
                    Meyersdale, PA 15552

                    R & P Cabinets
                    221 Middle Road
                    Blue Point, NY 11715

                    R & R Industries
                    1000 Calle Cordillera
                    San Clemente, CA 92673

                    R & R Machine
                    5009-15 Wellington
                    Philadelphia, PA 19135

                    R & R Saw Division
                    130 Industrial Blvd.
                    Logansport, IN 46947

                    R & R Textiles, Incorporated
                    5096 Highway 76
                    Chatsworth, GA 30705

                    R & R Uniforms/Skaggs
                    Uniforms
                    8348 State Road
                    Unit #6
                    Philadelphia, PA 19136

                    R & S Industrial Products
                    9 Sedgwick Street
                    Jamesburg, NJ 08831



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                    R & S Plastics, Inc.
                    900 Creek Road
                    Bellmawr, NJ 08031

                    R A Graham Company Inc
                    70 James St
                    Worcester, MA 01603

                    R C Davis Co Inc
                    1600 Old Country Rd
                    Plainview, NY 11803

                    R D Electric
                    600 Old Street Road
                    Suite F102
                    Trevose, PA 19053

                    R G Shakour
                    254 Turnpike Rd
                    West Borough, MA 01581 2847

                    R G Simmons Co
                    120 Broadway Ave S
                    Wayzata, MN 55391

                    R H P Transportation
                    2900 Hedley St
                    Philadelphia, PA 19137

                    R J Express
                    410 Edgewood Drive
                    Lebanon, PA 17042

                    R O Sales
                    Manufacturer Representative
                    Agency
                    13835 N Tatum Blvd, Ste 9-604
                    Phoenix, AZ 85032

                    R V Cahoon & Sons
                    8921 Caratoke Hwy
                    Harbinger, NC 27941

                    R&L Carriers, Inc.
                    PO Box 713153
                    Columbus, OH 43271-3152




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                    R. L. Miller
                    3327 Industrial Blvd.
                    P.O. Box 196
                    Bethel Park, PA 15102

                    R. M. Duggan Const.
                    6260 Madison Ct
                    Bensalem, PA 19020

                    R. Scheinert & Sons, Inc
                    10092 Sandmeyer Lane
                    Philadelphia, PA 19116

                    R.A. Munder
                    PO Box 412
                    Conshohoken, PA     19428

                    R.C. Davis Co.Inc.
                    1600 Old Country Road
                    Plainview, NY 11803

                    R.D. Bitzer Co. Inc.
                    Wes-Port Industrial Park
                    776 American Drive
                    Bensalem, PA 19020

                    R.E.M. Transport Inc.
                    P.O. Box 481
                    St. Stephen, N.B.
                    E3l 3a6

                    R.F. Kelly & Co. Inc.
                    1501 St. Paul Street
                    York, PA 17403

                    R.J. Collins Incorporated
                    5721 N. Forker Road
                    Spokane, WA 99216

                    R.J. Meyer Control Company
                    139 Wabash Street
                    Pittsburgh, PA 15220

                    R.J. Schmidt Co.
                    145 W. Lancaster Ave.
                    Paoli, PA 19301




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                    R.J. Sour Trucking
                    220 So. 7th Avenue
                    Manville, NJ 08835

                    R.K. Lynch
                    1330 Tycoon Way
                    Louisville, KY 40213

                    R.L. Best Company
                    723 Bev Road
                    Boardman, OH 44512

                    R.L. Best International Inc.
                    1775 E. Lake Mary Blvd.
                    Sanford, FL 32773

                    R.M.S. Mfg. Co.
                    1599 State Rd & Church
                    Croydon, PA 19021

                    R.T. Aire Supply Inc.
                    1418 Greene Hill Ct.
                    Kutztown, PA 19530

                    R.V.M. Plastics Company
                    28 Montgomery Street
                    Bloomfield, NJ 07003

                    R.Y.A.A.
                    C/O Kandy Klehamer
                    104 S. Oakland Avenue
                    Runnemede, NJ 08078

                    R/J Florig Industrial Co.
                    Inc.
                    110 Washington Street
                    Conshohocken, PA 19427

                    Raabe Corp
                    PO Box 1090
                    Menomonee Falls, WI     53052-
                    1090

                    Raabe Corporation
                    PO Box 1090
                    Menomonee Falls, WI     53052




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                    Raabe
                    N. 92 W. 14701 Anthony Ave.
                    Menomonee Falls, WI 53051

                    Racelite South Coast, Inc.
                    16516 Broadway
                    Maple Heights, OH 44137

                    Radford Warehouse, Inc.
                    Oceana Way
                    Norwood, MA 02062

                    Radio Shack
                    Route 130 & Cinnaminson Ave.
                    Cinnaminson, NJ 08077

                    Radiology Affiliates Of
                    Central New Jersey Pa
                    838 West State St
                    Trenton, NJ 08618-5396

                    Radisson - Ultra Canadian
                    Whse
                    Ultra Hardware Products, LLC
                    132, Boul. Leon-Vachon
                    St-Lambert-De-Lauzon
                    Quebec Canada
                    G0S 2W0

                    Radisson Hotel
                    915 Route 73
                    Mount Laurel, NJ     08054

                    Radisson Industries Inc
                    136, Boul Leon-Vachon
                    St-Lambert-De-Lauzon
                    Canada G)S 2W0
                    Quebec

                    Radwell Inernational
                    111 Mount Holly Bypass
                    Lumberton, NJ 08048

                    Radwell International, Inc.
                    111 Mount Holly Bypass
                    Lumberton, NJ 08048




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                    Rag Pickers
                    Wardell Industrial Park
                    PO Box 486
                    Richlands, VA 24641

                    Raghu Enterprises
                    46, Virdi Colony,
                    Harbans Nagar, Basti Guzan,
                    Jalandhar India
                    144002

                    Rainbow Doors Inc
                    3 Nami Ln
                    Hamilton, NJ 08619

                    Rainbow Doors
                    3 Nami Lane
                    Hamilton, NJ 08619

                    Rainbow Plastics-Filter Div
                    PO Box 4127
                    El Monte, CA 91734-4127

                    Ralph H. Coflesh, Jr., Esq.
                    Unit F-101
                    150 West Evergreen Ave.
                    Philadelphia, PA 19118

                    Ralph Macclemmy LLC
                    Dba R-Mac Transport
                    7339 Zimmerman Avenue
                    Delair, NJ 08110

                    Ralph's Italian Restaurant
                    760 South 9th St
                    Philadelphia, PA 19147

                    Ram Industrial Services Inc.
                    5460b Pottsville Pike
                    Leesport, PA 19533

                    Ram Motors & Controls
                    P.O. Box 10
                    Reading, PA 19607




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                    Ramball Testing Labs
                    1703 Industrial Highway
                    Cinnaminson, NJ 08077

                    Ramball Testlab Inc
                    1703 Industrial Hwy, Unit 3
                    Cinnaminson, NJ 08077 2546

                    Ramco Of T.R. Inc.
                    P.O. Box 1027
                    4 New Circle Road
                    Travelers Rest, SC     29690

                    Ramco Trading Co.
                    8730 Wilshire Blvd.
                    Suite 412
                    Beverly Hills, CA 90211

                    Rancocas Envt. Labs., Inc.
                    502 Burlington Ave
                    Delanco, NJ 08075

                    Rancocas Hospital
                    P.O. Box 820869
                    Philadelphia, PA 19182

                    Rancocas Metals Corp.
                    35 Indel Ave
                    Rancocas, NJ 08073

                    Rancocas Metals Corp.
                    P.O. Box 223
                    Rancocas, NJ 08073

                    Rancocas Metals Corp.
                    P.O. Box 828496
                    Philadelphia, PA 19182-8496

                    Rancocas Valley Wharehousing
                    PO Box 2419
                    Vincentown, NJ 08088

                    Rand Packing Products
                    515 Narragansett Park Dr,
                    Pawtucket, RI 02861




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                    Randall Designs
                    316 South Fourth Street
                    Hamburg, PA 19526

                    Randy L Sims
                    3000 Azle Hwy
                    Weatherford, TX 76085

                    Randy Payne
                    C/O Sales Unlimited LLC
                    17126 Colony Creek Dr
                    Spring, TX 77379

                    Randy Stout
                    2218 Old Gainesboro Road
                    Bloomington Springs, TN
                    38545

                    Rankin Automation
                    P.O. Box 190
                    888 Sussex Blvd.
                    Broomall, PA 19008

                    Rankin Automation
                    PO Box 190
                    888 Sussex Blvd.
                    Broomall, PA 19008

                    Rantek Transportation
                    #201, 11830-111 Avenue
                    Edmonton, Alberta Canada
                    T5g 0e1

                    Rapid Construction Equip.,
                    Inc
                    P.O. Box 3417
                    Fredericksburg, VA 22402-
                    3417

                    Rapid Engineering Inc.
                    P.O. Box 700
                    1100 Seven Mile Rd., N.W.
                    Comstock Park, MI 49321-0700

                    Rapid Forms
                    301 Grove St
                    Thorofare, NJ    08086



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                    Rapid Forms, Inc.
                    301 Grove Road
                    Thorofare, NJ 08086-9499

                    Rapid Freight Systems
                    PO Box 659
                    Pennsauken, NJ 08110

                    Rapid Industries, Inc.
                    P.O. Box 19259
                    Louisville, KY 40259-0259

                    Rapid Models & Prototypes In
                    101-C Rose Ave
                    Runnemede, NJ 08078-1048

                    Rapid Retail Inc
                    111 Deerlake Rd, Ste 115
                    Deerfield, IL 60015

                    Rapidforms Inc
                    301 Grove St
                    Thorofare, NJ 080869499

                    Rapidforms Inc.
                    301 Grove Road
                    Thorofare, NJ 08086

                    Rapture Trailer, Inc.
                    2411 Big Oak Road
                    Langhorne, PA 19047

                    Raritan Container
                    400 Jersey Ave
                    PO Box 7513
                    North Brunswick, NJ     08902

                    Ratner & Prestia, P.C.
                    One Westlakes (Berwyn)
                    Suite 301
                    P.O. Box 980
                    Valley Forge, PA 19482-0980

                    Raub Supply Company
                    P.O. Box 13700-1293
                    Philadelphia, PA 19191-1293




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                    Raxman Publications Inc.
                    P.O. Box 3542
                    Champlain, NY 12919-3542

                    Ray Albert
                    The Window Man
                    4910 River Ridge
                    Lansing, MI 48917

                    Ray Davis & Sons
                    2682 Rice St
                    St Paul, MN 55113 2201

                    Ray Wall Treasurer
                    Tounship Bldg.
                    2400 Byberry Road
                    Bensalem, PA 19020

                    Ray Wall, Treasurer
                    Bensalem Township Bldg
                    2400 Byberry Road
                    Bensalem, PA 19020

                    Raymond E Hufnagle
                    773 Woodland Ave
                    Westville Grove, NJ 08093

                    Raymond J Delvecchio
                    254 Chestnut St
                    Audubon, NJ 08106

                    Raymond Jordan
                    504 Jaeger Ct
                    Sicklerville, NJ 08081

                    Raymond Savett
                    4 Pecan Ct
                    Mt Laurel, NJ 08054

                    Raymond T Kinney Assoc., Inc.
                    P.O. Box 1072
                    Mt. Laurel, NJ 08054

                    Ray's Trailer Repair
                    1400 Sherman Avenue
                    Pennsauken, NJ 08110




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                    Rcd Timber Products Inc.
                    1699 Matassino Road
                    New Castle, DE 19720

                    Rcd, Inc
                    P.O. Box 38
                    200 Grove Road
                    Thorofare, NJ 08086

                    Rcn
                    P.O. Box 747089
                    Pittsburgh, PA 15274-7089

                    Rdm Transportation Inc.
                    56 Nebraska Avenue
                    Mercerville, NJ 08619

                    Reader & Vermont Inc.
                    408 Deepwood Ct.
                    Naperville, IL 60540

                    Reading Crane & Engineering
                    Lincoln Corporate Center
                    11 Vanguard Drive
                    Reading, PA 19606

                    Reading Eagle Company
                    Accounting Dept.
                    P.O. Box 582
                    Reading, PA 19603-0582

                    Reading Electrical Service
                    4420 Pottsville Avenue
                    Reading, PA 19605

                    Ready Set Party
                    3495 Haddonfield Road
                    Pennsauken, NJ 08109

                    Reco-Nelson
                    248 Thomas St.
                    Newark, NJ 07114

                    Record Masters
                    8470 Remington Avenue, Suite
                    A
                    Pennsauken, NJ 08110



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                    Recreation Products
                    2968 Nationwide Parkway
                    Brunswick, OH 44212

                    Recycled Plastic Products
                    2331 W. Hampden, #148
                    Englewood, CO 80110

                    Red Lion Group, Inc.
                    500 Red Lion Rd.
                    Philadelphia, PA 19111

                    Red Oak Logistics Inc
                    Lockbox 200738
                    Houston, TX 77216 0738

                    Red Wing Mobile Unit
                    7b Jules Lane
                    New Brunswick, NJ 08901

                    Red Wing Shoe Store
                    2000 Route 70 East
                    Suite B
                    Cherry Hill, NJ 08002

                    Reddi-Rentals, Inc.
                    948 S Woodbourne Road
                    Levittown, PA 19057

                    Redline Industries Inc.
                    2950
                    West Carroll Street
                    Chicago, IL 60612-1720

                    Reed Kitchen
                    C/O Leight Sales Co Inc
                    1051 E Artesia Blvd
                    Carson, CA 90746 1698

                    Reed Publishing
                    121 Distribution Way
                    Plattsburg, NY 12901

                    Reed Rubber Products, Inc.
                    5425 Manchester Ave.
                    St.Louis, MO 63110




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                    Reed Smith LLP
                    P.O. Box 777-W4055
                    Philadelphia, PA 19175-4055

                    Reeder & Vermaat
                    408 Deepwood Court
                    Naperville, IL 60540

                    Reel Transfers, LLC
                    1331 O'reilly Drive
                    Feasterville, PA 19053

                    Rees Engineering Corp.
                    Po Box 26697
                    Collegeville, PA 19426

                    Rees Industrial Inc.
                    Po Box 26835
                    Collegeville, PA 19426

                    Reflections
                    1500 Dexter Ave. N.
                    Seatle, WA 98109

                    Refra Products Inc.
                    2147 Avenue C
                    Bethlehem, PA 18017

                    Refractory Products Company
                    770 Tollgate Road
                    Elgin, IL 60123

                    Reftech
                    Division Of Reno Refractories
                    P.O. Box 201
                    Morris, AL 35116

                    Regal Corrugated Box Co Inc
                    Adams Ave & Ashland St
                    Philadelphia, PA 19124

                    Regal Industries Corporation
                    190 York Avenue
                    Pawtucket, RI 02861




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                    Regenex Corporation
                    PO Box 608
                    One New Street
                    West Middlesex, PA 16159

                    Regent Hydraulic
                    4051 Cresson Street
                    Phila., PA 19127

                    Regional Adjustment Bureau
                    Box 34111
                    Memphis, TN 38184

                    Regional Scaffolding
                    And Hoisting Co. Inc.
                    3900 Webster Avenue
                    Bronx, NY 10470

                    Rehabilitation & Occupational
                    Specialists
                    1854 New Rodgers
                    Levittown, PA 19056

                    Rehoboth Full Gospel
                    Church, Inc.
                    3316 Fairmount Avenue
                    Philadelphia, PA 19104-2005

                    Reid Tool Supply Co.
                    2265 Black Creek Road
                    Muskegon, MI 49444-2684

                    Reidy And Associates
                    645 Sands Court
                    Valley Township
                    Coatesville, PA 19320

                    Reidy And Associates
                    645 Sands Court
                    Valley Township
                    Coatsville, PA 19320

                    Reidy Packaging
                    645 Sands Court
                    Coatesville, PA     19320




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                    Reilly's Collision Center
                    3901 Route 1 South
                    South Brunswick, NJ 08852

                    Reinhard
                    2021 Arch Street
                    Suite 400
                    Philadelphia, PA     19103

                    Reit Lubricants
                    899 Mearns Road
                    Warminster, PA 18974

                    Relay Specialities
                    17 Raritan Road
                    Oakland, NJ 07436

                    Reliable Castings Corp.
                    3401 Colerain Ave.
                    Cincinnati, OH 45223

                    Reliable Hardware Inc
                    28100 N Ashley Circle, Ste
                    109
                    Libertyville, IL 60048 9479

                    Reliable
                    135 S Lasalle Street
                    Dept 8001
                    Chicago, IL 60674-8001

                    Reliance Electric Ind. Co.
                    Drawer Cs 198186
                    Atlanta, GA 30384-8186

                    Reliance Hoist & Crane Inc.
                    P.O. Box 7121
                    York, PA 17404-0121

                    Remaly
                    211 Cedar St.
                    Tomaqua, PA 18252

                    Rem-Ark Alloys
                    379 Hobson
                    Blue Bell, PA 19422




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                    Remmey The Pallet Co.
                    Po Box 558
                    317 Davisville Rd.
                    Willow Grove, PA 19090

                    Remmey Wood Products
                    1040 Industrial Highway
                    Southampton, PA 18966

                    Remodeling News
                    600 C Lake Street
                    Ramsey, NJ 7446

                    Remtek Services Inc.
                    204 Branchwood Court
                    Deptford, NJ 08096

                    Remtron Inc.
                    1916 W. Mission Rd.
                    Escondido, CA 92029

                    Renaire Clarke
                    839 E Price Street
                    Philadelphia, PA 19138

                    Renaissance Marble & Granite
                    107 Harmon Drive
                    Blackwood, NJ 08012

                    Renaissance Pools & Spas
                    3644 Pioneer Parkway W
                    Arlington, TX 76013

                    Renate Sears
                    1 John Sloan Way
                    Marlton, NJ 08053

                    Renold-Power Transmission
                    512 West Crescentville Road
                    Cincinnati, OH 45246

                    Rental Tools & Equipment Co
                    Lockbox 4334
                    P.O. Box 85080
                    Richmond, VA 23285-4334




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                    Rentz Co., Inc
                    4055 Richmond St
                    Philadelphia, PA     19137

                    Repair Specialists
                    C/O Richard E Sweade
                    Brooksville, FL 34601

                    Repco
                    510 Station Avenue
                    Box 490
                    Bensalem, PA 19020

                    Repco, Inc.
                    6 Springdale Road
                    Cherry Hill, NJ 08003

                    Replacement Parts Specialists
                    30400 Solon Industrial Park
                    Solon, OH 44139

                    Rep-Link
                    2440 Plainfield Ave Ne
                    Grand Rapids, MI 49505

                    Rep-Locate
                    2020 Sw 8th Ave. # 312
                    West Linn, OR 97068

                    Republic Chemical Co., Inc.
                    P.O. Box 1423
                    Summit, NJ 07902-8423

                    Republic Packaging, Inc
                    2250 E. Butler St
                    Philadelphia, PA 19137

                    Resale Systems Inc
                    1041 W Bridge St Ste 100
                    Phoenixville, PA 194604342

                    Residential Fences Corp.
                    1760 Route 25
                    PO Box 430
                    Ridge, NY 11961




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                    Res-Kem Corporation
                    General Water Services Inc.
                    2 New Road
                    Aston, PA 19014

                    Resort Glass, Inc.
                    PO Box 3142
                    N. Myrtle Beach, SC     29582

                    Resource, LLC
                    3816 South State Route 2
                    Friendly, WV 26146

                    Restore Media LLC
                    1000 Potomac St Nw, Ste 102
                    Washington, DC 20007

                    Retail Store Concepts
                    3441 Eastridge Ct N.E.
                    Grand Rapids, MI
                    49546-1171

                    Retterer Mfg Co
                    4985 Marion-Mt Gilead Road
                    Caledonia, OH 43314

                    Reuland Electric Co.
                    4500 E. Grand River
                    Howell, MI 48843

                    Reuter Hanney
                    Northampton Industrial Park
                    149 Railroad Drive
                    Ivyland, PA 18974

                    Revcomm Telephone Systems
                    71 Autumn Ridge Drive
                    Glassboro, NJ 08028

                    Revcomm Telephone Systems
                    And Cabling
                    71 Autumn Ridge Drive
                    Glassboro, NJ 08028

                    Rex Barton
                    22385 Via Pompeii
                    Elkhart, IN 46516-9779



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                    Rex Gauge Company, Inc.
                    1250 Busch Parkway
                    Buffalo Grove, IL 60089

                    Rex Lumber Company
                    Station Street
                    P.O. Box 1776
                    Englishtown, NJ 07726

                    Rex Roto Corporation
                    P.O. Box 980
                    Fowlerville, MI 48836-0980

                    Reynolds Aluminum Supply Co.
                    7000 Pencader Drive
                    Newark, DE 19702

                    Reynolds Metal Company
                    P.O. Box 27003
                    Exchange & Depots G-6-6
                    Richmond, VA 23261-7003

                    RFS Design Enterprises, Inc.
                    2381 Philmont Ave.
                    Suite 116
                    Huntingdon Valley, PA 19006

                    Rfs Enterprises, LLC.
                    Po Box 8681
                    Richmond, VA 23226

                    Rg Industrial Group
                    P.O. Box 2825
                    York, PA 17405

                    Rgs Machine Inc.
                    101 Sycamore Ave. # 109
                    F0ls0m, PA 19033

                    Rhino Reps Inc.
                    13216 East 103rd St North
                    Owasso, OK 74055

                    Rhoades' Windows
                    5 Seely Drive
                    Albany, NY 12203




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                    Rhoads Metal Fabrications,
                    Inc
                    3035 Franks Road
                    Huntingon Vlly, PA 19006

                    Rhoads Metal Works Inc.
                    1315 North Front Street
                    Philadelphia, PA 19122

                    Rhoads Metal Works, Inc.
                    1551 John Tipton Blvd.
                    Pennsauken, NJ 08110

                    RHR Mechanical Contractors,
                    Inc.
                    PO Box 702
                    Bristol, PA 19007

                    Ribbons Express Inc
                    1980 Old Cuthbert Rd
                    Cherry Hill, NJ 08034

                    Ribbons Express
                    1980 Old Cuthbert Rd
                    Cherry Hill, NJ 08034

                    Ribbons Express, Inc.
                    1980 Old Cuthbert Blvd.
                    Cherry Hill, NJ 08034

                    Ricardo Mojica
                    8249 Eden Lane
                    Pennsauken, NJ    08110

                    Rice And Holman Ford
                    1301 Route 73
                    Mount Laurel, NJ 08054

                    Rice And Holman Truck Center
                    PO Box 279
                    Rt.73 & 38
                    Maple Shade, NJ 08052

                    Rice Dolan & Kershaw
                    170 Westminister St
                    9th Floor
                    Providence, RI 02903



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                    Richard Burns
                    4300 Rising Sun Ave.
                    Philadelphia, PA 19140

                    Richard Cerrito
                    Total Comfort Windows And
                    Doors
                    20 Firewood Drive
                    Holland, PA 18966

                    Richard D. Sparkman & Assoc.
                    102 Williams Street
                    P.O. Drawer C
                    Angier, NC 27501

                    Richard F Lipski
                    117 Preamble Dr
                    Marlton, NJ 08053

                    Richard Gabriel Associates
                    601 Dresher Road
                    Suite 201
                    Horsham, PA 19044-2203

                    Richard J Gilbert
                    45 Plain Road
                    Hatfield, MA 01038

                    Richard Kelly
                    1131 Buhl Circle
                    Hermitage, PA 16148

                    Richard S. Wasserbly
                    100 East Court Street
                    PO Box 1077
                    Doylestown, PA 18901

                    Richardson Electronics Ltd
                    50 W. Hawthorne Ave
                    Valley Stream, NY 11580

                    Richlin Machinery
                    40 Allen Blvd.
                    Farmingdale, NY 11735




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                    Richmond Hardware & Plumbing
                    899 Washington St
                    Po Bpx 850375
                    Braintree, MA 02184 5450

                    Rich's Amoco
                    PO Box 478
                    Milesburg, PA    16853

                    Rick Fish
                    1206 Breezewood Dr.
                    West Homestead, PA 15120

                    Ricks Expert Tree Service
                    1907 Bensalem Blvd
                    Bensalem, PA 19020

                    Ricoh Business Systems Inc
                    Delaware Valley Headquarters
                    2727 Commerce Way
                    Philadelphia, PA 19154

                    Ricoh
                    PO Box 73683
                    Chicago, IL 60673-7683

                    Ridd Inc.
                    204 Coari Ave.
                    Minotola, NJ 08341

                    Rider's Lumber, Inc.
                    PO Box 23029
                    Philadelphia, PA 19124

                    Righton Instrument Co.
                    1010 Clayton Avenue
                    Pt. Pleasant, NJ 08742

                    Right-Way Dealer Warehouse
                    16 Mt Ebo Road South
                    Suite 14
                    Brewster, NY 10509

                    Riker, Danzig, Scherer, Et Al
                    170 West State Street
                    Trenton, NJ 08608-1102




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                    Riley Computer Consulting
                    2-10 Linden Ave # C101
                    Haddonfield, NJ 08033

                    Rinehimer's Auto Works
                    6 Mill Park Court
                    Newark, DE 19713

                    Ripon Community Printers
                    656 S Douglas St
                    PO Box 6
                    Ripon, WI 54971 0006

                    Risco Ref. & Install. Supply
                    P.O.Box 5118
                    Deptford, NJ 08096-0118

                    Rise Chain Industries Ltd
                    Unit 3, 13/Fl.,
                    Billion Trade Centre 31,
                    Hung To Road
                    Kwun Tong

                    Risi
                    Pulp & Paper
                    PO Box 16586
                    North Hollywood, CA      91615-
                    6586

                    Risson Press
                    PO Box 475
                    Boyertown, PA    19512

                    Rita Jane Donovan
                    Washington Lane & Old York Rd
                    Bldg 501
                    Jenkintown, PA 19046

                    Riteway Express
                    PO Box 439
                    397 E 54th Street
                    Elmwood Park, NJ 07407

                    Rittal Corporation
                    Research Parkway
                    Meriden, CT 06450-7188




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                    Rittal
                    Dept. L-891
                    Columbus, OH    43260

                    River Road Recycling, Inc.
                    P.O. Box 302
                    Pennsauken, NJ 08110

                    Riverside Auto Parts
                    Leesville Avenue
                    Rahway, NJ 07065

                    Riverside Dock Levelers
                    And Overhead Doors LLC
                    PO Box 3280
                    Cinnaminson, NJ 08077

                    Riverside Installations Inc
                    1700 Industrial Highway
                    Cinnaminson, NJ 08077-2547

                    Riverside Installations, Inc.
                    1700 Industrial Highway
                    P.O. Box 3280
                    Cinnaminson, NJ 08077-3280

                    Riverside Products
                    400-21st Street
                    Moline, IL 61265-1438

                    Riverton Pool & Garden Ctr.
                    Route #130 & Taylor Lane
                    Cinnaminson, NJ 08077

                    Rix's Construction
                    436 Durham Road
                    Newtown, PA 18940

                    Rj Lee Group Inc.
                    350 Hochberg Road
                    Monroeville, PA 15146

                    RJF International Corp
                    PO Box 5235n
                    Cleveland, OH 44193




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                    Rms Systems
                    Two Scott Plaza
                    Philadelphia, PA     19113

                    Rmt Inc.
                    527 Plymouth Road
                    Suite 406
                    Plymouth Meeting, PA      19462-
                    1641

                    Road Machinery, Inc.
                    120 Gordon Drive
                    Lionville, PA 19341

                    Road To A Cure
                    1415 Rte 70 E, Ste 500
                    Cherry Hill, NJ 08034

                    Roadrunner Distribution Serv.
                    P.O. Box 27197
                    Albuquerque, NM 87125

                    Roadrunner Distribution
                    Dept L-1243
                    Columbus, OH 43260-1243

                    Roadrunner Trucking, Inc.
                    L-2093
                    Columbus, OH 43260

                    Roadway Express Inc
                    PO Box 905587
                    Charlotte, NC 28290 5587

                    Roadway Express Inc.
                    Po Box 471
                    Akron, OH 44309

                    Roadway Express, Inc.
                    PO Box 13573
                    Newark, NJ 07188-0573

                    Roadway Express, Inc.
                    PO Box 905587
                    Charlotte, NC 28290




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                    Roadway Global Air
                    P.O. Box 93205
                    Chicago, IL 60673-3205

                    Roadway Global Air
                    PO Box 93205
                    Chicago, IL 60673-3205

                    Roadway Global Air
                    PO Box 93205
                    Chicago, IL 60673-3205

                    Roadway Package System Inc
                    PO Box 360911m
                    Pittsburgh, PA 15250-6911

                    Rob Munin
                    26 Cedar Meadow Ln
                    Media, PA 19063

                    Robbins Associates
                    P.O. Box 328
                    Riverside, NJ 08075

                    Robbins Container Corp
                    222 Conover St
                    Brooklyn, NY 11231

                    Robbins Eng. Instr. Svc. Inc.
                    514 South Broadway
                    Gloucester City, NJ 08030

                    Robbins Motor Transportation
                    P.O. Box 38
                    Essington, PA 19029

                    Robeck Fluid Power Company
                    350 Lena Drive
                    Aurora, IL 44202

                    Roben Manufacturing Co. Inc.
                    760 Vassar Avenue
                    Lakewood, NJ 08701

                    Robert A Isaacson
                    416 Heatherwood Rd
                    Havertown, PA 19083



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                    Robert A Newman
                    3655 S Decatur Blvd, #218
                    Las Vegas, NV 89103

                    Robert A. Matuska
                    6266 Holman Street
                    Arvada, CO 80004

                    Robert Amariti
                    1 Woodland Court
                    Voorhees, NJ 08043

                    Robert Behrens
                    Viscount Pools
                    28310 Telegraph
                    Flat Rock, MI 48134

                    Robert C Suloff
                    3 Bryant Ave
                    Collingswood, NJ 08108

                    Robert Chalphin Associates
                    515 Swede Street
                    Norristown, PA 19401

                    Robert E. Haas, Inc.
                    P.O Box 2329
                    Route 206
                    Vincentown, NJ 08088

                    Robert E. Light Esq.
                    3830 Park Avenue
                    Edison, NJ 08820

                    Robert Elgart & Son, Inc.
                    1011 W. Butler St
                    Philadelphia, PA 19140-3109

                    Robert F. Flood Supply Corp.
                    Northampton Industrial Park
                    215 Railroad Drive
                    Ivyland, PA 18974

                    Robert Ford
                    802 W. Center
                    Manteca, CA 95337




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                    Robert Glazier
                    70 Hampstead Rd
                    Sandown, NH 03873

                    Robert Gray's Sons, Inc.
                    735 Broad Street
                    Beverly, NJ 08010

                    Robert H Ham Assoc Ltd
                    P Box 77398
                    Greensboro, NC 27417 7398

                    Robert Hellenthal
                    6420 Sycamore Dr
                    Montgomery, AL 36117

                    Robert Hyde
                    139 Meadowbrook Ave
                    Boardman, OH 44512

                    Robert Illum
                    235 Bellerose Avenue
                    East Northport, NY 11731

                    Robert J Cahoon
                    25 Hemlock St
                    Brooklyn, NY 112081520

                    Robert J. Fitzmyer Co., Inc.
                    315 East 7th Avenue
                    P.O. Box 272
                    Conshohocken, PA 19428

                    Robert J. Rosemiller
                    1803 Downs Avenue
                    Laurel Springs, NJ 08021

                    Robert K. Kurtz Company
                    1230 Michelle Drive
                    Philadelphia, PA 19116

                    Robert Kawalec
                    9705 D. S.W. 92nd Court
                    Ocala, FL 34481




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                    Robert L. Kyler Associates
                    Metro Bank Bldg.
                    1528 Walnut Street, Suite
                    1925
                    Philadelphia, PA 19102

                    Robert Lemery
                    124 Twin Oaks Ter
                    South Burlington, CT 05403

                    Robert M. Hilberts, Inc.
                    1013 Conshohocken Road
                    P.O. Box 548
                    Conshohocken, PA 19428

                    Robert M. Wood, Esq.
                    Box 1
                    Manasquan, NJ 08736-0639

                    Robert M. Wood, Trustee
                    Box 678
                    Manasquan, NJ 08736-0678

                    Robert Magio
                    PO Bnox 724
                    Holbrook, NY    11741

                    Robert Miller Associates
                    245-20 Merick Blvd.
                    Rosedale, NY 11422

                    Robert Minton
                    3959 Lake Ruby Lane
                    Suwanee, GA 30024

                    Robert Neilson
                    677 Cornwallis Drive
                    Mt. Laurel, NJ 08054

                    Robert Parks
                    3388 Paper Mill Road
                    Huntingdon Valley, PA      19006

                    Robert S Munin
                    26 Cedar Meadow Ln
                    Media, PA 19063




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                    Robert Scott Inc
                    810 Humboldt St
                    Brooklyn, NY 11222

                    Robert Silverman
                    Commercial Printing
                    125n. Third Street
                    Philadelphia, PA 19106

                    Robert T. Moroni Sgt At Arms
                    Superior Court Of NJ
                    Camden County Hall Justice
                    5th St & Mickle Blvd
                    Camden, NJ 08103

                    Robert Townsend
                    129 Sycamore Court
                    Collegeville, PA 19426

                    Robert Tripp
                    721 N West Street
                    Cordell, OK 73632

                    Robert Vogel
                    9919 Country Oaks Dr
                    Fort Myers, FL 33967

                    Robert Warner
                    2121 N State Street
                    Bunnell, FL 32110

                    Robert Zelubowski
                    3319 Ashfield Lane
                    Philadelphia, PA 19114

                    Roberts Enterprises
                    3111 Route 38
                    Building 11 #136
                    Mount Laurel, NJ 08054

                    Robins Associates
                    P.O. Box 328
                    9 Scott Street
                    Riverside, NJ 08075




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                    Robinson Aerial Surveys
                    43 Sparta Avenut
                    Newton, NJ 07860

                    Robinson Industries Inc.
                    P.O. Box 371567m
                    Pittsburgh, PA 15251-7567

                    Rocheux International Of NJ
                    Jersey, Inc.
                    220 Centennial Avenue
                    Piscataway, NJ 08854

                    Rockford Systems, Inc
                    4620 Hydraulic Road
                    Rockford, IL 61109-2695

                    Rockhurst University
                    Continuing Ed. Center, Inc
                    PO Box 419107
                    Kansas City, MO 64141-6107

                    Rockhurst University
                    Continuing Education Center
                    Inc
                    PO Box 419107
                    Kansas City, MO 64141 6107

                    Rockwell Automation
                    6680 Beta Dr.
                    Cleveland, OH 44143

                    Rockwell Freight Forwarding
                    PO Box 797
                    Doylestown, PA 18901

                    Rockwell Intermodal, Inc.
                    PO Box 399
                    Perkasie, PA 18962

                    Rockwell Mgt. & Consultants
                    P.O.Box 803
                    Perkasie, PA 18962




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                    Rockwell Software Inc.
                    Customer Support & Services
                    6680 Beta Drive
                    Mayfield Villag, OH 44143-
                    2327

                    Rockwell Transportation
                    Services, Inc
                    P.O Box 803
                    Perkasie, PA 18944-0803

                    Rocky Mount Windows And Doors
                    1220 S.Wesleyan Blvd.
                    Rocky Mount, NC 27803

                    Rocom Corp.
                    5957 Engineer Drive
                    Huntington Beach, CA      92649

                    Rodex Fasteners Corp.
                    Building B, 13th Floor,
                    No. 49, Section 3, MI n
                    Sheng East Road
                    Taipei

                    Rodney Dulaney
                    2433 Remsen Rd
                    Grainger Township, OH        44256

                    Rodney Hartle
                    7922 Robinson
                    Overland Park, KS     66204

                    Rodney Klein
                    2133 Disston St.
                    Philadelphia, PA     19149

                    Rodon Group
                    PO Box 8500-3065
                    Philadelphia, PA 19178-3065

                    Roehl Transport Inc.
                    22733 Network Place
                    Chicago, IL 60673-1227




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                    Roger Mason
                    147 Hall Rd
                    Lincoln University, PA 19352

                    Roger Wilmot
                    895 Roxfield Cr
                    Buford, GA 30518

                    Rohrbach Hdwe. & Supply, Inc.
                    720 Capouse Ave
                    PO Box 858
                    Scranton, PA 18501

                    Roi Fluid Technologies
                    145 W Lancaster Ave.
                    Paoli, PA 19301

                    Roll Forming Services, Inc
                    1501 Eagleview Dr.
                    Pickering
                    Ontario Canada
                    L1v5h1

                    Rolland Machining & Fab. Inc
                    3202 State Highway 94
                    Franklin, NJ 07416

                    Rolled Steel Products
                    Tubing Inc.
                    Po 1070
                    Charotte, NC 28201

                    Rollins Leasing Co.
                    PO Box 668029
                    Charlotte, NC 28266

                    Rollins Leasing Corp
                    Penske
                    PO Box 301
                    Reading, PA 19603-0301

                    Rollins Leasing Corp.
                    1800 Hylton Road
                    Pennsauken, NJ 08110




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                    Rollins Truck Rental
                    445 Winks Lane
                    Bensalem, PA 19020

                    Roll-Tech Industries
                    55 Rt 31 South
                    Pennington, NJ 08534

                    Roma Aluminum Co.
                    1928 Washington Ave.
                    Philadelphia, PA 19146

                    Roman Inc.
                    407 Commerce Lane
                    PO Box 467
                    Berlin, NJ 08009

                    Romano Construction Co Inc.
                    R.D. 1 Box 502
                    Elmer, NJ 08318

                    Ron Broomhead
                    303 Temple Blvd
                    Palmyra, NJ 08065

                    Ronald Clements
                    96 Judy Way
                    Aston, PA 19014-2264

                    Ronald E. Garten
                    123 Country Dr.
                    Waxahachie, TX 75165

                    Ronald Jones
                    819 James Street
                    Cinnaminson, NJ 08077

                    Ronco(Out Of Bus. See Briggs)
                    2572 Industrial Lane
                    Norristown, PA 19403

                    Ronman Products Inc
                    8440 Kass Dr
                    Buena Park, CA 90621

                    Roof Deck, Inc.
                    P.O. Box 295
                    Hightstown, NJ 08520


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                    Roof Management Services,
                    Inc.
                    1453 Welsh Rd.
                    Huntingdon Valley, PA 19006-
                    5831

                    Root 24 Hr's
                    130 Ferry Avenue
                    Suite B
                    Camden, NJ 08104

                    Root 24
                    9120-C Pennsauken Hwy
                    Pennsauken, NJ 08110

                    Roper Brothers Lumber Co Inc
                    PO Box 488
                    Colonial Heights, VA 23834
                    0488

                    Roscom, Inc.
                    PO Box 820095
                    Philadelphia, PA     18182-0095

                    Rose Electric Supply Company
                    5038-42 Germantown Ave.
                    Philadelphia, PA 19144

                    Rose Metal Industries, LLC.
                    1536 East 43rd Street
                    Cleveland, OH 44103

                    Rosedale Products Inc.
                    P.O. Box 1085
                    Ann Arbor, MI 48106

                    Rosemarie Cerny
                    723 Eldridge Ave
                    Collingswood, NJ     08107

                    Rosemont Industries Inc.
                    1700 West Street
                    Cincinnati, OH 45215

                    Rosen Cadillac-Subaru
                    190 Presidential Blvd
                    Bala Cynwyd, PA 19004



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                    Rosenthal & Press, P.C.
                    100 Crossways Park West
                    Suite 106
                    Woodbury, NY 11797

                    Roswell Park Alliance
                    Foundation
                    Attn: Lauren Eastman, Ryan
                    Homes
                    1026 Union Rd
                    West Seneca, NY 14224

                    Rotax Metals, Inc.
                    400 Dewitt Avenue
                    Brooklyn, NY 11207

                    Roth Bros. Smelting
                    P.O. Box 639
                    Thompson Road
                    Syracuse, NY 13057

                    Roth Steel Corporation
                    P. O. Box 1354
                    800 Hiawatha Blvd West
                    Syracuse, NY 13204

                    Rothman Equipment Company
                    P.O. Box 40088
                    Philadelphia, PA 19106

                    Roto-Rooter Services Co.
                    7854 Browning Road
                    Pennsauken, NJ 08109

                    Roto-Rooter
                    PO Box 13554
                    Newark, NJ 07188-0554

                    Rouselle Parts (Presses)
                    Parts Dept
                    6360 W. 73rd St.
                    Chicago, IL 60638

                    Roux Associates Inc.
                    209 Shafter Street
                    Islandia, NY 11749-5074




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                    Rowan University
                    College Of Engineering
                    201 Mullica Hill Road
                    Glassboro, NJ 08028

                    Rowe Inc.
                    Route 419 South Box 362
                    Schafferstown, PA 17088

                    Rowland Company
                    P.O. Box 12278
                    Philadelphia, PA     19144-0378

                    Roy J. Shelton, Inc.
                    100 Pacific Drive
                    Quakertown, PA 18951

                    Royal/Arrowpoint Capital
                    3600 Arco Corporate Drive
                    Charolette, NC 28273

                    Royal & Sunalliance
                    PO Box 70184
                    Charlotte, NC 28272-0184

                    Royal Bank Of Canada
                    Bayfront
                    Roseau
                    Dominica
                    West Indies

                    Royal Carbide Products Inc
                    2011 Winslow Rd
                    Williamstown, NJ 08094

                    Royal Electric Supply Company
                    P.O. Box 12618
                    3233 Hunting Park Avenue
                    Philadelphia, PA 19129

                    Royal Glass & Security Co.
                    150 Woodstock Avenue
                    Rutland, VT 5701

                    Royal Graphics Inc
                    3117 North Front St
                    Philadelphia, PA 19133



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                    Royal H & G Products
                    10th Floor,
                    508 Sec. 5 Chung Hsiao E. Rd
                    Taipei Taiwan

                    Royal Instruments, Inc.
                    2615 River Road
                    Unit 3
                    Cinnaminson, NJ 08077

                    Royal Metal
                    500 Confederate Ave
                    Portsmouth, VA 23704

                    Royale Brass House (Pvt) Ltd
                    B-45, Ansal Chambers-1
                    3 Bliikaji Cama Place
                    New Delhi India

                    Royalplast Door Systems Co.
                    5770 Highway #7 West
                    Woodbridge, Ontario, Canada
                    A L4l3A2

                    Royalty Press
                    165 Broadway
                    Westville, NJ    08093

                    RSL Woodworking Products
                    PO Box 714877
                    Colombus, OH 43271-4877

                    Rts Financial Service
                    PO Box 14648
                    Shawnee Mission, KS 66285-
                    4648

                    Ruan Leasing Company
                    135 S Lasalle
                    Dept. 4636
                    Chicago, IL 60674-4636

                    Rubber Supply Co., Inc.
                    616 Nolan Ave
                    Morrisville, PA 19067




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                    Ruch Tool Company, Inc.
                    2750 Terwood Road
                    P.O. Box 426
                    Willow Grove, PA 19090

                    Rudolph, Dorian, Goldstein,
                    Rochestie, Wisniewski
                    2140 Bristol Road
                    Bensalem, PA 19020

                    Rudy Di Renzo
                    705 Princeton Ave.
                    Cherry Hill, NJ 08003

                    Ruhrpumpen, Inc.
                    Department 1794
                    Tulsa, OK 74182

                    Rukert Terminals Corporation
                    2021 South Clinton Street
                    Po Box 5163
                    Baltimore, MD 21224

                    Rumsey Electric Company
                    P.O. Box 7777- W510064
                    Philadelphia, PA 19175-0064

                    Rusal America Corp.
                    550 Mamaroneck Ave
                    Suite 301
                    Harrison, NY 10528

                    Rush Blueprint Co.
                    PO Box 70
                    2572 Bristol Pk
                    Croydon, PA 19021

                    Russ' Auto Service
                    25 Berlin Rd
                    Cherry Hill, NJ 08002

                    Russ Meyers P.E.
                    Hytorc Div. Of Unex Inc.
                    333 Rt. 17 North
                    Mahwah, NJ 07430




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                    Russack Inc.
                    1485 Showcase Drive
                    Columbus, OH 43212

                    Russell Plywood, Inc.
                    3 Mc Cullough Drive
                    New Castle, DE 19720-2083

                    Russian Market
                    PO Box 14945
                    Philadelphia, PA     19149

                    Rutgers Environmental
                    Sciences-Air
                    14 College Farm Road
                    New Brunswick, NJ 08901-8551

                    Rutgers University Foundation
                    411 Cooper Street
                    Camden, NJ 08102

                    Rutgers University Foundation
                    P.O. Box 193
                    New Brunswick, NJ 08903-9972

                    Rutgers University
                    School Of Business
                    3rd & Penn Streets
                    Camden, NJ 08102

                    Rutgers,The State University
                    Registration Desk
                    102 Ryders Lane
                    New Brunswick, NJ 08901-8519

                    Rutland Tool Supply Co.
                    2225 Workman Mill Rd.
                    Whittier, CA 90601

                    Ryan Chang
                    4 Devon Close
                    Kingston 10 Wi
                    Jamaica

                    Ryan Herco Products Corp.
                    One Hollywood Court
                    South Plainfield, NJ 07080



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                    Ryan Seller
                    207 Saratoga Court
                    Warminster, PA 18974

                    Ryan Sheet Metal
                    PO Box 3848
                    Cherry Hill, NJ 08034-5194

                    Rycon Construction Co., Inc.
                    Rd 1 - Box 502
                    Elmer, NJ 08318

                    Ryder Transportation Services
                    PO Box 96723
                    Chicago, IL 60693

                    Ryder
                    15000k Commerce Parkway
                    Mount Laurel, NJ 08054

                    Ryerson Buffalo
                    40 Stanley Street
                    Buffalo, NY 14206

                    Ryerson Tull
                    Industrial Catalog Div
                    PO Box 98039
                    Chicago, IL 60693

                    Ryerson Tull
                    Joseph T. Ryerson & Son
                    20 Steel Road South
                    Morrisville, PA 19067

                    Ryerson
                    6434 North Erie Street
                    Tulsa, OK 74117

                    Ryzex Re-Marketing
                    4600 Ryzex Way
                    Bellingham, WA 98226

                    Ryzex Repair, Inc.
                    830 Fesslers Parkway
                    Suite 102
                    Nashville, TN 37210




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                    Ryzex, Inc.
                    Dept.#100
                    PO Box 94467
                    Seattle, WA 98124-6767

                    S & H Express
                    PO Box 5151
                    Lancaster, PA    17606

                    S & H Hardware & Supply
                    6700 Castor Ave.
                    Philadelphia, PA 19149

                    S & H Hardware
                    6700 Castor Ave
                    Philadelphia, PA 19149

                    S & L Plastics, Inc.
                    2860 Bath Pike
                    Nazareth, PA 18064

                    S & M Management Incorporated
                    P.O. Box 1429
                    Routes 6 & 209
                    Milford, PA 18337

                    S & S Industrial
                    9a South Gold Drive
                    Robbinsville, NJ 08691

                    S & S Industries Inc.
                    298 Main Street
                    Suite 2 A
                    Woodbridge, NJ 07095

                    S & S Products
                    P.O. Box 133
                    Walkerton, IN 46574

                    S G S Distribution
                    1102 Pulallup Ave
                    Tacoma, WA 98421

                    S Parker Hardware Mfg Corp
                    PO Box 9882
                    Englewood, NJ 076311127




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                    S Roberts & Sons
                    7157 N Loop Dr
                    El Paso, TX 79915 2326

                    S Rosenthal & Company Inc
                    9933 Alliance Rd
                    Cincinnati, OH 452425691

                    S W Fixtures Inc
                    3940 Valley Blvd, Unit C
                    Walnut, CA 91789

                    S. E. Consultants
                    Professional Engineer
                    5800 E. Thomas, Suite 104
                    Scottsdale, AZ 85251

                    S. Mark Sulock
                    125 White Horse Pike
                    P.O. Box 309
                    Haddon Heights, NJ 08035

                    S. R. Smith L.L.C.
                    1017 S.W. Berg Parkway
                    PO Box 400
                    Canby, OR 97013

                    S. Walter Packaging Corp.
                    Accounts Receivable Dept.
                    2900 Grant Avenue
                    Philadelphia, PA 19114-2310

                    S.H.S. International
                    929 N. Kings Highway
                    Cherry Hill, NJ 08034

                    S.H.S. Int'l Of Cherry Hill
                    929 N. Kings Highway
                    Cherry Hill, NJ 08034

                    S.J.Fuel South Co. Inc.
                    208 White Horse Pike
                    Suite 4
                    Barrington, NJ 08007




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                    S.J.Z. Woodworking, Inc.
                    606 Hollywood Avenue
                    Cherry Hill, NJ 08002

                    S.W. Fl. Modeling & Talent
                    Agency LLC
                    1400 Royal Palm Sq. Blvd 104
                    Fort Myers, FL 33919

                    Sa Gold Inc/Klotsky Hardware
                    471 Amsterdam Ave
                    New York, NY 10024 5001

                    Saab Financial Services Corp
                    PO Box 242180
                    Little Rock, AR 72223 0021

                    Saab Leasing Co
                    PO Box 239
                    Memphis, TN 381010239

                    Sabic Polymershapes
                    2585 Interplex Drive
                    Trevose, PA 19053

                    Sac Manufacturing Co.
                    P.O. Box 1285
                    Moon Township, PA 15108

                    Saddle Brook Controls
                    PO Box 881
                    280 Midland Ave.
                    Saddle Brook, NJ 07663

                    Safeco Inc.
                    Department 888102
                    Knoxville, TN 37995-8102

                    Safeguard Business System
                    PO Box 1749
                    Fort Washington, PA 19034

                    Safelite Auto Glass
                    2001 W.State Hwy 70
                    Cherry Hill, NJ 08034




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                    Safemasters
                    2700 Garfield Ave, Ste 200
                    Silver Springs, MD 20910

                    Safety Check Newsletter
                    33 E. Minor Street
                    Emmaus, PA 18098-0099

                    Safety Check
                    800 Pleasant Hill Road
                    Wallingdale, PA 19086

                    Safety Connection
                    6032 Fieldstone Avenue
                    Suite H
                    Baton Rouge, LA 70809

                    Safety Covers Of America Inc
                    4255 W. Lake Street
                    Chicago, IL 60624

                    Safety Short Production Inc.
                    2960 N 23rd Street
                    La Porte, TX 77571

                    Safety Speed Cut Mfg. Co.
                    Box 78721
                    Milwaukee, WI 53278-0721

                    Safety-Kleen Corp.
                    123 Red Lion Road
                    Southampton, NJ 08088

                    Safety-Kleen
                    PO Box 382066
                    Pittsburgh, PA    15250-8066

                    Saf-Gard Shoe Co. Inc.
                    2701 Patterson St.
                    Greensboror, NC 17601

                    Sagami Japanese Restaurant
                    37 Crescent Boulevard
                    Collingswood, NJ 08108

                    Saia Motor Freight Line Inc
                    PO Box 730532
                    Dallas, TX 75373 0532


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                    Sailing Specialties, Inc.
                    PO Box 99
                    Commerce Avenue
                    Hollywood, MD 20636

                    Saint Charles Borromeo School
                    1704 Bristol Pike
                    Bensalem, PA 19020

                    Saint-Gobain Bayform
                    PO Box 641544
                    Pittsburgh, PA 152641544

                    Saint-Gobain Ind. Ceramics,
                    Inc
                    Po Box 187
                    Keasbey, NJ 08832

                    Saint-Gorbain Advanced
                    Ceramic
                    Corp. Boron Nitride
                    168 Creekside Drive
                    Amherst, NY 14228-2027

                    Salb, Richard A.
                    9649 Olympic Blvd, Apt #12
                    Beverly Hills, CA 90212

                    Sales & Marketing Management
                    PO Box 15698
                    North Hollywood, CA 91615

                    Sales & Use Tax
                    CN 999
                    Trenton, NJ 086460999

                    Sales Consultants-Camden Cit
                    800 Kings Hihgway North
                    Suite 402
                    Cherry Hill, NJ 08034-1511

                    Sales Packaging Inc
                    801 S Columbus Blvd, Ste 3
                    Philadelphia, PA 19147




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                    Sales Unlimited LLC
                    15911 Township Glen Ln
                    Cypress, TX 77433

                    Saloon Enterprises, Inc.
                    750 South 7th Street
                    Philadelphia, PA 19147

                    Sama Wood LLC
                    800 Eastern Way
                    Carlstadt, NJ 07072

                    Samantha Westfall
                    Viscount Pools
                    28302 Jor Road
                    Linonia, MI 48150

                    Samjac Industries, Inc.
                    5070 Parkside Avenue
                    Suite 3500d, Unit 13
                    Philadelphia, NJ 19131-4748

                    Samples Packaging LLC
                    144 W Forrest Grove Rd
                    Vineland, NJ 08360

                    Sampson Automation Co , Inc.
                    140 Commerce Drive
                    Hauppauge, NY 11788

                    Sampson Industries, Inc.
                    P.O. Box 1605
                    Gladewater, TX 75647

                    Sampson Sales , Inc.
                    140 Commerce Drive
                    Hauppauge, NY 11788

                    Sam's Club
                    1000 Franlinmills Circle
                    Philadelphia, PA 19154

                    Sam's Club
                    5011 Route 130 South
                    Delran Township, NJ 08075




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                    Sam's Club
                    P.O. Box 9001907
                    Louisville, KY 40290-1907

                    Samson Security Systems
                    3838 Germantown Ave
                    Philadelphia, PA 19140 3622

                    Samuel & Marks
                    4901 Cutshaw Avenue
                    PO Box 6857
                    Richmond, VA 23230-0857

                    Samuel Dein Associates
                    337 E. County Road
                    Ardmore, PA 19003

                    Samuel Machinery Co
                    135-137 N. Third St
                    Philadelphia, PA 19106-1993

                    Samuel Specialty Metals, Inc.
                    Attention: Carol
                    21 Marway Circle
                    Rochester, NY 14624

                    Samuel Stamping Technologies
                    C/O Samuel Son And Co.
                    4334 Walden Ave.
                    Lancaster, NY 14086

                    Samuel Strapping Systems
                    1401 Davey Road
                    Suite 300
                    Woodbridge, IL 60517

                    Samuel,Son & Co. Limited
                    2360 Dixie Road
                    Mississauga Ontario
                    L4y54-127

                    Samuels Machinery
                    135-137 N. Third St.
                    Phila., PA 19106




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                    San Lorenzo
                    Division Of Lumbermens
                    PO Box 1808
                    Santa Cruz, CA 95061

                    Sandmeyer Steel Company
                    One Sandmeyer Lane
                    Philadelphia, PA 19116-3598

                    Sandollar Pool & Spa
                    Frd 5 Box 485a
                    Bangor Road
                    Ellsworth, ME 04605

                    Sandoval Graphics & Printing
                    9 Minnetonka Road
                    Hi-Nella, NJ 08083-2817

                    Sandvik Coromant Company
                    P.O. Box 360720 M
                    Pittsburgh, PA 15251-6720

                    Sanelle Wood Products Corp
                    315 East 86th St
                    Suite 20e/East
                    New York, NY 10028

                    Sanitary Maintenance Co
                    26 Gormely Ave
                    Merrick, NY 11566

                    Sani-Tec Inc.
                    1650 53rd Street
                    Brooklyn, NY 11204

                    Sanko, Inc.
                    631 E. Dania Beach Blvd.
                    Dania, FL 33004

                    Santos Roman-Diaz
                    1220 N. 34th Street
                    Camden, NJ 08105

                    Sash Controls
                    PO Box 751579
                    Charlotte, NC 28275




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                    Sash Systems, LLC
                    1603 South 14th Street
                    Princeton, MN 55371

                    Sashlite, LLC
                    727 Post Road East
                    Westport, CT 06 880

                    Sastha.Com Inc.
                    131 Hall Place
                    Grosse Pointe Farms, MI
                    48236

                    Satin American Corp.
                    40 Oliver Terrace
                    P.O. Box 619
                    Shelton, CT 06484-0619

                    Satramet
                    599 West Putnam Avenue
                    Greenwich, CT 06830

                    Saturn Hardware Co Ltd
                    No 15-2 Shangping Central Rd
                    Xiaolan Town
                    Zhongshan City
                    China
                    Guangdong

                    Saturn Of Monroeville
                    Route 48 North(Haymaker Road)
                    P.O. Box 455
                    Monroeville, PA 15146

                    Saunders Engineering Corp
                    4100 N Powerline Rd
                    Suite X-2
                    Pompano, FL 33073

                    Save-A-Life Inc.
                    1327 Red Bank Avenue
                    Thorofare, NJ 08086

                    Savin Corporation
                    PO Box 73683
                    Chicago, IL 60673-7683




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                    Savin Corporation/Dba
                    Ricoh Business Sys. Dela.
                    Valley
                    7186 N. Park Drive
                    Pennsauken, NJ 08109

                    Saylor Fence
                    Attn: Lorraine
                    4153 Sw 47th Avenue, Unit 49
                    Ft Lauderdale, FL 33314

                    Scaer, Md.,Robert C
                    515 N. Adams Avenue
                    Louisville, CO 80027

                    Scalfo Electric, Inc.
                    P.O. Box 802
                    3539 N. Mill Road
                    Vineland, NJ 08360

                    Scallop Thermal Management,
                    Inc
                    1653 The Fairway
                    Jenkintown, PA 19046

                    Scansoft Group, Inc.
                    1531 Sam Rittenberg Blvd.
                    Charleston, SC 29407

                    Scepter Inc. (Rye Ny)
                    Po Box 440290
                    Nashville, TN 37244-0290

                    Scepter Inc. - Seneca Falls
                    11 Lamb Road
                    Seneca Falls, NY 13148

                    Scepter Inc. - Seneca Falls
                    P.O. Box 440290
                    Nashville, TN 37244-0290

                    Scepter Inc. -Sales & Trading
                    14 Elm Place - Suite 208
                    Rye, NY 10580




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                    Scepter Inc.
                    14 Elm Place
                    Rye, NY 10580

                    Scepter Industries
                    6467 N. Scepter Road
                    Bicknell, IN 47512

                    Schenker International
                    PO Box 7247-7623
                    Philadelphia, PA 19170-7623

                    Scherrer Enterprises Inc.
                    PO Box 674976
                    Marietta, GA 30006-0007

                    Schiavone & Sons, Inc
                    234 Universal Drive
                    New Haven, CT 06473

                    Schiffenhaus Packaging Corp.
                    2013 Mccartner Highway
                    Newark, NJ 07104

                    Schilli Transportation
                    Services, Inc.
                    L-2371
                    Columbus, OH 43260

                    Schlage Lock Company
                    75 Remittance Drive
                    Ste 6079
                    Chicago, IL 60675-6079

                    Schlanger, Silver, Barg &
                    Paine, LLP
                    PO Box 570548
                    Houston, TX 77257-0549

                    Schlecter Industrial Supply
                    Division Of Turtle And Hug
                    188 Foot Hill Road
                    Bridgewater, NJ 08807




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                    Schlegel Corp
                    Rochester Division
                    PO Box 3393
                    Buffalo, NY 14240

                    Schlegel Oklahoma Inc.
                    P.O. Box 96552
                    Chicago, IL 60693

                    Schmeltzer, Master & Gorsky
                    400 Greenwood Avenue
                    Wyncote, PA 19095-1897

                    Schmidt's Auto Body & Glass
                    3840 Sheridan Dr
                    Amherst, NY 14226

                    Schnarrs, Ken
                    11 Azalea Drive
                    Mount Holly, NJ     08060

                    Schneider National Inc
                    Dept At 952114
                    Atlanta, GA 31192 2114

                    Schneider National Inc.
                    Dept At 952114
                    Atlanta, GA 31192-2114

                    Schoellhorn-Albrecht Inc
                    575-105 Rudder Road
                    Fenton, MO 63116

                    Scholars International
                    Publishing Corp.
                    2675 Georgetown Blvd.
                    Ann Arbor, MI 48105

                    Schuler Industries
                    2936 35th Avenue North
                    Birmingham, AL 35207

                    Schuylkill Valley Landscape
                    142 Pencoyd Avenue
                    Bala Cynwyd, PA 19004




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                    Schwartzberg
                    140 Old Lyme Road, Apt 4
                    Williamsville, NY 14221

                    Schweitzer & Crosson Inc.
                    418-5 Caredean Dr.
                    Horsham, PA 19044

                    Schweitzer Engineering Labs.
                    C/O Robinson Sales Inc.
                    1240 Ashbridge Rd.
                    West Chester, PA 19380

                    Schweizer Fire Protection Co.
                    PO Box 29243
                    Philadelphia, PA 19125

                    Schwering's
                    307-09 Broad St,
                    Palmyra, NJ 08065

                    Scott A Mitchell
                    4355 Pilgrim Hollow Ct
                    Brookfield, WI 53005

                    Scott E. Buchheit
                    400 Elm Ave.
                    Haddonfield, NJ 08033

                    Scott Paist
                    4753 Cypress Ave.
                    Trevose, PA 19053

                    Scott Simpkins
                    260 Huttleston Ave.
                    Fairhaven, MA 2719

                    Scott Testing Inc
                    604 New York Ave
                    Trenton, NJ 08638

                    Scott, J.W.
                    P.O. Box 1158
                    Whittlesey Rd
                    Trenton, NJ 08606-1158




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                    Scottsboro Aluminum L.L.C.
                    1762 Goosepond Drive
                    Scottsboro, AL 35769

                    Scout Trucking, Inc.
                    P.O. Box 13158
                    Philadelphia, PA 19101

                    Scp Distributors
                    925 Fairway Park Drive
                    Madison, IL 62060

                    Scrap Processing And
                    Recycling
                    1325 G. Street N.W.
                    Suite 1000
                    Washington, DC 20015-3104

                    Screws & More
                    47 North Lawn Avenue
                    Elmsford, NY 10523

                    Scully's
                    P.O. Box 1333
                    Oak Lane At The B & O
                    Railroad
                    Collingdale, PA 19023

                    Sdt North America
                    P.O. Box 374
                    Putnam Valley, NY     10579

                    Sea Raider
                    P.O. Box 1362
                    Wildwood, NJ 08260

                    Sea Spray Enterprises
                    1251 Jupiter Park Dr #5
                    Jupiter, FL 33458

                    Sea To Sea
                    Bourse Building
                    Suite 964
                    111 S. Independence Mall E.
                    Philadelphia, PA 19106




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                    Seaboard Chapter Isri
                    Greg Rochlin
                    C/O Terrapin Recycling
                    P.O. Box 8779
                    Baltimore, MD 21240

                    Seaboard Industrial Supply
                    C1t
                    151 North Third Street
                    Philadelphia, PA 19106

                    Seaboard Industries
                    185 Van Winkle Avenue
                    Hawthorne, NJ 07507

                    Sea-Land Service, Inc.
                    P.O. Box 730045
                    Dallas, TX 75373-0045

                    Sealant Depot, Inc.
                    PO Box 2758
                    Cinnaminson, NJ 08077

                    Sealeze Corporation
                    8000 White Pine Road
                    Richmond, VA 23237

                    Sears Industrial Sales
                    P.O. Box 42538
                    Cincinnati, OH 45242-0538

                    Sears National Parts Center
                    P.O. Box 991831
                    Mobile, AL 36691

                    Sears Product Servives
                    8000 National Highway
                    Pennsauken, NJ 08110

                    Sears
                    PO Box 182149
                    Columbus, OH 43218-2149

                    Sears
                    Route 38 & Lenola Road
                    Moorestown Mall
                    Moorestown, NJ 08057



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                    Seashore Locksmith Shop
                    323 S Main St
                    Pleasantville, NJ 08232 3029

                    Seco/Warwick Corporation
                    180 Mercer Street
                    Meadville, PA 16335-3618

                    Secon Rubber & Plastics
                    240 Kaskaskia Dr
                    Red Bud, IL 62278

                    Second Baptist Church
                    Of Doylestown
                    1109 N. Easton Road
                    Doylestown, PA 18901

                    Second City Systems
                    PO Box 760
                    Mundelein, IL 60060

                    Second City Systems, Inc.
                    3429 Elmwood Ave
                    Berwin, IL 60402

                    Secretary Of The Commonwealth
                    Department Of State
                    Uniform Commercial Code
                    P.O. Box 8721
                    Harrisburg, PA 17105-8721

                    Secretary Of The State Of
                    Connecticut
                    William P. Silk, Esq.
                    Commercial Recording
                    30 Trinity Street
                    Hartford, CT 06 106

                    Sector Technology Inc.
                    4865 Wyndhurst Road
                    Lexington, KY 40515

                    Secura - Seal L.L.C
                    8600 River Road
                    Delair, NJ 08110




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                    Secura-Seal LLC
                    8600 River Road
                    Delair, NJ 08110

                    Security Defense Systems
                    139-T Chestnut Street
                    P.O. Box 243
                    Nutley, NJ 07110

                    Security Ins. Co. Of Hartford
                    PO Box 96082
                    C/E Emi Companies
                    Chicago, IL 60693

                    Security Lock & Safe
                    4960 66th St, No
                    St Petersburg, FL 33709

                    Security Lock, Inc.
                    59 Wexford St
                    PO Box 815
                    Needham, MA 2194

                    Seeberger Plumbing, Inc
                    1721 Bensalem Blvd
                    Bensalem, PA 19020

                    Seema Overseas
                    4665, 1st Floor, Hauz Qazi
                    Delhi

                    Sees & Faber-Berlin, Inc.
                    456 N. 8th Street
                    Philadelphia, PA 19123

                    Seibel Technologies
                    121 Shady Lane
                    Lansdale, PA 19446

                    Seiberlich/Trane
                    4201 Miller Road
                    Wilmington, DE 19802

                    Selby Furniture Hardware
                    321 Rider Ave
                    Bronx, NY 10451




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                    Select Publishing Inc.
                    6417 Normandy Lane
                    Madison, WI 53719-1133

                    Selee Corporation
                    P.O. Box 601479
                    Charlotte, NC 28260-1479

                    Self Storage Association
                    4777 Redbank Expressway
                    Suite 10
                    Cincinnati, OH 45227

                    Seljan Company Inc
                    105 Industrial Dr
                    PO Box 158
                    Lake Mills, WI 53551

                    Semanoff, Ormsby & Greenberg
                    Suite 200
                    610 Old York Road
                    Jenkintown, PA 19046

                    Seminar
                    Dupont Legal
                    1007 Market Street, D-7017
                    Wilmington, DE 19898

                    Semling Menke Co Inc
                    South Nast St
                    PO Box 378
                    Merrill, WI 54452 0378

                    Sempra Metals Limited
                    111 Old Broad Street
                    London
                    England
                    Ec2n 1sg

                    Senior-Flexonics, Inc.
                    Pathway Division
                    2400 Longhorn Industrial Dr.
                    New Braunfels, TX 78130

                    Senne Sales
                    5150 Buford Highway
                    Norcross, GA 30071



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                    Sensation Spas
                    3200 S. Naglee Road
                    Tracy, CA 95376

                    Sensational Host Caterers Inc
                    3030 North Route 73
                    Maple Shade, NJ 08052

                    Sentry
                    1800 North Point Drive
                    Stevens Point, WI 54481-8019

                    Sentry Group
                    PO Box 911303
                    Dallas, TX 753911303

                    Sentry Insurance
                    Attn: Wha-H3/62
                    1800 North Point Drive
                    Stevens Point, WI 54481-8019

                    Sentry Paint Technologies Inc
                    P.O. Box 229
                    Norristown, PA 19404-0229

                    Sentry Paint Technologies
                    237 Mill Street
                    Darby, PA 19023

                    SEP
                    PO Box 266
                    Red Hook, NY    12571

                    Sepesi Inc.
                    P.O. Box 481
                    Rhinebeck, NY    12572

                    Sepesi, Inc.
                    PO Box 266
                    Red Hook, NY    12571

                    Sequel Corporation
                    119 N. Jonathan Blvd
                    Chaska, MN 55318-2395




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                    Serfilco Ltd.
                    135 S. Lasalle
                    Dept. 3077
                    Chicago, IL 60674-3077

                    Service Aluminum Corporation
                    3300 North Ridge Road
                    Suite 290
                    Ellicott City, MD 21043

                    Service Aluminum
                    3300 North Ridge Road
                    Suite 290
                    Ellicott City, MD 21043

                    Service By Air
                    PO Box 6017
                    Garden City, NY     11530-6017

                    Service Caster Corporation
                    Riverfront Business Center
                    9 South First Ave.
                    West Reading, PA 19611

                    Service Equipment & Trucking
                    P.O. Box 588
                    Mattoon, IL 61938

                    Service Station Service Inc.
                    401 Southgate Court
                    Mickleton, NJ 08056

                    Service Tire Truck Center
                    2255 Avenue A
                    Bethlehem, PA 18017

                    Service Tool & Mfg. Co., Inc.
                    2115 Byberry Road
                    Huntingdon Vly., PA 19006

                    Service Tool (Malber)
                    Service Tool & Mfg
                    2115 Byberry Road
                    Huntingdon Valley, PA      19006




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                    Servi-Sure Corporation
                    2020 W. Rascher Avenue
                    Chicago, IL 60625

                    Servo Repair International
                    1641c Butler Plank Road
                    Glenshaw, PA 15116

                    Seton Identification Products
                    PO Box 95904
                    Chicago, IL 60694-5904

                    Seton Name Plate Co.
                    P.O. Box 819
                    Branford, CT 06405-0819

                    Seton Name Plate Company
                    PO Box 95904
                    Chicago, IL 60694-5904

                    Sevan Sales Inc
                    862 Willow Rd
                    Greenville, CA 95947

                    Seven Seas
                    800 Central Avenue
                    University Park, IL     60566

                    Sevenoaks Capital Corporation
                    P.O. Box 54755
                    New Orleans, LA 70154-4755

                    Severn Trent Envirotech
                    South Jersey Service Center
                    520 Fellowship Road
                    Suite A-108
                    Mt. Laurel, NJ 08054

                    Sevylor Usa, Inc
                    Thompson Creek Road
                    Stevensville, MD 21666

                    Seward Fence
                    284 Lindley Road
                    Canonsburg, PA 15317




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                    Sewart Business Systems
                    105 Connecticut Drive
                    Burlington, NJ 08016

                    Sew-Eurodrive
                    2107 High Hill Road
                    Pureland Industrial Complex
                    Bridgeport, NJ 08014

                    Sexton & Peake, Inc.
                    398 West Sixth Ave
                    Parksburg, PA 19385

                    Sfi
                    1501 Lancer Drive
                    Morrestown, NJ 08057

                    Sfl Installations, Inc.
                    2926 Sunrise Ave.
                    Bristol, PA 19053

                    Sgl Carbon Corporation
                    P.O. Box 601009
                    Charlotte, NC 28260-1009

                    Shake-A-Leg Miami
                    David J Schroeder
                    9055 Sw 73 Ct, Ste 603
                     Miami, FL 33156

                    Shamrock Group, Inc.
                    7905 Browning Road
                    Pennsauken, NJ 08109

                    Shanahan's Express
                    PO Box 2245
                    Cinnaminson, NJ 08077

                    Shanahan's Express, Inc.
                    2201 Garry Road
                    P.O. Box 2245
                    Cinnaminson, NJ 08077




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                    Shanghai Electric Intl
                    F6, Tower 1,
                    Shanghai Resource Plaza
                    No 268 Zhongshan Road(S)
                    Shanghai
                    200010

                    Shanghai Housing Prod Co Ltd
                    Rm 101, No 19, ;Ingxiang
                    Yuan,
                    Lane 501, Nianjiabang Road
                    Zhoupu Town, Pudong,
                    China
                    Shanghai

                    Shanghai J E Tools Inc
                    636 Ning Wu Road
                    Shanghai China
                    2000090

                    Shanghai Jinwei Hardware
                    Works
                    West Ximentown
                    Jinshanwei
                    Shanghai China

                    Shanghai S.A.C. Ltd
                    600 Zhongshan Road
                    Shanghai
                    China 200010

                    Shanghai Warrier Industrial
                    & Trading Co Ltd
                    Rm 201 Xinmao Mansion
                    No 99 Tianzhou Rd
                    China 200233
                    Shanghai

                    Shanghai Yuqi Hdw Prod Co Ltd
                    No 3 Fenggao Rd
                    Fengcheng Industrial Park
                    Fengxian, Pudong
                    China 201411
                    Shanghai




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                    Shantou Aurican Architectural
                    No. 5a2-2 Jinyuan Industrial
                    Estate
                    Chantou, Guangdong, China

                    Shapes Unlimited, Inc.
                    590 E. Western Reserve Rd.
                    Bldg. 4
                    Youngstown, OH 44514

                    Share
                    1501 Broadway
                    Suite 704a
                    New York City, NY     10036

                    Shared Logic
                    6904 Spring Valley Drive
                    Suite # 305
                    Holland, OH 43528

                    Shared Systems Technology
                    Inc.
                    Corporated Headquarters
                    P.O. Box 408
                    Sewell, NJ 08080

                    Sharpshooters
                    5000 Southwest 75th Ave
                    3rd Floor
                     Miami, FL 33155

                    Shaun Oneil
                    28 Murphy Place
                    Pittsfield, MA 1201

                    Shaw Industries
                    PO Box 100232
                    Atlanta, GA 30384-0232

                    Shearer Industrial Supply Co
                    20 North Penn Street
                    York, PA 17405-1272

                    Shearer Industrial Supply Co.
                    20 North Penn St.
                    P.O. Box 1272
                    York, PA 17405



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                    Shechtman, Marks, Devor
                    & Etskovitz, P.C.
                    1524 Delancey Street
                    Philadelphia, PA 19102

                    Sheehy Ford Sales, Inc.
                    9371 Roosevelt Blvd.
                    Philadelphia, PA 19114

                    Sheilds Electric
                    2815 Haddonfield Road
                    Pennsauken, NJ 08110

                    Shelby Jones Company Inc.
                    8800 West Chester Pike
                    Upper Darby, PA 19082

                    Shelby Williams
                    A & D Building
                    150 E. 58th Street
                    Suite 300
                    New York, NY 10155

                    Shelly Creative Services
                    289 Main Street
                    Matawan, NJ 07747

                    Shelmet Corp
                    220 Congress Park Dr
                    Delray Beach, FL 33445

                    Shelmet Corporation
                    Dept 214164
                    Miami, FL 33121-0001

                    Shelter Distribution, Inc.
                    33 Fairfield Ave.
                    Nashville, TN 37210

                    Shelton Siding Co., Inc.
                    17991 Highway 71 North
                    St Joseph, MO 64505

                    Shenzhen Jacou Industry Ltd.
                    Unit E, 20 Fl Qinghai Bldg
                    Futian District, Shenzhen
                    China



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                    Shepard Convention Services
                    5401-C Hovis Road
                    Charlotte, NC 28208

                    Shepard Niles Inc.
                    250 N. Genesse St.
                    Montour Falls, NY 14865

                    Sheriff Of Camden County
                    Attn: Sandy Taylor
                    520 Market Street
                    Room 100
                    Camden, NJ 08101

                    Sheriff Of Camden County
                    P.O. Box 769
                    Camden, NJ 08101

                    Sheriff Of Camden County
                    PO Box 769
                    Camden, NJ 08101

                    Sherriff Of Tyler County
                    P.O. Box 7
                    Middlebourne, WV 26149

                    Shervin
                    324 Wayne Court
                    Holland, PA 18966

                    Sherwin Williams
                    Chemical Coatings Facili
                    3165 Tucker Rd.
                    Bensalem, PA 19020

                    Shieldalloy Metallurgical
                    Corp
                    545 Beckett Road
                    Suite 208
                    Swedesboro, NJ 08085

                    Shilburg Integrated Metals Co
                    47 Milk Street
                    Willimantic, CT 06226




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                    Shingle & Gibb
                    845 Lancer Drive
                    Moorestown West Corp Ctr
                    Moorestown, NJ 08057

                    Shingle & Gibb
                    845 Lancer Drive
                    Moorestown, NJ 08057

                    Shingle And Gibb
                    845 Lancer Drive
                    Moorestown, NJ 08057

                    Ship It, LLC.
                    979 S. Main Street
                    Attn: Patti C. Allman
                    Lexington, NC 27292-3131

                    Ship To Shore
                    Drug And Alcohol Testing
                    Services
                    2961 Yorkship Square
                    Camden, NJ 08104

                    Shipps Contracting Company
                    8006 Route 130 North
                    Delran, NJ 08075

                    Shomer-Tec Inc.
                    Box 28070
                    Bellingham, WA 98228

                    Shoreway Marine, Inc.
                    590 Hwy 73
                    West Berlin, NJ 08091

                    Showworks
                    Audio-Visual Inc.
                    100 Naamans Road
                    Suite 1c
                    Wilmington, DE 19703

                    Shrink Packaging Sys. Co.
                    15 Progress Street
                    Edison, NJ 08820




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                    Shrink Packaging Sys. Corp.
                    15 Progress Street
                    Edison, NJ 08820

                    Shrm Distribution Center
                    1279 Trapp Road
                    Eagan, MN 55121-1254

                    Shunda (Hk) Products Ind Ltd
                    Yongkou No 2 Industrial Zone
                    Shijie Town, Dongguan
                    China
                    Guangdong

                    Shunde Huatai Metal Goods
                    No. 1 Hean Industry Road
                    Leliu Town
                    Shunde City
                    Guangdong China

                    Shunde Native Prod (Gold
                    Star)
                    No. 16 North Ronggui Da Dao
                    Ronggui, Shunde
                    Guangdong China

                    Shupper-Brickle Equip. Co.
                    2394 Rt. 130
                    Dayton, NJ 08810

                    Shupper-Brickle Equipment
                    Company
                    2394 Route 130
                    PO Box 803
                    Dayton, NJ 08810

                    Shure-Glue
                    457 Circle Freeway Drive
                    Cincinnati, OH 45246

                    Sibirsky Aluminum Prod Usa
                    550 Mamaroneck Ave
                    Suite 301
                    Harrison, NY 10528




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                    Sick/Stegmann
                    7496 Webster St.
                    Dayton, OH 45414

                    Sid Yates
                    1567 Wrightstown Rd.
                    Newtown, PA 18940

                    Siegel Aluminum Company
                    4519 Renaissance Parkway
                    Cleveland, OH 44128

                    Siemens Energy & Auto #2
                    100 Technology Drive
                    Alpharetta, GA 30202

                    Siemens Energy & Automation
                    390 Kent Ave
                    Elk Grove Villiage, IL 60007

                    Siemens Tech. Support Center
                    1520 Virginia Drive
                    Fort Washington, PA 19034

                    Siemens Water Technologies
                    301 W. Military Road
                    Rothschild, WI 54474

                    Sierra Craft
                    18825 San Jose Ave
                    City Of Industry, CA 91748
                    1326

                    Sig Positec Automation, Inc.
                    41170 Joy Road
                    Plymouth, MI 48170

                    Sigbet Manufacturing
                    R.D.1 Box 312
                    Blairsville, PA 15717

                    Sigbet Mfg.
                    3994 Chestnut Ridge Road
                    Blairsville, PA 15717

                    Sign Now
                    616 N Tyron St
                    Charlotte, NC 28202


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                    Signode - Eastern Operations
                    P.O. Box 95733
                    Chicago, IL 60694-5733

                    Signode Service Business
                    P.O. Box 71057
                    Chicago, IL 60694

                    Signode Service Business-P
                    3456 Ridge Avenue
                    Arlington Heights, IL 60004-
                    1414

                    Signode Tool Repair
                    501 Hickman Street
                    Gadsen, AL 35901

                    Signwriters Unlimited
                    A-1 Williamstown Business
                    Park
                    1809 North Black Horse Pike
                    Williamstown, NJ 08094-9100

                    Siko Products, Inc
                    P.O. Box 279
                    Dexter, MI 48130

                    Silco Distributors Inc
                    14715 Nw 24th Court
                    Opa Locka, FL 33054 3107

                    Silvent North America
                    1860 Renaissance Blvd.
                    Sturtevant, WI 53177-1743

                    Silver City Aluminum Corp.
                    704 West Water Street
                    Taunton, MA 02780

                    Silverman & Freed
                    19th Floor
                    700 Bay Street
                    Toronto,Ontario
                    Canada M5g 1z6




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                    Simon Resources
                    P.O. Box 3275
                    Williamsport, PA     17701

                    Simonik Moving & Storage Inc.
                    P.O. Box 6949
                    Bridgewater, NJ 08807

                    Simplexgrinnell Lp
                    Dept. Ch 10320
                    Palatine, IL 60055-0320

                    Simsmetal America
                    3220 Deepwater Terminal Rd
                    Richmond, VA 23234

                    Sinclair And Rush
                    3545 Scarlet Oak Blvd
                    Kirkwood, MO 63122

                    Sinclair Material Handling
                    P.O. Box 55088
                    Second Avenue
                    Trenton, NJ 08638

                    Sindall Transport
                    P.O. Box 165
                    New Holland, PA 17557

                    Singer Container
                    1919 Boston Street
                    Philadelphia, PA 19125

                    Singleton Locksmith
                    1300 Dr Martin L King Jr Ave
                    Mobile, AL 36603

                    Siperstein's Paint
                    600 Route 73 South
                    Maple Shade, NJ 08052

                    Siperstein's/ Maple Shade
                    2819 Route 73 South
                    Maple Shade, NJ 08052

                    Siquar Usa Inc
                    1213 26th St, Se
                    Hickory, NC 28602


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                    Sir Speedy
                    5505 Route 130 N
                    Pennsauken, NJ 08110

                    Sirote & Permutt
                    PO Box 55727
                    Birmingham, AL 35255-5727

                    Sissco Permadur
                    186 Route 206 South
                    Hillsborough, NJ 08844

                    Sissco/Permadur
                    186 Route 206 South
                    Somerville, NJ 08876

                    Site Engineers, Inc.
                    P.O. Box 8500-S-41965
                    Philadelphia, PA 19178

                    Sjf Material Handling
                    211 Baker Ave. West
                    P.O. Box 70
                    Winsted, MN 55395

                    Sk & P Industries Inc.
                    Metrolab Division
                    73 Norfolk St.
                    Newark, NJ 07103

                    S-K Forms Company
                    2239 East Cambria Street
                    P.O. Box 26867
                    Philadelphia, PA 19134

                    Sk Forms
                    2239 E. Cambria St.
                    P.O. Box 26867
                    Philadelphia, NJ 19134

                    Skarda
                    2563 Farnam Street
                    Omaha, NE 68131




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                    Skiatook Cardinals
                    C/O Jarrell Delk
                    160 N. Rockford
                    Tulsa, OK 74120

                    Skil Corporation
                    333 E Hunting Park Ave
                    Philadelphia, PA

                    Skilled Workers Inc.
                    Dba. Skilledworkers.Com
                    701 W. Georgia St.
                    Suite 1630
                    Vancover
                    BC Canada
                    V7y 1k8

                    Skillpath Seminars
                    P.O. Box 804441
                    Kansas City, MO 64180-4441

                    Sko*Brenner*American
                    840 Merrick Road
                    Cs9320
                    Baldwin, NY 11510-9320

                    Skotz Manufacturing Inc
                    PO Box 473
                    Glenmoore, PA 19343

                    Skw Alloys Inc
                    3801 Highland Ave
                    Niagra Falls, NY 14503

                    Skytel
                    P.O. Box 740577
                    Atlanta, GA 30374-0577

                    Skytel
                    PO Box 740577
                    Atlanta, GA 30374-0577

                    Slate Installlations, Inc.
                    4955 Indiana Ave.
                    Winston-Salem, NC 27106




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                    Slc Premier Supply
                    1504 Sixth Avenue
                    Neptune, NJ 07753

                    Slick Ideas Inc
                    Geoff Slick
                    1013 N. Gravel Pike
                    Schwenksville, PA 19473

                    Slingman Industries
                    P.O. Box 6870
                    Somerset, NJ 08875

                    Smart Money
                    P.O. Box 11205
                    Des Moines, IA    50350-1205

                    Smc Pneumatics Inc.
                    3434 Highway #22 West
                    Suite #110
                    Somerville, NJ 08876

                    Smelter Service Corp.
                    P.O. Box 432
                    Mt. Pleasant, TN 38474

                    Smi Company
                    816 Delsea Dr, Suite 333
                    Glassboro, NJ 08028-1499

                    Smi Company
                    816 Delsea Dr.
                    Suite 333
                    Glassboro, NJ 08028-1499

                    Smith And Solomon
                    721 Cuthbert Road
                    Cherry Hill, NJ 08002

                    Smith Debnam Narron Wyche
                    Saintsing & My
                    4601 Six Forks Road, Suite
                    400
                    PO Box 26268
                    Raleigh, NC 27611-6268




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                    Smith Environmental Tech.
                    Corp.
                    P.O. Box 35053
                    Newark, NJ 07193-5053

                    Smith Transport Inc.
                    331 E. Closson Road
                    P.O. Box 201
                    Roaring Spring, PA 16673-
                    0201

                    Smith-Felver & Prime, Ltd.
                    4497 Mechanicsville Road
                    Doylestown, PA 18901

                    Smith-Koch, Inc.
                    830 Tryens Rd.
                    Aston, PA 19014

                    Smithway Motor Express, Inc.
                    3653 Paysphere Cir.
                    Chicago, IL 60674

                    Sms Meer Service Inc.
                    210 West Kensinger Drive
                    Suite 300
                    Cranberry Township, PA 16066

                    Sms Meer Service Inc.
                    234 South Potter St.
                    Bellefonte, PA 16823

                    Smucker Laser Cutting
                    2133 Rockvale Road
                    Lancaster, PA 17602

                    Snap-On Tool Corp.
                    15 Amesbury Place
                    Sicklerville, NJ 08081

                    Snapp Tool & Die Inc.
                    10885 Dyer St.
                    Bldg. A
                    El Paso, TX 79934




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                    Snelling & Snelling
                    23 W. Park Ave. #110
                    Merchantville, NJ 08109

                    Snelling Personnel Services
                    5425 Rt 70 W.
                    Pennsauken, NJ 08109

                    Sniderman's Hardware
                    519 Joseph Ave
                    Rochester, NY 14605 1299

                    Snoozie Enterprises Inc.
                    C/O Elwood Martz
                    Pennsauken Township
                    5605 N. Crescent Boulevard
                    Pennsauken, NJ 08110

                    Society For Human Resource
                    Management
                    PO Box 791139
                    Baltimore, MD 21279-1139

                    Society For Human Resource
                    Management
                    P.O. Box 791139
                    Baltimore, MD 21279\1139

                    Society Of Manufacturing
                    Engineers
                    Attn: Records Dept
                    One Sme Drive, PO Box 930
                    Dearborn, MI 48121-9986

                    Society Of Manufacturing
                    Engineers
                    P.O. Box 32641
                    Detroit, MI 48232-9701

                    Society Of Manufacturing
                    Engineers
                    P.O. Box 77058
                    Detroit, MI 48277

                    Society Of Plastics Industry
                    P.O Box 753
                    Waldorf, MD 20604



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                    Sodexho
                    One Port Center
                    2 Riverside Drive
                    Camden, NJ 08103-1003

                    Soklove Machinery Co Inc
                    53 Seaside Court
                    Margate, NJ 08402

                    Solar Atmospheres Inc.
                    1969 Clearview Rd.
                    Souderton, PA 18964

                    Solarcom Usa
                    501 Silverside Road
                    Suite 105
                    Wilmington, DE 19809

                    Solberg Manufacturing, Inc.
                    PO Box 5988
                    Dept. 20-5021,
                    Carolstream, IL 60197-5988

                    Solid Partners
                    2155 Los Paoitas Center
                    Suite D
                    Livermore, CA 94550

                    Solid Well International Corp
                    PO Box 104-27
                    31-2 Fl-1, Lane 554,
                    Pei-An Rd
                    Taipei Taiwan

                    Solomon Metals Corp.
                    580 Lynnway
                    Route 1 A
                    Lynn, MA 01905

                    Solutech, Inc.
                    P.O. Box 378
                    Lafayette Hill, PA     19444-
                    0378




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                    Solutions By Computerware
                    "The Farmhouse"
                    12 Great Valley Pkwy
                    Malvern, PA 19355

                    Solutions Staffing
                    Jt/Sg Enterprises Inc
                    6033 Cleveland Ave
                    Columbus, OH 43231

                    Soma Computer Support
                    1819 J.F. Kennedy Blvd.
                    Suite 460
                    Philadelphia, PA 19103

                    Somerset Data Forms
                    Box 162
                    170 Township Line Rd.
                    Belle Mead, NJ 08502

                    Sone Alloys
                    P.O. Box 949
                    Taunton, MA

                    Sonic Air Systems Inc.
                    4111 N. Palm St.
                    Fullerton, CA 92835

                    Sonicwall Services
                    PO Box 49042
                    San Jose, CA 95161 9955

                    Sonitec
                    Pobox 6141
                    85 Sargeant St.
                    Holyoke, MA 01041-6141

                    Sonitrol Mid-Atlantic
                    417 N. 4th Street
                    Philadelphia, PA 19123

                    Sonitrol Of Philadelphia
                    PO Box 660777
                    Dallas, TX 75266 0777




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                    Soquel Lock & Key Co
                    712 Soquel Dr
                    Santa Cruz, CA 95062

                    Sorevco Inc
                    25 Rue De L'acier
                    Parc Industrial Cp670
                    Coteau-Dulac Quebec
                    Canada J0p1b0

                    Sos Enterprises
                    12871 Encanto Dr
                    Victorville, CA 92392

                    Sotech Corporation
                    98 North Oakridge Drive
                    North Prairie, WI 53153-9795

                    Sound Image Incorporated
                    660 West Street Road
                    Feasterville, PA 19053

                    Sound Image Incorporated
                    660 West Street Road
                    Summit Center
                    Feasterville, PA 19053

                    Source 21, Incorporated
                    Pob 2100
                    Sound Beach, NY 11789

                    Source Management System
                    Attn: Mr L Lin
                    #159 Song Ted Road
                    Taiwan
                    Taipei

                    Source Window & Door Systems
                    2093 Route 70 E
                    Cherry Hill, NJ 08003 1201

                    Source Window & Door Systems
                    2093 Rt 70 East
                    Cherry Hill, NJ 08003




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                    Sourcecom
                    14502 W. 105th Street
                    Lenexa, KS 66215

                    South American Lines, Inc.
                    3515 Nw 114th Avenue
                    Miami, FL 33178

                    South Bend Lathe Corp.
                    400 West Sample Street
                    South Bend, IN 46601-2837

                    South Carolina Department Of
                    Revenue
                    Sales Tax Return
                    Columbia, SC 29214-0102

                    South Central Pool Supply
                    PO Box 629
                    Hopkinton, MA 01748-0629

                    South Florida Fence Assn
                    2773 Nw 26th Street
                    Ft. Lauderdale, FL 33311

                    South Jersey Boiler & Burner
                    178 Golfview Drive
                    Sewell, NJ 08080

                    South Jersey Electric
                    Vehicles, L.L.C.
                    1322 Doughty Road
                    Egg Harbor Twp, NJ 08234-
                    5636

                    South Jersey Overhead Door
                    P.O. Box 336
                    1360 N. Delsea Drive
                    Vineland, NJ 08360

                    South Jersey Overhead Door
                    PO Box 338
                    1360 N. Delsea Dr..
                    Vineland, NJ 08360




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                    South Jersey Port Corp.
                    P.O.Box 129
                    Camden, NJ 08101

                    South Jersey Pretzel
                    912 N. Whitehorse Pike
                    Stratford, NJ 08084

                    South Jersey Processing
                    2201 Mt Ephriam Ave
                    Bldg 40
                    Camden, NJ 08104

                    South Jersey Welding Supply
                    496 East Rt 38
                    Maple Shade, NJ 08052

                    South Jersey Window Tinting
                    14000 Commerce Pkwy
                    Suite H
                    Mount Laurel, NJ 08054

                    South Jersey
                    Window Tinting Inc
                    14000 Commerce Parkway, Ste H
                    Mount Laurel, NJ 08054

                    South Lyon Lumber
                    415 E Lake St
                    South Lyon, MI 48178 1569

                    Southeastern Decorators, Inc
                    220 Talleyrand Avenue
                    Jacksonville, FL 32202

                    Southeastern Extrusion Tool
                    P.O. Box 2218
                    Florence, AL 35630

                    Southeastern Freight Lines
                    Inc
                    PO Box 100104
                    Columbia, SC 29202 3104

                    Southeastern Freight Lines
                    PO Box 1691
                    Columbia, SC 29202



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                    Southern & Eastern
                    Hardware Association
                    PO Box 633
                    Lincolnton, NC 28093

                    Southern Aerosols Inc.
                    270-T Amity Hill Road
                    Cleveland, NC 27013

                    Southern Container Corp.
                    P.O. Box 9049
                    Smithtown, NY 11787-9049

                    Southern Glass
                    PO Box 587
                    Columbia, SC 29202

                    Southern Imperial Inc
                    23584 Network Place
                    Chicago, IL 60673 1235

                    Southern Tool Steel Inc.
                    2726 Kanasita Drive
                    Chatanooga, TN 37343-0699

                    Southington Spring &
                    Fourslide
                    24 Dell Manor Drive
                    Bristol, CT 06010

                    Southland Nursery Of Myrtle
                    Beach
                    3315 Business Street
                    Myrtle Beach, SC 29579-7224

                    Southwest Computer
                    5034 Woodcrest Drive
                    Yorba Linda, CA 92886

                    Southwest Design & Steel
                    5460 S Arcadia Ave
                    Tucson, AZ 85706 2012

                    Southwest Indian Foundation
                    Attn: Deacon Dan Nez Martin
                    P.O. Box 86
                    Gallup, NM 87301-0001



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                    Southwestern Graphite Inc.
                    2564 Highway 12
                    Dequincy, LA 70633

                    Spa World Dba Cal Spas &
                    Pools
                    1649 E. Stone Drive
                    Kingsport, TN 37660

                    Space Master Buildings
                    10 Industrial Highway
                    Mail Stop #74
                    Lester, PA 19113

                    Spadea Mfg. Co.
                    311 Spruce Street
                    Camden, NJ 08103

                    Spadix Technologies, Inc.
                    110 Egel Ave,
                    Middlesex, NJ 08846

                    Spags 19 Inc
                    193 Boston Tpke
                    Shrewsbury, MA 01545

                    Spartan Air Purification,
                    Inc.
                    150 Cooper Road
                    Suite E-14
                    West Berlin, NJ 08091-9264

                    Spatial Metrix Corp.
                    222 Gale Lane
                    Kennett Square, PA 19348

                    Spaulding Composites Co.
                    Po Box 867
                    1300 South Seventh St.
                    Dekalb, IL 60115-0867

                    Spc Corporation
                    2600 Penrose Avenue
                    Philadelphia, PA 19135




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                    Special Projets Consulting
                    P.O. Box 524
                    Mt.Laurel, NJ 08054

                    Specialized Vehicles Corp.
                    P.O. Box 880
                    Washington, NC 27889

                    Specialty Advertising Inc.
                    1008 Cherry Lane
                    Cinnaminson, NJ 08077

                    Specialty Haulers, Inc
                    3800 Bensalem Blvd
                    Bensalem, PA 19020

                    Specialty Insulated Windows
                    4162 W 4th Street
                    Hattiesburg, MS 39402

                    Specialty Rentals
                    And Attachments Co. Inc.
                    1222 Maple Ave
                    Atco, NJ 08004

                    Specialty Saw Inc.
                    30 Wolcott Rd.
                    Simsbury, CT 06070-1416

                    Specialty Technical
                    Publishers
                    Suite 306-267 West Esplanade
                    North Vancouver, B.C., CA
                    V7m 1a5

                    Specialty Windows
                    PO Box 15925
                    Hattiesburg, MS 39404

                    Speck Industrial Controls
                    1503 Glen Avenue
                    Moorestown, NJ 08057

                    Spectape
                    7821 Palace Drive
                    Cincinnati, OH 45249




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                    Spectra Gases
                    3434 Route 22 West
                    Branchburg, NJ 08876

                    Spectracom Inc
                    5090 Central Hwy, Ste 6
                    Pennsauken, NJ 08109

                    Spectra-Physics Inc.
                    514 S. Broadway
                    Gloucester, NJ 08030

                    Spectro Alloys Corp
                    13220 Doyle Path Road
                    Rosemount, MN 55068

                    Spectro Alloys Corp
                    Po Box 90295
                    Chicago, IL 60696-0295

                    Spectrographic, Inc
                    4 Brayton Court
                    Commack, NY 11725

                    Spectrum Letter Box, MI      ke T
                    Mays
                    129 West Eagle Road
                    Havertown, PA 19083

                    Spectrum Marketing Communica
                    620 Deer Road
                    Building #14
                    Cherry Hill, NJ 08034

                    Spectrum Metal Finishing Inc.
                    535 Bev Road
                    Youngstown, OH 44512-6490

                    Spectube Usa Inc
                    (Dba) Alfiniti Inc
                    600 N. Metcalf Street
                    Winton, NC 27986

                    Speedy Sign A Rama
                    434-436 W Street Rd
                    Feasterville, PA 19053




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                    Spenard Builders Supply
                    2460 Phillips Field Rd
                    Fairbanks, AK 99701 2797

                    Spence Home Center
                    PO Box 407
                    506 Chatham Ave.
                    Siler City, NC 27344

                    Sperry Graphic Inc
                    4 Horne Dr
                    PO Box 208
                    Folcroft, PA 19032

                    Spike's Trophies Ltd
                    514 No. 2nd Street
                    Philadelphia, PA 19123-4216

                    Spike's Trophy
                    514 N. 2nd St.
                    Philadelphia, PA     19123

                    Spiralcom Communications
                    211 W63rd Avenue
                    BC, Canada A V5xX 2H9

                    Splash Sales
                    9561 Cameron St.
                    Rancho Cucamonga, CA      91730

                    Spn Exhibitions
                    172 London Road
                    Guildford
                    Surrey England
                    GU1 1XR

                    Sport Admin 501 Corp
                    126 Bracken Dr
                    Medford, NJ 08055 9164

                    Sports Boosters, Inc./
                    Bensalem H.S.
                    3666 Kearny Villa Rd.
                    Ste 305
                    San Diego, CA 92123




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                    Spraying Systems Co.
                    P.O. Box 95564
                    Chicago, IL 60694-5564

                    Spring House Window & Door
                    908 Bethlehem Pike
                    PO Box 244
                    Spring House, PA 19477 9998

                    Springer Co-Ax, Inc.
                    10 Noeland Ave.
                    Penndel, PA 19047

                    Springer Pumps LLC
                    861 Tech Drive
                    Telford, PA 18969

                    Springfield Paper Specialties
                    1754 Limekiln Pike At The
                    Pennsylvania Turnpike
                    Ft. Washington, PA 19034

                    Springfield Paper
                    1754 Limekiln Pike
                    Fort Washington, PA     19034

                    Springhill Laser Service
                    PO Box 79
                    Sterling, PA 18463

                    Springtime, Inc.
                    6900 River Rd.
                    Pennsauken, NJ 08110

                    Sprint Conference Line
                    P.O. Box 101343
                    Atlanta, GA 30392-1343

                    Sprint Pcs
                    P.O. Box 2200
                    Bedford Park, IL     60499-2200

                    Sprint
                    P.O. Box 1769
                    Newark, NJ 07101-1769




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                    Sprint
                    P.O. Box 4181
                    Carol Stream, IL     60197-4181

                    Sprint
                    P.O. Box 530503
                    Atlanta, GA 30353-0503

                    Sprint
                    P.O. Box 530504
                    Atlanta, GA 30353-0504

                    Sprint
                    P.O. Box 660075
                    Dallas, TX 75266-0075

                    Sprint
                    PO Box 105243
                    Atlanta, GA 30348-5243

                    Sprint
                    PO Box 740504
                    Atlanta, GA 30374-0504

                    Sps Commerce Inc
                    Vb Box 3
                    PO Box 9202, MI nneapolis,
                    MN 55480 9202

                    Spurgeon Co.
                    1330 Hilton Road
                    Ferndale, MI 48220-2898

                    Square D Company
                    54 Tuttle Place
                    Middletown, CT 06457

                    Srm Laboratories
                    Security Resource Management
                    4417 Route 30 Building A
                    Latrobe, PA 15650-9028

                    Ss Racing LLC
                    7150 Winton Drive
                    Suite 100
                    Indianapolis, IN 46268




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                    Ssl Sea Shipping Line
                    114 Maple Avneue
                    Red Bank, NJ 07701-1716

                    Sss/Clan
                    26 Winslow-Williamstown Road
                    P.O. Box 188
                    Winslow, NJ 08095

                    St John Of God Community Svcs
                    532 Delsea Dr
                    Westville Grove, NJ 08093

                    St. Joseph's Church
                    1010 Liberty Street
                    Camden, NJ 08104

                    St. Joseph's University
                    University College
                    5600 City Avenue
                    Philadelphia, PA 19131-1395

                    St. Jude Children's Research
                    Hospital
                    501 St. Jude Place
                    Memphis, TN 38105

                    St. Lawrence
                    P.O. Box 75674
                    Cleveland, OH 44101-4755

                    St. Maur
                    Masonry Construction, Inc.
                    P.O. Box 1230
                    Blackwood, NJ 08012

                    St. Peter And Paul Church
                    307 Pine Street
                    Tamaqua, PA 18252

                    St. Stephen Parish
                    St. Stephen Rectory
                    6306 Browning Road
                    Pennsauken, NJ 08109




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                    St. Stephen's School Pta
                    6300 Browning Road
                    Pennsauken, NJ 08109

                    Stagg Safety Equipment
                    163 South 3rd Avenue
                    Evansville, IN 47708

                    Stahl Specialty Co.
                    P.O.Box 6
                    Kingsville, MO 64061

                    Staiman Brothers
                    P.O. Box 1235
                    201 Hepburn Street
                    Williamsport, PA 17703

                    Stainless Source
                    P.O. Box 11157
                    Philadelphia, PA     19136

                    Stampall Washer Ltd.
                    95 Joymar Drive
                    Unit 4 & 5
                    Mississauga
                    On L5m 3s8

                    Stan Prybella
                    3533 Teton Road
                    Philadelphia, PA     19154

                    Stancor, Inc.
                    515 Fan Hill Road
                    Monroe, CT 06468

                    Standard & Poor's
                    P.O. Box 80-2542
                    Chicago, IL 60680-2542

                    Standard Hardware Company
                    1611 Grove Avenue
                    Rydal, PA 19046

                    Standard Hdw Distributor Inc
                    Star Drive
                    PO Box 970
                    Merrimak, NH 03054



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                    Standard Publishing Corp.
                    Subscription Dept.
                    155 Federal Street
                    Boston, MA 02110

                    Standard Roofings, Inc.
                    57 N. Johnston Ave.
                    Trenton, NJ 08609

                    Standard Whse & Dist Co Inc
                    PO Box 308
                    Pennsauken, NJ 08110

                    Standard Whse,& Dist.Co.Inc
                    PO Box 308
                    Pennsauken, NJ 08110

                    Stanley Hutchinson
                    C/O Hutchinson Supply
                    Rte 480 & Maple Ave
                    Ridgely, MD 21660

                    Stanley Kessler & Co. Inc.
                    P.O. Box 2037
                    Southeastern, PA 19399-2037

                    Stanley Marvel, Inc.
                    1221 Ford Road
                    Bensalem, PA 190220

                    Stanley Metal Associates,
                    L.C.
                    6001 Broken Sound Pkwy, N.W.
                    Suite 406
                    Boca Raton, FL 33487

                    Stanley Metal Associates,L.C.
                    P.O.Box 67000
                    Department # 178201
                    Detroit, MI 48267-1782

                    Stanley Sack Co., Inc.
                    P.O. Box 361
                    30 Barber Pond Road
                    Bloomfield, CT 06002




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                    Stanley Smith Security, Inc.
                    P.O. Box 4714
                    Dept. P
                    Carol Stream, IL 60197-4714

                    Stanley-Bostich Fastening
                    Sys.
                    Briggs Drive
                    East Greenwich, RI 02818

                    Stanley-Bostich Fastening
                    Systems
                    Briggs Drive
                    East Greeenwich, RI 02818

                    Stanton A. Moss Inc
                    Po Box 896
                    Bryn Mawr, PA 19010

                    Staples Business Advantage
                    Dept Phl 85103
                    PO Box 30851
                    Hartford, CT 06150-0851

                    Staples Business Advantage
                    Dept Phl
                    Box 30851
                    Hartford, CT 60150-0851

                    Staples Business Advantage
                    Dept. Phl 85103
                    P.O. Box 30851
                    Hartford, CT 06150-0851

                    Staples Credit Plan
                    Dept 80 - 0420477129
                    PO Box 9020
                    Des Moines, IA 50368-9020

                    Staples Inc
                    PO Box 9020
                    Des Moines, IA    50368-9020

                    Staples Inc.
                    500 Staples Drive
                    PO Box 9256
                    Framinham, MA 01701



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                    Staples
                    10551 Decatur Road
                    Philadelphia, PA 19154

                    Staples
                    Route 38
                    Bradlees Shopping Center
                    Cherry Hill, NJ 08002

                    Star Hardware
                    2995 Main St
                    Hartford, CT 06120 1426

                    Star Specialities
                    1204 Sequoia Road
                    Cherry Hill, NJ 08003

                    Star Transportation, Inc.
                    P.O. Box 100925
                    Nashville, TN 37224

                    Star Transportation, Inc.
                    PO Box 409588
                    Atlanta, GA 30384-9588

                    Sta-Rite Industries Inc.
                    P.O. Box 95389
                    Chicago, IL 60694-5389

                    Sta-Rite Industries
                    600 South Jefferson Street
                    Waterford, WI 53185

                    Stark Company
                    PO Box 46038
                    Philadelphia, PA     19106-6038

                    Stat-A-Matrix
                    P.O. Box 367
                    Bellmawr, NJ 08099

                    State Line Scrap Co., Inc.
                    P.O. Box 3032
                    South Attleboro, MA 02703-
                    0910




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                    State Metal Industries, Inc.
                    P.O. Box 1407
                    941 S. 2nd Street
                    Camden, NJ 08101-1407

                    State Of Connecticut
                    Dept Of Revenue Service
                    PO Box 5030
                    Hartford, CT 06102-5030

                    State Of Kansas
                    Kansas Dept Of Revenue
                    915 Harrison St
                    Topeka, KS 66625-0001

                    State Of Michigan
                    Michigan Department Of
                    Treasury
                    Department 77889
                    Detroit, MI 48277-0889

                    State Of N.J.Dept. Community
                    Affairs
                    Division Of Fire Safety
                    P.O. Box 809
                    Trenton, NJ 08625-0809

                    State Of New Jersey
                    Bureau Of Commercial
                    Recording
                    PO Box 34089
                    Newark, NJ 07189-0001

                    State Of New Jersey
                    Dept Of Labor & Workforce
                    Develop
                    Div Of Revenue Processing
                    PO Box 929
                    Trenton, NJ 08625 0929

                    State Of New Jersey
                    Dept Of The Labor/Workforce
                    Division Of Revenue
                    Box 929
                    Trenton, NJ 08646-0929




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                    State Of New Jersey-Spill
                    Division Of Taxation
                    Audit Services
                    P.O. Box 189
                    Trenton, NJ 08695-0189

                    State Of North Carolina
                    Dept Of Revenue
                    PO Box 25000
                    Raleigh, NC 27640-0150

                    State Of Rhode Island
                    Division Of Taxation-St
                    One Capital Hill, Ste 4
                    Providence, RI 02908-5802

                    State Tool Gear
                    211 Camden Street
                    Newark, NJ 07103

                    State Treasurer
                    Notary Public Section
                    Department Of Treasury
                    PO Box 452
                    Trenton, NJ 08625

                    State Treasurer, Bureau Of
                    Commissions Notary Div
                    305 North Office Bldg
                    Harrisburg, PA 17120

                    Statewide Hi-Way Safety, Inc.
                    P.O.Box 616
                    Hammonton, NJ 08037

                    Status Image Photography
                    1703 Central Parkway
                    Decatur, AL 35601

                    Stauffer Glove & Safety
                    PO Box 45
                    361 E. Sixth Street
                    Red Hill, PA 18076-0045

                    Stauffer Manufacturing Co.
                    P.O. Box 45
                    Red Hill, PA 18076-0045



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                    Staunton Metal Recyclers
                    P.O. Box 543
                    Staunton, VA 24401

                    Steel City Transport
                    P.O. Box 533
                    Alabaster, AL 35007

                    Steel Doors Incorporated
                    701 Washington Avenue
                    Philadelphia, PA 19147

                    Steel Sales & Processing
                    601 Righters Ferry Road
                    Bala Cynwyd, PA 19004

                    Steeltech Electropainting,
                    Inc.
                    1705 West 32nd Place
                    Hialeah, FL 33012

                    Steer, John Co
                    28 South 2nd Street
                    Philadelphia, PA 19106

                    Steere Enterprises
                    285 Commerce Street
                    Tallmadge, OH 44278

                    Steffa Metals Co.
                    2180 Church St
                    Philadelphia, PA 19124

                    Stein Bros. Famous Deli
                    9359a Krewstown Rd
                    Philadelphia, PA 19115

                    Stein David
                    2600 S. Town Center Dr
                    Apt 1095
                    Las Vegas, NV 89135

                    Stellar Sales
                    1237 Post Oak Court
                    Bartonville, TX 76226-9620




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                    Stelwagon Mfg. Co
                    2840 Mt Ephraim Ave
                    Camden, NJ 08101

                    Stelwagon Mfg. Co.
                    536 Baltimore Pk.
                    Springfield, PA 19064

                    Sten Larson
                    690 Meadow Drive
                    Traverse City, MI     49684

                    Stephan Co.
                    127 Elmcrest Drive
                    Wheeling, WV 260033

                    Stephanie A Cox
                    Repairs Plus
                    161-4 Johnny Parker Rd
                    Jacksonville, NC 28540

                    Stephanie Conway
                    4215 Myrtle Ave
                    Pennsauken, NJ 08109

                    Stephanie L Catt
                    523 Queen St
                    Philadelphia, PA 19147

                    Stephen A Holley
                    96 Reid Ct
                    PO Box 126
                    Collinsville, VA 240780126

                    Stephen Fossler Company
                    439 South Dartmoor Drive
                    Crystal Lake, IL 60014

                    Stephen Giuffre
                    109 Thornton St.
                    Albany, NY 12206

                    Stephen Gould Corporation
                    310 Horizon Ctr
                    Trenton, NJ 086911905




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                    Stephen Gould Corporation
                    35 South Jefferson Rd.
                    Whippany, NJ 7981

                    Stephen Gould Of PA Corp.
                    310 Horizon Drive
                    Robbinsville, NJ 08691

                    Steps, Inc.
                    C/O Fred Shumaker
                    PO Box 53, CArtersville, VA
                    23027

                    Sterling Commerce
                    PO Box 73199
                    Chicago, IL 60673

                    Sterling Computer Products
                    11440 Chandler Blvd.
                    Suite 1100
                    North Hollywood, CA 91601

                    Sterling Contracting Inc
                    23350 Commerce Dr
                    Farmington Hills, MI 48335

                    Sterling Int'l Services Inc.
                    441 N. Fifth St
                    Suite 300
                    Philadelphia, PA 19123

                    Sterling Seal & Supply Inc.
                    160 Rt 35
                    Cliffwood Beach, NJ 07735

                    Sterling Technologies Inc.
                    PO Box 354
                    10047 Keystone Drive
                    Lake City, PA 16423

                    Steve & Linda Schrier
                    19 Heather Mill Lane
                    St. Louis, MO 63132

                    Steve Bonner
                    PO Box 851
                    Westmoreland, TN     37186



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                    Steve Cascarino
                    70 W Pickering Bend
                    Richboro, PA 18954

                    Steve Mullen Photography
                    825 N. 2nd Street
                    Philadelphia, PA 19123

                    Steve Shain
                    252 Sycamore Circle
                    Upper Holland, PA 19053

                    Steve Shervin
                    324 Wayne Court
                    Holland, PA 18966

                    Steve Short
                    5 Cameron Drive
                    Holland, PA 18966

                    Steven A. Dinenno, Sr.
                    1139 Kent Lane
                    Philadelphia, PA 19115

                    Steven A. Gerrie
                    Rr2 Box 547 Elm Street
                    Norrigdewock, ME 04957

                    Steven Kendall
                    9000 River Road
                    Delair, NJ 08110

                    Steven M. Wolf, Esq.
                    2137 Greenbrier Drive
                    Villanova, PA 19085

                    Steven's Environmental
                    Services Inc.
                    P.O. Box 322
                    Allentown, NJ 08501

                    Stevens Institute Of Tech.
                    Castle Point On The Hudson
                    Center For Enviro.
                    Engineering
                    Att: Ms. Marta Quigley
                    Hoboken, NJ 07030



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                    Stevens Publishing
                    Corporation
                    P.O. Box 594
                    Mount Morris, IL 61054-0594

                    Stevenson Supply Co., Inc.
                    2686 Rte. 206 @ 537
                    Mt Holly, NJ 08060

                    Steve's Auto Body
                    326 Haddonfield Road
                    Cherry Hill, NJ 08034

                    Steve's Auto Service
                    623 Levick Street
                    Philadelphia, PA 19111

                    Steve's Auto Tags
                    324 Bristol Pike
                    Croydon, PA 19021

                    Steve's Bug Off
                    8046 Frankford Ave
                    Philadelphia, PA 19136-3533

                    Steward's Fund For
                    Underprivileged Child
                    1166 South 11th Street
                    Philadelphia, PA 19147

                    Stewart Business Systems
                    105 Connecticut Drive
                    Burlington, NJ 08016

                    Stewart Industries Inc
                    77 Elbo Ln
                    Mt Laurel, NJ 08054

                    Stewart Industries Inc.
                    105 Connecticut Drive
                    Burlington Twp., NJ 08016

                    Stewart Industries Rental
                    77 Elbo Lane
                    Mt. Laurel, NJ 08054




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                    Stf Inc.
                    412-A Trimmer Road
                    Califon, NJ 07830

                    Stick Ii Products
                    51 Ferry St Box 71
                    East Hampton, MA 01027-0071

                    Sticker Corporation
                    37877 Elm Street
                    Willoughby, OH 44094

                    Stiffweld Products Inc.
                    1300 Schwab Road
                    Hatfield, PA 19440

                    Stik-Ii Products, Inc
                    PO Box 71
                    Easthampton, MA 1027

                    Stock Building Supply
                    PO Box 58485
                    Raleigh, NC 27658

                    Stokes Equipment Co.
                    1001 Horsham Road
                    Horsham, PA 19044

                    Stokes Equipment
                    1001 Horsham Rd
                    PO Box 289
                    Horsham, PA 19044-0289

                    Stokes Material Handling Sys
                    1000 Cross Keys Drive
                    PO Box 2019
                    Doylestown, PA 18901

                    Stokes Material Handling Sys.
                    1000 Cross Keys Drive
                    P.O. Box 2019
                    Doylestown, PA 18901

                    Stone Container Corp
                    Tulip & Decatur Sts
                    Philadelphia, PA 19136




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                    Stone Container Corporation
                    64 River Road
                    P.O. Box 371
                    Jersey Shore, PA 17740

                    Stonehouse Signs, Inc.
                    5555 West 60th. Avenue
                    P.O. Box 546
                    Arvada, CO 80001

                    Stonhard
                    One Park Ave.
                    Maple Shade, NJ     08052

                    Stonkleen
                    One Park Avenue
                    Maple Shade, NJ     08052

                    Stonkleen
                    Services Inc.
                    One Park Ave.
                    Maple Shade, NJ     08052

                    Stordy Combustion
                    Engineering Ltd.
                    Heathmill Road
                    Wombourne
                    Wolverhampton United Kingdom
                    Wv5 8bd

                    Storelink Retail Group
                    130 Arnold Mill Park, Ste 100
                    Woodstock, GA 30188

                    Stork Mma Laboratories
                    2 Pheasant Run
                    Newtown, PA 18940

                    Stor-Mor Inc
                    PO Box 197
                    Greensburg, KY 42743 0197

                    Stornet, Inc.
                    1109 Saunders Court
                    West Chester, PA 19380




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                    Strafford Publications, Inc
                    590 Dutch Valley Road, N.E.
                    Postal Drawer 13729
                    Atlanta, GA 30324-0729

                    Strahl & Pitsch Inc.
                    P.O. Box 1098
                    West Babylon, NY 11704

                    Strategic Marketing Group
                    3201 Sitio Montecillo
                    Carlsbad, CA 92009

                    Strategic Products And
                    Services
                    3 Wing Drive Suite 100
                    Cedar Knolls, NJ 07927

                    Strategic Staffing Group
                    1869 Cottman Ave
                    Philadelphia, PA 19111

                    Strathmore Press
                    702 King Street
                    Cherry Hill, NJ 08002-3382

                    Stream Technology Inc.
                    126-128 Pao-Chung Road
                    PO Box 4-01, Hsin Tien
                    Taipei

                    Stretchtape, Inc.
                    18460 Syracuse Ave.
                    Cleveland, OH 44110

                    Strick National Parts
                    225 Lincoln Highway
                    Fairless Hills, PA 19030-
                    1199

                    Strine Corrugated Products
                    150 Emig Rd.
                    Emigsville, PA 17318

                    Strober Haddonfield Group Inc
                    PO Box 1038
                    Haddonfield, NJ 08033



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                    Structural Engineering, Inc.
                    921 Shadow Drive
                    Suite 3
                    Lakeland, FL 33809

                    Structures Unlimited
                    37 Union Street
                    Manchester, NH 03304

                    Strybuc
                    2006 Elmwood Ave.
                    Sharon Hill, PA 19079-1084

                    Stuart Glass Company
                    PO Box 639
                    106 Patrick Ave.
                    Stuart, VA 24171

                    Stull Equipment Company
                    201 Windsor Road
                    Pottstown, PA 19464

                    Sturtz Machinery, Inc.
                    30500 Aurora Rd.
                    Solon, OH 44139

                    Stylus Systems Inc
                    Dba Flatworld Solutions Inc
                    #210 5a Cross,
                    3rd Block, Hrbr Layout
                    India 560043
                    Bangalore

                    Subpoenas Unlimited
                    P.O. Box 1333
                    Cherry Hill, NJ 08034

                    Suburban Lumber Co Inc
                    710 Newton Ave
                    PO Box 85
                    Oaklyn, NJ 08107

                    Suburban Steel Supply
                    1900 Deffenbaugh Court
                    Gahanna, OH 43230




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                    Suburban Wrecker Service Inc.
                    2000 Buchanan St
                    Croydon, PA 19021

                    Suburban Wrecker Service,
                    Inc.
                    2000 Buchanan St
                    Croydon, PA 19021

                    Success In Recruiting
                    And Retaining
                    Customer Service Center
                    P.O. Box 9070
                    Mclean, VA 22102-0070

                    Suisman & Blumenthal
                    P.O. Box 30580
                    500 Flatbush Avenue
                    Hartford, CT 06150

                    Sullivan Electric Co
                    5103 Laurel Ave
                    Pennsauken, NJ 08109

                    Summer's Hardware & Supply
                    PO Box 210
                    Johnson City, TN 37605

                    Summerwind Landscaping
                    P.O. Box 3831
                    Cherry Hill, NJ 08034

                    Summit Marketing Group LLC
                    36 Ball Wall Rd
                    Easton, PA 06612

                    Summit Metal Co
                    Foot Of Jersey Ave
                    Jersey City, NJ 07306

                    Summit Metal Products Corp.
                    700a Chettic Ave.
                    Copiague, NY 11726

                    Summit Training Source, Inc.
                    2660 Horizon Drive, S.E.
                    Grand Rapids, MI 49546



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                    Sun Air
                    1451anderson Ave.
                    Oreland, PA 19075

                    Sun Biomedical Laboratories
                    604 Vpr Center
                    1001 Lower Landing Road
                    Blackwood, NJ 08012

                    Sun Biomedical Labs, Inc.
                    1001 Lower Landing Rd.
                    Ste. 604 Vpr Center
                    Blackwood, NJ 08012

                    Sun Dance Leisure
                    Julie Hutton
                    19281 U.S. Rt 11
                    Watertown, NY 13601

                    Sun Energy Products
                    P.O. Box 9926
                    Ft. Lauderdale, FL 33310

                    Sun Life Of Canada
                    P.O. Box 7247-7785
                    Philadelphia, PA 19170-7785

                    Sun Source Management Group
                    9801 Germantown Pk
                    Suite #620
                    Lafayette, PA 19444

                    Sun Stuff Of Asheville
                    1636 Hendersonville Road
                    Suite 18
                    Asheville, NC 28803

                    Sun Windows
                    PO Box 1329
                    Owensboro, KY 42302 1329

                    Sunair Company
                    2475 Wyandotte Road
                    Willow Grove, PA 19090




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                    Sunbelt Rentals
                    3090 Route 73 North
                    Maple Shade, NJ 08052

                    Sunbelt Rentals
                    PO Box 409211
                    Atlanta, GA 30384 9211

                    Sunbelt Services Inc
                    109 Smokehill Ln, Ste 100
                    Woodstock, GA 30188

                    Sunbelt Transformer
                    P.O. Box 1500
                    Temple, TX 76503

                    Sunbury Transport A/R Dept.
                    P.O. Box 905 Station A
                    Fredericton, New Brunswick
                    E3b 5b4

                    Sunnen Products Company
                    7910 Manchester Avenue
                    St. Louis, MO 63143

                    Sunnex Inc.
                    3 Huron Drive
                    Natick, MA 01760

                    Sunnymax Maint. Prods.
                    222 Executive Dr Suite 4
                    Moorestown, NJ 08057

                    Sunoco, Inc.
                    P.O. Box 1466
                    Newark, NJ 07101-1466

                    Sunroc Corporation
                    60 Starlifter Ave
                    Dover, DE 19901

                    Sunset Landscaping & Lawn Svc
                    PO Box 752
                    Medford, NJ 08055

                    Sunset Landscaping
                    P O Box 752
                    Medford, NJ 08055


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                    Sunshine Aluminum
                    5440 Maule Way
                    PO Box 16245
                    West Palm Beach, FL 33416
                    6245

                    Sunshine Instruments
                    1810 Grant Ave
                    Philadelphia, PA 19115

                    Sunstate Steel Supply
                    3575 Davisville Road
                    Hatboro, PA 19040-4208

                    Super Bright Co Ltd
                    PO Box 11966
                    Taipei Taiwan

                    Super Enterprises, FLat B,
                    10f., Peninsula Apts.
                    16 Mody Rd
                    Tsim Sha Tsui
                    Kowloon Hong Kong

                    Super Fresh
                    Street Road
                    Bensalem, PA    19020

                    Super Pc Memory, Inc.
                    8676 Wolf Court
                    Suite 240
                    Westminister, CO 80030

                    Super/Circuits
                    11000 North Mopac Expressway
                    Suite 300
                    Austin, TX 78759

                    Superior Die Set Corp.
                    900 W. Drexel Avenue
                    Oak Creek, WI 53154

                    Superior Graphite Co.
                    120 S. Riverside Plaza
                    Suite # 970
                    Chicago, IL 60606




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                    Superior Metal
                    Technologies, LLC
                    9850 E. 30th Street
                    Indianapolis, IN 46229

                    Superior Mobile Cleaning LLC
                    1 Eves Drive, Ste 111
                    Marlton, NJ 08053

                    Superior Pool Products, LLC
                    PO Box 610
                    Hopkinton, MA 01748-0610

                    Superior Powder Coating
                    600 Progress Street
                    Elizabeth, NJ 07201

                    Superior Scale & Instrument
                    4a Superior Way
                    Deptford, NJ 08096

                    Superior Welding Supply
                    6834 Camden Ave
                    Pennsauken, NJ 08110-1690

                    Superior Welding
                    6834 Camden Avenue
                    Pennsauken, NJ 08110

                    Supermarket Equipment Etc Inc
                    PO Box 925563
                    Houston, TX 77292-5563

                    Superwinch
                    45 Danco Road
                    Putnam, CT 06260

                    Superwood Canada Inc.
                    P.O. Box 3325
                    Langly, B.C.
                    Canada V3a 4r6

                    Supplies Plus
                    P.O. Box 731
                    Havertown, PA    19083




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                    Supply Plus Inc
                    35 Martin Luther King Jr Blvd
                    Newark, NJ 07104

                    Supply Station Inc
                    PO Box 18219
                    Sacramento, CA 95813

                    Supreme Mid-Atlantic Corp.
                    411 Jonestown Road
                    Jonestown, PA 17038

                    Supreme Mid-Atlantic Corp.
                    P.O. Box 779
                    Jonestown, PA 17038

                    Supreme Staffing
                    One Oxford Valley
                    Suite #600
                    Langhorne, PA 19047

                    Sure Grip Limited
                    1120 Brevik Place
                    Mississauga, Ontario
                    L4w3y5 Canada

                    Sure Way Charter Service
                    407 Independence West
                    Lawnside, NJ 08045

                    Surface Matics Inc.
                    2122 Meetinghouse Road
                    Cinnaminson, NJ 08077-3367

                    Surfair
                    P.O. Box 20516
                    Atlanta, GA 30320-2516

                    Surfair
                    PO Box 116054
                    Atlanta, GA 30368-6054

                    Susan M. Hall
                    8625 Frankford Ave
                    Philadelphia, PA 19136-2125




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                    Sussman Automotive
                    538 Route #38 East
                    Maple Shade, NJ 08052

                    Sussman Automotive
                    6807 Tilton Road
                    Egg Harbor Township
                    Pleasantville, NJ 08232

                    Sussman Bros
                    P.O. Box 24
                    Allentown, PA    18105

                    Sutter Machine
                    1059 Washington Avenue
                    Bronx, NY 10456

                    Sutter's Mill Specialties,
                    Inc.
                    410 South Perry Lane #4
                    Tempe, AZ 85281

                    Svedala Industries Inc.
                    Recycling Division
                    P.O. Box 96
                    900 North 38th Street (35222)
                    Birmingham, AL 35201

                    Svinga Bros Corp
                    3511 Nw N River Dr
                    Miami, FL 33242

                    Swanger Bros
                    116 North 3rd St
                    Philadelphia, PA     19106

                    Swanger Machinery Inc
                    116 No. 3rd Street
                    Philadelphia, PA 19106

                    Sweet-Home Blind Creation Co
                    Renzhou District, Shatian
                    Town
                    Dongguan City, Guangdong
                    China
                    523936




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                    Sweets Group - Mcgraw Hill
                    PO Box 18116
                    Newark, NJ 07191

                    Swift Transportation Co.
                    Post Office Box 643116
                    Cincinnati, OH 45264-3116

                    Swift Transportation
                    5601 W. Mohave
                    Phoenix, AZ 85043-9601

                    Swim N Fun
                    4896 10th Avenue N.
                    Greenacres City, FL     33463

                    Swimline Corporation
                    191 Rodeo Drive
                    Edgewood, NY 11717

                    Swisco
                    200 Kaign Ave
                    Camden, NJ 08103

                    Swisco, Inc.
                    200-210 Kaighn Ave.,
                    Camden, NJ 08103

                    Sybase
                    77 South Bedford Street
                    Support Renewal Dept.
                    Burlington, MA 01803

                    Sycon
                    P.O.Box 491
                    Marion, OH 43302

                    Syentek Inc
                    P.O. Box 26588
                    San Francisco, CA     94126

                    Symbol Technologies, Inc.
                    Dept Ch 10538,
                     Palatine, IL 60055-0538




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                    Synchro Swimming Usa
                    201 S. Capitol Avenue
                    Suite 201
                    Indianapolis, IL 46225

                    Synerfac Inc.
                    2 Read's Way Suite 209
                    New Castle Corporate Commons
                    New Castle, DE 19720

                    Synergex Corporation
                    1695 Bonhill Road
                    Mississauga, Ontario, CA      L5t
                    1c1

                    Synergis Engineering Design
                    Solutions
                    472 California Road
                    Quakertown, PA 18951

                    Synergis Engineering
                    Design Solutions
                    472 California Rd
                    Quakertown, PA 18951

                    Syn-Tec
                    4621 Durham Rd
                    PO Box 1134
                    Beamsville
                    Ontario Canada
                    L0R1B0

                    Sysco Food Svs Of
                    Philadelphia, Inc.
                    P.O. Box 8500 (S-8725)
                    Philadelphia, PA 19178

                    Systech Design, Inc.
                    46 Alfonquin Trail
                    Medford Lakes, NJ 08055

                    System 3r Usa Inc.
                    40-D Commerce Way
                    Totawa, NJ 07512




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                    System Seals Inc.
                    P.O. Box 633489
                    Cincinnati, OH 45263-3489

                    System Transport, Inc.
                    P.O. Box 150805
                    Ogden, UT 84415-0805

                    System Warehouse Inc
                    1401 Capital Ave
                    Plano, TX 75074

                    T & D Transportation, Inc.
                    7025 Schuyler Road
                    E Syracuse, NY 13057

                    T & R Services, Inc.
                    P.O. Box 124
                    Wabash, IN 46992

                    T A P Corporation
                    PO Box 362079
                    San Juan, PR 00936 2079

                    T F L Transport Inc
                    PO Box 100
                    Fairview, NJ 07022

                    T F X Incorporated
                    PO Box 890414
                    Charlotte, NC 28289 0414

                    T G Neil Grand Hardware
                    336 Grand St
                    Paterson, NJ 07505

                    T L C Construction
                    272 Clermont Dr
                    Festus, MO 63028

                    T Mobile
                    PO Box 742596
                    Cincinnati, OH    45274-2596

                    T P R Resources Inc
                    3604 Greenwood Ln
                    St Charles, IL 60175



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                    T. J. Kirby
                    3427 Riverview Chase Dr.
                    Ellenwood, GA 30294

                    T. M. F. T. Company, Inc.
                    PO Box 2352
                    Cinnaminson, NJ 08077

                    T.H. Paris, Inc.
                    Emc/Th Paris Div.
                    P.O. Box 129
                    Maplewood, NJ 07040

                    T.H. Weiss Inc.
                    1210 Corbin Street
                    Elizabeth, NJ 07201

                    T.M.F.T. Company, Inc.
                    PO Box 2352
                    Cinnaminson, NJ 08077

                    T.M.F.T.
                    P.O. Box 2352
                    Cinnaminson, NJ     08077

                    T.W.
                    PO Box 481
                    Sewell, NJ 08080

                    Tab Shredding Inc.
                    341 Cooper Road
                    West Berlin, NJ 08091

                    Tabasco Drilling Co.
                    P.O. Box 1676
                    Mount Laurel, NJ 08054

                    Taiwan Fu Hsing Ind Co Ltd
                    55-10 Been Chou Road
                    Kangshan Taiwan
                    Kaohsiung Hsien

                    Taiwan Joca Corp
                    12f-8, No. 16, Sec. 1
                    Chang An East Road
                    Taipei Tawian




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                    Taleo
                    575 Market Street
                    8th Floor
                    San Fancisco, CA 94105

                    Tamarack Packaging Limited
                    Rd #5 Mercer Pike
                    Meadville, PA 16335

                    Tammy Hanson
                    7905 Sailboat Lane
                    Las Vegas, NV 89145

                    Tamperproof Screw Co Inc
                    30 Laurel St
                    Hicksville, NY 11801

                    Tangipahga Parish School
                    System
                    Sales Tax Division
                    PO Box 159
                    Amite, LA 70422-0159

                    Tank Maintenance & Technology
                    P.O. Box 2383
                    Cinnaminson, NJ 08077

                    Tanner Industries, Inc.
                    735 Davisville Road
                    Third Floor
                    Southhampton, PA 18966

                    Tape-It Inc
                    233 North Fehr Way
                    North Bay Shore, NY 11706

                    Tapeswitch Corporation
                    100 Schmitt Blvd.
                    Farmingdale, NY 11735

                    Tapeswitch Corporation
                    P.O. Box 9601
                    Uniondale, NY 11555-9601

                    Tapmatic Corporation
                    802 Clearwater Loop
                    Post Falls, ID 83854



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                    Tapwood Trucking Co. Inc.
                    3657 Naomi Street
                    Seaford, NY 11783

                    Target Airfreight
                    2501 Santa Fe Ave
                    Redondo Beach, CA     90278

                    Target Airfreight
                    Dept. 60062
                    El Monte, CA 91735-0062

                    Tate & Tate
                    180 Tuckerton Road
                    The Lexington Bldg Suite 5
                    Medford, NJ 08055

                    Tate & Tate
                    The Lexington Bldg Suite 5
                    180 Tuckerton Road
                    Medford, NJ 08055

                    Tate Engineering Systems,
                    Inc.
                    1560 Caton Center Drive
                    Baltimore, MD 21227

                    Taylor Building Products,
                    Inc.
                    631 North First St.
                    PO Box 457
                    West Branch, MI 48661

                    Taylor Rental
                    3531 Rt.38 & Marter Ave.
                    Mt. Laurel, NJ 08054

                    Taylor Wiseman & Taylor
                    124 Gaither Drive
                    Suite 150
                    Mt. Laurel, NJ 08054

                    Taymor Industries Inc
                    1586 Zephyr Ave
                    PO Box 46148
                    Hayward, CA 945456148




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                    Tb Philly Inc
                    400 Thoms Drive
                    Suite 411
                    Phoenixville, PA     19460

                    Tbb
                    11350 Mccormick Road
                    Executive Plaza #1 3rd Floor
                    Hunt Valley, MD 21031-1063

                    Tbs Industries
                    4211 Van Kirk St
                    Philadelphia, PA     19135

                    Tc, L.L.C.
                    Gulf Northern Transport, Inc.
                    P.O. Box 78563
                    Milwaukee, WI 53728-0563

                    Tcf Aerovent Co.
                    Sds 12-1261
                    P.O. Box 86
                    Minneapolis, MN 55486-1261

                    Tcllc, Gulf Northern Transpo
                    PO Box 78563
                    Milwaukee, WI 53728-6563

                    Tds Telecom
                    P.O. Box 66
                    Pequannock,    NJ   07440

                    Teal's Express, Inc
                    PO Box 6010
                    Watertown, NY 13601

                    Team Air Express
                    P.O. Box 668
                    Winnsboro, TX 75494

                    Team Logistics
                    150 Shoemaker Street
                    Kitchener
                    Ontario Canada
                    N2e3l8




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                    Team Marketing LLC
                    2440 Plainfield Ave NE
                    Grand Rapids, MI 49505 3874

                    Teamsters Local Union #837
                    12275 Townsend Rd
                    Philadelphia, PA 19154

                    Teamsters Local Union 837
                    Scholarship Fund
                    12275 Townsend Road
                    Philadelphia, PA 19154

                    Tec Equipment Fabricator
                    4350 Pell Drive
                    Sacramento, CA 95838

                    Tecart Industries
                    24669 Halsted Road
                    Farmington Hills, MI
                    48335

                    Tech Transport, Inc.
                    PO Box 431, MI lford, NH
                    03055

                    Tech/Solve
                    1111 Edison Drive
                    Cincinnati, OH 45216

                    Technical Institute
                    Of Camden County
                    343 Berlin Cross Keys Road
                    Sicklerville, NJ 08081

                    Techno
                    2101 Jericho Turnpike
                    Box 5416
                    New Hyde, NY 11042-5416

                    Technoplast International
                    41 Progress Ave.
                    Cranberry Twp, PA 16066-3511

                    Teco
                    P.O. Box 580
                    Hatfield, PA    19440-0580



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                    Tectura Corporation
                    PO Box 22055
                    Tempe, AZ 85282-2055

                    Ted Marsden Inc.
                    105 Yerkes Road
                    Collegeville, PA     19426-2916

                    Ted Thorsen Co.
                    131 Welles Street
                    Forty Fort, PA 18704

                    Ted West
                    450 S. Gravers Road
                    Suite 103
                    Plymouth Meeting, PA      19462

                    Tei Imaging Solutions
                    124 Heritage Ave.
                    Portsmouth, NH 03801

                    Tektron Corporation
                    6845 Westfield Ave.
                    Pennsauken, NJ 08110

                    Tele Com Marketing
                    Elm Street Door #1
                    PO Box 248
                    Champlain, NY 12919

                    Telephone Services/Metro
                    Sales
                    3101 Washington Blvd.
                    Suite 1
                    Baltimore, MD 21230

                    Teletalk
                    2 Bala Plaza Suite Il 10
                    Bala Cynwyd, PA 19004

                    Tellkamp Systems. Inc.
                    15523 Carmenita Road
                    Santa Fe Springs, CA 90670

                    Telmar Inc.
                    6640 Busch Blvd.
                    Columbus, OH 43229-1165



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                    Telsco Industries
                    Box 180205
                    Dallas, TX 75218-0205

                    Temco-Tool Specialists, Inc.
                    P.O. Box 748
                    Millburn, NJ 07041

                    Temple Aluminum And Foundry
                    1145 Park Road
                    Blandon, PA 19510-9561

                    Temple Enterprises
                    3065 E Ontario St
                    Philadelphia, PA 19134

                    Temple-Inland
                    1240 Conklin Road
                    Conklin, NY 13748

                    Ten Hoeve Brothers
                    7025 Colonial Highway
                    Pennsauken, NJ 08109

                    Tenaxol, Inc.
                    5801 W. National Avenue
                    Milwaukee, WI 53214-3492

                    Tennant
                    855 Bethel Avenue
                    Pennsauken, NJ 08110

                    Tennant
                    P.O. Box 71414
                    Chicago, IL 60694-1414

                    Tennessee Aluminum Processors
                    P.O. Box 1058
                    Columbia, TN 38402

                    Tennessee Dept. Of Revenue
                    Andrew Jackson State Office
                    Building
                    500 Deaderick Street
                    Nashville, TN 37242-0700




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                    Tennessee Dept. Of Safety
                    Court House 1 N. Washington
                    General Sessions Court Clerk
                    Brownsville, TN 38012

                    Tensilkut Engineering
                    Clydesdale Street
                    Blount Ind. Park
                    Maryville, TN 37801

                    Terminal Paper
                    PO Box 664
                    Bellmawr, NJ 08099

                    Terminix
                    382 Turner Way Pennell Bldg.
                    Aston, PA 19014

                    Terrapin Recycling, LLC
                    800 Central Avenue
                    Linthicum, MD 21090

                    Terry Allen
                    C/O Scp Distributors, LLC
                    150 Hiawatha Palce
                    Syracuse, NY 13208

                    Terry Hinge & Hardware Co
                    PO Box 51389
                    Los Angeles, CA 90051-5689

                    Terry Kordick
                    1211 Ford Rd
                    Bensalem, PA 19020

                    Tes Tube Equipment Inc.
                    Vogel Tube & Die
                    756 Hawthorne Lane
                    West Chicago, IL 60185

                    Testo, Inc.
                    230 Route 206
                    Flanders, NJ 07836




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                    Testwell Craig
                    P.O. Box 477
                    5439 Harding Highway
                    Mays Landing, NJ 08330

                    Tewksbury Metals, Inc.
                    860 East Street
                    Tewksbury, MA 01876

                    Texaco
                    Box 31129
                    Tampa, FL   33631-3129

                    Texaco/Shell
                    Po Box 9010
                    Des Moines, IA    50368-9010

                    Texas Fence Association
                    C/O Mike Elmore
                    Ameristar
                    P.O. Box 581000
                    Tulsa, OK 74158-1000

                    Texas Fence Association
                    PO Box 96116
                    Houston, TX 77213

                    Texcel Inc.
                    Attn: Chris Gromley
                    5170 Campus Drive
                    Plymouth Meeting, PA      19462

                    Texstream Inc.
                    P.O. Box 841790
                    Dallas, TX 75284-1790

                    Textol Systems Inc
                    435 Meadow Ln
                    PO Box 217
                    Carlstadt, NJ 07072

                    Tfl Transport, Inc.
                    3440 Paterson Plank Road
                    North Bergen, NJ 07047




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                    Tgn S.P.A.
                    Cerniere Per Mobili
                    Via L. Nobili
                    201-41100
                    Modena Italy

                    Thalheimer Brothers
                    P.O. Box 8500-S-5300
                    5550 Whitaker Avenue
                    Philadelphia, PA 19178-5300

                    The Aluminum Association,
                    Inc.
                    9 Jay Gould Ct.
                    P.O. Box 753
                    Waldorf, MD 20604

                    The American Blasting Mat Co.
                    737 East 23rd Street
                    Norfolk, VA 23504

                    The American Business Network
                    204 2nd Avenue Suite 346
                    San Mateo, CA 94401

                    The Anchor Man
                    324 Portsmouth Road
                    Cherry Hill, NJ 08034

                    The Andersons- Ultra - OH
                    Whse
                    Ultra Hardware Products, LLC
                    7000 Bent Tree Blvd
                    Columbus, OH 43235-6903

                    The Andersons
                    480 W Dussel Dr
                    PO Box 119
                    Maumee, OH 43537

                    The Antigua Group Inc.
                    P.O. Box 5300
                    Peoria, AZ    85385-5300

                    The Associates
                    P.O. Box 6229
                    Carol Stream, IL     60197-6229



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                    The Auxiliary/Aemc
                    Braemer Building
                    5501 Old York Road
                    Philadelphia, PA 19141-9989

                    The Battery Store
                    4500 Route 130 N.
                    Pennsauken, NJ 07109

                    The Bay Ridge Lumber Co.
                    1411 Ford Road
                    Bensalem, PA 19020

                    The Bic Group
                    740 Bettlewood Avenue
                    Suite 101
                    Collingswood, NJ 08108

                    The Body Shop By Ron
                    25 Irving Place
                    Feasterville, PA 19053

                    The Bogey Classic
                    207 Wendwood Drive
                    Newport News, VA 23602

                    The Brownstein Group
                    215 South Broad Street
                    Philadelphia, PA 19107

                    The Buchanan Group
                    P.O. Box 187
                    Moorestown, NJ 08057

                    The Buck Hotel
                    Bridgetown & Bustleton
                    Feasterville, PA 19053

                    The Bureau Of National
                    Affairs, Inc.
                    1231 25th Street N.W.
                    Washington, DC 20037-1197

                    The C I T Group
                    Commercial Services Inc
                    PO Box 1036
                    Charlotte, NC 282011036



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                    The Caldwell Group Inc.
                    5055 26th Avenue
                    Rockford, IL 61109

                    The Chase Manhattan Bank
                    Global Trade Operations
                    PO Box 29016
                    Brooklyn, NY 11202-9016

                    The Children's Boutique
                    1717 Walnut Street
                    Philadelphia, PA 19103

                    The Children's Hospital
                    Foundation
                    P.O. Box 7790
                    Philadelphia, PA 19101-9975

                    The Cit Group/Ef
                    File# 55603
                    Los Angeles, CA 90074-5603

                    The Cobb Group
                    P.O. Box 35160
                    Louisville, KY    40232-5160

                    The Courier Post
                    PO Box 5705
                    Cherry Hill, NJ 08034

                    The Creative Group
                    12400 Collections Center Dr
                    Chicago, IL 60693

                    The Custom Companies, Imc.
                    PO Box 94338
                    Chicago, IL 60678-4338

                    The Dallas Laboratories, Inc.
                    P.O. Box 152837
                    1323 Wall Street
                    Dallas, TX 75315

                    The Dallas Morning News
                    PO Box 630061
                    Dallas, TX 75263-0061




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                    The Datamyne
                    703 Waterford Way, Ste 200
                     Miami, FL 33126

                    The Delaware River And Bay
                    Authority
                    E-Z Pass Transportation
                    Center
                    P.O. Box 97252
                    Washington, DC 20090

                    The Dickson Company
                    930south Westwood Avenue
                    Addison, IL 60101

                    The Display Connection Inc
                    131 W Commercial Ave
                    Moonachie, NJ 07074

                    The Dj Connection
                    532 Old Marlton Pike
                    Suite 220
                    Marlton, NJ 08053

                    The Douglas Group LLC
                    PO Box 13513
                    Shawnee Mission, KS 66282
                    3513

                    The Drawing Board
                    P.O. Box 6213
                    Carol Stream, IL 60197-6213

                    The Duffy Co.
                    283 E. Hellen Road
                    Palantine, IL 60067

                    The Economics Press, Inc.
                    12 Daniel Road
                    Fairfield, NJ 07004-2565

                    The Elm Corporation
                    C/O Bresson Assoc. Inc.
                    107 Forrest Avenue
                    Narberth, PA 19072




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                    The Filter Company, Inc.
                    P.O. Box 80598
                    Valley Forge, PA 19484

                    The Fitting Shop
                    1057 S Vail Ave
                    Montibello, CA 90640

                    The Flower Boutique
                    409 Cooper Landing Road
                    Suite C-11
                    Cherry Hill, NJ 08002

                    The Franklin Company
                    P.O. Box 8500-50580
                    Philadelphia, PA 19178

                    The Gemroi Company
                    11901 Bowman Dr, Ste 101
                    Fredericksburg, VA 22408

                    The Genesis Sales Group LLC
                    19 Fox Road
                    Waltham, MA 02451

                    The Geon Company
                    PO Box 93888
                    Chicago, IL 60673-3888

                    The Glass House, Inc.
                    P.O. Box 794
                    Woodbury, NJ 08096

                    The Godfrey Group Inc.
                    4102 S. Miami Boulevard
                    Durham, NC 27703

                    The Graham Company
                    The Graham Building
                    One Penn Square West
                    Philadelphia, PA 19102




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                    The Greater Philadelphia
                    Parkinson's Council Of The
                    National Parkinsons
                    Foundation
                    One Presidential Blvd Suite
                    20
                    Bala Cynwyd, PA 19004

                    The Hardware Store
                    2095 Route 70
                    Liberty Bell Plaza
                    Cherry Hill, NJ 08003

                    The Hobart West Group
                    P.O. Box 18504
                    Newark, NJ 07191

                    The Hobart West Group
                    PO Box 31658
                    Hartford, CT 06150-1658

                    The Hold Company, Inc.
                    540 Township Line Road
                    Suite 200
                    Blue Bell, PA 19422

                    The Home Depot Foundation
                    Attn: Emily Ferguson
                    2455 Paces Ferry Rd, C-17
                    Atlanta, GA 30339

                    The Home Depot Supply
                    Attn: Hillary Willing
                    10641 Scripps Summit Court
                    San Diego, CA 92131

                    The Home Depot
                    1336 Bristol Pike
                    Bensalem, PA 19020

                    The Home Service Store, Inc.
                    Central Processing, Attn:Kim
                    Douglass
                    80 West Street, Suite 104
                    Rutland, VT 5701




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                    The Hospice Of Delaware
                    Valley
                    527 Plymouth Road
                    Suite 417
                    Plymouth Meeting, PA 19462

                    The House Of God Church
                    C/O Timothy L. Mims Sr.
                    1201 Cedar Drive
                    Pine Hill, NJ 08021

                    The Ink Factory
                    1100 Corby Dr.
                    Youngstown, OH 44509

                    The Jamie Tillona Memorial
                    Scholarship Fund
                    PO Box 394
                    Marlborough, CT 06447

                    The Jaydor Company
                    542 N Tropper Rd
                    Norristown, PA 19403

                    The Jewish Theological
                    Seminary Of America
                    3080 Broadway
                    New York, NY 10027-9985

                    The John Wood Company
                    P.O. Box 923
                    Valley Forge, PA 19482-0923

                    The Johnson Law Firm, L.L.C.
                    3050 West Clay
                    St. Charles, MO 63301

                    The K. Waldrep Nat'l
                    Paralysis
                    Foundation/Swb
                    16415 Addison Road
                    Suite 550
                    Addison, TX 75001

                    The Kiplinger Letter
                    P.O. Box 10910
                    Des Moines, IA 50340-0910



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                    The Knott's Company
                    350 Snyder Avenue
                    Berkeley Hts., NJ 07922

                    The L. L. Clean Company
                    PO Box 114
                    Gibbsboro, NJ 08026

                    The L.S. Starrett Company
                    P.O. Box 75673
                    Charlotte, NC 28275

                    The Label Group
                    69 Hillview Rd.
                    Holyoke, MA 01040

                    The Lighthouse Inc.
                    44 Church Street
                    White Plains, NY 10601

                    The Lockworks
                    16510 Redmond Way
                    Redman, WA 98052 4447

                    The Magic Touch
                    3400 Lake Drive
                    Williamstown, NJ     08094

                    The Marlin Company
                    P.O. Box 304
                    New Haven, CT 06502-0304

                    The Mcgraw-Hill Companies
                    7625 Collection Ctr Dr
                    Chicago, IL 60693-007

                    The Mcgraw-Hill Companies
                    7707 Collection Center Drive
                    Chicago, IL 60693-0077

                    The Mediation Expert, LLC
                    134 White Oak Ridge Road
                    Lincroft, NJ 07738

                    The Mesa Corporation
                    2501 Almeda Ave
                    Norfolk, VA 23513-2443



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                    The N.B. Cochrane Co.
                    2900 Loch Raven Road
                    Baltimore, MD 21218

                    The New York Blower Co.
                    Dept.20-1004
                    P.O. Box 5940
                    Carol Stream, IL 60197-5940

                    The News Journal
                    PO Box 1337
                    Buffalo, NY 14240-1337

                    The Niven Marketing Group
                    135 S Lasalle, Dept 5606
                    Chicago, IL 60674 5606

                    The Notte Agency, Inc.
                    PO Box 550
                    Lincroft, NJ 07738-9964

                    The Ny State Thruway
                    Authority
                    Violation Processing Unit-Ref
                    Lc06
                    PO Box 149005
                    Staten Island, NY 10314 9005

                    The Penrod Company
                    2809 S Lynnhaven Rd
                    Suite 350
                    Virginia Beach, VA 23452

                    The Penrod Company
                    Post Office Box 2100
                    Virginia Beach, VA 23450

                    The Philadelphia Boys Choir
                    225 N. 32nd Street
                    Philadelphia, PA 19104

                    The Philadelphia Orchestra
                    1420 Locust Street
                    Philadelphia, PA 19102-4297




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                    The Phoenix Group
                    290 Summer Lane
                    Marlton, NJ 08053

                    The Producto Mach. Co.
                    P.O. Box 5662
                    Hartford, CT 06102-5662

                    The Protection Bureau
                    Div. Of Philadelphia
                    Protection
                    197 Philips Road
                    Exton, PA 19341

                    The Pryor Report
                    P.O. Box 1766
                    Clemson, SC 29633

                    The Quality Group, Inc.
                    26201 Richmond Rd
                    Cleveland, OH 44146-1439

                    The R.L. Best Company
                    824 Bev Road
                    Boardman, OH 44512

                    The Regional Municipality Of
                    Niagra
                    Provincial Offences Court
                    3 Cross Street
                    Welland, Ontario, Canada
                    L3B5X6

                    The Remodeling Show
                    PO Box 612128
                    Attn: Carolyn Avila
                    Dallas, TX 75261-2128

                    The Right Guy
                    George R Hite
                    PO Box 52296
                    Philadelphia, PA     19115

                    The Rome Iron Group Ltd.
                    P.O. Box 4390
                    Rome, NY 13442-4390




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                    The Savitz Organization, Inc.
                    1845 Walnut Street
                    Suite 1400
                    Philadelphia, PA 19103

                    The Scansoft Group, Inc.
                    1531 Sam Rittenberg Bldg.
                    Charleston, SC 29407

                    The Sherwin-Williams Co
                    1204 Route 130 N, Ste 7
                    Cinnaminson, NJ 08077 3040

                    The Southern Building Show
                    3314 Barrow Hill Trail
                    Tallahassee, FL 32312-9968

                    The Stainless Source
                    P.O. Box 11157
                    Philadelphia, PA 19136

                    The Stech Group
                    8501 River Rd
                    Pennsauken, NJ 08110

                    The Stock Market
                    360 Park Avenue
                    New York, NY 10010

                    The T H Rogers Lumber Company
                    Attn: Dale Kennedy
                    PO Box 488
                    Mcalester, OK 74501

                    The Techs
                    PO Box 643208
                    Pittsburg, PA 15264-3208

                    The Tierney Group
                    200 South Broad Street
                    10th Floor
                    Philadelphia, PA 19102

                    The Trades Publishing Co.Inc
                    P. O. Box 1364
                    Crossville, TN 38557




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                    The Trentonian
                    PO Box 231
                    Trenton, NJ 08602-0231

                    The Uff Machine Company
                    P.O. Box 1081
                    15 Church Street
                    Upland, PA 19015

                    The Vera Quest Group
                    PO Box 7815
                    West Trenton, NJ 08628

                    The Vernon Company
                    Dept C One Promotion Pl
                    PO Box 600
                    Newton, IA 50208

                    The Vindicator Printing Co
                    PO Box 780
                    Youngstown, OH 44501-0780

                    The Vwe Group, Inc.
                    P.O. Box 160
                    Bronxville, NY 10708

                    The Wolfinstitute
                    1650 Arch Street
                    22nd Floor
                    Philadelphia, PA 19103

                    The Young Leadership Council
                    226 South 16th Street
                    15th Floor
                    Philadelphia, PA 19102

                    Theodore E. Mozer, Inc.
                    4th & Market Streets
                    P.O. Box 25
                    Palmyra, NJ 08065

                    Theodore E. Mozer, Inc.
                    4th & Market Streets
                    Palmyra, NJ 08065




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                    Theodore Wilhelm & Sons Inc.
                    2403-13 North 2nd Street
                    Philadelphia, PA 19133

                    Theresa M Leib
                    912 Chestnut St
                    Laurel Springs, NJ 08021

                    Thermacon Enviro Systems,
                    Inc.
                    345 New Albany Road
                    Moorestown, NJ 08057

                    Thermal Ceramics
                    10380 Route 43
                    Strettsboro, OH 44241

                    Thermal Components
                    800 Jessup Rd,Suite 803a
                    Thorofare, NJ 08086

                    Thermal Label Warehouse Inc
                    PO Box 23830
                    Knoxville, TN 37933

                    Thermal Label Warehouse Inc.
                    637 N. Center Street
                    Corry, PA 16407

                    Thermal-Tite, Inc.
                    211 Argyle Rd
                    Langhorne, PA 19047

                    Therm-L-Sav Inc
                    3070 Bristol Pike
                    Neshaminy Plaza Ii, Suite 216
                    Bensalem, PA 19020

                    Thermo Electron North America
                    5225 Verona Road
                    Madison, WI 53711

                    Thermo Fisher Scientific
                    1410 Gillingham Drive
                    Sugar Land, TX 77478




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                    Thermo Orion
                    P.O. Box 96896
                    Chicago, IL 60693-6896

                    Thern, Inc.
                    P.O. Box 347
                    Winona, MN 55987

                    Thew Supply Co., Inc.
                    PO Box 2426
                    Green Bay, WI 54306

                    Third Base Sports & Trophies
                    606 Hollywood Ave
                    Bldg 3
                    Cherry Hill, NJ 08002

                    Third Base Sports & Trophies
                    606 Hollywood Ave.
                    Bldg. 3
                    Cherry Hill, NJ 08002

                    Thomas Belfiglio
                    546 Longwood Ave
                    Deptford, NJ 08096

                    Thomas G Goldkamp Inc
                    186 S Main St
                    PO Box 368
                    Ambler, PA 19002

                    Thomas G. Goldkamp, Inc.
                    186 South Main Street
                    Ambler, PA 19002-0330

                    Thomas G. Ryl
                    2285 Tunnel Breeze Ct
                    Holland, MI 49424

                    Thomas Hardware Parts &
                    Fasten
                    1001 Rockland Street
                    Reading, PA 19604

                    Thomas J Ambrose
                    41 Lamp Post Ln
                    Somerdale, NJ 08083



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                    Thomas J. Dilauro
                    778 W. Rolling Road
                    Springfield, PA 19064

                    Thomas J. Gatti, Pp, Aicp
                    313 Juanita Avenue
                    Delran, NJ 08075

                    Thomas Publishing Company
                    General Post Office
                    P.O. Box 29264
                    New York, NY 10087-9264

                    Thomas Register Of American
                    Manufacturers
                    Five Penn Plaza
                    New York, NY 10001

                    Thomas Register Of American,
                    MAnufacturers
                    Gpo 9352
                    New York, NY 10087-9352

                    Thomas Rose Advertising
                    2 Radford Court, Suite A
                    Marlton, NJ 08053

                    Thomas Rose Advertising, Inc.
                    2 Radford Court
                    Suite A
                    Marlton, NJ 08053

                    Thomas Rose Advertising, Inc.
                    2 Radfort Court, Suite A,
                    MArlton, NJ 08053

                    Thomas S. Porter
                    1308 Noell Blvd.
                    Palm Harbor, FL 34683

                    Thomas Schweizer
                    Philadelphia, PA     19135

                    Thomas Scientific
                    Box 99
                    99 High Hill Rd. At I-295
                    Swedesboro, NJ 08085-0099



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                    Thomas Spearing
                    PO Box 1086
                    Lewisburg, WV 24901

                    Thomas Spearing
                    PO Box 1086
                    Lewisburg, WV 24901

                    Thomas V Hafey
                    1229-44 Winsted Rd
                    Torrington, CT 06790

                    Thomas Vinopal
                    820 N Mitchell Ave
                    Arlington Heights, IL 60004

                    Thomas Willcox Co. Inc.
                    613 Jeffers Circle
                    Exton, PA 19341

                    Thompson BMW
                    Rts 611 & 313
                    Doylestown, PA    18901

                    Thompson Publishing Group
                    Inc.
                    Subscription Service Center
                    P.O. Box 26185
                    Tampa, FL 33623-6185

                    Thompsons Locksmith Service
                    5558 S Pennsylvania Ave
                    Lansing, MI 48911

                    Thon
                    C/O Stacy Lunetta
                    609 Curtin Hall
                    University Park, PA       16802

                    Thorne, Nancy
                    1902 Beverly Road
                    Burlington, NJ 08016-1012




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                    Thrall Car Manufacturing Co.
                    2521 State Street
                    Attn: Mark Herak
                    Chicago Heights, IL 60411
                    0218

                    Threaded Screw Products Co
                    Inc
                    230 Barley Sheaf Road
                    PO Box 507
                    Thorndale, PA 19372-0507

                    Threaded Screw Products
                    230 Barley Sheaf Road
                    PO Box 507
                    Thorndale, PA 19372-0507

                    Three D Bolt
                    9204 Collins Ave
                    Pennsauken, NJ 08110

                    Throne International Metals
                    PO Box 1755
                    Spingfield, MA 01101

                    Thrower Corp
                    10 Lakeside Ave.
                    Cherry Hill, NJ 08003

                    Thrower Corporation
                    11 Lakeside Ave
                    Cherry Hill, NJ 08003

                    Thul Machine Works
                    P.O. Box 2794
                    325 East Third Street
                    Plainfield, NJ 07062

                    Thumb Tool & Engineering
                    354 Liberty
                    Bad Axe, MI 48413




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                    Thyssen Marathon Heat Treat
                    2555 North Talbot Road
                    R.R.#1 Oldcastle
                    Ontario Nor 1l0
                    Canada


                    Thyssen Specialty Steels Inc.
                    14 Sword Street
                    Auburn, MA 01501

                    Thyssen Specialty Steels, Inc
                    14 Sword Street
                    Auburn, MA 1501

                    Tianjin Zongheng Ind&Trade Co
                    No 168 Baldi Road, Nankai
                    District
                    China
                    Tianjin

                    Tierney & Partners
                    P.O. Box 13700-1022
                    Philadelphia, PA 19191-1022

                    Tiger Machine Spec. Inc
                    130 Rancocas Ave
                    PO Box 5224
                    Delanco, NJ 08075

                    Tigerstop, L.L.C.
                    M/S 06, PO Box 5700
                    Portland, OR 97228

                    Till Paint Company
                    PO Box 203
                    Woodbury Heights, NJ      08097

                    Tim Manning
                    3960 Bell Road #807
                    Hermitage, TN 37076

                    Timbar Packing And Display
                    Commerce Street
                    P.O. Box 98
                    New Oxford, PA 17350




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                    Timbar Packing And Display
                    Commerce Street
                    PO Box 98
                    New Oxford, PA 17350

                    Timberline Marketing
                    10804 Normandale Blvd
                    Bloomington, MN 554373112

                    Timberline Transport, Inc.
                    300 Third Avenue, Suite 1
                    P.O. Box 277
                    Eastman, GA 31023

                    Time & Parking Controls
                    7716 West Chester Pike
                    P.O.Box 232
                    Upper Darbey, PA 19082

                    Time Warner
                    37635 Enterprise Ct
                    Farmington Hills, MI      48331

                    Timken Latrobe
                    Steel Distribution
                    P.O Box 1286
                    Youngstown, OH 44501-1286

                    Timothy Hudyka
                    46 Wilno Ave
                    Ludlow, MA 01056

                    Timothy Walter
                    2220 Tidal View Garth
                    Abingdon, MD 21009

                    Tioga Pipe Supply Co.
                    P.O.Box 7777-W0700
                    Philadelphia, PA 19175

                    Tip Temperature Products
                    415 Keim Boulevard
                    Suite # 2
                    Burlington, NJ 08016




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                    Tipco Punch Inc.
                    6 Rowe Court
                    Hamilton, OH 45015

                    Titan Tool Supply Co., Inc.
                    P.O. Box 569
                    Buffalo, NY 14207-0569

                    Titan Windows, Inc.
                    PO Box 4263
                    Attn: Manny Pamfilis
                    Baltimore, MD 21213

                    Titan/Safetymart-NJ
                    1527 Main Street
                    Rahway, NJ 07065

                    Titanic Controls Inc.
                    611-615 Morgan Ave.
                    Drexel Hill, PA 19026

                    T-Lines, Inc.
                    5370 Clarkins Dr.
                    Suite 3
                    Youngstown, OH 44515

                    Tls Inc.
                    500, Montee Labossiere
                    Vaudreuil-Dorion
                    Quebec Canada
                    J7v 8p2

                    Tm Capital Corp.
                    Ms. Betty Young
                    One Battery Park Plaza
                    24th Floor
                    New York, NY 10004

                    Tmc Compco LLC
                    Bloomfield Business Park
                    409 Bloomfield Dr, Unit 1
                    West Berlin, NJ 08091

                    Tmc Compco LLC
                    PO Box 2065
                    Voorhees, NJ 08043




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                    Tmc Compco, LLC
                    PO Box 2065
                    Voorhees, NJ 08043

                    T-Mobile
                    P.O. Box 742596
                    Cincinnati, OH 45274-2596

                    Tmp Worldwide
                    600 International Drive
                    Mt. Olive, NJ 07828

                    Tni (Taiwan New Idea)
                    2f, No. 44, Lane 11
                    Kwang-Fu North Road
                    Taipei Taiwan

                    Tnt Freight Management Inc
                    PO Box 13757
                    Newark, NJ 07188-0757

                    Tnt Red Star Express Inc.
                    24 Wright Avenue
                    Auburn, NY 13021-0995

                    TNT Solutions Inc.
                    Formerly Wilsey Edm Tech
                    140 Penn Am Drive
                    P.O. Box 1059
                    Quakertown, PA 18951

                    Tnt Usa Inc
                    Cs 9002
                    Melville, NY 11747 2230

                    TNT Usa Inc.
                    P.O. Box 1009
                    Westbury, NY 11590-0209

                    Tnt
                    24 Wright Ave
                    Auburn, NY 13021-0995

                    Toco Products & Mfg. Inc.
                    PO Box 865
                    Millville, NJ 08332




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                    Toco Products
                    1129 West River Drive
                    Mays Landing, NJ 08330

                    Today's Graphics, Inc.
                    1341 N. Delaware Avenue
                    Suite 100
                    Philadelphia, PA 19125

                    Todd Kendall
                    1113 Tower Lane East
                    Penn Valley, PA 19072

                    Todd Tool & Machine Inc.
                    Rt. 130 N & Cathy Lane
                    P.O. Box 6
                    Roebling, NJ 08554

                    Todd Villano
                    Harrows
                    270 Spagnoli Road
                    Melville, NY 11747

                    Todd's Chem Dry
                    5626 Route 38
                    Pennsauken, NJ 08109

                    Toking Hardware Industrial Co
                    12a New Deya Garden
                    No 282 Jiaogong Road
                    Hangzhou China

                    Tollock Industries
                    1987 Byberry Rd
                    Huntingdon Valley, PA      190006

                    Tom Belfiglio
                    546 Longwood Avenue
                    Deptford, NJ 08096

                    Tom Brown, Inc.
                    951 Killarney Drive
                    Pittsburgh, PA 15234

                    Tom Craig Radiator Service
                    705 W. State Hwy. #73
                    Palmyra, NJ 08065



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                    Tom Maples
                    4308 Halls Mill Road
                    Mobile, AL 36609

                    Tom Onuschak
                    122 South West Street
                    Allentown, PA 19102-4434

                    Tom Palamenghi
                    33 Orchid Road
                    East Patchogue, NY     11772

                    Tom Wright
                    204 Northampton Court
                    Canton, GA 30115

                    Tommie's Auto Detailing
                    2710 Haddonfield Road
                    Pennsauken, NJ 08110

                    Tom's Glass Service
                    PO Box 303
                    Lumberton, NJ 08048 0303

                    Ton-Di Distributors, Inc.
                    21-23 Lewis Ave
                    Jersey City, NJ 07306

                    Toner Sales
                    181 Depot Street
                    PO Box 638
                    Blue Ridge, GA 30513

                    Tony & Lenny's Auto Service
                    2101 Branch Pike
                    Cinnaminson, NJ 08077

                    Tony Marco
                    1016 Cottman Ave
                    Apt 2
                    Phialdelphia, PA     19111

                    Tony's Auto Service
                    4710 N. Crescent Blvd
                    Pennsauken, NJ 08109




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                    Toohome Inc
                    1321 Research Park Dr
                    Dayton, OH 45432

                    Tool Pros, Inc
                    6 Geoffrey Rd.
                    Fairless Hills, PA     19030

                    Tooling Etc L.L.C.
                    Wagner Carbide Saw Div
                    250 Hallock Avenue
                    Middlesex, NJ 08846

                    Tools Unlimited, Inc.
                    PO Box 5757
                    Toledo, OH 43613-0757

                    Toomey Reporting
                    20 N Clark Street
                    Suite 1414
                    Chicago, IL 60602

                    Top Coat
                    2323 West 59th Street
                    Chicago, IL 60636

                    Top Hat Uniform Rental
                    132 Myrtle Avenue
                    Long Branch, NJ 07740

                    Top Notch Distributions
                    PO Box 189
                    Honesdale, PA 18431-0189

                    Top Universal Trading Ltd
                    PO Box 71, Craigmuir Chambers
                    Road Town Tortola

                    Tops Weatherstrip Service
                    4992 E 90th St
                    Garfield, OH 44125

                    Topware Hardware
                    3603a College Point Blvd
                    Flushing, NY 11354 4000




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                    Torgro Yellow Cab Co. Inc.
                    P.O. Box 170
                    Pennsauken, NJ 08110

                    Toshiba
                    1010 Johnson Dr.
                    Buffallo Grove, IL     60089-
                    6900

                    Total Business Service Center
                    Educational Series
                    P.O. Box 23436
                    Rochester, NY 14692-3436

                    Total Care Network
                    Penn Treaty Park Pl
                    1341 N Delaware Ave 403
                    Philadelphia, PA 19125-4300

                    Total Equipment Training,
                    Inc.
                    1846 Eagle Farms Road
                    Chester Springs, PA 19425

                    Total Eye Care Centers
                    1568 Woodbourne Road
                    Levittown, PA 19057

                    Total Lubrication Services
                    1001 Lower Landing Road
                    Commerce Center At Vpr
                    Suite 207
                    Blackwood, NJ 08012

                    Total Lubrication Services
                    Formerly Expert Lubricants
                    1001 Lower Landing Rd.
                    Blackwood, NJ 08012

                    Total Sheilding Systems
                    Of New Jersey, Inc.
                    PO Box 1837
                    Passaic, NJ 07055

                    Total Sign Co.
                    928 Levick Street
                    Philadelphia, PA 19111



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                    Total Support & Tooling
                    508 Wilhite Street
                    Florence, AL 35630

                    Tower Group International Inc
                    128 Dearborn Street
                    Buffalo, NY 14207

                    Tower Jones Sales Group, Inc
                    10 S. River Road
                    Ste. 2
                    Cranbury, NJ 08512

                    Tower Maintenance Service Co.
                    P.O. Box 337
                    804 Welsh Road
                    Huntingdon Valley, PA 19006

                    Town & Country Leasing LLC
                    P.O. Box 116
                    East Petersburg, PA 17520

                    Towne Painting
                    PO Box 546
                    Broomall, PA 19008

                    Towns Against Graffiti
                    Bensalem Plice Dept
                    2400 Byberry Rd
                    Bensalem, PA 19020

                    Toyota Rent A Car
                    1405 Old York Road
                    Abington, PA 19001

                    Toyota Tsusho America, Inc.
                    437 Madison Avenue
                    29th Floor
                    New York, NY 10022

                    Toyota Tsusho America, Inc.
                    437 Madison Avenue
                    New York, NY 10022

                    Tozour Energy Systems
                    PO Box 8500-1220
                    Philadelphia, PA 19178-1220



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                    Tozour-Trane
                    741 First Avenue
                    P.O. Box 1549
                    King Of Prussia, PA     19406

                    TPA Eastern Region, P.C.
                    PO Box 828252
                    Philadelphia, PA 19182-8252

                    Tpc Wire & Cable
                    7061 East Pleasant Valley Rd
                    Independence, OH 44131

                    Tradeout.Com
                    100 Summit Lake Drive,
                    Valhalla, NY 10595

                    Traducta Inc
                    35, Chemin Bella Vista
                    St-Basile-Le-Grand
                    Canada J3N 1L1
                    Quebec

                    Traffic Tech Inc.
                    6665 Cote De Liesse
                    Montreal
                    Quebec Canada
                    H4T 1Z5

                    Trafigura
                    One Stamford Plaza
                    263 Tresser Boulevard
                    Stamford, CT 06901

                    Trailer Leasing Company
                    3115 N. Wilke Road
                    Arlington Hts, IL 60004-1451

                    Trailmobile Canada Ltd.
                    455 Gibraltar Drive
                    Mississauga, Ontario
                    Canada L5t 2s9

                    Trailmobile Trailer
                    1000 North 14th Street
                    PO Box 5045
                    Charleston, IL 61920



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                    Tramrail Baler & Compactor
                    2200 E Tioga Street
                    Philadelphia, PA 19134

                    Trane-Tozour
                    741 First Avenue
                    King Of Prussia, PA     19406

                    Trans American Global
                    P.O. Box 883
                    Buffalo, NY 14205-0883

                    Trans Atlantic Co.
                    440 Fairmount Ave
                    Philadelphia, PA 19123

                    Transamerica Convention Svcs
                    7700 North Freeway, Ste B
                    Houston, TX 77037

                    Transamerican Office Furnitu
                    Furniture, Incorporated
                    4001 Main Street
                    Philadelphia, PA 19127

                    Transamerican Office
                    Furniture
                    4001 Main St
                    Philadelphia, PA 191272194

                    Transamerican Office
                    Furniture
                    4001 Main Street
                    Attn: Accounts Receivable
                    Philadelphia, PA 19127

                    Trans-Atlantic Co
                    420-42 Fairmount Ave
                    Philadelphia, PA 19123

                    Trans-Border Customs
                    Services, Inc.
                    P.O. Box 800
                    One Trans-Border Drive
                    Champlain, NY 12919




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                    Transcon Inc.
                    8824 Twin Brook Road
                    P.O. Box 29
                    Mentor, OH 44061-0029

                    Transcore #3801
                    PO Box 8500
                    Philadelphia, PA     19178-3801

                    Transgroup Logistics
                    PO Box 69207
                    Seattle, WA 98168

                    Trans-Link Hardware Co Ltd,
                    FL. 14-2
                    No. 637 Wen Shin Rd.
                    Sec. 4
                    Taichung China

                    Transmission Engineering Co.
                    1851 North Penn Road
                    Line-Lexington Industrial
                    Park
                    Hatfield, PA 19440

                    Trans-National, Inc.
                    PO Box 387
                    Keyport, NJ 7735

                    Transport Clearings East
                    PO Box 1093
                    Charlotte, NC 28201-1093

                    Transport Clearings
                    Drawer #0563
                    Milwaukee, WI 53278

                    Transport Clearings, L.L.C.
                    Box 78563
                    Milwaukee, WI 53278-0563

                    Transport Clearings, LLC
                    PO Box 78563
                    Milwaukee, WI 53728-0563




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                    Transport Parts & Service
                    435 Route 202
                    Towaco, NJ 07082

                    Transport Specialties
                    11910 Harvard Ave.
                    Cleveland, OH 44105

                    Transport Topics
                    P.O. Box 182
                    Congers, NY 10920-0182

                    Transportation Associates,
                    Inc
                    PO Box 2284
                    Cinnaminson, NJ 08077

                    Transportation Credit
                    Services
                    P.O. Box 64338
                    Lubbock, TX 79464

                    Transportation Logistics
                    Services
                    P.O. Box 1830
                    Mcdonough, GA 30253

                    Trans-Send Freight Systems
                    Ltd
                    P.O. Box 182
                    53 Armstrong Ave.
                    Georgetown, Ontario Canada
                    L7g4y5

                    Trans-World Inc.
                    335 Madison Avenue
                    Suite 815
                    New York, NY 10017

                    Tranter Phe Inc.
                    1900 Old Burk Highway (76306)
                    P.O. Box 2289
                    Wiichita Falls, TX 76307

                    Travelodge Hotel
                    1111 Route 73
                    Mount Laurel, NJ     08054



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                    Travers Tool Co., Inc.
                    P.O. Box 541550
                    Flushing, NY 11354-0108

                    Travers Tool Company, Inc.
                    128-15 26th Ave
                    Flushing, NY 11354-0108

                    Treasurer Of State Of Ohio
                    PO Box 444
                    Columbus, OH 43266-0005

                    Treasurer Of Virginia
                    Div. Of Child Sup.
                    Enforcement
                    P.O. Box 570
                    Richmond, VA 23204-0570

                    Tremco, Inc.
                    PO Box 931111
                    Cleveland, OH    44193-0511

                    Trend Building Services Inc.
                    1 Eves Drive, Suite 101
                    Marlton, NJ 08053

                    Trent Corporation
                    PO Box 2650
                    Trenton, NJ 08690

                    Trent Inc.
                    201 Leverington Ave
                    Phila., PA 19127

                    Trenton Alloy Fabricating,
                    Inc
                    82 Stokes Ave
                    Trenton, NJ 08638

                    Trenton Sheet Metal
                    PO Box 1121
                    Trenton, NJ 08606

                    Trenton Sheet Metal, Inc.
                    30 Adam Ave.
                    Po Box 1121
                    Trenton, NJ 08606-1121



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                    Trentype
                    304 Stokes Avenue
                    Trenton, NJ 08638

                    Trentypo Inc
                    304 Stokes Ave
                    Trenton, NJ 08638

                    Tri County Locksmith Service
                    8115 Se Powell Blvd
                    Portland, OR 97206 2356

                    Tri Point Packaging LLC
                    113 Fillmore St
                    Bristol, PA 19007

                    Tri Star Building Supply Inc
                    185 Concord St
                    Brooklyn, NY 11201 2032

                    Triad Building Materials
                    3512 East Kivett Drive
                    High Point, NC 27260

                    Triangle Corp.
                    1200 Broadway
                    Camden, NJ 08104

                    Triangle Home Center
                    2400 N Prince St
                    Clovis, NM 88101

                    Triangle Reprocenter
                    386 West Route 70
                    Marlton, NJ 08053

                    Tri-Boro Paving Co.
                    P.O. Box 2002
                    Cinnaminson, NJ 08077

                    Tri-Chem
                    P.O. Box 71550
                    Madison, MI 48071-0550

                    Trico Equipment
                    551 N. Harding Hwy
                    Vineland, NJ 08360



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                    Tricomm Service Corporation
                    Beverly-Rancocas Road
                    Willingboro, NJ 08046

                    Tricos Enterprises Inc
                    T/A Asphalt Care Company
                    PO Box 1512
                    Medford, NJ 08055

                    Tri-Kris Company, Inc
                    1001 Walnut Street
                    Po Box 785
                    Lansdale, PA 19446

                    Trilluim Construction/Drivers
                    PO Box 67000
                    Department 185401
                    Detroit, MI 48267-1854

                    Tri-M Electrical Construction
                    P.O. Box 69
                    204 Gale Lane
                    Kennett Square, PA 19348

                    Trimbuilt
                    335 Lacey Road
                    Forked River, NJ     08731

                    Tri-Mer Corp.
                    1400 Monroe Street
                    P.O. Box 730
                    Owosso, MI 48867

                    Trinity Group Sales Inc
                    400 Thoms Drive
                    Suite 411
                    Phoenixville, PA 19460

                    Trinity Industries, Inc.
                    160 North Rockford
                    Tulsa, OK 74120

                    Trinity Tool Co.
                    34600 Commerce Road
                    P.O. Box 98
                    Fraser, MI 48026-0098




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                    Trion Industries Inc
                    PO Box 640764
                    Pittsburgh, PA 15264 0764

                    Triple "B" Equipment Inc.
                    1350 Adams Road
                    Bensalem, PA 19020

                    Triple Lady's Agency, Inc.
                    Dba Tl Express
                    PO Box 75586
                    Cleveland, OH 44101-4755

                    Triple M Metal
                    P.O. Box 18946
                    Newark, NJ 07191-8946

                    Triple M Metals
                    471 Intermodel Drive
                    Brampton, Ontario
                    Canada L6t5g4

                    Triple S Marketing Group Inc
                    1023 Huffman St
                    Greensboro, NC 27405

                    Triple Top Couriers
                    70 Gibson Drive
                    Unit 4a
                    Markham, Ontario, Canada      L3r
                    4c2

                    Triple-T Cutting Tools, Inc.
                    401 Bloomfield Drive
                    Unit 5
                    West Berlin, NJ 08091-0204

                    Tri-R Tool Inc.
                    629 S. Warrington Ave.
                    Cinnaminson, NJ 08077

                    Trism Logistics Inc.
                    1465 Route 31
                    Annandale, NJ 08801-3130




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                    Trism Specialized Carriers
                    P.O. Box 954829
                    St. Louis, MO 63195-4829

                    Trism Transport Services,
                    Inc.
                    P.O. Box 954829
                    St. Louis, MO 63195-4829

                    Tristate Corp.
                    P.O. Box 312
                    101 East Laurel Avenue
                    Cheltenham, PA 19012-0066

                    Tristate Environmental Mgmt
                    Services Inc.
                    362 Dunks Ferry Road
                    Bensalem, PA 19020

                    Tri-State Fire Protection
                    445 Delsea Drive
                    Sewell, NJ 08080

                    Tri-State Freight Systems
                    Inc.
                    P.O. Box 537
                    Mullica Hill, NJ 08062-0537

                    Tri-State Freight Systems
                    PO Box 537
                    Mullica Hill, NJ 08062-0537

                    Tri-State Hardware
                    5 Perina Blvd
                    Cherry Hill, NJ 08003 2324

                    Tri-State Ind. Dist. Of N.J.
                    6200 Westfield Ave.
                    Pennsauken, NJ 08110

                    Tri-State Industrial Dist.
                    Distributors Of New Jersey
                    6200 Westfield Avenue
                    Pennsauken, NJ 08110




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                    Tri-State Metal Finishing
                    103 Meetinghouse Road
                    Jobstown, NJ 08041

                    Tri-State Party Works
                    615 E Chapel Ave
                    Cherry Hill, NJ 08034

                    Tri-State Pump & Equipment
                    2403 Paynters Road
                    Manasquan, NJ 08736

                    Tri-State Roofing
                    404 Meco Drive
                    Wilmington, DE 19804

                    Tri-State Technical Sales
                    382 Lancaster Avenue
                    Malvern, PA 19355

                    Tri-Steel Corporation
                    512 Swedesboro Avenue
                    Mickleton, NJ 08056

                    Triton Precision
                    7300 Route 130
                    Bldg. 16
                    Pennsauken, NJ 08110

                    Troutman Industries, Inc.
                    2201 Reading Avenue
                    West Lawn, PA 19609

                    Trow & Holden Inc.
                    45 South Main Street
                    Barre, VT 05641

                    Tru*Serv Corporation
                    Events & Meetings Department
                    8600 W Bryn Mawr Ave
                    Chicago, IL 606313505

                    Truck Tire Service
                    Corporation
                    PO Box 505640
                    Chelsea, MA 2150




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                    Truck Trailer Manufacturers
                    Association
                    Attn: Richard P. Bowling
                    1020 Princess Street
                    Alexandria, VA 22314-2247

                    Truckmen
                    5268 Township Road
                    Geneva, OH 44041

                    True North Software Inc
                    375 Travis Ln
                    Lancaster, PA 17601

                    True United Church Of Jesus
                    Christ (Apostolic) Inc.
                    528 E. Haines Street
                    Philadelphia, PA 19144

                    True Value Company Events
                    2342 Paysphere Circle
                    Chicago, IL 60674

                    Tru-Fit
                    1650 Suckle Highway
                    P.O. Box 198
                    Pennsauken, NJ 08110

                    Trugreen-Chemlawn
                    1250 Imperial Way
                    P.O. Box 155
                    Thorofare, NJ 08086

                    Truheat Corp.
                    700 Grand Street
                    P.O. Box 190
                    Allegan, MI 49010-0190

                    Truine Color
                    2605 N. River Road
                    Cinnaminson, NJ 08077

                    Tru-Line Fencing
                    5 Martha Circle
                    Fallsington, PA 19054




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                    Trulite Industries Limited
                    1820 Courtney Park Drive
                    Ontario, Canada A L5t 1w1

                    Tru-Miles Hardware Co Ltd
                    No 4 , Lane 342
                    Peng 1 Road 411
                    Taiping City, Taichung Hsien
                    Taiwan

                    Truseal Technologies, Inc.
                    PO Box 641912
                    Pittsburgh, PA 15254-1912

                    Truth Hardware
                    PO Box 60148
                    Charlotte, NC 28260-0148

                    Trux International Inc.
                    2101 Dixie Rd.,
                    Mississauga Ontario
                    Canada L4Y 1Z1

                    Trux International Inc.
                    2101 Dixie Road
                    Mississauga, Ontario
                    Canada L47 1z1

                    Trw Business Credit
                    Department 6 1 9 2 1
                    Los Angeles, CA 90088

                    Tryon Trucking, Inc.
                    PO Box 68
                    Fairless Hills, PA 19030

                    Tsa Inc
                    2040 W. Sam Houston
                    Parkway North
                    Houston, TX 77043

                    Tsa- Technical And Scientific
                    2040 West Sam Houston
                    Parkway North
                    Houston, TX 77043




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                    Tti Environmental Inc.
                    1253 North Church Road
                    Morrestown, NJ 08057

                    Ttma
                    1020 Princess Street
                    Attn: Richard P. Bowling
                    Alexandria, VA 22314-2247

                    Ttma-Ladies' Coffee
                    Attn: Business Manager
                    1020 Princess Street
                    Alexandria, VA 22314

                    Tube Sales
                    P.O. Box 200121
                    Dallas, TX 75320-0121

                    Tubular Steel
                    582 Middletown Blvd
                    Langhorn, PA 19047

                    Tuckahoe Enterprises
                    Po Box 337
                    Richland, NJ 08350

                    Tuff Plastics
                    2368 Hoffman Street
                    Bronx, NY 10458

                    Tuff Temp Corp
                    P.O. Box 366
                    Fort Washington Ind Prk.
                    Fort Washington, PA 19034

                    Tulnoy Lumber Inc.
                    P.O. Box 9
                    Raskulinecz Road
                    Carteret, NJ 07008

                    Tura Machine Company
                    Folcroft Industrial Park
                    School Lane & Horne Drive
                    Folcroft, PA 19032




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                    Turbo Logistics
                    Div Of Syfan Inc
                    PO Box 907310
                    Gainsville, GA 30501-0906

                    Turbo Wound
                    7 Mcmillien Way
                    Newark, DE 19713

                    Turmoil Corp.
                    P.O. Box 583
                    735 W. Swanzey Rd.
                    West Swanzey, NH 03469

                    Turtle & Hughes Inc.
                    Formerly Schlecter
                    188 Foothill Road
                    Bridgewater, NJ 08807

                    Tuscaloosa Sec & Locksmith
                    1613 15th St #C
                    Tuscaloosa, AL 35401 4605

                    Tustin Mechanical Services
                    240 N. White Horse Pike
                    Suite B
                    Hammonton, NJ 08037

                    Tustin Mechanical Services
                    2555 Industry Lane
                    Norristown, PA 19403

                    Tuthill Corp. C/O Edwin
                    Elliot
                    643 Ridge Pike
                    P.O. Box 439
                    Lafayette Hill, PA 19444

                    Tuyen Neuyen
                    6705 Pickwick Ct
                    Bensalem, PA 19020

                    TW Metals
                    171 Phillips Road
                    Exton, PA 19341




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                    Tw Metals
                    760 Constitution Dr.
                    Exton, PA 19341-0644

                    Twenty First Century Sign
                    Company
                    912 Longwood Ave.
                    Cherry Hill, NJ 08002

                    Twi Industries Inc
                    #10 7th Rd
                    Taichung Industrial Park
                    Taichung Taiwan

                    Twin City Clarage Inc.
                    245 Center Street North
                    Birmingham, AL 35204

                    Twin City Fan & Blower Co.
                    5959 Trenton Lane
                    Plymouth, MN 55442-3238

                    Twin City Hardware
                    723 Hadley Ave N
                    Oakdale, MN 55128

                    Twin Specialties Corp
                    15 East Ridge Pike
                    Conshohocken, PA 19428

                    Two Star Transport
                    PO Box 7518
                    York, PA 17404

                    Ty Manufacturing
                    Import/Export
                    Rm. 3, 24/F. Lucida Ind.
                    Bldg.
                    43-47 Wang Lung Street
                    Tsuen Wan, N.T. Hong Kong

                    Tycon Construction Co., Inc.
                    607 Pomona Road
                    Cinnaminson, NJ 08077




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                    Tyner Associates
                    224 West Beauregard
                    Suite 305
                    San Angelo, TX 76903

                    U S F Bestway
                    22515 Network Place
                    Chicago, IL 60673 1225

                    U S F Holland Inc
                    750 East 40th St
                    PO Box 9021
                    Holland, MI 49422 9021

                    U S F Reddaway
                    PO Box 1035
                    Clackamas, OR 97015

                    U S Filter
                    Dunks Ferry Crossing
                    258 Dunks Ferry Road
                    Bensalem, PA 19020

                    U S Postal Service
                    South Jersey District
                    Mgr Business Mail Entry
                    PO Box 9001
                    Bellmawr, NJ 08099 9651

                    U S Postmaster - Pennsauken
                    Attn: Window Technician
                    4724 Westfield Ave
                    Pennsauken, NJ 08110

                    U S Postmaster
                    Attn: Window
                    Bellmawr Post Office
                    PO Box 9001
                    Bellmawr, NJ 08099

                    U S Postmaster
                    Brilliant Graphics
                    Attn: Bob Tursack
                    400 Eagleview Blvd
                    Exton, PA 19341




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                    U S Postmaster
                    Easton
                    650 S Greenwood Ave
                    Easton, PA 18045 9998

                    U.I.U. Health & Welfare
                    1166 South 11th Street
                    Philadelphia, PA 19147

                    U.S Dept. Of Transportation
                    Hazardous Materials
                    Registration
                    P.O. Box 70985
                    Charlotte, NC 28272-0985

                    U.S. Connect
                    Dougherty Blvd. & Route 1
                    Glen Mills, PA 19342

                    U.S. Customs
                    2nd & Chestnut St.
                    Philadelphia, PA 19106

                    U.S. Department Of Education
                    National Payment Center
                    P.O. Box 4142
                    Greenville, TX 75403-4142

                    U.S. Dept. Of Labor-Osha
                    850 North 5th Street
                    Allentown, PA 18102

                    U.S. Dept. Of Transportation
                    P.O. Box 740188
                    Hazardous Materials Regs.
                    Atlanta, GA 30374-0188

                    U.S. Express
                    P.O. Box 301000
                    J.F.K. Int'l Airport
                    Jamaica, NY 11430-1000

                    U.S. Express
                    PO Box 1000
                    Jfk Airport
                    New York, NY    11430




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                    U.S. Extrusion Tool And Die
                    P.O. Box 460
                    1110 Trumbull Ave.
                    Girard, OH 44420

                    U.S. Filter
                    P.O. Box 360766
                    Pittsburgh, PA 15250-6766

                    U.S. Filter/Continental
                    P.O. Box 5867
                    Boston, MA 02206

                    U.S. Government Bookstore
                    Robert Morris Building
                    100 North 17th Street
                    Philadelphia, PA 19103

                    U.S. Logistics, Inc.
                    350 Benigno Blvd.
                    Bellmawr, NJ 08031

                    U.S. Plastic Corp.
                    1390 Neubrecht Rd.
                    Lima, OH 45801-3196

                    U.S. Postal Service
                    Cmrs-Pbp
                    P.O. Box 7247-0166
                    Philadelphia, PA 19170-0166

                    U.S. Products Co. Inc.
                    1138 West Chester Rd.
                    Coatesville, PA 19320

                    U.S. Satellite Broadcasting
                    P.O. Box 659565
                    San Antonio, TX 78265-9565

                    U.S. Uniforms
                    P.O. Box 14030
                    Philadelphia, PA     19122-0030

                    U.S.P.S.
                    Cmrs-Poc
                    PO Box 7247-0255
                    Philadelphia, PA     19170-0255



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                    Uch Occupational
                    Health Service/Carrollwood
                    7001 N Dale Mabry Hwy
                    Suite 5
                    Tampa, FL 33614

                    Uddeholm Sales
                    PO Box 75827
                    Chicago, IL 60675-5827

                    Uddeholm
                    7900 Hub Parkway
                    Cleveland, OH 44125

                    U-Haul
                    2180 Street Road
                    Bensalem, PA 19020

                    U-Haul
                    550 Route 73
                    Maple Shade, NJ     08052

                    Uline Shipping Supplies
                    2200 S. Lakeside Drive
                    Waukegan, IL 60085

                    U-Line
                    2200 South Lakeside Dr
                    Attn: Accounts Receivable
                    Waukegan, IL 60085

                    Uline
                    Attn: Accounts Receivable
                    2200 S Lakeside Dr
                    Waukegan, IL 60085

                    Ullman Devices Corporation
                    P.O. Box 398
                    664 Danbury Road
                    Ridgefield, CT 06877

                    Ultimate Recycled Plastics
                    Inc
                    36 Cobbetts Pond Road
                    Windham, NH 03087




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                    Ultra Hardware - Dallas, TX
                    2424 Northwest Moreland
                    Street
                    Dallas, TX 75212

                    Ultra Hardware Products LLC
                    Bank Of China Guangzhou
                    Jing Mao Da Sha Sub-Branch
                    No 351, Tianhe Road
                    China
                    Guangzhou

                    Ultra Punch
                    PO Box 353
                    8 North Main Street
                    Boonton, NJ 07005

                    Ultrafab, Inc.
                    PO Box 533100
                    Atlanta, GA 30353-3100

                    Ultra-Pak
                    49 Newbold Road
                    Fairless Hills, PA     19030

                    Ultra-Pak, Inc.
                    49 Newbold Road
                    Fairless Hills, PA     19030

                    Ultra-Pak, Inc.
                    86 Walker Lane
                    Newtown, PA 18940

                    Ultra-Sonic Extrusion Dies
                    34863 Groesbeck Highway
                    Clinton Township, MI 48035

                    Unam America
                    PO Box 382001
                    Pittsburgh, PA    15250-8001

                    Underwood Eng. Testing Co.
                    3 South Black Horse Pike
                    Mt. Ephraim, NJ 08059




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                    Underwood Machinery Transport
                    PO Box 977
                    Indianapolis, IN 46206-0977

                    Underwriters Laboratories Inc
                    PO Box 75330
                    Chicago, IL 60675-5330

                    Uneeda Bolt & Screw Co Inc
                    10 Capitol Dr
                    Moonachie, NJ 070741493

                    Uneeda Bolt & Screw Co.
                    10 Capitol Drive
                    Moonachie, NJ 07074

                    Uneeda Bolt & Screw Co., Inc.
                    10 Capitol Dr.
                    Moonachie, NJ 7074

                    Unicel Filter Cartridges
                    3750 Cohasset Street
                    Bierbank, CA 91505-1054

                    Unified Industries Inc.
                    Attention: Beth De Camp
                    1033 Sutton Street
                    Howell, MI 48843

                    Unified Technologies
                    8908 Falls Lane
                    Cleveland, OH 44147

                    Unifirst
                    940 River Road
                    Croydon, PA 19020

                    Uniform Code Control, Inc.
                    7887 Washington Village
                    Suite 300
                    Dayton, OH 45459

                    Union Contract Law Bulletin
                    23 Drydock Avenue
                    Boston, MA 02210




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                    Union Laboratories Inc.
                    5600 N. Preston
                    Flagstaff, AZ 86004

                    Union Metal, Inc.
                    1432 Maple Ave. P.O. Box 9920
                    Canton, OH 44711

                    Union Organization For Social
                    Service
                    4212 Beacon Avenue
                    Pennsauken, NJ 08109

                    Unipunch Products Corp.
                    370 Babcock Street
                    PO Box # 5017
                    Buffalo, NY 14240

                    Unipunch Products, Inc.
                    370 Babcock Street
                    P.O.Box 428
                    Buffalo, NY 14240-0428

                    Unique Aluminum Fence
                    7921 Grayson Road
                    Harrisburg, PA 17111

                    Unique Printing & Labels Inc.
                    5296 East 65th Street
                    Indianapolis, IN 46220

                    Unisource Worldwide Inc
                    7472 Collections Center Dr
                    Chicago, IL 60693

                    Unisource Worldwide Inc.
                    7575 Brewster Avenue
                    Philadelphia, PA 19153

                    Unisource
                    7575 Brewster Ave
                    Philadelphia, PA 19153-3296

                    Unist Inc.
                    4134 36th St Se
                    Grand Rapids, MI     49512




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                    Unistrut Philadelphia
                    151 Discovery Drive
                    Unit 11
                    Colmar, PA 18915

                    United Flooring Services
                    342 Forked Neck Road
                    Shamong, NJ 08088

                    United Blower Co.
                    400a County Ave.
                    Secaucus, NJ 07097

                    United Check Cashing
                    6720 South Route 130
                    Pennsauken, NJ 08109

                    United Elchem Industries Inc
                    11535 Reeder Road
                    Dallas, TX 75229

                    United Electric Power
                    230 Duffy Ave
                    P.O. Box 190
                    Hicksville, NY 11802-0190

                    United Electric Supply Co.,
                    Inc.
                    PO Box 8500-6340
                    Philadelphia, PA 19178-6340

                    United Electric Supply
                    1150 W. Garden Road
                    Vineland, NJ 08360

                    United Flooring Services,
                    Inc.
                    342 Forked Neck Road
                    Indian Mills, NJ 08088

                    United Hardware Dist Co
                    PO Box 410,
                    Minneapolis, MN 55440

                    United Imaging
                    21201 Oxnard St
                    Woodland Hills, CA     91367



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                    United Industries, Inc.
                    1546 Henry Avenue
                    Beloit, WI 53511

                    United Iron & Metal
                    Div Of David J. Joseph Co.
                    Location #00261
                    Cincinnati, OH 45264-0261

                    United Lift Service Co
                    PO Box 180
                    West Berlin, NJ 08091 9278

                    United Light Company
                    3959 Frankford Ave.
                    Philadelphia, PA 19124-4493

                    United Metal Traders
                    P.O. Box 8938
                    Philadelphia, PA 19135

                    United Notary
                    770 Sycamore Ave.
                    Ste J #157
                    Vista, CA 92083

                    United Of NJ
                    PO Box 4500
                    Carlisle, PA    17013-0911

                    United Packaging Supply Co
                    727 Wicker Ave
                    Bensalem, PA 19020

                    United Packaging Supply Co
                    PO Box 850053723
                    Philadelphia, PA 19178-3723

                    United Parcel Service
                    P.O. Box 7247-0244
                    Philadelphia, PA 19170-0001

                    United Parcel Service
                    PO Box 7247-0244
                    Philadelphia, PA 19170-0001




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                    United Plate Glass Company
                    108 Grundman Dr.
                    Butler, PA 16001

                    United Refrigeration Inc.
                    1601 John Tipton Boulevard
                    Pennsauken, NJ 08110

                    United Refrigeration Inc.
                    P.O. Box 82-0100
                    Philadelphia, PA 19182-0100

                    United Remodeling, Inc.
                    6108 Belair Road
                    Baltimore, MD 21206

                    United Rentals
                    1603 Route 130
                    Burlington, NJ    08016

                    United Rentals
                    1905 Route 206
                    PO Box 2507
                    Vincetown, NJ 08088

                    United Ribbon Co.
                    9731 Canoga Ave
                    Chatsworth, CA 91311-4117

                    United Sprinkler Co., Inc.
                    2714 Branch Pike
                    Cinnaminson, NJ 08077

                    United States Business Pages
                    6130 W. Tropicana #304
                    Las Vegas, NV 89103

                    United States Life Ins. Co
                    P.O. Box 62104
                    Baltimore, MD 21264-2104

                    United States Life Insurance
                    Group Acct.-M.S.N. 3-A
                    PO Box 1592
                    Neptune, NJ 17754-1592




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                    United States Life Insurance
                    Self Billing Unit 3-A
                    P.O. Box 1580
                    Neptune, NJ 07754-1580

                    United States Postal Service
                    Camden Delivery Annex
                    2700 Mt Ephraim Ave
                    Camden, NJ 08104

                    United States Postal Service
                    P.O. Fee Payment
                    Postmaster
                    Pennsauken, NJ 08110

                    United Supply Company
                    P.O. Box 1269
                    North Plainfield, NJ 07061

                    United Van Lines LLC
                    One United Drive
                    Fenton, MO 63026-1350

                    United Way Of Camden
                    196 Newtown Ave
                    Camden, NJ 081031700

                    United Way Of Camden
                    196 Newtown Avenue
                    Camden, NJ 08103-1700

                    United Way
                    196 Newton Road
                    Camden, NJ 08103

                    Unittool Punch & Die Co
                    PO Box 8000
                    Dept 859
                    Buffalo, NY 14267

                    Unittool Punch & Die Co. Inc.
                    Po Box 8000
                    Dept. 859
                    Buffalo, NY 14267




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                    Univar Usa Inc,
                    200 Dean Sievers Place
                    Morrisville, PA 19067

                    Universal Builders Supply,
                    Inc
                    5720 Columbia Park Road
                    Cheverly, MD 20785

                    Universal Electric
                    168 Georgetown Road
                    Canonsburg, PA 15317

                    Universal Engineering
                    P.O. Box 2315
                    Carol Stream, IL 60132-2315

                    Universal Machine Of Potts.
                    525 W. Vine St
                    Stowe, PA 19464

                    Universal Maritime Service
                    6000 Carnegie Blvd
                    Charlotte, NC 28209

                    Universal Metal Corp
                    P.O. Box 652
                    Worcester, MA

                    Universal Metalcraft Inc.
                    129 East 20th Street
                    Paterson, NJ 07513

                    Universal Millwright Co.,
                    Inc.
                    118 S. Second Street
                    P.O. Box 219
                    Perkasie, PA 18944

                    Universal Polymer & Rubber,
                    Ltd.
                    PO Box 71-4510
                    Columbus, OH 43271-4510

                    Universal Sourcing Inc
                    117 Fort Lee Rd, Unit A-11
                    Leonia, NJ 07605



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                    Universal Supplies, Inc.
                    PO Box 885
                    Melville, NY 11747

                    Universal Technical Equipment
                    1100 Woodlawn Avenue
                    Post Office Box 1385
                    Collingdale, PA 19023-8385

                    Universal Urethane Inc.
                    4201 East Lone Mountain
                    North Las Vegas, NV 89030

                    University Of Michigan
                    Engineering Conferences
                    400 Chrysler Center
                    North Campus
                    Ann Arbor, MI 48109

                    University Plastics, Inc.
                    7150 Jackson Road
                    Ann Arbor, MI 48103

                    University Radiology
                    Services., Pa
                    P.O. Box 1928
                    Voorhees, NJ 0843-9028

                    Up N Running Sales & Service
                    324 Larch Rd
                    Mt Laurel, NJ 08054

                    Ups / Ups Scs Atlanta
                    PO Box 533238
                    Atlanta, GA 30353 3238

                    Ups Capital Leasing-Ctp
                    35 Glenlake Parkway
                    Atlanta, GA 30328

                    Ups Customhouse Brokerage
                    PO Box 34486
                    Louisville, KY 40232

                    Ups Freight Services
                    PO Box 79755
                    Baltimore, MD 12919



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                    Ups Freight
                    28013 Network Place
                    Chicago, IL 60673-1280

                    Ups Freight
                    28013 Network Place
                    Chicago, IL 60673 1280

                    Ups Freight
                    PO Box 79755
                    Baltimore, MD    21279-0755

                    Ups Supply Chain Solutions
                    Inc
                    28013 Network Place
                    Chicago, IL 60673 1280

                    Ups Supply Chain Solutions
                    Inc
                    Attn: Customs Brokerage
                    Services
                    PO Box 34486
                    Louisville, KY 40232

                    Ups Supply Chain Solutions
                    28013 Network Place
                    Chicago, IL 60673-1280

                    Ups Supply Chain Solutions
                    Box 371232 M
                    Pittsburgh, PA 15250 7232

                    Ups Supply Chain Solutions
                    PO Box 800
                    Champlain, NY 12919

                    Ups Supply Chain Solutions,
                    Inc
                    Attn: Customs Brokerage
                    Service
                    28013 Network Place
                    Chicago, IL 60673-1280

                    Ups Supply Chain Solutions.
                    Box 371232
                    Pittsburgh, PA 15250-7232




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                    Urban Machinery
                    125 Werlich Drive, CAmbridge
                    Ontario, CA N1t 1n7

                    Urban Machinery
                    192 N. Otto St
                    Port Townsend, WA     98368-9765

                    Urban Promise Celebrity
                    Golf Classic
                    P.O. Box 1479
                    Camden, NJ 08105

                    Urethane Tooling &
                    Engineering
                    P.O.Box 1074
                    Morehead, KY 40351-5074

                    Uretherm/Chessell
                    One Pheasant Run
                    Newtown, PA 18940

                    Us Airways
                    PO Lockbox 640163
                    Pittsburgh, PA 15264 0163

                    Us Blade Manufacturing Co Inc
                    90 Myrtle St
                    Cranford, NJ 07016 3235

                    Us Customs & Border
                    Protection
                    PO Box 70946
                    Charlotte, NC 28272

                    Us Data
                    334 Cornelia St #591
                    Plattsburgh, NY 12901-2319

                    Us Equal Employment
                    Opportunity Comm. Pa Semiar
                    I
                    Tech. Assistance Program
                    P.O. Box 18198
                    Washington, DC 20036-8198




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                    Us Online Inc.
                    135 F Gaither Drive
                    Mt.Laurel, NJ 08054

                    Us Plastic Corp.
                    1390 Neubrecht Road
                    Lima, OH 45801

                    Us Regional Ii Of NJ
                    Dba Worknet, Obom
                    PO Box 827929
                    Philadelphia, PA 19182 7929

                    Us Regional Ii Of NJ
                    Dba. Worknet,Obom
                    P.O. Box 827929
                    Philadelphia, PA 19182-7929

                    Us Tape Company
                    2452 Quakertown Road
                    Suite 300
                    Pennsburg, PA 18073

                    Usa Bluebook
                    P.O. Box 1186
                    3995 Commercial Avenue
                    Northbrook, IL 60062

                    Usa Mobillity
                    PO Box 4062
                    Woburn, MA 01888-4062

                    Usa Nuts & Bolts
                    PO Box 22740
                    Bakersfield, CA 93390

                    U-Save Auto Rental
                    Route 130 North
                    Delran, NJ 08075

                    Usf Bestway
                    2633 E Indian School Rd
                    Phoenix, AR 85016




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                    Usf Holland Inc.
                    750 East 40th St
                    Po Box 9021
                    Holland, MI 49422-9021

                    USF Holland
                    27052 Network Place
                    Chicago, IL 60673-1270

                    Usf Holland
                    750 East 40th Street
                    PO Box 9021
                    Holland, MI
                    49422-9021

                    Usf Red Star Inc.
                    P.O. Box 13458
                    Newark, NJ 07188-0458

                    Usf Red Star
                    P.O.Box 827803
                    Philadelphia, PA     19182-7803

                    USF Red Star, Inc.
                    PO Box 827803
                    Philadelphia, PA 19182-7803

                    U-Turn Inc
                    17008 Knoxwood Dr, Ste 111
                    Huntersville, NC 28078

                    UW-Milwaukee
                    University Outreach
                    Drawer 491
                    Milwaukee, WI 53293-0491

                    V & M Tool Co. Inc.
                    1303 North Fifth Street
                    Perkasie, PA 18944-2200

                    Va Dept. Of Motor Vehicles
                    Attn: Mcs Citation Tracking
                    PO Box 27412
                    Richmond, VA 23269




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                    Val Quip
                    18 Springhill Drive
                    Malvern, PA 19355

                    Valco Enterprises
                    10597 Oak Street N.E.
                    St. Petersburg, FL 33716

                    Vallerie Transportation Serv.
                    P.O. Box 880
                    Norwalk, CT 06852

                    Vallerie
                    PO Box 880
                    Norwalk, CT    06852

                    Valley Forge Conveyors, Inc.
                    5 Union Hill Road
                    West Conshohocken,PA 19428

                    Valley Forge Courier Service
                    1150 First Ave
                    Suite 504
                    King Of Prussia, PA 19406

                    Valley Hardware
                    958 Vintage Rd
                    Christiana, PA 17509 9725

                    Valley Hydraulics
                    6313 Winside Drive
                    Bethlehem, PA 18017

                    Valley Hydraulics
                    6313 Winside Drive
                    Bethlehem, PA 18017

                    Valley Industrial Rubber
                    3 South Commerce Way
                    Bethlehem, PA 18017

                    Valley Inspection Service
                    P.O. Box 3245
                    Palmer, PA 18042

                    Valley Lock & Safe
                    68100 Ramon Rd, Ste C11
                    Cathedral City, CA 92234


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                    Valley National Gases, Inc.
                    201 Crown Point Road
                    Thorofare, NJ 08086-2153

                    Valley National Gases, Inc.
                    PO Box 6378
                    Wheeling, WV 26003-0615

                    Valley Wiping Cloth Co.
                    PO Box 1026
                    Wilkes-Barre, PA 18703-1026

                    Valspar Corporation
                    701 South Shiloh Road
                    Garland, TX 75042-7812

                    Value Locksmith Corp
                    315 W 49th St
                    New York, NY 10019 7316

                    Van - Air & Hydraulics Inc.
                    525 E. Woodlawn Avenue
                    P.O. Box 38
                    Maple Shade, NJ 08052-0038

                    Van Mark Products Corporation
                    24145 Industrial Park Dr
                    Farmington Hills, MI 48335-
                    2864

                    Van Sant Equipment
                    185 Oberlin Ave. N
                    Lakewood, NJ 08701-4525

                    Van-Air Hydraulics Inc.
                    525 East Woodlawn Avenue
                    Maple Shade, NJ 08052

                    Van-Air Hydraulics, Inc.
                    PO Box 2825
                    York, PA 17405

                    Vance Pool Co
                    383 Warren Ave
                    Portland, ME 04103




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                    Vanco Inc
                    Attention: J. Lehr
                    1170 Florence Road
                    P.O. Box 98
                    Florence, NJ 08518

                    Van's Lock Shop Inc
                    2767 Jenkintown Rd
                    Ardsley, PA 19038 2532

                    Van's Lock Shop Inc
                    2767 Jenkintown Rd
                    Ardsley, PA 19038 2532

                    Vantage Source LLP
                    P.O. Box 905735
                    Charlotte, NC 28290-5735

                    Vantico
                    4917 Dawn Avenue
                    East Lansing, MI     48823

                    Vanton Pump & Equipment Corp.
                    201 Sweetland Avenue
                    Hillside, NJ 07205

                    Vard Smith Associates, Inc.
                    P.O. Box 100
                    47 Prospect St
                    Midland Park, NJ 07432-0100

                    Vargo Associates
                    2222 Delsea Drive
                    P.O. Box 647
                    Franklinville, NJ     08322-2523

                    Varhley Assoc
                    92 Bayard Street
                    PO Box 300
                    New Brunswick, NJ     08903

                    Varsity Logistics Inc
                    91 Westborough Blvd
                    South San Francisco, CA 94080




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                    Vas Software, Inc.
                    P.O. Box 307
                    Roanoke, TX 76262

                    Vaya Media Corp.
                    224 Madison Ave
                    #739
                    Newy York, NY 10016-2817

                    Vb Xtras
                    1905 Powers Ferry Road
                    Suite 100
                    Atlanta, GA 30339

                    Veacey & Murphy
                    7 Industrial Road
                    Woodbridge, NJ 07075

                    Vectre Corporation
                    P.O. Box 930
                    Lafayette, NJ 07848-0930

                    Vehicare Corporation
                    P.O. Box 14030
                    Rochester, NY 14614

                    Vellumoid, Inc.
                    P.O. Box 6073
                    Greendale Station
                    Worcester, MA 01606

                    Vend-Rite Corporation
                    4060 Blanche Road
                    Bensalem, PA 19020

                    Ventana Usa
                    PO box 1391
                    Philadelphia, St
                    Indiana, PA 15701

                    Verilon Products Inc.
                    452 Diens Drive
                    Wheeling, IL 60090




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                    Verimation Technology Inc.
                    23883 Industrial Park Dr.
                    Farmington Hills, MI 48335-
                    2860

                    Verisign
                    PO Box 17305
                    Baltimore, MD    21297-0525

                    Verizon , NJ
                    PO Box 4833
                    Trenton, NJ 08650-4833

                    Verizon Wireless
                    P.O Box 17464
                    Baltimore, MD 21297-1464

                    Verizon Wireless
                    PO Box 9622,
                    Mission Hills, CA 91346-9622

                    Verizon Wireless-Pa
                    PO Box 25505
                    Lehigh Vly, PA 18002-5505

                    Verizon
                    Cmr Claims Department
                    615 N. Classen Blvd
                    Oklahoma City, OK 73106

                    Verizon
                    P.O. Box 17577
                    Baltimore, MD 21297-0513

                    Verizon
                    P.O. Box 28000
                    Lehigh Valley, PA     18002-8000

                    Verizon
                    P.O. Box 28001
                    Lehigh Valley, PA     18002-8001

                    Verizon
                    P.O. Box 4648
                    Trenton, NJ 08650-4648




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                    Verizon
                    P.O. Box 4830
                    Trenton, NJ 08650-4830

                    Verizon
                    P.O. Box 660748
                    Dallas, TX 75266-0748

                    Verizon
                    P.O. Box 8585
                    Philadelphia, PA     19173-0001

                    Verizon-NJ
                    PO Box 4833
                    Trenton, NJ 08650-4833

                    Verizon-Ny
                    PO Box 1100
                    Albany, NY 12250-0001

                    Vermillion Studio
                    124 W. Mcdowell Road
                    Phoenix, AZ 85003

                    Vermont Department Of Taxes
                    PO Box 588
                    Montpelier, VT 05601-0588

                    Vernon Companies
                    1 Promotion Place
                    Newton, IA 50208

                    Vernon Johnson
                    PO Box 662
                    Weaverville, NC     28787

                    Vernon Plastics
                    C/O Roslyn Sales
                    777 Old Country Road
                    Suite 1a
                    Plainview, NY 11803

                    Vernon
                    Sales Promotion
                    607 Spruce Street
                    Delanco, NJ 08075




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                    Veronica Parker
                    Rd 2 Box 4060
                    Williamstown, NJ     08094

                    Veronica Sazera
                    1031 Tequesta Street
                    Ft. Lauderdale, FL 33312

                    Verson Div. Of Allied Prod.
                    Allied Products Corporation
                    1355-5-T East 93rd Street
                    Chicago, IL 60619

                    Vertex Tax Technology Ent.
                    LLC
                    P.O. Box 905735
                    Charlotte, NC 28290-5735

                    Vestil Mfg
                    2999 N. Wayne Street
                    Angola, IN 46703

                    Vesuvius U.S.A.
                    661 Willet Road
                    Buffalo, NY 14218

                    Vhr Rental & Supply
                    508 Berlin Road
                    Voorhees, NJ 08043

                    Vibration Specialty Corp.
                    100 Geiger Road
                    Philadelphia, PA 19115

                    Vickers Incorporated
                    P.O. Box 905132
                    Charlotte, NC 28290-5132

                    Vicom North America, LLC
                    32-56 57th Street
                    Woodside, NY 11377

                    Victor Products, Inc.
                    P.O. Box 238
                    570 Dunks Ferry Rd.
                    Bensalem, PA 19020-0238




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                    Victor Trucking Co.
                    160 Northfield Road
                    Bedford, OH 44146

                    Victor Valencia
                    84-20 51st Ave
                    Elmhurst, NY 11373

                    Video Edge
                    105 S. State Road
                    Upper Darby, PA 19082

                    Vid-Tel Video Services Co.
                    Post Office Box 1213
                    Havertown, PA 19083

                    Viking Freight System
                    PO Box 649001
                    San Jose, CA 95164-9001

                    Viking Freight System, Inc.
                    P.O. Box 649001
                    San Jose, CA 95164-9001

                    Viking Freight Systems
                    PO Box 649001
                    San Jose, CA 95164-9001

                    Viking Tool & Gage Inc.
                    11160 State Highway 18
                    Conneaut Lake, PA 16316

                    Viking/Bayco
                    Epoxylite
                    9400 Toledo Way
                    Irvine, CA 92718

                    Village Hardware
                    525 Ewingville Rd
                    Trenton, NJ 08638 1426

                    Vily Kuris
                    2741 East 28th Street
                    Apt 2-J
                    Brooklyn, NJ 11235




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                    Vincent Metal Goods
                    455 85th Avenue N.W.
                    Attn: Beverly Hill
                    Coon Rapids, MN 55433

                    Vinci & Smith Service
                    P.O. Box 284
                    Pennsauken, NJ 08110

                    Vineland Concrete
                    PO Box 8500
                    Philadelphia, PA 19178

                    Vineland Transit Mix
                    P.O. Box 8500 S-1625
                    Philadelphia, PA 19178-1625

                    Vinyl Design Corporation
                    7856 Hill Ave
                    Holland, OH 43528

                    Vinyl Doctor
                    8235 NE Beech
                    Portland, OR 97220

                    Vinyl Liner Production
                    1100 Performance Place
                    Youngstown, OH 44502

                    Vinyl Tooling & Technology
                    1115 Bloomdale Road
                    Philadelphia, PA 19115

                    Vinyl Windows Of Florida, Inc
                    690 Heinberg St
                    Pensacola, FL 32501

                    Vinylex Corporation
                    2636 Byington Solway Road
                    Knoxville, TN 37921

                    Vinyltech, Inc.
                    C/O Royal Group Tech Ltd
                    1 Royal Gate Blvd
                    Ontario, Canada A L4I8Z7




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                    Vip Business Forms, Inc.
                    PO Box 1012
                    Havertown, PA 19083

                    Viracon
                    S.D.S. 12-0570
                    P.O. Box 86
                    Minneapolis, MN     55486

                    Virginia Beach Salvage
                    P.O. Box 62088
                    Virginia Beach, VA 23462

                    Virginia Dept Of Taxation
                    PO Box 26626
                    Richmond, VA 23261-6626

                    Virginia Lipford
                    4003 Red Haven Dr
                    Marlton, NJ 08053

                    Virginia Millwork Corp
                    6011 Staples Mill Rd
                    Richmond, VA 23228

                    Virgo Iii Ltd.
                    766 Knox Court
                    Yardley, PA 19067

                    Virtual Packaging
                    1500 Interstate 35e, Ste 116
                    Carrollton, TX 75006

                    Visacase Inc.
                    1250 Arthur Avenue
                    Elk Grove Village Ill.
                    Elk Grove Village, IL 60007

                    Visibility Inc.
                    100 Fordham Road
                    P.O. Box 50786
                    Wilmington, MA 01815-0786

                    Vision Financial
                    615 Iron City Drive
                    Pittsburgh, PA 15205




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                    Vision Industries Group, Inc.
                    500 Metuchen Rd
                    South Plainfield, NJ 7080

                    Vision Products Inc
                    Schreiber Industrial Park,
                    Bldg 201
                    PO Box 802
                    New Kensington, PA 15068

                    Visual Accent Inc
                    13845 Alton Pkwy
                    Suite C
                    Irvine, CA 92618

                    Visual Sound
                    485 Parkway South
                    Lawrence Park Industrial
                    Center
                    Broomall, PA 19008

                    Visumatic Industrial Products
                    856 Porter Place
                    Lexington, KY 40508

                    Vitarelli's Inc.
                    3800 Haddonfield Road
                    Pennsauken, NJ 08109

                    Vitas Hospice
                    805 East Germantown Pike
                    Suite 112
                    Norristown, PA 19401

                    Vitco Corporation
                    802 Walnut Street
                    P.O. Box 525
                    Waterford, PA 16441

                    Vitran Express
                    PO Box 633519
                    Cincinnati, OH 45263 3519

                    Vl/Rampe Rosler
                    P.O. Box 529
                    Marshall, MI 49068




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                    Vmd Machine Company Inc
                    650 N. Cannon Ave.
                    Lansdale, PA 19446

                    Voctory Tube Co., Inc.
                    421 Willow Parkway
                    Cleveland, OH 44125

                    Vogel Tool & Die Corporation
                    1825 North 32nd Avenue
                    Stone Park, IL 60165

                    Vogo Incorporated
                    115 Randall Dr Unit 6
                    Ontario, CA A N2v1c5

                    Voice It Worldwide, Inc.
                    2643 Midpoint Drive, Suite A
                    Fort Collins, CO 80525

                    Voicenet
                    17 Richard Road
                    Ivyland, PA 18974

                    Voip Networks
                    Cherry Hill Commerce Center
                    1951 Old Cuthbert Road
                    Suite 206
                    Cherry Hill, NJ 08034

                    Volga Enterprise Co Ltd
                    5f-1, No 110, San-To 4th Rd
                    Kaohsiung

                    Volker Guelck
                    600a Brandenburg Blvd.
                    Waterloo
                    Ontario, CA N2t2v3

                    Volkswagen Credit
                    PO Box 7247-0136
                    Philadelphia, PA 19170-0136

                    Volkswagen Credit
                    PO Box 7247-0136
                    Philadelphia, PA 19170-0136




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                    Volpe Express Inc.
                    553 Foundry Road
                    Norristown, PA 19403

                    Volpe Express, Inc
                    565 Hollow Rd
                    Phoenixville, PA 19460

                    Volunteer Express, Inc.
                    PO Box 100886
                    Nashville, TN 37224-0886

                    Voorhees Hardware & Rental
                    508 Berlin Road
                    Voorhees, NJ 08043

                    Vpi Products, Inc.
                    Schrieber Industrial Par
                    PO Box 802 Building 201
                    New Kensington, PA 15068

                    Vulcan Engineering Co.
                    One Vulcan Drive
                    Helena Indusrial Park
                    Helena, AL 35080

                    Vulcraft
                    1717 Swede Road
                    Suite 214
                    Blue Bell, PA

                    Vulcraft
                    P.O. Box 75156
                    Charlotte, NC 28275

                    Vwe Group, Inc
                    PO Box 160
                    Bronxville, NY    10708

                    Vwr Corporation
                    P.O. Box 640169
                    Pittsburgh, PA 15264-0169

                    Vwr Scientific
                    P.O. Box 640169
                    Pittsburgh, PA 15264-0169




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                    W E Nixon Welding & Hardware
                    3036 Rocky Hock Rd
                    Edenton, NC 27932

                    W F P Corporation
                    P.O. Box 15874
                    Cincinnati, OH 45215-0874

                    W H Overton Ltd
                    Gads Hill
                    Gillingham Kent
                    ME 2RS
                    England

                    W R Sales
                    1475 Mount Holly Rd, Bldg 0-7
                    Edgewater Park, NJ 08010

                    W S M
                    P.O. Box 397
                    Holmdel, NJ 07733

                    W. W. Adcock
                    3411 Inventors Road
                    Norfolk, VA 23502

                    W.B. Jones Spring Co. Inc.
                    140 South Street
                    Wilder, KY 41071

                    W.F. Collins Co. Inc.
                    167-10 S. Conduit Ave.
                    Jamaica, NY 11434

                    W.F.Lake
                    65 Park Road
                    Pobox 4214
                    Glen Falls, NY    12804

                    W.J. Wallace Paving, Inc.
                    P.O. Box 757
                    Palmyra, NJ 08065

                    W.L. Jenkins
                    P.O. Box 80429
                    Canton, OH 44708




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                    W.M. Berg Inc.
                    499 Ocean Avenue
                    East Rockaway, NY     11518

                    W.S. Marshall
                    135 Highway 36
                    Port Monmouth, NJ     07758

                    W.W. Goodwin Construction,
                    Inc
                    PO Box 1205
                    Bensalem, PA 19020

                    W.W. Grainger
                    819 East Gate Drive
                    Mt Laurel, NJ 08054

                    W.W. Grainger
                    Dept 808234629,
                     Palatine, IL 60038-0001

                    Wabash Alloys
                    4365 Bradley Rd
                    Cleveland, OH 44109

                    Wabash National
                    P.O. Box 6129
                    Att: Dan Walton
                    Lafayette, IN 47903

                    Waco Filters
                    Valley Forge Business Center
                    2546 General Armistead Ave.
                    Norristown, PA 19403

                    Waco Instruments Inc
                    D/B/A Accent Control Systems
                    2101 Potshop Lane
                    Norristown, PA 19403

                    Wade Messer
                    C/O Wm F Comly & Son Inc
                    1825 E Boston Ave
                    Philadelphia, PA 19125




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                    Wade Salvage, Inc.
                    293 Jackson Road
                    Atco, NJ 08004

                    Wagner Rubber Products
                    4303 Santa Ana St.
                    Huntington Park, CA 90255

                    Wagstaff User's Conference
                    3910 North Flora Road
                    Spokane, WA 99216

                    Wagstaff
                    3910 North Flora Road
                    Spokane, WA 99216

                    Wah Yung Enterprises Co Ltd
                    13-5 F., 112, Chung Shan
                    North Road
                    Sec. 2
                    Taipei Taiwan

                    Wahl Refractories, Inc.
                    767 St. Rte 19 South
                    Freont, OH 43420

                    Wai Ming Metal Engineering,
                    FLat 7 7/F., Seaview Centre
                    139-141 Hoi Bun Road
                    Kwun Tong, Kowloon Hong Kong

                    Waircom Corporation
                    P.O. Box 748
                    Derby Line, VT 05830

                    Wakefield Engineering
                    33 Bridge Street
                    Pelham, NH 03076

                    Wakefield Engineering
                    P.O. Box 8500-42290
                    Philadelphia, PA 19178-8500

                    Wakefield Equipment
                    29475 Edgedale Road
                    Cleveland, OH 44124




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                    Walco
                    929 South Myrtle Avenue
                    Monrovia, CA 91016

                    Waldron Electric
                    57 Normandy Heights Road
                    Convent Station, NJ 07961

                    Walgren Co.
                    3677 Sysco Court Se
                    Grand Rapids, MI 49512-2043

                    Walkamerica/Ccmua
                    1645 Ferry Avenue
                    P.O. Box 1432
                    Camden, NJ 08101-1432

                    Walker Richer & Quinn Inc
                    Dept # 1071
                    P.O. Box 34936
                    Seattle, WA 98124-1936

                    Wall Street Journal
                    200 Burnett Road
                    PO Box 240
                    Chicopee, MA 01021-9984

                    Wallace Hardware Co Inc
                    PO Box 6004
                    Morristown, TN 37815 6004

                    Walt Detreux
                    13034 Richwood Road
                    Philadelphia, PA 19116-1317

                    Walt Hummel
                    2696 Bullfrog Road
                    Fairfield, PA 17320

                    Walter Coker
                    901 Water Willow Ct.
                    Birmingham, AL 35244

                    Walter J. Gershenfeld
                    6109 West Mill Road
                    Flourtown, PA 19031




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                    Walter N. Klauder
                    104 Pixie Moss Trail
                    Medford, NJ 08055

                    Walton Management Services
                    Inc
                    3321 Doris Avenue
                    Ocean Twp, NJ 07712

                    Wampfler Inc.
                    8091 Production Ave
                    Florence, KY 41042-3096

                    Wanda Koloski
                    2408 Branch Pike
                    Cinnaminson, NJ 08077

                    Wanda Koloski
                    2408 Branch Pike
                    Cinnaminson, NJ 08077

                    Ward Trucking LLC
                    PO Box 1553
                    Altoona, PA 16603

                    Ward Truckload Express
                    P.O. Box 1629
                    Altoona, PA 16603-1629

                    Ward's Asphalt Paving
                    4845 Church Rd.
                    My. Laurel, NJ 08054

                    Warkulwiz Design Associate
                    2218 Race Street
                    Suite300
                    Philadelphia, PA 19103-1012

                    Warkulwiz Designs
                    2218 Race Street
                    Suite 300
                    Philadelphia, PA 19103

                    Warner Transport
                    P.O Box 406
                    Belding, MI 48809-0406




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                    Warren,Gorham & Lamont
                    31 St. James Ave,.
                    Boston, MA 02116

                    Washington International
                    Insurance Co
                    1930 Thoreau Drive
                    Schaumburg, IL 60173

                    Washington Square Hardware
                    257 S 10th St
                    Philadelphia, PA 19107

                    Waste Management Carolinas
                    PO Box 9001176
                    Louisville, KY 40290-1176

                    Waste Management Of NJ Inc
                    Waste Management Camden
                    PO Box 13648
                    Philadelphia, PA 19101 3648

                    Waste Management Of Pa
                    Landfills
                    1121 Bordentown Road
                    Morrisville, PA 19067-0759

                    Waste Management
                    PO Box 13648
                    Philadelphia, PA     19101-3648

                    Waste Reduction Systems Inc.
                    100 Broadhollow Road
                    Suite 300
                    Farmingdale, NY 11735

                    Waste Stream Management Inc.
                    172 Hunt Street
                    Unit 2
                    Ajax, Ontario, CA L1s 1p5

                    Waste Wood Disposal, Inc.
                    336 Ehrke Road
                    Hammonton, NJ 08037




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                    Water & Wastewater Equip. Co.
                    1466 East 357th Street
                    Eastlake, OH 44095

                    Water Resources Group
                    249 Arizona Drive
                    Bricktown, NJ 08723

                    Waterlines Inc.
                    North Church Technical Cente
                    4 Park Drive
                    Franklin, NJ 07416

                    Waters, Mcpherson, Mcneill
                    300 Lighting Way
                    P.O. Box 1560
                    Secaucus, NJ 07096-1560

                    Waterway
                    2200 East Sturgis Road
                    Oxnard, CA 93030

                    Watkins Motor Lines Inc
                    P.O. Box 95001
                    Lakeland, FL 33804-5001

                    Watkins Motor Lines, Inc.
                    PO Box 95001
                    Lakeland, FL 33804-5001

                    Watkins Of Cincinnatti
                    2727 E Sharon Road
                    Cincinnatti, OH 45241

                    Watson's Auto Body
                    2353 N 16th Street
                    Philadelphia, PA 19132

                    Watters And Martin Inc
                    Attn: Joan Pointer
                    3800 Village Ave
                    Norfolk, VA 23502 5617

                    Watts Anderson-Barrows
                    Dept LA1074
                    Pasadena, CA 911851074




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                    Waukee Engineering Co. Inc.
                    5600 W. Florist Ave.
                    Milwaukee, WI 53218-1621

                    Waukesha Machine & Tool
                    Co.Inc
                    Waukesha Machine & Tool
                    1303 Pearl St.
                    Waukesha, WI 53186

                    Wausau Insurance Co.
                    Dept. 99094
                    P.O. Box 8309
                    Philadelphia, PA 19101-8309

                    Wawa Food Market
                    4662 Bensalem Blvd
                    Bensalem, PA 19020

                    Waxman Communications
                    514 S. White Horse Pike
                    Lindenwold, NJ 08021

                    Waxman Communications
                    514 South White Horse Pike
                    Lindenwold, NJ 08021

                    Wdrm
                    PO Box 789
                    Huntsville-Decatur, AL      35602

                    Wdvd 96.3
                    760 Fisher Building
                    Detroit, MI 48202

                    Weartechnology
                    PO Box 1123
                    Mc Pherrson, KS     67460-1123

                    Weather-Tite Mfg. Co.
                    1211 Ford Road
                    Bensalem, PA 19020

                    Weaver Industries, Inc.
                    425 South 4th Street
                    P.O. Box 326
                    Denver, PA 17517-0326



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                    Webb-Stiles Co.
                    P.O. Box 464
                    675 Liverpool Drive
                    Valley City, OH 44280

                    Weber Display & Packaging
                    PO Box 7777
                    W510069
                    Philadelphia, PA 19175-0069

                    Weber Display And Packaging
                    Box 510069
                    Philadelphia, PA 19175-0069

                    Weber Display And Packaging
                    P.O. Box 8500-1045
                    Philadelphia, PA 19178-1045

                    Weber Distribution
                    File 55018
                    Los Angeles, CA 90074-5018

                    Weber Industrial Supply Co.
                    P.O. Box 8500 (S-9040)
                    Philadelphia, PA 19178-9040

                    Weber Industrial Supply
                    950 Industrial Boulevard
                    Southampton, PA 18966

                    Weber Marking Systems
                    711 Algonquin Road
                    Arlington Heights, IL      60005-
                    4457

                    Weber Screwdriving Systems
                    1401 Front Street
                    Yorktown Heights, NY 10598

                    Webex Communications Inc
                    PO Box 49216
                    San Jose, CA 95161 9216

                    Website Vision
                    2 Teton Ct
                    Voorhees, NJ 08043




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                    Webster Instrument, Inc.
                    11856 Mississippi Avenue
                    Los Angeles, CA 90025

                    Webster Instruments Inc
                    11856 Mississippi Ave
                    Los Angeles, CA 90025

                    Wegoma
                    2368 E Enterprise Pkwy
                    PO Box 638
                    Twinsburg, OH 44087

                    Weidmann-Acti Inc.
                    One Gordon Mills Way
                    P.O. Box 799
                    St. Johnsbury, VT 05819-0799

                    Weightman Group
                    PO Box 13700-1063
                    Philadelphia, PA 19191-1063

                    Weights And Measures Fund
                    Office Of Weights & Measures
                    PO Box 490
                    Avenel, NJ 07001

                    Weil Industrial Hardware
                    PO Box 217
                    West Hurley, NY 12491

                    Weiner Iron & Metal
                    Route 61
                    Box 359
                    Pottsville, PA 17901

                    Weinstein Supply Co.
                    Davisville & Moreland Rds.
                    Willow Grove, PA 19090

                    Weinstein Supply
                    1687 Haddon Avenue
                    Camden, NJ 08103

                    Weirton Service Center Corp
                    PO Box 182039
                    Columbus, OH 43218-2039



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                    Weisgerber Construction
                    820 Eldridge Avenue
                    W. Collingswood, NJ 08107

                    Weiss Instrument Inc.
                    300 Mt. Lebanon Blvd
                    Suite 2202
                    Pittsburgh, PA 15234-1508

                    Weissmuller, Lisa
                    9903 Santa Monica Blvd
                    Suite 497
                    Beverly Hills, CA 90212

                    Wel - Fab, Inc.
                    P.O. Box 86
                    Lumberton, NJ 08048

                    Welborn Transport
                    Drawer 325
                    P.O. Box 11407
                    Birmingham, AL 35246-0325

                    Welch Aluminum
                    9245 S.W. 157th Street
                    Suite 202
                     Miami, FL 33157

                    Weld-Done Welding Co., Inc.
                    P.O. Box 5616
                    Deptford, NJ 08096

                    Weld-Met International Group
                    P.O. Box 75
                    Pittsburgh, PA 15230

                    Weldon Laboratories Inc
                    PO Box 40
                    Imperial, PA 15126

                    Weldtech Services
                    P.O. Box 2308
                    Aston, PA 19014




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                    Wells Fargo Auto Finance
                    Auto Lease
                    PO Box 9361
                    Walnut Creek, CA 94598-0961

                    Wells Fargo Equipment Finance
                    1540 West Fountainhead Pkwy
                    Tempe, AZ   85282

                    Wells Fargo Equipment Finance
                    733 Marquette Avenue
                    Suite 700
                    Minneapolis, MN 55402

                    Wells Fargo Insurance
                    Service Of Pa, Inc
                    701 Lee Road, Suite 205
                    Chesterbrook, PA 19087

                    Welsh Construction Remodeling
                    Co.
                    3901 E. Monument St.
                    Baltimore, MD 21205-2913

                    Wenco Machinery Corp.
                    PO Box 328
                    355 Margaret King Ave.
                    Ringwood, NJ 07456

                    Wendy Rumley
                    P.O. Box 764
                    Snow Camp, NC    27349

                    Wenzhou Hongsheng Group Co
                    Ltd
                    No 70 Huancheng Road
                    Haicheng Longwan District
                    Wenzhou City
                    China

                    Wenzhou M&C Foreign Trade Co
                    25-26/F No 8 Liming West Road
                    Wenzhou, Shejiang




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                    Wenzhou Tenyale International
                    Trade Co Ltd
                    Room 701, C Tower, Yunjing
                    Bldg,
                    Chezhang Rd, Wenzhou City
                    China
                    Zhejiang Prov

                    Werner Enterprises
                    PO Box 3116
                    Omaha, NE 68103-0116

                    Werner Heck
                    Heck Associates
                    118 Garner Ave.
                    Bloomfield, NJ 07003

                    Wes Posey
                    2520 Pelham Parkway
                    Pelham, AL 25124

                    Weschler Instrumentss
                    10 Vantage Point Dr.
                    Rochester, NY 14624

                    Wesco Distribution Inc.
                    P.O. Box 1100
                    Bala Cynwyd, PA 19004

                    Wesley Tedrow
                    3829 Betsy
                    Va. Beach, VA    23456

                    West End Warriors
                    C/O Kathy Neel
                    12909 Church Road
                    Richmond, VA 23233

                    West Hill Hardware
                    335 W Market St
                    Akron, OH 44303 2187

                    West Phila Electric Supply
                    7500 Wheeler St
                    Philadelphia, PA 19153




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                    West Philadelphia Locksmith
                    Co
                    3929 Walnut Street
                    Philadelphia, PA 19104-3608

                    West Virginia Secretary Of
                    State
                    1900 Kanawha Blvd. E.
                    State Capitol
                    Charleston, WV 25305

                    West Virginia State Tax Dept.
                    PO Box 2389
                    Charleston, WV 25328-2389

                    Westaff
                    P.O. Box 7247-7815
                    Philadelphia, PA 19170-7815

                    Westbrook Industries, Inc.
                    373 Route #22
                    Greenbrook, NJ 08812

                    Westbrook Industries, Inc.
                    373 Rt. 22
                    Greenbrook, NJ 08812

                    Western Express Inc.
                    P.O. Box 306035
                    Nashville, TN 37230-6035

                    Western Profiles Limited
                    154 Paramount Road
                    Winnipeg, Manitoba Canada
                    R2X 2W3

                    Western Reflections, LLC
                    PO Box 415000
                    Nashville, TN 37241-5000

                    Westinghouse Electric Corp.
                    P.O. Box 7777 W3490
                    Philadelphia, PA 19175

                    Westmont Party Supply
                    39 Haddon Ave
                    Westmont, NJ 08108



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                    Westmoreland Technologies Inc
                    7919 Westmoreland Ave
                    Baltimore, MD 21234

                    Weston Plaza
                    2725 Cassopolis Street
                    Elkhart, IN 46514

                    Weston Road Wholesale Lumber
                    7600 Torbram Road
                    Mississauga
                    Ontario Canada
                    L4t 3l8

                    Westrail Inc.
                    Attn: Duane
                    740 Babcock Road
                    Colorado Springs, CO      80915

                    Weyerhaeuser
                    PO Box 640160
                    Pittsburgh, PA    15264-0160

                    Weyerhayser
                    P.O. Box 640160
                    Pittsburgh, PA 15264-0160

                    Wgs Equipment & Controls Inc.
                    5060 West Chester Pike
                    P.O. Box 558
                    Edgemont, PA 19028-0558

                    Wh Transportation Co Inc
                    PO Box 1222
                    Wausau, WI 54402-1222

                    Wharton Contractors Equip.
                    7724 Crescent Blvd
                    Pennsauken, NJ 08110

                    Whatman Inc.
                    P.O. Box 6183
                    Boston, MA 02212-6183

                    Wheelco Inc.
                    Department 77-6760
                    Chicago, IL 60678-6760



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                    Wheelco, Inc.
                    Department 77-6760
                    Chicago, IL 60678-6760

                    Wheeling Corrugating Company
                    P.O. Box 7247-8239
                    Philadelphia, PA 19170-8239

                    Wheels Inc.
                    666 Garland Place
                    Des Plaines, IL 60016

                    Wheels Inc.
                    PO Box 96336
                    Chicago, IL 60693

                    Whetstone Technology LLC
                    891 Winfield Rd.
                    Cabot, PA 16023

                    White Corporation
                    2248 Bristol Pike
                    Bensalem, PA 19020

                    White Trophy Co., Inc.
                    2248 Bristol Pike
                    Bensalem, PA 19020

                    Whites Locksmith
                    9104 Corona Ave
                    Elmhurst, NY 11373 4037

                    Wickwire Warehouse, Inc.
                    1130 North Delaware Ave.
                    Philadelphia, PA 19125

                    Wiggins Plastics, Inc.
                    PO Box 1077
                    180 Kingsland Road
                    Clifton, NJ 07014

                    Willaim Andrew, Inc.
                    13 Easton Avenue
                    Norwich, NY 13815-1709

                    Willamette Industries, Inc.
                    1050 Wheeler Way
                    Langhorne, PA 19047


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                    William Schoppy Trophy Co.
                    1031 Shore Road
                    Linwood, NJ 08221

                    William A. Kootz & Co. Inc.
                    4560 Tacony Street
                    Philadelphia, PA 19124

                    William Bales & Company
                    409 Bloomfield Drive
                    Suite 5
                    West Berlin, NJ 08091

                    William F Sullivan & Co
                    P.O. Box 381
                    Holyoke, MA 01040

                    William Goodwill
                    78 Oceanward Dr
                    Friendship, ME 04547

                    William H Fuell
                    Rro1 Box 11835
                    Manati, PR 00674

                    William Headrick
                    1980 Ridge Point Dr, Nw
                    Cleveland, TN 37311

                    William J. Jones, Inc.
                    230-38 Liberty Street
                    Camden, NJ 08104

                    William L. Carter
                    241 S.57th Ave.
                    Philadelphia, PA 19139-3906

                    William Lambert
                    Door & Window Masters
                    9205 Harford Rd
                    Baltimore, MD 21234

                    William Obergfell Jr
                    865 Smith St
                    Delran, NJ 08075




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                    William Obergfell Jr
                    865 Smith St
                    Delran, NJ 08075

                    William O'neill
                    1910 Hazel Avenue
                    Bristol, PA 19007

                    William Parker Associates Inc
                    2845 E Westmoreland St
                    Philadelphia, PA 19134

                    William Reisner Corporation
                    33 Elm Street
                    Clinton, MA 01510

                    William Rice
                    6704 Chisholm Dr
                    Baltimore, MD 21207

                    William Wells
                    2196 Palmyra,
                    Marietta, GA 30097

                    William Wetmore
                    60 Summerhill Place
                    Newnan, GA 30263

                    Williams Scotsman
                    1900 Old Cuthbert Road
                    Cherry Hill, NJ 08034

                    Williams Scotsman, Inc.
                    File # 91975
                    P.O. Box 8309
                    Philadelphia, PA 19101-8309

                    Williams/Guggenheim
                    PO Box 23567
                    Newark, NJ 07189

                    Williamson
                    70 Domino Drive
                    Concord, MA 01742

                    Williard Inc.
                    P.O. Box 8500 S-2705
                    Philadelphia, PA 19178


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                    Willier Elec. Motor Co., Inc.
                    P.O. Box 98
                    1 Linden Avenue
                    Gibbsboro, NJ 08026

                    Willier Electric Motor Co.,
                    Inc.
                    PO Box 98
                    Gibbsboro, NJ 08026

                    Willier Electric Motor Corp
                    1 Linden Avenue
                    Gibbsboro, NJ 08026

                    Willingboro Chrysler
                    Route 130
                    Willingboro, NJ 08046

                    Willis Klein Safe
                    4041 Westport Rd
                    Louisville, KY 40207 3138

                    Willrich Precision Inst.
                    80 Broadway
                    Cresskill, NJ 07626

                    Willson International Inc.
                    53 Walnut Street
                    P.O. Box 1100
                    Fort Erie, Ontario, Canada
                    L2a 5n9

                    Wilson & Associates
                    PO Box 8222
                    St. Joseph, MO 64508-8222

                    Wilson Industries
                    123 Explorer St
                    Pomona, CA 91768

                    Wilson Supply
                    P.O. Box 1492
                    Houston, TX 77002

                    Wilson Supply
                    P.O. Box 200822
                    Dallas, TX 75320-0822



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                    Wilson/Shore Instruments
                    P. O. Box 360066
                    Boston, MA 02241-0666

                    Wilson-Hurd
                    Box #78623
                    Milwaukee, WI    53278-0623

                    Wiltec Industries Ltd
                    Suites 604-609, 6/F Tower 3
                    The Gateway
                    21 Canton Rd
                    Kowloon, Tst

                    Wiltel Communications Sys.
                    450 Raritan Center Pkwy
                    Edison, NJ 08837

                    Wimco Metals Inc
                    401 Penn Avenue
                    Pittsburgh, PA 15221

                    Win Mach Tech
                    2428 Meadow Spring Circle
                    Akron, OH 44312

                    Winchester Industries
                    PO Box 160
                    Saltsburg, PA 15681

                    Winco Fluid Power Inc.
                    100 Railroad Dr.
                    Ivyland, PA 18974

                    Winco
                    2955 Terwood Rd
                    Willow Grove, PA     19090

                    Windflite Computer Systems,
                    Inc.
                    4000 Constitution Drive
                    Bartonville, IL 61607

                    Windo
                    6934 East First Ave
                    Suite 101
                    Scottsdale, AZ 85251



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                    Window Depot Of Mn
                    11825 Point Douglas Dr South
                    Hastings, MN 55033

                    Window Depot Usa Of Va Beach
                    2625 Production Road
                    Virginia, VA 23454

                    Window Depot Usa
                    10800 Financial Center
                    Parkway
                    Suite 280
                    Little Rock, AR 72211

                    Window Depot, Inc.
                    1313 North Hills Blvd. Ste
                    307
                    North Little Rock, AR 72114

                    Window Shapes, Inc.
                    1121 Springfield Road
                    Union, NJ 7083

                    Window Tree Inc.
                    527 N. Green River
                    Evansville, IN 47715

                    Window Tree
                    421 N. St. Joseph Ave Suite F
                    Evansville, IN 47712

                    Windowizards
                    Route 13 & Pa. Turnpike
                    Bristol, PA 19007

                    Windows Sources
                    P.O.Box 59103
                    Boulder, CO 80322-9103

                    Windsor Windows & Doors
                    PO Box 566
                    Fruitland, ID 83619

                    Windstream Supply Inc
                    13560 Morris Rd
                    Alpharetta, GA 30004




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                    Windstream Supply Inc
                    1625 Hylton Road
                    Pennsauken, NJ 08110

                    Wingspan Communications
                    One Barnes Park South
                    Willingsford, CT 06492

                    Winston Preparatory School
                    4 West 76th Street
                    New York, NY 10023

                    Winter Engine- Generator, Inc
                    1600 Pennsylvania Avenue
                    York, PA 17404

                    Winthrop Resources
                    Corporation
                    PO Box 650
                    Hopkins, MN 553430650

                    Wintron Electronics
                    800 Route 71
                    Spring Lake Heights, NJ      7762

                    Winzinger Incorporated
                    P.O. 537
                    1704 Marne Highway
                    Hainesport, NJ 08036

                    Wired
                    PO Box 37680
                    Boone, IA 50037 4680

                    Wisco Aluminum Corp.
                    1071 W 39th St
                    Norfolk, VA 23508

                    Wise Alloys, LLC.
                    857 Elkridge Landing Road
                    Suite #600
                    Linthicum, MD 21090

                    Wise Metals Co.
                    Box 8500 (S-2540)
                    Phila., PA 19178-2540




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                    Wise Metals Co., LLC
                    One Penn Plaza
                    Suite 3509
                    New York, NY 10119-0118

                    Wise Tag & Label Co. Inc.
                    7035 Central Highway
                    Pennsauken, NJ 08109

                    Wise Tag And Label Company
                    7035 Central Highway
                    Pennsauken, NJ 08109

                    Wiseford Hardware Co Ltd
                    The 2nd Industrial Zone
                    Da Ning, Hu Men Town,
                    Dongguan City, Guangdong
                    China

                    Wistex Inc.
                    619 Hampton Avenue
                    Southampton, PA 18966

                    Wjw Associates Ltd
                    P.O. Box 156
                    Syracuse, NY 13206

                    Wm F Comly -
                    1825 E. Boston Avenue
                    Philadelphia, PA 19125-1201

                    Wm Of Camden Inc.
                    1001 Fairview St.
                    Camden, NJ 08104

                    Wm. A. Schmidt And Sons, Inc.
                    418 W. Front St.
                    P.O. Box 300
                    Chester, PA 19016-0300

                    Wm. Steinen Mfg Co
                    P.O. Box 15201
                    Newark, NJ 07192




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                    Wm.W. Nugent & Co. Inc.
                    C/O Edwin Elliot & Co.
                    643 Ridge Pike
                    P.O. Box 439
                    Lafayette Hill, PA 19444

                    Wnc Parts Dealer Meeting
                    P.O. Box 6107
                    Attn: Shelly Cochran
                    Lafayette, IN 47903-6107

                    Wolfe Machinery Co
                    6107 Merle Hay Rd
                    PO Box 497
                    Johnston, IA 50131

                    Wolfe Machinery Co.
                    P.O. Box 497
                    Johnston, IA 50131-0497

                    Women In The Hardware
                    Industry
                    C/O Campbell Hausfeld
                    Attn: Pam Elton
                    100 Munday Memorial Dr
                    Mt Juliet, TN 37122

                    Women's Opportunity Center
                    Y M C A
                    Attn: Donna Or Cathi
                    59 Centerton Rd
                    Mt Laurel, NJ 08054

                    Won Special Electronics Corp
                    607-012, Dong Nae Gu
                    Myung Jang-Dong
                    Busan Korea

                    Wonder Bin Industrial
                    Plastic Ltd
                    Moshav Netaim
                    Mobile Post Emek Sorek
                    Israel
                    Postcode 76870




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                    Wong Hau Plastic Works &
                    Trdng
                    Unit 804-6, Energy Plaza
                    No. 92, Granville Road
                    Tsim Sha Tsui East
                    Kowloon Hong Kong

                    Wood Products Associates Inc
                    1003 Britton Place
                    Voorhees, NJ 08043

                    Wood Products Associates
                    PO Box 642
                    Voorhees, NJ 08043

                    Woodchuck's
                    220 White Horse Pike
                    Magnolia, NJ 08049

                    Woodcraft Products Co Inc
                    241 W Wyoming Ave
                    Philadelphia, PA 19140

                    Woodcraft Products Co Inc
                    4057 G Street
                    Philadelphia, PA 19124

                    Woodcraft Products
                    4057 G Street
                    Philadelphia, PA 19124

                    Woodhaven Telesis Corp.
                    234 Chestnut Street
                    Brooklyn, NY 11208-2095

                    Woodward Printing Services
                    11 Means Dr
                    Platteville, WI 53818 0514

                    Workers Comp Advantage
                    P.O. Box 7777-W7665
                    Philadelphia, PA 19175

                    Workers Comp. Cost
                    Control Bulletin
                    23 Drydock Avenue
                    Boston, MA 02210



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                    Workers' Compensation Law
                    Bulletin
                    23 Drydock Avenue
                    Boston, MA 02210-2387

                    Workhealth
                    PO Box 8500-6160
                    Philadelphia, PA     19178-6160

                    Worlco Computer Resources,
                    Inc
                    997 Old Eagle School Road
                    Suite 219
                    Wayne, PA 19087

                    World Data Publishers
                    National Database Center
                    178 West Service Road
                    Champlain, NY 12919

                    World Fence News
                    6101 W. Courtyard Dr.
                    Bldg. 3 Ste 3-115
                    Austin, TX 78730

                    World Of Concrete
                    6191 N. State Highway 161
                    Suite 500
                    Irving, TX 75038

                    World Omni Financial Corp.
                    P.O. Box 96024
                    Charlotte, NC 28296-0024

                    World Plastic Extruders Inc.
                    150 W. Commercial Ave.
                    Moonachie, NJ 07074

                    World Transport Inc
                    202 Port Jersey Blvd
                    Jersey City, NJ 07305

                    World Travel, Inc
                    1724 W. Schuylkill Road
                    Douglassville, PA 19518




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                    World Waterpark Assoc
                    PO Box 14826
                    Lenexa, KS 66285-4826

                    World Wide Metric
                    67 Veronica Ave.
                    Somerset, NJ 08873

                    Worldatwork
                    P.O. Box 29312
                    Phoenix, AZ    85038-9312

                    Worldwide Concessions
                    321 Benigno Blvd.
                    Bellmawr, NJ 08031

                    Worldwide Credit Services
                    PO Box 2433
                    Shawnee Mission
                    Ks 66201

                    Worldwide Express - Ak
                    676 E Swedesford Rd, Ste 140
                    Wayne, PA 19087

                    Worldwide Express Inc.
                    70 Jansen Avenue
                    Bldg 3 Ste. 202
                    Essington, PA 19029

                    Worldwide Internet Solutions
                    1801 S. Federal Hwy.
                    Suite 301
                    Delray Beach, FL 33483

                    Worthington Rigging, Inc.
                    P.O. Box 219
                    Maple Shade, NJ 08052

                    Wplt-Fm
                    2100 Fisher Bldg.
                    Detroit, MI 48202-3010

                    Wright & Wilhelmy Company
                    11005 "E" St
                    Omaha, NE 68137 1252




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                    Wright's Window Works
                    2018 3rd Avenue
                    Huntington, WV 25703-1109

                    Wvk Inc
                    Dba Koval-Williamson
                    11208 - 47th Ave West
                    Mukilteo, WA 98275

                    X-Ergon (Mega Metal)
                    P.O. Box 225830
                    Dallas, TX 75265-5830

                    Xerox Cororation
                    PO Box 42020
                    St Petersburg, FL     33742

                    Xerox Corporation
                    P.O. Box 7598
                    Philadelphia, PA 19101-7598

                    Xiamen Lota Intl Co Ltd
                    No 61 Xingnan Road
                    Jimei District
                    361002 China
                    Xiamen

                    Xin-E Hardware Manufacturing
                    Polong Rd, Jidongyu Industry
                    Zone
                    Xiaolan Town, Zhongshan City,
                    China
                    Guangdon

                    Xo Communications LLC
                    14239 Collections Center
                    Drive
                    Chicago, IL 60693

                    Xo Communications
                    PO Box 828618
                    Philadelphia, PA 19182-8618

                    Xode Inc.
                    15519 Kutztown Road
                    Kutztown, PA 19530-9303




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                    Xpect First Aid
                    950 Calcon Hook Road
                    Suite 25
                    Sharon Hill, PA 19079

                    Xtra Lease
                    2435 Kentucky Ave
                    Bldg. 23
                    Indianapolis, IN 46221

                    Xtra Lease, Inc.
                    PO Box 99262
                    Chicago, IL 60693-9262

                    Y.B.D. Publication
                    245 8th Ave.
                    Suite 863
                    New York, NY 10011

                    Y.B.H. Audi
                    West Chester Pike
                    Edgemont, PA 19028

                    Y.M.C.A. Of Camden County
                    Camden City Branch
                    3rd & Federal Street
                    Camden, NJ 08103

                    Y/P Products
                    20 Leigh Drive
                    York, PA 17402

                    Yai Central Park Challenge
                    460 W. 34th Street, 11th Fl
                    New York, NY 10117-0070

                    Yale Indust. Trucks-Del
                    Valley
                    P.O. Box 42920
                    Philadelphia, PA 19101

                    Yale Sales Wholesale Hardware
                    2645 Maricopa St
                    Torrance, CA 90503 5144




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                    Yankee Equipment
                    P.O. Box 30338
                    Hartford, CT 06150

                    Yarborough & Company Inc
                    PO Box 308
                    High Point, NC 27261

                    Yard Truck Specialist, Inc
                    1510 Ford Rd, PO Box 421
                    Bensalem, PA 19020

                    Yardbirds Home Center
                    (Home Depot Usa Inc)
                    1310 Clegg St
                    Petaluma, CA 94954

                    Yardley Carpet Cleaners
                    57 South Main Street
                    Yardley, PA 19067

                    Yazoo Mills, Inc.
                    305 Commerce Street
                    PO Box 369
                    New Oxford, PA 17350

                    Y-By Rental Center
                    1090 Mantua Pike
                    Route 45
                    Wenonah, NJ 08090

                    Yellow Freight System, Inc.
                    PO Box 13850
                    Newark, NJ 07188-0850

                    Yellow Pages Company
                    16 Technology, Suite 134
                    Irvine, CA 92618

                    Yellow Pages Processing
                    Center
                    P.O. Box 471902
                    Tulsa, OK 74147

                    Yellow Transportation Inc
                    PO Box 13850
                    Newark, NJ 07188 0850



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                    Yellow Transportation, Inc.
                    P.O. 13850
                    Newark, NJ 07188-0850

                    Y-L Products
                    PO Box 5188
                    Yeadon, PA 19050

                    Yoder Manufacturing
                    26800 Richmond Rd
                    Bedford Heights, OH     44146

                    Yoder Mfg.
                    4899 Commerce Pkwy
                    Warrensville Hts., OH      44128

                    Yong An Printing Co Ltd
                    Jing Ye Street
                    Chen Yong Industrial Park,
                    PAn Yu, Guangzhou
                    Guangdong China

                    Yongfeng Aluminum Co Ltd
                    Xiebian Industrial Areal,
                    Dali Town
                    Nanhai Foshan City
                    China
                    Guangdong

                    Yongkang Yangguang Plastic
                    Products Co Ltd
                    Xiangzhu Xiatian Industrial
                    Zone
                    Yongkang City, Zhejiang
                    Province
                    China

                    York Internet Services, Inc.
                    2615 Joppa Rd.
                    York, PA 17403

                    York Penn Machinery Co.
                    1124 Roosevelt Ave.
                    P.O. Box 1272
                    York, PA 17405




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                    York Transportation Inc.
                    297 Rutherford Road South
                    Brampton
                    Ontario Canada
                    L6w 3j8

                    Yorkship Supply
                    22 Springdale Rd
                    Cherry Hill, NJ 08003

                    Young Adjustment Co, Inc.
                    121 S Independence Mall East
                    Philadelphia, PA 19106-2412

                    Young America Corporation
                    Nw 8916 PO Box 1450,
                    Minneapolis, MN 55485-8916

                    Young Corp.
                    3231 Utah Ave South
                    Seattle, WA 98134

                    Young Recycling Inc
                    960 Frelinghuysen Ave
                    Newark, NJ 07114

                    Young Recycling
                    960 Frelinghuysen Avenue
                    Newark, NJ 07114

                    Young's Landscape Management
                    Inc
                    PO Box 298
                    Moorestown, NJ 08057

                    Young's Landscape Mang. Inc.
                    P.O. Box 298
                    Moorestown, NJ 08057

                    Young's Tri-County Concrete,
                    Inc
                    711 E. Clements Brdg. Road
                    Runnemede, NJ 08078




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                    Youngstown Electric Const.
                    Inc.
                    948 1/2 Poland Ave
                    Youngstown, OH 44502

                    Youngstown Forge
                    T.T. Marley Llc
                    721 Mcclurg Road
                    Youngstown, OH 44512

                    Youngstown Tool & Die Co.,
                    Inc
                    1261 Poland Avenue
                    Youngstown, OH 44502-2192

                    Y-Pers
                    P.O. Box 9559
                    Philadelphia, PA     19124

                    Ypo Forum Vii
                    Michael Phelan Treasurer
                    1069 Heartease Drive
                    West Chester, PA 19382

                    YPO
                    P.O. Box 1151
                    Bellmawr, NJ 08099

                    Yuasa-Exide Corporation
                    262 Valley Road
                    Warrington, PA 18976

                    Yuasa-Exide, Inc.
                    262 Valley Road
                    Warrington, PA 18976

                    Yuhua Automobile Spare Parts,
                    MAnufacturing Co Ltd
                    No 3 Zhengda Road
                    Haibei Industrial, Haian
                    China
                    Ruian

                    Yuriy Matsegora
                    32 Dolmen Lane
                    Bear, DE 19701




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                    Yuyao Holy Metal Co Ltd
                    Industry A Borough
                    Huang Jiabu Town
                    Yuyao
                    China
                    Ningbo

                    Yuyao Municipal Commercial
                    Foreign Trade Co Ltd
                    No 57 Yangming East Road
                    Yuyao
                    China
                    Zhejiang

                    Z Machine & Fabrication, Inc.
                    1924 Ark Road
                    Mt. Holly, NJ 08060

                    Zac Catlogs
                    1090 Kapp Drive
                    Clearwater, FL 34625-2111

                    Zanaras Reporting
                    1710-12 Locust Street
                    Philadelphia, PA 19103

                    Zarwin, Baum, Devito, Et Al
                    Four Penn Center Plaza
                    1616 Jfk Blvd. - Suite 700
                    Philadelphia, PA 19103-2588

                    Zayas Transport Co. LLP.
                    16 Edgeworth Place
                    New Brunswick, NJ 08901

                    Zcl Composites Inc.
                    2305 8th Street
                    Alberta, Canada A T9E7Z3

                    Zee Medical Service
                    Po. Box 781573
                    Indianapolis, IN 46278-8573

                    Zeeland Architectural Co
                    600 E Washington
                    Zeeland, MI 494641360




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                    Zenith Cutter Co.
                    Dept 77-2761
                    Chicago, IL 60678-2761

                    Zep Manufacturing
                    10 Fadem Road
                    Springfield, NJ 07081

                    Zhejiang Grand I/E Co Ltd
                    7f, Caihong Building
                    Ningbo
                    315040

                    Zhejiang Metals & Minerals
                    I/E
                    102 Fengqi Road
                    Hangzhou China

                    Zhejiang New Century Group
                    120 Lundu Road
                    318000, Jiaojiang Area
                    Zhejiang China

                    Zhejiang Psl Ind Ent Group
                    11f, Jinjiang Mansion
                    No. 111 Hushu South Rd
                    Hangzhou, China 310009

                    Zhejiang Pujiang Jinlei Co
                    Ltd
                    No 177 Jinlei Avenue
                    Pujiang
                    China
                    Zhejiang

                    Zhejiang Qiangwei Hdw Co Ltd
                    Xintangtou Industrial Zone
                    Xinjie Town, Xiaoshan,
                    Hangzhou City
                    China 311217
                    Zhejiang




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                    Zhejiang Qiangwei Hdw Co Ltd
                    Xintangtou Industrial Zone,
                    Xinjie Town, Xiaoshan,
                    Hangzhou,
                    China
                    Zhejiang

                    Zhejiang Taizhou Sanxing
                    Locking Industry Co Ltd
                    Yuan Qiao Industry Area
                    Huang Yan District, Taizhou
                    City,
                    China
                    Zhejiang Provinc

                    Zhejiang Zec Imp & Exp
                    Co.,Ltd
                    1-22-F, No.182, Zhaohui Road
                    Guodu Development Mansion
                    Zhejiang 310014
                    Hangzhou China

                    Zhejiang Zitic Import &
                    Export
                    Room H, 21/F., Tower A,
                    International Garden
                    48 Tian Mu Shan Road
                    Hangzhou China

                    Zheng Hua Plastic Products
                    #2 Da Chong Kou Village
                    Industrial
                    Zone, Pan Yu District
                    Guangzhou City, Guangdong
                    China

                    Zhongmei Plastic & Hardware
                    #8 Zhonghuo Rd, Wuxi Ind.
                    Park
                    Zhuliao, Zhongluoton Town
                    Baiyun District
                    China 510450
                    Guangzhou




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                    Zhongshan Fuyu Hardware
                    Products Co Ltd
                    Shunxiang Rd, North
                    Industrial Zone
                    Xiaolan Town, Zhongshan
                    528415
                    China
                    Guangdong

                    Zhongshan Go Tin Hardware Ltd
                    1, Taifeng No.2 Road,
                    Xiaolan Industries District
                    Xiao Lan Taown, Zhongshan
                    City
                    Guangdong China
                    528415

                    Zhongshan Guanghui Hardware
                    Products Co Ltd
                    No 2 Jinming Building,
                    Dongsheng Rd
                    Xiaolan China
                    Zhongshan

                    Zhongshan Guangqin Trade Co
                    No. 10, 3fl,Shengping Rd.
                    M. Xiaolan, Zhongshan
                    Guangdong China

                    Zhongshan Hua Feng Lock
                    Yongning Developing Area
                    Xiaolan, Zhongshan
                    Guangdong China
                    528415

                    Zhongshan Xiaolan Jingyi
                    Dongsheng Ind. Village
                    Dongsheng Rd
                    Xialon, Zhongshan, Guangdong
                    China, P.C. 528415

                    Zhou Sheng Hardware & Plastic
                    Jincheng Industrial Zone
                    Jinsha Town, Nanhai City,
                    Guangdong, China




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                    Zim-American Shipping Co
                    One World Trade Center
                    Sixteenth Floor
                    New York, NY 10048

                    Zink Corporation
                    P.O. Box 6475
                    Harrisburg, PA 17112

                    Zion Lutheran Church
                    Building Fund
                    In Memory Of Henry Godshalk
                    53013 County Road 19
                    Bristol, IN 46507 9744

                    Zip Industrial Products
                    6550 Campbell Blvd.
                    Lockport, NY 14094

                    Zip Industrial
                    Pivot Punch
                    6550 Campbell Blvd
                    Lockport, NY 14094

                    Zipf Lock Company
                    PO Box 935
                    Columbus, OH 43216

                    Zodiac Pool Care Inc
                    2028 NW 26th Avenue
                    Pompano Beach, FL 33069

                    Zoeller Pump Co., Inc
                    3281 Old Miller Lane
                    Louisville, KY 40256-0347

                    Zonics Inc
                    1015 West 9th Ave
                    King Of Prussia, PA     19406

                    Zonics, Inc.
                    900 West Valley Forge Road
                    King Of Prussia, PA 19406

                    Zormot International
                    PO Box 644
                    Jenison, MI 49429-0644



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                    Zurbrugg Memorial Hospital
                    P.O. Box 8538-004
                    Philadelphia, PA 19171-0004

                    Zurich Insurance Co.
                    PO Box 96520
                    Chicago, IL 60693

                    Zurich North American
                    8734 Paysphere Circle
                    Chicago, IL 60674

                    Zurich-America Insurance
                    135 S. La Salle St.
                    Dept. 8723
                    Chicago, IL 60674-8723

                    Zymotic Imports, Ltd.
                    1361 Monmouth Road
                    Eastampton, NJ 08060-3900

                    Zyp Coating Inc.
                    P.O. Box 2590
                    Oak Ridge, TN 37830-2590

                    6900 River Road Corporation
                    406 Clark Street
                    Evanston, IL 60202

                    7-Eleven, Inc.
                    P.O. Box 711
                    Dallas, TX 75221-0711

                    A&H Bloom Construction Co.
                    5090 Central Highway
                    Pennsauken, NJ 08109

                    A. Marianni’s Sons, Inc.
                    3301 Tulip Street
                    Philadelphia, PA 19134

                    A.P. Green Industries, Inc.
                    501 Plainsboro Road,
                    Plainsboro, NJ 08536

                    ABC Plastic Fabricators
                    7970 National Highway
                    Pennsauken, NJ 08110


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                    Abington Memorial Hospital
                    1200 Old York Road,
                    Abington, PA 19001

                    Action Manufacturing
                    100 E. Erie Ave.
                    Philadelphia, Pa 19134

                    Airline Hydraulics Corp.
                    Expressway 95 Industrial Center,
                    Cornwell Heights, PA 19020

                    AK Steel Corporation
                    9227 Centre Point Drive
                    West Chester, Ohio 45069

                    Alan Construction Company, Inc.
                    500 Grandview Avenue,
                    Vineland, NJ 08360

                    Albert Einstein Medical Center
                    York & Tabor Roads
                    Philadelphia, PA 19941

                    Alcan Aluminum Corporation
                    1955 West Huntington Park Ave.
                    Philadelphia, Pa 19140

                    Alcoa, Inc.
                    Massena Works,
                    Masena, NY 13662

                    All Trans Automotive
                    9351 Old Bustleton Avenue,
                    Philadelphia, PA 19115

                    Allegheny Hospitals Inc.
                    Successor Warminster General Hospital
                    100 West Laurel Ave.
                    Cheltenham, Pa

                    All-Luminum Products, Inc.
                    10 Furlen Street,
                    Totowa, NJ 07512

                    Almo Tank Cleaning
                    Pennsauken, NJ 08110



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                    Alpha Tool & Machine Co.
                    191 Heller Place,
                    Bellmawr, NJ 08031

                    Amerada Hess Corp.
                    123 Derousse Avenue
                    Pennsauken, NJ 08110

                    American Minerals
                    Colwell Lane
                    Conshohocken, Pa 19428

                    American Packaging Corporation
                    2900 Grant Avenue
                    Philadelphia, PA 19114

                    Ampco-Pittsburgh Corporation
                    600 Grant Street, Suite 4600
                    Pittsburgh, Pa 15219

                    Anthony Lieze Co.
                    2907 Pennsauken Ave. Box 134
                    Blackwood Terrace, NJ 08096

                    Anthony Remodeling Co., Inc.
                    f/k/a Anthony Plumbing & Heating Co.
                    1206 East Hunting Park Avenue,
                    Philadelphia, PA 19124

                    Anvil Construction Company
                    2817 Southampton Road
                    Philadelphia, PA 19154

                    Anzon, Inc.
                    2545 Aramingo Avenue
                    Philadelphia, PA 19125

                    Aquatrols Plastics
                    5 N. Olney Ave.
                    Cherry Hill, NJ 08003

                    Ara Food Services Company
                    1635 Market Street
                    Philadelphia, PA 19103

                    Arthur Campbell
                    604 West Lindley Ave.
                    Philadelphia, Pa


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                    Arthur A. Kober Construction Co.
                    9 Union Ave.
                    Bala Cynwyd, Pa

                    Atlanta Carting/
                    Delaware Valley Carting
                    635 Cooper & Tomlinson Road
                    Medford, NJ 08055

                    Atlantic Disposal Services, Inc.
                    Mount Laurel, NJ

                    Atlantic Metals Corp.
                    Orthodox Street at the D Delaware River
                    Philadelphia, Pa 19137

                    Avery Dennison Corporation
                    7722 Dungan Road
                    Philadelphia, Pa 19111

                    B&E Foods, Inc. d/b/a Michelfelder’s
                    5419 North Mascher Street
                    Philadelphia, PA 19120

                    Bank One Corporation
                    100 East Broadway Street
                    Columbus, Ohio 43215

                    Baptist Home
                    8301 Roosevelt Boulevard
                    Philadelphia, PA 19152

                    Beaumont Birch Co.
                    3900 River Road
                    Pennsauken, NJ 08110

                    Benjamin Brothers, Inc.
                    1729 West Allegheny Avenue
                    Philadelphia, PA 19132

                    Berkeley Products (Swope)
                    405 S. 7th Street
                    Akron, Pa 17501

                    BFI of Mt. Laurel, N.J., Inc.
                    4100 Church Road
                    Mount Laurel, NJ 08054



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                    Bissinger & Stein (Stein Seal Company)
                    1500 Industrial Boulevard
                    Kulpsville, PA 19443

                    Boise-Cascade
                    111 West Jefferson Street
                    Boise, Idaho 83728

                    Bridge Industries
                    Box 1189
                    Norristown, PA 19401

                    Bridgestone/Firestone, Inc.
                    205 North Michigan Ave.,
                    Suite 3800 Chicago,
                    Illinois 60601-5965

                    Buckley & Company
                    3401 Moore Street
                    Philadelphia, Pa 19145-1005

                    Bunzel Job Lot Pennsylvania, Inc.
                    f/k/a G.B. Goldman Paper Co., Inc
                    2201 E. Allegheny Ave.
                    Philadelphia, Pa 19134

                    C&E Glass, a Division of Combustion Engineering, Inc.
                    700 Union Landing Rd. Bldg. 4
                    Cinnaminson, NJ 08077

                    C. Erickson & Sons
                    1530 Chestnut Street, Suite 515
                    Philadelphia, PA 19102

                    C.J. Osborn Chemicals, Inc.
                    Cook Composites and Polymers
                    Sherman Ave.
                    Pennsauken, NJ 08110

                    Cadillac Plastic Group f/k/a Dayco
                    333 W. First Street
                    Dayton, OH 45402

                    Callahan Chemical Company
                    Broad Street and Pattison Ave.
                    Philadelphia, Pa 19103




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                    Camden County Municipal Utilities
                    1645 Ferry Ave.
                    P.O. Box 1432
                    Camden, NJ 08101

                    Cantol-Tech Division Inc.
                    2211 N. American Street
                    Philadelphia, PA 19133

                    Carl Song and Son Roofing
                    828 North 30th Street
                    Camden, NJ 08105

                    Chamberlain Manufacturing
                    485 North Larch Ave.
                    Elmhurst, Illinois 60126

                    Cheltenham Supply Co.
                    357 East Allegheny Avenue,
                    Philadelphia, PA 19134

                    Cherokee Construction
                    9 West Highland Avenue
                    Philadelphia, PA 19118

                    Cherry Hill, Township of
                    820 Mercer Street
                    Cherry Hill, NJ 08002

                    Chesapeake Packaging Company
                    1021 E. Cary Street
                    Box 2350
                    Richmond, Virginia 23218-2350

                    Chestnut Hill Hospital
                    8835 Germantown Avenue
                    Philadelphia, PA 19118

                    Chevron Corporation
                    575 Market Street
                    San Francisco, CA 94105

                    Chromally, a subsidiary of Sequa Corp.
                    3 University Plaza
                    Hackensack, NJ 07601




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                    Cinnaminson, Township of
                    1621 Riverton Road
                    Cinnaminson, NJ 08077

                    City Cleaning Company
                    439 N. 13th Street
                    Philadelphia, PA 19123

                    City of Mirrors
                    6006 US Highway 130
                    Pennsauken, NJ 08110

                    City of Philadelphia
                    City Hall
                    Philadelphia, Pa 19103

                    Cleaners Service, Inc.
                    2035 North 63rd Street
                    Philadelphia, PA 19151

                    CMC Equipment Rental, Inc.
                    3316 Old Lincoln Highway
                    Langhorne, PA 19053

                    CMH Development, LP,
                    and USA Institutional Tax Credit Fund VIII
                    115 New Street
                    P.O. Box 6 Glenside, PA 19038

                    Commercial Flooring System
                    108 Park Drive
                    Montgomeryville, PA 18936-9612

                    Concord Beverages
                    535 Dowd Avenue
                    Elizabeth, NJ 07201

                    Consolidated Rail Corporation
                    Two Commerce Square
                    2001 Market Street
                    Philadelphia, PA 19101

                    Consolidated/Drake Press
                    5050 Parkside Ave.
                    Philadelphia, PA 19131




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                    Consumers Energy (Swope)
                    212 West Michigan Ave.
                    Jackson, Michigan 49201

                    Cooper Industries, Inc.
                    820 Bear Tavern Road
                    Trenton, NJ 08628

                    Coyne Textile Services
                    4825 Brown Street
                    Philadelphia, PA 19139

                    Crowley Maritime Corporation
                    North 36th Street
                    Pennsauken, NJ 08110

                    Crown, Cork, & Seal Co.
                    820 Bear Tavern Road
                    Trenton, NJ 08628

                    D. Carrochi, Jr., Inc.
                    465 Central Avenue
                    Horsham, PA 19044

                    D’Angelo Brothers, Inc.
                    68 East Bringhurst Street
                    Philadelphia, PA 19144

                    Daniel J. Driscoll
                    27 Red Oak Road
                    Oreland, PA 19075

                    David Michael & Co., Inc.
                    10801 Decatur Road
                    Philadelphia, PA 19154

                    Del Val Ink Company
                    1301 Taylor Lane
                    Riverton, NJ 08077

                    Delta Paper
                    6400 Bristol Pike
                    Bristol, PA 19007

                    DeSoto, Inc.
                    1700 South Mount Prospect Road
                    Des Plaines, Illinois 60018



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                    Deval Corporation
                    7341 Tulip Street
                    Philadelphia, PA 19136

                    DeVoe Coatings/The Glidden Co.
                    9155 River Road
                    Pennsauken, NJ 08110

                    Dietz & Watson
                    5701 Tacony Street
                    Philadelphia, PA 19135

                    Discount Harry's, Inc.
                    6504 US Highway 130 South
                    Pennsauken, NJ 08110

                    Disston Precision, Inc.
                    6795 State Road
                    Philadelphia, PA 19135

                    Domus Enterprises
                    346 East Walnut Lane
                    Philadelphia, PA 19144

                    Dresser Industries
                    1600 Pacific Ave. Dallas
                    Texas 75221

                    E. Henderson, Inc.
                    2055 Eastburn Avenue
                    Philadelphia, PA 19138

                    E.P. Guidi, Inc.
                    1301 South Bethlehem Pike
                    Ambler, PA 19002

                    Eastern Bowling, Inc.
                    4717 Stenton Avenue
                    Philadelphia, PA 19144

                    Eaton Corporation
                    1635 Market Street
                    Philadelphia, PA 19103

                    Edmund’s Auto Body, Inc.
                    3437 Haddonfield Road
                    Pennsauken, NJ 08110



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                    EI du Pont de Nemours and Company
                    1007 Market Street (D-7082)
                    Wilmington, DE 19898

                    Electronic Enclosures, Inc.
                    6995 Airport Highway
                    Pennsauken, NJ 08110

                    Electro-Science Laboratories, Inc.
                    416 E. Church Road
                    King of Prussia, PA 19406

                    Elf Atochem Corp.
                    2000 Market Street
                    Philadelphia, PA 19103

                    Episcopal Hospital
                    Front Street and Lehigh Avenue
                    Philadelphia, PA 19125

                    Ernest Bock & Sons, Inc.
                    2800 Southampton Road
                    Philadelphia, PA 19154

                    EV-Air Tight Calking Company
                    1619 W. Thompson Street
                    Philadelphia, PA 19121

                    Exide Corporation
                    645 Penn Street
                    Reading, PA 19601

                    F.B. Davis & Sons Construction Mgt., Inc.
                    510 Belmont Avenue
                    Bala Cynwyd, PA 19004

                    F.H. Carting
                    Route 130
                    Pennsauken, NJ 08110

                    F.M. North & Associates
                    2 Church Road
                    Merchantville, NJ 08109

                    Fessenden Hall
                    1050 Sherman Avenue
                    Pennsauken, NJ 08110



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                    Fillet Corporation
                    2399 A. Creek Road
                    Mt. Holly NJ 08060

                    Fisher Development Company
                    1211 North Church Street
                    Moorestown, NJ

                    FMC Corporation
                    1735 Market Street 19th Street
                    Philadelphia, PA

                    Ford Motor Co.
                    U.S. Highway No. 130
                    Pennsauken, NJ 08110

                    Frankford Hospital
                    Knights and Red Lion Roads
                    Philadelphia, PA

                    Friends Hospital
                    Adams Avenue and Roosevelt Boulevard
                    Philadelphia, PA 19124

                    Garden State Tire
                    701 W. Maple Avenue
                    Merchantville, NJ 08109

                    Garrett-Buchanan
                    7575 Brewster Ave.,
                    Philadelphia, PA 19153

                    General Electric
                    535 State Highway 38
                    Cherry Hill, NJ 08003

                    General Felt Industries, Inc.
                    1000 Columbia Avenue
                    Linwood, PA 19061

                    Genlyte Thomas Group, LLC d/b/a Crescent Lighting
                    1665 John Tipton Blvd.
                    Pennsauken, NJ 08110

                    George S. Coyne Chemical Company
                    1315 State Road
                    Croydon, PA 19021



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                    Georgia-Pacific Corp.
                    P.O. Box 338
                    Pennsauken, NJ 08110

                    Germantown Hospital & Medical Center
                    One Penn Boulevard
                    Philadelphia, PA 19144

                    Gianni Development Corp.
                    720 Second Street Pike, Suite 202A
                    Southampton, PA 18966

                    Gilbert Spurance Co. (Swope)
                    321 Norristown Road Suite 1
                    Ambler, PA 19002

                    Gould Electronics, Inc.
                    1635 Market Street
                    Philadelphia, Pa 19103

                    Gould Paper Corporation
                    2 Campus Drive,
                    Burlington, NJ 08016

                    Green Knoll Company
                    t/a Green Mount Cemetery Co.
                    1601 Walnut Street, Room 723
                    Philadelphia, PA 19102

                    Gus Bittner, Inc.
                    1419 Clements Bridge Road
                    Deptford, NJ 08096

                    Hachik Distributors, Inc.
                    2300 Island Avenue
                    Philadelphia, PA 19142

                    Haddon, Township of
                    Haddon & Reeve Avenues
                    Westmont, NJ 08108

                    Haddonfield, Borough of
                    242 Kings Highway East
                    Haddonfield, NJ 08033

                    Haydon Bolts, Inc.
                    1181 Unity Street
                    Philadelphia, PA 19124


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                    Henkels & McCoy, Inc.
                    512 Elbow Lane,
                    P.O. Box 218
                    Burlington, NJ 08016

                    Hertz Equipment Rental, Inc.
                    9325 US Highway 130
                    Pennsauken, NJ 08110

                    Hilton Hotels, Corp.
                    9336 Civic Center Blvd.
                    Beverly Hills, CA 90210

                    Hoechst Celanese
                    1041 Route 202-206
                    Somerville, NJ 08807

                    Holy Redeemer Hospital and Medical Center
                    1648 Huntingdon Pike
                    Meadowbrook, PA 19046

                    Honeywell/Allied Signal, Inc.
                    Ten Worth Avenue
                    East Elizabeth, NJ 07210

                    Imperial Metal & Chemical Company
                    2050 East Byberry Road
                    Philadelphia, PA 19116

                    Ingersoll-Rand Company
                    942 Memorial Parkway
                    Phillipsburg, NJ

                    Inpeake Packing, Inc.
                    3500 Richmond Street
                    Philadelphia, Pa 19134

                    International Paper Company
                    820 Bear Tavern Road
                    West Trenton, NJ 08628

                    Introcasco Construction, Inc.
                    632 Haddon Avenue
                    Collingswood, NJ 08108

                    Irwin & Leighton, Inc.
                    460 North Gulph Road
                    King of Prussia, PA 19406


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                    J&P Millwork, Inc.
                    171 East Hunting Park Avenue,
                    Philadelphia, PA 19124

                    J.B. Currell Assoc., Inc.
                    1501 Sherman Avenue
                    Pennsauken, NJ 08110

                    J.S. Cornell & Son, Inc.
                    1528 Cherry Street
                    Philadelphia, PA 19134

                    Jacob Holtz Company Corp.
                    319 Market Street
                    Harrisburg, PA 17101

                    Jamesbury, Inc.
                    640 Lincoln Street
                    Worcester, MA 010605

                    Jeanes Hospital
                    7600 Central Ave.
                    Philadelphia, Pa 19111

                    Jefferson Smurfit
                    820 Bear Tavern Road
                    Trenton, NJ 08628

                    Jeffries & Manz, Inc.
                    2415 East York Street
                    Philadelphia, Pa 19125

                    Jessop Steel Company
                    50 Green Street
                    Washington, Pa 15301

                    Jewish Federation of Greater Dayton, Ohio
                    4501 Denlinger Road
                    Dayton, OH 45406

                    JFK Hospital
                    65 James Street
                    Edison, NJ 08820

                    Jo-Mar Textiles, Inc.
                    3525 I Street
                    Philadelphia, Pa 19134



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                    Jowitt & Rogers
                    9400 State Road
                    Philadelphia, Pa 19114

                    Kasper Brothers, Inc.
                    362 Main Street
                    Medford, NJ 08055

                    Keebler Company
                    820 Bear Tavern Road
                    Trenton, NJ 08628

                    Kensington Hospital
                    136 West Diamond Street
                    Philadelphia, PA 19121

                    Kevon Office Center
                    2500 McClellan Avenue
                    Pennsauken, NJ 08110

                    King Arthur, Inc.
                    965 Bethal Ave.
                    Pennsauken, NJ 08110

                    Lincoln Technical Institute, Inc.
                    Haddonfield Road & US Highway Route 130
                    Pennsauken, NJ 08110

                    Lynch Exhibits
                    7 Campus Drive
                    Burlington, NJ 08016

                    M.J. Bradley Co., Inc.
                    6 Crozerville Road
                    Aston, Pa

                    Magic of Aloe
                    7300 N. Crescent Blvd.
                    Pennsauken, NJ 08110

                    Marshalls Cleveland Wrecking
                    702 Chester Pike
                    Sharon Hill, Pa 19079

                    Marvic Supply Company, Inc.
                    626 Byberry Road
                    Philadelphia, Pa 19116



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                    McLean Packaging
                    3450 Salmon Street
                    Philadelphia, Pa 19134-6025

                    MDC Industries, Inc.
                    Collins and Willard Streets
                    Philadelphia, Pa 19134

                    Meadowbrook Food Center
                    3012 Union Ave.
                    Pennsauken, NJ 08110

                    Melrath Gasket Co.
                    2901 Hunting Park Ave.
                    P.O. Box 9830
                    Philadelphia, PA 19140

                    Merchantville, Township of
                    1 W. Maple Ave.
                    Merchantville, NJ 08109

                    Mercy Catholic Medical Center-
                    5301 Cedar Ave.
                    Philadelphia, PA 19143

                    Merion Spring Company, Inc. t/a
                    The Green Spring Company

                    Messinger Bearings Corporation
                    3931 D Street
                    Philadelphia, Pa 19134

                    Metal Bank of America
                    6801 State Road
                    Philadelphia, Pa 19135

                    Metalstand Company
                    11200 Roosevelt Blvd.
                    Philadelphia, Pa 19116

                    Michael Singer Real Estate (Palmyra)
                    1117 Spruce Street
                    Philadelphia, Pa 19107

                    Michel’s Bakery
                    6635 Castor Ave.
                    Philadelphia, Pa 19149



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                    Mobile Field Office Company
                    d/b/a Atco Trailer Rentals
                    1515 Market Street
                    Philadelphia, Pa 19102

                    MPC Industries
                    9111 River Road
                    Delair, NJ 08110

                    Nabisco Food Corporation
                    Wilmington, DE 19805

                    Nason and Cullen, Inc.
                    500 North Gulf Road, Suite 100
                    King of Prussia, Pa 19406-2816

                    National Fiberstock Corp.
                    2051 Potshop Lane
                    Norristown, Pa 19403

                    National Railroad Passenger Corporation
                    2600 Market Street, 13th Floor
                    Philadelphia, Pa 19103

                    Navistar International
                    1635 Market Street
                    Philadelphia, Pa 19103

                    Nazareth Hospital
                    2601 Holmes Ave.
                    Philadelphia, PA 19152-2007

                    Neemar Inc.
                    2 Anco Drive
                    Deptford, NJ 08096

                    Nicholas Brothers, Inc.
                    Dutch Road
                    Marlton, NJ 08053

                    Northeast Disposal, Inc.
                    2771 U.S. Route 1
                    Box 86
                    Trevose, PA 19047

                    Oakdale Printing Co.
                    1900 Bannard
                    Cinnaminson, NJ 08077


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                    Occidental Chemical
                    360 Rainbow Boulevard
                    South Niagara Falls, NY 14302

                    Orkin Exterminating
                    7980 Crescent Blvd.
                    Pennsauken, NJ 08110

                    Our Lady of Lourdes Medical Center
                    1600 Haddon Ave
                    Camden, NJ 08103

                    P.D'Andrea, Inc.
                    12270 Townsend Road
                    Philadelphia, Pa 19154

                    Packaging Coordinators, Inc.
                    5691 Rising Sun Ave.
                    Philadelphia, Pa 19120

                    Palmyra Borough
                    20 West Broad
                    Palmyra, NJ 08065

                    Parts Distributor, Inc.
                    8181 Route 130
                    Pennsauken, NJ 08110

                    PECO Energy Company
                    2301 Market Street
                    Philadelphia, Pa 19103

                    Penn Emblem Corporation
                    10909 Dutton Road
                    Philadelphia, Pa 19154

                    Penn Motor Express
                    2304 Garry Road
                    Cinnaminson, NJ 08077

                    Pennsauken Sewerage Authority
                    5605 North Crescent Blvd.
                    Pennsauken, NJ 08110

                    Pennsauken Solid Waste Management Authority
                    9600 River Road
                    Pennsauken, NJ 08110



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                    Pennsylvania Hospital
                    800 Spruce Street
                    Philadelphia, Pa 19106

                    Pepsi Cola and National Brand Beverages, Ltd.
                    8191 Route 130
                    Pennsauken, NJ 08110

                    Philadelphia Coca-Cola Bottling Co.
                    4501 Richmond Ave.
                    Philadelphia, Pa 19137

                    Philadelphia Newspapers, Inc.
                    400 North Broad Street
                    Philadelphia, Pa 19104

                    Philadelphia Psychiatric Hospital (Belmont)
                    Henry Ave. and Abbottsford Road
                    Philadelphia, Pa 19131

                    Philadelphia Tramrail Co.
                    2207 Ontario Street
                    Philadelphia, Pa 19134

                    Phillips & Jacobs Chemical
                    2207 Ontario Street
                    Philadelphia, Pa 19134

                    Pickell Enterprises
                    6800 State Road
                    Philadelphia, Pa 19135-1535

                    Pine Valley Precision, Inc.
                    5075 Central Highway
                    Pennsauken, NJ 08110

                    Pollution Control Financing Authority of Camden Co
                    729 Hylton Road
                    Pennsauken, NJ 08110

                    Presbyterian Medical Center
                    39th & Market Streets
                    Philadelphia, Pa 19104

                    Prince Foods
                    1550 John Tipton Blvd.
                    Pennsauken, NJ 08110



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                    Products Research & Chemical Company
                    5430 San Fernando Road
                    Glendale, CA 91209

                    Progress Lighting
                    D Street and Erie Ave.
                    Philadelphia, Pa 19134

                    PSE&G
                    80 Park Plaza
                    Newark, NJ 07102

                    Quadra Graphics
                    7120 Airport Highway
                    Pennsauken, NJ 08110

                    Quaker City Chemicals, Inc.
                    7360 Milnor Street
                    Philadelphia, Pa 19136

                    Quaker City Flea Market
                    Tacony and Comly Streets
                    Philadelphia, Pa 19135

                    Quick-Way, Inc.
                    South East Corner Bath & Orthodox Sts.
                    Philadelphia, Pa 19137

                    R&R Chemicals, Inc.
                    10801 Decatur Road
                    Philadelphia, Pa 19154

                    R.M. Shoemaker Company
                    100 Front Street, Suite 1300
                    West Conshohocken, Pa 19428-2876

                    Red Star Express Lines, Inc.,
                    now USF Red Star, Inc.
                    3000 Orthodox Street
                    Philadelphia, Pa 19137

                    Regal Corrugated Box Company
                    Adams Avenue and Ashland Avenue
                    Philadelphia, Pa 19124

                    Reisch Trucking & Transport Co.
                    819 Union Ave.
                    Pennsauken, NJ 08110


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                    Ris Paper Co.
                    819 Union Ave.
                    Pennsauken, NJ 08110

                    Riverside, Township of
                    Scott Street and Pavilion Ave.
                    Riverside, NJ 08075

                    Riverton, Borough of
                    505A Howard Street
                    Riverton, NJ 08077

                    Rockwell International
                    Municipal and Utility Drive
                    Russellville, Kentucky 42276

                    Rohm and Haas Company      Independence Mall
                    West Philadelphia, Pa

                    Roosevelt Paper Company
                    457 Haddonfield Road Suite 700
                    Cherry Hill, NJ 08002

                    Ruggieri & Sons Fuel Company
                    1216 Washington Ave
                    Philadelphia, Pa 19147-3624

                    Russell Stover Candies
                    100 Walnut Street
                    Kansas City, MO 64106

                    S&G Enterprises, Inc.
                    3045 West Jefferson Street
                    Philadelphia, Pa 19121

                    Safelite Glass Corp.
                    1105 Shrock Road
                    Columbus, OH 43229

                    Schiavo Brothers Hauling
                    Pier 19 North
                    Philadelphia, Pa 19106

                    Schulz Bros. Container Service d/b/a,
                    a/k/a American Slag
                    198 West Ashdale Street
                    Philadelphia, Pa 19120



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                    Se. Pa. Transp. Auth. (SEPTA)
                    1234 Market Street, 5th Floor
                    Philadelphia, Pa 19107

                    Sears Roebuck Company
                    John Tipton Blvd.
                    Pennsauken, NJ 08110

                    Sentry Paint
                    237 Mill Street
                    Darby, Pa 19023

                    Shaw Alloy Piping Products
                    f/k/a Alloy Piping Products
                    6 Coolidge Court
                    Califan, NJ 07830

                    Shelby Williams Industries, Inc.
                    401 Meacham Road
                    Statesville, NC 28677

                    Shellville Services, Inc.
                    3910 Skippack Pike
                    Skippack, Pa 19474

                    Sherwin Williams Company
                    269 Great Valley Parkway
                    Malvern, Pa 19355

                    SL Industries, Inc.,
                    SL Modern Hard Chrome
                    482 Cove Road
                    Pennsauken, NJ 08110

                    Sparks Exhibits
                    2828 Charter Road
                    Philadelphia, Pa 19154

                    Standard Warehouse & Distributing Co.
                    37th Street & River Road
                    Pennsauken, NJ 08110

                    Stanley Marvel, Inc.
                    13 Hyde Lane
                    Westhampton, NJ 08060




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                    Stepanowski Brothers, Inc.
                    1615 N. Delaware Ave.
                    Philadelphia, Pa 19123

                    Sterling Paper
                    2511 Castor Ave.
                    Philadelphia, Pa 19134-2704

                    Super Kwik Waste Services
                    Voorhees, NJ 08043

                    Supermarkets General Holdings Corp.
                    301 Blair Road
                    Woodbridge, NJ 07095

                    Swope oil & Chemical
                    8281 National Highway
                    Pennsauken, NJ 08110

                    Sykes-Scholtz-Collins Lumber
                    1502 McDaniel Drive
                    West Chester, Pa 19380

                    Tasty Baking Company
                    820 Bear Tavern Road
                    Trenton, NJ 08628

                    Temple East, Inc.
                    400 Carnell Hall
                    1803 N. Broad Street
                    Philadelphia, Pa 19122

                    Tennant Company
                    855 Bethal Avenue
                    Pennsauken, NJ 08110

                    TGI Friday's, Inc.
                    830 Bear Tavern Road
                    Trenton, NJ 08628

                    The Graduate Hospital
                    19th and Lombard Streets
                    Philadelphia, Pa 19107

                    The Lankenau Hospital
                    100 Lancaster Avenue
                    West Wynnewood, Pa 19096



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                    The Pepsi Bottling Group, Inc.
                    1 Pepsi Way
                    Somers, NY 10958

                    The Township of Pennsauken
                    5606 North Crescent Blvd.
                    Pennsauken, NJ 08110

                    The William Penn Charter School
                    3000 West Schoolhouse Lane
                    Philadelphia, Pa 19144

                    Thermal Chek, Inc.
                    912 Broadway
                    Westville, NJ 08093

                    Thermo-King
                    900 Haddon Ave., Suite 200
                    Collingswood, NJ 08108

                    Thomas Baker a/k/a Garden State Tire
                    701 W. Maple Ave.
                    Merchantville, NJ 08109

                    Thomas Jefferson University
                    1020 Walnut Street
                    Philadelphia, Pa 19107-5567

                    Thomas M. Durkin & Sons
                    3030 Grant Ave.
                    Philadelphia, Pa 19114

                    Triangle Container Corp.
                    601 E & Erie Avenues
                    Philadelphia, Pa 19134

                    Trico Products Corporation
                    817 Washington St.
                    Buffalo, NJ 14203

                    TRW, Inc.
                    1900 Richmond Rd.
                    Cleveland, OH 44124

                    Twentieth Century Disposal
                    1818 E. Atlantic Street
                    Philadelphia, Pa 19134



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                    UCF America (Impex Spring Industries)
                    1025 Thomas L. Busch Memorial Hwy.
                    Pennsauken, NJ 08110

                    Unclaimed Salvage & Freight
                    7601 Kaign Avenue
                    Pennsauken, NJ 08110

                    United Cerebral Palsy Assoc. of Phila.
                    820 Bear Tavern Road
                    Trenton, NJ 08628

                    University of Pennsylvania
                    34th and Walnut Streets
                    Philadelphia, Pa 19104

                    USX Corporation
                    600 Grant Street
                    Pittsburgh, Pa 15230

                    V. Lester Yuritch
                    811 Church Road
                    Cherry Hill, NJ 08003

                    Voorhees, Township of
                    620 Berlin Road
                    Voorhees, NJ 08043

                    W.J. Graham, Inc.
                    2925 Guilford Street
                    Philadelphia, PA19152

                    Ward Sand and Materials, Co., Inc.
                    /JD Morrissey
                    3 Greentree Center, Suite 4
                    Route 73 & Greentree Road
                    Marlton, NJ 08053

                    Waste Management of South Jersey, Inc.
                    208 Trenton Ave.
                    Trenton, NJ 08610

                    West Jersey Hospital
                    Mt. Ephraim and Atlantic Ave.
                    Camden, NJ 08104




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                    Weyerhaeuser Company
                    7200 Westfield Ave.
                    Pennsauken, NJ 08110

                    White Cross Sleep Products
                    901 East Lycoming Street
                    Philadelphia, Pa 19124-511

                    Whitesell Construction
                    1 Underwood Court
                    Delran, NJ 08075

                    Williard, Inc.
                    375 Highland Ave.
                    Jenkintown, Pa 19046

                    Worthington Company
                    1 Fallsington Ave.
                    Bristol, Pa 19007-6005

                    Xerox Corporation
                    401 State Highway 73
                    Marlton, NJ 08053

                    Jerome Lightman
                    139 Route 73 North
                    Winslow Township, NJ 08018

                    Lightman Drum Company, Inc.,
                    139 Route 73 North
                    Winslow Township, NJ 08018

                    Daimler Chrysler
                    100 Chrysler Drive
                    Auburn Hills, Michigan 48326

                    A&B Drum Company Inc.,
                    401 Holly Avenue
                    Woodbury Heights, NJ 08097

                    Verna Dale Donnelly
                    4 Rambler Court
                    Willingboro NJ 08046

                    Air Products & Chemicals, Inc.
                    7201 Hamilton Boulevard
                    Allentown, PA 18195



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                    Honeywell International
                    101 Columbia Road
                    Morristown NJ 07960

                    Alco Industries, Inc.
                    2711 Centerville Road, Suite 400
                    Wilmington Delaware 19808

                    Synthane-Taylor Corporation (A Subsidy of Alco Industries)
                    2711 Centerville Road,
                    Suite 400
                    Wilmington, Delaware 19808

                    BP America, Inc.
                    4101 Winfield Road
                    Warrenville, Illinois      60555

                    Colonial Heights Packaging, Inc.
                    120 Park Place
                    New York, NY 10007

                    Croda Ink
                    300 A Columbus Circle
                    Edison, NJ 08837

                    DAP Products, Inc.
                    2400 Boston Street
                    Baltimore MD 21224

                    Del Val Ink and Color
                    1301 Taylors Lane
                    Riverton NJ 08077

                    EMD Chemical
                    480 South Democrat Road
                    Gibbstown NJ 08027

                    USG Corporation
                    125 South Franklin Street
                    Chicago, IL 60606

                    Quaker Chemical Corporation,
                    One Quaker Park, 901 Hector Street
                    Conshohocken PA 19428

                    Scott Paper Company
                    1209 Orange Street
                    Wilmington DE 19801


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                    Sunoco Product Company
                    One North Second Street
                    Hartsville, SC 29550

                    Stepan Company
                    22 West Frontage Road
                    Northfield IL 60093

                    Union Carbide Corporation
                    2030 Dow Center
                    Midland, Michigan

                    AMCHEM
                    Acquired by Union Carbide Corporation
                    2030 Dow Center
                    Midland Michigan, 48674

                    United States Steel Corporation
                    600 Grant Street
                    Pittsburgh, PA 15219

                    Whiting Patterson Company
                    Fifth & Bristol Streets
                    Philadelphia, PA 19140

                    ABC Corporations 1-10
                    No Address Referenced

                    John Does 1-10
                    No Address Referenced

                    Francesco D'Imperio
                    50 Marra Court
                    Cherry Hill, NJ 08002

                    Quintin D'Imperio
                    Route 2
                    Columbus, NJ 08022

                    FMC Corporation
                    1735 Market Street
                    Philadelphia, PA 19103

                    Kiwi Polish Company
                    447 Old Swede Road
                    Douglassville, PA 19518




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                    B&W Coating a/k/a
                    The Grow Group of Pennsauken New Jersey
                    9155 River Road
                    Pennsauken, NJ 08110

                    Quaker Chemical Company
                    Conroe Texas One Quaker Park
                    901 Hector Street
                    Conshohocken, PA 19428

                    Stauffer Chemical Company
                    Delaware City, Delaware 19117

                    Synthane Taylor Corporation
                    Valley Forge, PA 19164

                    Whiting Patterson Company
                    11 Madison Avenue
                    New York NY 10010

                    Wilmington Chemical
                    1105 North Market Street
                    Wilmington DE 19801

                    New Jersey Department of Environmental Protection
                    Attorney General of New Jersey
                    25 Market Street
                    P.O. Box 093
                    Trenton, NJ 08625

                    Susie Harris
                    1095 MacArthur Drive
                    Camden NJ 08104

                    Leon McRae & Vivian McRae
                    2424 South 12th Street
                    Camden, NJ 08104

                    Lawrence Miles, Sr.,
                    222 North 6th Street
                    Camden, NJ 08102

                    Sarah Ann Barbara Pease
                    2417 Wainwright Street
                    Camden, NJ 08104




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                    Sylvia Pigford
                    1110 Lakeshore Drive
                    Camden, NJ 08104

                    Christine Collins
                    1454 Princess Avenue
                    Camden, NJ 08103

                    Shirley Menoken
                    550 Trenton Avenue
                    Camden, NJ 08103

                    Fanny Bermudez
                    302 Chestnut Street
                    Camden, NJ 08103

                    Theresa Flores
                    544 York Street
                    Camden, NJ 08102

                    Theresa Hoke
                    624 Erie Street
                    Camden, NJ 08102

                    Carmen Ortiz
                    513 Erie Street
                    Camden, NJ 08104

                    Ivan Foster
                    927 Liberty Street
                    Camden NJ 08104

                    R. Mangasiso Davis
                    500 North 7th Street, Apt. 1405
                    Camden, NJ 08103

                    Roy L. Jones
                    1384 Whitman Avenue
                    Camden, NJ 08103

                    Advance Process Supply
                    c/o CSC United States Corp. Company
                    830 Bear Tavern Road
                    Trenton, NJ 08628




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                    6900 River Road Corporation
                    c/o CSC United States Corp. Company
                    830 Bear Tavern Road
                    Trenton, NJ 08628

                    Watco LLC c/o Springtime, Inc.,
                    6900 River Road
                    Pennsauken, NJ 08110

                    Alpha Tool & Machine Co.
                    191 Heller Place,
                    Bellmawr, NJ 08031

                    American Standard, Inc.
                    1 Centennial Avenue
                    Piscatawny, NJ 08854

                    A&H Bloom Construction Co.
                    5090 Central Highway
                    Pennsauken, NJ 08110

                    The Bloom Organization
                    5090 Central Highway
                    Merchantville, NJ 08108

                    Super Tire Services, Inc.
                    102 Columbus Drive
                    Savannah, GA 31405

                    Shelby Williams Industries, Inc.
                    401 Meacham Road
                    Statesville, NC 28677

                    SL Industries, Inc./SL Modern Hard Chrome
                    482 Cove Road
                    Pennsauken, NJ 08110

                    SL Surface Technologies
                    1416 South 6th Street
                    Camden, NJ 08104

                    Cook Composites and Polymers, Co.
                    820 East 14th Avenue
                    Kansas City, MO 64116

                    CJ Osborn Chemical Co
                    17 Loretta Court
                    Coram, NY 11727


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                    J.M.J. Warehouse Associates
                    905 North Lenok Road
                    Moorestown, NJ 08057

                    Fisher Development Company
                    1211 North Church Street
                    Moorestown, NJ 08057

                    Boise Cascade Corporation
                    One Jefferson Boulevard
                    Boise, ID 83728

                    Plywood Panels, Inc.,
                    4662 Royce Road
                    Irvine, CA 92612

                    Weyerhaeuser Company
                    7200 Westfield Ave.
                    Pennsauken, NJ 08110

                    United Steel & Wire Co.
                    4909 Wayne Road
                    Battle Creek, MI 49015

                    Amerada Hess Corp.
                    1185 Avenue of the Americas
                    New York, NY 10036

                    Glidden Company
                    926 Euclid Avenue
                    Cleveland OH 44115

                    Pennsauken Solid Waste Management Authority
                    9600 River Road
                    Pennsauken, NJ 08110

                    James D. Morrissey, Inc.
                    9119 Frankford Avenue
                    Philadelphia, PA 19114

                    City of Camden, New Jersey
                    c/o County Counsel
                    520 Market Street
                    Camden, NJ 08102

                    Ward Sand, Inc.
                    1236 Haddonfield-Berlin Road
                    Gibbsboro, NJ 08026


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                    6900 River Road Corporation
                    406 Clark Street
                    Evanston, IL 60201

                    Advanced Process Supply
                    6900 River Road
                    Pennsauken, NJ 08110

                    A&H Bloom Construction Co.
                    5090 Central Highway
                    Pennsauken, NJ 08110

                    Boise-Cascade
                    111 West Jefferson Street
                    Boise, Idaho 83728

                    C.J. Osborn Chemicals, Inc.
                    Cook Composites and Polymers
                    Sherman Ave.
                    Pennsauken, NJ 08110

                    Chesapeake Industries
                    875 Sherman Avenue
                    Pennsauken, NJ 08110

                    Davidson Pacific Wood Products, Co.
                    875 Sherman Avenue
                    Pennsauken, NJ 08110

                    Fisher Development Company
                    1211 North Church Street
                    Moorestown, NJ 08057

                    Garden State Motors
                    1435 Melrose Highway
                    Pennsauken, NJ 08110

                    King Arthur, Inc.
                    965 Bethal Ave.
                    Pennsauken, NJ 08110

                    Penzler Anodizing
                    1400 Suckle Highway
                    Pennsauken, NJ 08110

                    Pennsauken Solid Waste Management Authority
                    9600 River Road
                    Pennsauken, NJ 08110


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                    SL Industries, Inc.
                    SL Modern Hard Chrome
                    482 Cove Road
                    Pennsauken, NJ 08110

                    Charles Scheavits
                    Owner of and Operator of Super Tire Service
                    7255 Crescent Blvd.
                    Pennsauken, NJ 08110

                    Super Tire Engineering
                    7255 Crescent Blvd.
                    Pennsauken, NJ 08110

                    Weyerhaeuser Company
                    7200 Westfield Ave.
                    Pennsauken, NJ 08110

                    Alco Industries, Inc./
                    Synthane-Taylor Corporation
                    P.O. Box 937
                    Valley Forge, PA 19482

                    Amchem Products
                    c/o Henkel Corporation
                    2200 Renaissance Blvd.      Suite 200
                    Gulph Mills, PA 09406

                    Amchem Products
                    c/o Union Carbide Corporation
                    39 Old Ridgebury Road
                    Danbury, CT 06877

                    Colonial Heights Packaging, Inc./
                    Philip Morris Management Corp.
                    P.O. Box 26603
                    Richmond, VA 23261

                    Continental Holdings, Inc.
                    1025 Eldorado Blvd.
                    Broomfield, Colorado 80021

                    Croda Inks Corporation
                    7 Century Drive
                    Parsippany, NJ 07054




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                    DAP, Inc. and USG Corporation
                    125 South Franklin Street
                    Chicago, IL 60606

                    General Motors Corporation
                    300 Renaissance Center
                    Mail Code 482-C24-D24
                    Detroit, MI 48265

                    Kiwi Brands c/o Sara Lee Household
                    and Body Care USA
                    Three First National Plaza
                    Chicago, IL 60602

                    Lightman Drum Company
                    P.O. Box 22 Route 73
                    Berlin, NJ 08009

                    Jerome Lightman
                    1250 Liberty Bell Drive
                    Cherry Hill, New Jersey      08003

                    Pennsylvania Turnpike Commission
                    P.O. Box 67676
                    Harrisburg, PA 17106

                    Scott Paper Company
                    c/o Kimberly Clark Tissue Company
                    1400 Holcomb Bridge Road
                    Roswell, GA 30076

                    Sonoco Products Company
                    North Second Street P.O. Box 160
                    Hartsville, SC 29550

                    Stauffer Chemical Company
                    Stauffer Management Company
                    1800 Concord Pike
                    P.O. Box 15437
                    Wilmington, DE 19850

                    Stauffer Chemical Company
                    c/o Aventis Cropscience Inc.
                    2 TW Alexander Drive
                    Research Triangle Park, NJ 27709




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                    F. Quinn Stephan, Jr.,
                    Stepan Company
                    22 West Frontage Road
                    Northfield IL 60093

                    Whiting-Patterson/ Forenco Inc.,
                    222 North LaSalle Street, Suite 1000
                    Chicago, IL 60601

                    Wilmington Chemical Company
                    Seton Company
                    Valley Forge Corporate Center
                    1000 Madison Avenue
                    Norristown, PA 19403

                    Swope PRP Committee
                    c/o John Ix-
                    Dechert LLP
                    4000 Bell Atlantic Tower
                    1717 Arch Street
                    Philadelphia, PA 19103

                    Albert Spitz c/o Marc E. Gold, Esquire
                    401 City Avenue, Suite 500
                    Bala Cynwyd, PA 19004

                    Allied Services, Inc.
                    JFK International Airport, Bldg. 90
                    Jamaica, NY 11430

                    Alcoa, Inc.
                    201 Isabella Street
                    Pittsburgh, PA 15212

                    Anglo-American Varnish, Co.
                    P.O. Box 2288
                    Ocean, NJ 07712

                    Armco Steel Corporation
                    703 Curtis Street
                    Middletown, OH 45044

                    Armco Steel Corporation
                    815 Superior Avenue, NE
                    Cleveland, OH 44114




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                    Julius Pasquariello/Berg Laboratories
                    130 C Harding Avenue
                    Belmar, NJ 08301

                    Juius Pasquariello/Berg Laboratories
                    345 Dolan Drive
                    Shenectady, NY 12306

                    Berkley Products Co.
                    P.O. Box 135
                    Akron, PA 17501

                    Callahan Chemical Co.
                    Broad Street & Filmore Avenue
                    P.O. Box 53
                    Palmyra, NJ 08065

                    Camden Paint & Lacquer Company
                    1431 Brace Road
                    Cherry Hill, NJ 08034

                    Chamberlain Manufacturing Corp.
                    845 N. Larch Avenue
                    Elmhurst, IL 60126

                    Chamberlain Manufacturing Corp.
                    156 Cedar Avenue
                    Scranton, PA 18505

                    Rolo Corp. formerly known as
                    Chapman Industrial Finishes, Inc.
                    Thomson Street & Castor Avenue
                    Philadelphia, PA 19134

                    C.J. Osborne Chemicals, Inc.
                    820 Sherman Avenue
                    Camden, NJ 08097

                    Clement Coverall Company
                    405 Wellington Avenue
                    Haddonfield NJ 08033

                    Consumer Power Company
                    212 West Michigan Avenue
                    Jackson, MI 49201




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                    Cosden Chemical Coatings Corp.
                    Cherry Street & Lee Avenue
                    Beverly, NJ 08010

                    Denton Plastic Products Corporation,
                    c/o Adelphia Button Company
                    21 Industrial Blvd.
                    Southampton Industrial Park
                    Southampton, PA 18966

                    Dresser Industries
                    P.O. Box 718
                    1600 Pacific Avenue
                    Dallas, TX 75221

                    Dresser Industries
                    P.O. Box 42806
                    Houston, TX 77242

                    Erie Press Systems
                    1253 West 12th Street
                    Erie, PA 16512

                    Firestone
                    c/o Bridgeston Americas Holding, Inc.
                    535 Marriot Drive
                    Nashville, TN 37214

                    Finnaren & Haley, Inc.
                    901 Washington Street
                    Conshohocken, PA 19428

                    Ford Motor Company
                    One American Road
                    Dearborn, MI 48121

                    General Motors Corporation
                    3044 West Grand Blvd.
                    Detroit, MI 48202

                    General Electric Co.,
                    3135 Easton Turnpike
                    Fairfield, CT 06828

                    George Senn, Inc.
                    2200 East Westmoreland Street
                    Philadelphia, PA 19134



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                    Gilbert Spruance, Co.
                    Richmond & Tioga Streets
                    Philadelphia, PA 19134

                    Hauserman, Inc.
                    6801 Grant Avenue
                    Cleveland, OH 44105

                    Milford Product Company, formerly
                    known as Henry G. Thompson Co.
                    30 Thompson Road
                    Branford, CT 06405

                    Occidental Chemical Corporation
                    360 Rainbow Blvd. Box 728
                    Niagara Falls, NY 14302

                    Occidental Chemical Corporation
                    P.O Box 300
                    Tulsa, OK 74102

                    Huntington Alloys Inc.
                    c/o INCO Alloys
                    3200 Riverside Drive
                    Huntington WV 25705

                    Huntington Alloys Inc.
                    c/o INCO Alloys
                    4317 Middle Settlement Road
                    New Hartford, NY 13413


                    Ingersol Rand
                    942 Memorial Parkway
                    Phillipsburg, NJ 08865

                    Ingersol Rand
                    200 Chestnut Ridge
                    Woodcliffe, NJ 07047

                    ITT Industries
                    Fluid Technologies HQs
                    10 Mountainview Road
                    Upper Saddle River, NJ      07458




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                    Metsco Automation, USA
                    formerly known as Jamesbury Corp.
                    44 Bowditch Drive
                    Shrewsbury, MA 01545

                    Allegheny Ludlum
                    formerly known as Jessop Steel Co.
                    1000 Six PPG Place
                    Pittsburgh, PA 15222

                    Joseph Banks
                    PO Box 544
                    State College, PA     16804

                    Joseph Bancroft & Sons Co.
                    P.O. Box 471
                    Wilmington, DE 19899

                    Lawrence McFadden
                    7430 State Road
                    Holmesburg Station
                    Philadelphia, PA 19136

                    Olin Corporation
                    120 Long Ridge Road
                    Stanford, CT 06902

                    Olin Corporation
                    501 Merritt 7
                    Norwalk, CT 06856

                    Metallurgical Processing, Inc.
                    68 Arthur Street
                    New Brittain, CT 06050

                    Motorola Inc.
                    1303 E. Algoniquin Road
                    Schaumburg, IL 60196

                    Mueller Co.,
                    1401 Mueller Avenue
                    Chattanooga, TN 37406

                    Phillip Electronics North America Corporation,
                    f/k/a North American Phillips Lighting Corporation
                    121 Avenue of the Americas
                    New York, NY 10020



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                    Paramount Packaging
                    1027 Stuyvesant Avenue
                    Irvington, NJ 07111

                    TotalFina in 2000, |
                    formerly known as Penn Walt Corp./Stokes Division
                    Three Parkway
                    Philadelphia, PA 19102

                    Products Research and Chemical Co.,
                    21800 Burbank Blvd.
                    Woodland Hills, CA 91367

                    Courtaulds Aerospace, Inc.,
                    formerly known as Progress Lighting Co.,
                    1608 4th Street
                    Berkeley, CA 94710

                    Courtaulds Aerospace, Inc.,
                    formerly known as Progress Lighting Co.,
                    419 New Jersey Road
                    Gloucester City, NJ 08031

                    Quaker Export Packaging Co.
                    901 Poplar Street
                    Philadelphia, Pa 19123

                    Rockwell International Corporation
                    625 Liberty Avenue
                    Pittsburgh, PA 15222

                    Sentry Paint Technologies, Inc.,
                    formerly known as Sentry Paint & Chemical Co.
                    237 Mill Street
                    Darby, PA 19023

                    SMS Automotive Products, Inc.
                    4819 Langdon Street
                    Philadelphia, PA 19124

                    Sun Chemical Company
                    35 Waterview Blvd.
                    Parsippany, NJ 07054

                    Superior Varnish and Drier Co.
                    Crescent Boulevard
                    Merchantville, New Jersey 08109



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                    Tenneco Chemicals, Inc.,
                    Route 297 P.O. Box 120
                    Chestertown, MD 21620

                    Trico Products Corporation/Plt. #1
                    817 Washington Street
                    Buffalo, NY 14203

                    Uniform Tubes, Inc.
                    P.O. Box 992
                    Collegeville PA 19426

                    BP America, Inc.
                    4101 Winfield Road
                    Warrenville, Illinois 60555

                    USG Corporation
                    125 South Franklin Street
                    Chicago, IL 60555

                    Amchem Products c/o Henkel Corporation
                    2200 Renaissance Blvd. Suite 200
                    Gulph Mills, PA 09406

                    Baxter
                    One Baxter Parkway
                    Deerfield, IL 60015

                    Kiwi Brands c/o Sara Lee Household and
                    Body Care USA
                    Three First National Plaza
                    Chicago, IL 60602

                    Croda Ink
                    300 A Columbus Circle
                    Edison, NJ08837

                    Alco Industries, Inc.
                    2711 Centerville Road, Suite 400
                    Wilmington Delaware 19808

                    Synthane-Taylor Corporation,
                    A Subsidy of Alco Industries
                    2711 Centerville Road, Suite 400
                    Wilmington, Delaware 19808




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                    Union Carbide Corporation
                    2030 Dow Center
                    Midland, Michigan 48640

                    Harleco
                    One Baxter Parkway, DF5-1W
                    Deerfield, IL 60015

                    Scott Paper Company c/o
                    Kimberly Clark Tissue Company
                    1400 Holcomb Bridge Road
                    Roswell, GA 30076

                    Air Products & Chemicals, Inc.
                    7201 Hamilton Boulevard
                    Allentown, PA 18195

                    Continental Holdings, Inc.
                    1025 Eldorado Blvd.
                    Broomfield, Colorado 80021

                    Sonoco Products Company
                    North Second Street
                    P.O. Box 160
                    Hartsville, SC 29550

                    Synthane-Taylor Corporation,
                    a Subsidy of Alco Industries,
                    2711 Centerville Road, Suite 400
                    Wilmington, Delaware

                    Honeywell/Allied Signal, Inc.
                    Ten Worth Avenue
                    East Elizabeth, NJ 07210

                    Quaker Chemical Company
                    Conroe Texas

                    Wilmington Chemical Company Seton Company
                    Valley Forge Corporate Center
                    1000 Madison Avenue
                    Norristown, PA 19403

                    FMC Corporation
                    1735 Market Street 19th Street
                    Philadelphia, PA 19103




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                    Stepan Company
                    22 West Frontage Road
                    Northfield IL

                    DAP, Inc. and USG Corporation
                    125 South Franklin Street
                    Chicago, IL 60606

                    Stauffer Chemical Company
                    Delaware City, Delaware 19706

                    Kiwi Polish Company
                    447 Old Swede Road
                    Douglassville, PA 19518

                    ADT Security Systems
                    PO Box 371967
                    Pittsburgh, PA 15250-7967

                    Air Liquide Industrial U.S. L.P.
                    3 Great Valley Parkway
                    Malvern, PA 19355-3039

                    Ajax Ice, Inc.
                    626 GSB Building
                    1 Belmont Ave.
                    Bala Cynwyd, PA 19004

                    American Steel & Aluminum Corp.
                    425 Homestead Ave.
                    Hartford, CT 06112

                    APM A Best
                    2902 Haddonfield Road,
                    Pennsauken, NJ 08110

                    Castrol Industrial Americas
                    PO Box 824,
                    White Cloud, MI 49349-0824

                    CGIT Systems, Inc.
                    51 Alder Street,
                    Medway MA 02053

                    CIT Capital Securities LLC
                    505 Fifth Avenue, 3rd Floor
                    New York, NY 10017



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                    CIT Group/Equipment Financing, Inc.
                    1540 West Fountainhead Pkwy.
                    Tempe, AZ 85282

                    Cooper Electric Supply
                    402 Bloomfield Drive
                    West Berlin, NJ 08091

                    De Lage Landen Financial Services, Inc
                    1111 Old Eagle School Road
                    Wayne, PA 19087

                    Eagle Engineering Corp.
                    8869 Citation Road,
                    Baltimore, MD 21221

                    East Manufacturing
                    1871 State Road,
                    Randolph, OH 44265

                    Eastern Metal Supply
                    2925 Stewart Creek Blvd.
                    Charlotte, NC 28206

                    Fromm Electric Supply
                    PO Box 70,
                    Phillipsburg, NJ 08865-0070

                    GE Capital
                    1961 Hirst Drive,
                    Moberly, MO 65270

                    Great Dane LP
                    2555 S. Blue Island Avenue,
                    Chicago, IL 60608

                    Hale Trailer
                    PO Box 1400, RT. 73 & Cooper Rd.,
                    Voorhees, NJ 08043

                    Hewlett Packard Company
                    8000 Foothills Blvd., MS 5512,
                     Roseville CA 95747-5512

                    Honeywell Industries Solutions
                    PO Box 848324,
                    Dallas, TX 75284-8324



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                    IKON Financal Services
                    1738 Bass Road,
                    Macon GA 31210

                    Ingersoll-Rand Air Center
                    30 MacDonald Blvd.,
                    Aston, PA 19014

                    Instron Systems
                    100 Royall Street,
                    Canton, MA 02021-1089

                    Joe Kerins
                    10 Oak Leaf Dr.
                     New Egypt, NJ 08533

                    Kawneer Co.
                    555 Guthridge Court,
                    Norcross, GA 30092

                    Key Equipment Finance
                    600 Travis Street, Suite 1400,
                    Houston, TX 77002

                    Morris Material Handling
                    1801 Gallagher Road,
                    Plymouth Meeting, PA 19462

                    Nalco Company
                    1222 Forest parkway,
                    Suite 100,
                    Paulsboro, NJ 08066

                    National Building Facility Services, INC
                    2516 E. Ontario Street,
                    Philadelphia, PA 19134

                    NJDEP
                    One Port Center -
                    2 Riverside Drive, Suite 201
                    Camden, NJ 08103

                    NTR North America
                    14881 Quorum Drive,
                    Suite 850,
                    Dallas, TX 75254




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                    O'Neal Steel, Inc.
                    4530 Messer-Airport Hwy,
                    Birmingham, AL 35202

                    Pace Environmental
                    5240 West Coplay Road,
                    Whitehall, PA 18052

                    Pall Trincor
                    770 Pennsylvania Drive,
                     Exton, PA 19431

                    Penske Truck leasing
                    Route 10, Green Hills,
                    PO Box 563,
                    Reading, PA 19603-0563

                    Phil Penn Imported Car Co.
                    635 Lancaster Avenue,
                    Bryn Mawr, PA 19010

                    Phoenix Capital Management
                    2 Penn Plaza, Suite 1910
                    New York, NY 10121

                    Pinnacle Technologies
                    5900 La Place Court, Suite 110,
                    Carlsbad, CA 92008

                    Pitney Bowes
                    PO Box 85390,
                    Louisville, KY 40285-5390

                    PPL Energy Plus
                    Two North Ninth Street,
                    GENPL8, Allentown, PA 18101-1179

                    QC Inc.
                    1205 Industrial Blvd.,
                    PO Box 514,
                    Southampton, PA 18966-0514

                    Quality Systems Registrars
                    22630 Davis Drive, Suite 220,
                    Sterling, VA 20164




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                    Quench Inc.
                    3077 East 98th Street, Suite 120,
                    Indianapolis, IN 46280

                    Rusal American Corp.
                    550 Mamaroneck Ave. Suite 301,
                    Harrison, NY 10528

                    Ryerson
                    2558 W. 16th Street,
                    Chicago, IL 60680

                    Strategic Products & Services (Avaya)
                    3 Wing Drive, Suite 100,
                    Cedar Knolls, NJ 07927

                    Teamsters Local 837
                    12275 Townsend Road,
                    Philadelphia, PA 19154

                    Thermo Electron North America
                    5225 Verona Road,
                    Madison, WI 53711

                    TM Capital Corp.
                    One Battery Park Plaza, 24th Floor
                    New York, NY 10004

                    Trinity Rail Car
                    2548 N. 28th Street,
                    Fort Worth, TX 76111

                    Ultra Hardware Products LLC
                    620 Liberty Avenue
                    Pittsburgh, PA 15222

                    Utility Trailer Manufacturing Co.
                    17295 East Railroad Street.,
                    City of Industry, CA 91748

                    Visibility Inc.
                    100 Fordham Road,
                    PO Box 50786,
                    Wilmington, MA 01815-0786

                    Vision Financial Group, Inc.
                    615 Iron City Drive,
                    Pittsburgh, PA 15205


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                    Wabash National
                    1000 Sagamore Parkway,
                    Lafayette, IN 47905

                    William Wetmore
                    795 Chelsea Glenn Road,
                    Clarksboro, NJ 08020

                    XO Communications LLC
                    14239 Collections Center Drive,
                    Chicago, IL 60693

                    Celadon
                    1830 Momentum Place
                    Chicago, IL 60689-5318

                    Fedex
                    4103 Collection Center Dr
                    Chicago,IL 60693

                    Gray Trucking
                    735 Broad Street
                    Beverly, NJ 08010

                    Jevic Transport
                    PO Box 13031
                     Newark,NJ 07188

                    Rockwell Transport
                    PO Box 803
                    Perkasie,PA 18944-0803

                    UPS
                    PO Box 7247-0244
                    Philadelphia, PA 19170-0001

                    DDI
                    PO Box 81150
                    Cleveland,OH 44181

                    MSC
                    120 Enterprise Ave
                    Morrisville,PA 19067

                    Metal Koting
                    1430 Martin Grove Rd Rexdale,
                    Ontario Canada M9W 4Y1



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                    Gill
                    1384 Byberry Rd
                    Bensalem,PA 19020

                    Malber
                    2115 Byberry Rd
                    Huntingdon Valley, PA 19006

                    CFM(Precoat)
                    6754 Santa Barbara Court
                    Elkridge, MD 21075-5886

                    Malber
                    2115 Byberry Rd
                    Huntingdon Valley, PA 19006

                    MSC
                    120 Enterprise Ave
                    Morrisville,PA 19067

                    Metal Koting
                    1430 Martin Grove Rd
                    Rexdale, Ontario Canada      M9W 4Y1

                    Bardot Plastics Inc
                    10 McFadden Rd Palmer Industrial Park
                    Easton, PA 18045-7817

                    Toco Products
                    1129 West River Drive
                    Mays Landing NJ 08330

                    Acme Corrugated
                    2700 Turnpike Drive
                    Hatboro, PA 19040

                    Fitzpatrick Container
                    800 East Walnut Street
                    North Wales, PA 19454

                    Acme Corrugated
                    2700 Turnpike Drive
                    Hatboro, PA 19040

                    Ajax Ice inc
                    626 GSB Building
                    1 Belmont Ave
                    Bala Cynwyd,PA 19004


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                    Alcoa Mill Products Inc.
                    1480 Manheim Pike
                    Lancaster, PA

                    American Duplicating Products
                    Ref#24431662
                    PO Box 41601
                     Philadelphia, PA 19101-1601

                    Arc Water Treatment
                    114 Harvey Street, Philadelphia, PA
                    19144

                    Armen Cadillac-Oldsmobile Inc
                    1441 Ridge Pike Plymouth Meeting,
                    PA 19462

                    Burnett Pools
                    2498 Elm Road Extension
                    Cortland, OH

                    Coil Plus
                    5135 Bleigh Ave
                    Philadelphia, PA 19136

                    Colonial Volkswagon Inc
                    200 West Street Road
                    Feasterville, PA 19053

                    Ed Gallagher & Richard Salb(re.
                    Johnny Weissmuller)
                    9649 Olympic Blvd Apt # 12
                    Beverly Hills, CA 90212

                    Ed Gallagher & Richard Salb(re.
                    Johnny Weissmuller)
                    9903 Santa Monica Blvd #497
                     Beverly Hills, CA 90212

                    Esther Williams & EWL Productions
                    9377 Readcrest Drive
                    Beverly Hills, CA 90210

                    Fitzpatrick Container
                    800 East Walnut Street
                    North Wales, PA 19454




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                    Forster Fence Co Inc-
                    7795 La Corniche Circle
                     Boca Raton, FL 33433

                    Independent Rep. Agreements-Aqua
                    Quest
                    101 East Mill St Suite H
                    Quakertown, PA 18951

                    Infiniti of Willow Grove
                    1510 Easton Road
                    Willow Grove, PA 19090

                    International Aquatics
                    4496 Chesswood Drive
                    T, Ontario Canada M3J 2B9

                    Lexington Insurance
                    100 Summer Street
                    Boston, MA 02110

                    Marine Fastners
                    120 Maritime Drive
                    Sanford, FL 32771

                    Medalco Metals Inc. for Aluminum Coil
                    281 Highway 79
                     Morganville, NJ 07751

                    Metal Koting
                    1430 Martin Grove Road
                    Rexdale, Ontario M9W 4Y1      Canada

                    Nationwide Industries-
                    10333 Windhorst Road
                    Tampa, FL 33619

                    Nucor Sheet Mill Group for Steel Coil
                    PO Box 907
                    Crawfordsville, IN 47933

                    PoolCorp
                    109 Northpark Boulevard
                    Covington, LA 70433-5521

                    Precoat/CFM
                    6754 Santa Barbara Ct.
                     Elkridge, MD 21075-5886


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                    QAD
                    100 Innovation Place
                    Santa Barbara, CA

                    Reeder & Vermaat
                    408 Deepwood Court
                    Naperville, IL 60540

                    Senne Sales
                    PO Box 1309
                    Norcross, GA 30091

                    Sun Wholesale
                    14480 62nd Street N
                    Clearwater, FL 33760

                    Swimline Corp. (Liners)
                    191 Rodeo Drive
                    Edgewood, NY 11717

                    Uneed Bolt and Screw Co.
                    10 Capitol Drive
                    Moonachie, NJ 07074

                    A Duie Pyle Inc
                    Po Box 564
                    West Chester PA 19381

                    Bay Cities Warehouse Co Inc
                    31474 Hayman St
                    Hayward CA 94544

                    Con-Way Transportation Inc
                    Po Box 642080
                    Pittsburgh PA 15264-2080

                    Dallas Transfer & Terminal Warehouse
                    PO Box 224301
                    Dallas TX 75222-4301

                    Estes Express Lines
                    Po Box 25612
                    Richmond, VA 23260-5612

                    Federal Express Corporation
                    Po Box 1140
                    Memphis, TN 38101-1140



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                    Federal Express Ers
                    Po Box 371461
                    Pittsburgh, PA 15250-7461

                    Gilco Trucking Company Inc
                    Po Box 27474
                    Salt Lake City UT 84127

                    New England Motor Freight Inc
                    1-71 North Ave, East
                    PO Box 6031
                    Elizabeth, NJ 07207-6031

                    Northstar Services Ltd
                    Po Box 23148
                    Philadelphia, PA 19124

                    Old Dominion Freight Line
                    1300 Suckle Hwy
                    Pennsauken, NJ 08110

                    Pitt Ohio Express LLC
                    PO Box 643271
                     Pittsburgh, PA 15264-3271

                    Standard Whse & Dist Co Inc
                    Po Box 308
                    Pennsauken, NJ 08110

                    United Parcel Service
                    PO Box 7247-0244
                    Philadelphia, PA 191700001

                    Ups Supply Chain Solutions Inc
                    28013 Network Place
                    Chicago, IL 60673-1280

                    William Parker Associates Inc
                    2845 E Westmoreland St
                    Philadelphia, PA 19134

                    Yellow Transportation Inc
                    Po Box 13850
                    Newark, NJ 07188-0850

                    Cordero Prudencio
                    43 North 34th Street
                    Camden, NJ 08105


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                    Speller Benjamin
                    280 East Queen Lane
                    Philadelphia, Pa 19144

                    Johnson Kevin
                    104 North 34th Street Apt.
                    Camden, NJ 08105

                    Perez William
                    302 North 36th Street
                    Pennsauken, NJ 08110

                    Renteria Rocendo
                    905 A North 21st Street
                     Camden, NJ 08105

                    Beverly Eric
                    1052 Collings Road
                    Camden, NJ 08104

                    Defigueiredo Arturo
                    40 Foxglove Drive
                    Delran, NJ 08075

                    Briscoe Myron G
                    826 North 32nd Street
                     Camden, NJ 08105

                    Trowery Christopher
                    511 Gibbsboro Rd
                    Apt 3615
                    Lindenwold, NJ 08021

                    Park John
                    42 Baird Avenue
                     Mount Ephraim, NJ 08059

                    Maldonado Evans J
                    3126 North 7th Street
                    Philadelphia, PA 19133

                    Nichols Michael
                    424 North 9th Street
                    Camden, NJ 08105

                    Newman Arnold F
                    173 Wexford House
                    Maple Shade, NJ 08052


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                    Warner Harry E
                    2932 Union Avenue
                    Pennsauken, NJ 08109

                    Beverly Eric L
                    1052 Collings Road
                    Camden, NJ 08104

                    Speller Benjamin H
                    280 East Queen Lane
                    Philadelphia, Pa 19144

                    Salame Ruth
                    930 North 3rd Street
                    Camden, NJ 08102

                    Soto Salivador
                    815 North 30th Street
                    Camden, NJ 08105

                    Wagner Robert G
                    2254 Lexington Avenue
                    2nd Floor
                    Pennsauken, NJ 08110

                    Warren Tina
                    377 Rand Street
                    Camden, NJ 08105

                    Vannockay, George
                    32 Gloucester Avenue
                    Lawnside, NJ 08045

                    Wekerle, Joseph
                    116 Smith Lane
                    Runnemede, NJ 08078

                    Owens, Michael
                    2916 Cramer Street
                    Camden, NJ 08105

                    Rivera, Miguel
                    635 West Venanago Street
                    Philadelphia, Pa 19134

                    Tran, Tim
                    312 High Street
                    Westville, NJ 08093


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                    Perez, Victor
                    100 Marshall Avenue
                    Mount Ephraim, NJ 08059

                    Hernandez, Juan
                    1036 North 35th Street
                    Camden, NJ 08105




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